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      EXHIBIT 105-B
    Redacted Version of
Document Sought to be Sealed
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1                      UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3                                 ---oOo---
4
5        IN RE: FACEBOOK, INC.,
         CONSUMER PRIVACY USER
6        PROFILE LITIGATION
         __________________________/
7                                           MDL No. 2843
8                                           Case No. 18-md-02843-VC-JSC
         This document relates to:
9
         ALL ACTIONS
10       ____________________________/
11
12
13                          ***CONFIDENTIAL***
14
15
16                 REMOTE VIDEOTAPED DEPOSITION OF
17                               SIMON CROSS
18                 30(B)(6) DESIGNEE, FACEBOOK, INC.
19                 _________________________________
20                          MONDAY, MAY 9, 2022
21
22
23
24       REPORTED BY:     HOLLY THUMAN, CSR No. 6834, RMR, CRR
25       JOB NUMBER 5210141

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 1                             --o0o--
 2            Remote videotaped deposition of SIMON CROSS, taken
 3       by the Plaintiffs, with the witness located in London,
 4       United Kingdom, commencing at 3:49 P.M. London Daylight
 5       Time, on MONDAY, MAY 9, 2022, before me, HOLLY THUMAN,
 6       CSR, RMR, CRR.
 7                             --o0o--
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25                               (CONTINUED)

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               JOHN MACDONELL, Videographer
21
               DANIEL GARRIE, Special Master
22
23
24
25

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1                          MONDAY, MAY 9, 2022

2                                  3:49 P.M.

3                                   --o0o--

4                                PROCEEDINGS

5                                   --o0o--

6                   THE VIDEO OPERATOR:        We're on the record.       15:49:21

7       It's 3:49 P.M. London time on May 9, 2022.              This is   15:49:22

8       the deposition of Simon Cross, and we're here in                  15:49:29

9       the matter of Facebook Consumer Privacy User                      15:49:32

10      Profile Litigation.                                               15:49:35

11                  I'm John MacDonell, the videographer, with            15:49:39

12      Veritext.                                                         15:49:42

13                  Before the reporter swears the witness,               15:49:43

14      would Counsel please identify themselves, beginning               15:49:45

15      with the noticing party, please.                                  15:49:48

16                  MR. LOESER:     Good morning.     This is             15:49:51

17      Derek Loeser from Keller Rohrback for Plaintiffs.                 15:49:52

18      With me is Adele Daniel and Cari Laufenberg and                   15:49:56

19      Emma Wright, also from Keller Rohrback.                           15:50:00

20                  MR. BLUME:     This is Rob Blume from                 15:50:03

21      Gibson Dunn on behalf of Facebook.           With me is           15:50:05

22      Hannah Regan-Smith, Ian Chen, Josiah Clarke,                      15:50:08

23      Matt Buongiorno, and Phuntso Wangdra.                             15:50:17

24                  MS. WEAVER:     And good morning.      It's           15:50:23

25      Lesley Weaver from Bleichmar Fonti & Auld, also on                15:50:24

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1       behalf of the plaintiffs.                                    15:50:30

2                  SPECIAL MASTER GARRIE:      This is Special       15:50:31

3       Master Garrie, here on behalf of the court.                  15:50:31

4                                 --o0o--                            15:50:52

5                              SIMON CROSS,                          15:50:52

6                  _________________________________                 15:50:52

7            called as a witness, having been first duly             15:50:52

8            sworn, was examined and testified as follows:           15:50:52

9                                ---oOo---                           15:50:52

10                      EXAMINATION BY MR. LOESER                    15:50:52

11      BY MR. LOESER:                                               15:50:52

12           Q.    Good morning, Mr. Cross.       We met before we   15:50:56

13      went on the record, but I'll introduce myself                15:50:58

14      again.    My name is Derek Loeser.      I'm from the firm    15:51:00

15      of Keller Rohrback for the plaintiffs in this                15:51:03

16      litigation, and with me is Cari Laufenberg,                  15:51:05

17      Adele Daniel, Emma Wright, and Ms. Weaver from her           15:51:07

18      firm as well.                                                15:51:12

19                 Have you had your deposition taken before?        15:51:13

20           A.    I -- I've been deposed previously, but I          15:51:17

21      don't think I've been deposed in this particular             15:51:20

22      case before.                                                 15:51:23

23           Q.    Okay.    And how many times have you been         15:51:24

24      deposed previously?                                          15:51:26

25           A.    Twice.                                            15:51:28

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1            Q.    And do you recall what those matters were      15:51:30

2       in which you were deposed?                                15:51:32

3            A.    The first was some -- a matter relating to     15:51:34

4       '643, the '643 case, and then the second was a -- I       15:51:38

5       don't recall exactly, but it's the -- the                 15:51:45

6       Washington District Attorney's -- Washington D.C.,        15:51:48

7       I think, case against -- against Meta relating to         15:51:52

8       some of the matters --                                    15:51:56

9                  (Reporter requested clarification.)            15:52:04

10                 THE WITNESS:   -- relating to the, I           15:52:04

11      recall, the Cambridge Analytica matter.                   15:52:05

12      BY MR. LOESER:                                            15:52:08

13           Q.    And the '643 matter was against Facebook       15:52:10

14      as well.    Is that right?                                15:52:13

15           A.    That's correct, yes.                           15:52:16

16           Q.    Okay.   Well, you've been through this         15:52:18

17      before, so -- but I'll just remind you of the basic       15:52:20

18      rules, which are really designed to have a clear          15:52:23

19      record.                                                   15:52:26

20                 As the Special Master indicated, it's very     15:52:26

21      important that we're not talking at the same time         15:52:28

22      and that we let the court reporter take down what         15:52:30

23      we are saying.                                            15:52:32

24                 If I ask a question and you don't              15:52:33

25      understand the question, could you please ask me to       15:52:35

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1       restate it, and I'll attempt to do that.                     15:52:38

2                   And when you're answering questions, it's        15:52:42

3       important to answer verbally, so that would be a             15:52:44

4       good example.     Shaking your head doesn't make it          15:52:47

5       onto the record, but Yes/No does.                            15:52:50

6                   So could we make sure that you answer            15:52:52

7       verbally?                                                    15:52:54

8            A.     I understand.                                    15:52:55

9            Q.     And if you do answer one of my questions,        15:52:56

10      I will assume you understood the question.                   15:52:59

11                  Is that a fair assumption?                       15:53:01

12           A.     That's fine, yes.                                15:53:04

13           Q.     And over the course of the day, your             15:53:06

14      attorney may object to questions that I ask.           And   15:53:10

15      when he does so, unless he instructs you not to              15:53:12

16      answer the question, please wait for him to finish           15:53:15

17      objecting and then go ahead and answer the                   15:53:17

18      question.                                                    15:53:19

19                  Do you understand that?                          15:53:20

20           A.     I understand that, yes.                          15:53:21

21           Q.     And we'll be going for a while, and if at        15:53:23

22      any point you need a break, please just ask for              15:53:26

23      one, and I will accommodate that the best I can.             15:53:28

24                  The only caveat is if there is a question        15:53:31

25      that is pending, I will ask you to finish the                15:53:35

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1        question before we take a break.                         15:53:37

2                   Is that understood?                           15:53:40

3             A.    Yeah.    I understand.                        15:53:41

4             Q.    And sometimes if we're -- if there's a        15:53:42

5        series of questions and I'm almost through the           15:53:44

6        series, I'll ask if it's okay if we just finish the      15:53:46

7        series before taking a break.                            15:53:49

8                   Does that sound fair to you?                  15:53:51

9             A.    That sounds fair.                             15:53:53

10            Q.    Okay.    And as the Special Master            15:53:54

11       indicated, he will be observing today, and so he         15:53:55

12       may come on camera at some point to discuss              15:53:58

13       matters.                                                 15:54:01

14                  And it's important there as well that we      15:54:01

15       make sure that he has the time and space to talk         15:54:03

16       and that the record is clear so that we're not           15:54:06

17       talking at the same time.                                15:54:08

18                  Is that fair?                                 15:54:09

19            A.    Yep.    That's fair.                          15:54:10

20            Q.    Okay.    And, Mr. Cross, is there anything    15:54:12

21       that may impact your ability to testify honestly         15:54:14

22       and truthfully today?                                    15:54:18

23            A.    Not that I'm aware of.                        15:54:20

24            Q.    Okay.    No medications or anything of that   15:54:22

25       sort that may interfere with your recall or ability      15:54:24

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1        to testify?                                               15:54:29

2             A.   No.     I'm not on any medication, no.          15:54:29

3             Q.   And, Mr. Cross, you're located in London?       15:54:32

4             A.   That's correct.                                 15:54:36

5             Q.   And is that where you -- and I gather you       15:54:37

6        work for -- for Meta.      Right?                         15:54:40

7             A.   That's correct, yeah.       I still work for    15:54:44

8        Meta and live in London.                                  15:54:46

9             Q.   Okay.     And so how often do you come to the   15:54:52

10       United States as part of your work?                       15:54:54

11            A.   In the last two years, not at all, sadly.       15:54:56

12       Before that, I used to come several times a year.         15:55:02

13            Q.   Okay.     And do you think that going forward   15:55:06

14       you'll be coming stateside more often?                    15:55:08

15            A.   It's too early to say how much -- how much      15:55:13

16       international we'll be doing.        I doubt I'll be      15:55:15

17       doing it as much as we used to.                           15:55:18

18            Q.   And, sir, if there were a trial in this         15:55:20

19       case, would you be willing to fly across the ocean        15:55:22

20       to attend the trial?                                      15:55:25

21            A.   I have to consult with my counsel on            15:55:29

22       whether or not that would be an appropriate thing         15:55:32

23       to do.                                                    15:55:34

24            Q.   Okay.     And are you communicating -- and      15:55:35

25       this is -- you know, we're in this new world of           15:55:39

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1        remote depositions, so there are some things we           15:55:41

2        need to sort out for that as well.                        15:55:43

3                  You are not actively communicating with         15:55:46

4        anybody during the time that I'm asking you these         15:55:47

5        questions, are you?                                       15:55:50

6             A.   No.     I am not communicating with anyone.     15:55:51

7             Q.   Okay.     No texting or messaging or anything   15:55:54

8        of that sort happening?                                   15:55:57

9             A.   No.     My phone is screen side down on the     15:55:59

10       desk, and I've cleared my computer.                       15:56:02

11            Q.   Excellent.     Thank you.                       15:56:07

12                 And, Mr. Cross, did you prepare any notes       15:56:09

13       or other materials to assist you with your                15:56:12

14       testimony today?                                          15:56:14

15            A.   I have a document that I prepared that          15:56:17

16       includes some facts to help me answer -- I think          15:56:20

17       that might come up to help me answer your                 15:56:25

18       questions, but that's all I've prepared.                  15:56:27

19            Q.   And do you have that with you today, sir?       15:56:31

20            A.   I do, yes.                                      15:56:33

21            Q.   And do you intend to refer to that during       15:56:35

22       your testimony today?                                     15:56:39

23            A.   If -- if you ask me a question and I can't      15:56:42

24       remember a fact -- a specific fact I may have noted       15:56:44

25       down, then I was planning to refer to that, yes, as       15:56:50

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1        to best answer your questions.                                     15:56:54

2                    MR. LOESER:     Thank you.                             15:56:57

3                    And, Counsel, Mr. Blume, we would like a               15:56:57

4        copy of those notes.        And we don't need to go off            15:57:00

5        the record right now to get them, but we would like                15:57:03

6        them as soon as you can get them to us during the                  15:57:06

7        deposition, not after.                                             15:57:08

8                    Could you accommodate that request,                    15:57:10

9        please?                                                            15:57:13

10                   MR. BLUME:     Noted.                                  15:57:14

11       BY MR. LOESER:                                                     15:57:19

12              Q.   And since your counsel noted that request              15:57:19

13       but did not actually tell me he was going to do it,                15:57:21

14       this is something I'll bring up again in a little                  15:57:24

15       bit just to make sure we actually get those notes                  15:57:27

16       during the deposition today.         Okay?                         15:57:30

17                   And, Mr. Cross, you indicated that you                 15:57:33

18       currently work for Meta.        Is that right?                     15:57:35

19              A.   That's correct.     I work for Meta -- the             15:57:41

20       U.K. arm of Meta.        Meta Platforms, Inc., has a U.K.          15:57:44

21       arm.                                                               15:57:50

22              Q.   Okay.   And over the course of the day,                15:57:51

23       I'll be referring to Facebook frequently.               And when   15:57:53

24       I refer to Facebook and ask you a question about                   15:57:55

25       Facebook, will you be drawing any distinction                      15:57:58

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1        between Meta and Facebook when you answer?                 15:58:00

2                A.   Whether or not I need to do so may depend     15:58:09

3        on the context of the question.         So I can ask for   15:58:11

4        clarification if needed.                                   15:58:16

5                Q.   Okay.   That would be helpful.      I         15:58:18

6        appreciate that.                                           15:58:20

7                     Mr. Cross, how long have you been employed    15:58:21

8        at -- and I'm going to say Facebook, and I mean            15:58:23

9        both Facebook and Meta.                                    15:58:27

10               A.   I joined the company in September 2010.       15:58:30

11               Q.   And I'm not going to take the time during     15:58:38

12       today's deposition to go through your LinkedIn             15:58:40

13       résumé in detail, but I would ask you to describe          15:58:44

14       the major responsibilities that you've had over            15:58:47

15       your time at Facebook and Meta.                            15:58:49

16               A.   Sure.   The first part of my career was       15:58:54

17       working on the Platform Partnerships team, first as        15:58:59

18       a partner engineer, then as a -- for a short time          15:59:04

19       as a developer advocate, and then for a short time         15:59:07

20       as a strategic partnership manager.                        15:59:10

21                    In -- that was from September 2010 to         15:59:12

22       January 2014.                                              15:59:18

23                    From January 2014 to the end of 2015, I       15:59:21

24       was a product manager on the Facebook Platform             15:59:25

25       team.                                                      15:59:28

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1                  From 2016 to late 2018, I worked on the        15:59:31

2        Workplace by Facebook -- now just Workplace -- team      15:59:33

3        in London.                                               15:59:38

4                  From late 2018 to mid-2021, I worked on        15:59:41

5        the Central Integrity team.                              15:59:47

6                  And since mid-2021, I've been working on a     15:59:52

7        team called "Central Customer Support."                  15:59:57

8             Q.   Okay.     Thank you.                           16:00:01

9                  And what -- what is your degree?               16:00:03

10                 Do you have a degree after high school?        16:00:07

11            A.   My education, I have a master's in             16:00:11

12       engineering from the University of Nottingham.           16:00:15

13            Q.   And was that --                                16:00:18

14            A.   Specifically, it's in -- sorry.                16:00:19

15            Q.   Sorry.     Go ahead.                           16:00:21

16            A.   Sorry, it's a master's in electronic           16:00:22

17       engineering from the University of Nottingham.           16:00:25

18            Q.   Thank you.     Mr. Cross, have you spoken to   16:00:30

19       anyone other than your attorneys about your              16:00:32

20       deposition today?                                        16:00:35

21            A.   I have.                                        16:00:39

22                 I -- what kind of information are you          16:00:41

23       looking for there?                                       16:00:45

24            Q.   Sure.     I'll ask more specific questions.    16:00:47

25                 Did you speak to colleagues of yours about     16:00:50

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1        your testimony today?                                      16:00:53

2               A.   I spoke to some people currently employed      16:00:55

3        by Meta to understand their experiences relating to        16:00:57

4        this matter, yes.                                          16:01:05

5               Q.   And who did you speak with?                    16:01:07

6               A.   I spoke with Eddie O'Neil, Ime Archibong,      16:01:11

7        Steven Elia, Dan Xu, Allison Hendrix, Eugene               16:01:18

8        Zarakhovsky, Francisco Varela, and Amit Sangani.           16:01:25

9               Q.   And were those conversations all of            16:01:34

10       different amounts of time?                                 16:01:37

11                   Were there some people you spoke to more       16:01:38

12       than others?                                               16:01:40

13                   Describe in a little more detail, if you       16:01:41

14       can.                                                       16:01:43

15              A.   I spoke to each of those people once for       16:01:45

16       between 30 and 45 minutes each.         The conversation   16:01:51

17       between Dan and Steven was one conversation with           16:01:57

18       both of them on the call.                                  16:02:01

19              Q.   And were any attorneys present during any      16:02:09

20       of those conversations?                                    16:02:11

21              A.   Yes.    Attorneys for Facebook/Meta, were      16:02:14

22       present for all of those conversations, yes.               16:02:18

23              Q.   Okay.    And who were the attorneys that       16:02:22

24       were present, if you know their names?                     16:02:23

25              A.   There were a number of people on the call,     16:02:29

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1        so I probably can't give you everybody who was              16:02:30

2        there, but a combination of Rob -- Mr. Blume,               16:02:34

3        Ian Chen, and Matt -- I'm not sure I'm going to             16:02:41

4        pronounce this correctly -- Buongiorno.                     16:02:49

5                    Sorry, Matt, if you're listening.           I   16:02:52

6        apologize if I got that wrong.                              16:02:55

7             Q.     Thank you.     Good enough to identify him.     16:02:59

8                    And, sir, did you review any of the             16:03:01

9        pleadings or filings that have been made in this            16:03:03

10       case to prepare for your testimony today?                   16:03:06

11            A.     I have, yes.                                    16:03:09

12            Q.     And do you recall what specifically you         16:03:11

13       reviewed?                                                   16:03:13

14            A.     My attorneys sent over a -- a set of            16:03:16

15       documents for me to review in advance of this               16:03:21

16       testimony, and I also received a set of documents,          16:03:25

17       I think, from you folks; around 36 documents, I             16:03:28

18       think.                                                      16:03:34

19            Q.     And were you sent a stack of documents          16:03:34

20       from your attorneys?                                        16:03:36

21                   Were they assembled in a binder or              16:03:38

22       presented to you in some other manner like that?            16:03:40

23            A.     All of the documents I've reviewed to           16:03:43

24       prepare for today I've reviewed electronically.             16:03:46

25            Q.     Okay.   In a single folder?                     16:03:50

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1                  Were they delivered in a single folder, or        16:03:53

2        was it a series of separate files?                          16:03:55

3             A.   I received a link to a Google Drive folder        16:03:58

4        that contained a number of files.                           16:04:02

5             Q.   Thank you.                                        16:04:04

6                  MR. LOESER:    And, Counsel, as you know,         16:04:08

7        we've asked for Facebook to provide us with                 16:04:09

8        identification of the materials given to the                16:04:11

9        witness to prepare for his testimony, and we would,         16:04:13

10       again, ask that you do that with respect to this            16:04:15

11       deposition.                                                 16:04:18

12                 (Reporter requested clarification.)               16:04:18

13                 MR. BLUME:    I understood the request.           16:04:25

14       BY MR. LOESER:                                              16:04:28

15            Q.   And, Mr. Cross, you also indicated that           16:04:29

16       you reviewed some materials that you believe that           16:04:31

17       the plaintiffs sent over to you.       Is that correct?     16:04:33

18            A.   Yes.   That's my understanding.       There was   16:04:37

19       a set of documents that was sent over for me to             16:04:41

20       read in advance of today's testimony.                       16:04:46

21            Q.   And did you review those documents?               16:04:49

22            A.   I did review those documents, yes.                16:04:54

23            Q.   And how long would you say you spent              16:05:00

24       reviewing the documents that were delivered to you          16:05:03

25       from the plaintiffs?                                        16:05:05

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1             A.    On the order of eight to ten hours or so.      16:05:12

2             Q.    Good.   Thank you.                             16:05:20

3                   And were those all documents that you had      16:05:21

4        seen before, or were there some new things in there       16:05:23

5        for you?                                                  16:05:26

6             A.    That list contained documents that I           16:05:29

7        hadn't seen before.                                       16:05:30

8             Q.    Including documents that were -- that were     16:05:33

9        produced by Facebook in this case.                        16:05:36

10                  Let me ask that slightly differently.          16:05:40

11                  Including documents that were internal         16:05:42

12       correspondence and other materials that were              16:05:43

13       created by Facebook?                                      16:05:45

14            A.    That's my understanding, yes.                  16:05:48

15                  MR. LOESER:   So if we could mark --           16:05:55

16       actually, we don't need to mark.       If we could show   16:05:56

17       Mr. Cross what has been previously marked                 16:06:00

18       Exhibit 330, I believe.                                   16:06:02

19                  (Previously marked Exhibit 330 was             16:06:03

20                  presented to the witness.)                     16:06:03

21       BY MR. LOESER:                                            16:06:04

22            Q.    This should come up on your screen.            16:06:04

23       Again, we're at the mercy of the great Internet           16:06:07

24       here, but you will see the deposition notice that's       16:06:10

25       been served in this case by the plaintiffs on             16:06:13

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1        Facebook.                                                    16:06:16

2                    Let me know when you can see that                16:06:17

3        document.                                                    16:06:19

4                    MR. BLUME:     I believe that's Exhibit 332.     16:06:26

5                    MR. LOESER:     We have it as Exhibit 330.       16:06:29

6        Prior Exhibit 330, yeah.        This isn't a new exhibit,    16:06:34

7        Rob, sorry.        This is -- it was marked during           16:06:38

8        Ms. Hendrix's deposition.        I'll try and make           16:06:40

9        that --                                                      16:06:43

10                   MR. BLUME:     On the screen that I'm looking    16:06:44

11       at, it says "332" on the exhibit sticker.                    16:06:45

12                   MR. LOESER:     Refresh your screen.        My   16:06:52

13       technology expert tells me that you need to refresh          16:06:55

14       your screen.                                                 16:06:58

15                   It should be corrected now.                      16:07:05

16                   MR. BLUME:     Yes, with thanks to your          16:07:08

17       technology expert.        Appreciate it.                     16:07:09

18       BY MR. LOESER:                                               16:07:12

19            Q.     So, Mr. Cross, you're looking at what's          16:07:12

20       called "Plaintiff's Second Amended Notice of                 16:07:16

21       Deposition of Defendant Facebook, Inc., Pursuant to          16:07:18

22       Federal Rule of Civil Procedure 30(b)(6)."                   16:07:20

23                   Have you seen this notice before?                16:07:25

24            A.     Yes.                                             16:07:29

25            Q.     And you understand that you have been            16:07:31

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1        designated to testify as to certain topics in            16:07:33

2        response to this notice.                                 16:07:36

3             A.    That's my understanding, yes.                 16:07:40

4             Q.    Okay.   And if you could turn -- attached     16:07:42

5        to the notice, there is an appendix.        And if you   16:07:45

6        turn all the way to page 13, or click through to         16:07:48

7        that page or whatever you would need to do on your       16:07:51

8        screen.    I'm turning to page 13, but ...               16:07:54

9             A.    I have page 13 in front of me.                16:08:02

10            Q.    Okay.   And on page 13, there are three       16:08:04

11       topics.    The bottom two, there's Topic 6 and           16:08:07

12       Topic 7.                                                 16:08:13

13                  Do you see that?                              16:08:14

14            A.    I see that.                                   16:08:14

15            Q.    And is it your understanding that you have    16:08:15

16       been designated to testify on behalf of Facebook         16:08:17

17       with regard to Topics 6 and 7?                           16:08:23

18            A.    That's correct.                               16:08:27

19            Q.    Okay.   And as we get into these topics in    16:08:28

20       more detail, your counsel will probably want to          16:08:31

21       clarify the -- the particular matters within those       16:08:34

22       paragraphs that you are prepared to testify about,       16:08:37

23       but we can get to that later.                            16:08:40

24                  But for present purposes, what's important    16:08:43

25       is that these are the two topics that you                16:08:46

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1        understand that you are here to testify about.           16:08:48

2             A.    Those are the two topics I understand I'm     16:08:53

3        here to testify about.                                   16:08:55

4             Q.    And do you understand that by being           16:08:58

5        designated to testify about these topics, you are        16:09:00

6        authorized to speak for Meta/Facebook on the             16:09:04

7        specified matters?                                       16:09:08

8             A.    That's -- that's my understanding, yes.       16:09:11

9             Q.    And you understand that your testimony,       16:09:14

10       which is under oath, is binding on Meta.                 16:09:15

11            A.    That's my understanding, yes.                 16:09:20

12            Q.    Okay.   And I'm going to use Meta and         16:09:22

13       Facebook interchangeably here.       I mean the same     16:09:24

14       thing every time, and, like you said before, if          16:09:26

15       there's a distinction that needs to be drawn, you        16:09:29

16       are going to draw that for me.                           16:09:32

17            A.    I will ask for clarification where I think    16:09:33

18       one is needed if the entities need to be                 16:09:36

19       distinguished, yes.                                      16:09:38

20            Q.    And, sir, do you understand that the time     16:09:40

21       period at issue in this litigation is 2007 to the        16:09:42

22       present?                                                 16:09:46

23            A.    That's my understanding, yes.                 16:09:48

24            Q.    Okay.   So all of my questions will concern   16:09:50

25       that time period unless I specify something              16:09:53

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1        narrower.                                                16:09:55

2                    Is that fair?                                16:09:56

3             A.     That's fair.                                 16:09:57

4             Q.     So before we get into the specifics of       16:10:06

5        each of these topics, I think it would be important      16:10:08

6        to have a conversation about basic terminology to        16:10:10

7        make sure that when you testify, the record is           16:10:13

8        clear as to what you're saying.                          16:10:14

9                    Is that fair?                                16:10:16

10            A.     I'm happy to make sure we can align on       16:10:18

11       terminology, yes.                                        16:10:22

12            Q.     Okay.   Some of it will seem very basic to   16:10:23

13       you, but trust me, it's important for the court and      16:10:25

14       for the record and, if there's a jury in this case,      16:10:27

15       for the jury to understand and hear from Facebook        16:10:30

16       what these terms mean.                                   16:10:33

17                   So if you'll bear with me, I'll run          16:10:34

18       through some of these basic concepts.                    16:10:36

19                   To start, what is an "app"?                  16:10:39

20            A.     An app is an entity in Facebook's systems    16:10:43

21       that has the ability to access information via the       16:10:53

22       Graph API.                                               16:11:00

23                   There was a broader definition of "app"      16:11:01

24       that is pursuant to mobile applications and so on,       16:11:05

25       but an app in the Facebook ecosystem is a -- an          16:11:08

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1        entity that -- that has an app ID and can access         16:11:13

2        the Graph API in some way.                               16:11:18

3             Q.     And there are third-party apps and           16:11:22

4        Facebook apps.      Correct?                             16:11:24

5             A.     Can you help me understand what you mean     16:11:28

6        by "third-party apps"?                                   16:11:29

7             Q.     Yeah.   I'm glad you asked.                  16:11:31

8                    So Facebook creates apps itself for the      16:11:34

9        platform.     Right?                                     16:11:36

10            A.     There are some apps that Facebook            16:11:41

11       engineers, Facebook, Inc., would have built that         16:11:45

12       may call the Platform APIs, yes.                         16:11:49

13            Q.     And then there are -- I'll call them         16:11:54

14       "third parties," but entities not owned or               16:11:57

15       affiliated with Facebook that also create apps.          16:11:59

16            A.     The Facebook Platform allowed developers     16:12:04

17       to create -- third parties to create applications        16:12:07

18       on the Facebook Platform, yes.                           16:12:10

19            Q.     Okay.   And so over the course of our        16:12:12

20       conversation today, when I refer to "third-party         16:12:14

21       apps," that is what I will be referring to.              16:12:16

22                   Is that fair?                                16:12:19

23            A.     So to be clear, you're referring to a        16:12:20

24       third party that, in this context, is an                 16:12:23

25       application developed by an entity other than            16:12:28

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1        Facebook, Inc., or Meta Platforms?                       16:12:31

2                Q.   Yes.   Thank you.   That's a good           16:12:36

3        clarification.                                           16:12:38

4                     And you used some other terms in your       16:12:39

5        answer, and I guess we may as well define those as       16:12:42

6        well.                                                    16:12:46

7                     What is the "Facebook Platform"?            16:12:46

8                A.   The Facebook Platform is a collection of    16:12:50

9        technologies that enable developers to build             16:12:57

10       applications that could interact with the Facebook       16:13:01

11       product, Facebook.com or the Facebook product as         16:13:08

12       a -- as a regular user would think of it.                16:13:14

13               Q.   And help me understand:     What is the     16:13:19

14       "Facebook product"?                                      16:13:21

15               A.   So the Facebook product, by that, I'm       16:13:25

16       referring to, you know, the website Facebook.com         16:13:28

17       and the Facebook iOS and Android apps, for example,      16:13:32

18       and the experience you have when using the               16:13:39

19       Facebook.com website or the Facebook mobile apps on      16:13:43

20       iOS and Android.                                         16:13:48

21               Q.   Thank you for that.                         16:13:52

22                    And, sir, what is the "Facebook             16:13:54

23       Social Graph"?                                           16:13:55

24               A.   My understanding is that the Social Graph   16:13:57

25       would be a term used to explain the relationships        16:13:59

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1        between users of the Facebook product; who is              16:14:06

2        friends with who.                                          16:14:11

3             Q.     Okay.   And we'll have some more specific      16:14:13

4        questions about how that functions later.                  16:14:16

5                    What is an "API"?                              16:14:18

6             A.     An API, which stands for application           16:14:24

7        programming interface, is a way for -- a technical         16:14:27

8        means by which information can be exchanged between        16:14:34

9        entities.                                                  16:14:37

10            Q.     And are you familiar with the term             16:14:42

11       "high-signal APIs"?                                        16:14:44

12            A.     I'm not familiar with that term.               16:14:47

13            Q.     Are some APIs considered more sensitive in     16:14:51

14       terms of the information they provide than others?         16:14:53

15            A.     Can you help me understand in which            16:14:58

16       context you are referring to?        My answer with APIs   16:15:00

17       was a general concept.                                     16:15:03

18            Q.     Sure.   In the context of an app obtaining     16:15:06

19       information about Facebook users through APIs, are         16:15:10

20       there some APIs that are considered more sensitive         16:15:13

21       than others in terms of the information that's             16:15:17

22       being gathered?                                            16:15:22

23            A.     So I would -- yeah, I think it's fair to       16:15:27

24       say that there are some APIs which are considered          16:15:31

25       more sensitive than others, yes.                           16:15:37

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1             Q.    And why is that?    What is the type of       16:15:41

2        information that would be considered more sensitive      16:15:43

3        in that context?                                         16:15:46

4             A.    So it depends on the definition of            16:15:48

5        "sensitive."                                             16:15:52

6                   Can you help me understand what you mean      16:15:52

7        by "sensitive"?                                          16:15:54

8             Q.    Yes.    I mean about the Facebook user data   16:15:55

9        and information that is accessed via an API.             16:15:57

10                  Are there some APIs that have the ability     16:16:01

11       to access what Facebook has considered more              16:16:03

12       sensitive information about its users?                   16:16:07

13            A.    So good example of a -- of an API that I      16:16:11

14       think is -- would be considered sensitive is an API      16:16:15

15       called "auth.log-in," which would allow a user to        16:16:19

16       log in to a third-party application using their          16:16:26

17       Facebook user name and password.                         16:16:29

18                  And that would be considered potentially      16:16:31

19       sensitive because the user is entering their             16:16:36

20       Facebook user name and password into a third-party       16:16:38

21       context.                                                 16:16:42

22            Q.    Okay.    And help me understand why that      16:16:46

23       would be considered sensitive.                           16:16:50

24                  Would that be considered highly sensitive     16:16:52

25       in the Facebook terminology?                             16:16:55

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1               A.   I'm not sure what you would be referring          16:16:58

2        to with -- by "highly sensitive."         I'm not aware of    16:16:59

3        a specific set of things that would be classed as             16:17:05

4        "highly sensitive."                                           16:17:09

5               Q.   Okay.   How about friends permissions             16:17:12

6        and/or -- friend-related APIs?                                16:17:16

7                    Are you familiar with friend-related APIs?        16:17:19

8               A.   Can you understand -- just represent --           16:17:23

9        just for clarification, can you help me understand            16:17:26

10       what you mean by "friend-related APIs"?                       16:17:28

11              Q.   Sure.   And we'll get into this more -- in        16:17:30

12       more detail later as well.                                    16:17:33

13                   But APIs that provide access to the               16:17:35

14       information about a Facebook user's friends, are              16:17:36

15       those referred to by Facebook as "friends                     16:17:39

16       permissions" or "friends APIs"?                               16:17:42

17              A.   There was a set of permissions that               16:17:46

18       were -- were referred to as the friend permissions,           16:17:48

19       yes.                                                          16:17:52

20              Q.   And did Facebook consider those                   16:17:54

21       permissions to be sensitive?                                  16:17:56

22              A.   I think -- I'm not sure -- I'm not sure if        16:18:01

23       there's a way to specifically answer that.            Those   16:18:08

24       were a set of permissions that were available at              16:18:14

25       one time on the Platform and are no longer                    16:18:16

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1        generally available.                                     16:18:21

2             Q.    And, again, from the perspective of           16:18:24

3        Facebook, did Facebook discuss those permissions in      16:18:26

4        terms of them being sensitive or highly sensitive?       16:18:31

5             A.    They were certainly discussed in the          16:18:39

6        context of being a set of permissions worth              16:18:41

7        discussing.                                              16:18:47

8                   They may have been discussed at times as      16:18:48

9        sensitive.    I'm not sure about whether or not they     16:18:51

10       were discussed as highly sensitive.       There's no     16:18:53

11       official designation for those permissions that was      16:18:55

12       consistent across the company.                           16:19:00

13            Q.    And we're about to move on to some other      16:19:03

14       topics, but can you give me an example of a              16:19:06

15       permission that Facebook did refer to as "highly         16:19:09

16       sensitive"?                                              16:19:11

17            A.    I can't give you an example here today of     16:19:14

18       a permission or a -- do you -- from reviewing the        16:19:16

19       documents I've reviewed, I don't recall a set of         16:19:21

20       APIs or permissions that would have been                 16:19:24

21       considered -- referred to as "highly sensitive."         16:19:26

22                  It's possible that they were referred to      16:19:29

23       using that term by some people, but I don't -- I         16:19:31

24       don't think there was an official designation in         16:19:35

25       any way.                                                 16:19:38

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1                    Sorry.    Official -- I'm not aware of an    16:19:41

2        official designation of "highly sensitive."              16:19:44

3              Q.    And if you were asked to prepare a list of   16:19:47

4        everything that Facebook -- every API Facebook           16:19:50

5        considered sensitive or highly sensitive, who at         16:19:54

6        Facebook would you go talk to to get that                16:19:57

7        information?                                             16:19:59

8              A.    There was a categorization of some APIs      16:20:03

9        done in, I think, 2018 to categorize APIs that were      16:20:08

10       still generally available that were still in             16:20:17

11       existence in that time against -- against a set of       16:20:21

12       criteria.                                                16:20:27

13                   I would go speak to one of the people that   16:20:29

14       was involved in that project in around 2018.             16:20:32

15             Q.    And do you know -- do you recall who those   16:20:36

16       people -- who was in charge of that project?             16:20:38

17             A.    I think Konstantine -- Konstantinos -- I     16:20:41

18       really can't pronounce his last name.                    16:20:47

19                   "KP" as he is otherwise known --             16:20:50

20       Konstantinos Papamiltiadis -- I don't even want to       16:20:52

21       try -- was leading that project, as I understand         16:20:55

22       it.                                                      16:20:57

23             Q.    Okay.    And there are some documents that   16:20:57

24       have his name, and I can't begin to pronounce that       16:20:59

25       either, so we'll just refer to him as "KP" for the       16:21:02

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1        benefit of the court reporter.                           16:21:05

2                  Understood?                                    16:21:07

3             A.   That's good.   That's good with me.            16:21:08

4             Q.   So there was a few other terms that you        16:21:10

5        mentioned that I want to make sure we understand         16:21:12

6        and I've used as well.                                   16:21:14

7                  One is a "permission."                         16:21:16

8                  In the context of an API, what is a            16:21:18

9        "permission"?                                            16:21:20

10            A.   In the context of -- can you help me           16:21:23

11       understand, "in the context of an API"?                  16:21:26

12            Q.   Or APIs generally.                             16:21:32

13            A.   So my understanding would be that in the       16:21:35

14       context of an API generally, a permission would          16:21:38

15       refer to a way for users -- users of the API or          16:21:42

16       consumers or integration -- integrators of the API       16:21:48

17       to determine what information was available over         16:21:52

18       that interface.                                          16:21:59

19            Q.   And speaking specifically about the -- the     16:22:03

20       entities that were accessing information on the          16:22:07

21       Facebook Platform, does "permission" refer to the        16:22:10

22       grant of access by Facebook to APIs?                     16:22:13

23            A.   "Permissions" in the Facebook Platform         16:22:17

24       context refers to permissions that a user, a             16:22:22

25       Facebook user, would grant an application to which       16:22:27

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1        information the application would then have access       16:22:34

2        to after the user had given permission.                  16:22:36

3             Q.    And that brings me to my next question,       16:22:41

4        which is capability.                                     16:22:44

5                   In the context of APIs, what is the           16:22:46

6        definition of "capabilities" or a "capability"?          16:22:49

7             A.    Again, do you mean in the context of an       16:22:54

8        API generally, or --                                     16:22:56

9             Q.    Yes.                                          16:22:59

10            A.    So in the context of an API generally,        16:23:01

11       "capability" doesn't have an industry-standard           16:23:04

12       meaning.                                                 16:23:07

13            Q.    How does Facebook generally use that term?    16:23:13

14            A.    In the context -- in the context of the       16:23:18

15       Facebook Platform, "capability" refers to a set of       16:23:21

16       features that would be available to some apps on         16:23:30

17       the Facebook Platform, and that would have enabled       16:23:37

18       a range of functionality.                                16:23:41

19            Q.    And specifically, when talking about APIs,    16:23:44

20       would a "capability" relate to the entity's ability      16:23:47

21       to have access to certain APIs on the Platform?          16:23:54

22            A.    Capabilities would -- would modify the --     16:24:00

23       the behavior of the Facebook Platform in a number        16:24:06

24       of different ways.                                       16:24:08

25            Q.    And, again, I'm trying to understand how      16:24:11

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1        the term is used in the context of Facebook's            16:24:13

2        discussions of what APIs a third party has access        16:24:15

3        to.                                                      16:24:19

4                   Does that help in any way to flesh out        16:24:21

5        what it means?                                           16:24:25

6              A.   So a capability -- my previous answer, I      16:24:27

7        think, is accurate in that a capability is a way         16:24:30

8        for the standard behavior of the Facebook Platform       16:24:34

9        to be modified in some way.                              16:24:37

10             Q.   And I'm -- I apologize for struggling to      16:24:42

11       understand this, but -- so let's assume that an app      16:24:44

12       or a developer wants to have access to friend            16:24:49

13       data-related permissions.     Okay?                      16:24:53

14                  Can we start with that premise?               16:24:59

15                  And I'll ask a question based on that         16:25:03

16       premise:                                                 16:25:05

17                  Is there a capability that would be           16:25:06

18       provided to that developer that would enable access      16:25:07

19       to those permissions -- or to those APIs?                16:25:10

20             A.   Can you help me understand what time frame    16:25:15

21       you're referring to?                                     16:25:17

22             Q.   Sure.   Any time between 2007 and the         16:25:21

23       present.                                                 16:25:24

24             A.   So I think the answer depends on the time.    16:25:28

25       In -- you know, the early part of that time period,      16:25:34

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1        let's say 2012, access to the friend permissions            16:25:40

2        was available to all applications on the Facebook           16:25:47

3        Platform.                                                   16:25:51

4                    Later on, the friend permissions were not       16:25:53

5        available to every app on the Platform, and access          16:25:58

6        to those would have required a modification to the          16:26:03

7        standard API behavior.        And that would have been      16:26:06

8        governed by capability.                                     16:26:10

9             Q.     Thank you.   You've helped me understand        16:26:12

10       any number of documents I have reviewed now.                16:26:14

11       That's helpful information.                                 16:26:17

12                   We can move on.                                 16:26:20

13                   Do you understand what "read permission         16:26:22

14       APIs" are?                                                  16:26:24

15            A.     So there's two different concepts that are      16:26:28

16       worth picking apart:      There's the concept of            16:26:31

17       permissions, and there's a concept of APIs, and             16:26:35

18       those are separate concepts.                                16:26:38

19                   So I'm not sure how to answer the               16:26:44

20       question.                                                   16:26:46

21            Q.     Let me break it down.     I've seen reference   16:26:47

22       to "read stream APIs," for example.                         16:26:50

23                   Are you familiar with those?                    16:26:52

24            A.     I am familiar with the -- the concept of a      16:26:56

25       read stream API, yes.                                       16:26:59

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1               Q.   Okay.   What is that?                                16:27:02

2               A.   In the context of the Facebook Platform?             16:27:07

3        Is that what you're asking about?                                16:27:09

4               Q.   Yes.                                                 16:27:11

5               A.   My understanding is that the read stream             16:27:13

6        API would allow an application to access a --                    16:27:16

7        the -- an authorized -- a user who -- let me start               16:27:20

8        again to make sure I'm framing this correctly for                16:27:24

9        you.                                                             16:27:26

10                   The read stream API would allow an                   16:27:28

11       application to access a user's Newsfeed.              In order   16:27:31

12       to access that API, the user would have to give the              16:27:35

13       application permission to do so.                                 16:27:41

14              Q.   And what about Social Context APIs?           What   16:27:45

15       are those?                                                       16:27:50

16              A.   My understanding is a Social Context API             16:27:54

17       refers to an API that helped applications                        16:27:57

18       understand the relationships between two users of                16:28:02

19       the application.                                                 16:28:06

20              Q.   Two users, or any number of users?                   16:28:10

21              A.   My understanding is the Social Context API           16:28:15

22       referred to social context between two app-using                 16:28:17

23       users.                                                           16:28:22

24              Q.   And we'll get into this in more detail               16:28:25

25       later, but both with read stream and social context              16:28:28

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1        APIs, the information that the app or developer                  16:28:31

2        would access would include friend information for                16:28:36

3        the users that authorized the app or developer to                16:28:38

4        have access.        Right?                                       16:28:43

5               A.   Sorry.     Can you restate the question?         I   16:28:44

6        want to make sure I fully understand.                            16:28:46

7               Q.   Sure.     You described what a read stream           16:28:48

8        permission was, and you described what a social                  16:28:50

9        context API was.                                                 16:28:53

10                   Both of those APIs, if authorized by a               16:28:55

11       user, would provide access to friends information                16:28:57

12       of that user.        Right?                                      16:28:59

13              A.   The read stream API would grant access to            16:29:04

14       an app using a person's Newsfeed.            A Newsfeed on       16:29:07

15       Facebook typically contains content posted by that               16:29:13

16       user's friends.                                                  16:29:17

17              Q.   Okay.     And how about the social context           16:29:18

18       API?    Would that do the same?                                  16:29:19

19              A.   I'd have to review the API documentation             16:29:24

20       for -- for the -- if there was a specific API                    16:29:26

21       you're referring to, exactly how it behaved.                     16:29:31

22              Q.   And that's a helpful qualification.                  16:29:36

23                   Is there a set of -- or a place where                16:29:40

24       documentation of APIs is stored so that if Facebook              16:29:43

25       wanted to understand the specific information that               16:29:46

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1        that API made available, it could go to that set         16:29:49

2        and find the answer?                                     16:29:52

3             A.   The Facebook developer website is              16:29:56

4        typically where API documentation is stored and          16:29:58

5        published.                                               16:30:02

6             Q.   And that's true for any API that has ever      16:30:04

7        existed, or simply for the active APIs?                  16:30:08

8             A.   That -- the Facebook developer website is      16:30:16

9        typically for APIs that are available -- publicly        16:30:18

10       available.                                               16:30:22

11                 And so not every API that's ever existed       16:30:23

12       would necessarily have a documentation -- would          16:30:26

13       have a document on the Facebook developer website.       16:30:30

14            Q.   Okay.   So where would one go to find          16:30:33

15       information on every API that ever existed?              16:30:35

16            A.   The -- I'm not sure every API that ever        16:30:42

17       existed necessarily had a -- a document -- an            16:30:46

18       associated document written about it.                    16:30:51

19                 The source of truth for which APIs existed     16:30:53

20       and so on would have been the Facebook code base         16:30:57

21       itself.                                                  16:31:01

22            Q.   And how would one go about searching that      16:31:03

23       for information about a defunct API?                     16:31:06

24            A.   There are internal tools at Facebook that      16:31:10

25       allow user search for code which existed in the          16:31:13

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1        Facebook code base.                                      16:31:19

2             Q.    And what are those internal tools?            16:31:21

3             A.    I am not sure of the name of the internal     16:31:27

4        tools.    I'd have to get back to you on -- on the       16:31:31

5        specific name of the tool.                               16:31:35

6                   MR. LOESER:    And, Counsel, if you could     16:31:39

7        get back to us with that information, I'd                16:31:40

8        appreciate it.                                           16:31:42

9                   MR. BLUME:    Noted.                          16:31:47

10       BY MR. LOESER:                                           16:31:48

11            Q.    And, Mr. Cross, what is a "private API"?      16:31:50

12            A.    Can you help me understand the context in     16:31:58

13       which you're asking the question?                        16:32:01

14            Q.    Sure.   In the context of email and other     16:32:03

15       materials reviewed -- that you reviewed to prepare       16:32:05

16       for this deposition, the term "private API" is           16:32:09

17       frequently used.                                         16:32:14

18                  Do you have an understanding of what is       16:32:15

19       meant by that at Facebook?                               16:32:17

20            A.    My understanding of the term "private API"    16:32:19

21       is that it would be an API that was not generally        16:32:22

22       available to most applications on the Facebook           16:32:27

23       Developer Platform.                                      16:32:33

24            Q.    Okay.   So explain to me what the             16:32:36

25       difference is between a private API and a                16:32:38

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1        capability.                                                16:32:41

2             A.    So a "private API" would refer to a             16:32:42

3        specific API method, generally, that could be              16:32:47

4        accessed by developers.                                    16:32:51

5                   A "capability" is the means by which            16:32:53

6        access to that API is governed.                            16:32:56

7             Q.    We discussed how APIs function and how          16:33:07

8        APIs provide access to developers or other entities        16:33:09

9        about information about Facebook users.                    16:33:16

10                  Were there any other technical means by         16:33:21

11       which Facebook shared information about its users          16:33:24

12       with developers or other entities?                         16:33:25

13            A.    The Graph API was the -- was a primary way      16:33:31

14       that information would be exchanged with third             16:33:36

15       parties.    It's possible at the company there were        16:33:40

16       other ways for people to exchange information with         16:33:44

17       third parties; email, for example.        But the          16:33:49

18       Graph API would have been one of the common ways to        16:33:55

19       programmatically exchange information.                     16:33:58

20            Q.    And can you identify any other ways to          16:34:01

21       programmatically exchange information?                     16:34:04

22            A.    I don't have the ability to -- to know          16:34:11

23       every form of information interchange ever used            16:34:15

24       by -- by the company, so I -- I don't feel I can           16:34:20

25       specify other -- any specific other systems.         The   16:34:26

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1        Graph API would have been a common one.                   16:34:31

2                       There were other APIs in existence over    16:34:34

3        time.        Two examples would be the REST API and       16:34:38

4        something called FQL.                                     16:34:45

5                Q.     And explain, if you can, what those two    16:34:49

6        systems are.                                              16:34:51

7                A.     So the REST API was a -- a mechanism, a    16:34:53

8        form of API used by the Facebook Platform to              16:34:59

9        exchange information with third parties that              16:35:03

10       pre-existed the Graph API, and the two were in use        16:35:05

11       simultaneously for a period.                              16:35:12

12                      FQL --                                     16:35:14

13               Q.     Let me pause you there.    Sorry to        16:35:16

14       interrupt, but what period did that exist, and when       16:35:17

15       was it overlapping?                                       16:35:21

16               A.     The REST API, my understanding, was the    16:35:24

17       original form of the Facebook Developer Platform.         16:35:28

18       So my understanding is that was launched in 2007.         16:35:30

19                      And my understanding is the REST API was   16:35:37

20       deprecated in -- I'm not sure of the specific date,       16:35:39

21       but my understanding is around the time that              16:35:43

22       Graph API Version 1.1 or 1.2 was -- was announced.        16:35:46

23                      But that -- we can follow up with a        16:35:53

24       specific because I want to make sure I don't give         16:35:57

25       you the wrong answer.                                     16:36:00

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1             Q.   Sure.   And do you have a rough idea of        16:36:01

2        what year the Graph API came into being?                 16:36:03

3             A.   The Graph API was launched in April 2010.      16:36:07

4             Q.   So we've touched on the Graph API              16:36:17

5        Version 1, and that's another important term.       I    16:36:20

6        want to make sure I understand that.                     16:36:23

7                  So Graph API version, was it 1.0 or 1.1?       16:36:26

8                  What was the very first version of that        16:36:31

9        system?                                                  16:36:33

10            A.   The Graph API was launched in April 2010.      16:36:35

11       At the time, it was just called the "Graph API."         16:36:39

12            Q.   Okay.   And I gather from your LinkedIn        16:36:42

13       résumé, you had something to do with the initial         16:36:45

14       development of the Graph API version zero, I guess,      16:36:47

15       whatever you call it.    Is that right?                  16:36:53

16            A.   So the version of the API that was             16:36:55

17       originally launched in April 2010 is what later          16:36:57

18       became known as Version 1.                               16:37:00

19                 I was actually not involved in the             16:37:03

20       development of that.    It was launched in               16:37:05

21       April 2010.   I joined the company in                    16:37:07

22       September 2010.                                          16:37:11

23            Q.   Okay.   So let's -- let me make sure I         16:37:15

24       understand the different versions.                       16:37:17

25                 It starts with Graph API, period, and then     16:37:19

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1        it evolved into what?                                        16:37:22

2                     What were the different evolutions of           16:37:24

3        that, of the Graph API?                                      16:37:26

4                A.   It was called just the "Graph API" from --      16:37:29

5        from launch in April 2010.        That -- that, kind of,     16:37:32

6        version later became known as "API Version 1" when           16:37:38

7        a new version that was referred to as                        16:37:43

8        "API Version 2" was launched in April 2014.                  16:37:45

9                Q.   And in the evolution from Version 1 and         16:37:52

10       Version 2, were there specific reasons why Facebook          16:37:55

11       made changes?                                                16:37:59

12               A.   The Graph API, the original version of the      16:38:02

13       Graph API, evolved constantly over time as well.             16:38:06

14       So there were changes being made to the -- to the            16:38:10

15       Graph API from launch for a wide range of reasons.           16:38:14

16               Q.   Okay.   And, specifically, in the changes       16:38:20

17       from Version 1 to Version 2, what were the                   16:38:22

18       reasons -- what were the major changes that were             16:38:24

19       made?                                                        16:38:27

20               A.   It was a large number of changes launched       16:38:29

21       as part of API Version 2.                                    16:38:33

22                    How much -- how much depth would you like       16:38:37

23       me to go into?                                               16:38:39

24               Q.   Well, let me ask it this way:       What were   16:38:41

25       the problems that Facebook was trying to solve in            16:38:44

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1        the transition from Version 1 to Version 2?              16:38:47

2             A.   There was a -- also a whole -- also a          16:38:51

3        whole range of problems that -- that we were             16:38:53

4        attempting to solve.                                     16:38:56

5                  Can you help me understand, like, what you     16:38:58

6        are looking for?                                         16:39:00

7             Q.   Well, let's start at the -- are you            16:39:01

8        familiar with the expression "the 30,000-foot            16:39:03

9        level"?                                                  16:39:07

10            A.   I've heard of that term, yes.                  16:39:08

11            Q.   Okay.    So let's think about it in terms of   16:39:10

12       at the 30,000-foot level if there were major issues      16:39:13

13       that Facebook was attempting to solve through that       16:39:17

14       transition, if any of those come to mind.                16:39:19

15            A.   I'll do my best to explain some.               16:39:23

16                 One was that the original way that             16:39:27

17       breaking changes had been made in the Facebook           16:39:32

18       Developer Platform was in an app configuration.          16:39:34

19                 So in your app, configuring your app           16:39:39

20       settings, that was a workable mechanism when the         16:39:42

21       Facebook Platform was primarily called by                16:39:48

22       server-side applications.                                16:39:52

23                 In the early 2010s, the developer              16:39:55

24       ecosystem moved more and more to mobile                  16:40:00

25       applications, which meant developers' code running       16:40:02

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1        on devices, which meant that it was harder for them      16:40:08

2        to centrally control changes to the API.                 16:40:12

3                  And so one of the big problems that            16:40:15

4        Facebook was trying to solve with the launch of          16:40:18

5        API Version 2 was the introduction of versioning         16:40:21

6        itself; to allow developers to specify the API           16:40:23

7        behavior they wanted when calling the API.               16:40:28

8             Q.   Okay.   And can you think any of other         16:40:32

9        major problems Facebook was attempting to resolve        16:40:34

10       with Graph API Version 2?                                16:40:39

11            A.   Another thing that was being solved with       16:40:45

12       Version 2 is the limiting of the amount of data          16:40:48

13       that was available via the API.                          16:40:53

14            Q.   And why did Facebook want to do that?          16:40:58

15            A.   It was a range of reasons why Facebook was     16:41:02

16       attempting to alter the amount of information that       16:41:07

17       was available via the API.                               16:41:10

18                 One reason that comes to mind is that we       16:41:14

19       had heard feedback from users that they were             16:41:18

20       concerned about the amount of information that was       16:41:22

21       available via the API, and we wanted to increase         16:41:25

22       trust -- user trust in the Facebook Developer            16:41:30

23       Platform, and that was one of the drivers behind         16:41:32

24       that decision.                                           16:41:39

25            Q.   And when Facebook heard from users about       16:41:40

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1        their concerns, were those concerns with respect to       16:41:43

2        any particular types of user information that was         16:41:48

3        being made available to third parties?                    16:41:51

4             A.   There was a -- a range of concerns.       One   16:41:55

5        of them was the ability for apps to access friends        16:41:59

6        information.                                              16:42:04

7             Q.   And was another reason to limit the amount      16:42:07

8        of user information made available to developers a        16:42:10

9        desire by Facebook to better profit from the data         16:42:17

10       it collected about users by giving away less to           16:42:20

11       developers for free?                                      16:42:23

12            A.   Can you repeat the question?                    16:42:28

13                 Sorry, I want to make sure I understand.        16:42:29

14            Q.   Sure.   It took me great mental acuity to       16:42:31

15       say it in the first place, so how about if I              16:42:36

16       just -- if we read it back and see, if you heard it       16:42:38

17       a second time, it makes better sense.        It might     16:42:41

18       just be a bad question, but let me look and see.          16:42:44

19       And I can read it.                                        16:42:47

20                 Was another reason to limit the amount of       16:42:48

21       user information made available to developers a           16:42:50

22       desire by Facebook to better profit from the data         16:42:53

23       it collected about users by giving away less of           16:42:55

24       that information for free?                                16:42:59

25            A.   Having spoken to people and read                16:43:05

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1        documents, that's -- that's not a concern that was,      16:43:08

2        as I understand it, front and center in the              16:43:11

3        decision-making.                                         16:43:14

4             Q.   Was that a concern that was discussed or       16:43:15

5        expressed at times, however?                             16:43:17

6             A.   I have recalled seeing documents that          16:43:23

7        were -- there were a number of discussions about         16:43:28

8        how to balance the equities between users,               16:43:32

9        developers, and Facebook -- in this case, the            16:43:36

10       company Meta but also the application -- as to how       16:43:39

11       the Facebook Developer Platform was being used.          16:43:43

12            Q.   Thank you.   Do you know, when was the         16:43:50

13       first time or time period that Facebook heard            16:43:53

14       concerns expressed by users about the amount of          16:43:58

15       their information that was being made available to       16:44:01

16       third parties?                                           16:44:04

17            A.   I don't know -- I'm not able to sense          16:44:09

18       specifically when those concerns began to be heard.      16:44:14

19                 I am aware that there was some -- some         16:44:18

20       research done, and there were some discussions           16:44:20

21       happening in -- in the 2012 and 2013 time period;        16:44:23

22       but exactly, you know, when this was -- was --           16:44:28

23       began to be discussed is hard for me to say with         16:44:36

24       specificity.                                             16:44:38

25            Q.   And then Graph API Version 2 became            16:44:39

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1        operative when?                                          16:44:43

2             A.     Graph API Version 2 was made broadly         16:44:48

3        available on April the 30th, 2015 -- sorry,              16:44:53

4        April the 30th, 2014.                                    16:44:56

5             Q.     Okay.   So during the time that Facebook     16:44:58

6        users expressed some concern -- you think sometime       16:45:03

7        starting in around 2012 -- and those concerns            16:45:06

8        were -- or were those concerns addressed in              16:45:09

9        Graph API Version 2?                                     16:45:13

10            A.     API Version 2 contained a number of          16:45:20

11       changes designed to -- to satisfy some of those          16:45:22

12       concerns.                                                16:45:26

13            Q.     And those changes were implemented in --     16:45:28

14       in 2015.                                                 16:45:31

15            A.     The -- API Version 2, you know, was          16:45:36

16       launched in -- on April 30, 2014, and the previous       16:45:41

17       versions of the API began to be deprecated -- began      16:45:44

18       to be deprecated in -- on April 30, 2015.                16:45:47

19            Q.     I'm confident that all these questions       16:46:02

20       will make the more specific testimony a lot faster       16:46:05

21       because we have a basic understanding now of these       16:46:08

22       terms, so I appreciate your patience as we go            16:46:10

23       through.     I have a few more questions that are        16:46:13

24       general in nature like this before we get                16:46:15

25       specifically into the topics and subtopics of the        16:46:19

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1        notice.                                                     16:46:21

2                    You testified that Facebook provided            16:46:22

3        access to Facebook user information to what we've           16:46:23

4        called "third parties" through APIs.           Right?       16:46:26

5             A.     The Facebook Developer Platform allowed         16:46:30

6        third parties to build applications that accessed           16:46:33

7        data on Facebook users via the Graph API or via a           16:46:38

8        set of APIs.                                                16:46:44

9             Q.     And apps are one category of the third          16:46:47

10       parties that could access APIs on the Facebook              16:46:50

11       Platform?                                                   16:46:54

12            A.     Sorry.     Can you -- this is one of the        16:47:00

13       things that -- to make sure we get right and                16:47:01

14       understand, can you specify -- just repeat the              16:47:04

15       question again?                                             16:47:06

16                   And -- if you're referring to one of the        16:47:07

17       categories, could you help me understand what, in           16:47:10

18       your mind, is the other categories?                         16:47:12

19            Q.     Sure.     I'm going to go through some          16:47:14

20       different categories.        I'm trying to understand the   16:47:16

21       different entities that were allowed to use the --          16:47:18

22       the -- use APIs to access information.                      16:47:21

23                   And one of those -- and I'm calling them        16:47:23

24       "categories."        If you have different terminology,     16:47:25

25       please tell me what it is.                                  16:47:27

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1                       But one of the categories that could         16:47:29

2        access APIs was -- are referred to as "apps."               16:47:30

3        Right?                                                      16:47:34

4                A.     So in the context of the Facebook            16:47:36

5        Developer Platform, to access any information via           16:47:38

6        the API had to be done through a Facebook app ID;           16:47:43

7        through a Facebook application with a specific              16:47:47

8        Facebook app ID.                                            16:47:50

9                Q.     Okay.   So that brings me to my next         16:47:51

10       question, which is partners.                                16:47:54

11                      Facebook has what it refers to as            16:47:56

12       "partners."        Correct?                                 16:47:58

13               A.     I've heard -- I've seen the term "partner"   16:48:02

14       used.        It refers to a wide range of relationships     16:48:05

15       between Facebook and its -- and various third               16:48:08

16       parties.                                                    16:48:13

17               Q.     Okay.   And you were involved in the         16:48:14

18       partnerships group for four years or so at                  16:48:16

19       Facebook?                                                   16:48:19

20               A.     I was -- I was involved in the               16:48:21

21       partnerships organization from September 2010 until         16:48:22

22       around January 2014.                                        16:48:25

23               Q.     Okay.   And what did the term                16:48:28

24       "partnerships" mean in that context?                        16:48:30

25               A.     In that context, "partnerships" refers to    16:48:33

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1        a range of relationships between Facebook and --         16:48:37

2        and third parties, ranging from informal to more         16:48:41

3        structured relationships governed by contracts.          16:48:48

4             Q.   And with regard to those partnerships, was     16:48:51

5        Facebook providing access to user information            16:48:55

6        through APIs?                                            16:48:57

7             A.   In the context of the Platform                 16:49:00

8        Partnerships team, we typically -- the people on         16:49:02

9        the Platform Partnerships team would typically be        16:49:05

10       working with third parties that were using the           16:49:09

11       Facebook Platform in some way.                           16:49:11

12            Q.   Okay.   And I think this is what I'm trying    16:49:13

13       to get at.                                               16:49:15

14                 Are there entities that Facebook calls         16:49:16

15       "partners" that have access to Facebook user             16:49:17

16       information but do not have apps on the Platform?        16:49:21

17            A.   In this specific -- in this context, I --      16:49:27

18       I am not aware of -- of -- in this specific              16:49:34

19       context, when we're talking about platform               16:49:39

20       partnerships, it's typically referring to entities       16:49:41

21       that use the Facebook Developer Platform, which          16:49:44

22       would typically be done by -- through an app ID,         16:49:47

23       but there were other features of the Facebook            16:49:51

24       Developer Platform that did not require you to use       16:49:53

25       an app ID.                                               16:49:56

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1             Q.     And, generally speaking, what were those     16:49:57

2        features?                                                16:49:59

3             A.     One common set of examples was the social    16:50:02

4        plug-ins, which a developer or an entity could           16:50:04

5        embed on their own website, that didn't access the       16:50:09

6        Facebook API -- sorry -- didn't access the               16:50:13

7        Graph API.                                               16:50:19

8             Q.     And how did those features provide access    16:50:20

9        to Facebook user information?                            16:50:24

10            A.     Those products were embedded on --           16:50:29

11       typically embedded on the third-party website and        16:50:33

12       would render information to the -- to the person         16:50:36

13       viewing the web page.                                    16:50:40

14                   The -- the entity that ran the web page      16:50:43

15       would not see the contents within the social             16:50:46

16       plug-in.                                                 16:50:50

17            Q.     And would Facebook obtain that               16:50:53

18       information?                                             16:50:54

19            A.     To render a social plug-in, it would be      16:50:57

20       rendered by Facebook servers.                            16:50:59

21            Q.     Okay.   So that was a mechanism by which     16:51:02

22       Facebook obtained information about Facebook users       16:51:04

23       while they were off-platform?                            16:51:07

24            A.     The way the "Like" button worked was to      16:51:12

25       render -- if you visited a website that had the          16:51:15

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1        "Like" button embedded on it, then the Like button       16:51:17

2        would render.      And in order to render it, Facebook   16:51:21

3        would receive a request from the user's web              16:51:24

4        browser.                                                 16:51:29

5             Q.    Okay.    And that was not through an API;     16:51:29

6        that was through this other product.                     16:51:31

7             A.    The social plug-ins are a different way of    16:51:36

8        Facebook integrating information into third-party        16:51:40

9        contexts that users could access.                        16:51:45

10            Q.    And what is the time period that social       16:51:49

11       plug-ins have existed?                                   16:51:52

12            A.    My understanding is that social plug-ins      16:51:55

13       were launched alongside the Graph API in                 16:51:58

14       April 2010.                                              16:52:00

15            Q.    And are they still active today?              16:52:03

16            A.    I think there are some social plug-ins        16:52:06

17       still active today, although I'm not certain, and        16:52:09

18       that's something we can follow up on.                    16:52:12

19            Q.    And is there a tool that allows Facebook      16:52:15

20       to identify what social plug-ins exist and the time      16:52:17

21       period in which they've been active?                     16:52:21

22            A.    The Facebook code base, similar to my         16:52:25

23       previous answer, would allow you to -- would allow       16:52:29

24       someone to understand which social plug-ins have         16:52:31

25       existed over what period of time.                        16:52:34

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1             Q.   Are you familiar with the term                 16:52:39

2        "integration partners"?                                  16:52:40

3             A.   I've heard the phrase "integration             16:52:43

4        partners," yes.                                          16:52:46

5             Q.   And what is an "integration partner"?          16:52:49

6             A.   Again, can you help me understand in the       16:52:52

7        context in which you're asking the question?             16:52:54

8             Q.   Sure.   All of my questions are around         16:52:57

9        trying to understand how Facebook shares                 16:52:59

10       information with what I'm calling "third parties,"       16:53:00

11       and my understanding is that integration partners        16:53:02

12       are an entity with which Facebook shares user            16:53:06

13       information.                                             16:53:08

14                 So in that context.                            16:53:08

15            A.   My understanding of the term -- of             16:53:12

16       integration partners in that context is a set of         16:53:14

17       entities, third parties, that Facebook had a             16:53:19

18       relationship with to enable them to build                16:53:24

19       Facebook-like or -- Facebook-branded or                  16:53:28

20       Facebook-like or feedback-branded experiences on         16:53:33

21       the third party's platforms and services.                16:53:37

22            Q.   And so Facebook user information was           16:53:42

23       provided to integration partners.        Right?          16:53:46

24            A.   Typically, the way that an integration         16:53:52

25       partner application works is that the application        16:53:54

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1        was offered to users on that platform.                   16:53:59

2                  Users would choose to use that application     16:54:02

3        and, as a result of the user choosing to use the         16:54:05

4        application, information about -- information would      16:54:12

5        be shared -- that the user had granted access to         16:54:17

6        would be shared with the third party in order for        16:54:22

7        them to provide the experience for a user.               16:54:24

8             Q.   And do integration partners have apps on       16:54:28

9        the Facebook Platform?                                   16:54:31

10            A.   The way that you would -- a developer          16:54:34

11       would interact with the Facebook APIs would be           16:54:38

12       through an app ID, which is what I'm referring to        16:54:42

13       as an "application" in this specific context.            16:54:47

14            Q.   Okay.   And, again, I'm just -- I want to      16:54:50

15       make sure I understand.                                  16:54:53

16                 So in order to create that Facebook            16:54:54

17       experience on a phone, would the information             16:54:56

18       necessary to create that experience be communicated      16:55:03

19       to that phone company via the Graph API or through       16:55:06

20       some other mechanism?                                    16:55:12

21            A.   To build one of these integration partner      16:55:16

22       experiences, the information would be made               16:55:19

23       available through the Graph API; but, typically,         16:55:22

24       the information would be accessed from the device        16:55:27

25       itself that the user was using.                          16:55:32

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1                Q.   Okay.   So not through an app on the         16:55:36

2        Facebook Platform.                                        16:55:38

3                A.   This is where we need to make sure we're     16:55:42

4        using the specific terms.                                 16:55:44

5                     The way you access the Facebook set of       16:55:47

6        APIs, the Facebook Platform, is through an entity         16:55:49

7        called a "Facebook app ID" or a "Facebook app,"           16:55:52

8        which has an app ID.       That identifies -- that        16:55:55

9        allows the owner of the app to make calls against         16:56:00

10       the Facebook APIs.                                        16:56:03

11                    So, in that context, that's very             16:56:06

12       specifically what I'm referring to as a "Facebook         16:56:09

13       app."                                                     16:56:10

14               Q.   Okay.   And is there anything -- And,        16:56:13

15       again, this clarification is really helpful.              16:56:16

16                    In thinking about how integration partners   16:56:21

17       get information about Facebook users, is there            16:56:23

18       anything different about that system than the way a       16:56:26

19       normal app developer gets information about users?        16:56:28

20               A.   On a technical level, the way that the       16:56:34

21       information is exchanged would have been done             16:56:37

22       through the Graph API, which is the standard way to       16:56:39

23       access -- that users would give their information         16:56:44

24       to apps and third parties.                                16:56:50

25                    So, at a technical level, the mechanism of   16:56:55

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1        information interchange is the same, but an                   16:56:59

2        integration partner would be -- would be billing,             16:57:03

3        typically, a different kind of experience than a              16:57:06

4        regular Facebook Platform developer.                          16:57:09

5             Q.   And that experience was different because           16:57:14

6        one is on the Platform, the Facebook Platform, and            16:57:17

7        the other is on the integration partner's device?             16:57:20

8             A.   So this -- again, this is for me to get             16:57:27

9        very specific about.                                          16:57:31

10                 In the context of the Facebook Platform,            16:57:32

11       there is a concept of a feedback app, which is the            16:57:34

12       entity that determines the -- how the information             16:57:38

13       is accessed, what permissions have been granted by            16:57:42

14       users, and so on.                                             16:57:45

15                 What developers build are often also                16:57:47

16       called "apps," and, like, that's a -- that's a                16:57:50

17       different concept.                                            16:57:56

18                 The application that a third-party                  16:57:58

19       developer would build might run on their web                  16:58:01

20       server.   It might run on their hardware.          It might   16:58:05

21       run on a user's physical device.                              16:58:08

22                 And so these are distinct concepts which            16:58:12

23       are important to -- to separate.                              16:58:15

24            Q.   Does Facebook have a term for -- for users          16:58:19

25       that interact with integration partners, or are               16:58:23

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1        they called "integration users," or is there some        16:58:27

2        terminology that applies to that?                        16:58:30

3             A.     I'm not aware of distinct terminology that   16:58:32

4        would be different.     These are just users.            16:58:35

5             Q.     And before, you mentioned that a user        16:58:42

6        authorizes the integration partner to obtain             16:58:45

7        information when the user interacts with that --         16:58:47

8        let's call it -- again, let's call it a phone, a         16:58:52

9        mobile phone.     Is that right?                         16:58:57

10            A.     When a -- a good -- I think the easiest      16:59:00

11       way to answer this question is with an example.          16:59:04

12                   So one good example here would be a          16:59:07

13       Facebook-branded app on the BlackBerry mobile            16:59:11

14       platform.                                                16:59:15

15                   The user -- a user would typically have a    16:59:17

16       BlackBerry device or buy a BlackBerry device.            16:59:21

17       There would be a Facebook-branded app available on       16:59:24

18       that device.     The user would choose to log in to      16:59:29

19       the application and, as a result of doing that,          16:59:32

20       would give the code running on the BlackBerry            16:59:35

21       device the ability to access that information that       16:59:40

22       that user would have had access to on Facebook on        16:59:46

23       the app built onto the -- the Facebook-branded           16:59:49

24       application built onto the BlackBerry device they        16:59:54

25       were using.                                              16:59:59

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1             Q.   Okay.     And in that example, the user        17:00:00

2        authorizes access to the Facebook user's                 17:00:03

3        information.      Correct?                               17:00:06

4             A.   When I -- if a user chooses to use the         17:00:09

5        Facebook-branded application on a BlackBerry             17:00:14

6        device, they are logging in on -- to that                17:00:17

7        application; and, as a result, the application has       17:00:22

8        access to some of the information that that user         17:00:24

9        would be able to see on Facebook.                        17:00:26

10            Q.   And that information that that company         17:00:29

11       would have access to would include information           17:00:33

12       about the user's friends.        Right?                  17:00:36

13            A.   In the specific example I was just talking     17:00:40

14       about here, this would be a Facebook-branded             17:00:42

15       application; a Facebook-branded product running on       17:00:46

16       the user's BlackBerry device.                            17:00:52

17                 And the user's BlackBerry device would         17:00:54

18       then be making calls to Facebook's API in order to       17:00:56

19       render a Facebook experience -- a representative         17:01:00

20       Facebook experience on that user's BlackBerry            17:01:04

21       device.                                                  17:01:06

22            Q.   And that would -- among other types of         17:01:08

23       information that would be made available in that         17:01:12

24       example, friends information would be made               17:01:14

25       available.     Right?                                    17:01:17

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1             A.   Typically, a user would expect when            17:01:18

2        they're using a Facebook-branded experience to see       17:01:20

3        information about their friends and what their           17:01:26

4        friends had been doing.                                  17:01:28

5             Q.   And so the answer is yes?                      17:01:30

6             A.   If I'm using a Facebook-branded                17:01:34

7        application on a BlackBerry device, I would expect       17:01:37

8        to see information about my friend, yes.                 17:01:40

9             Q.   And in that example, the friends are not       17:01:42

10       the ones who authorized BlackBerry to obtain that        17:01:45

11       information.   Right?                                    17:01:50

12            A.   The user is using a BlackBerry application     17:01:51

13       on the BlackBerry device, and the user has               17:01:54

14       authorized that application to access Facebook's         17:01:57

15       APIs in order to render a Facebook experience on         17:02:01

16       that device.                                             17:02:05

17            Q.   So the answer to my question is, correct,      17:02:06

18       the friends did not authorize BlackBerry's access        17:02:11

19       to their information?                                    17:02:14

20            A.   One of my friends may have also had a          17:02:16

21       BlackBerry device and may have logged in to the          17:02:19

22       Facebook-branded experience on that device.              17:02:22

23                 Where I have -- I'm using Facebook -- the      17:02:27

24       Facebook-branded experience on my BlackBerry             17:02:31

25       device, then I am receiving -- I would be seeing         17:02:34

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1        data on my phone that was from my friends that may       17:02:37

2        not have been using BlackBerry.                          17:02:43

3             Q.   So, again, to answer the question, when        17:02:50

4        BlackBerry obtained friend information, that friend      17:02:52

5        information would include the information of people      17:02:56

6        who did not themselves use the BlackBerry device.        17:02:59

7             A.   I'm trying to -- I'm trying to                 17:03:04

8        understand --                                            17:03:05

9             Q.   I -- like --                                   17:03:06

10            A.   Sorry.                                         17:03:08

11            Q.   Sorry.    Go ahead.   I apologize for          17:03:09

12       interrupting.                                            17:03:10

13            A.   I -- I'm trying to work through the            17:03:12

14       specific example and explain the -- you know, how        17:03:16

15       these things, you know, worked from a user level         17:03:18

16       and a technical level.                                   17:03:22

17                 In this case, you know, it's a -- it's a       17:03:24

18       set of code that happened to be written by               17:03:27

19       engineers at BlackBerry that ran on a user's             17:03:31

20       device, and it was that code that would have been        17:03:36

21       accessing -- typically, in that case -- accessing        17:03:38

22       the Facebook API.                                        17:03:41

23            Q.   Right.    As you said, as you explained in     17:03:44

24       more detail, when a user authorizes BlackBerry to        17:03:46

25       obtain the information, some of those user's             17:03:49

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1        friends may also have authorized BlackBerry.                      17:03:53

2                  And in that situation, both of those                    17:03:56

3        people had authorized BlackBerry to obtain their                  17:03:58

4        information.    Right?                                            17:04:01

5             A.   It's possible that -- yes, I would have                 17:04:03

6        had -- I might have used -- I never actually had a                17:04:07

7        BlackBerry -- one of my friends -- I may have used                17:04:10

8        the Facebook application on a BlackBerry device.                  17:04:13

9                  One of my friends may have also used a                  17:04:16

10       Facebook application on a BlackBerry device.              But     17:04:19

11       when I was using the Facebook application on the                  17:04:22

12       BlackBerry device, the experience would have                      17:04:24

13       included information provided by the Facebook API                 17:04:27

14       about people who had -- who were not necessarily                  17:04:29

15       using the BlackBerry application on their                         17:04:33

16       BlackBerry device -- the Facebook-branded                         17:04:36

17       application on their BlackBerry device.                           17:04:39

18                 MR. LOESER:     Okay.   Thank you.                      17:04:41

19                 Mr. Blume, we have been going for a bit,                17:04:43

20       and we're about to transition into another area.                  17:04:46

21                 If now would be a time you would want to                17:04:49

22       take a break, that would be fine with me, or we can               17:04:51

23       keep rolling.                                                     17:04:54

24                 MR. BLUME:     Now would be great.          Thank you   17:04:55

25       very much.                                                        17:04:57

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1                  THE VIDEO OPERATOR:      Okay.    And we're off   17:04:58

2        the record.   It's 5:04 P.M.                                17:04:59

3                  (Recess from 5:04 P.M. to 5:22 P.M.)              17:21:36

4                  (Mr. Melamed joined the deposition.)              17:22:59

5                  THE VIDEO OPERATOR:      We're back on the        17:23:01

6        record.   It's 5:22 P.M.                                    17:23:01

7        BY MR. LOESER:                                              17:23:03

8             Q.   I'm not sure whether to say good morning          17:23:05

9        or good afternoon, but still morning here and late          17:23:07

10       afternoon for you, so whichever.                            17:23:10

11                 Welcome back.                                     17:23:12

12                 And a few other questions I realized              17:23:15

13       before we get into the notice itself, and I'm going         17:23:17

14       to ask you about a term I've seen in some Facebook          17:23:21

15       documents called "nonapp user-sharing."                     17:23:24

16                 Is that a term that you're familiar with?         17:23:28

17            A.   I'm not familiar with the term "nonapp            17:23:33

18       user-sharing" specifically, no.                             17:23:36

19            Q.   Okay.   Let me try and dig in a bit and see       17:23:39

20       if we can figure it out.                                    17:23:42

21                 In addition to user information and users'        17:23:44

22       friends' information, Facebook at times provided            17:23:50

23       third parties access to information from people who         17:23:53

24       are not friends with the user.        Is that correct?      17:23:55

25            A.   I think my -- sorry.                              17:24:03

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1                       Repeat that again.     The specifics matter,    17:24:05

2        yeah.                                                          17:24:07

3                Q.     Yeah.   So let me give you an example, and      17:24:09

4        you can -- and maybe what I said makes more sense.             17:24:12

5                       Are you familiar with the Events API?           17:24:16

6                A.     I am familiar with the Events API.              17:24:21

7                Q.     And what is the "Events API"?                   17:24:23

8                A.     The Events API, as I understand it, refers      17:24:26

9        to a set of APIs that would be used by a Facebook              17:24:29

10       Platform application to access the events that a               17:24:35

11       user of the application was attending or had been              17:24:40

12       invited to attend, for example, or had attended in             17:24:47

13       the past, and -- yeah.         I think that's -- that's a      17:24:52

14       high-level explanation.                                        17:25:00

15               Q.     And so the Events API provided access to        17:25:02

16       information about                                 , but also   17:25:05

17                                          at an event.    Right?      17:25:08

18               A.     My understanding is that the API allowed        17:25:12

19       an application to see                                          17:25:15

20                    yes.                                              17:25:20

21               Q.     And some of those                               17:25:21

22                                                                      17:25:23

23       Correct?                                                       17:25:25

24               A.     The API would -- my understanding is the        17:25:27

25       API would return a                                             17:25:30

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1                                                                 17:25:34

2                                                                 17:25:38

3             Q.   And is that situation -- have you seen         17:25:39

4        that described as "providing access to nonapp-user       17:25:41

5        information"?                                            17:25:46

6             A.   I don't recall seeing it described as          17:25:53

7        that, but that -- that term seems like a reasonable      17:25:55

8        one to use in that context.                              17:26:02

9             Q.   Let's go back to Exhibit 330 and to            17:26:09

10       page 13, which was the -- and we're going to post        17:26:15

11       all the exhibits on the screen so if it's easier         17:26:21

12       for you to look that way, you can do that.               17:26:23

13                 And while we're getting there, I am going      17:26:38

14       to read Topic 6, which is one of the topics for          17:26:40

15       which you have been designated to testify.               17:26:43

16                 It is:                                         17:26:46

17                 "The development of friend-sharing,            17:26:46

18            including but not limited to:      its purpose      17:26:48

19            and identification of those involved in its         17:26:50

20            development; how the technology functioned;         17:26:52

21            the APIs and permissions associated with            17:26:55

22            friend-sharing; the communication of this           17:26:59

23            technology to users, including the drafting         17:27:01

24            of Facebook's Terms of Service, SRR, and Data       17:27:04

25            and Privacy Policies relating to                    17:27:09

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1             friend-sharing; and the revenue impact and          17:27:11

2             net profits for Facebook relating to                17:27:15

3             friend-sharing throughout the Class Period."        17:27:16

4                   Did I read that correctly?                    17:27:19

5             A.    You read that correctly.                      17:27:21

6             Q.    And my understanding from communications      17:27:23

7        from your counsel is that you have not prepared or       17:27:26

8        been prepared to testify about the following             17:27:30

9        clause:                                                  17:27:34

10                  "...the communication of this technology      17:27:35

11            to users, including the drafting of                 17:27:36

12            Facebook's Terms of Service, SRR, and Data          17:27:39

13            and Privacy Policies relating to                    17:27:43

14            friend-sharing."                                    17:27:44

15                  Is that correct?                              17:27:46

16            A.    That's correct with my understanding, yes.    17:27:47

17            Q.    And, sir, over the course of your             17:27:50

18       employment at Facebook, have you developed personal      17:27:51

19       knowledge of the topic I just read?                      17:27:54

20            A.    My personal knowledge would cover that to     17:28:03

21       some degree, yes.                                        17:28:05

22            Q.    Mr. Cross, tell me what you did to prepare    17:28:07

23       to testify regarding Topic 6.                            17:28:11

24            A.    I spoke to a number of people inside the      17:28:16

25       company.    I reviewed the documents that have been      17:28:18

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1        produced in this case, both some documents that my       17:28:25

2        legal team shared with me and the documents that         17:28:30

3        you have shared with me.                                 17:28:34

4                  I also spent some time looking at the          17:28:36

5        Facebook developer website as it was in the past to      17:28:39

6        understand how -- how the platform originally            17:28:45

7        worked would refresh my memory.                          17:28:50

8             Q.   And as to the statement you just made,         17:28:54

9        where did you go to find how the Developer Platform      17:28:57

10       existed in the past?                                     17:29:02

11            A.   I used the Wayback Machine, otherwise          17:29:05

12       known as archive.org, I think, is its address.           17:29:12

13            Q.   Okay.   So you didn't use any system or        17:29:17

14       tool within the Facebook structure.                      17:29:20

15            A.   Not to access the previous versions of the     17:29:24

16       Facebook developer website, no.                          17:29:26

17            Q.   And I asked you about whether you had          17:29:30

18       personal knowledge of the communication subtopic.        17:29:32

19                 With regard to the remainder of the topics     17:29:36

20       covered by Topic 6, over the course of your              17:29:38

21       employment, did you develop personal knowledge of        17:29:41

22       those topics as well?                                    17:29:43

23            A.   Given my involvement in this product area,     17:29:47

24       I did develop personal knowledge of how these            17:29:50

25       things worked.                                           17:29:54

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1             Q.   And is there any component of this notice      17:29:56

2        that is a topic that the sole source of your             17:29:58

3        knowledge is the preparation you did for this            17:30:03

4        deposition?                                              17:30:06

5             A.   Give me a second just to read the terms        17:30:10

6        again.                                                   17:30:15

7                  (Reviewing document.)                          17:30:19

8                  THE WITNESS:   And your question was the --    17:30:26

9        the -- in preparing -- sorry.                            17:30:29

10                 Just repeat your question again.               17:30:31

11                 Is it the sole thing is my personal            17:30:33

12       experience, or the sole thing is not my personal         17:30:36

13       experience?                                              17:30:38

14       BY MR. LOESER:                                           17:30:39

15            Q.   Not your personal experience.                  17:30:39

16                 I'm trying to find out if there's any          17:30:40

17       aspect of this that you only know about because of       17:30:43

18       the preparations that you did for this deposition        17:30:45

19       today.                                                   17:30:47

20            A.   Of those, the -- the revenue impact and        17:30:49

21       net profits is an area that I was not closely            17:30:51

22       involved in at the time.    And so in trying to          17:30:54

23       answer your forthcoming questions on that topic,         17:30:59

24       I'll be primarily, if not exclusively, relying on        17:31:04

25       the preparation I've done and the documents I've         17:31:07

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1        read.                                                    17:31:09

2                Q.   And for that particular issue, what         17:31:11

3        preparation did you do?                                  17:31:15

4                A.   I reviewed a set of documents that had      17:31:18

5        been produced in this -- in this case, and I asked       17:31:21

6        some of the people that I spoke to in preparation        17:31:25

7        what their recollection was around assessments of        17:31:30

8        revenue impact and net profits.                          17:31:34

9                Q.   And who were the people that you spoke to   17:31:38

10       on that topic?                                           17:31:41

11               A.   I would have spoken to Eddie O'Neil,        17:31:45

12       Ime Archibong, and -- I'm trying to remember who I       17:31:52

13       spoke to about what -- and I think Francisco             17:32:01

14       Varela.                                                  17:32:14

15               Q.   Mr. Cross, based on your preparation with   17:32:21

16       regard to Topic 6, do you believe you are                17:32:25

17       reasonably educated to testify on these matters,         17:32:28

18       with the one caveat of the communication piece?          17:32:31

19               A.   I've done my best to be prepared to         17:32:34

20       testify on these matters, yes.                           17:32:36

21               Q.   Okay.   So do you believe you are           17:32:37

22       reasonably educated to testify on these matters?         17:32:39

23               A.   I believe I'm reasonably educated to        17:32:43

24       testify on these matters.                                17:32:46

25               Q.   And do you agree that the notice concerns   17:32:47

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1        information that is known or reasonably available        17:32:50

2        to Facebook?                                             17:32:53

3             A.   That matches my understanding; yes, known      17:32:56

4        or reasonably available to Facebook.                     17:33:02

5             Q.   So let's look more at Topic 6.                 17:33:05

6                  And this topic, obviously, concerns            17:33:08

7        friend-sharing.     Right?                               17:33:16

8             A.   The topic concerns the development of          17:33:19

9        friend-sharing, as I understand it, yes.                 17:33:22

10            Q.   And tell me:       What was the purpose of     17:33:24

11       friend-sharing for Facebook?                             17:33:26

12            A.   To help me answer that, can you define for     17:33:30

13       me what you think you mean by the phrase                 17:33:32

14       "friend-sharing"?                                        17:33:34

15            Q.   That is an excellent question, and so let      17:33:35

16       me ask you:                                              17:33:38

17                 How does Facebook -- what does Facebook        17:33:40

18       mean by the term "friend-sharing"?                       17:33:42

19            A.   In this context, my understanding of the       17:33:47

20       phrase "friend-sharing" is where a Facebook              17:33:51

21       application would be able to access some                 17:33:54

22       information about an app user's friends that hadn't      17:33:58

23       necessarily explicitly used that application.            17:34:04

24            Q.   And can we expand the definition to also       17:34:11

25       cover the context in which private APIs are used to      17:34:14

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1        give access to friend information, or would that be      17:34:19

2        covered by what you said?                                17:34:24

3             A.   It's hard to answer that question given        17:34:30

4        the -- the definition of "private API" being a wide      17:34:31

5        range of things would be classified or classifiable      17:34:37

6        as private APIs; many not limited -- or not              17:34:40

7        involving friend-sharing in any way.                     17:34:46

8             Q.   And I appreciate that, and so I'm asking       17:34:48

9        specifically about private APIs that provided            17:34:51

10       access to friend-sharing information.                    17:34:54

11                 I mean, I guess I should ask:        Private   17:35:01

12       APIs did, in fact, for some partners provide access      17:35:03

13       to friend information.     Right?                        17:35:06

14            A.   There were some partners who had access to     17:35:12

15       information that users had authorized the                17:35:18

16       application to access that included friend               17:35:23

17       information.                                             17:35:29

18            Q.   Okay.   And so when I use the phrase           17:35:30

19       "friend-sharing" for purposes of this deposition, I      17:35:33

20       intend to mean any friend-sharing, when it was via       17:35:35

21       private APIs or otherwise via APIs on the Platform.      17:35:40

22                 Is that fair?                                  17:35:46

23            A.   I think we should -- I'll try and call out     17:35:49

24       where that distinction is important because there's      17:35:52

25       a number of different ways in this -- that these         17:35:56

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1        things worked.                                           17:36:00

2                    I understand your -- your initial            17:36:01

3        understanding of -- I refer back to my definition        17:36:04

4        of "friend-sharing," and I will try and -- I will        17:36:08

5        try and call out where I see a distinction between       17:36:12

6        friend-sharing as it was available to regular,           17:36:16

7        nonwhitelisted developers and via private APIs.          17:36:21

8               Q.   I appreciate that.   And I have some         17:36:28

9        questions, too, that separate along those lines, so      17:36:29

10       I think that will work quite well.                       17:36:32

11                   And I asked you what the purpose of          17:36:34

12       "friend-sharing" was.                                    17:36:35

13                   So with that definition of                   17:36:37

14       "friend-sharing," can you describe what the purpose      17:36:37

15       was?                                                     17:36:39

16              A.   Friend-sharing was an inherent part of the   17:36:42

17       Facebook Platform as it was built, starting in           17:36:47

18       2007, to allow app developers to build engaging          17:36:50

19       social experiences.                                      17:36:55

20                   In many cases, a user would be the first     17:37:02

21       person to -- they know to authorize an application,      17:37:05

22       and in order for that application to build an            17:37:12

23       engaging social experience, the application would        17:37:14

24       have access to a subset of the information that          17:37:18

25       that user could see on Facebook.                         17:37:23

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1                  The original premise of the Facebook           17:37:26

2        Platform is the -- the app that a user was               17:37:28

3        authorizing would be able to see things that they        17:37:34

4        could also see on Facebook.                              17:37:39

5             Q.   And who came up with the idea of               17:37:43

6        friend-sharing?                                          17:37:45

7                  Is there a particular person?                  17:37:46

8             A.   I don't know.    We -- I don't know the        17:37:49

9        specific name of the person who came up with             17:37:54

10       friend-sharing.                                          17:37:56

11                 The ability to access information about        17:37:57

12       the friends of a person using an application was,        17:38:04

13       as I understand it, part of the Facebook Developer       17:38:10

14       Platform from its inception; and so the people           17:38:12

15       involved in developing the Facebook Platform would       17:38:15

16       have been the people determining how it operated.        17:38:17

17            Q.   And was Mark Zuckerberg involved in the        17:38:23

18       development of the platform?                             17:38:27

19            A.   There were a number of people involved in      17:38:31

20       the development of the platform circa 2007, when it      17:38:33

21       was launched.     I imagine Mark was aware that this     17:38:36

22       platform was launching.     I don't know how much he     17:38:41

23       was involved in the development of the platform.         17:38:45

24            Q.   And do you know if Mark Zuckerberg had         17:38:49

25       anything to say one way or the other about whether       17:38:55

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1        friend-sharing should be part of the platform at               17:38:57

2        its outset?                                                    17:38:59

3             A.     I have not seen any documents or                   17:39:01

4        communication that would indicate how the decisions            17:39:04

5        as to how the platform was designed were -- were               17:39:11

6        come to.                                                       17:39:14

7             Q.     And would you agree that the                       17:39:17

8        friend-sharing APIs provided a significant amount              17:39:21

9        of information about users to app developers?                  17:39:27

10            A.     Can you help me understand what you mean           17:39:33

11       by the "friend-sharing APIs"?                                  17:39:34

12                   That's not a term I'm familiar with.               17:39:36

13            Q.     Well, what is the term you use to describe         17:39:38

14       the different APIs that provided for access to                 17:39:40

15       friend information?                                            17:39:44

16            A.     They would just be called the "APIs."        The   17:39:48

17       Likes API, for example, would be one.         And then         17:39:52

18       that API could be called in a number of different              17:39:57

19       contexts.                                                      17:40:00

20            Q.     And weren't there a number of APIs that            17:40:01

21       had the word "friends" in them?                                17:40:04

22            A.     There were a number of permissions that            17:40:08

23       had the words "friends" in them.       There may have          17:40:10

24       been some APIs with the word "friends" in, but I --            17:40:14

25       again, the difference between APIs and permissions             17:40:18

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1        is an important concept to draw.                           17:40:21

2                Q.   Okay.   Well, let's talk about permissions,   17:40:24

3        then.                                                      17:40:26

4                     So when I've seen lists of what I've been     17:40:27

5        referring to as "APIs" that say "friends video             17:40:30

6        watch" or "friends posts" or "friends whatever,"           17:40:33

7        I've been -- I think of those as APIs.                     17:40:36

8                     But you're telling me I should think of       17:40:39

9        those as permissions.                                      17:40:42

10               A.   There's a -- in Graph API Version 1, there    17:40:44

11       was a specific set of permissions that were                17:40:47

12       referred to as the "friends permissions."                  17:40:50

13                    And I think that's the most proper way to     17:40:53

14       refer to them.                                             17:40:57

15               Q.   And were friends permissions widely used      17:40:59

16       permissions prior to the implementation of                 17:41:03

17       Graph API Version 2?                                       17:41:06

18               A.   Can you help me understand what you mean      17:41:09

19       by "widely used"?                                          17:41:10

20               Q.   Well, what does that term just naturally      17:41:13

21       mean to you?                                               17:41:17

22               A.   It could mean a number of different           17:41:18

23       things.      It could mean whether or not they were        17:41:20

24       frequently asked by applications; regularly granted        17:41:23

25       by users.                                                  17:41:31

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1                  Hard to answer without the specifics.          17:41:32

2             Q.   Well, let's start with frequently called       17:41:34

3        by applications.                                         17:41:36

4                  Were friends permissions frequently called     17:41:40

5        by applications?                                         17:41:42

6             A.   They were -- friend permissions were           17:41:45

7        certainly requested by many applications, but many       17:41:48

8        applications -- I think the majority of                  17:41:51

9        applications on the Facebook Developer Platform          17:41:55

10       would not have requested -- would not have               17:41:58

11       typically requested access to friends information.       17:42:00

12            Q.   And -- but a tremendous volume of user         17:42:04

13       data was made accessible through friends                 17:42:08

14       permissions, wouldn't you say?                           17:42:11

15            A.   I am not sure what you mean by                 17:42:14

16       "tremendous."                                            17:42:15

17                 The friend permissions allowed                 17:42:17

18       applications on the Facebook Platform to access          17:42:20

19       information about an app user's friends.                 17:42:22

20            Q.   And Facebook was concerned about the           17:42:25

21       amount of information that was made available via        17:42:27

22       the friends permissions.   Correct?                      17:42:30

23            A.   There were discussions internally about        17:42:34

24       how the friend permissions were being used by            17:42:38

25       applications.                                            17:42:42

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1                    MR. LOESER:   Why don't we put up an          17:42:53

2        exhibit.     And -- Tab 4, which would be 331 now?        17:42:54

3                    332.   All right.   We're going to mark       17:43:03

4        Exhibit 332.                                              17:43:06

5                    (Deposition Exhibit 332 was marked for        17:43:07

6                    identification.)                              17:43:09

7        BY MR. LOESER:                                            17:43:12

8               Q.   And over the course of the day, I'm going     17:43:12

9        to be referring to "tabs."       That's really just for   17:43:15

10       our benefit over here.      A document will magically     17:43:18

11       appear on your screen that are tabs for me but are        17:43:21

12       Bates numbers for you.      So -- and exhibit numbers.    17:43:25

13                   This is a slipcover sheet which is not the    17:43:34

14       document itself that has the metadata for the             17:43:37

15       document.                                                 17:43:39

16                   So if we can go to the next page of the       17:43:40

17       document, I'm showing you an email from the name          17:43:42

18       that we can't say that we have agreed to call "KP"        17:43:45

19       to a number of people, including Allison Hendrix,         17:43:50

20       dated September 27, 2013.                                 17:43:54

21                   Is that the document that's in front of       17:43:57

22       you?                                                      17:44:00

23              A.   That's the document I see, yes.               17:44:01

24              Q.   And can you look at the first paragraph,      17:44:09

25       the first full paragraph of that document?                17:44:11

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1              A.   Yep.                                            17:44:16

2              Q.   And KP writes:                                  17:44:17

3                   "Hello, all, A quick update from my end.        17:44:18

4              The spreadsheet with the                             17:44:21

5                          has now been updated with the number     17:44:22

6                                                in the course of   17:44:26

7                           This is an indication of the volume     17:44:30

8              of identity required by those third parties.         17:44:32

9              I must admit, I was surprised to find out            17:44:35

10             that we are giving out a lot here for no             17:44:38

11             obvious reason...just to give you an idea."          17:44:42

12             A.   You missed the word "data" between              17:44:44

13       "identity" and "required," I think, but other than         17:44:46

14       that, you got --                                           17:44:48

15             Q.   Thank you.                                      17:44:49

16                  And do you understand what "identity data"      17:44:50

17       is?                                                        17:44:52

18             A.   It's hard for me here to be -- to know          17:44:56

19       specifically what he's referring to, but -- yeah,          17:44:59

20       so it's hard for me to know explicitly what he is          17:45:06

21       referring to.                                              17:45:09

22                  In my personal capacity, I would                17:45:09

23       understand that to mean -- no, I'm not sure I could        17:45:13

24       conclusively say what he's referring to by                 17:45:24

25       "identity data."                                           17:45:26

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1             Q.   Could it be information about Facebook         17:45:28

2        users?                                                   17:45:30

3                  Does that seem like a reasonable               17:45:31

4        interpretation of that phrase?                           17:45:32

5             A.   Looking at the API call here, this             17:45:35

6        would -- my understanding is this is referring to        17:45:40

7        the number of requests to a user ID, like a user --      17:45:43

8        the user -- what we would call the "user method" of      17:45:49

9        the Graph API.                                           17:45:52

10            Q.   Okay.   And is it a fair interpretation        17:45:54

11       that KP was surprised at the volume of identity          17:45:57

12       data -- identity data acquired by third parties who      17:46:02

13       were calling on friends permissions?                     17:46:06

14            A.   No.                                            17:46:13

15            Q.   How do you interpret this email?               17:46:16

16            A.   I interpret this as he uses the word           17:46:19

17       "surprised," and he uses the phrase "identity            17:46:24

18       data."                                                   17:46:29

19                 But the three -- there were -- two of the      17:46:31

20       three examples here are -- one of the three              17:46:34

21       examples is about the user method, and the friends       17:46:37

22       list and the user feed are two of the other three        17:46:42

23       things he talks about here.                              17:46:45

24                 He does not specifically refer in this         17:46:48

25       email to friends data.                                   17:46:50

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1             Q.    And what do you think he means when he                17:46:54

2        says -- or what -- how would Facebook interpret the              17:46:56

3        phrase that he was "surprised to find out we were                17:46:59

4        giving out a lot here for no obvious reason"?                    17:47:01

5             A.    My interpretation is that the                         17:47:09

6                     seems -- he's -- he's surprised by the              17:47:12

7                               , although it doesn't refer               17:47:20

8        specifically to the amount of data that was made                 17:47:25

9        available.                                                       17:47:27

10            Q.    And why would the -- why did the                      17:47:30

11                    matter?                                             17:47:33

12            A.    The                         is an easily              17:47:37

13       identifiable, retrievable number.         It's potentially       17:47:40

14       indicative of the                               that those       17:47:48

15       mentioned apps were                                              17:47:53

16            Q.    And if you look at the first example he               17:47:59

17       provides here,                                                   17:48:03

18                                                                    I   17:48:07

19       interpret this to mean             monthly average               17:48:15

20       users.    Is that right?                                         17:48:18

21            A.    "MAUs" means monthly active users.                    17:48:21

22            Q.    So                        monthly active              17:48:26

23       users, right, according to this?                                 17:48:29

24            A.    According to this, when the data was                  17:48:32

25       pulled by whoever pulled the data, it suggests that              17:48:33

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1                               monthly active users.             17:48:37

2             Q.     Okay.   And it had what appears to be        17:48:41

3                                                                 17:48:43

4                    Is that what that says?                      17:48:47

5             A.     That's what I read from the document.        17:48:48

6             Q.     So there were 138 times more requests than   17:48:51

7        there were users in the last 30 days.                    17:48:55

8             A.     I can't do the math in my head, but I        17:49:00

9        understand --                                            17:49:03

10            Q.     He has it -- yeah, sorry to interrupt, but   17:49:04

11       the math is there.      It says "138X."     Right?       17:49:07

12            A.     I see "138S" on the page, yeah.              17:49:10

13            Q.     You're saying that you're not sure his       17:49:13

14       math is right, but -- right?                             17:49:14

15            A.     Yeah, I'm not doing a -- I'm not doing the   17:49:17

16       math in my head.      I'm just reading the numbers off   17:49:19

17       the page.                                                17:49:22

18            Q.     And what does it suggest to Facebook if --   17:49:22

19       if there are 138 times as many requests for              17:49:26

20       identity data than there are monthly active users?       17:49:31

21            A.     It might suggest that the app was not very   17:49:37

22       efficiently developed.                                   17:49:40

23            Q.     Might it also suggest that the app was       17:49:43

24       obtaining information in ways that weren't related       17:49:45

25       to the use case for the app?                             17:49:51

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1               A.   It might mean that the app was making         17:49:56

2        requests for user data.       It doesn't necessarily      17:49:59

3        indicate that that's inappropriate given the use          17:50:02

4        case of the app.                                          17:50:08

5               Q.   Okay.    But here in this email.      KP      17:50:09

6        indicated that he was "surprised to find out that         17:50:12

7        we were giving out a lot -- giving out a lot here         17:50:15

8        for no obvious reason."                                   17:50:18

9                    And then he says, "Just to give you an        17:50:20

10       idea," and he indicates how much is being given           17:50:22

11       out.    Right?                                            17:50:24

12              A.   Well, he's indicating                         17:50:25

13       were made in a                    , but he's not making   17:50:27

14       any assertion or diagnosis as to why that was the         17:50:31

15       way it was.                                               17:50:40

16              Q.   Right.    But he's indicating that it's --    17:50:41

17       that -- those figures he provided may satisfy and         17:50:46

18       provide meaning to the statement, "giving out a lot       17:50:50

19       here," would you say?                                     17:50:53

20              A.   I think he's -- by "giving out a lot,"        17:50:56

21       he's likely referring to the number of API calls          17:50:59

22       made, but it doesn't necessarily refer to -- it           17:51:02

23       doesn't necessarily mean he's diagnosed that -- you       17:51:09

24       know, information about different users is being          17:51:14

25       exposed here.                                             17:51:17

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1                   It's eminently possible that Sunrise           17:51:19

2        queried the API for its app users very                    17:51:23

3        inefficiently.                                            17:51:28

4             Q.    And for Facebook, is that considered           17:51:31

5        somewhat of a red flag?                                   17:51:33

6             A.    I think there's a number of reasons why        17:51:39

7        Facebook might be interested in how applications          17:51:41

8        are calling the API.                                      17:51:43

9                   One example might be that if the app is        17:51:45

10       developed inefficiently, then there is an impact on       17:51:50

11       Facebook's ability to serve those requests 'cause         17:51:54

12       every time the API is called, a lot of code has to        17:51:57

13       be run.                                                   17:52:01

14            Q.    And do you think that's what KP was            17:52:04

15       sending this email about?                                 17:52:08

16            A.    I'm not -- there's no reference here as to     17:52:13

17       exactly what -- whether or not that was a reason          17:52:15

18       that KP was sending this email.                           17:52:19

19                  I think my understanding from reading this     17:52:21

20       is that KP was curious as to the                          17:52:24

21       relative to the                                      of   17:52:32

22       the app.                                                  17:52:36

23            Q.    And in the context of the subject of this      17:52:39

24       email, which is                                           17:52:42

25                        what do you think KP -- what was         17:52:45

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1        Facebook's concern about                                    17:52:49

2                A.   From this email, it's hard to know             17:52:58

3        specifically what the issue was.        I -- I was not on   17:53:00

4        this email thread in a personal capacity, and I was         17:53:05

5        unable to talk to KP about what he meant because            17:53:11

6        he's no longer at the company.                              17:53:15

7                Q.   And in stepping away from this email, was      17:53:19

8        Facebook aware that friends permissions were often          17:53:23

9        called by apps in ways that exceeded the use case           17:53:29

10       for the app?                                                17:53:35

11               A.   At the time there was a number of              17:53:40

12       discussions about how apps were using the                   17:53:41

13       information they got via the API.         One of those      17:53:46

14       reasons would have been that there were some                17:53:53

15       questions about how that information was being              17:53:58

16       used.                                                       17:54:00

17               Q.   And what's the time frame you're referring     17:54:02

18       to in your answer?                                          17:54:04

19               A.   My answer here, I'm referring to around        17:54:08

20       2013, the -- roughly when I have reviewed documents         17:54:12

21       about this time, where there was a number of                17:54:15

22       discussions taking place about how apps were using          17:54:18

23       the Facebook Developer Platform and which                   17:54:23

24       particular APIs and permissions they were using.            17:54:27

25               Q.   The way friend-sharing was set up, a           17:54:33

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1        Facebook user decided whether an app or integration      17:54:35

2        partner got access to the user's friend data.            17:54:39

3        Right?                                                   17:54:43

4             A.   The way the Facebook Platform worked is        17:54:44

5        that users would authorize an application to access      17:54:46

6        their information.    They could also, in API            17:54:49

7        Version 1 and before, grant the application access       17:54:56

8        to information about -- some information about that      17:54:58

9        user's friends who had not -- who were not               17:55:05

10       necessarily using the application.                       17:55:07

11            Q.   Okay.   And on an app-by-app basis, the        17:55:09

12       friends themselves did not have a say in whether         17:55:16

13       their information was made available to the app          17:55:19

14       that their friend used.     Right?                       17:55:20

15            A.   My understanding is that developers --         17:55:24

16       users could opt out of the Facebook Developer            17:55:27

17       Platform, and that would prevent their information       17:55:29

18       being shared with most third parties.                    17:55:33

19            Q.   Okay.   And that -- and let me make sure I     17:55:37

20       understand your testimony.                               17:55:41

21                 The only way to stop your friends from         17:55:43

22       sharing your information with an app was to turn         17:55:45

23       off apps altogether on the Platform.        Is that      17:55:47

24       right?                                                   17:55:49

25            A.   The controls available to users changed        17:55:54

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1        over time.     For a period, there was a way for users   17:55:57

2        to access a setting -- an area of settings called        17:56:04

3        "Apps Others Use" -- I think I'm getting that            17:56:08

4        right -- which allowed them to control which             17:56:11

5        subsets of their information were available to           17:56:14

6        applications via the friend permissions.                 17:56:19

7             Q.     And what period was that choice available?   17:56:22

8             A.     I don't know specifically when that --       17:56:31

9        those settings were made available or were removed.      17:56:33

10       It was certainly available, as I understand it, in       17:56:37

11       around 2014.                                             17:56:40

12            Q.     And why was that choice taken away from      17:56:48

13       users?                                                   17:56:51

14            A.     My understanding is that that area of        17:56:52

15       settings was removed when there were no or few           17:56:54

16       third-party applications that had access to that         17:57:04

17       information via the APIs.                                17:57:08

18            Q.     And do you have an understanding -- or       17:57:15

19       what is Facebook -- well, strike that.                   17:57:16

20                   What was the time period for which the       17:57:18

21       only way to stop your friends from sharing               17:57:20

22       information was to turn off apps altogether on the       17:57:23

23       Platform?                                                17:57:25

24            A.     To answer that question, I'd need to know    17:57:29

25       exactly when the Apps Others Use setting was             17:57:31

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1        introduced, which is a date I don't have, I'm            17:57:36

2        afraid.                                                  17:57:38

3             Q.   Okay.    And will you follow up and provide    17:57:39

4        that information?                                        17:57:41

5                  You would provide it to your counsel, who      17:57:46

6        can provide it to us.                                    17:57:47

7             A.   I'm sure we could try and attempt to           17:57:49

8        follow up on determining when those settings             17:57:51

9        were -- were introduced.                                 17:57:54

10            Q.   And where would you go to search for the       17:57:57

11       answer to that question?                                 17:57:59

12            A.   My immediate step would be to ask the          17:58:08

13       engineers who had worked on that feature or may          17:58:10

14       have worked on that feature to try and identify          17:58:15

15       when that feature was made available.                    17:58:20

16            Q.   Thank you.    During the time that the only    17:58:27

17       way to turn off -- or to block your friend from          17:58:29

18       sharing your information was by turning off apps         17:58:33

19       altogether, can you explain why friend-sharing was       17:58:37

20       set up that way?                                         17:58:41

21            A.   The original design of the Facebook            17:58:45

22       Platform rested on a very simple premise, which is       17:58:47

23       that the user has access to information by using         17:58:54

24       Facebook, and the user could allow apps to access        17:58:58

25       the information that they could see on Facebook,         17:59:04

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1        and that would allow those applications to build                17:59:06

2        rich, engaging social experiences.                              17:59:11

3                     That was the simple, clear, founding               17:59:14

4        premise of the Facebook Developer Platform.                     17:59:18

5                Q.   From your testimony, it sounds like, just          17:59:22

6        from a technical standpoint, it is possible for                 17:59:25

7        Facebook to provide a setting through which, on an              17:59:27

8        app-by-app basis, Facebook users can determine                  17:59:32

9        whether their friends share their information.                  17:59:37

10       Right?                                                          17:59:44

11               A.   The testimony I think you're referring to          17:59:44

12       from a few minutes ago refers to a set of settings              17:59:46

13       called "Apps Others Use," which allowed users to                17:59:50

14       opt out of certain types of their information being             17:59:55

15       shared with any apps their friend used.                         17:59:59

16                    My understanding is that was not an                18:00:03

17       app-by-app setting.                                             18:00:05

18               Q.   Okay.   I want to make sure I understand           18:00:10

19       that.                                                           18:00:13

20                    So was there any time when a Facebook user         18:00:13

21       could block a particular app that one of their                  18:00:18

22       friends used?                                                   18:00:23

23                    Let's call the app "friend's app."        So was   18:00:25

24       there at any time a setting where a user would have             18:00:30

25       the option of saying no to a friend's app getting               18:00:32

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1        their information because their friend used that         18:00:37

2        app?                                                     18:00:40

3               A.   The feature that enables -- there was a      18:00:42

4        feature called "Blocks" which allows a user to           18:00:47

5        block a specific application.                            18:00:50

6                    My understanding is that that would mean     18:00:52

7        the application would not have access to their           18:00:55

8        information by the --                                    18:00:58

9               Q.   So would the user get a notice, say, from    18:01:04

10       friend's app that said, "Your friend wants to share      18:01:07

11       your information.     Do you -- are you providing --     18:01:11

12       like, will you authorize that?"                          18:01:13

13                   Is that how it functioned?                   18:01:15

14              A.   The way friend-sharing worked was that a     18:01:17

15       user could authorize an application, grant               18:01:20

16       permissions to that application to access -- well,       18:01:24

17       actually, let me back up.                                18:01:28

18                   The -- the permissions were introduced       18:01:30

19       into the API sometime after the Facebook Developer       18:01:33

20       Platform was first launched.                             18:01:39

21                   When -- in the original version, when a      18:01:44

22       friend -- when a user authorized an application,         18:01:46

23       that application had access to information about         18:01:48

24       that user and some information about that user's         18:01:52

25       friends.                                                 18:01:55

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1                  There were -- the user -- the user's           18:01:57

2        friends would not get notified that their friend         18:02:00

3        was using the application.      There would be no        18:02:02

4        placebo active notifications.                            18:02:05

5             Q.   And what was that time period?                 18:02:08

6             A.   The way the permissions -- the granular        18:02:11

7        permissions were launched in April 2010, and so the      18:02:16

8        specific feature I'm referring to there is prior to      18:02:21

9        April 2010, apps would access a range of                 18:02:27

10       information without granular permissions needed to       18:02:35

11       be granted.                                              18:02:38

12                 Starting in April 2010, users granted          18:02:40

13       specific permissions to an application determining       18:02:43

14       which data that application had access to.               18:02:46

15            Q.   Right.                                         18:02:52

16            A.   Through both of those periods, when a user     18:02:52

17       installed an application, their friends would not        18:02:56

18       be notified that they had done so.                       18:02:59

19            Q.   Okay.    And was there a point in time when,   18:03:03

20       before a user could share the user's friends             18:03:04

21       information, the users got notice that the app was       18:03:10

22       seeking friends information?                             18:03:13

23            A.   I'm not aware of any time where a              18:03:16

24       nonapp-user would be notified that one of their          18:03:20

25       friends was using an application.                        18:03:23

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1             Q.   Okay.   And why was Facebook set up that       18:03:26

2        way so that friends didn't receive notification          18:03:29

3        when their users -- when their friends were trying       18:03:33

4        to provide access to their information?                  18:03:36

5             A.   The original premise of the Facebook           18:03:41

6        Platform was that when a user was using an               18:03:42

7        application, that application had access to, at the      18:03:48

8        limit, potentially, anything that that user would        18:03:52

9        be able to see on Facebook.                              18:03:55

10                 It was the user taking the information         18:03:57

11       that had been shared with them and making that           18:03:59

12       available to an application.                             18:04:02

13            Q.   And have you seen in documents that            18:04:07

14       structure referred to as "authorization by proxy"?       18:04:10

15            A.   I don't recall seeing that phrase in           18:04:16

16       particular.                                              18:04:17

17            Q.   So, now, could Facebook have set up the        18:04:24

18       platform so that before an app could get access to       18:04:26

19       a person's information, where that person was the        18:04:30

20       friend of someone using the app, that they could         18:04:33

21       have received notice that this app is attempting to      18:04:36

22       gain the nonapp user's information?                      18:04:40

23            A.   It's technically possible that when a user     18:04:50

24       authorized an application and granted friends            18:04:52

25       permissions, that a notification could have been         18:04:58

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1        sent.        That's technically possible.                  18:05:03

2                       It would have introduced a number of        18:05:07

3        unusual experiences, however.                              18:05:09

4                Q.     And what do you mean by that?               18:05:15

5                A.     So sometimes I'm logging into an            18:05:21

6        application or I'm using an application for the            18:05:24

7        very first time.        I'm not necessarily, you know --   18:05:26

8        I'm using an application for the very first time.          18:05:30

9                       It might be unexpected for Facebook to      18:05:33

10       broadcast -- to send a notification to some of my          18:05:39

11       friends that I was using the application.                  18:05:46

12               Q.     Now, unexpected or not, it would have       18:05:49

13       given those friends the ability to choose not to           18:05:51

14       share information in that context.           Right?        18:05:54

15               A.     So, again, in this case, the -- the way     18:05:58

16       that the Facebook Developer Platform was originally        18:06:01

17       set up was that an app -- based on the simple              18:06:03

18       founding premise that when -- if there was                 18:06:10

19       information that a user could see on Facebook              18:06:13

20       because it had been shared with them on Facebook,          18:06:15

21       the -- that information would also be available to         18:06:18

22       applications that user was using.                          18:06:23

23               Q.     And were there discussions at Facebook of   18:06:30

24       the pros and cons of that approach to treating             18:06:33

25       information about users' friends?                          18:06:37

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1               A.   I've seen evidence of -- I've seen           18:06:42

2        evidence of discussions where the -- the impact of       18:06:45

3        that model was resulting in users being concerned        18:06:49

4        about the information that they could share with         18:06:55

5        applications and that their friends might be             18:07:01

6        sharing with applications, ultimately leading to         18:07:03

7        the changes made in 2014.                                18:07:06

8               Q.   And would it be fair to describe those       18:07:08

9        concerns as "privacy concerns"?                          18:07:10

10              A.   I think there are a range of concerns as     18:07:13

11       to how information was being shared with                 18:07:15

12       third-party apps through the Developer Platform.         18:07:21

13              Q.   And were privacy concerns included in that   18:07:25

14       range of concerns?                                       18:07:27

15              A.   Privacy would have been -- information       18:07:31

16       expectation would have been one of the concerns          18:07:34

17       that was discussed.                                      18:07:36

18              Q.   And by that, you mean people didn't          18:07:40

19       realize their information was being shared in that       18:07:42

20       way?                                                     18:07:44

21              A.   The -- there was discussion about the fact   18:07:47

22       that some people might not be aware that a friend        18:07:50

23       was using an application and that that friend's --       18:07:56

24       some of that user's friends' information had been        18:08:00

25       shared with the app.                                     18:08:05

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1                  MR. LOESER:   Okay.   If we could go to        18:08:08

2        Tab 5.                                                   18:08:10

3                  I'm going to introduce what will be marked     18:08:15

4        as Exhibit 333.                                          18:08:17

5                  (Deposition Exhibit 333 was marked for         18:08:29

6                  identification.)                               18:08:30

7        BY MR. LOESER:                                           18:08:31

8             Q.   In a moment you'll see an email from           18:08:32

9        David Poll to Eddie O'Neil and also dated                18:08:35

10       December 9, 2013.                                        18:08:39

11                 Do you see that on your screen?                18:08:42

12            A.   I do.                                          18:08:44

13            Q.   Do you know who David Poll is?                 18:08:44

14            A.   David Poll was an employee of Facebook,        18:08:50

15       now Meta, in the past, and I recall him being one        18:08:54

16       of the cofounders of a company called Parse.             18:08:58

17            Q.   And from -- was there discussion at            18:09:07

18       Facebook about who owned friend information;             18:09:11

19       whether it was the user's information or the             18:09:14

20       friends' information?                                    18:09:19

21            A.   Let me just read the exhibit before I          18:09:21

22       answer your question.                                    18:09:23

23            Q.   Sure.   And I -- it's a long string, and       18:09:25

24       I'm going to be asking you about some statements         18:09:29

25       made by Eddie O'Neil and David Poll on the second        18:09:32

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1        page of the email, if that helps, on the bottom.              18:09:37

2             A.     (Reviewing document.)                             18:09:54

3                    Okay.   It just scrolled.                         18:09:55

4             Q.     Let me apologize.      Let me save some time      18:09:56

5        by just referring you to -- if you go to the second           18:09:59

6        page, this is a chat between Eddie O'Neil and                 18:10:01

7        David Poll.     Is that right?                                18:10:04

8             A.     This to me represents a chat between Eddie        18:10:07

9        and David, yes.                                               18:10:10

10            Q.     Okay.   And if you go to the bottom of the        18:10:11

11       second page, about two thirds of the way down,                18:10:13

12       Eddie O'Neil says:                                            18:10:17

13                   "I disagree -- your friends' birthdays            18:10:19

14            aren't yours to take with you.           We let you do   18:10:22

15            that today, and it's created confusion along             18:10:25

16            with                                    It's also        18:10:27

17            exactly what's gotten us into trouble with               18:10:29

18                                                                     18:10:32

19                   Do you see that?                                  18:10:32

20            A.     I do see that.                                    18:10:33

21            Q.     And does this -- does this suggest that at        18:10:35

22       Facebook, there was discussion about who owned --             18:10:39

23       and I can put in air quotes -- who owned friend               18:10:43

24       information; whether it belonged to the user or               18:10:46

25       belonged to the friends?                                      18:10:48

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1             A.    My understanding, this is a discussion          18:10:54

2        about who -- who did or should have the ability to         18:10:55

3        choose how information was shared with third               18:11:04

4        parties.                                                   18:11:09

5                   It's -- I'm not sure I'd refer to it as         18:11:10

6        "who owns," but it's certainly a discussion about          18:11:13

7        the model or the models for which information could        18:11:19

8        or should be shared with third parties.                    18:11:25

9             Q.    And what is Mr. O'Neil referring to here        18:11:27

10       when he says "it's created confusion along with            18:11:30

11                                                                  18:11:34

12                  Do you know what he's talking about?            18:11:35

13            A.    When he's referring to "created                 18:11:37

14       confusion," that's, in my understanding, referring         18:11:39

15       to some of the feedback that had been heard from           18:11:43

16       users about how information was being shared with          18:11:50

17       third parties.                                             18:11:57

18                  I'm not sure what he's referring to in          18:11:58

19       terms of                                  in particular.   18:12:02

20            Q.    But Facebook, obviously, knows what             18:12:08

21                                        are -- were raised with   18:12:12

22       regard to friends permissions.        Right?               18:12:22

23                  MR. BLUME:    Excuse me.    I object.           18:12:26

24       Privilege.    Potential privilege.      If I may --        18:12:28

25                  MR. LOESER:    And let me -- sorry.        Go   18:12:32

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1        ahead, Mr. Blume.                                              18:12:34

2                    MR. BLUME:     I just was asking permission        18:12:36

3        to instruct the witness unless you want to                     18:12:38

4        rephrase.                                                      18:12:40

5                    MR. LOESER:     Sure.                              18:12:42

6             Q.     Really, the point of my question was, you          18:12:42

7        don't know the answer to this question what the                18:12:44

8                                            were, but Facebook knows   18:12:46

9        the answer to that.        Right?                              18:12:49

10            A.     Eddie here is likely referring to a --             18:12:55

11       it's hard to know what the specific "                          18:13:00

12                        he's referring to are.                        18:13:02

13                   So I -- it's hard to answer on behalf of           18:13:08

14       the company in terms of specifically what he's                 18:13:11

15       referring to.                                                  18:13:13

16            Q.     And when he refers to -- refers below to           18:13:15

17       "gotten us into trouble with                 do you know       18:13:19

18       what he's referring to?                                        18:13:24

19            A.          was an application that had an                18:13:26

20       unusual behavior.        I don't recall specifically in        18:13:33

21       detail what the application did other than it -- it            18:13:38

22       allowed -- I think, if I remember correctly, women             18:13:45

23       in particular -- specifically women, to rate in                18:13:50

24       some way their friends -- sorry -- rate other                  18:13:52

25       people.                                                        18:13:59

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1                       But I -- I don't want to get into the --          18:14:01

2        that's what I remember.        I don't want to get into          18:14:03

3        the specifics.        I haven't read up on the -- exactly        18:14:06

4        the specifics of this, but I've heard reference to               18:14:10

5                and read references to           in the documents        18:14:13

6        I've read in preparation for this testimony.                     18:14:17

7                Q.     And that was -- that would be one of those        18:14:22

8        concerns that you would consider related to how                  18:14:24

9        friend permissions were used by apps.            Right?          18:14:28

10               A.     My understanding is that the way           used   18:14:32

11       friend permissions was -- was something that there               18:14:36

12       was concern about at the time.                                   18:14:44

13               Q.     And specifically the -- the nonapp users,         18:14:45

14       or the friends of the user, expressed concern about              18:14:50

15       how their information was being used by the app.                 18:14:53

16       Right?                                                           18:14:56

17               A.     There were general concerns at the time           18:15:00

18       about how friends information had been -- had been               18:15:02

19       used.        I -- I don't recall reading anything                18:15:05

20       specific about -- I've seen              mentioned, but I'm      18:15:12

21       not sure in exactly which -- which contexts.                     18:15:16

22               Q.     And if you look at the next line in               18:15:20

23       Mr. O'Neil's chat, it says:                                      18:15:23

24                      "It's also accrued a huge amount of value         18:15:26

25               to developers at great expense to Facebook as            18:15:29

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1                a business."                                      18:15:31

2                     And do you know what he is referring to      18:15:32

3        here?                                                     18:15:34

4                A.   There's a couple of terms here.              18:15:38

5                     Which one do you want me to focus on         18:15:40

6        first?                                                    18:15:42

7                Q.   Well, is this a reference to the amount of   18:15:43

8        information that friends permissions was making           18:15:45

9        available to developers?                                  18:15:48

10               A.   Reading this, it seems relevant to the       18:15:55

11       friend permissions, but "huge amount of value" may        18:15:59

12       refer to a number of different ways that a                18:16:03

13       developer would perceive the -- the value of the          18:16:07

14       experience that they had got by integrating with          18:16:13

15       the Facebook Platform.                                    18:16:15

16               Q.   And what are -- what -- how can you          18:16:17

17       describe or what are the different ways that              18:16:21

18       developers obtained value from friends permission         18:16:23

19       information?                                              18:16:28

20               A.   So the friend permissions allowed            18:16:32

21       applications to build rich, engaging social               18:16:35

22       experiences even when, you know, one -- let me            18:16:38

23       start that again to make sure I frame this                18:16:45

24       correctly for you.                                        18:16:48

25                    One of the benefits of the friend            18:16:49

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1        permissions for developers was that they could            18:16:51

2        build rich, engaging social experiences, including        18:16:54

3        those where not all of a user's friends were also         18:16:59

4        using the same application; also using the same           18:17:04

5        app.                                                      18:17:09

6                       That could manifest value in different     18:17:09

7        ways.        It could enable applications to be more      18:17:12

8        retentive, so they were more frequently used a            18:17:19

9        whole number of different ways that the developers        18:17:23

10       might benefit from building social experiences.           18:17:26

11               Q.     And what are the ways that providing       18:17:32

12       access to friends information was at "great expense       18:17:34

13       to Facebook as a business"?                               18:17:39

14               A.     So one of the ways that this might be      18:17:47

15       considered an expense is in trust and reputation.         18:17:50

16       Because of the way the APIs functioned originally.        18:17:57

17                      And, as I've testified previously, there   18:18:03

18       were some concerns that we'd heard from users about       18:18:06

19       how the Platform worked, and that confusion could         18:18:10

20       have impacted the trust in Facebook as a product.         18:18:17

21               Q.     And can you -- are there other types of    18:18:24

22       expense that Facebook recognized related to               18:18:28

23       providing access to friends permissions to                18:18:31

24       developers -- or partners, for that matter?               18:18:34

25               A.     One way that you might classify that is    18:18:38

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1        the computational energy it took to serve these           18:18:45

2        requests.                                                 18:18:50

3                    Actually serving an API call requires         18:18:52

4        compute, and so that's another way that providing         18:18:56

5        the platform in general and certain APIs would have       18:19:02

6        been an expense to Facebook.                              18:19:08

7             Q.     And what about the value of the -- of the     18:19:12

8        friend information itself?                                18:19:14

9                    Is that information valuable to Facebook      18:19:17

10       as a business, from a monetization standpoint?            18:19:19

11            A.     Sorry.    Can you help me understand the      18:19:25

12       context of your question?                                 18:19:27

13                   That was a very general -- a general          18:19:29

14       question.     I would like to get to the specifics.       18:19:31

15            Q.     Sure.    I'm just trying to understand from   18:19:33

16       Facebook's perspective what the great expense to          18:19:36

17       Facebook as a business was, and you've given me           18:19:39

18       some examples.                                            18:19:42

19                   And I'm wondering if there's an economic      18:19:42

20       impact as well that would be covered by providing         18:19:45

21       thousands of apps with access to friend                   18:19:47

22       permissions.                                              18:19:50

23            A.     I'm not aware of any analysis that was        18:19:53

24       done that specifically determined -- or attempts to       18:19:56

25       determine the -- the financial value of friend            18:20:01

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1        permissions or the friend data as part of the             18:20:08

2        Developer Platform.                                       18:20:11

3                Q.   Okay.   Let's look at David Poll's text at   18:20:15

4        the bottom of the page.         And he states:            18:20:18

5                     "If you want to give users a way to          18:20:21

6                protect their data, it seems like the best        18:20:23

7                way to do that is to give them a setting like     18:20:26

8                                            unless I've           18:20:29

9                                         it.'"                    18:20:31

10                    Do you see that?                             18:20:32

11               A.   I see that on the screen, yes.               18:20:33

12               Q.   And as you testified earlier, that's the     18:20:35

13       type of setting that Facebook could have                  18:20:37

14       technically implemented had it chosen to do so.           18:20:40

15               A.   Let me just read the statement to make       18:20:44

16       sure I can answer accurately for you.                     18:20:46

17                    (Reviewing document.)                        18:21:00

18                    THE WITNESS:   There's a lot of context      18:21:19

19       here to unpack.       So I'm just trying to understand    18:21:21

20       what David Poll is speaking about.                        18:21:24

21                    So my understanding is that the "apps        18:21:38

22       others use" setting was partly delivered on the           18:21:41

23       expectation that -- that David is referring to            18:21:51

24       here.                                                     18:21:54

25                    So it would have been technically possible   18:21:59

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1        to allow a user to choose whether or not an              18:22:01

2        application had access to their data.                    18:22:10

3        BY MR. LOESER:                                           18:22:14

4             Q.   All right.    We've talked a bit about         18:22:20

5        the -- I'm sorry, go ahead.                              18:22:22

6             A.   Sorry.    Carry on.                            18:22:25

7             Q.   Okay.    So moving on, the -- I've asked you   18:22:26

8        some questions about the different permissions, and      18:22:28

9        you've provided some helpful information about the       18:22:31

10       terminology used to discuss different permissions.       18:22:33

11                 I do want to make sure I have a complete       18:22:37

12       understanding of all of the different permissions        18:22:40

13       that allowed access to friend information.               18:22:44

14                 And I asked before if a number of the          18:22:48

15       permissions had the word "friends" in them, and you      18:22:52

16       said "Yes."                                              18:22:56

17                 And it's also the case the number of           18:22:57

18       permissions that provided access to friend               18:22:59

19       information did not have the word "friend" in them.      18:23:02

20       Is that right?                                           18:23:05

21            A.   There were permissions that allowed an app     18:23:08

22       to access information about a user and that user's       18:23:11

23       friends that didn't have "friend" in the title.          18:23:17

24            Q.   Okay.    And I'm going to run through some,    18:23:22

25       and then you can help me understand if there are         18:23:24

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1        others.                                                   18:23:26

2                  User-posts APIs are a type of -- emit           18:23:27

3        friend information.      Right?                           18:23:37

4             A.   The user-posts API allowed an app to            18:23:38

5        access the posts of a user who had authorized the         18:23:42

6        application.                                              18:23:46

7             Q.   And did it also provide access to the           18:23:48

8        user's friends' posts?                                    18:23:52

9             A.   My understanding is the user-posts              18:23:56

10       permission is no.      It would not have allowed an app   18:24:01

11       to access a user's friends' posts.                        18:24:04

12            Q.   And even where the friend responds to the       18:24:08

13       post or comments or indicates a like to a post?           18:24:10

14            A.   My understanding of the way the user posts      18:24:16

15       permission worked was that it would have emitted          18:24:19

16       the posts of the user who had authorized the              18:24:23

17       application.      It may have also included likes and     18:24:26

18       comments on that post.                                    18:24:29

19            Q.   Okay.     And likes and comments from a         18:24:32

20       friend would be friend information.         Right?        18:24:34

21            A.   Some posts, if they had only been shared        18:24:43

22       with a friend and they had been liked or commented        18:24:47

23       on by a friend, then the -- the app would be able         18:24:50

24       to see the user ID and the comment and some other         18:24:57

25       information about the comment that you could              18:25:02

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1        construe as having been made by a friend.                18:25:05

2                Q.   Okay.   And the Event API, is that a        18:25:08

3        similar answer to that; that the Event API gives         18:25:13

4        access to events that the user attended, but any         18:25:18

5        comment or posts or other information from the           18:25:21

6        friend regarding that event, that also would be          18:25:24

7        accessible for the user's friends.          Right?       18:25:28

8                A.   So, again, the specifics really matter      18:25:35

9        here.                                                    18:25:37

10                    The user events permission allowed an app   18:25:38

11       to access the events that a user, as I understand        18:25:41

12       it, had marked themselves as attending or not            18:25:45

13       attending or had responded to in some way.               18:25:48

14                    Through that -- through the Events API,     18:25:56

15       the app could also access other information about        18:25:58

16       that event which may have included other attendees,      18:26:01

17       some of whom might be the user's friends, some of        18:26:05

18       whom might not be, depending on the privacy setting      18:26:09

19       of the event and who was attending.                      18:26:14

20               Q.   Okay.   And so the Events API also could    18:26:15

21       obtain some friends information for those reasons.       18:26:19

22               A.   The events API may have allowed an app to   18:26:23

23       access information about a user's friends who were       18:26:29

24       attending an event that the user was attending, for      18:26:33

25       example.                                                 18:26:39

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1             Q.   What is the "Pages API"?                       18:26:42

2             A.   The Pages API refers to a collection of        18:26:45

3        APIs that would allow an application to access           18:26:48

4        content on or information about a Facebook page.         18:26:52

5             Q.   And could that API also allow access to        18:26:58

6        friends information of the user who used the app         18:27:03

7        with access to that API?                                 18:27:07

8             A.   So the Pages API allowed an application to     18:27:12

9        access information about the page.      At times, it     18:27:21

10       also allowed the application to access posts on          18:27:24

11       that page's timeline, and those posts could also         18:27:26

12       have included comments on those posts.       And those   18:27:31

13       comments were publicly available on Facebook and         18:27:38

14       may have been also available by the API.                 18:27:41

15            Q.   And so that would include friends              18:27:44

16       information as well.   Right?                            18:27:46

17            A.   The Pages API could be called by an            18:27:49

18       application without a specific logged-in user, and       18:27:52

19       so the information available may have included           18:28:00

20       friend information.                                      18:28:03

21            Q.   And what is the "Groups API"?                  18:28:06

22            A.   The Groups API refers to a collection of       18:28:12

23       APIs which allow an app to access the groups that a      18:28:15

24       user is a member of.                                     18:28:21

25            Q.   And could the Groups APIs also provide         18:28:26

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1        access to information about friends of the app            18:28:31

2        user?                                                     18:28:34

3                A.   The Groups API would have allowed the app    18:28:37

4        to access the member list of a -- that at the time        18:28:42

5        included the member list of the groups that the           18:28:49

6        user was a member of and posts in the group that          18:28:51

7        the user was a member of.                                 18:28:53

8                     The member list could include people who     18:28:57

9        were the app user's friends.                              18:28:59

10               Q.   And it could also include people who were    18:29:02

11       not the app user's friends.       Right?                  18:29:04

12               A.   A group on Facebook can be open or closed    18:29:08

13       and secret and may contain people who are not the         18:29:14

14       user's friends, and the group's API would have            18:29:16

15       allowed the app to see the members of the group.          18:29:21

16               Q.   Are you familiar with the Taggable Friends   18:29:25

17       API?                                                      18:29:27

18               A.   I am familiar with the Taggable Friends      18:29:31

19       API.                                                      18:29:33

20               Q.   And what information does that API provide   18:29:34

21       access to?                                                18:29:37

22               A.   My understanding is that the Taggable        18:29:39

23       Friends API retrieved -- allowed an app to retrieve       18:29:43

24       a very limited set of information about the app           18:29:48

25       user's friends specifically to enable them to             18:29:51

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1        render a tagging type-ahead.                              18:29:55

2             Q.   And what is a "tagging type-ahead"?             18:30:01

3             A.   I think the best way to illustrate this is      18:30:04

4        through an example.                                       18:30:06

5                  Imagine that you are a runner and you use       18:30:07

6        Strava, and you go on a run with me, but I am not a       18:30:13

7        Strava user.      I track my runs using another app.      18:30:20

8                  After the run, you might choose to share        18:30:25

9        your run back to Facebook, and you want to tag me,        18:30:29

10       one of your Facebook friends, in that story because       18:30:33

11       we went on the run together.                              18:30:36

12                 If I don't use Strava, then there was the       18:30:39

13       desire to give the app away to render a way for you       18:30:46

14       to tag me in that story when it was published back        18:30:53

15       to Facebook.                                              18:30:56

16            Q.   Okay.     So in that context, it provides       18:30:59

17       friend information about the person who doesn't use       18:31:03

18       Strava.                                                   18:31:06

19            A.   It provides a very, very limited set of         18:31:07

20       information about the person -- the user's friend         18:31:10

21       who doesn't use Strava.                                   18:31:13

22            Q.   And we talked a bit about the Social            18:31:25

23       Context API.      And you described that as an API that   18:31:27

24       provided information about a user and one other           18:31:32

25       person.                                                   18:31:34

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1                  Do I recall that correctly?                    18:31:36

2             A.   That's not the intent of my testimony.         18:31:37

3                  It provided the social -- it provided          18:31:43

4        social context between two app users.                    18:31:46

5                  So when you called the Social Context API,     18:31:50

6        it was called on behalf of a user, and you would         18:31:53

7        also specify one of that user's friends who was          18:31:56

8        also -- or another user ID of somebody who was           18:32:01

9        using the application, and the API would return          18:32:04

10       social context between those two people.                 18:32:07

11            Q.   And so could that API provide information      18:32:15

12       about people who are not using the app with access       18:32:18

13       to Social Context API?                                   18:32:22

14            A.   My understanding is the information            18:32:24

15       returned by that API would be different whether or       18:32:26

16       not two users -- one of the users was using the          18:32:28

17       application and one of the users displayed in the        18:32:32

18       Social Context wasn't.                                   18:32:36

19            Q.   And so walk me through what happens when       18:32:39

20       the -- the other person is not using the app.            18:32:44

21                 What information about that person is          18:32:49

22       provided through the app?                                18:32:51

23            A.   I'd need to refer to the API documentation     18:32:53

24       at the time to give -- to give you specifics, but        18:32:56

25       my understanding is it would return a very limited       18:32:59

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1        set of information about people that the two users        18:33:04

2        had in common that were not using the application.        18:33:09

3               Q.   Okay.   So let's -- let's -- let me provide   18:33:12

4        an example.     Maybe this would be helpful.              18:33:15

5                    So if a Facebook user watches a movie,        18:33:17

6        let's say The Godfather, and the app that user            18:33:21

7        is -- authorizes an app that has a Social Context         18:33:29

8        API permission, what other information about people       18:33:34

9        watching The Godfather, and from whom, would that         18:33:39

10       API provide access?                                       18:33:43

11              A.   I can't -- I don't recall the specific        18:33:47

12       behavior of the API, and I think to do that, I'd          18:33:49

13       need to refer to the developer documentation that         18:33:52

14       was available at the time as to how -- how that           18:33:54

15       specific API behaved.      I don't want to speculate if   18:33:57

16       I don't have the -- the facts.                            18:34:01

17              Q.   Well, let's try and create enough facts so    18:34:04

18       you can provide some helpful information.                 18:34:06

19                   Let's say a user did watch the movie          18:34:08

20       Godfather and posts on their Facebook page, "I love       18:34:11

21       the movie Godfather.      I just watched it."             18:34:15

22                   Explain to me how the Social Context API      18:34:20

23       would use that information and with whom it would         18:34:23

24       use it if there's an app that has Social Context          18:34:26

25       API.                                                      18:34:29

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1             A.   So I need to refer to the specifics about          18:34:30

2        the -- how the social context API works.            You're   18:34:33

3        asking a very -- a question that requires, you               18:34:36

4        know, a detailed answer, and I don't have in my              18:34:40

5        mind the exact behavior of how the Social Context            18:34:42

6        API worked and the context in which it worked and            18:34:47

7        the specifics of the information that would have             18:34:51

8        been returned by the API.                                    18:34:53

9             Q.   Okay.   Well, then, if you can, describe           18:34:56

10       more generally -- and I'm trying to understand from          18:34:58

11       where the Social Context API draws information.              18:35:02

12                 So I know from what you said that it draws         18:35:05

13       information from the user who authorized the app.            18:35:07

14                 And what other information does it draw            18:35:10

15       that pertains to that user?     Like -- or from who?         18:35:13

16       Who else would be sort of folded into the -- or who          18:35:17

17       else would be in the net that that API casts?                18:35:20

18            A.   The precise answer depends on the                  18:35:25

19       specifics of the Social Context API.       It's one of       18:35:29

20       the APIs that I don't have the details of exactly            18:35:31

21       how it worked -- in my head today -- so it's hard            18:35:34

22       to give you a specific answer to that accurately.            18:35:38

23            Q.   Okay.   But there's -- as you mentioned,           18:35:43

24       there's a source -- there's a place you can go at            18:35:45

25       Facebook where you can see and learn exactly what            18:35:48

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1        information that API provides access to?                         18:35:51

2             A.   My understanding is that the code base of              18:35:55

3        Facebook may help understand which API specifically              18:35:59

4        you're referring to and its behavior over time.                  18:36:04

5             Q.   And based upon what you know now, can you              18:36:09

6        say whether that API provides access to friends                  18:36:12

7        information?                                                     18:36:16

8             A.   I -- again, to answer that question                    18:36:19

9        specifically, I'd need to go and look at the exact               18:36:22

10       behavior of the Social Context API.      There are               18:36:25

11       other APIs whose behavior I can describe.          The           18:36:28

12       Social Context API, I -- I don't have the                        18:36:31

13       information as to, like, exactly which API you're                18:36:34

14       referring to, exactly how it behaved, and exactly                18:36:37

15       who it was available to and when.                                18:36:43

16                 So I just don't want to give you incorrect             18:36:46

17       information.                                                     18:36:49

18            Q.   Well, that's fair, and I appreciate that               18:36:50

19       answer.                                                          18:36:51

20                 Do you know of or can you provide any                  18:36:52

21       other APIs that provided access to friend                        18:36:54

22       information?                                                     18:36:59

23                 And let me make your answer easier.            Other   18:37:00

24       than those that have the word "friends" in the --                18:37:03

25            A.   When you're referring to friends                       18:37:07

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1        information here, can you be more specific               18:37:09

2        precisely what information -- what would classify        18:37:12

3        as friends information in your question?                 18:37:15

4             Q.   Yeah, and I'm trying to use the definition     18:37:17

5        we came up with before.     But it's really any          18:37:19

6        information about the friends -- any Facebook data       18:37:22

7        or information about the friends of the person who       18:37:24

8        authorized the app.                                      18:37:26

9             A.   Okay.   Cool.                                  18:37:32

10                 Some other APIs that -- that would have        18:37:36

11       been -- that fit that description, there is an API       18:37:38

12       called a "Taggable Friends API" that you've              18:37:46

13       previously mentioned.     There was another one called   18:37:51

14       the "Invitable Friends API."                             18:37:54

15                 And then the -- several of the user            18:38:01

16       permissions, user_posts, user_photos, user_videos,       18:38:08

17       as per my previous testimony, would have allowed         18:38:20

18       the app to access the user's photos, but comments        18:38:23

19       and likes on those photos by my friends may also         18:38:28

20       have been returned by that API.                          18:38:33

21            Q.   And you said "photos," but that would be       18:38:36

22       the same for videos as well?                             18:38:38

23            A.   The user photos and user videos APIs           18:38:41

24       behaved the same way, to my knowledge -- or in a         18:38:47

25       similar way, to my knowledge.                            18:38:50

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1                Q.   And do you know, with regard to those user      18:38:52

2        permissions, what time period they were active on            18:38:56

3        the Platform?                                                18:38:58

4                A.   The permissions, as I understand it, were       18:39:00

5        added in April 2010, in terms of the permissions             18:39:03

6        themselves.                                                  18:39:08

7                     The behavior of the APIs that were gated        18:39:11

8        by those permissions changed over time.            So it's   18:39:16

9        hard to say exactly when the behavior changed, but           18:39:20

10       the permissions that those -- those specific                 18:39:23

11       permissions were made available, as I understand             18:39:27

12       it, in April 2010.                                           18:39:29

13                    MR. BLUME:    I'm sorry to -- when you're at    18:39:32

14       a breaking point, if we could break.                         18:39:34

15                    MR. LOESER:    Yeah.   One more question.       18:39:36

16               Q.   Those permissions, the user permissions         18:39:38

17       you just described, are they still available on the          18:39:41

18       Platform today?                                              18:39:44

19               A.   My understanding is that some of those          18:39:47

20       permissions are still available today, but I would           18:39:49

21       want to review the public API documentation to be            18:39:54

22       sure.                                                        18:39:58

23                    MR. LOESER:    And I apologize, Mr. Blume, I    18:39:59

24       just have two more questions that relate to this.            18:40:01

25       If that's okay, I'll ask --                                  18:40:04

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1                    MR. BLUME:   Okay.                           18:40:06

2        BY MR. LOESER:                                           18:40:06

3             Q.     Now, we've gone through a number of          18:40:07

4        different APIs, and I have attempted to elicit           18:40:08

5        information about all the APIs that provide access       18:40:11

6        to friend information as we've defined that.             18:40:13

7                    Is there a tool or is there a list or a      18:40:16

8        database or something at Facebook that identifies        18:40:19

9        every single API that provides friend information        18:40:22

10       in any way?                                              18:40:28

11            A.     I'm not aware of a tool that identifies      18:40:33

12       the subset of the Facebook Developer Platform APIs       18:40:38

13       that would have returned information about a user's      18:40:42

14       friends.                                                 18:40:47

15            Q.     And do you know if, at any point, Facebook   18:40:49

16       has undertaken the effort to identify every single       18:40:51

17       API that emitted friend information?                     18:40:55

18            A.     I'm aware of an effort in around 2018 that   18:40:59

19       was undertaken to assess the Facebook Platform and       18:41:06

20       the Facebook APIs and determine what information         18:41:12

21       was made available by those APIs.                        18:41:17

22            Q.     And do you know if that effort looked at     18:41:22

23       all of the different APIs that I just ran through        18:41:25

24       with you:     Taggable Friends, Invisible Friends,       18:41:29

25       User Permissions, Groups, Events, Posts, and the         18:41:33

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1        like?                                                          18:41:36

2                A.   My understanding is that effort would have        18:41:38

3        looked through all of the APIs that were commonly              18:41:40

4        available on the Facebook developer endpoint                   18:41:42

5        platform at the time.                                          18:41:45

6                Q.   My last question, then we can take a              18:41:47

7        break:                                                         18:41:49

8                     Facebook can determine definitively with          18:41:50

9        respect to every API whether that API emitted any              18:41:53

10       friend information.        Right?                              18:41:57

11               A.   My understanding is that for a given API          18:42:02

12       method, it is determinable what information would              18:42:06

13       have been emitted by that API.                                 18:42:10

14                    MR. LOESER:    Okay.   We can take a break        18:42:14

15       now.     Thank you for continuing on until we finished         18:42:16

16       that topic.                                                    18:42:19

17                    THE VIDEO OPERATOR:     Okay.    Then we're off   18:42:21

18       the record at 6:42 P.M.                                        18:42:23

19                    (Recess from 6:42 P.M. to 7:00 P.M.)              18:42:25

20                    THE VIDEO OPERATOR:     We're back on the         19:00:38

21       record at 7:00 P.M.                                            19:00:39

22                    MR. LOESER:    Mr. Cross, we're going to put      19:00:44

23       up another exhibit for you.         It's previously been       19:00:45

24       marked Exhibit 98.                                             19:00:48

25                    And while it's being loaded, this appears         19:00:55

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1        to be a post from you on the internal group app                  19:00:58

2        review and policy enforcement feedback and                       19:01:03

3        questions on June 11, 2015.          Is that right?              19:01:05

4                A.   I'm not seeing anything on the screen just          19:01:14

5        yet.     Or in the Veritext Egnyte thing.                        19:01:16

6                     (Previously marked Exhibit 98 was                   19:01:21

7                     presented to the witness.)                          19:01:26

8                     MR. BLUME:     Do you have an exhibit number?       19:01:28

9                     MR. LOESER:     Yeah, it's Exhibit Number 98.       19:01:30

10                    THE WITNESS:     I'm just going to quickly          19:01:39

11       turn on the lights in my room.           It's getting dark       19:01:41

12       here.                                                            19:01:45

13                    Okay.   I'm seeing something now.           Thank   19:01:50

14       you.                                                             19:01:52

15       BY MR. LOESER:                                                   19:01:54

16               Q.   And do you see the exhibit stamp 98?                19:01:54

17               A.   I do.                                               19:01:58

18               Q.   Okay.   And then if you look at the top of          19:01:59

19       the next page, it says "App Review and Policy                    19:02:01

20       Enforcement Feedback and Questions."                             19:02:04

21               A.   I see that, yes.                                    19:02:09

22               Q.   And what -- is this a -- like, what is              19:02:11

23       this?                                                            19:02:13

24                    Where was this posted?                              19:02:15

25               A.   I can't confirm where this was posted from          19:02:20

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1        what I'm seeing here.     It's -- yeah.     I -- from         19:02:23

2        what I'm seeing on the screen, I can't 100 percent            19:02:27

3        confirm where this -- where this was posted.                  19:02:30

4             Q.   Okay.   And in June of 2015, what was your          19:02:34

5        position at Facebook?                                         19:02:36

6             A.   I was a product manager on the Facebook             19:02:39

7        Developer Platform.                                           19:02:42

8             Q.   Okay.   And was there a list serve or               19:02:45

9        something that was -- where people provided                   19:02:48

10       feedback and questions for app review and policy              19:02:52

11       enforcement?                                                  19:02:55

12            A.   There was likely a Facebook group.           We     19:02:57

13       used Facebook internally to discuss that.            That's   19:02:59

14       what this may be.     I just can't 100 percent confirm        19:03:03

15       it from what I'm looking at here.                             19:03:06

16            Q.   Okay.   And if you look at just your post           19:03:09

17       starting at the top, it refers to something called            19:03:13

18       "                                                             19:03:16

19                 But before I ask you questions about that,          19:03:20

20       there's a link below that.                                    19:03:23

21                 Can you tell what that link is?                     19:03:25

22            A.   That looks to me like a -- what, a URL to           19:03:31

23       an image of -- first of all, that's what it looks             19:03:39

24       like to me.    I can't confirm if that URL is the URL         19:03:42

25       for the image directly below it.       It's possible,         19:03:47

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1        but I can't confirm that.                                               19:03:52

2                Q.     Okay.     Well, let's look at your -- your               19:03:54

3        post.        It says:                                                   19:03:57

4                       "This app,                       -- and I'm              19:03:59

5                skipping the numbers -- "is blowing up:                    to   19:04:02

6                                 MAU in 17 days."                               19:04:06

7                       Do you see that?                                         19:04:09

8                A.     I see that on the screen, yeah.                          19:04:09

9                Q.     And below that, you write:                               19:04:11

10                      "They're accessing                                       19:04:13

11                                         - and looking at the people           19:04:15

12               (non-app friends) who                                 on        19:04:18

13               them."                                                          19:04:21

14                      And so when you use the expression                       19:04:22

15       "non-app friends" here, what are you referring to?                      19:04:26

16               A.     I'm referring to people who are friends of               19:04:30

17       the user who's authorized the application who have                      19:04:36

18       not yet authorized the application themselves.                          19:04:41

19               Q.     Okay.     So in -- on June 11, 2015, this app            19:04:45

20       called "                          was obtaining friend                  19:04:52

21       information.           Correct?                                         19:04:55

22               A.     My understanding from reading this is I                  19:05:00

23       was -- I thought it was accessing information about                     19:05:02

24       people who had                                    on the                19:05:13

25                                 of people who had used the                    19:05:17

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1        application.                                             19:05:20

2             Q.   Okay.   And then you write:                    19:05:21

3                  "To me, while technically possible, seems      19:05:23

4             like it violates spirit of the V2 changes and       19:05:26

5             the intended use of user_posts and                  19:05:30

6             user_photos -- which is about deriving              19:05:33

7             user-value from the content, not the people         19:05:36

8             who like/comment on the content."                   19:05:38

9                  Did I read that correctly?                     19:05:41

10            A.   You read that correctly.                       19:05:43

11            Q.   And "V2," is that a reference to Graph API     19:05:45

12       Version 2?                                               19:05:47

13            A.   That would be a reference to Graph API         19:05:48

14       Version 2.                                               19:05:50

15            Q.   And tell me what you mean when you say         19:05:52

16       that it "seems like it violates spirit of the V2         19:05:54

17       changes and the intended use of user_posts and           19:05:58

18       user_photos."                                            19:06:01

19            A.   So the intended use, as I understand it,       19:06:06

20       and user_posts and user_photos was to grant apps         19:06:08

21       the ability -- well, for users to be able to             19:06:12

22       authorize an application to access their user posts      19:06:15

23       and photos for some value that the application was       19:06:19

24       providing to users.                                      19:06:24

25            Q.   Okay.   And you thought that because user      19:06:29

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1        posts and user photos were emitting friend data and          19:06:31

2        Facebook had announced it had deprecated friend              19:06:34

3        data.        Right?                                          19:06:38

4                A.     So Facebook had announced it had -- it was    19:06:41

5        deprecating the friend permissions.            That's what   19:06:44

6        Facebook announced as part of the API V1 changes.            19:06:49

7        So that's important to clarify.                              19:06:55

8                Q.     Okay.   And -- but when you say that it       19:06:59

9        "violates the spirit of V2 changes," is what you're          19:07:04

10       saying here that it -- this app continues to obtain          19:07:07

11       friend information, and the spirit of the V2                 19:07:11

12       changes was to stop that from happening?                     19:07:14

13               A.     Several of the changes in API V2, or the      19:07:20

14       suite of things that were launched along with API            19:07:26

15       V2, were about limiting the ability of applications          19:07:29

16       to access a user's friends' content and                      19:07:36

17       information.                                                 19:07:45

18                      In this case, what's still available to       19:07:46

19       this application is the likes and comments made by           19:07:50

20       a user's friends on a user's timeline posts.                 19:07:54

21               Q.     Okay.   And how does that violate the         19:08:08

22       spirit of the V2 changes?                                    19:08:10

23               A.     The spirit of the V2 changes, as I            19:08:16

24       recall -- trying to remember what I wrote in this            19:08:19

25       post nearly seven or eight years ago -- is the apps          19:08:23

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1        would have less access to information about a            19:08:30

2        user's friends who were not using the application.       19:08:39

3                   That was indeed behind any of the changes     19:08:45

4        in API V2; but in this case, the application was         19:08:51

5        still accessing some information about the user's        19:08:58

6        friends who had commented or liked on the original       19:09:02

7        post -- on the app-using user's posts.                   19:09:05

8              Q.   And so you expressed those concerns.          19:09:22

9                   And do you recall whether this app            19:09:27

10       continued to have access to the user posts and user      19:09:30

11       photos after you expressed these concerns?               19:09:35

12             A.   From reading the thread that continues        19:09:40

13       below -- below this, it looks like the conclusion        19:09:45

14       was reached that this activity was not against           19:09:48

15       policy as defined at the time, and this access --        19:09:54

16       this use case should continue.                           19:10:00

17                  I don't recall -- I do not know what          19:10:05

18       happened to the app                  over time.          19:10:08

19             Q.   Now, Mr. Cross, there were thousands of       19:10:24

20       apps that had access to friend information.         Is   19:10:26

21       that right?                                              19:10:28

22             A.   Over what time period are you referring       19:10:35

23       to?                                                      19:10:37

24             Q.   Oh, that's a good question.                   19:10:38

25                  So prior to the introduction of Graph API     19:10:40

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1        Version 2, there were thousands of apps that had         19:10:43

2        access to friend permissions.       Right?               19:10:46

3             A.   Prior to the introduction of API               19:10:49

4        Version 2, any application on the Facebook               19:10:51

5        Developer Platform could request the friend              19:10:53

6        permissions from users.                                  19:10:56

7             Q.   And Facebook evaluated the number of apps      19:10:59

8        that had access to friend permissions as part of         19:11:04

9        its preparation for the introduction of Graph API        19:11:08

10       Version 2.   Right?                                      19:11:12

11            A.   In preparation for the changes launched on     19:11:15

12       April 30, 2015, a number of initiatives were             19:11:18

13       undertook to understand the potential impact of          19:11:24

14       these changes on the developer ecosystem.                19:11:26

15            Q.   And included in those initiatives was          19:11:31

16       identifying the number of users who downloaded apps      19:11:34

17       with access to friend information.        Right?         19:11:37

18            A.   Can you help me understand what you mean       19:11:40

19       by "downloaded"?                                         19:11:41

20            Q.   I'm sorry.   Installed the apps.               19:11:43

21            A.   My understanding is that one of the things     19:11:50

22       that was looked at is the number of users who had        19:11:52

23       granted one or more friend permissions to one or         19:11:56

24       more applications.                                       19:11:59

25            Q.   And as part of those initiatives as well,      19:12:01

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1        Facebook identified the number of API calls on the       19:12:05

2        friend-sharing APIs.   Right?                            19:12:09

3             A.   I would need to see, like, specific            19:12:16

4        documentation there.                                     19:12:19

5                  Like, recall there was no such thing as        19:12:21

6        the friend APIs.   There are friend permissions, and     19:12:25

7        there are APIs, and those APIs can be called by the      19:12:29

8        app-using user or on behalf of that app-using            19:12:32

9        user's friends.                                          19:12:38

10                 So, again, I want to make sure I'm giving      19:12:39

11       you the right answer, given the specifics.               19:12:41

12            Q.   I appreciate that.    So let's speak in        19:12:43

13       terms of friend permissions, then.                       19:12:45

14                 One of the things that Facebook can            19:12:47

15       identify is the number of API calls on any of the        19:12:49

16       permissions that are available on the Platform.          19:12:53

17       Right?                                                   19:12:56

18            A.   So, again, the --                              19:13:00

19            Q.   Or did I mix up the terminology -- the         19:13:01

20       calls are referred to the APIs themselves, not the       19:13:03

21       permissions.   Is that right?                            19:13:06

22            A.   When you -- when you see a reference to        19:13:07

23       "API calls," that's referring to APIs.                   19:13:09

24                 The permissions determine what information     19:13:12

25       is available via those APIs.                             19:13:15

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1                     So, yeah, those concepts are separate,         19:13:18

2        yeah.                                                       19:13:21

3                Q.   So Facebook can identify and did identify      19:13:21

4        the number of API calls on the APIs that provided           19:13:24

5        access to friend information.                               19:13:30

6                A.   The -- the documents I've read show that       19:13:41

7        there was an effort done to determine how API calls         19:13:45

8        that were made by applications -- and some of the           19:13:50

9        API calls -- some of the APIs would -- would                19:13:54

10       specifically map to friend data; other API calls            19:13:59

11       would not be specific to friend data.                       19:14:03

12               Q.   And I appreciate that.     And I'm trying to   19:14:08

13       make sure I understand what Facebook knew about the         19:14:10

14       use of APIs that provided access to friend                  19:14:13

15       information.                                                19:14:18

16                    And my understanding is that Facebook          19:14:18

17       identified that thousands of apps installed by              19:14:20

18       millions of users made millions of calls on                 19:14:24

19       friend-sharing APIs.       Is that a fair statement?        19:14:27

20               A.   No.   The -- the friend-sharing API part of    19:14:31

21       that doesn't map with my understanding of how the           19:14:36

22       platform worked.                                            19:14:39

23                    If you could show me a document that           19:14:40

24       states that, that might be helpful for me to                19:14:42

25       analyze.                                                    19:14:45

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1             Q.   Yeah.   And we'll get into a document             19:14:47

2        that -- 'cause as you say, there were various               19:14:49

3        initiatives that studied the extent to which friend         19:14:52

4        information was made available by apps via APIs             19:14:56

5        that provided access to that information.           Okay.   19:15:01

6        Right?                                                      19:15:05

7             A.   There were a number of studies done to            19:15:05

8        analyze the use of the Platform by developers and           19:15:08

9        how they were using the Platform and which                  19:15:12

10       permissions they were requesting and which APIs             19:15:15

11       they were -- they were calling.                             19:15:17

12            Q.   And deprecating -- and I hope I'm using           19:15:20

13       the terminology right -- but deprecating friend             19:15:24

14       permissions, that was a thing.      Right?                  19:15:27

15            A.   In API Version 2, the friend permissions          19:15:31

16       were not readily grantable by a user using an               19:15:35

17       application that was using API Version 2.                   19:15:40

18            Q.   And that was a big change at Facebook             19:15:44

19       because thousands of apps had access to the APIs            19:15:46

20       that allowed friend-sharing.     Right?                     19:15:52

21            A.   The way that the Facebook Developer               19:16:01

22       Platform worked before API Version 2 allowed any            19:16:03

23       application to request friend permissions, and a            19:16:08

24       number of applications did so.                              19:16:14

25                 And so the removal of those permissions           19:16:17

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1        from the public API surface area in API Version 2,           19:16:21

2        yes, was considered a significant change to the              19:16:27

3        Facebook Developer Platform.                                 19:16:30

4                   MR. LOESER:   If we could go to Tab 8.            19:16:35

5                   (Deposition Exhibit 334 was marked for            19:17:10

6                   identification.)                                  19:17:12

7                   MR. LOESER:   This is Exhibit 334.          The   19:17:15

8        Bates number on this is 01685319.ppt.                        19:17:20

9              Q.   Is that right?                                    19:17:26

10                  And, Mr. Cross, do you see what's on your         19:17:28

11       screen?                                                      19:17:30

12             A.   I do.                                             19:17:30

13             Q.   And this is -- you can take a minute to           19:17:32

14       skim through it.    I just have a few questions about        19:17:36

15       this slide deck.    And the first page says: "Login          19:17:39

16       V4 (+PS12n) - 1/24/2014 update."                             19:17:42

17                  Can you describe what this refers to just         19:17:49

18       by looking at the title of it?                               19:17:55

19             A.   "Login V4" refers to the update to the            19:17:57

20       Facebook Platform Login dialogue that were launched          19:18:00

21       in -- as part of the changes announced on                    19:18:06

22       April 30, 2014.    So that's what "Login V4" refers          19:18:10

23       to.                                                          19:18:16

24                  And "PS12n" refers to a term called               19:18:16

25       "platform simplification," which was one of the              19:18:20

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1        terms used as part of the work that led up to the                   19:18:23

2        changes that were announced in -- on April 30,                      19:18:30

3        2014.                                                               19:18:34

4                Q.   Okay.   And if you -- if you turn to the               19:18:37

5        next page of that slide deck, there's an "Overview"                 19:18:41

6        slide which describes the content of this                           19:18:47

7        presentation.                                                       19:18:51

8                     And it states, Number 1:       "                       19:18:53

9                                                           ."               19:18:56

10                    Number 2:   "Many                          changes."   19:19:00

11                    And Number 3:    "Limited '                            19:19:02

12                                                                           19:19:04

13                    Did I read that correctly?                             19:19:05

14               A.   You read that correctly.                               19:19:06

15               Q.   And we've discussed user trust.                        19:19:07

16                    What does "developer trust" refer to?                  19:19:10

17               A.   "Developer trust" refers to how Facebook               19:19:14

18       thought about its relationship with its platform                    19:19:17

19       developers; whether or not those developers would                   19:19:21

20       be keen to continue developing integrations with                    19:19:27

21       the Facebook Developer Platform.                                    19:19:31

22               Q.   And why did Facebook want developers to do             19:19:33

23       that?                                                               19:19:36

24               A.   If you're building a developer platform,               19:19:40

25       you typically want developers to build for your                     19:19:43

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1        developer platform.                                      19:19:46

2             Q.   And what does Facebook gain from that?         19:19:48

3             A.   Facebook gained a number of things from        19:19:55

4        its Developer Platform, various different types,         19:19:56

5        depending on the functionality of the app provided.      19:20:03

6             Q.   Okay.   Are there a couple of main             19:20:08

7        priorities?                                              19:20:11

8             A.   One example would be allowing apps that        19:20:15

9        would -- users using applications where users would      19:20:22

10       share content or activity in their applications          19:20:26

11       back to Facebook so that it could be seen on             19:20:31

12       Facebook by that user's friends on that Newsfeed.        19:20:33

13            Q.   And did Facebook, then, have an appetite       19:20:38

14       for more information because it utilized that            19:20:42

15       information in its Advertising Platform?                 19:20:44

16            A.   I haven't prepared to talk about how the       19:20:51

17       advertising systems work.    That's -- that's not my     19:20:54

18       area of expertise in general, and it's not               19:20:57

19       something I prepared in this -- to testify on.      I    19:21:01

20       understand there are other people doing that.            19:21:04

21                 My understanding of the reason why we were     19:21:09

22       keen for apps to share contact back to Facebook is       19:21:13

23       that that would result in content on Facebook that       19:21:18

24       could be viewed in Newsfeed that people could like       19:21:21

25       and comment and reshare.                                 19:21:24

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1             Q.    And -- and you're not knowledgeable about     19:21:26

2        whether it was also -- that information was used         19:21:29

3        to -- for the benefit of the targeted advertising        19:21:32

4        systems?                                                 19:21:36

5             A.    I am not an expert in how Facebook's          19:21:38

6        targeted advertising systems work or what                19:21:41

7        information is used to inform how ad-targeting           19:21:43

8        works.                                                   19:21:48

9             Q.    And the last thing on Number 1 is "protect    19:21:49

10       the graph."                                              19:21:53

11                  Can you explain what that means?              19:21:54

12            A.    My understanding of "protect the graph" is    19:21:59

13       about limiting the amount of information third           19:22:06

14       parties have about users who authorize their             19:22:10

15       application and their relationships to each other.       19:22:19

16            Q.    Okay.   If you could turn to page 6 of this   19:22:24

17       slide deck -- and it doesn't have page numbers on        19:22:28

18       it, so we'll flip to the sixth page and tell you,        19:22:31

19       "This is the sixth page."                                19:22:34

20                  Do you see the slide on the screen now?       19:22:36

21            A.    I do.                                         19:22:40

22            Q.    And do you see the title of that slide?       19:22:41

23            A.    I do.                                         19:22:44

24            Q.    And what does it say?                         19:22:46

25            A.    It says:   "User of high-value perms."        19:22:48

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1             Q.   And what are "high-value perms"?                 19:22:53

2             A.   I -- I don't know what high-value perms          19:22:57

3        are in a general context.      The slide includes a        19:23:04

4        number of permissions that were available on the           19:23:07

5        Facebook Developer Platform, and this slide is by          19:23:10

6        inference calling those "high-value perms."                19:23:15

7                  But I can't say today exactly what               19:23:18

8        "high-value perms" means in general.                       19:23:20

9             Q.   And what is Facebook's definition of             19:23:24

10       "high-value perms"?                                        19:23:27

11                 And I assume that's the permissions.        So   19:23:30

12       high-value permissions?                                    19:23:32

13            A.   I'm not aware of Facebook having a               19:23:34

14       definition of "high-value perms" that's general and        19:23:35

15       commonly used.    This seems to be a set of                19:23:38

16       terminology created by the author of this deck.            19:23:43

17            Q.   Okay.   And, based upon this slide, the          19:23:48

18       following permissions were identified as high-value        19:23:54

19       permissions, and those are:       "Friends;                19:23:57

20       read_mailbox; read_requests; read_friendlists;             19:24:01

21       manage_notifications; manage_friendlists; and              19:24:06

22       "create_event."                                            19:24:12

23                 Is that right?                                   19:24:13

24            A.   I see "manage_notifications," but I don't        19:24:14

25       see "manage_events" listed here, either on your or         19:24:17

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1        on mine.                                                  19:24:24

2                Q.   Yeah, we're trying to shrink the -- well,    19:24:25

3        as we're working this out, I'll represent to you          19:24:30

4        that there are a couple more rows that you can't          19:24:33

5        see, and they include "manage_friendlists;                19:24:36

6        create_events," and there's even a couple that I          19:24:39

7        can't see.                                                19:24:42

8                     But nonetheless, what I read through,        19:24:43

9        those are -- the first column of this slide               19:24:45

10       identifies what the -- what are described as              19:24:48

11                                      Right?                     19:24:52

12               A.   Well, I can see on the slide the number of   19:24:58

13       permissions that the author of this deck has              19:25:01

14       somehow categorized as "                                  19:25:04

15                    But, like I said, this isn't -- this         19:25:07

16       doesn't resonate to me as a -- as a general               19:25:09

17       classification that was widely used.                      19:25:13

18               Q.   And then if you go to the second column of   19:25:16

19       this spreadsheet, it says:       "Total number of apps    19:25:19

20       requesting these permissions a day."         Is that      19:25:23

21       right?                                                    19:25:26

22               A.   That's what I see in the column header,      19:25:28

23       yeah.                                                     19:25:30

24               Q.   And so earlier, I was asking you questions   19:25:32

25       to try and get a scope -- understand the scope of         19:25:34

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1        friend-sharing use in particular.                          19:25:38

2                    And according to this, as of the time of       19:25:42

3        this deck, which was -- looks like 1/24/2014, there        19:25:46

4        were             apps requesting friends permissions per   19:25:51

5        day.    Right?                                             19:25:57

6               A.   My understanding from this is what it's        19:26:01

7        saying is that there were around                 apps      19:26:03

8        requesting one or more friend permissions on any           19:26:07

9        given day -- on -- on a day.                               19:26:12

10                   It's not clear from what I'm seeing here       19:26:16

11       whether or not that was an average or what                 19:26:19

12       particular day or from what time period that data          19:26:21

13       was collected, to be clear.                                19:26:23

14              Q.   And earlier you talked about various           19:26:27

15       initiatives that Facebook undertook before                 19:26:29

16       implementing the new version of the graph.                 19:26:32

17                   And does this appear to be one of the          19:26:35

18       evaluations that Facebook did of the extent of the         19:26:37

19       use of various permissions that were going to be           19:26:40

20       deprecated?                                                19:26:44

21              A.   Given my understanding of the -- of the        19:26:48

22       date of this slide deck, given it was before the           19:26:50

23       changes were announced and the data contained              19:26:54

24       within, it seems reasonable that this is an output         19:26:57

25       of some of the analysis that was done to understand        19:27:03

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1        the scale of the apps using to-be-deprecated             19:27:07

2        permissions, including the friend permissions.           19:27:14

3             Q.   And let's go to the next slide.                19:27:18

4                  This slide is called "Key apps," and it        19:27:21

5        has a number of different categories of key apps in      19:27:24

6        the first column, starting with                          19:27:29

7        and it shows there's     apps.                           19:27:33

8                  What are "                                     19:27:35

9                  What apps are those?                           19:27:37

10            A.   I have -- I do not know which apps are         19:27:40

11       being referred to here, like, which apps are the         19:27:44

12       number -- which represent the        and I also don't    19:27:47

13       know how that number was derived.                        19:27:50

14                 So I -- it's hard for me to -- I am unable     19:27:56

15       to -- to answer the question what -- what were           19:27:59

16       those apps or how were they categorized as               19:28:04

17                                                                19:28:08

18            Q.   And where would Facebook go to identify        19:28:08

19       the apps, the key apps, characterized as "               19:28:11

20                                                                19:28:14

21            A.   I don't know how this list was derived or      19:28:17

22       how it was derived or who derived it.                    19:28:22

23            Q.   And so if Facebook were asked to provide       19:28:27

24       an answer to what apps are                         how   19:28:29

25       would Facebook answer that question?                     19:28:32

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1             A.    My first step would be to try and identify    19:28:40

2        the author of the deck and to see if they are            19:28:43

3        contactable and to attempt to determine if they          19:28:49

4        recall how this determination was made.                  19:28:52

5             Q.    Is asking Mark perhaps one of the ways to     19:28:58

6        find the answer to that as well?                         19:29:00

7             A.    I doubt Mark would know how this slide        19:29:02

8        deck was prepared or what went into determining          19:29:05

9        that number on the screen.                               19:29:08

10            Q.    And without having any commentary on the      19:29:11

11       fact that Sheryl has more friends than Mark, where       19:29:14

12       would one go to find out what key apps are Sheryl's      19:29:17

13       friends?                                                 19:29:21

14            A.    Well, so first of all, you said there that    19:29:22

15       Sheryl has more friends than Mark.                       19:29:28

16                  The numbers here refer to apps, not           19:29:31

17       friends, to be clear.                                    19:29:34

18                  And the same answer applies here, which is    19:29:35

19       I -- I do not know how this slide deck was created       19:29:40

20       or who created it or how they came to this               19:29:45

21       determination.    There's no evidence here of how        19:29:49

22       that was determined.                                     19:29:54

23            Q.    So I can tell you from the metadata that      19:29:55

24       this is from Eddie O'Neil's custodial file.              19:29:57

25                  So does that suggest to you that you would    19:30:02

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1        ask -- if he's the author of this deck, you could                   19:30:04

2        ask him how he came up with these numbers?                          19:30:07

3               A.   If he is indeed the author of the deck,                 19:30:09

4        it's -- he could be asked.         Whether or not he would          19:30:15

5        recall how these numbers were derived is a question                 19:30:17

6        for him.                                                            19:30:21

7               Q.   Okay.    And what is "Generating TPV"?                  19:30:23

8                    What is "TPV"?                                          19:30:27

9               A.   TPV in this context refers to total                     19:30:29

10       payment volume, which is the payments happening in                  19:30:31

11       the games, as I understand it, that are being                       19:30:39

12       referred to here.                                                   19:30:44

13              Q.   Okay.    So this appears that when                      19:30:47

14       evaluating the deprecation of certain permissions,                  19:30:50

15       Mr. O'Neil identified key apps that were generating                 19:30:55

16       TPV.     Correct?                                                   19:30:59

17              A.   Sorry.    Can you ask that again?           I want to   19:31:02

18       make sure I --                                                      19:31:04

19              Q.   Yeah, I'm just trying to understand --                  19:31:05

20       sorry, we're talking at the same time, which is my                  19:31:07

21       fault.                                                              19:31:10

22                   But I'm trying to understand the -- this                19:31:10

23       appears to be an analysis of what APIs were going                   19:31:12

24       to be deprecated, but also what apps would be                       19:31:16

25       affected by those deprecations.          Right?                     19:31:20

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1                  And so one of the categories here that         19:31:23

2        appears was -- that was being evaluated was whether      19:31:24

3        the app that could be impacted by deprecation was        19:31:27

4        generating TPV.                                          19:31:32

5                  Is that a fair read?                           19:31:34

6             A.   My understanding is this deck has referred     19:31:36

7        to a range of potentially to-be-deprecated APIs and      19:31:38

8        permissions -- sorry -- specifically, the previous       19:31:46

9        slide refers to permissions that were at this point      19:31:49

10       proposed to be deprecated, publicly -- not publicly      19:31:53

11       available to developers anymore, and the "Key apps"      19:31:59

12       slide is an attempt to quantify the number of apps       19:32:02

13       that the author estimated to be impacted by those        19:32:05

14       deprecations.                                            19:32:09

15            Q.   And what -- is it "Neko"?      Is that "Neko   19:32:12

16       spenders"?                                               19:32:17

17            A.   Neko or Neko, that refers to a product         19:32:18

18       that is -- that came to be known as "Mobile App          19:32:24

19       Install Ads."                                            19:32:27

20            Q.   Okay.   And what are "Neko spenders"?          19:32:31

21            A.   So my understanding is that would refer to     19:32:36

22       apps that were -- in some period of time had spent       19:32:38

23       some money on mobile app install ads.                    19:32:42

24            Q.   And when you say "spend some money," what      19:32:47

25       does that mean?                                          19:32:50

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1             A.     "Mobile App Install Ads" is an ads           19:32:52

2        product.     And so if a developer wanted to have ads    19:32:57

3        for their app, then they would buy those ads just        19:33:02

4        like any other ad on Facebook.                           19:33:06

5             Q.     And the next down the list is "Noisy."       19:33:11

6                    Do you know what "Noisy" refers to with      19:33:16

7        regard to key apps?                                      19:33:20

8             A.     I don't know what "Noisy" refers to.         19:33:22

9             Q.     And what about "T0/" -- or "T0/T1            19:33:24

10       partners?"                                               19:33:30

11                   Do you know what that refers to?             19:33:31

12            A.     That's referring to some kind of partner     19:33:33

13       categorization that would have been in use at the        19:33:35

14       time, but there are a number of different ways that      19:33:37

15       the partnership team would have classified and           19:33:40

16       categorized apps over time.                              19:33:46

17            Q.     Do you know what a "T0 partner" is?          19:33:48

18            A.     It would have been some categorization       19:33:51

19       that the platform partnerships team was using, but       19:33:53

20       I don't know exactly what T0 -- the criteria to be       19:33:57

21       classified as a T0 app was.                              19:34:05

22            Q.     And then T1, it -- my understanding is it    19:34:07

23       has to do with the importance of the partner to          19:34:11

24       Facebook.                                                19:34:14

25                   Is that consistent with your                 19:34:14

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1        understanding?                                             19:34:16

2             A.   My understanding is there were various           19:34:17

3        tiers of partners, Tier 0 being the top, Tier 1            19:34:20

4        being one below.                                           19:34:25

5                  But again, I -- it's unclear.      I am unable   19:34:27

6        to say what was -- why an app would be categorized         19:34:31

7        in Tier 0 versus Tier 1.                                   19:34:35

8             Q.   And does Facebook classify its partners          19:34:38

9        differently based upon how much revenue Facebook           19:34:43

10       receives from the partner?                                 19:34:47

11            A.   I don't know how the -- the tiering, as          19:34:53

12       represented here, was -- was determined.           My      19:34:56

13       understanding is there would have been a range of          19:34:59

14       factors that would have gone into that tiering             19:35:01

15       determination.                                             19:35:06

16            Q.   Now, my understanding of the -- of the           19:35:14

17       purpose of allowing an app to have access to friend        19:35:18

18       information was to use that information in the --          19:35:22

19       solely in the context of the person who authorized         19:35:28

20       the app to obtain the information.                         19:35:32

21                 Is that your understanding?                      19:35:34

22            A.   My understanding is that the existence of        19:35:43

23       the ability for apps to access information about a         19:35:50

24       user who used the app and their friends was to             19:35:54

25       build an engaging social experience for that user.         19:35:59

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1             Q.     And there were rules at Facebook,                 19:36:03

2        developer rules, that limited the use of friend               19:36:06

3        information to the purpose you just described.           Is   19:36:09

4        that right?                                                   19:36:12

5             A.     There was a range of platform policies            19:36:15

6        that developers -- it was a specific set of                   19:36:17

7        platform policies that the -- that developers of              19:36:20

8        the Facebook app -- the developers of apps that               19:36:25

9        used the Facebook Developer Platform would have to            19:36:27

10       agree to.                                                     19:36:32

11            Q.     And so if an app gets access to friend            19:36:34

12       data and then uses that information to target the             19:36:39

13       friends of the app users with advertisements, that            19:36:41

14       would be an example of an app using friend                    19:36:46

15       information in a way that is -- that violates                 19:36:48

16       Facebook's developer policies.          Is that right?        19:36:52

17                   MR. BLUME:     Objection to scope.                19:36:55

18                   THE WITNESS:     Sorry.    I haven't prepared     19:37:00

19       to speak to Facebook's developer policies and                 19:37:01

20       precisely what they allowed or prohibited -- and              19:37:04

21       also how Facebook's advertising ecosystem worked.             19:37:09

22       BY MR. LOESER:                                                19:37:15

23            Q.     And based upon your knowledge of the              19:37:19

24       platform, was my statement correct?                           19:37:20

25            A.     I -- I am not -- I'm not sure I can               19:37:24

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1        confirm exactly that -- that statement.          I am not   19:37:33

2        sure, as I sit here today, exactly what the                 19:37:37

3        policies were at any given time in the past.                19:37:39

4             Q.     Okay.   Let me ask one more related             19:37:46

5        question.     Perhaps this is something that you are        19:37:48

6        familiar with.                                              19:37:50

7                    If an app gets access to friend data and        19:37:51

8        then sells that friend information to another third         19:37:53

9        party, would that be an example of the app using            19:37:56

10       friend information in a way that is not solely              19:37:59

11       within the app user's experience?                           19:38:03

12            A.     If an app developer is making data              19:38:10

13       available to another entity that isn't -- that --           19:38:16

14       it's hard -- yeah.                                          19:38:26

15                   It's hard for me to, like, give a specific      19:38:27

16       answer to that based on my understanding of how             19:38:29

17       the -- of what was and wasn't okay in terms of the          19:38:33

18       Facebook Developer Platform policies.                       19:38:37

19            Q.     Okay.   But you described for me Facebook's     19:38:39

20       understanding of how friend information was to be           19:38:43

21       used, which was to create the experience between            19:38:45

22       the user of the app and the app.        Right?              19:38:48

23            A.     So my answer there was referring to my          19:38:52

24       understanding of the -- the primary reason why the          19:38:56

25       Facebook Platform existed, which was to primarily           19:38:59

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1        allow developers to build engaging social                19:39:04

2        experiences that users could interact with that was      19:39:08

3        valuable to them.                                        19:39:11

4             Q.     And Facebook did not intend in that          19:39:12

5        context for apps to use friend information it            19:39:15

6        obtained from a user outside of the context of the       19:39:18

7        user's experience with that app.       Right?            19:39:25

8             A.     So there were a number of users -- uses of   19:39:29

9        the Facebook Developer Platform where                    19:39:33

10       information -- often publicly available information      19:39:37

11       about a user's activity would be available to an         19:39:40

12       app developer without the user explicitly                19:39:43

13       authorizing the application.                             19:39:47

14            Q.     And let's confine our answer to              19:39:53

15       information obtained about a friend that was             19:39:55

16       intended for friends only; that wasn't public.           19:39:57

17                   And I'm just trying to understand kind of    19:40:01

18       how friend-sharing works.     It's not a trick           19:40:04

19       question.     I'm just trying to understand if an app    19:40:06

20       obtains friend information but then uses that            19:40:08

21       information for purposes other than the experience       19:40:10

22       of the app user and the app, is that something that      19:40:12

23       is beyond what Facebook intended when it provided        19:40:16

24       access to the friend information?                        19:40:20

25            A.     So limited to -- limited to the context of   19:40:27

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1        a user having explicitly authorized an application       19:40:30

2        and then that application having access to the --        19:40:36

3        the data made available via the friend permissions,      19:40:39

4        my understanding is that the -- that that                19:40:43

5        information was to be used within the context of         19:40:46

6        the application that the user was using.                 19:40:48

7             Q.     Did Facebook have any technology making it   19:40:51

8        impossible for apps to use friend data other than        19:40:54

9        in connection with the app user?                         19:40:58

10            A.     One piece of technology Facebook has, or     19:41:06

11       had, is the privacy settings available governing         19:41:11

12       visibility of content on Facebook.                       19:41:18

13                   As a result, it's possible that, for         19:41:22

14       example, if we were friends and you posted a post,       19:41:26

15       you could make that post not visible to me, even         19:41:31

16       though we were friends using on-Facebook privacy         19:41:36

17       settings.                                                19:41:40

18                   If you had done that, then that piece of     19:41:41

19       content wouldn't be available via the API if it was      19:41:44

20       being called on my behalf.                               19:41:50

21            Q.     Okay.   And if you have shared information   19:41:52

22       with your friend based upon your privacy setting         19:41:54

23       that allowed friends to have that information, was       19:41:59

24       there technology that prevented an app from --           19:42:01

25       could Facebook have utilized technology that would       19:42:07

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1        prevent that app from getting the friend                   19:42:10

2        information since the app is not the friend of the         19:42:13

3        person who posted it?                                      19:42:15

4             A.     So the -- again, which time frame are you      19:42:17

5        referring to here?                                         19:42:20

6             Q.     At any point since 2007.                       19:42:22

7             A.     Okay.   So once a -- once an app makes an      19:42:25

8        API call on behalf of a user and the Facebook API          19:42:32

9        returns that information to the application, then          19:42:38

10       the application or the developer, whether or not           19:42:44

11       that's their servers or the code, technically has          19:42:48

12       access to that information.                                19:42:51

13                   And once they have that information,           19:42:54

14       the -- there's very little -- there's no technical         19:42:57

15       way for Facebook to prevent it being used outside          19:43:01

16       the use of the application itself.                         19:43:06

17            Q.     Does Facebook perform financial analysis       19:43:17

18       of the different products it offers?                       19:43:20

19            A.     That's a very --                               19:43:25

20                   Sorry, Rob, it looks like you were going       19:43:27

21       to say something.                                          19:43:30

22                   MR. BLUME:     I was just going to object to   19:43:31

23       the form.                                                  19:43:33

24                   THE WITNESS:     Facebook as a company does    19:43:40

25       look at its various products and how they are              19:43:44

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1        performing.                                              19:43:47

2        BY MR. LOESER:                                           19:43:47

3             Q.   Okay.   And do the different products          19:43:48

4        engage in analysis of revenue and the income,            19:43:50

5        et cetera, of that product to -- to Facebook?            19:43:55

6             A.   Different products assess their                19:44:01

7        performance in different ways.      Ads products, for    19:44:02

8        example, typically would look at revenue as to           19:44:06

9        whether or not they were performing.                     19:44:10

10            Q.   And what about partnership-based products?     19:44:14

11                 Are there partnership-based products?          19:44:18

12            A.   Help me understand what you mean by            19:44:21

13       "partnership-based products."                            19:44:23

14            Q.   Well, you were in the Partnership team.        19:44:25

15                 Did it have a product?                         19:44:27

16            A.   The Partnership team doesn't have              19:44:29

17       products, no.                                            19:44:30

18            Q.   And does it report revenue or income?          19:44:33

19            A.   The Partnership -- the Platform                19:44:39

20       Partnerships team would typically assess the             19:44:41

21       utilization of the Facebook Developer Platform           19:44:49

22       product by Platform developers, and income from          19:44:52

23       Platform developers is one of the things that may        19:45:01

24       have been looked at in terms of understanding the        19:45:05

25       performance of the Platform products.                    19:45:08

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1             Q.   And what types of income did Facebook           19:45:11

2        receive from Platform developers?                         19:45:13

3             A.   The types of income that Facebook would         19:45:18

4        receive from Platform developers were, broadly:           19:45:21

5        One, ad spend related to the Platform developer's         19:45:25

6        products; and, two, in the case of games that used        19:45:35

7        in-game currency where that game was rendered             19:45:41

8        inside the Facebook Chrome on the web, Facebook           19:45:44

9        would take a cut of the total payment volume inside       19:45:54

10       of that game or app.                                      19:45:59

11            Q.   And does Facebook consider the user data        19:46:07

12       it collects and infers about users valuable?              19:46:09

13            A.   Can you help me understand the -- the           19:46:15

14       context, as in -- yeah.                                   19:46:17

15                 Can you help me understand the context          19:46:20

16       you're asking in?                                         19:46:21

17            Q.   Sure.    I'll ask more specifically.            19:46:22

18                 Did Facebook do any financial analysis of       19:46:24

19       the value of user data it collects and infers about       19:46:26

20       users?                                                    19:46:30

21            A.   In -- let me understand.        In any way,     19:46:39

22       across any part of the company?        Is that what       19:46:41

23       you're asking?                                            19:46:43

24            Q.   Yes.    Yes.   We can start big and go small.   19:46:44

25       So, in any way.                                           19:46:47

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1                    MR. BLUME:     Objection to scope.               19:46:50

2                    THE WITNESS:     Yeah.   It's hard for me to     19:46:52

3        answer that question at the full company level.              19:46:54

4        That's not what I've prepared to testify on.                 19:46:57

5                    On a personal level, there -- I can say          19:47:00

6        that there are products that the -- where the --             19:47:04

7        where, like, the impact of the -- or the -- it's             19:47:18

8        hard for me to say.        I can't give you a very crisp     19:47:22

9        and clear and accurate answer to that -- to that             19:47:26

10       question.     It's not what I've testified on, and I'd       19:47:28

11       be giving you an inappropriate answer, I think.              19:47:31

12       BY MR. LOESER:                                               19:47:36

13            Q.     If I wanted to have Facebook answer the          19:47:36

14       question whether it does financial analysis of the           19:47:38

15       value of user data that it collects, where would I           19:47:40

16       go in the company to get information about that?             19:47:44

17                   Is that the finance department or -- or          19:47:47

18       where would that get reported?                               19:47:50

19                   MR. BLUME:     Objection.    Beyond the scope.   19:47:52

20                   THE WITNESS:     Yeah, I think different         19:47:57

21       teams assess the performance of their products in            19:47:59

22       different ways, and those products involve                   19:48:02

23       different kinds of information.                              19:48:05

24                   So it's really hard to give you a specific       19:48:07

25       answer to that question.        I couldn't give you a        19:48:09

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1        specific answer to that question.                           19:48:11

2        BY MR. LOESER:                                              19:48:15

3             Q.   Okay.   And has Facebook done any analysis        19:48:15

4        of the value of the data it makes available to              19:48:17

5        third parties through the Facebook Social Graph?            19:48:20

6                  MR. BLUME:     Objection.    Scope.               19:48:24

7                  THE WITNESS:     I've seen some analysis of       19:48:33

8        the impact of the Platform changes that were                19:48:34

9        proposed, and I've also seen and heard about                19:48:37

10       analysis done of the -- of the use of the Facebook          19:48:43

11       Developer Platform in terms of how people use it            19:48:46

12       and how that contributes revenue to Facebook.         But   19:48:51

13       I've -- I don't recall seeing analysis specific to,         19:48:58

14       like, the user data itself.                                 19:49:01

15       BY MR. LOESER:                                              19:49:04

16            Q.   Okay.   Well, walk me through the two types       19:49:06

17       of analyses you just mentioned.                             19:49:12

18                 MR. BLUME:     Objection to scope, but he can     19:49:18

19       in his personal capacity.                                   19:49:21

20       BY MR. LOESER:                                              19:49:23

21            Q.   Well, let me clarify.                             19:49:23

22                 Your answer was:     "I've seen some analysis     19:49:25

23       of the impact of the Platform changes that were             19:49:26

24       proposed."                                                  19:49:29

25                 So what's the analysis that you've seen of        19:49:30

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1        the impact of the Platform changes that were              19:49:32

2        proposed?                                                 19:49:34

3                A.   So one of the documents I reviewed in        19:49:38

4        preparation for the testimony today seems to --           19:49:40

5        seems to make an assessment of the various changes        19:49:45

6        that were proposed to be launched and estimates the       19:49:48

7        impact that might have on Facebook's revenues from        19:49:53

8        developers.                                               19:49:57

9                     So I recall reviewing a document of that     19:50:00

10       form.                                                     19:50:02

11               Q.   And can you tell me more about that          19:50:03

12       document; who created it and when it was created?         19:50:05

13               A.   I don't know who created it or when it was   19:50:10

14       created, but I do know it was -- my understanding         19:50:12

15       is it was previously produced in -- in this               19:50:15

16       litigation.      So it should be available to you.        19:50:20

17               Q.   Okay.   We'll follow up with Mr. Blume and   19:50:28

18       try and pin down that document.                           19:50:33

19                    And the second thing you said was an         19:50:35

20       assessment of the various changes that were               19:50:39

21       proposed and estimates of the impact they might           19:50:46

22       have on Facebook's revenue from developers.               19:50:48

23                    So what was that analysis?                   19:50:51

24               A.   So I think that's the thing I've just --     19:50:52

25       that's the thing I've just talked about.                  19:50:54

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1             Q.     Okay.   Was there -- I thought you           19:50:56

2        mentioned two different assessments that you saw.        19:50:58

3             A.     So that -- that document, I -- I saw in      19:51:03

4        preparation for this case, this testimony.               19:51:06

5                    The other thing I recall mentioning is in    19:51:10

6        my personal capacity, I recall there being analysis      19:51:16

7        done of the -- the revenue that Facebook games           19:51:20

8        provided to the Facebook company.                        19:51:28

9                    But I don't recall a specific document on    19:51:32

10       that, and I have not reviewed a document of that         19:51:36

11       form in reference -- in preparation for this             19:51:38

12       testimony.                                               19:51:41

13            Q.     And this may be covered by what you said     19:51:45

14       before, but has Facebook ever analyzed the               19:51:47

15       financial or other business benefits Facebook            19:51:49

16       obtained by allowing third-party access to Facebook      19:51:52

17       user friends data in particular?                         19:51:56

18                   MR. BLUME:     Objection to scope.           19:52:00

19                   THE WITNESS:     I don't recall seeing any   19:52:03

20       analysis that was specifically limited to friends        19:52:07

21       data, no.                                                19:52:12

22       BY MR. LOESER:                                           19:52:14

23            Q.     And what about analysis that was limited     19:52:16

24       to deprecated permissions more broadly?                  19:52:19

25            A.     I have not seen analysis related to          19:52:24

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1        deprecated permissions specifically, no.                 19:52:27

2             Q.   And has Facebook ever analyzed the             19:52:35

3        financial or other business impact of continuing to      19:52:37

4        allow certain apps and partners to have access to        19:52:40

5        friend-sharing after publicly deprecating                19:52:46

6        friend-sharing permissions?                              19:52:49

7             A.   So here we need to be specific when we         19:52:51

8        talk about friend-sharing permissions versus your        19:52:54

9        broader definition of friends data.                      19:52:57

10                 No, I -- I have not seen and am not aware      19:53:00

11       of any analysis that was done relating to                19:53:04

12       extensions allowing apps to continue to have             19:53:10

13       access -- some apps to continue to have access to        19:53:14

14       the friend permissions after they were more              19:53:17

15       publicly deprecated.                                     19:53:22

16            Q.   And if the question is not friends             19:53:24

17       permissions specifically, but deprecated                 19:53:27

18       permissions, does that change your answer?               19:53:30

19            A.   I am not aware of any analysis that was        19:53:33

20       done to understand the impact of deprecated              19:53:36

21       permissions in particular.                               19:53:40

22                 As I testified previously, I -- sorry.         19:53:44

23            Q.   Go ahead.    I'm sorry.                        19:53:46

24            A.   As I testified previously, I have seen         19:53:50

25       analysis of the impact of the changes in general,        19:53:53

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1        but not specifically I recall seeing anything             19:53:59

2        related to just the deprecation of permissions.           19:54:03

3                Q.   And did Facebook evaluate the loss of        19:54:08

4        revenue that could occur if a Facebook partner or         19:54:13

5        partners stopped doing business with Facebook             19:54:17

6        because Facebook deprecated permissions that the          19:54:20

7        partner used?                                             19:54:23

8                A.   I don't recall seeing any analysis of        19:54:29

9        the -- on an app-specific basis or a                      19:54:35

10       partner-specific basis.                                   19:54:40

11                    It's possible that people that worked with   19:54:43

12       that partner might assert a potential loss of             19:54:45

13       revenue, but I don't recall any, you know, formal         19:54:52

14       analysis being done of -- of the financial impact         19:54:55

15       of deprecating something.                                 19:54:58

16               Q.   And you say you don't recall, but I want     19:55:01

17       to make sure I understand what you're saying.             19:55:04

18                    Did Facebook do that analysis, do you        19:55:06

19       know?                                                     19:55:10

20               A.   I do not know, and I have not seen any       19:55:11

21       evidence in preparation for this that they did.           19:55:13

22               Q.   And if you were to find -- to search for     19:55:16

23       the answer to that question, who would you ask?           19:55:19

24               A.   I would ask Ime, probably, who was           19:55:26

25       involved in -- who led the Partnerships team around       19:55:35

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1        this time -- sorry, let me be clearer about around       19:55:39

2        this time.                                               19:55:42

3                     In the period 2013 to 2018, I believe, he   19:55:45

4        may be aware of whether or not such analysis was         19:55:51

5        done.                                                    19:55:53

6                Q.   So -- sorry, I have to reach for a          19:56:02

7        document.                                                19:56:05

8                     Going back to the notice, on Topic 6, you   19:56:06

9        have -- the last part of that notice calls for           19:56:08

10       testimony about the revenue impact and net profits       19:56:15

11       for Facebook relating to friend-sharing throughout       19:56:19

12       the class period.       Correct?                         19:56:21

13               A.   I'll wait to see till it comes on the       19:56:26

14       screen.                                                  19:56:29

15               Q.   Sure.   And so I am going to ask you a      19:56:30

16       question -- yeah, I'm going to ask you a question        19:56:36

17       based on the notice, and you can tell me what            19:56:38

18       Facebook's answer is.                                    19:56:40

19                    But what is the revenue impact and net      19:56:41

20       profits for Facebook related to friend-sharing           19:56:44

21       before Facebook publicly deprecated friend-sharing       19:56:46

22       APIs?                                                    19:56:49

23               A.   My understanding is that Facebook did       19:56:53

24       not -- has not done analysis as to the revenue           19:56:56

25       impact and net profits related to friend-sharing.        19:57:01

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1                Q.     And what is the revenue impact and net           19:57:07

2        profits for Facebook related to friend-sharing                  19:57:09

3        after publicly deprecating friend-sharing APIs but              19:57:16

4        continuing to allow friend-sharing for certain apps             19:57:19

5        and partners?                                                   19:57:21

6                A.     In preparation for this -- this testimony,       19:57:24

7        I attempted to see whether or not any such analysis             19:57:28

8        has been done.                                                  19:57:33

9                       My understanding is that no analysis was         19:57:34

10       done.        I am not aware of any analysis having been         19:57:36

11       done about the revenue impact to net profits                    19:57:40

12       relating to friend-sharing before or after the                  19:57:44

13       deprecation period.                                             19:57:47

14               Q.     And who -- what did you do to educate            19:57:48

15       yourself on that question?                                      19:57:52

16               A.     I spoke to Ime, and I reviewed the               19:57:56

17       document -- several documents provided to me in                 19:58:03

18       this case.                                                      19:58:05

19               Q.     So I'm about to move on to Topic 7, and          19:58:27

20       we've been going for about an hour, so it's                     19:58:30

21       probably a good time to take a break.            We also have   19:58:33

22       your notes, and I just need to quickly look at them             19:58:36

23       and see if I have any other questions about Topic 6             19:58:38

24       regarding your notes.                                           19:58:39

25                      If you don't want to take a break, I can         19:58:42

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1        plow ahead, but it's been an hour, and if you want            19:58:42

2        to take a break, that's fine too.                             19:58:42

3              A.   Yeah, let's just take five minutes.         That   19:58:44

4        would be good.    I'll just stretch a bit; make sure          19:58:48

5        I'm fresh.                                                    19:58:51

6                   THE VIDEO OPERATOR:      We're off the record      19:58:52

7        at 7:58 P.M.                                                  19:58:53

8                   (Recess from 7:58 P.M. to 8:12 P.M.)               19:58:55

9                   THE VIDEO OPERATOR:      We're back on the         20:12:47

10       record.    It's 8:12 P.M.                                     20:12:48

11                  MR. LOESER:   Mr. Cross, we're going to            20:12:56

12       mark as an exhibit the notes that -- that you                 20:12:57

13       provided to your counsel who then provided them to            20:13:01

14       us.                                                           20:13:03

15                  And if we have time today, we might come           20:13:14

16       back and ask a few questions about them, but for              20:13:17

17       now, I just wanted to mark them as an exhibit.           So   20:13:19

18       we can just put them up, introduce them, and move             20:13:22

19       on.                                                           20:13:25

20                  (Deposition Exhibit 335 was marked for             20:13:25

21                  identification.)                                   20:13:29

22       BY MR. LOESER:                                                20:13:30

23             Q.   I do have, actually, one -- we don't need          20:13:31

24       to put the exhibit back up, but I had noticed in              20:13:33

25       your notes when I asked you earlier who had                   20:13:35

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1        developed friend-sharing, you couldn't recall, but           20:13:38

2        your notes indicate it was Luke Shepherd,                    20:13:40

3        Ari Steinberg, and Alex Himmel.        Is that correct?      20:13:43

4             A.     Those are three names of people that I           20:13:49

5        believe to have been involved in the early                   20:13:51

6        development of the Facebook Developer Platform               20:13:53

7        which included sharing friends data as part of the           20:13:55

8        model.                                                       20:14:02

9             Q.     And when you say "early development,"            20:14:02

10       what's the time period that you're referring to?             20:14:03

11            A.     My understanding is that Ari Steinberg was       20:14:11

12       involved in the 2007/2008 time frame, although I             20:14:14

13       don't have the specifics.                                    20:14:19

14                   Luke Shepherd was involved in the Platform       20:14:21

15       when I joined in September 2010.        I'm not sure when    20:14:24

16       his tenure in that space began or ended.                     20:14:29

17                   And Alex Himmel is another person that I         20:14:36

18       know was involved in the Facebook Developer                  20:14:39

19       Platform.                                                    20:14:40

20                   Whether or not these folks were                  20:14:42

21       specifically involved in the original design of the          20:14:44

22       platform, which included friend-sharing, it's hard           20:14:49

23       for me to know specifically.                                 20:14:53

24            Q.     Okay.   Thank you.                               20:14:57

25                   Let's go back to the notice.       We're going   20:14:59

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1        to move on to Topic 7.                                   20:15:00

2                   It's a little longer, so I won't read the     20:15:08

3        whole thing into the record, but I gather you have       20:15:10

4        read all of Topic 7 and you are prepared to testify      20:15:12

5        about this topic.                                        20:15:19

6                   And you've described what you did to          20:15:34

7        prepare for Topic 6.                                     20:15:36

8                   When you prepared for Topic 6, were you       20:15:38

9        also at the same time preparing for Topic 7?             20:15:40

10            A.    That's correct.    I was preparing for the    20:15:44

11       two in parallel.                                         20:15:45

12            Q.    And is there anybody that you talked to at    20:15:49

13       Facebook to get information about Topic 7 that is        20:15:51

14       different than the folks that you talked to about        20:15:54

15       Topic 6?                                                 20:15:57

16            A.    No.    The set of people I talked to, I       20:15:59

17       talked to about all of the matters I was preparing       20:16:03

18       to testify on.                                           20:16:05

19            Q.    And is there any component of Topic 7 that    20:16:14

20       you only have knowledge of based upon the                20:16:17

21       preparations that you did for this deposition?           20:16:19

22            A.    Yes.    I think 7-a, each whitelisted         20:16:24

23       entity; b, only -- so b, I have some personal            20:16:33

24       experience there; c, I also have some personal           20:16:46

25       experience.                                              20:16:56

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1                   D -- could you scroll d onto the screen,      20:17:02

2        please?    There you go.    That was easy.               20:17:05

3                   So I think I have some personal experience    20:17:08

4        in all, but with 7-a, primarily I'm relying on the       20:17:11

5        forensic work that was done after my involvement in      20:17:19

6        the Facebook Developer Platform to answer those          20:17:25

7        questions.                                               20:17:29

8             Q.    And based on your preparation with regard     20:17:31

9        to Topic 7, do you believe you are reasonably            20:17:33

10       educated to testify on these matters?                    20:17:37

11            A.    I believe I am reasonably educated to         20:17:39

12       testify.     I've done as much as I could to prepare.    20:17:41

13            Q.    And last night, your counsel informed us      20:17:53

14       that you are not prepared to testify about call          20:17:54

15       logs, APIs, or permissions granted to any                20:17:57

16       particular entity.                                       20:18:00

17                  And is that -- is that your understanding?    20:18:03

18            A.    Yeah.   We -- I want to make sure that I --   20:18:12

19       in answering those questions, I want to make sure I      20:18:15

20       have done as much preparation as possible, and I         20:18:17

21       think a couple more -- a bit more time to make sure      20:18:25

22       I can speak to those topics would be valuable.           20:18:28

23            Q.    Okay.   And over the course of your           20:18:33

24       employment at Facebook, did you develop any              20:18:34

25       personal knowledge of call logs, APIs, or                20:18:36

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1        permissions granted to any particular entity?            20:18:40

2             A.   I developed -- I was in -- I had access to     20:18:44

3        and would have used some of the tools that would         20:18:48

4        help analyze call logs and Platform API usage and,       20:18:56

5        in the course of doing that, would have seen             20:19:03

6        information to do with particular apps.                  20:19:05

7                  But that's a long time ago, and I wouldn't     20:19:10

8        remember the specifics, and I don't know what in         20:19:13

9        general Facebook would have access to today, many        20:19:15

10       years after -- many years after my time directly         20:19:18

11       involved in this stuff.                                  20:19:23

12            Q.   Okay.   Thank you.                             20:19:24

13                 Mr. Cross, please explain what it means to     20:19:27

14       "whitelist" an app or a partner in the context of        20:19:29

15       access to APIs.                                          20:19:33

16            A.   The -- can you be specific?                    20:19:47

17                 Which APIs are we referring to here?           20:19:49

18            Q.   Just generally, back to making sure we         20:19:52

19       have the terminology down and I'm using the right        20:19:54

20       words to talk about what we're discussing, there's,      20:19:57

21       obviously, a lot of documents that talk about,           20:19:59

22       refer to, and use the term "whitelist," and I            20:20:01

23       gather that's a term that can be applied in a            20:20:05

24       variety of contexts.                                     20:20:07

25                 But when it's connected to granting access     20:20:08

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1        to particular APIs or -- I'm continually getting         20:20:11

2        this wrong -- permissions, does it have a                20:20:17

3        particular meaning?                                      20:20:20

4             A.    In the context -- we referred to in the       20:20:21

5        context of the Facebook Developer Platform again?        20:20:23

6             Q.    Yeah.   Yes.                                  20:20:26

7             A.    So in that context, I understand              20:20:32

8        "whitelisting" to refer to where a given                 20:20:33

9        application is added to a list of applications           20:20:38

10       that -- whose behavior or whose -- the behavior of       20:20:45

11       the API, and the Facebook Developer Platform is          20:20:50

12       modified in some way for those applications.             20:20:53

13            Q.    And consistent with that definition, when     20:21:05

14       did Facebook first start whitelisting any app or         20:21:07

15       partner?                                                 20:21:10

16            A.    So the -- given that the concept of           20:21:14

17       whitelisting in general applies to making -- you         20:21:16

18       know, modifying the changes to the -- modifying the      20:21:21

19       behavior of the Facebook Developer Platform, then        20:21:24

20       whitelisting in some form has been used                  20:21:27

21       consistently throughout the development of the           20:21:31

22       Facebook Developer Platform in some way.                 20:21:35

23            Q.    And, again, I want to make sure I have the    20:21:46

24       technology correct, but what does it mean to             20:21:48

25       whitelist friend-sharing APIs for an app?                20:21:52

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1                    Or let me put it this way:      What does it   20:21:55

2        mean to whitelist an app's ability to collect              20:21:58

3        friend-sharing data?                                       20:22:00

4             A.     So this would refer to what we mean by         20:22:06

5        "friend-sharing data."      In this context, one way       20:22:11

6        that that could have manifested is where an app has        20:22:20

7        access to APIs and permissions which were not              20:22:28

8        generally available to other Facebook developers           20:22:33

9        and applications at the time.                              20:22:38

10            Q.     Okay.   And I've seen in Facebook's            20:22:42

11       documents "whitelisting" used in reference to apps,        20:22:45

12       but I've also seen it used in reference to                 20:22:50

13       partners.                                                  20:22:52

14                   Is there a different definition that           20:22:53

15       Facebook uses when thinking of whitelisting                20:22:55

16       partners in the context of the Platform?                   20:22:59

17            A.     So back to my original definition of           20:23:04

18       "application" being a very specific entity in the          20:23:06

19       Facebook Developer Platform ecosystem, a partner           20:23:08

20       would refer to an entity, a -- for example, a              20:23:14

21       company.     And that company may have several, one or     20:23:17

22       more, Facebook applications, and those applications        20:23:24

23       may or may not have been whitelisted for                   20:23:32

24       alternative API behavior.                                  20:23:35

25                   So in that context, you know, when a -- a      20:23:38

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1        partner is -- if you see the phrase "partner has         20:23:41

2        been whitelisted," what specifically happens in          20:23:45

3        the -- in the -- in the code base is that the            20:23:48

4        applications owned -- the Facebook applications          20:23:54

5        owned and maintained by that partner, the app IDs        20:23:59

6        have been granted some modification to the standard      20:24:05

7        API behavior.                                            20:24:09

8               Q.   And through those modifications, those       20:24:12

9        partners, vis-à-vis their apps or, if it's a             20:24:15

10       developer, the developer vis-à-vis its app would         20:24:19

11       gain access to friend data that would not otherwise      20:24:23

12       have been available to that app or partner.              20:24:28

13                   Is that a fair description?                  20:24:33

14              A.   Well, it's a wide range of whitelists and    20:24:35

15       capabilities that were in the system.          Many of   20:24:39

16       them, in fact, my understanding is the vast              20:24:44

17       majority of them were not related to friend data at      20:24:47

18       all.                                                     20:24:49

19              Q.   Okay.   And, in fact, there's plenty of      20:24:54

20       discussion in Facebook documents about the other         20:24:56

21       permissions that were deprecated with Version 2          20:24:58

22       that also were whitelisted for certain apps and          20:25:03

23       partners.     Right?                                     20:25:07

24              A.   There's -- when you say "whitelisted,"       20:25:09

25       what time period are you referring to here?              20:25:13

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1                  It's very specific, given that                 20:25:15

2        whitelisting as a concept is something that's very       20:25:17

3        common in the industry and will have been used in        20:25:21

4        this context for many years.                             20:25:24

5             Q.   Sure.   Is the use of whitelisting             20:25:26

6        vis-à-vis the Facebook Platform, did that mean           20:25:30

7        something different at different times in                20:25:35

8        Facebook's lifespan?                                     20:25:38

9             A.   Well, the general definition of                20:25:42

10       whitelisting in the context of the Facebook              20:25:44

11       Platform is that by being on a whitelist, you get        20:25:46

12       some kind of different behavior -- the Platform          20:25:50

13       behaves in some kind of different way to people not      20:25:54

14       on the whitelist.                                        20:25:57

15                 Exactly what that behavior is depends on       20:25:59

16       specifically what the capability is.                     20:26:02

17                 And so, again, over time, the high -- at       20:26:06

18       the conceptual level, the concept of whitelisting        20:26:11

19       hasn't changed, but exactly which whitelists             20:26:15

20       existed, for what purpose they were used, and who        20:26:18

21       had access to them at any given time will have           20:26:21

22       changed considerably over time.                          20:26:23

23            Q.   Okay.   And so we've talked about              20:26:26

24       whitelisting.                                            20:26:28

25                 Let's talk about private APIs for a            20:26:29

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1        minute.                                                  20:26:32

2                  Does Facebook conceive of private APIs as      20:26:32

3        something different than whitelisting?                   20:26:36

4             A.   I think we discussed the definition of         20:26:42

5        private APIs earlier in the -- in the testimony.         20:26:44

6        So that would be, in my -- in my determination,          20:26:46

7        APIs or behaviors which were not available -- in         20:26:55

8        this case, "private APIs" would typically refer to       20:27:01

9        APIs or permissions that were not generally              20:27:04

10       available.                                               20:27:06

11                 Whitelisting is the concept of who has         20:27:07

12       access to the private APIs, but there is also            20:27:10

13       whitelisting which is nothing to do with private         20:27:15

14       APIs or permissions in any way.                          20:27:19

15            Q.   And your answer probably helps to explain      20:27:22

16       why there is some confusion in the documents about       20:27:25

17       this because these terms do seem to get -- they          20:27:27

18       seem overlapping but also different; so I want to        20:27:30

19       make sure I understand.                                  20:27:33

20                 The only way an app that is created by a       20:27:34

21       developer that is not a partner with Facebook can        20:27:40

22       get access to publicly deprecated APIs is through a      20:27:43

23       whitelist.   Right?                                      20:27:47

24            A.   That would depend on the precise time          20:27:50

25       we're talking about.   It would also depend on when      20:27:53

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1        the application was created.                             20:27:56

2             Q.    Okay.   Well, let's talk about 2014 to the    20:27:59

3        present.                                                 20:28:02

4                   Is there a way other than a whitelist for     20:28:04

5        a developer or an app that is not considered a           20:28:07

6        partner of Facebook's to get access to publicly          20:28:10

7        deprecated permissions?                                  20:28:13

8             A.    Via permission being publicly                 20:28:21

9        deprecated -- let's take an example, I think, is         20:28:23

10       the easiest way to answer that question.                 20:28:26

11                  So the -- where permissions which were        20:28:28

12       publicly available to API Version 1 which were not       20:28:33

13       publicly available in API Version 2, for                 20:28:37

14       applications that originally could call API              20:28:41

15       Version 1 that later could only call API Version 2,      20:28:45

16       when that public deprecation was complete, the only      20:28:52

17       way to access those publicly deprecated permissions      20:28:56

18       would have been to be on a whitelist; one or more        20:29:01

19       whitelists.                                              20:29:06

20            Q.    And so developers -- well, let's start        20:29:09

21       with apps.                                               20:29:12

22                  Apps could be on that whitelist, right?       20:29:13

23            A.    In the context of the Facebook Developer      20:29:17

24       Platform and specifically referring to app-based         20:29:18

25       whitelisting -- there are other forms of                 20:29:21

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1        whitelisting available -- then, yes, the                  20:29:23

2        application ID would have been on a whitelist.            20:29:28

3             Q.   And partners could be on a whitelist too.       20:29:33

4        But in order for that to be functional, they had to       20:29:39

5        have a private API?                                       20:29:41

6             A.   Sorry.     I think we're getting our concepts   20:29:44

7        mixed up here, and it's getting hard to answer --         20:29:47

8        answer the questions.                                     20:29:50

9                  So how do you want to proceed?         I feel   20:29:52

10       like we may need to reclarify some of these               20:29:56

11       definitions because you're mixing them up in your         20:29:59

12       questions.                                                20:30:02

13            Q.   All I'm trying to do is figure out what         20:30:03

14       the distinction is between a whitelist and a              20:30:05

15       private API, and specifically in the context of           20:30:08

16       giving a third-party access to deprecated                 20:30:10

17       permissions after 2014.                                   20:30:12

18                 So is there a difference between, in that       20:30:14

19       context, a whitelist and a private API?                   20:30:16

20            A.   Yes.     As I previously testified, a           20:30:20

21       whitelist is a -- a mechanism by which -- in the          20:30:22

22       context of the Facebook Platform, an app ID is            20:30:26

23       specified in some way as having alternative -- you        20:30:30

24       know, having a different API behavior than happens        20:30:33

25       that are not on the whit list.                            20:30:37

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1                    Private APIs are -- some of the things           20:30:39

2        that you could be whitelisted for, but there are             20:30:43

3        other things that you could also be whitelisted              20:30:45

4        for.    For example, rate limit behavior.        Different   20:30:48

5        rate limit behavior.      Right?                             20:30:51

6                    So whitelisting is the concept by which an       20:30:53

7        application ID, in the -- sorry.                             20:30:56

8                    Whitelisting is the concept by which an          20:30:59

9        application ID in the context of the Facebook                20:31:02

10       Platform is offered some deeper, nonstandard, or             20:31:03

11       nonpublic behavior, different behavior.                      20:31:09

12                   And then there are some whitelists,              20:31:11

13       specifically called "capabilities," that would               20:31:16

14       determine exactly what behavior those applications           20:31:18

15       had that was different to the standard.                      20:31:23

16              Q.   Okay.   And are private APIs established         20:31:28

17       through a contract between Facebook and a Facebook           20:31:30

18       partner?                                                     20:31:32

19              A.   Not always.   Not always.     There -- again,    20:31:38

20       there are a number of private APIs and a number of           20:31:42

21       different private behaviors -- different behaviors.          20:31:45

22       Some of those would be governed -- granted under a           20:31:49

23       contract; others would not.                                  20:31:53

24                   For example, rate-limiting; you wouldn't         20:31:56

25       necessarily expect a developer to agree to a                 20:31:58

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1        contract to be on the rate-limit whitelist.                 20:32:01

2                Q.     What is a "rate-limit whitelist"?            20:32:06

3                A.     So "rate limits" refers to the number of     20:32:09

4        API calls that an application can make within a             20:32:14

5        given time period in a number of different,                 20:32:17

6        complicated ways.                                           20:32:20

7                       There's the standard set of how the rate     20:32:22

8        limits work.                                                20:32:26

9                       And then, for some applications that         20:32:27

10       needed to operate differently, then there was a             20:32:32

11       whitelist that allowed those rate limits to be              20:32:35

12       changed for certain applications.                           20:32:39

13                      And so, again, that's an example of a        20:32:43

14       whitelist, which is a concept implemented by a              20:32:45

15       capability, which is a specific thing that modified         20:32:49

16       the behavior of the API for the people on the               20:32:53

17       whitelist that was not in any way related to                20:32:56

18       friends data.                                               20:32:59

19               Q.     And so one of the ways private APIs were     20:33:01

20       used at Facebook was to enable certain Facebook             20:33:05

21       partners to continue to have access to friends              20:33:08

22       data.        Right?                                         20:33:11

23               A.     Can you be specific as to what time period   20:33:14

24       you're talking about here?         Because this -- the      20:33:16

25       time periods here matter greatly in the specificity         20:33:18

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1        of my answers.                                           20:33:22

2             Q.     So when did private APIs first appear at     20:33:24

3        Facebook?                                                20:33:29

4             A.     The -- the concept of private API, I --      20:33:33

5        you're -- I'm referring to any API or permission         20:33:37

6        that was not generally available.                        20:33:41

7                    When the Facebook Developer Platform was     20:33:47

8        launched, it was launched with launch partners.          20:33:49

9                    Actually, a better example is, let's say,    20:33:52

10       Facebook Connect in 2008.     There were a number        20:33:55

11       of -- Facebook Connect as a product was -- before        20:33:59

12       it was launched -- not publicly available; and yet       20:34:05

13       on launch day, there were a number of partners that      20:34:08

14       had built integrations with it.                          20:34:11

15                   Before the launch, you could consider        20:34:14

16       Facebook Connect a private API; and, therefore,          20:34:16

17       access to it was governed by a whitelist.                20:34:20

18                   After the launch, Facebook Connect was       20:34:23

19       generally available to all developers, and so you        20:34:25

20       didn't need to be on a whitelist to access it.           20:34:28

21                   So whitelists are an industry-standard way   20:34:31

22       of modifying API behavior in certain circumstances,      20:34:34

23       launching new products, and offering them to your        20:34:39

24       launch partners in advance of them being generally       20:34:43

25       available.                                               20:34:45

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1                  And, in the context of the Facebook            20:34:48

2        Platform in this litigation, it's also possible to       20:34:50

3        use a whitelist to grant some developers and             20:34:57

4        partners access to permissions that had been             20:35:01

5        removed from other developers.                           20:35:04

6             Q.   Okay.   And when was the first time that       20:35:09

7        partners obtained access to publicly deprecated          20:35:11

8        friend permissions via a private API?                    20:35:18

9                  (Rose Ring joined the deposition.)             20:35:21

10                 THE WITNESS:   The -- strange noise.           20:35:25

11                 So, specifically, when it comes to friend      20:35:28

12       permissions, as a set of things that were                20:35:32

13       deprecated, then up until beginning April 30, 2015,      20:35:35

14       if your app had been created before April 30, 2014,      20:35:44

15       then you would have access to those permissions.         20:35:50

16                 When the deprecation of API 1 -- the           20:35:55

17       public deprecation of API V1 began on April 30,          20:36:00

18       2015, that's when the -- that's the beginning where      20:36:03

19       an application that would otherwise have lost            20:36:07

20       access to their friend permissions could have            20:36:09

21       continued to access them if they were on a               20:36:13

22       whitelist.                                               20:36:18

23       BY MR. LOESER:                                           20:36:19

24            Q.   Through private APIs.                          20:36:19

25            A.   Well, via being on a whitelist.                20:36:22

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1                    In this case, we're specifically referring         20:36:25

2        to friend permissions, which is, I think, what your            20:36:27

3        original question was.                                         20:36:30

4             Q.     And what is the "Capability" tool at               20:36:33

5        Facebook?                                                      20:36:36

6             A.     The Capability tool is an internal tool            20:36:39

7        used at Facebook to manage                                     20:36:42

8                                                                       20:36:47

9                    (Discussion off the record.)                       20:36:50

10                   MS. RING:   I am very sorry.     This is           20:37:12

11       Rose Ring, and I am counsel for Meta.          I'm sorry       20:37:12

12       for not announcing myself.                                     20:37:16

13       BY MR. LOESER:                                                 20:37:26

14            Q.     And, Mr. Cross, you were starting to               20:37:28

15       describe the Capability tool, so keep going.                   20:37:31

16            A.     So the Capability tool is an internal tool         20:37:35

17       at Facebook Meta that's used to manage which                   20:37:39

18                                                                  a   20:37:44

19       "capability" being a -- a mechanism for changing               20:37:51

20       the -- modifying the behavior of the Facebook                  20:37:58

21       Developer Platform.                                            20:38:01

22                   So with an application having access to a          20:38:02

23       capability, you would say it had been                          20:38:05

24       "whitelisted."                                                 20:38:07

25            Q.     And for what period of time has the                20:38:09

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1        Capability tool been in existence?                       20:38:13

2             A.   My understanding is it was built in around     20:38:16

3        2011 and replaced a previous tool that did a             20:38:20

4        similar job.                                             20:38:30

5                  But the development, as I understand it,       20:38:31

6        began in around 2011.                                    20:38:33

7             Q.   And do you know what the previous tool was     20:38:36

8        called?                                                  20:38:38

9             A.   There was a previous tool called               20:38:40

10       "Pearly Gates."                                          20:38:42

11            Q.   Okay.   It seems like it had bold              20:38:47

12       ambitions.                                               20:38:49

13                 So -- and Pearly Gates was self-deprecated     20:38:53

14       and replaced by the capability tool?                     20:39:01

15            A.   My understanding is that the Capabilities      20:39:04

16       tool replaced Pearly Gates as a way of managing          20:39:05

17                                                                20:39:12

18                                                                20:39:17

19            Q.   And do you know why it was called              20:39:19

20       "Pearly Gates"?                                          20:39:21

21            A.   I do not.                                      20:39:23

22            Q.   And what are "Gatekeepers"?                    20:39:26

23            A.   So a Gatekeeper is -- or Gatekeepers.          20:39:30

24       Gatekeeper is a tool at Meta which is widely used        20:39:34

25       to                           within the Facebook apps    20:39:38

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1        and services, including the Facebook app itself and          20:39:47

2        a number of other services inside the company.               20:39:56

3                  "Gatekeepers" refers to the                        20:39:59

4        that exist in code to determine                              20:40:09

5                                                                     20:40:14

6                  I think the best way to explain it is with         20:40:16

7        an example.                                                  20:40:18

8                  Typically, when Facebook develops a new            20:40:20

9        feature, the engineers will -- will gate that                20:40:22

10       feature behind a Gatekeeper.                                 20:40:29

11                 So let's imagine Facebook Dating.         So the   20:40:31

12       team working on Facebook Dating would be working on          20:40:36

13       that feature.    That feature would be gated by a            20:40:39

14       gatekeeper or multiple gatekeepers, and then the             20:40:44

15       Gatekeeper tool would be used to                             20:40:48

16                                                                    20:40:50

17                 And so Gatekeeper is a mechanism by which          20:40:54

18       Meta typically                                               20:41:00

19                 across many aspects of our business.               20:41:04

20            Q.   So the Capabilities tool is more or less a         20:41:11

21       tracking device, and the Gatekeeper is more or less          20:41:13

22       a functional system.                                         20:41:17

23                 Is that a fair description?                        20:41:19

24            A.   I wouldn't characterize them that way.             20:41:20

25       They both, in some ways, do a similar job.                   20:41:22

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1                    The Gatekeeper tool is widely used at Meta     20:41:26

2        to manage                                             to   20:41:32

3        things.                                                    20:41:37

4                    The Capabilities tool is specifically just     20:41:38

5        used for the Facebook Developer Platform and how to        20:41:41

6        manage                                                     20:41:47

7                               .                                   20:41:51

8             Q.     Okay.   So if you wanted to identify every     20:41:52

9        single app that had been whitelisted and, because          20:41:54

10       of that, received deprecated permissions, would all        20:41:59

11       of your information be in the Capability tool, or          20:42:03

12       would you also need to look at the Gatekeeper tool?        20:42:06

13            A.     My understanding is that most of the           20:42:11

14       whitelists -- most of the way in which publicly            20:42:16

15       deprecated permissions were made available to              20:42:23

16       applications was via the Capabilities tool.                20:42:28

17                   There was, as I understand it, some            20:42:32

18       whitelists managed by Gatekeeper, and an effort was        20:42:36

19       undertaken to migrate that management from                 20:42:40

20       Gatekeeper to the Capabilities tool for                    20:42:42

21       consistency.                                               20:42:45

22            Q.     And when was that done?                        20:42:46

23            A.     I don't have the information as to when        20:42:50

24       that was done.                                             20:42:52

25            Q.     So, today, is the Capability tool the more     20:42:54

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1        complete set of information on whitelisted                    20:42:58

2        entities?                                                     20:43:01

3             A.     When it comes to Facebook Developer               20:43:02

4        Platform and app IDs being whitelisted, my                    20:43:04

5        understanding is that the Capabilities tool is the            20:43:09

6        primary and most complete system that tracks which            20:43:11

7                                                                      20:43:17

8             Q.     And what is "Sitevars"?                           20:43:20

9             A.     Sitevars is another mechanism that is used        20:43:25

10       at Meta to                                            -- of   20:43:30

11       various products.     It has a different set of               20:43:36

12       features the Gatekeeper and the Capabilities tool             20:43:39

13       do not have.                                                  20:43:45

14            Q.     And are there entities that have access to        20:43:46

15       publicly deprecated permissions tracked by Sitevars           20:43:48

16       that are not tracked by the Capabilities tool?                20:43:52

17            A.     My understanding, but -- from talking to          20:43:56

18       the engineers involved in this is that no, Sitevars           20:43:59

19       would not be a way of determining whether or not an           20:44:06

20       application had access to publicly deprecated                 20:44:11

21       permissions.                                                  20:44:14

22                   MR. LOESER:   Okay.   If we could have            20:44:18

23       Tab 9.                                                        20:44:26

24                   (Deposition Exhibit 336 was marked for            20:44:26

25                   identification.)                                  20:44:26

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1                   MR. LOESER:   I'm going to mark the next        20:44:41

2        exhibit.    This is Exhibit 336.     The Bates number on   20:44:42

3        this is FB-CA-MDL-00200051.                                20:44:53

4                   And you're looking at, Mr. Cross, an email      20:44:59

5        from you to Zhen Fang, cc to Jackie Chang and              20:45:02

6        Christopher Blizzard, October 31, 2013, "Subject:          20:45:09

7        Docs for Private Platform/Capabilities."                   20:45:14

8                   Do you see that?                                20:45:17

9             A.    I do.                                           20:45:18

10            Q.    And do you recall writing this email?           20:45:20

11            A.    I do not recall writing it, but I have          20:45:24

12       seen this document as part of my preparation for my        20:45:28

13       testimony today.                                           20:45:31

14            Q.    Okay.   And you write:                          20:45:32

15                  "Hey Zhen, As we're deep in looking at          20:45:34

16            Capabilities, it's clear:"                            20:45:38

17                  Can you read the Number 1?                      20:45:39

18            A.    (Reading):                                      20:45:41

19                  "Number 1, we have no idea what most of         20:45:42

20            them are - the documentation is scattered all         20:45:44

21            over, if there at all."                               20:45:47

22            Q.    And do you recall -- or explain for me if       20:45:53

23       Facebook had a tough time figuring out what all of         20:45:56

24       the -- what all was supposed to be included on the         20:46:00

25       Capabilities tool or who all had been whitelisted          20:46:03

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1        at this time.                                            20:46:11

2                  MR. BLUME:     Objection.    Compound.         20:46:12

3                  THE WITNESS:     Yeah.   Could you separate    20:46:13

4        the question into two parts because I think the          20:46:14

5        answer -- the answer may be different depending on       20:46:17

6        which part I'm answering.                                20:46:20

7        BY MR. LOESER:                                           20:46:22

8             Q.   Sure.     It looked like, based upon your      20:46:22

9        email here, that tracking the capabilities that          20:46:24

10       apps had was at this time disorganized and               20:46:28

11       difficult.                                               20:46:31

12                 Is that fair?                                  20:46:34

13            A.   What I -- what's being referred to here is     20:46:35

14       to do with the capabilities themselves and what          20:46:39

15       their behavior was; what each individual capability      20:46:45

16       did or could do.                                         20:46:50

17                 So that's what this is referring to.           20:46:55

18            Q.   And so you're proposing here creating a        20:46:59

19       tool that would allow Facebook to better understand      20:47:02

20       and organize the capabilities that the different         20:47:04

21       apps have.      Right?                                   20:47:08

22            A.   No.     What I'm referring to here is the --   20:47:12

23       the idea, or the request, to be able to gate             20:47:16

24       documents on the Facebook Developer website based        20:47:21

25       on whether or not the viewer of the website had --       20:47:26

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1        was a developer of an app that had a specific              20:47:32

2        capability.                                                20:47:34

3                Q.   So what problem were you trying to solve      20:47:36

4        here?                                                      20:47:38

5                     Or let me ask it another way.                 20:47:41

6                     What problem was Facebook trying to solve     20:47:43

7        here?                                                      20:47:45

8                A.   What Facebook is trying to solve here is a    20:47:46

9        way to automatically control whether or not a given        20:47:49

10       developer user -- so an individual person -- had           20:47:57

11       the ability to see a document on the Facebook              20:48:01

12       Developer website that was only visible to them if         20:48:04

13       they were the developer of an application that             20:48:08

14       had -- was granted a particular capability.                20:48:11

15                    MR. LOESER:   Okay.   We can go to the next   20:48:30

16       exhibit, Tab 10.                                           20:48:32

17                    (Deposition Exhibit 337 was marked for        20:48:36

18                    identification.)                              20:48:40

19       BY MR. LOESER:                                             20:48:53

20               Q.   So as we're waiting for the document,         20:48:53

21       Mr. Cross, as we've discussed already today, with          20:48:55

22       the implementation of Graph API Version 2, Facebook        20:48:58

23       had decided to deprecate a number of permissions,          20:49:00

24       right, and had come up with a list of the                  20:49:06

25       permissions that would be deprecated.                      20:49:09

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1                  Is that an accurate description?                    20:49:11

2             A.   As part of API Version 2 launch, Version 2          20:49:14

3        contained -- there were a number of permissions               20:49:18

4        that were not available to API Version 2 in general           20:49:20

5        that were available in API Version 1.                         20:49:24

6             Q.   And so if you look at Exhibit 337, which            20:49:30

7        is a -- which is a document that is captioned                 20:49:32

8        "Changes made to V2 at F8**User Trust**."                     20:49:40

9                  Do you see that?                                    20:49:49

10            A.   I do see that.                                      20:49:50

11            Q.   And this appears to be a document that was          20:49:50

12       describing the changes that would be made to the              20:49:52

13       platform in the transition from Version 1 to                  20:49:58

14       Version 2.   Right?                                           20:50:01

15            A.   It seems to talk about those changes, but           20:50:04

16       it's not clear to me when this document was                   20:50:06

17       authored or the audience of the document.                     20:50:09

18            Q.   Okay.   At the very top of the document,            20:50:14

19       you can see that it was authored -- it's a little             20:50:15

20       faint, but it's June 5, 2014.                                 20:50:18

21                 Do you see that?                                    20:50:22

22            A.   I see that there, but it's not clear to me          20:50:24

23       that this is when the document was authored.          That    20:50:26

24       may have been when the document was captured.          It's   20:50:31

25       hard to read from this exactly what this -- where             20:50:35

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1        this document was posted.            It seems to contain --      20:50:40

2                Q.     Okay.   And I'll just --                          20:50:48

3                A.     Yeah, it -- I'm not clear -- I'm not clear        20:50:50

4        when this document was authored or whether or not                20:50:53

5        that date -- what that date at the top right                     20:50:55

6        pertains to.                                                     20:50:58

7                       MR. LOESER:   Okay.     And just for the          20:50:59

8        record, I'll note that the metadata of this                      20:51:00

9        document indicates that it was created June 5,                   20:51:03

10       2014.        The author is Gillian Dunne, and the                20:51:06

11       custodian for the document was Bill Fusz.                        20:51:12

12                      But I'm just noting that for the record,          20:51:15

13       and perhaps it provides you some context.                        20:51:18

14                      But all I want to do with this document is        20:51:20

15       look at -- if you go down to the bottom of the                   20:51:22

16       first page, there is a statement:              "Permissions no   20:51:24

17       longer available in V2.0."                                       20:51:29

18               Q.     And do you see there's a list that begins         20:51:33

19       there and goes onto the next page?                               20:51:35

20               A.     I do see that.                                    20:51:37

21               Q.     And included in that there's the category         20:51:40

22       that says:        "All friends_* permissions have been           20:51:44

23       removed," and then it lists all of them?                         20:51:48

24               A.     I see a list of permissions, yes.                 20:51:51

25               Q.     And above that, there's also a number of          20:51:54

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1        other permissions.                                        20:51:58

2                  Now, does this list of deprecated               20:52:02

3        permissions include all permissions that provided         20:52:05

4        for the sharing of friend data?                           20:52:09

5             A.   Can you -- in this context, can you help        20:52:19

6        me understand what you mean by "friends data"?            20:52:21

7             Q.   Yeah.     We earlier talked quite a bit about   20:52:25

8        different APIs that didn't have the word "friends"        20:52:27

9        in the permissions but, based on how they worked,         20:52:33

10       resulted in an app's ability to access information        20:52:35

11       about a user's friends.                                   20:52:39

12                 Do you recall that testimony?                   20:52:41

13            A.   Yes, I recall that testimony.                   20:52:42

14            Q.   And so looking at this list here, does it       20:52:45

15       appear to you that this removes -- indicates that         20:52:47

16       the deprecated permissions will cover all of the          20:52:54

17       different permissions that existed at the time that       20:52:57

18       allowed access to friends data?                           20:53:00

19            A.   No.     This looks relatively complete in       20:53:06

20       terms of the -- the friends permissions that              20:53:10

21       allowed an app access to a friend's data in terms         20:53:15

22       of the specific things listed here.                       20:53:22

23                 Your definition earlier was -- included         20:53:25

24       things like a friend's comments on my photos.             20:53:32

25                 Through that definition, then other             20:53:40

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1        permissions, including, for example, user_photos,        20:53:42

2        would have also emitted some friends' data;              20:53:46

3        specifically, the comments that they had made on my      20:53:55

4        photos.                                                  20:53:57

5                  So that is not a set of things that was        20:53:58

6        removed in API Version 2.                                20:54:01

7                  What was removed is this list of               20:54:03

8        permissions which, for example, would have               20:54:05

9        allowed -- the friends_photos permission would have      20:54:08

10       allowed an app to access the photos of an app-using      20:54:12

11       user's friends.                                          20:54:17

12            Q.   And at the time that Facebook was              20:54:19

13       analyzing and identifying all of the permissions         20:54:20

14       that provided access to friends data, did Facebook       20:54:25

15       make a list that included every single one of those      20:54:30

16       permissions so that it could identify whether there      20:54:33

17       was any friend-sharing that would be still               20:54:37

18       publicly -- still be a publicly available API?           20:54:41

19            A.   No.     The focus of the deprecations          20:54:48

20       announced in Version 2 was the removal of the            20:54:50

21       friend permissions and the other permissions that        20:54:53

22       are represented here.                                    20:54:56

23            Q.   Okay.     And when you say "friend             20:54:59

24       permissions," you mean the ones that had the word        20:55:00

25       "friends" in them?                                       20:55:03

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1             A.   When I said "friend permission," that            20:55:05

2        specifically refers to the permissions that have           20:55:07

3        the word "friend" in them.                                 20:55:10

4                  And by "other permissions," I'm referring        20:55:12

5        to the ones listed above; for example -- I'm trying        20:55:14

6        to give an example -- like, manage_friend lists,           20:55:27

7        for example.                                               20:55:31

8             Q.   Now, if we move up this document back to         20:55:33

9        the first page, there's a heading:         "New features   20:55:36

10       available in Version 2.0."                                 20:55:40

11                 Do you see that?                                 20:55:42

12            A.   I do.                                            20:55:43

13            Q.   And there is a list of APIs that we've           20:55:43

14       discussed:     "Taggable Friends, Invitable Friends,       20:55:47

15       Social Context."                                           20:55:51

16                 And there's one, "Business Mapping API,"         20:55:51

17       which we haven't discussed, and another one that           20:55:53

18       looks like it says "Tagged Places API."                    20:55:56

19                 Do you see that?                                 20:55:59

20            A.   I do see that.                                   20:55:59

21            Q.   And for Taggable Friends, Invitable              20:56:01

22       Friends, Social Context, those are all permissions         20:56:06

23       that it appears did not exist prior to Version 2.0         20:56:09

24       but were going to be introduced at this time.              20:56:13

25                 Is that a fair read?                             20:56:16

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1             A.   These are specifically -- these are APIs           20:56:18

2        that were introduced in Version 2 that were not              20:56:20

3        previously available.                                        20:56:26

4                  These are not permissions; these an APIs.          20:56:27

5             Q.   And a number of those APIs that we've              20:56:29

6        discussed did provide access to certain friend               20:56:31

7        information of users not using the apps that would           20:56:33

8        be -- that would have access to those APIs.         Right?   20:56:36

9             A.   So, yeah.   If we go back to the                   20:56:41

10       previous -- the previous testimony I gave on this,           20:56:43

11       the Taggable Friend API returned a list of the               20:56:47

12       user's -- a list of the authorized user's friends            20:56:51

13       that were taggable in the application.                       20:56:58

14                 The amount of data that these APIs                 20:57:00

15       returned was very, very limited.      In the case of         20:57:03

16       the Taggable Friend API, for example, the amount of          20:57:09

17       data emitted was the name, a URL to a person's               20:57:13

18       profile picture, and a token which could be passed           20:57:17

19       back to the API to tag them in a post.                       20:57:21

20                 That was the extent of the information             20:57:24

21       available via those APIs -- via the Taggable                 20:57:26

22       Friends API, in my recollection.                             20:57:30

23            Q.   And you say it's limited information, but          20:57:33

24       it is still fairly described as "friends data."              20:57:36

25       Right?                                                       20:57:39

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1             A.   It is some information about a friend or a     20:57:40

2        list of friends.                                         20:57:45

3                  But I would draw a distinction between         20:57:47

4        that and the friend permissions, which gated a very      20:57:50

5        different set of information.                            20:57:55

6             Q.   And we might need to blow it up a bit, but     20:57:59

7        I'm interested in the Social Context API here, and       20:58:02

8        I'll read it:                                            20:58:07

9                  "We've added a new endpoint to objects         20:58:09

10            and apps that allow you to display a person's       20:58:12

11            friend's actions on an object.      For example,    20:58:16

12            you might be able to answer the question            20:58:19

13            'Which of my friends have watched this              20:58:20

14            movie?' by looking at the                           20:58:22

15            /{movie-id}?fields=context endpoint."               20:58:24

16                 Did I more or less read that sentence          20:58:32

17       accurately?                                              20:58:34

18            A.   You more or less read it accurately.           20:58:35

19            Q.   And what is an "endpoint"?                     20:58:37

20            A.   An "endpoint" is another word to describe      20:58:42

21       an API.   It's a -- it's a -- a term used to             20:58:47

22       describe an API that a developer could call.             20:58:54

23            Q.   And so using this example of the -- the        20:59:02

24       movie ID context endpoint, it says:                      20:59:07

25                 "For example, you might be able to answer      20:59:12

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1                the question, 'Which of my friend have                   20:59:13

2                watched this movie?'"                                    20:59:16

3                       So, technically, how would that app be            20:59:17

4        able to answer that question with the Social                     20:59:20

5        Context API?                                                     20:59:22

6                A.     As I talked about earlier, the precise way        20:59:26

7        that the Social Context API worked is not something              20:59:30

8        I am very familiar with.           In fact, I am not even        20:59:35

9        sure exactly when it existed and how it behaved.                 20:59:41

10                      So, I think, like, details on exactly how         20:59:48

11       the Social Context API worked, like, I don't think               20:59:50

12       I can give a clear answer to.                                    20:59:53

13                      MR. LOESER:    Mr. Cross, I'm noting for the      21:00:00

14       record that I believe it is now 9:00 P.M. your                   21:00:02

15       time.        Is that correct?                                    21:00:04

16                      THE WITNESS:     It is.     But I'm happy to do   21:00:05

17       15 or 20 more minutes if that -- if that would help              21:00:08

18       us get through stuff.                                            21:00:11

19                      If now is a convenient time to break for          21:00:13

20       you, let's break.        But if there was a convenient           21:00:15

21       time to break for you that's 10, 15-minutes away,                21:00:17

22       these -- let's do that.           I don't want to --             21:00:21

23                      MR. LOESER:    Okay.      I appreciate your       21:00:24

24       flexibility, and I'll keep going, and we'll pretty               21:00:27

25       quickly get through those 15 minutes.               And that     21:00:31

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1        would probably be a good time in where I am to stop           21:00:34

2        anyway.   So --                                               21:00:37

3                  THE WITNESS:     Cool.   Let's do that.             21:00:38

4        BY MR. LOESER:                                                21:00:39

5             Q.   And, I should say, in order to go further,          21:00:39

6        it would take a lot longer than 15 minutes.           So in   21:00:41

7        light of the schedule you have, I think that's a              21:00:44

8        good time to stop.                                            21:00:46

9             A.   Okay.   Great.                                      21:00:47

10            Q.   Okay.   This is a broad question, and we            21:00:48

11       can start big and go small.                                   21:00:52

12                 But how did Facebook determine what apps            21:00:54

13       to whitelist for friend -- for providing access to            21:00:56

14       friend data?                                                  21:01:03

15            A.   Again, to clarify, what do you mean by              21:01:07

16       "friend data"?                                                21:01:09

17                 Do you mean the friends permissions?                21:01:11

18            Q.   I mean information about users who are not          21:01:14

19       the users of the app.                                         21:01:16

20                 So whatever information made available via          21:01:19

21       the -- the permission to access the friends -- you            21:01:22

22       know, I'm going to garble the terminology every               21:01:30

23       time I try and do it.                                         21:01:33

24                 But there's an API that grants -- that              21:01:35

25       provides, technically, access to friends                      21:01:37

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1        information about the app's users.                       21:01:39

2                  And I'm interested in understanding when       21:01:41

3        Facebook put an app on a whitelist so that it            21:01:43

4        continued to access the data of a user's friends,        21:01:46

5        how it made that decision.                               21:01:48

6             A.   Okay.   So --                                  21:01:50

7             Q.   And let me make it even easier for you.        21:01:52

8                  The time period I'm interested in is in        21:01:55

9        the transition from Graph API Version 1 to               21:01:58

10       Version 2.                                               21:02:00

11            A.   Okay.   So let me -- let me -- let me try      21:02:01

12       and play back some -- some context, I think, is          21:02:07

13       important to the answer here.                            21:02:10

14                 So, first of all, as you have kind of          21:02:15

15       defined "friends data" and we've discussed it            21:02:20

16       earlier in this testimony, like, there are APIs          21:02:24

17       that were available publicly in Version 2 that           21:02:31

18       would have emitted some limited amount of                21:02:36

19       information about an app using users' friends.           21:02:40

20                 For example, their comments on my photos       21:02:45

21       or limited information about them in order to            21:02:48

22       render a taggable -- a "tagging" user type ahead,        21:02:51

23       for example.                                             21:03:01

24                 So, in this context, let me play back to       21:03:01

25       you -- I want to make sure I'm understanding your        21:03:04

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1        question correctly.                                      21:03:06

2                  You are specifically referring to              21:03:09

3        permissions or behaviors that were no longer             21:03:10

4        available in Version 2 of the API, and you're            21:03:14

5        interested in applications that continued to have        21:03:17

6        access to the behaviors in API Version 1 after they      21:03:22

7        were no longer available to a nonwhitelisted             21:03:28

8        developer.                                               21:03:31

9                  Do I have that correct?                        21:03:32

10            Q.   Correct.                                       21:03:34

11            A.   Okay.   Cool.                                  21:03:34

12                 So having talked to people, the -- the --      21:03:42

13       my understanding of how these decisions were -- how      21:03:48

14       these discussions happened is that there were a          21:03:54

15       number of developers who had been unable to update       21:03:58

16       their apps in time for the public API deprecation,       21:04:05

17       or that they -- that their use case -- they              21:04:11

18       required more time to migrate than was available         21:04:14

19       to -- to regular developers.                             21:04:17

20                 And so there were conversations had about      21:04:20

21       whether or not some of these applications should be      21:04:23

22       granted additional time to -- to migrate from the        21:04:27

23       API Version 1 behavior to the standard API               21:04:34

24       Version 2 behavior.                                      21:04:37

25            Q.   And were any other considerations relied       21:04:40

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1        on by Facebook when determining whether to               21:04:47

2        whitelist an app?                                        21:04:49

3             A.   Again, can we -- specifically for --           21:04:53

4        for -- continued access to the API of V1 behavior        21:04:56

5        and permissions associated with API V1?                  21:05:02

6             Q.   Right.                                         21:05:06

7             A.   My understanding was that the rationale        21:05:12

8        was based on whether or not the user experience          21:05:15

9        would be broken if the deprecation timeline was          21:05:17

10       followed or whether or not there would be other          21:05:23

11       risks for the developer of the deprecation being         21:05:28

12       enforced on the general time frame.                      21:05:34

13                 So those -- primarily, it was about            21:05:38

14       developers needing more time to migrate because, if      21:05:42

15       they -- if the enforcement and deprecations              21:05:45

16       happened on that publicly available timeline, there      21:05:49

17       would be negative impacts primarily for the user         21:05:52

18       experience of the people using the app --                21:05:54

19            Q.   And you -- sorry.   Go ahead.                  21:05:57

20            A.   No, go on.                                     21:05:59

21            Q.   You mentioned other risks for the              21:06:02

22       developer.                                               21:06:04

23                 What were the other risks?                     21:06:04

24            A.   So one I recall was that there was an          21:06:07

25       application providing compliance services to people      21:06:17

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1        in the financial and insurance industry, and their       21:06:21

2        customers would -- were still using their                21:06:25

3        application in a certain way, and they needed more       21:06:31

4        time to train their customers to not use the             21:06:34

5        application in a certain way because the                 21:06:39

6        functionality they were relying upon would become        21:06:44

7        unavailable when the API deprecations were applied       21:06:47

8        to them.                                                 21:06:54

9             Q.    And what you described were considerations    21:06:56

10       taken into account vis-à-vis developers.                 21:07:01

11                  But were there different considerations       21:07:05

12       taken into account on whether to grant Facebook          21:07:06

13       partners with continued access to publicly               21:07:10

14       deprecated permissions?                                  21:07:13

15            A.    Sorry.   Say that again?                      21:07:17

16            Q.    So you indicated that the -- the -- there     21:07:20

17       was extensions provided so apps could migrate to         21:07:23

18       the new platform, and you spoke about that for a         21:07:26

19       minute.                                                  21:07:31

20                  But I'm wondering if there were other         21:07:31

21       considerations that were taken into account when         21:07:33

22       discussing partners in particular and whether they       21:07:35

23       should be provided continued access to publicly          21:07:39

24       deprecated permissions.                                  21:07:42

25            A.    My understanding is that there were some      21:07:46

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1        contractual agreements that specified a longer           21:07:48

2        deprecation window than was available to -- than         21:07:54

3        was offered to regular developers; and, as such,         21:07:58

4        it's possible that some of the extensions to the         21:08:04

5        deprecations were granted on that basis.                 21:08:11

6             Q.   And were there any other bases that            21:08:14

7        Facebook had for providing continued access to           21:08:17

8        publicly deprecated permissions to partners?             21:08:20

9             A.   Can you define again what you mean by          21:08:24

10       "partners" here?   'Cause all partners are               21:08:25

11       developers in this context.                              21:08:28

12            Q.   I mean the entities that have been             21:08:31

13       described by Facebook as "integration partners"          21:08:33

14       or -- there are a variety of other categories of         21:08:36

15       partner that Facebook uses.    In fact, looking at       21:08:41

16       your notes, you have "integration partners,              21:08:44

17       business integrations, media integrations, search        21:08:47

18       integrations."                                           21:08:49

19                 So with regard to any of those categories,     21:08:51

20       were there other considerations taken into account       21:08:54

21       by Facebook when deciding whether to provide             21:08:57

22       continued access to the publicly deprecated              21:09:00

23       permissions?                                             21:09:02

24            A.   So I think what's important to understand      21:09:04

25       here is that -- let's take integration partners,         21:09:06

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1        for example.                                               21:09:10

2                     They had -- they had always had access to     21:09:11

3        some permission -- some APIs that were not                 21:09:16

4        available to regular developers because they were          21:09:22

5        rebuilding a Facebook replacement client experience        21:09:24

6        on their devices.                                          21:09:28

7                     So "integration partners" as has been, you    21:09:30

8        know, defined in the -- in the documents, were             21:09:35

9        already on several whitelists in order to provide          21:09:38

10       the experience that they offered to users.                 21:09:46

11                    So that's my understanding of how             21:09:54

12       integration partners continued to have access to           21:09:56

13       the -- the private APIs and behaviors they had             21:10:00

14       always had access to that were not available to            21:10:04

15       regular developers.                                        21:10:07

16               Q.   Okay.   And, again, I want to make sure I'm   21:10:09

17       using the right terminology, and I'm talking about         21:10:13

18       continued access to friend data.                           21:10:16

19                    So you've just described the continued        21:10:17

20       access that integration partners had to friend             21:10:19

21       data.                                                      21:10:22

22                    Were there considerations that Facebook       21:10:22

23       took into account when deciding whether the other          21:10:24

24       types of partners that we just went through had            21:10:26

25       continued access to friend data?                           21:10:29

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1             A.   My understanding from talking to the           21:10:35

2        people involved in this at the time, plus my own         21:10:37

3        experience, is that the extensions granted to            21:10:40

4        applications to access API Version 1 and the friend      21:10:46

5        permissions was limited to cases where the user          21:10:51

6        experience would be significantly degraded if they       21:10:54

7        weren't given extra time or there was some form of       21:10:57

8        legal and regulatory risk to the partner if the          21:11:02

9        extension was not granted for a period of time.          21:11:05

10                 But remember that there -- you know, there     21:11:09

11       were other reasons to -- there were other                21:11:11

12       deprecations and changes in the API behavior that        21:11:15

13       were not related to the deprecation of the friend        21:11:18

14       permissions.   I think that's really important to        21:11:20

15       understand.                                              21:11:22

16            Q.   Right.   And I perhaps led us astray with      21:11:23

17       the terminology I was using.                             21:11:26

18                 And, really, what I'm asking -- and you        21:11:28

19       can tell me if it changes any of your answers --         21:11:30

20       but I'm looking for the reasons Facebook had to          21:11:33

21       provide continued access to friend data by anyone        21:11:36

22       after the transition to Version 2.                       21:11:39

23                 And we've talked about apps, and we've         21:11:41

24       talked about business partner -- or integration          21:11:43

25       partners and business integrations.                      21:11:47

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1                  And so just more broadly put, have you            21:11:51

2        given me the full list of reasons that Facebook             21:11:53

3        used when deciding whether to provide continued             21:11:58

4        access to friend data after the transition to               21:12:00

5        Version 2?                                                  21:12:06

6             A.   So I provided -- friend data in                   21:12:08

7        Version 2 -- like, again, I think it's important to         21:12:13

8        separate these things.    Right?                            21:12:20

9                  You're asking a compound question that's,         21:12:23

10       like, somewhat impossible to answer with -- given           21:12:25

11       your definition of "friend data" and given the              21:12:30

12       variety of different applications we're talking             21:12:32

13       about here and the complexity of the whitelists --          21:12:35

14       the various whitelists that these apps were on.             21:12:37

15                 So, like, I think your question is hard to        21:12:41

16       answer in -- in simple terms given your definition          21:12:44

17       of "friend data."                                           21:12:49

18            Q.   And you're saying that because my                 21:12:53

19       definition includes the types of data that's                21:12:54

20       provided with regard to APIs other than the friends         21:12:58

21       permissions specifically and includes groups and            21:13:02

22       events and social context and all of that, or is            21:13:04

23       there some other complication?                              21:13:08

24            A.   That's primarily the complication.        Like,   21:13:10

25       integration partners, the primary use case there is         21:13:12

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1        that these are experiences that are designed to              21:13:21

2        replicate the Facebook experience on another mobile          21:13:29

3        device platform, set-top box, or so on.                      21:13:33

4                 And those folks would have access to --             21:13:39

5        always had access to information that wasn't                 21:13:45

6        available via the -- via the standard APIs.          So      21:13:46

7        that's one class of things.                                  21:13:51

8                 Then there is the general deprecation --            21:13:56

9        the general changes -- the whole package of changes          21:14:01

10       from Version 1 to Version 2, which included the              21:14:04

11       deprecation of the friend permissions, a number of           21:14:07

12       other changes, including app-scoped user IDs and so          21:14:10

13       on.                                                          21:14:15

14                So in terms of granting extensions to the           21:14:15

15       API Version 1 to Version 2 transition, from talking          21:14:20

16       about all of -- from talking to all of the people            21:14:24

17       involved to the -- as many people as I could that            21:14:26

18       were involved at the time, the rationale for                 21:14:29

19       granting an extension is that it was a belief that           21:14:33

20       the user experience would be severely degraded if            21:14:37

21       the app wasn't given extra time to migrate from API          21:14:44

22       Version 1 to Version 2.                                      21:14:48

23                Regular developers had a year.         There were   21:14:51

24       some applications, it was determined, that would --          21:14:54

25       would provide a broken user experience if they               21:14:57

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1        weren't given more time to upgrade.                       21:14:59

2                  And that was the determination based on,        21:15:03

3        again, speaking to the people involved, the               21:15:06

4        degradation in the user experience that would             21:15:08

5        result, or whether or not there was risk around,          21:15:10

6        like, legal and regulatory use of the Platform that       21:15:17

7        required extra time to unwind.                            21:15:23

8                  That's my understanding of the -- the           21:15:27

9        reasons why some applications were granted                21:15:29

10       additional time to migrate from Version 1 to              21:15:33

11       Version 2.                                                21:15:36

12            Q.   And so those are all of the reasons that        21:15:38

13       Facebook had for providing continued access to            21:15:40

14       friend data for apps and partners after the               21:15:45

15       transition to Version 2.                                  21:15:51

16                 MR. BLUME:     Objection to form.               21:15:54

17                 THE WITNESS:     The answer I just gave was     21:15:55

18       in -- in two parts.                                       21:15:58

19                 Part one is:     Integration partners who had   21:16:01

20       built experiences that were on unusual devices,           21:16:06

21       operating systems, and set-top boxes and so on that       21:16:13

22       required, in order to function, always, permissions       21:16:16

23       which -- APIs that were not generally available.          21:16:22

24                 The use of those APIs and permissions was       21:16:31

25       governed by contracts, typically.         That's what     21:16:34

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1        determined an integration partner, and they were         21:16:37

2        considered as operating on a different set of            21:16:40

3        permissions and APIs than the public API surface         21:16:46

4        area.                                                    21:16:51

5                     The second part of your question was        21:16:51

6        determining extensions to Version-- the Version 1        21:16:53

7        to Version 2 deprecation timeline where Version 1        21:16:57

8        included friends permissions and Version 2 did not       21:17:01

9        include the friends permissions.                         21:17:06

10                    And my understanding from talking to the    21:17:08

11       people involved is that the reason for granting          21:17:11

12       extensions to the standard Version 1 deprecation         21:17:14

13       window was to do with degradation of the user            21:17:17

14       experience and/or a few cases where the use of the       21:17:21

15       API was involved in compliance use cases.                21:17:30

16                    I -- it's possible that there are other     21:17:35

17       reasons, but having talked to people and reviewed        21:17:38

18       the documents in this case, it's consistent with         21:17:43

19       that understanding as -- as referring to the friend      21:17:46

20       permissions deprecations.                                21:17:48

21       BY MR. LOESER:                                           21:17:52

22               Q.   And, again, I just want to -- trying to     21:17:52

23       make a record and make the record clear, and I'm         21:17:54

24       trying to understand every type of entity -- call        21:17:57

25       it a partner, call it a developer, call it an            21:18:01

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1        app -- that continued to have access to friend data      21:18:04

2        after the transition from Version 1 to Version 2.        21:18:07

3                 And you have described a couple different       21:18:10

4        types of entities.    You've described apps and          21:18:12

5        business integrations, and you've described              21:18:15

6        extensions that were provided to some; and for           21:18:19

7        integrations, access that existed before and             21:18:23

8        existed after.                                           21:18:26

9                 And what I'm trying to pin down is, is          21:18:27

10       there any other category of third party that             21:18:30

11       continued to have access to friend data after the        21:18:36

12       transition to Version 2?                                 21:18:39

13                Are there any other reasons that Facebook       21:18:42

14       had for providing continued access to those              21:18:46

15       categories?                                              21:18:48

16                MR. BLUME:     Objection.    Form.              21:18:49

17                THE WITNESS:     So I -- it -- I think          21:18:53

18       we're -- you're mixing up here the friend                21:18:55

19       permissions, right, and the permissions that were        21:18:59

20       used in the API to govern access to the data             21:19:02

21       exposed via those permissions from friends data in       21:19:07

22       the more general sense that you defined it earlier       21:19:13

23       in this -- when we discussed earlier in this             21:19:17

24       testimony.                                               21:19:20

25                Like, it's -- I'm --                            21:19:20

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1        BY MR. LOESER:                                                21:19:23

2             Q.   Let's go back.     Let me make it easier.           21:19:23

3                  Let's put that aside for a moment, the              21:19:25

4        other APIs that are not categorized as friend                 21:19:27

5        permissions, and just talk about friends; the APIs            21:19:30

6        that were on that list that were deprecated.                  21:19:34

7                  Other than the -- the third parties you've          21:19:37

8        already described, are there any other categories             21:19:40

9        of partner or developer or third party at all that            21:19:42

10       had continued access to those permissions after the           21:19:48

11       transition?                                                   21:19:52

12                 And if so -- let's stop with that.          Let's   21:19:53

13       start with that half of the question.                         21:19:58

14            A.   Okay.    So my understanding is that the            21:20:01

15       ability of applications to request the friend                 21:20:04

16       permissions from users, which is, again, how this             21:20:08

17       works, right?     We're talking specifically about the        21:20:11

18       friend permissions.     These are things that apps            21:20:14

19       could request users to grant to the application.              21:20:17

20                 My understanding is that the reasons for            21:20:22

21       continuing to allow apps to request the friend                21:20:26

22       permissions from users was limited to applications            21:20:31

23       that needed additional time to -- to migrate.                 21:20:38

24       The -- and we've gone through the reasons for that.           21:20:42

25            Q.   Okay.    And there's -- and you also                21:20:50

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1        described business integrations, and you gave the        21:20:52

2        reason for that.                                         21:20:54

3                   And I just want to make sure that there's     21:20:55

4        not any other category of partner, according to          21:20:58

5        Facebook, that continued to have access to those         21:21:00

6        permissions that were whitelisted.                       21:21:03

7             A.    So when apps were whitelisted -- if an app    21:21:08

8        was whitelisted to continue to have access to            21:21:12

9        Version 1, then it could continue to request those       21:21:15

10       permissions from some users.                             21:21:18

11                  So by being granted an exception -- an        21:21:21

12       extension to the deprecation timeline window,            21:21:25

13       applications that were whitelisted to continue to        21:21:30

14       have access to Version 1 could continue to access        21:21:33

15       the friend -- could continue to request the friends      21:21:37

16       permissions from users until that access was -- was      21:21:39

17       removed.                                                 21:21:43

18                  And my understanding is that the reason       21:21:45

19       for that was to give those apps extra time to            21:21:50

20       migrate to prevent degradation to the user               21:21:54

21       experience.                                              21:21:58

22                  There are apps on -- I've been through the    21:22:00

23       list of applications that were granted an                21:22:03

24       extension, and a good example of that -- an              21:22:05

25       application in that category was, like, the -- an        21:22:14

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1        integration with car manufacturers and their head        21:22:18

2        unit so you could access some kind of Facebook           21:22:22

3        experience inside your car.                              21:22:25

4                  It's very hard to update the software on       21:22:27

5        those devices, and they needed more time.                21:22:29

6                  So that's my understanding of, like, the       21:22:37

7        reason why extensions were granted; to give more --      21:22:40

8        developers more time to upgrade, given the changes       21:22:44

9        in the API that would affect them -- not just the        21:22:47

10       friends permissions, but other changes between           21:22:50

11       Version 1 and Version 2, and that's why the              21:22:53

12       extensions were granted.                                 21:22:57

13            Q.   I'm not trying to get you to repeat the        21:23:04

14       same testimony.   I am simply trying to make sure        21:23:06

15       that we've exhausted Facebook's reasons for              21:23:09

16       whitelisting and the categories of apps or partners      21:23:12

17       that were whitelisted.                                   21:23:16

18                 And so there's nothing else to add to that     21:23:18

19       from Facebook's perspective?                             21:23:20

20            A.   So the -- in terms of, like, whitelisting      21:23:24

21       extensions to Version 1, there are other reasons         21:23:27

22       why an app might be whitelisted, but that's              21:23:33

23       generally not to do with their use of the friend         21:23:37

24       permissions.                                             21:23:39

25            Q.   Was it something to do with their use of       21:23:42

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1        other deprecated permissions?                            21:23:44

2             A.     Other changes in behavior from Version 1     21:23:47

3        to Version 2.     For example, app-scoped user IDs.      21:23:49

4        Big change to how the Facebook Developer Platform        21:23:55

5        operated.     As I say, there's a whole number of        21:23:58

6        changes between Version 1 and Version 2.                 21:24:02

7                    Your question was about friends              21:24:04

8        permissions, and there are other reasons why some        21:24:06

9        apps were granted an extension.        And my            21:24:09

10       understanding is that, you know, the reasons for         21:24:12

11       granting an extension to the friend permissions is       21:24:16

12       because of a user experience degradation and             21:24:19

13       striking a balance of giving more time -- those          21:24:23

14       developers more time to update their use of the          21:24:26

15       Platform or cases where the use of the Platform was      21:24:29

16       related to -- where the friend permissions were          21:24:33

17       used in the context of, like, regulated industries.      21:24:39

18                   As I say, there are a number of developers   21:24:44

19       also whitelisted for continued access to Version 1       21:24:46

20       because of their use of other -- because of              21:24:50

21       their -- because of them being affected by other         21:24:53

22       changes in the API between Version 1 and Version 2.      21:24:55

23                   MR. LOESER:   Okay.   Mr. Cross, we're at    21:25:07

24       now 9:25 your time, and I want to be sensitive to        21:25:09

25       your schedule.                                           21:25:12

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1                    So we're more than happy to keep going,            21:25:13

2        but if you want to stop, it's getting late for you.            21:25:16

3        So --                                                          21:25:19

4                    THE WITNESS:     Yeah, now is a good time.     I   21:25:19

5        can feel my voice going, and this stuff is                     21:25:21

6        important to get right.        So I think it's a good          21:25:24

7        moment to pause and then come back and continue on             21:25:27

8        Thursday.                                                      21:25:30

9                    MR. LOESER:    Okay.     Well, thank you for       21:25:31

10       your time this evening, and we'll start again on               21:25:33

11       Thursday.                                                      21:25:35

12                   THE VIDEO OPERATOR:       And we're off the        21:25:38

13       record.     It's 9:25 P.M.                                     21:25:39

14                   (Time noted, 9:25 P.M. London Daylight             21:25:41

15                   Time)                                              21:25:43

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1                                      --o0o--
2                      I declare under penalty of perjury that the
3         foregoing is true and correct.               Subscribed at
4         ________________, California, this ____ day of
5         ___________ 2022.
6
7                                      __________________________
8                                              SIMON CROSS
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1                         CERTIFICATE OF REPORTER

2               I, HOLLY THUMAN, a Certified Shorthand Reporter,

3         hereby certify that the witness in the foregoing

4         deposition was by me duly sworn to tell the truth, the

5         whole truth, and nothing but the truth in the

6         within-entitled cause; that said deposition was taken

7         down in shorthand by me, a disinterested person, at the

8         time and place therein stated; and that the testimony

9         of said witness was thereafter reduced to typewriting

10        by computer, to the best of my ability via remote

11        videoconferencing, under my direction and supervision;

12              That before completion of the deposition review of

13        the transcript [] was [X] was not requested/offered.

14        If requested, any changes made by the deponent (and

15        provided to the reporter) during the period allowed are

16        appended hereto.

17              I further certify that I am not of counsel or

18        attorney for either or any of the parties to the said

19        deposition, nor in any way interested in the event of

20        this cause, and that I am not related to any of the

21        parties thereto.

22

23        DATED: May 12, 2022

24

                   <%11978,Signature%>

25                 HOLLY THUMAN, CSR

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1      DEREK W. LOESER, ESQ.

2      dloeser@kellerrohrback.com

3                                                          May 12, 2022

4      IN RE: FACEBOOK, INC., CONSUMER PRIVACY USER PROFILE LITIGATION

5      MAY 9, 2022, SIMON CROSS, JOB NO. 5210141

6      The above-referenced transcript has been

7      completed by Veritext Legal Solutions and

8      review of the transcript is being handled as follows:

9      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10        to schedule a time to review the original transcript at

11        a Veritext office.

12     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13        Transcript - The witness should review the transcript and

14        make any necessary corrections on the errata pages included

15        below, notating the page and line number of the corrections.

16        The witness should then sign and date the errata and penalty

17        of perjury pages and return the completed pages to all

18        appearing counsel within the period of time determined at

19        the deposition or provided by the Code of Civil Procedure.

20     __ Waiving the CA Code of Civil Procedure per Stipulation of

21        Counsel - Original transcript to be released for signature

22        as determined at the deposition.

23     __ Signature Waived – Reading & Signature was waived at the

24        time of the deposition.

25

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1      __ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2         Transcript - The witness should review the transcript and

3         make any necessary corrections on the errata pages included

4         below, notating the page and line number of the corrections.

5         The witness should then sign and date the errata and penalty

6         of perjury pages and return the completed pages to all

7         appearing counsel within the period of time determined at

8         the deposition or provided by the Federal Rules.

9      _X_Federal R&S Not Requested - Reading & Signature was not

10        requested before the completion of the deposition.

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1      IN RE: FACEBOOK, INC., CONSUMER PRIVACY USER PROFILE LITIGATION

2      SIMON CROSS, JOB NO. 5210141

3                         E R R A T A    S H E E T

4      PAGE_____ LINE_____ CHANGE________________________

5      __________________________________________________

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19     PAGE_____ LINE_____ CHANGE________________________

20     __________________________________________________

21     REASON____________________________________________

22

23     ________________________________         _______________

24     WITNESS                                  Date

25

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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      COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

 Veritext Legal Solutions represents that the
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 transcript of the colloquies, questions and answers
 as submitted by the court reporter. Veritext Legal
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1                      UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
       IN RE:     FACEBOOK, INC.,                MDL No. 2843
4      CONSUMER USER PROFILE                     Case No.
       LITIGATION                                18-md-02843-VC-JSC
5      ___________________________
6      This document relates to:
7      ALL ACTIONS
8
       ____________________________
9
10
11                             **CONFIDENTIAL**
12              ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13              CORPORATE REPRESENTATIVE - SIMON CROSS
14     (Reported Remotely via Video & Web Videoconference)
15               London, England (Deponent's location)
16                         Thursday, May 12, 2022
17                                 Volume II
18
19
20
       STENOGRAPHICALLY REPORTED BY:
21     REBECCA L. ROMANO, RPR, CSR, CCR
       California CSR No. 12546
22     Nevada CCR No. 827
       Oregon CSR No. 20-0466
23     Washington CCR No. 3491
24     JOB NO. 5219195
25     PAGES 208 - 495

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1                      UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
       IN RE:     FACEBOOK, INC.,                MDL No. 2843
4      CONSUMER USER PROFILE                     Case No.
       LITIGATION                                18-md-02843-VC-JSC
5      ___________________________
6      This document relates to:
7      ALL ACTIONS
8
       ____________________________
9
10
11
12
13
14
15                   DEPOSITION OF SIMON CROSS, taken on
16     behalf of the Plaintiffs, with the deponent located
17     in London, England, commencing at
18     2:36 p.m., Thursday, May 12, 2022, remotely
19     reported via Video & Web videoconference before
20     REBECCA L. ROMANO, a Certified Shorthand Reporter,
21     Certified Court Reporter, Registered Professional
22     Reporter.
23
24
25

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25     /////

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25     /////

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15     ALSO PRESENT:
16             Ian Chen, Associate General Counsel, Facebook
17     Inc.
18             John Macdonell, Videographer
19
20
21
22
23
24
25     /////

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2      DEPONENT                                                EXAMINATION
3      SIMON CROSS                                                     PAGE
       VOLUME II
4
5                                 BY MR. LOESER                          221
6
7
8                              E X H I B I T S
9      NUMBER                                                          PAGE
10                                DESCRIPTION
11     Exhibit 338       Email String Subject:             PS12n         350
12                       Criteria Review,
13                       FB-CA-MDL-02951293 -
14                       FB-CA-MDL-02951294;
15
16     Exhibit 339       PowerPoint Presentation -                       361
17                       facebook Criteria for
18                       granting Exemptions and
19                       Extensions Drat 12/5/13
20                       Monica Mosseri,
21                       FB-CA-MDL-02951295;
22
23
24
25     /////

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1                         E X H I B I T S(cont'd)
2      NUMBER                                                         PAGE
3                                 DESCRIPTION
4      Exhibit 340       PowerPoint - facebook                         363
5                        Criteria for granting
6                        Exemptions and Extensions
7                        Draft 12/5/13 Monica Mosseri,
8                        META-CA-MDL-000041190 -
9                        META-CA-MDL-0000412003;
10
11     Exhibit 341       Deprecated f8 2014                            393
12                       Partnerships/Ops XFN,
13                       FB-CA-MDL-02978561 -
14                       FB-CA-MDL-02978571;
15
16     Exhibit 342       Email dated January 27, 2014                  433
17                       Subject:     platform model
18                       changes, FB-CA-MDL-00202269;
19
20     Exhibit 343       Email String Subject:                         472
21                       Changing App Settings//Friend
22                       Permissions,
23                       FB-CA-MDL-01462921 -
24                       FB-CA-MDL-01462921;
25     /////

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1                         E X H I B I T S(cont'd)
2      NUMBER                                                         PAGE
3                                 DESCRIPTION
4      Exhibit 344       Email String Subject:             [a/c         483
5                        priv Re:     WSJ story on API
6                        migration, FB-CA-MDL-01169155
7                        - FB-CA-MDL-01169173;
8
9
10                       PREVIOUSLY MARKED EXHIBITS
11     NUMBER                                                         PAGE
12     Exhibit 5                                                        243
13
14     Exhibit 6                                                        244
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16     Exhibit 7                                                        256
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18     Exhibit 11                                                       293
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20     Exhibit 12                                                       294
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22     Exhibit 13                                                       331
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24     Exhibit 14                                                       410
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5      Exhibit 16                                                      440
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7      Exhibit 17                                                      441
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9      Exhibit 20                                                      327
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1                    London, England; May 12, 2022

2                                 2:36 p.m.

3                                 ---o0o---

4                   THE VIDEOGRAPHER:     Okay.     We're on the

5      record.     It's 2:36 p.m., the time in London, on          02:36:47

6      May 12th, 2022.     This is the deposition of

7      Simon Cross, Volume II.

8                   We're here in the matter of In Re:

9      Facebook, Inc. Consumer Privacy User Profile

10     Litigation.                                                 02:37:00

11                  I'm John Macdonell, the videographer with

12     Veritext.     Before the reporter swears the witness,

13     would counsel please identify themselves, beginning

14     with the noticing attorney, please.

15                  MR. LOESER:     Good morning.     This is      02:37:16

16     Derek Loeser from Keller Rohrback, and with me is

17     Adele Daniel and Cari Laufenberg, also from

18     Keller Rohrback.

19                  MR. BLUME:     Rob Blume with Gibson Dunn on

20     behalf of Facebook.        And with me is Ian Chen,         02:37:28

21     client representative, as well, as Phuntso Wangdra,

22     Hannah Regan-Smith, Colin Davis.           And I believe

23     that's all at the moment.

24                  SPECIAL MASTER GARRIE:        And you have

25     Special Master Garrie as a representative of the            02:37:45

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1      court.                                                     02:37:47

2                Good morning, Counsel Chen.        Good

3      morning, Counsel Davis.

4                It's been a while since I've seen you,

5      Counsel Davis.                                             02:37:53

6                I will turn it over to the parties

7      without further adieu.

8                THE COURT REPORTER:       At this time, I will

9      ask counsel to agree on the record that there is no

10     objection to this deposition officer administering         02:38:01

11     a binding oath to the deponent via remote

12     videoconference, starting with the noticing

13     attorney, please.

14               MR. LOESER:     No objection.     Thank you.

15               MR. BLUME:     No objection from Facebook.       02:38:18

16               THE COURT REPORTER:       Mr. Cross, if you

17     could raise your right hand for me, please.

18               THE DEPONENT:     (Complies.)

19               THE COURT REPORTER:       You do solemnly

20     state, under penalty of perjury, that the testimony        02:38:19

21     you are about to give in this deposition shall be

22     the truth, the whole truth and nothing but the

23     truth?

24               THE DEPONENT:     I do.

25     /////                                                      02:38:35

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1                           SIMON CROSS,,                        02:38:35

2      having been re-administered an oath, was examined

3      and testified as follows:

4

5                        EXAMINATION(resumed)                    02:38:36

6      BY MR. LOESER:

7           Q.   Good afternoon, Mr. Cross.

8                Derek Loeser, as you know, from

9      Keller Rohrback and -- and good morning to me.

10               I -- just a couple of questions before we       02:38:48

11     dive back into where we were.      Your counsel has

12     provided us with the notes that -- that you

13     identified on Monday.

14               Do you have any additional notes that

15     you'll be using for your testimony today?                 02:38:59

16          A.   No.

17          Q.   And did you bring any materials with you,

18     other than notes, for the purpose of this

19     deposition today?

20          A.   Nope.                                           02:39:10

21          Q.   And did you review any other documents,

22     other than those that you identified or indicated

23     you reviewed on Monday?

24          A.   Yes.    There were a number of documents

25     that I understand you sent over to us and I -- I          02:39:22

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1      reviewed as many of them as I could.                         02:39:26

2            Q.     Okay.   And that's the same set that -- I

3      didn't send any new ones so those are the same

4      documents that -- that were provided in advance of

5      your testimony on Monday.                                    02:39:36

6                   So had you seen -- your review this time,

7      was that the first time you had seen some of those

8      documents?

9            A.     I think so, yeah.       Maybe I'll ask my --

10     my counsel to -- to confirm.                                 02:39:48

11                  MR. BLUME:    Yeah.     And -- and this is --

12     this is Mr. Blume.

13                  I actually think you did send an

14     additional set over, but we can check that.

15                  MR. LOESER:    Okay.     Well, we can talk      02:40:00

16     about that later because if we did; it's news to

17     us.   But that's okay, we'll figure that out.

18           Q.     (By Mr. Loeser)       All right.   Mr. Cross,

19     you'll recall on Monday we spent a good deal of

20     time with my questions about the reason Facebook             02:40:17

21     decided to whitelist certain apps from partners so

22     that those partners would be able to access

23     publicly deprecated permissions after Graph API

24     version 2 became operative.

25                  Do you -- do you recall those questions         02:40:30

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1      and -- and your testimony?                                02:40:31

2           A.   I recall the discussion, generally.

3           Q.   And you recall that -- that I

4      specifically asked about friend permissions, right?

5           A.   We had a number of discussions about            02:40:42

6      friend permissions, yes.

7           Q.   And I asked you to tell me all the

8      reasons that Facebook decided to allow certain apps

9      and partners to have access to friend permissions

10     after the transition to Graph API version 2, right?       02:40:51

11               Do you recall that?

12          A.   I recall a question of that nature.

13          Q.   Okay.   And you recall that you answered

14     that question?

15          A.   I recall answering a question of that           02:41:02

16     nature.

17          Q.   And at the end of the day -- and this --

18     and this is why I'm bringing this up -- you said

19     something -- and I just wanted to read to you what

20     you said and make sure I understand your testimony.       02:41:11

21               You explained that -- and I'm going to

22     quote here for -- for a minute.

23               "As I say, there are a number of

24     developers also whitelisted for continued access to

25     version 1 because of their use of other -- because        02:41:24

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1      of their -- because of them being affected by other            02:41:27

2      changes in the API between version 1 and

3      version 2."

4                      Do you recall that testimony?

5              A.      That sounds reasonable, yes.                   02:41:36

6              Q.      And -- and before moving on, I just want

7      to make sure I -- I understand what you meant by

8      that.        So I'll give it a try and you can tell me if

9      I've got it right.

10                     Some apps and partners were given              02:41:48

11     whitelist access to friend permissions.             And we

12     talked about the reasons for that.           And others were

13     given whitelist access to other permissions that

14     were being deprecated, right?

15             A.      Not necessarily other permissions that         02:42:02

16     were being deprecated.

17             Q.      Okay.   Explain -- explain what -- what

18     you mean there.

19             A.      There were some other features of

20     Graph API version 2, where API version 2 differed              02:42:17

21     from version 1.

22                     One of those changes, for example, was

23     the transition from canonical Facebook user IDs to

24     app-scoped user IDs.         A number of developers

25     had a -- had a challenge with that migration and               02:42:34

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1      needed extra time.                                        02:42:37

2           Q.     Okay.   And can you explain what -- what

3      canonical IDs are and -- and hashed?

4           A.     So when I say "canonical" Facebook user

5      ID, that's the -- the Facebook user ID that               02:42:50

6      uniquely represents a user in the Facebook

7      database.    And it's the -- the same user ID that's

8      used inside Facebook's internal systems and was the

9      API -- the user ID that would have been admitted in

10     the original version of the Facebook developer            02:43:11

11     platform.

12                 In version 2, there was a transition from

13     admitting canonical user IDs to committing -- to

14     admitting app-scoped user IDs.      The precise nature

15     in which that transition occurred is -- is -- is          02:43:28

16     relatively complicated.     I can go into in -- if you

17     need to.

18                 But in simple terms, where in version 2

19     we might admit a user ID which was unique between

20     the specific user and the specific application,           02:43:47

21     that was making the API call.

22          Q.     Okay.   And what was the purpose of that

23     change?

24          A.     The purpose of that change was to make it

25     harder for developers to aggregate information            02:44:00

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1      across multiple Facebook application IDs and make         02:44:08

2      it easier where user IDs had been admitted to

3      identify which application they had been admitted

4      by.

5            Q.   Okay.   And why did Facebook want to make      02:44:21

6      that harder?

7                 Why did Facebook want to make it harder

8      to aggregate ID information?

9            A.   My understanding is that there were a

10     number of concerns about applications being able          02:44:36

11     to, for example,

12                    for example, and the migration to

13     app-scoped user IDs made that harder.       So that's

14     one example.

15           Q.   And were privacy concerns -- Facebook          02:45:05

16     user privacy concerns another reason for that

17     change?

18           A.   One of the advantages of app-scoped user

19     IDs were admitted is that you could understand

20     which application had admitted them, and that might       02:45:21

21     make it easier to track if information was being

22     misused.

23           Q.   And was misuse of information, based upon

24     the aggregation of user IDs, a problem that

25     Facebook had identified with Graph API version 1?         02:45:38

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1            A.    One of the --                                 02:45:45

2                  MR. BLUME:   Sorry.     I missed my mute

3      button.

4                  I just object to scope.

5                  THE DEPONENT:     Yeah, I'm not aware of      02:45:56

6      exactly what the -- the company's position on that

7      is.

8                  From a personal capacity, I recall that

9      the aggregation of user data or cross-applications

10     being a concern that was raised at the time.              02:46:12

11           Q.    (By Mr. Loeser)     One last thing to make

12     clear from your testimony on Monday.

13                 I asked you -- and we had a obviously

14     lengthy discussion about whitelisting as a means of

15     providing access to publicly deprecated                   02:46:26

16     permissions, right?

17           A.    We had a conversation about permissions

18     for sure.

19           Q.    And you'll also recall that I asked you

20     about private APIs with partners.                         02:46:35

21                 Do you recall that?

22           A.    We had a number of discussions about

23     private APIs.

24           Q.    Okay.   And private APIs are APIs that are

25     made available to certain partners, but are not           02:46:46

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1      publicly available; is that right?                        02:46:49

2           A.   I think a reasonable description of a

3      private API is an API that's not available to -- to

4      all developers and only available to some.

5           Q.   And -- and some of the partners -- some         02:47:01

6      of Facebook's partners, prior to the transition to

7      Graph API version 2, already had private APIs with

8      Facebook; is that right?

9           A.   There are a number of partners that had

10     built experiences that would only be possible if          02:47:18

11     they had been granted access to -- to private APIs.

12          Q.   So your answer is "yes"?

13          A.   I -- I think it's -- there -- there were

14     entities -- third parties that had built

15     applications that re- -- would -- would have              02:47:39

16     required access to private APIs.

17          Q.   And -- and I don't mean to belabor the

18     point, but I'm trying to get to a "yes."

19               So I think you just answered

20     affirmatively.   Am I interpreting your question --       02:47:48

21     your answer correctly?

22          A.   Ask your question again so I can make

23     sure I am like -- I want to make sure I -- I --

24     I -- when I give a yes, I want to make sure I fully

25     agree with what you're -- you're asking me about.         02:48:00

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1           Q.   Sure.                                           02:48:02

2                I asked you, some of Facebook's partners,

3      prior to the transition to Graph API version 2,

4      already had private APIs with Facebook; is that

5      right?                                                    02:48:12

6           A.   That's right.

7           Q.   However, some partners that entered into

8      or were provided access to private APIs, after the

9      transition to Graph API version 2, did not

10     previously have access to private APIs, right?            02:48:24

11               MR. BLUME:   Objection.       Scope.

12               THE DEPONENT:     Yeah.     I -- I'm not sure

13     I -- how -- how to answer that -- how to answer

14     that question.

15               It's unclear as to the exact form of            02:48:39

16     scope you mean.

17               Can you -- can you ask it again so I can

18     try and understand.

19          Q.   (By Mr. Loeser)     Sure.     Sure.

20               I'm just trying to understand how private       02:48:51

21     APIs were used.

22               So you had some partners that already had

23     them before the transition.     And you had some

24     partners that, for the first time with the

25     transition, were provided access to private APIs,         02:48:59

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1      right?                                                    02:49:03

2           A.   One of the challenges in answering the --

3      the question is that part of the transition from

4      version 1 to version 2 is when something is

5      publicly deprecated it becomes -- you might               02:49:16

6      consider that to be a private API.

7                And in order to continue accessing --

8      accessing that feature for some time, they would be

9      added to a whitelist that would give them access to

10     what would then be considered a private API.              02:49:36

11          Q.   Okay.   And that's exactly what I'm trying

12     to make sure the record is clear on.

13               So there were some partners that had

14     access to friend permissions, for example, under a

15     Graph API version 1 through the -- the permissions        02:49:51

16     that were publicly available, right?

17          A.   That's correct.

18          Q.   And then in the transition, those

19     publicly available -- publicly available

20     permissions were deprecated.      And in order for them   02:50:02

21     to continue having access to friend permissions,

22     they were able to obtain that access through --

23     through private APIs after the transition; is that

24     right?

25          A.   To be -- to be clear, there's a                 02:50:19

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1      difference between private API and permissions            02:50:21

2      different -- slightly different concepts.

3                So in -- in the case that if an app

4      wanted to continue to have access to a permission

5      that had been publicly deprecated from -- or              02:50:39

6      publicly removed from most other applications in

7      order to continue accessing data under that

8      permission or requesting that permission from

9      users, after some time it would have had to be on

10     the whitelist.                                            02:50:58

11          Q.   Okay.     And so when you use the phrase

12     "whitelist," now, you're -- you're -- you're

13     referring to whitelist via a private API as well,

14     right?

15          A.   No.     I'm referring in this case in -- in     02:51:10

16     my definition of whitelisting -- my use of

17     whitelisting in this case refers to an application

18     being added to a whitelist in the form of a

19     capability or some other internal gating system.

20          Q.   Okay.     So if you were going to create a      02:51:28

21     list of all of the partners -- Facebook partners

22     that had private APIs, would you consider all of

23     the partners who obtained access to publicly

24     deprecated permissions as having been whitelisted?

25          A.   In order to access publicly deprecated          02:51:52

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1      APIs or permissions, once they had been publicly            02:51:55

2      deprecated, a developer would need to be on a

3      whitelist.

4           Q.      And -- and I don't want you to repeat

5      your earlier testimony.        I just want you to confirm   02:52:10

6      that you have told me all the reasons that Facebook

7      decided to allow certain partners to obtain friend

8      data after the transition to Graph API version 2,

9      via private APIs.

10          A.      Sorry.     Can you just repeat the question    02:52:24

11     again.

12          Q.      Sure.

13                  I just want to make sure the record's

14     clear.     I asked you a lot of questions about the

15     reasons why Facebook decided to continue allowing           02:52:30

16     access to deprecated permissions, including friend

17     sharing.

18                  And -- and now we've established that one

19     of the ways that partners obtained access to

20     previously publicly available permissions was               02:52:45

21     through private APIs, right?

22          A.      No.     The way that the developers'

23     applications would have retained access to

24     previously publicly available permissions would

25     have been to be on a whitelist.                             02:53:03

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1           Q.      Okay.    And those -- and some of those            02:53:05

2      partners obtained those permissions via private

3      APIs, right?

4           A.      Developers obtained permissions from

5      users.    Users get the ability to grant permissions            02:53:16

6      to an app.

7           Q.      Right.

8                   Well, frequently Facebook refers to

9      permissions as the -- the access to certain types

10     of information made available by Facebook to third              02:53:28

11     parties, right?

12          A.      The way permissions were --

13                  (Simultaneously speaking.)

14          Q.      (By Mr. Loeser)     The friend permissions.

15                  Yeah, I understand, but...                         02:53:37

16          A.      So friend permi- -- permissions are a

17     concept in the Facebook developer platform.               And

18     the way that permissions work is that users grant

19     those permissions to applications.          Face- --

20     Facebook does not grant those permissions to                    02:53:48

21     applications on a user basis.         Users grant those

22     permissions.

23          Q.      Facebook makes available -- it's up to

24     Facebook what APIs are available to third parties,

25     right?                                                          02:54:00

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1                  Before the third party can ask for the        02:54:00

2      permission from the user, Facebook decides what

3      APIs are potentially available to the developer,

4      right?

5           A.     Facebook builds the -- the discussion in      02:54:11

6      this matter is that Facebook developer platform is

7      built by Facebook and, therefore, Facebook would

8      decide how that platform functioned.

9           Q.     Okay.     And, again, I'm just trying to

10     make sure the record is complete on the reasons why       02:54:23

11     Facebook provided access to publicly deprecated

12     permissions to partners.

13                 You understand that, right?

14          A.     I understand.

15          Q.     And we're having a struggle -- sorry.         02:54:34

16                 Go ahead.

17          A.     No, go.

18          Q.     We're having a bit of a struggle over how

19     to properly use the phrase "private APIs" in a

20     sentence.     And -- and I just want to make sure that    02:54:44

21     with respect to private APIs, you have told me all

22     the reasons why a private API would be made

23     available to any Facebook partner in the

24     transition.

25          A.     I'm not -- the -- the question -- the --      02:55:05

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1      my recollection of the question you asked me              02:55:08

2      previously was around the reasons for apps to

3      access the friend permissions after the friend

4      permissions had been deprecated publicly.

5                   And my understanding, having read many       02:55:23

6      documents on this topic and spoken to the people

7      involved at the time, and my own recollection, is

8      that nobody has been able to explain to me any

9      other reason why an app would have been given an

10     extension to request a friend permissions.                02:55:46

11          Q.      Just for a minute I'm -- I'm going to

12     look at your notes.        And, again, your -- your

13     counsel provided us with the notes that you

14     prepared and they've been marked as an exhibit.

15                  Did you personally draft these notes?        02:56:08

16          A.      Which exhibit are we referring to

17     specifically?

18          Q.      Exhibit 335.

19          A.      Yeah, I personally drafted these notes.

20          Q.      And one of the topics in your notes, on      02:56:30

21     the first page you have "Evolution of platform

22     timeline."

23                  Do you see that?

24          A.      I see that.

25          Q.      And you refer to -- you have a bullet for    02:56:53

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1      "Granular permissions."                                     02:56:54

2                Do you see that?

3           A.   I do see that.

4           Q.   And so according to your notes, these

5      granular permissions started in 2010, correct?              02:57:01

6           A.   That's my understanding of when the

7      granular permissions were launched.

8           Q.   And so before granular permissions, did

9      app users -- or did apps get access to friend data

10     without needing to obtain authorization from the            02:57:17

11     user via the granular permissions?

12          A.   The way the original authentication model

13     worked was that a user still had to make a decision

14     to grant an app access to their information.          But

15     after doing so, the app had access to many of the           02:57:43

16     things that the Facebook user could have seen on

17     Facebook which may have included friends

18     information.

19          Q.   Okay.   And so what granular permissions

20     introduced was the requirement that the -- that the         02:57:58

21     app request express permission for the different

22     types of data that the app could access from the

23     user, including friend data, right?

24          A.   Granular permissions was -- was seen as a

25     significant step forward in privacy by requiring            02:58:15

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1      developers to specify which subset of a user's              02:58:20

2      Facebook information the user would grant to the

3      application.

4             Q.   Okay.   And, again, so the record is

5      clear, prior to the introduction of granular                02:58:33

6      permissions, apps did not have to ask users for

7      express permission to access friend data, correct?

8             A.   Apps had to access -- ask users for

9      express permission to access any of the user or

10     their friends' information.                                 02:58:51

11                 So I want to be super clear.      That is

12     always and always was a user opt-in step.

13            Q.   However, prior to granular permissions,

14     there was not a requirement for the app to ask

15     expressly for permissions to access friend data, in         02:59:05

16     particular, right?

17            A.   There was not a permission model in place

18     at that time that required an app developer to

19     explicitly request access to friend data.

20            Q.   If you look at the next bullet in your          02:59:24

21     notes you state, "Facebook's

22     revealed that each                              requested

23     in a                                resulted in a

24     roughly                                           ."

25                 Can you -- did I read that correctly?           02:59:40

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1           A.   I think you read that correctly, yeah.           02:59:42

2           Q.   Okay.     Can you explain what that means?

3           A.   So in the transition to granular

4      permissions, developers were required to request

5      specific permissions from users when authorizing           03:00:00

6      their application.     And developers had a number of

7      permissions to choose from or to select from.

8                And this quote is taken from a

9      document -- an internal document that -- I think --

10     potentially an external document.       I don't recall     03:00:19

11     the source of this quote -- that directionally

12     means that the more permissions that an app

13     requested, the fewer people, on average, would

14     authorize the application in the granular data

15     permissions dialogue.                                      03:00:37

16          Q.   And so -- so when users are asked

17     specifically by an app for permission to obtain

18     particular information,                of the time,

19     according to this source, the user said no?

20          A.   No, that's not what it -- it means.              03:00:59

21               Best illustrated with an example for

22     clarity, I think.

23               Let's imagine an application called

24     Simon's Food app.     And Simon's Food app would like

25     to access -- would like a user to use it.         And as   03:01:19

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1      part of that, it would like access to some of that        03:01:25

2      user's information.

3                   In -- in this hypothetical example, if

4      the app requested, let's say, two permissions from

5      the user, then the conversion rate, i.e., the             03:01:42

6      percentage of people who were asked for permission

7      and granted it, might be 70 percent.

8                   On average, if the app asked for three

9      permissions instead of two, the conversion rate,

10     again, on average, might be 67 percent.                   03:01:59

11             Q.   Okay.   Understood.

12                  And so are there -- is there variation,

13     depending upon what specific permission is being

14     requested?

15             A.   I haven't prepared a company response to     03:02:18

16     that.

17                  From a personal recollection level, I can

18     recall seeing analysis that analyzed conversion

19     rate by permission, based on different types of

20     permission.                                               03:02:37

21             Q.   And have you seen an analysis of the

22     conversion rate when the permission being requested

23     is friend permission?

24             A.   Again, on -- on a personal capacity, I --

25     I don't recall the details of -- of what that             03:02:50

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1      analysis was.   I wouldn't want to speculate what it      03:02:56

2      is from my memory.     Like that -- that would have

3      been a document that I haven't seen for many years.

4           Q.   And -- and does Facebook believe that,

5      depending upon on how the permission is phrased,          03:03:07

6      meaning what words are used, the conversion rate

7      would be affected?

8                MR. BLUME:     Objection.    Scope.

9                THE DEPONENT:     I haven't prepared a -- a

10     company answer on that.     And I -- I haven't            03:03:23

11     reviewed documents that -- in preparation for this

12     that would allow me -- allow me to answer that

13     question on behalf of the company.

14               Again, on a -- on a personal level, I

15     can't -- I can't recall analysis about the --             03:03:39

16     the -- the wording or the framing of the -- the

17     permissions in the dialogue.

18               So I -- I don't -- I don't recall seeing

19     analysis like that.     It's possible it was done, but

20     I -- I wouldn't want to confirm something I don't         03:03:58

21     recall specifically.

22          Q.   (By Mr. Loeser)     Now, just the last

23     question on your notes here.

24               If you turn to the next page, there's a

25     heading "Wind-down timeline."                             03:04:13

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1                   And can you read the second bullet that      03:04:17

2      you have under that heading?

3              A.   "There was an effort from Oct 2019 to

4      Jan 2020 to ensure all access was removed for

5      integrated partners and other                             03:04:31

6      previously-whitelisted apps."

7              Q.   And -- and what was the -- what prompted

8      this effort?

9              A.   I actually think I might be -- I may have

10     been confused when I -- when I wrote this.                03:04:48

11                  I -- I don't -- I -- I don't think there

12     was an effort from October 29 [sic] to January 2020

13     to ensure all access was removed for integration

14     partners and other previously whitelisted apps.

15                  So I think I -- I was mistaken with this     03:05:03

16     bullet.

17             Q.   And are you mistaken -- mistaken about

18     the time frame or you believe there never was an

19     effort to remove -- to remove access for

20     integration partners and previously whitelisted           03:05:18

21     apps?

22             A.   There was an effort to ensure all access

23     was removed for integration partners and other

24     previously whitelisted apps.      My understanding is

25     that process happened in 2018.                            03:05:31

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1              Q.   And when did that process complete?                 03:05:35

2              A.   The -- the -- I think -- my understanding

3      is that the -- the majority of that process --

4      the -- the bulk of that process completed in

5      June 2018.                                                       03:05:51

6              Q.   And was there some part of that process

7      that continued after that?

8              A.   There's a developer blog post on July --

9      in July 2019, which refers to another few

10     applications that were later discovered and then                 03:06:15

11     removed.

12             Q.   So you educated yourself on this topic

13     through a publicly available developer's post; is

14     that what you're saying?

15             A.   That's one of the ways I educated                   03:06:30

16     yourself.

17             Q.   Okay.   And there were other ways as well,

18     right?

19             A.   As we discussed, I have spoken to many of

20     the people involved at the time and -- and read                  03:06:38

21     many internal documents on the matter.

22                  MR. LOESER:   Okay.   And -- all right.

23     Well, we can move on.      Thank you for that.          And --

24     and start going through some more exhibits.

25     /////

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1                MR. LOESER:     We're going to put up what        03:06:55

2      has been previously marked as Exhibit 5.         It's tab

3      11 in our binder, Mr. Cross.

4           Q.   (By Mr. Loeser)     Let me know when you see

5      the document.                                               03:07:42

6           A.   Would you mind -- I can see the document,

7      but it's -- it's very small.

8                Would you -- would you -- would you mind

9      blowing it up.

10               (Discussion off the stenographic record.)         03:08:01

11               MR. LOESER:     Okay.

12               THE DEPONENT:     Thank you, Adele.

13          Q.   (By Mr. Loeser)     You should be looking at

14     what's previously been marked as Exhibit 5, which

15     is an email -- I'm not going to try and say this            03:08:14

16     name -- let's just -- can you say that name of the

17     author?

18          A.   Constantin Koukouzelis.

19          Q.   Okay.   We'll call him CK.       Not to be

20     confused with -- with KP, if that's okay with you.          03:08:26

21          A.   That's fine with me.

22          Q.   Is that okay?

23               Okay.   And this is an email from CK to

24     Vishu Gupta and Doug Purdy, George Lee,

25     Vladimir Fedorov, and the subject is "Re: platform          03:08:41

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1      3.0 2nd rev."                                              03:08:47

2                   Do you see that?

3             A.    I see that.

4             Q.    And this is dated August 16th, 2013.

5                   Do you see that?                              03:08:59

6             A.    I see that.

7             Q.    And the attachment to this doc indicates

8      "Platform 3.0.docx."

9                   Do you see that?

10            A.    I see that.                                   03:09:11

11            Q.    So CK is circulating a document that is a

12     platform 3.0 -- it looks like Word file, right?

13            A.    Docx typically refers to a Word file,

14     yes.

15                  MR. LOESER:    Okay.   We can put that        03:09:46

16     aside, and we're going to look at the attachment to

17     that document which has previously been marked

18     Exhibit 6.

19                  MR. BLUME:    Derek, are these marked as

20     exhibits to Mr. Cross's deposition numbers?                03:10:12

21                  I'm -- I'm just not seeing them in the

22     Veritext Exhibit Share.

23                  MR. LOESER:    These are -- we're just

24     numbering in sequence through the case.           And so

25     this was the -- just Exhibit 6.         It was in the      03:10:26

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1      Chang deposition, but I don't think that has              03:10:32

2      anything to do with how they're being marked.

3                MR. BLUME:    Okay.     And so it will go in

4      as the same exhibit number here.

5                MR. LOESER:    Right.                           03:10:42

6           Q.   (By Mr. Loeser)       So Mr. Cross, can you

7      see Exhibit 6 yet?

8           A.   Not yet.

9           Q.   And while we're waiting for that to load,

10     you're not communicating with anyone via text or          03:11:04

11     email, or anything, during the course of this

12     deposition, are you?

13          A.   I am not.

14          Q.   Okay.   Thank you.

15               All right.    So now do you see Exhibit 6?      03:11:17

16          A.   I do.

17          Q.   And this -- does this appear to be a Word

18     document with the heading "Platform 3.0"?

19          A.   It does.

20          Q.   Okay.   And I'll just state for the             03:11:26

21     record, this is the document that was attached to

22     the prior exhibit email that we identified.

23               And what is platform 3.0?

24          A.   Platform 3.0 refers -- is one of the

25     internal working titles for the set of changes that       03:11:47

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1      were ultimately announced on April the 30th, 2014.             03:11:50

2           Q.     And can you read the third paragraph

3      of -- of this -- this document for the record?

4           A.     I can.

5                  "After a lot of consideration we've" --            03:12:07

6      and before I do, I assume it will be marked in the

7      record that I'm reading something rather than

8      saying something.

9                  Can I just get a nod from the court

10     reporter?                                                      03:12:21

11                 THE COURT REPORTER:         (Nod.)

12          Q.     (By Mr. Loeser)      Yes.     It'll say "witness

13     reading."

14          A.     Thank you.   Okay.     Good.     Thank you.

15                 "After a lot of consideration we've                03:12:28

16     decided to make some changes to the Facebook

17     platform to act on this feedback.           This is not a

18     decision we've taken lightly and some of these

19     changes will be painful for our developers in the

20     short term.    However, in the process of providing            03:12:40

21     users with the control they want" or need --

22     "/ need we are working towards a shared goal of

23     greater engagement and long term health of the

24     ecosystem that will mutually benefit both users and

25     our developers."                                               03:12:53

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1           Q.   And -- and Mr. Cross, is that an accurate       03:12:56

2      statement of the reasons for the introduction of

3      platform 3.0?

4           A.   This is a document, as I understand it,

5      prepared nearly -- nearly nine months before the          03:13:09

6      changes were ultimately announced.     I don't think

7      I -- it's appropriate to confirm that this is an

8      accurate representation of the reasons.

9           Q.   Okay.   And was it Facebook's position

10     and -- well, let me read one part of this and you         03:13:36

11     tell me if this is, in fact, what Facebook's

12     motivation was.

13               It says "However, in the process of

14     providing users with the control they want / need

15     we are working towards a shared goal of greater           03:13:52

16     engagement and long term health of the ecosystem

17     that will mutually benefit both users and our

18     developers."

19               What is the reference to "providing users

20     with the control they want"?                              03:14:03

21               Do you know what that refers to and how

22     the changes provided that control?

23          A.   My understanding --

24               MR. BLUME:   Where -- I'm sorry.      Is

25     that -- I'm not seeing that on my screen, what            03:14:14

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1      you're reading, Derek.                                     03:14:17

2                MR. LOESER:     It was in the paragraph that

3      Mr. Cross read.   Third paragraph.

4                MR. BLUME:     Okay.     Thank you.

5                THE DEPONENT:     My understanding is that       03:14:28

6      that refers to the changes that were made to the

7      Facebook platform login dialogue as -- as of

8      April 30th, 2015, for new apps that allowed users

9      to decline to grant certain permissions that the

10     app had requested from them.                               03:14:51

11          Q.   (By Mr. Loeser)        Okay.   Let's go to the

12     next page of this memo.     There's a heading

13     "Breaking Changes."

14               And before getting into the substance of

15     this, can you explain what breaking changes are?           03:15:11

16          A.   Typically, breaking changes means when

17     some behavior of the platform is changed that would

18     require developers to write code to prevent broken

19     experiences or integrations.

20          Q.   And then underneath the "Breaking                03:15:36

21     Changes" heading, you see a subheading, "Deprecate

22     friend permissions."

23               Do you see that?

24          A.   I do see that.

25          Q.   And could you read the paragraph under           03:15:45

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1      that heading, for the record.                             03:15:46

2                And I'll note so -- so the court reporter

3      doesn't even have to, that you are going to now be

4      reading a paragraph that is in this presentation

5      prepared by Facebook.                                     03:15:55

6           A.   Thank you.

7                "We are removing the ability for users to

8      share data that belongs to their friends, who have

9      not installed the app.   Our philosophy is that

10     users should be empowered to share their data with        03:16:04

11     an app when they have expressed intent.       Users

12     should not be able to act as a proxy to access

13     personal information about friends that have not

14     expressed any intent in using the app.      Apps can

15     still power great, meaningful social experiences          03:16:19

16     for their users and prompt a user to invite their

17     friends to participate in the experience.       Once a

18     friend has installed the app, they can determine

19     how much information they are willing to share at

20     their discretion."                                        03:16:33

21          Q.   Thank you.

22               So based upon this explanation, fair to

23     say that the idea behind removing friend

24     permissions was to make sure that users are

25     "empowered to share their data with an app when           03:16:44

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1      they have expressed intent," right?                            03:16:47

2           A.    That was one of the -- that was seen at

3      the time to be one of the -- the reasons for

4      deprecating the friend permissions, yes.

5           Q.    And Facebook decided that "users should             03:17:06

6      not be able to act as a proxy to access personal

7      information about friends that have not expressed

8      any intent in using the app," right?

9           A.    I think it's important to remind

10     ourselves of the context of this document.                     03:17:22

11                This document is being written by a

12     product manager as a -- in my understanding, a

13     potential narrative to explain some of the changes,

14     which at that time were being proposed.

15          Q.    And, sir, as we saw in this document, was           03:17:50

16     it not the case that Facebook decided that users

17     should not be able to act as a proxy to access

18     personal information about friends that have not

19     expressed an intent in using the app?

20          A.    This is not Facebook's language.          This is   03:18:05

21     language written by a product manager on the team,

22     who was involved in preparing and planning these

23     changes.

24          Q.    So are you saying that this product

25     manager was intending to misrepresent the reason               03:18:21

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1      for the changes?                                           03:18:23

2                THE COURT REPORTER:      Wait, Mr. Blume.    I

3      didn't hear you.

4                MR. BLUME:   Sorry.     Objection to form.

5                THE DEPONENT:     I'm not suggesting that        03:18:33

6      this product manager was -- was misrepresenting

7      Facebook's opinion, just that this represents a --

8      the view, as held by that product's manager at the

9      time, as they wrote this document.

10          Q.   (By Mr. Loeser)     And did Facebook have a      03:18:50

11     different view?

12               MR. BLUME:   Objection.      Scope.

13               THE DEPONENT:     It's hard for me to --

14     yeah -- answer that, like does Facebook -- yeah, at

15     the Facebook level.                                        03:19:05

16               My personal understanding is that this is

17     broadly aligned with the direction as evidenced by

18     the friend permissions being deprecated some nine

19     months later.

20          Q.   (By Mr. Loeser)     Okay.    And so the way to   03:19:20

21     stop users from -- from providing access to their

22     friend's personal information to apps the friends

23     did not want to share was to deprecate friend

24     permissions, right?

25          A.   It was seen that deprecating the friend          03:19:34

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1      permissions would give users -- would -- would give       03:19:36

2      people -- would make it less likely that users

3      would share friends information -- friends content

4      with a third-party application.

5           Q.   Okay.    If we can move down to the heading     03:20:00

6      on the next page that says "Deprecate read_stream

7      permissions."

8                And to give you a break on your reading,

9      I'll read this one myself and -- and note that I'm

10     reading from this document.                               03:20:21

11               Under the heading "Deprecate read_stream

12     permission," this document states "We will be

13     deprecating the ability for developers to request

14     access to a users news feed.     This is an extremely

15                                                               03:20:34

16                       User's are often unclear how this

17     information is used and unaware of exactly how much

18     information they are releasing to apps.        There is

19     no good way to make this functionality work with

20     our enhanced focus on user trust and we will be           03:20:48

21     removing it in the upcoming months."

22               Did I read that correctly?

23          A.   Yeah, I think you read that correctly.

24          Q.   And we talked a bit about read stream

25     permission, but -- but -- so the record is clear,         03:20:59

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1      what -- what is read stream permission?                     03:21:02

2           A.      The read stream permission allowed --

3      when a user granted it to an application, allowed

4      an app to read that user's newsfeed.

5           Q.      And this states that this is an                03:21:24

6      "extremely

7

8                   Does Facebook agree with that statement?

9                   MR. BLUME:   Objection.      Scope.

10                  THE DEPONENT:     I don't -- I don't feel      03:21:38

11     qualified to -- to give Facebook's position on it.

12                  My personal view is that it was an API

13     that allowed apps -- apps to access a user's

14     friends information, the posts and comments -- the

15     posts on their newsfeed and -- and that was                 03:21:59

16     considered similarly to the friend permissions we

17     discussed above.

18          Q.      (By Mr. Loeser)     And so in the transition

19     to platform 3.0, the decision was made by Facebook

20     to deprecate read permissions as well, right?               03:22:19

21          A.      My understanding is that the read stream

22     permission was not deprecated in version 2, and it

23     was instead gated by app review.

24          Q.      And that means that when an app wanted to

25     access the read stream permission, they asked               03:22:43

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1      Facebook if they could have access to that                    03:22:47

2      permission?

3           A.      The way app review worked was developers

4      had to request permission from Facebook to request

5      the permission from users.                                    03:22:59

6           Q.      And how does that provide the user with

7      information on how the read stream permission data

8      is used?

9                   MR. BLUME:   Objection.      Scope.

10                  THE DEPONENT:     Sorry.    Yeah.     I'm not    03:23:15

11     sure how to -- how to answer that question.

12                  How -- how does what provide the

13     information to the user?

14          Q.      (By Mr. Loeser)     Well, that -- the

15     gatekeeping.     Because this states that a concern           03:23:22

16     was users are often unclear how this information is

17     used, and I'm wondering how the solution Facebook

18     implemented satisfied that concern?

19                  MR. BLUME:   Objection.      Beyond the scope.

20                  THE DEPONENT:     I think -- again, like         03:23:40

21     what we're reading here is a product manager's view

22     at a time.     And Facebook's ultimate decision was

23     that the read stream would remain available behind

24     app review and the experience of granting read

25     stream in an application would remain unchanged.              03:24:03

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1           Q.      (By Mr. Loeser)     Okay.     So when this         03:24:06

2      developer says "There is no good way to make this

3      functionality work with our enhanced focus on user

4      trust," Facebook decided to, nonetheless, continue

5      to provide read stream permission, but with a --                03:24:16

6      with a gatekeeper added?

7                   MR. BLUME:   Objection.       Form.   And scope.

8                   THE DEPONENT:     Yeah.     Not with a -- a

9      gatekeeper, if we're referring to the specific

10     internal tool.                                                  03:24:34

11                  I got to go back to what my -- my

12     understanding of what was ultimately launched in

13     April 2014, is that permission remained technically

14     publicly available but was gated behind app review.

15                  That's -- that's -- that's my                      03:24:55

16     understanding from -- as what happened.

17                  In a personal capacity, my understanding

18     is that -- actually, I -- I don't want to

19     speculate.     Because like I -- I'm not -- I -- yeah,

20     I don't want to speculate as to exactly how that                03:25:12

21     permission was subsequently granted to

22     applications.

23          Q.      (By Mr. Loeser)     Okay.     So even though

24     the developer that wrote this memo concluded "There

25     is no good way to make this functionality work with             03:25:26

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1      our enhanced focus on user trust," Facebook made             03:25:29

2      the decision to continue to allow use by the

3      developers of read stream permission, correct?

4           A.      No.   First of all, it's a product manager

5      writing this, not -- not a developer.           It's         03:25:44

6      important to clarify.

7                   And my -- my point is that the -- the

8      permission remained publicly available as it was

9      documented on the developer website in version 2,

10     but only approved applications could request that            03:25:58

11     permission from users.

12          Q.      And the product manager that wrote this

13     memo, according to the cover email, is CK, right?

14          A.      Constantin Koukouzelis, yes.        CK.

15          Q.      And is Constantin -- sorry.                     03:26:20

16                  Is Constantin still employed by Facebook?

17          A.      I do not know if Constantin is still

18     employed by Facebook.

19                  MR. LOESER:     Okay.   We can go to the next

20     exhibit, which has previously been marked                    03:26:44

21     Exhibit 7.

22                  THE DEPONENT:     Actually, I want -- while

23     we're there, I do want to add something.

24                  My understanding is that the read stream

25     permission was then deprecated in a subsequent               03:27:05

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1      version of the Graph API after version 2.                       03:27:10

2           Q.      (By Mr. Loeser)     And -- and when did that

3      occur, Mr. Cross?

4           A.      I don't have the date at hand.         But it

5      would have been publicly documented on the Facebook             03:27:26

6      developer website.

7           Q.      And is that something that just came to

8      your mind, or did you -- did you just read

9      something?

10                  How did you recall that?                           03:27:35

11          A.      I recalled it as we were talking.            You

12     didn't ask me specifically about what happened next

13     with read stream.     So I didn't consider it in my

14     answers at the time.

15                  But on balance, I think important to note          03:27:51

16     that that permission was removed very soon after

17     the launch of API version 2.

18          Q.      And -- and why did Facebook remove that

19     permission?

20          A.      My understanding is that very few apps,            03:28:09

21     if any, had met the criteria to be granted it.

22          Q.      And -- and why would that be?

23                  MR. BLUME:   Objection.      Scope.

24                  THE DEPONENT:     I can't specify exactly

25     why no applications met the criteria.                           03:28:33

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1           Q.      (By Mr. Loeser)     And Mr. Cross, didn't        03:28:45

2      user posts and user photos provide similar

3      information as read stream?

4           A.      No.

5           Q.      And why not?                                     03:29:00

6                   MR. BLUME:     Objection.    Scope.

7                   THE DEPONENT:     Why not or how not?

8                   Sorry, Rob, go -- I didn't hear your

9      objection.

10                  MR. BLUME:     Scope objection.                  03:29:11

11          Q.      (By Mr. Loeser)     Yeah.    How -- how not is

12     a better question.

13                  Thank you for posing it.

14          A.      The user -- I think the -- the two ones

15     you gave were user photos and user likes; is that             03:29:22

16     right?

17          Q.      User posts.

18          A.      User posts.

19                  User posts and user likes allowed an app,

20     with permission, to access the authenticating                 03:29:30

21     user's likes and their posts.

22                  Read stream allowed an application, if

23     granted, to access the authenticating user's

24     newsfeed, which is typically made up of posts,

25     videos, photos, et cetera, made by that user's                03:29:52

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1      friends or pages they have liked.                         03:29:58

2           Q.   Okay.    So back to our exhibit,

3      Exhibit 7 -- previously marked Exhibit 7.

4                Do you see that in front of you?

5           A.   I do.                                           03:30:12

6           Q.   And for the record, this is an email from

7      KP to Ime Archibong, Jackie Chang, with cc to

8      Chris Daniels and to yourself.

9                "Subject: Re: T0/Special Cases for P3

10     consideration," and attachment is noted, "All apps        03:30:30

11     with friend permissions.xlsx."

12               Do you see that?

13          A.   I do see that.

14          Q.   This is a string that goes on for a

15     couple of pages.                                          03:30:43

16               And why don't you take a minute just

17     to -- to review it.    I do have some questions that

18     walk through the string.     So it's worth having you

19     take a look for context.

20          A.   Yeah, of course.                                03:30:56

21               Would you mind popping it into the

22     Veritext system so I can scroll on my own?

23     Otherwise we can do it on the Zoom.       It just made

24     be more efficient.

25          Q.   It -- it should be there in the folder.         03:31:13

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1           A.    I'm looking at the marked exclamation --        03:31:14

2      bang bang -- marked exhibits folder, which is, I

3      think, where I'm supposed to be.         I don't see the

4      exhibit there.

5                 Maybe I'm supposed to be somewhere else?        03:31:24

6           Q.    Yeah.   Is there a Day 2 folder that

7      you're looking at?

8           A.    I don't see a Day 2 folder.

9                 MR. LOESER:     Why don't we go off the

10     record for a second.                                       03:31:33

11                THE VIDEOGRAPHER:     Okay.     We're off the

12     record.   It's 3:31 p.m.

13                (Recess taken.)

14                THE VIDEOGRAPHER:     We're back on the

15     record.   It's 3:46 p.m.                                   03:46:21

16          Q.    (By Mr. Loeser)     Mr. Cross, did you have

17     a chance to look through the email string that is

18     identified as Exhibit 7?

19          A.    I didn't look through it, no.

20                Let me -- let me do it now.                     03:46:39

21                I have it in the document now.

22          Q.    Okay.   And just to maybe orient you, the

23     string starts with an email from Jackie Chang on

24     August 21st, 2013, at the end of the string.

25          A.    Okay.   I've scanned through the document.      03:47:31

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1              Q.      Okay.   And so if you go back to the first   03:47:33

2      page of the document, there's a number of people

3      identified here.         One is KP, and we've talked a bit

4      about him.

5                      But -- but what his -- what was his          03:47:46

6      position, if you know, at this time at Facebook?

7              A.      I wouldn't want to give like a perfectly

8      authoritative answer.

9                      My understanding is he was a strategic

10     partner manager.                                             03:47:59

11             Q.      Okay.   And what -- and what about

12     Ime Archibong?

13             A.      Again, I don't want to be -- don't have

14     an authoritative answer to his job title at the

15     time.        But my understanding is he was the manager      03:48:09

16     of the strategic partnerships team.

17             Q.      Okay.   And Jackie Chang?

18             A.      Similarly, I'm sure I have the

19     authoritative answer, but my understanding is she

20     was a strategic partner manager on the strategic --          03:48:26

21     on the platform partnerships team.

22             Q.      And Chris Daniels?

23             A.      Chris Daniels, again, don't want to give

24     an authoritative answer.

25                     My recollection, though, is that he was      03:48:40

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1      the head of business development.                         03:48:41

2              Q.   Okay.   So now if we go to the -- the

3      beginning of the string, if you look at the email

4      that Jackie Chang wrote to Ime and Chris.

5                   Do you see that towards the bottom of the    03:48:58

6      string?

7              A.   I do.

8              Q.   And the -- the subject line isn't evident

9      on that.     But if you go up to the email above that

10     from Ime, the subject is "Re: T0/Special Cases for        03:49:12

11     P3 consideration."

12                  What is -- do you know what T0 refers to

13     here?

14             A.   T0 refers to some partner classification

15     that -- that seems to have been in use at the time.       03:49:29

16             Q.   Okay.   And having looked through this

17     email, this is a discussion of the changes to the

18     Facebook platform that would deprecate certain

19     APIs, including friend permissions; is that right?

20                  MR. DAVIS:   Objection.    Form.             03:49:53

21                  THE DEPONENT:   My understanding is this

22     is an email thread discussing potential impact of

23     the -- several changes to the API that were being

24     considered at the -- at the time of this email

25     being written.                                            03:50:12

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1           Q.   (By Mr. Loeser)     Okay.    And looking at          03:50:13

2      the Jackie Chang's message, at the beginning of

3      this thread, she states "Working with KP to further

4      synthesize P3 impact by breaking out T0 partners

5      with non-standard agreements and specific                      03:50:26

6      categories of impact that we should address.           KP is

7      working on the pulling the same analysis of the

8      friend data, but we're also working in parallel to

9      parse out key partnerships/scenarios that we should

10     be solving for."                                               03:50:38

11               Do you see that?

12          A.   I see that.

13          Q.   So what Jackie Chang is sorting out here

14     is, among other things, which partners would lose

15     access to friend permissions and which ones would              03:50:50

16     not, right?

17          A.   Jackie Chang is not making any decisions

18     in this email.     What you see here is a conversation

19     between a number of people on the partnerships team

20     attempting to react to a set of potential changes              03:51:09

21     and how they might impact the partner ecosystem.

22          Q.   Okay.     And Jackie Chang is -- is helping

23     to develop a format for how to decide which

24     partners would have access to friend data, for

25     example, and which ones would not, right?                      03:51:28

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1                  MR. DAVIS:   Objection.      Form.                03:51:36

2                  THE DEPONENT:     This is a group of people

3      attempting to put together their -- their best

4      guess at a framework.       But there's nothing that

5      indicates that this was what was ultimately                   03:51:49

6      implemented.

7           Q.     (By Mr. Loeser)     Okay.    And -- by the

8      way, if you -- in this document, did you see that

9      link there, https, and then there's a long URL?

10          A.     I do.                                             03:52:06

11          Q.     Okay.   How -- how would that work?          If

12     someone sent you this email at Facebook, is -- is

13     that -- if there's a link in a document, it would

14     be something you could click on and you'd then see

15     the document?                                                 03:52:18

16          A.     My understanding is that this is a --

17     some form of online document system, yes.

18          Q.     So in -- in Ms. Chang's email to Ime and

19     Chris, she provides a -- some recommendations for

20     how to bucket different partners in this analysis;            03:52:41

21     is that right?

22          A.     It's hard to confirm what she -- what

23     she's doing here without seeing the original

24     document.

25                 She's referring to -- to tabs, for sure.          03:53:00

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1      But hard to know what -- what was on those tabs and       03:53:03

2      how that relates to what's in the email.

3           Q.     So to fully understand this document, you

4      would need the document that is hyperlinked in this

5      email; is that what you're saying?                        03:53:14

6                  MR. DAVIS:   Object to the form.

7                  THE DEPONENT:     There's references in the

8      email to information in -- in -- in a document,

9      which I don't have the ability to see as of now.

10          Q.     (By Mr. Loeser)     And would it help you     03:53:31

11     understand the context of this email, if you had

12     the ability to see that document?

13                 MR. DAVIS:   Object to the form.

14                 THE DEPONENT:     Potentially --

15     potentially.    It would depend on the contents of --     03:53:42

16     of the -- the document.       But it also depends on

17     the -- the question you're asking.

18          Q.     (By Mr. Loeser)     And do you recall

19     Ms. Chang being involved in this process of coming

20     up with a format to bucket different groups of            03:53:59

21     partners?

22          A.     Jackie Chang was on the partnerships

23     team, as was I.     And I, yes, recall that a number

24     of people were involved in attempting to assess the

25     proposed changes.                                         03:54:18

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1              Q.   And if you go to the first heading in --     03:54:21

2      in her email, under the hyperlink, it says "T0

3      Tab."

4                   And you're saying you don't recall what

5      category of partners would fall under the T0 tab?         03:54:34

6              A.   I don't recall what category of partners

7      would fall under -- under T0.

8              Q.   Okay.   Now, it looks like that under this

9      category, T0, there are three different

10     considerations that she -- that Jackie Chang              03:54:56

11     identifies.     The first is

12

13

14                  Can you explain what that means?

15             A.   I would be speculating as to -- as to        03:55:09

16     exactly what that meant.        So hard -- hard to --

17     hard to know.

18                  By "                             ," I

19     understand that to mean

20                                                               03:55:27

21             Q.   And then the next bullet is "Existing

22     integrations impacted."

23                  How did the proposed changes to the

24     platform impact existing integrations?

25             A.   Integrations would have been impacted by     03:55:48

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1      the proposed changes in a number of different ways,        03:55:49

2      depending on the precise purpose and design of the

3      integration.

4             Q.   Okay.   So it appears that when coming up

5      with this format, Facebook recognized that there           03:56:00

6      were existing integrations and they could be

7      impacted by the changes to the platform; is that a

8      fair read of that bullet?

9                  MR. DAVIS:     Object to the form.

10                 THE DEPONENT:     The -- there was             03:56:13

11     expectation at the time that the proposed changes

12     would impact some existing integrations.

13            Q.   (By Mr. Loeser)     And then the next bullet

14     is "Future integrations in planning."

15                 That would refer to integrations that had      03:56:30

16     not yet happened, but that Facebook was perhaps

17     considering doing in the future?

18            A.   I don't want to speculate as to exactly

19     what Jackie meant.       Maybe -- maybe -- maybe ask

20     her.    But -- so, yeah, I think maybe ask her.            03:56:46

21            Q.   Okay.   She'd probably be the best person

22     to ask about what she wrote in an email?

23            A.   I think she'd be the best person to ask

24     about what she wrote in an email.

25            Q.   If you look at the next -- next heading,       03:57:02

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1      it's "Risk Assessment Tab."       And the first item on       03:57:04

2      that list is                Potential partners/cases

3      that may cause

4                  And can you tell me, from Facebook's

5      perspective, what this refers to in the context of            03:57:17

6      a discussion of the introduction of platform 3?

7                  MR. DAVIS:     Object to the form.

8                  THE DEPONENT:     It's hard to answer that

9      from Facebook's perspective.          I can answer it from

10     a personal perspective.                                       03:57:37

11                 My understanding of that is that there

12     may have been a number of companies, developers

13     that, when impacted by these changes would --

14     which --

15                 (Brief interruption.)                             03:57:55

16                 THE DEPONENT:     -- potentially be publicly

17     vocal about the impact on their integration.

18            Q.   (By Mr. Loeser)     Okay.     And then let's

19     look at the next bullet.

20                 It says                                           03:58:09

21

22                       to fb.     Should

23                                                              to

24     fb."

25                 Did I read that correctly?                        03:58:24

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1           A.      I think you read that correctly, yeah.             03:58:25

2           Q.      And so based on this, it appears that

3




                  to Facebook, correct?

7                   MR. DAVIS:   Objection.      Form.    And scope.

8                   THE DEPONENT:     I wouldn't say that's

9      correct.     This is a document containing the

10     opinions and ideas of a specific partner manager                03:59:01

11     around nine months before the -- the changes

12     were -- were introduced.        This doesn't, I think,

13     reflect on ultimately how decisions were made.

14          Q.      (By Mr. Loeser)     What -- what is -- what

15     is strategic value?                                             03:59:19

16                  What is meant by that?

17          A.      I don't think I can answer what -- what

18     Jackie meant by strategic value in -- in her email.

19     I think that would be a question for her.

20          Q.      And -- and what does Facebook mean by              03:59:32

21     strategic value?

22          A.      I think strategic value could be

23     construed to mean many different things.            I don't

24     think this is specific -- Facebook does not have a

25     specific definition of what strategic value means.              03:59:46

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1           Q.      So Ms. Chang writes "Should




3      to fb."

4                   And so can you tell me, from Facebook's

5      perspective, what does it mean for a use case to be             03:59:59

6      of strategic value to Facebook?

7                   MR. DAVIS:   Objection.      Form.    And scope.

8                   THE DEPONENT:     I can't give a -- a

9      company answer to -- to -- to that question.

10                  As -- as I testified earlier, I think              04:00:10

11     there's a wide range of things that may be or could

12     be considered strategic value.

13          Q.      (By Mr. Loeser)     Okay.    So what are some

14     of the things that may make sense in -- in the

15     context of this email string?                                   04:00:21

16                  MR. DAVIS:   Objection.      Form.    And scope.

17                  THE DEPONENT:     I -- I can't answer on

18     behalf of the company relative -- relative to what

19     a partner manager was writing in an email nine

20     years ago.     So I think it's hard to answer that              04:00:38

21     question.

22          Q.      (By Mr. Loeser)     So Facebook does not

23     have an understanding of what it means for a

24     partner to have strategic value to Facebook?

25                  MR. DAVIS:   Objection.      Form.    And scope.   04:00:50

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1                  THE DEPONENT:     There's not a standard         04:00:53

2      company definition for what construes strategic

3      value.

4           Q.     (By Mr. Loeser)     And -- and you're not

5      prepared to testify as Facebook's -- as Facebook's           04:01:00

6      representative or designee to testify about what

7      strategic value means to Facebook in the context of

8      its partners?

9                  MR. DAVIS:   Objection.      Form.

10                 THE DEPONENT:     I could give some              04:01:19

11     examples, per se, that might be considered

12     valuable.    But I can't give you, as you're asking,

13     some kind of universal definition of what strategic

14     value is to -- to Facebook.

15          Q.     (By Mr. Loeser)     What are the examples        04:01:37

16     that you're thinking about?

17          A.     So one example might be a mobile device

18     integration to enable a Facebook-branded

19     application to exist on a mobile operating system.

20          Q.     Are there other examples?                        04:01:59

21          A.     There are probably other examples.           I

22     don't have any in my head immediately to mind.

23          Q.     So you're not prepared to testify, on

24     behalf of Facebook, as to other examples of what

25     strategic value means to Facebook in this context?           04:02:21

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1                MR. DAVIS:   Objection.       Form.   And scope.   04:02:24

2                THE DEPONENT:     Well, I mean, be prepared

3      to testify, I -- you know, I think I could give

4      some more examples -- another example if I had a

5      bit more time to think of one.                               04:02:39

6           Q.   (By Mr. Loeser)     What -- what does it

7      mean to drive value to Facebook -- for a partner to

8      drive value to Facebook?

9                MR. DAVIS:   Objection.       Form.   And scope.

10               THE DEPONENT:     In the context of -- can         04:02:51

11     you help me understand the context in which you're

12     asking.

13          Q.   (By Mr. Loeser)     Sure.

14               In the context of Jackie Chang's proposed

15     format for how to decide which partners should               04:02:59

16     receive continued access to friend permissions.

17               MR. DAVIS:   Same objections.

18               THE DEPONENT:     Yeah.     I think drive value

19     to Facebook -- I mean, I think if you want to

20     understand what she meant by that phrase in an               04:03:12

21     email, you should ask Jackie.

22          Q.   (By Mr. Loeser)     But Facebook doesn't

23     have an answer to that question?

24               MR. DAVIS:   Objection.       Form.   Scope.

25               THE DEPONENT:     As I've said, there's a          04:03:28

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1      number of different ways which might be considered          04:03:29

2      drive -- drive value in this -- in this context.

3              Q.   (By Mr. Loeser)     If you look at the next

4      bullet in Ms. Chang's email, she writes

5                                                                  04:03:52

6

                                       but may need some

8

9                   Do you understand what she's referring to

10     here?                                                       04:04:08

11             A.   I don't understand what she's -- well, I

12     don't understand -- I can't be sure what she's

13     referring to here.

14             Q.   What would it mean for a

15                                                          to     04:04:23

16     Facebook?

17                  MR. DAVIS:   Objection.      Form.    Scope.

18                  THE DEPONENT:     So hard to give a company

19     answer to that question.

20                  On a personal level, one example that          04:04:34

21     might come to mind is where a user might be able to

22     browse their newsfeed in another -- on another

23     platform or -- or app in another application,

24     which -- which meant the user would be browsing

25     their newsfeed in a non-Facebook app.                       04:05:05

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1           Q.     (By Mr. Loeser)     And that would be           04:05:10

2      competitive because that would then cause people to

3      use that other app instead of Facebook, or that

4      other platform instead of Facebook?

5           A.     It might allow a user to browse their           04:05:25

6      newsfeed in -- in an app that wasn't provided by

7      Facebook.

8           Q.     Now, let's turn to the beginning of the

9      email string and look at the email from KP.

10                 And it looks like that -- that the first        04:05:42

11     thing he does is he adds you to this conversation;

12     is that right?

13          A.     It looks like he added me to the

14     conversation, yes.

15          Q.     That's what the "+ Simon" means at the          04:05:52

16     top of this email?

17          A.     That would be my interpretation, yes.

18          Q.     Okay.   So if we look at the second

19     paragraph of KP's email, he writes, "A little

20     update from my end, and how I think we should tie           04:06:03

21     this to what Jackie has put together.          Simon

22     managed to pull a list of            apps that request

23     and make use of the friend_permissions.           You can

24     see all those apps in the attached.          The most

25     interesting data points having reviewed the top 250         04:06:23

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1      apps are the following (I took the liberty to make         04:06:25

2      a recommendation as well by the way - the numbers

3      in the brackets are the percentage of the apps

4      reviewed under this category)."

5                 Do you see that?                                04:06:38

6           A.    I do see that.

7           Q.    And so KP refers to a list that you put

8      together that had a full list of all the "apps that

9      request and make use of the friends_permissions";

10     is that right?                                             04:06:59

11          A.    I'm not sure it is a full list.        It's a

12     list of     -plus apps as -- well, as per -- as per

13     the copy here.     Again, I don't see the -- the

14     document attached.

15          Q.    Okay.    And so -- and 40K apps mean            04:07:14

16     40,000 -- more than 40,000 apps that allowed access

17     to friend permissions?

18          A.    Well, this mean 40,000 applications that

19     were in some way requesting friend permissions from

20     users.                                                     04:07:32

21          Q.    And attached to this document is a

22     spreadsheet that -- that, based on this email,

23     appears to be the list that you put together,

24     correct?

25          A.    That would make sense, yes.                     04:07:44

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1           Q.      And do you recall how you put together                 04:07:46

2      that list?

3           A.      I -- answering in a -- again, on -- on a

4      personal recollection here, I would have used one

5      of Facebook's internal data analysis tools to pull                  04:07:57

6      this list together.

7           Q.      Okay.   Which tool would you have used?

8           A.      My recollection is, I would have used

9      HiPal.

10          Q.      And is that a tool that could still be                 04:08:16

11     used to identify any app that had access to friend

12     permissions?

13                  MR. DAVIS:   Objection.      Form.

14                  THE DEPONENT:     I don't know.      I don't

15     think HiPal as a -- as a -- as a tool exists                        04:08:30

16     anymore.     And I don't know what information it

17     would grant access to today.

18          Q.      (By Mr. Loeser)     Let's -- I'm sorry.            I

19     didn't mean to interrupt you.

20                  Let's work down KP's email a little bit                04:08:44

21     and go to the -- the -- the No. 3 on here.                And

22     this -- am I reading this correctly, that -- that

23     KP went through the list and reviewed the top 250

24     apps and -- do you know what he means by the "top

25     250 apps"?                                                          04:09:08

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1                   MR. DAVIS:       Objection.    Form.                  04:09:10

2                   THE DEPONENT:       I do not know what he

3      means by the "top 250 apps."

4           Q.      (By Mr. Loeser)       And nonetheless, he

5      breaks the apps into -- it looks like nine                         04:09:19

6      different categories; is that right?

7           A.      I see nine bullets on this email, yeah.

8           Q.      And the third category is "Strategic."

9                   Do you see that?

10          A.      I see that.                                           04:09:37

11          Q.      And he writes "from              -- which I

12     assume is                  is that right?

13          A.      I would assume that would be

14          Q.      So from                                  to

15                                    and the likes.       Some of them   04:09:50

16     should obvious not have access such as

17                            etc.     In particular for Strategic

18     partners we should use the framework developed by

19     Jackie.     RECOMMENDATION:       User Jackie's framework."

20                  Do you see that?                                      04:10:11

21          A.      I do see that.

22          Q.      So does this suggest to you that KP

23     believed that the framework for sorting partners

24     into buckets or deciding whether they have

25     continued access to friend permissions, was the one                04:10:20

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1      that had been proposed by Jackie Chang?                       04:10:22

2                   MR. DAVIS:   Objection.      Form.

3                   THE DEPONENT:     I think the context,

4      again, of this email is important.          This is a -- a

5      team of people, nine months before changes were               04:10:32

6      announced, attempting to find some way to structure

7      their thinking.

8                   In this email, he's referring to,

9      you know, Jackie's framework.         But it's not clear

10     to me what Jackie's framework is.          And it's also      04:10:52

11     not clear whether or not any of this was ultimately

12     used.

13             Q.   (By Mr. Loeser)     Okay.    Well, let's go up

14     to the top of KP's email.

15                  He says "Thanks a lot, Jackie.         This is   04:11:05

16     great - I have included the additional info for the

17     strategic partners in the attached spreadsheet as

18     well (for completeness)."

19                  Do you see that?

20             A.   I do see that.                                   04:11:19

21             Q.   So he received a format from Jackie,

22     right?

23                  MR. DAVIS:   Objection.      Form.

24                  THE DEPONENT:     I mean, all I have to go

25     on to answer your questions is what -- what's on              04:11:28

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1      the screen here.                                            04:11:30

2                   I think Jackie or KP need to answer the

3      specifics.

4           Q.      (By Mr. Loeser)     And you can confirm, on

5      behalf of Facebook, that in this email KP                   04:11:41

6      recommended using Jackie's framework for the

7      category described in KP's email as strategic,

8      right?

9                   MR. DAVIS:     Objection.    Form.

10                  THE DEPONENT:     I can confirm this email     04:11:54

11     exists.     Sorry.     I can confirm that this document

12     exist.

13                  But like I can't confirm anything about

14     the precise nature of a framework or if that was

15     used in any way.                                            04:12:10

16          Q.      (By Mr. Loeser)     Right.

17                  And I asked you a slightly different

18     question.

19                  It was, can you confirm that KP

20     recommended the use of Jackie's framework?                  04:12:17

21                  MR. DAVIS:     Objection.    Form.

22                  THE DEPONENT:     Again, all I have to go on

23     is what's on the page here.        So I would be

24     confirming -- confirming what we all can read with

25     our own eyes.        I can't confirm, on behalf of          04:12:33

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1      Facebook, anything more than that.                          04:12:37

2           Q.      (By Mr. Loeser)     And so if Facebook

3      wanted to figure out if Jackie's framework was

4      used, what would Facebook do to identify the answer

5      to that?                                                    04:12:45

6                   MR. DAVIS:   Objection.      Form.

7                   THE DEPONENT:     You want me to stand by

8      what you mean by Jackie's framework was used.

9           Q.      (By Mr. Loeser)     Well, is there something

10     confusing about that statement?                             04:12:55

11          A.      Yes.

12          Q.      Okay.   Well, let's break it down.

13                  There's a framework discussed in this

14     email, right?

15          A.      There's the -- there's a framework             04:13:11

16     discussed.     But it's not clear to me exactly what

17     that framework is.

18          Q.      Okay.   But there is a framework that's

19     indicated in Jackie's email to Ime Archibong,

20     right?                                                      04:13:27

21                  MS. DAVIS:   Objection.      Form.

22                  THE DEPONENT:     She doesn't make a

23     reference to a framework.

24          Q.      (By Mr. Loeser)     If you go back to the

25     heading we were looking at, No. 3, KP refers to             04:13:52

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1      "Jackie's framework," right?                                04:13:56

2           A.      I can see the term here use -- "User

3      Jackie's framework."      I can read that on the page.

4           Q.      Okay.   And at the beginning of this

5      string is a -- is a description of how to bucket            04:14:06

6      different partners, based upon the types of

7      agreement they had, the impact and the risk

8      assessment; is that right?

9                   MR. DAVIS:   Objection.      Form.

10                  THE DEPONENT:     As we've discussed,          04:14:28

11     there's a set of bullets on this page and a link to

12     a document.     I'm not sure I construe that as a

13     framework.

14          Q.      (By Mr. Loeser)     Okay.    It appears that

15     KP referred to it as a framework, right?                    04:14:39

16          A.      When he's referring to Jackie's

17     framework, technically he could be referring to

18     something else.      He could be referring to this.

19                  It's hard to know.      This is an email

20     thread from nine years ago.        And if you want to       04:14:51

21     know what these people meant, I would ask them.

22          Q.      Well, why don't we look at the end of

23     KP's email, and he writes, "As a general note, I

24     think we need to carry on with this exercise to

25     figure out                                                  04:15:19

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1                                that we                              04:15:21

2           before we can make a decision

3                             For both the

4                                    , we can use Jackie's

5      framework to assess                      for those partner     04:15:32

6      falling under the                         and then make up a

7      decision based on the criteria outlined by Jackie

8      below."

9                   Do you see that?

10          A.      I read -- I see it on the page.                   04:15:44

11          Q.      So it seems pretty clear that KP is

12     referring to the framework that Jackie presented

13     below, right?

14                  MR. DAVIS:     Objection.     Form.

15                  THE DEPONENT:     Again, Jackie doesn't           04:15:55

16     refer to anything about her work as a -- as a

17     framework.

18          Q.      (By Mr. Loeser)        KP refers to her work as

19     a framework; is that right?

20          A.      KP refers to a framework.        It's not         04:16:07

21     abundantly clear if he means Jackie's work as -- as

22     evidenced below.

23          Q.      Okay.   So let's look again.

24                  "We can use Jackie's framework to assess

25     KEEP/REMOVE for those partner falling under the                04:16:23

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1      Strategic tabs and then make up a decision based on            04:16:26

2      the criteria outlined by Jackie below."

3                  Do you see that?

4           A.     I see that.

5           Q.     And are there criteria outlined by Jackie          04:16:35

6      below?

7                  MR. DAVIS:    Objection.     Form.

8                  THE DEPONENT:     Again, like -- I can read

9      an email.    If you want to understand precisely what

10     the people in it meant, I would speak to them.                 04:16:50

11          Q.     (By Mr. Loeser)     Yeah.

12                 I'm more interested in what Facebook

13     understands, based upon the work of the employees

14     tasked with trying to decide which partners would

15     continue to have access to friends permissions and             04:17:02

16     which would not.

17                 So are you not prepared to testify about

18     Facebook's understanding of how those partners were

19     sorted?

20                 MR. DAVIS:    Objection.     Form.    And scope.   04:17:11

21                 THE DEPONENT:     I'm prepared to testify

22     that there's a group of people in a partnerships

23     team attempting to put together a way of

24     understanding how these proposed -- the -- the

25     changes proposed at the time might impact the                  04:17:25

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1      partner ecosystem.                                           04:17:28

2           Q.      (By Mr. Loeser)      And so did -- did --

3           A.      There's no --

4           Q.      Sorry.   Go ahead.

5           A.      Sorry.   Go on.                                 04:17:35

6           Q.      Did Facebook use Jackie Chang's framework

7      for deciding which strategic partners would have

8      access to friend and newsfeed permissions?

9           A.      No.

10                  MR. DAVIS:   Objection.      Form.              04:17:49

11                  THE DEPONENT:     Sorry.

12                  I don't recall -- again, hard -- hard to

13     answer fully on behalf of the company here.

14                  My understanding is that this was not

15     used in any way to make decisions.                           04:17:59

16                  I think one of the things that's

17     important to know here is that, again, this email

18     is from August 2013, which is around, you know,

19     nine or more months before the changes were

20     announced.                                                   04:18:19

21                  At this time the -- the -- the changes

22     that were proposed were somewhat different in how

23     they were ultimately rolled out.          Much, much

24     changed between this time and April 30th, 2015.

25          Q.      (By Mr. Loeser)      Okay.   Well, let's make   04:18:48

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1      sure we understand what's going on here at this           04:18:49

2      stage.

3                Would you consider this a planning stage

4      for platform 3?

5                MR. DAVIS:     Objection.    Form.              04:18:58

6                THE DEPONENT:     Again, I don't know if the

7      company has a view on that.

8                On a personal level, I would -- I -- my

9      understanding of the conversations at the time is

10     that this is part of the preparation for                  04:19:15

11     understanding what the impact those changes might

12     have on the developer ecosystem.

13               So it's certainly before the changes were

14     ultimately announced and before many of the

15     important details of how they would be implemented        04:19:41

16     had been decided.

17          Q.   (By Mr. Loeser)     Okay.    And so Ms. Chang

18     developed what KP refers to as a framework for

19     sorting out which partners and apps would continue

20     to have access to friend permissions and -- is            04:19:52

21     that -- is that right?

22               MR. DAVIS:     Objection.    Form.

23               THE DEPONENT:     As I previously testified,

24     Jackie seems to have put together a document with

25     some categorization in it.     She doesn't refer to       04:20:09

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1      that as a framework.       KP refers to "a" framework.     04:20:12

2      It could be that he's talking about Jackie's work.

3                  But to confirm that you'd need to speak

4      to KP or Jackie.

5           Q.     (By Mr. Loeser)     Okay.    And the -- and    04:20:25

6      the people that were involved in the development of

7      the criteria used to sort partners for deciding who

8      would have access to friend permissions were

9      Chris Daniels, Ime Archibong, KP, Jackie Chang and

10     yourself?                                                  04:20:43

11                 MR. DAVIS:     Objection.    Form.

12                 THE DEPONENT:     This document represents

13     an email thread with some people on it having

14     that -- having a discussion about how to

15     potentially categorize apps that might be affected         04:20:55

16     by the deprecation.

17          Q.     (By Mr. Loeser)     And, sir, who made the

18     final decision on the framework for -- to be used

19     for determining which apps or partners would

20     continue to have access to deprecated permission,          04:21:09

21     such as friend sharing?

22                 MR. DAVIS:     Objection.    Form.

23                 THE DEPONENT:     I'm not sure how to answer

24     that question.     Yeah.    I'm not sure how to answer

25     that question on behalf of the company.                    04:21:25

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1                   In a -- in a personal capacity I --           04:21:30

2      you know, this -- this -- I don't recall specific

3      framework being used.

4           Q.      (By Mr. Loeser)     And my question was a

5      little different.     And it is in your capacity as        04:21:43

6      Facebook's designee.

7                   I would like to know who made the final

8      decision on the framework to be used for

9      determining which apps or partners would continue

10     to have access to deprecated permissions?                  04:21:58

11                  MS. DAVIS:   Objection --

12          Q.      (By Mr. Loeser)     I assume they're --

13     well, let me ask it this way.

14                  Was there a framework used by Facebook

15     for determining which app -- apps and partners             04:22:03

16     would continue having access to deprecated

17     permission?

18                  MR. DAVIS:   Objection.      Form.

19                  THE DEPONENT:     I don't -- I don't recall

20     a specific framework being used to make those              04:22:14

21     decisions.

22          Q.      (By Mr. Loeser)     So is it Facebook's

23     testimony that the determination was ad hoc?

24                  MR. DAVIS:   Objection.      Form.

25                  THE DEPONENT:     In the end, the -- there    04:22:29

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1      were -- the -- the way the decisions were made were       04:22:33

2      a bunch of conversations between the partnerships

3      team and the platform leadership team to determine

4      what made sense.

5           Q.   (By Mr. Loeser)     Okay.    And based upon     04:22:47

6      the string that we've gone through, the -- the

7      recommendation from Jackie Chang and the

8      recommendation from KP was to take into account the

9      strategic value of the partner to Facebook when

10     deciding whether to grant continued access to             04:23:10

11     deprecated permissions; is that right?

12               MR. DAVIS:    Objection.     Form.

13               THE DEPONENT:     No.

14          Q.   (By Mr. Loeser)     You don't see that

15     discussion of strategic value in the email string         04:23:22

16     we just went through?

17          A.   I see the discussion in the email thread.

18     But as I testified earlier, my understanding is

19     that this is a group of people attempting to put

20     together a way to think about the impact of these         04:23:41

21     changes on the developer ecosystem.

22               The result of this work, nine months

23     before the changes went into effect, were based on

24     their first pass understanding of the proposed

25     changes, many of which were different in form when        04:24:05

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1      ultimately implemented.                                       04:24:07

2           Q.      And so is it Facebook's testimony that

3      strategic value was not a consideration taken into

4      account when deciding whether to provide continued

5      access to deprecated permissions?                             04:24:18

6                   MR. DAVIS:    Objection.     Form.

7                   THE DEPONENT:     As we discussed

8      previously, the -- from my discussions with all of

9      the people involved -- well, many of the people

10     involved at the time and reading other internal               04:24:33

11     documents, is that a very, very small number of

12     applications were ultimately granted an extension.

13                  And there were, to my understanding, only

14     two reasons.     The -- I have heard as to the reasons

15     why those extensions were granted.          We've discussed   04:24:53

16     them previously.

17                  MR. LOESER:     Okay.   And I'm going to have

18     the court reporter read back my question to you,

19     and if you could just answer the question directly,

20     please do.                                                    04:25:06

21                  MR. DAVIS:    And my objection, please.

22                  (Record read as follows:

23                  "QUESTION:    And so is it Facebook's

24                  testimony that strategic value was

25                  not a consideration taken into                   04:24:12

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1                account when deciding whether to                  04:24:15

2                provide continued access to

3                deprecated permissions?

4                MR. DAVIS:     Objection.     Form.")

5                THE DEPONENT:     It's hard to answer.            04:25:36

6      I'm -- I'm not sure I -- I can't answer a question

7      with -- with -- can you please -- given the

8      objection, could you ask the question in a way that

9      doesn't generate an objection?

10          Q.   (By Mr. Loeser)     Would that -- if I had a      04:25:51

11     magic wand, but I don't.

12               SPECIAL MASTER GARRIE:        Actually --

13               MR. LOESER:     No, there's nothing --

14               SPECIAL MASTER GARRIE:        No.     Actually,

15     just answer the question.                                   04:25:58

16               THE DEPONENT:     Okay.     Sorry.

17               Could you ask the question again then.

18               THE COURT REPORTER:        Do you want me to

19     read it back?

20               MR. LOESER:     Sure.     Go ahead.               04:26:11

21               Thank you.

22               SPECIAL MASTER GARRIE:        And -- and in

23     your capacity as a 30(b)(6).

24               Go ahead.     Read the question.

25               (Record read as follows:                          04:26:43

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1                 "QUESTION:   And so is it Facebook's               04:27:09

2                 testimony that strategic value was

3                 not a consideration taken into

4                 account when deciding whether to

5                 provide continued access to                        04:24:17

6                 deprecated permissions?")

7                 MR. DAVIS:   Object to the form.

8                 SPECIAL MASTER GARRIE:       Overruled.      Ask

9      the question again.

10                (Record read as follows:                           04:24:21

11                "QUESTION:   And so is it Facebook's

12                testimony that strategic value was

13                not a consideration taken into

14                account when deciding whether to

15                provide continued access to                        04:24:17

16                deprecated permissions?")

17                THE DEPONENT:     I don't -- how do I want

18     to say this.

19                I don't think I can answer -- can confirm

20     the strategic value is not in any way taken into              04:27:19

21     account.   Strategic value has not been defined or

22     determined specifically, as we discussed earlier.

23          Q.    (By Mr. Loeser)     And how does Facebook

24     define strategic value in the context of deciding

25     whether to grant continued access to deprecated               04:27:39

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1      permissions to partners?                                         04:27:42

2                MR. DAVIS:   Object to the form.

3                THE DEPONENT:     I don't know how to define

4      strategic value in determining how to -- how these

5      decisions were made.                                             04:27:59

6           Q.   (By Mr. Loeser)     And when you say "I

7      don't know," you mean Facebook doesn't know?

8           A.   To the best -- I -- I have spoken to a

9      number of people involved in -- in this initiative

10     and -- and read -- read documents.                               04:28:22

11               And my understanding as to why extensions

12     to the deprecations were granted is because there

13     would be an impact on -- for the friend

14     permissions, an impact on the user experience if

15     there was no extension granted or where the partner              04:28:40

16     was making use of them for a -- a use case that

17     involved compliance or legal considerations.

18          Q.   And those reasons you just mentioned did

19     not include strategic value to Facebook, right?

20          A.   Again, I -- I don't -- there's no single               04:29:08

21     definition for what strategic value meant.             I mean,

22     you're asking me a question that -- that's very

23     hard to answer.

24               I mean, if you could ask a more specific

25     question, maybe I'll be able to give you a better                04:29:22

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1      answer.                                                             04:29:25

2              Q.   Well, you just gave two reasons.             Neither

3      one of those is of strategic value to Facebook,

4      right?

5              A.   I'm not sure I agree.       One of the                 04:29:32

6      benefits of allowing user experiences not to be

7      broken by the migration is that users don't have

8      broken user experiences, and those developers have

9      the time to wind down their integrations

10     gracefully, maintaining strong relationships with                   04:29:54

11     developers.     That might be considered strategic

12     value.

13             Q.   And was that considered strategic value

14     by Facebook in the context of deciding which apps

15     would have access to deprecated permissions?                        04:30:09

16                  MR. DAVIS:    Objection.

17                  THE DEPONENT:     Again, I don't -- I don't

18     feel I have -- I don't feel that I can answer with

19     a definition of what strategic value is on behalf

20     of the company.     As we discussed earlier, that                   04:30:20

21     frame -- that framing could mean many things in

22     many different contexts.

23                  MR. LOESER:     Okay.   Well, let's move on

24     to the next exhibit, which is Exhibit 11.

25     /////

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1              Q.   (By Mr. Loeser)     And Mr. Cross, you       04:31:00

2      should be looking at what's previously been marked

3      as Exhibit 11, which is an email from you to

4      Ime Archibong, Jackie Chang and KP, dated

5      September 3rd, 2013, "Subject: Re: P3.0 Rollout           04:31:07

6      Planning."

7                   Do you see that?

8              A.   I see that.

9              Q.   In your email you state "Here's my draft

10     deck for review tomorrow.        Yes, it's a little       04:31:20

11     longer than hoped, but I feel it needs to

12     standalone when passed around beyond Chris,

13     assuming he's OK with this strategy.           Feedback

14     welcome, will try and incorporate ASAP."

15                  Do you see that?                             04:31:34

16             A.   I see that.

17             Q.   Okay.   So this is an email that you sent

18     with a draft deck regarding the rollout of

19     platform 3; is that right?

20             A.   That is correct, yes.                        04:31:47

21             Q.   Okay.   And why don't we turn to the deck

22     itself, which has previously been marked

23     Exhibit 12.

24     /////

25     /////

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1                      MR. DAVIS:    And Mr. Loeser and                  04:32:03

2      Ms. Daniel, could I get these in Exhibit Share,

3      please.

4                      MS. DANIEL:    Yes, they're there.

5                      MR. LOESER:    Yeah, they're there.               04:32:16

6                      You need to look in Day 1 folder because

7      for some reason --

8                      SPECIAL MASTER GARRIE:        Before we --

9      yeah.        Before we move forward, Counsel Davis,

10     just -- can you confirm that you have access                      04:32:29

11     because that's pretty critical for you to do your

12     job.

13                     MR. BLUME:    Okay.     I -- I have them now

14     in the Day 1 folder.

15                     Apologies.    Thank you.                          04:32:40

16                     SPECIAL MASTER GARRIE:        Don't apologize.

17     You got to work.

18             Q.      (By Mr. Loeser)       Okay.   So we're -- we're

19     going to bring up Exhibit 12, which is the -- the

20     deck that you prepared, Mr. Cross.                                04:32:47

21                     And if we look at the first page, it

22     states "Platform 3.0, Planning, Preparation &

23     Execution"; is that right?

24             A.      That's what I see.

25             Q.      And do you recall preparing this slide            04:33:04

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1      deck?                                                         04:33:06

2              A.   I don't recall preparing it.        But I've

3      seen it recently.

4              Q.   And you saw it for your -- preparing for

5      your testimony today?                                         04:33:15

6              A.   That's correct.

7              Q.   So on -- if you go to slide -- the second

8      page, which I think is probably considered

9      slide 1 of the deck, one of the headings is

10     "Capabilities Cleanup."                                       04:33:34

11                  Do you see that?

12             A.   I see that.

13             Q.   And it states

14                     Who has what and why?       GOAL: Cleaner,

15     more equitable, more supportable Platform."                   04:33:44

16                  Do you see that?

17             A.   I see that.

18             Q.   And the first bullet below that says

19                    is huge task, value unclear," right?

20             A.   I see that.                                      04:33:58

21             Q.   And why was it a huge task?

22             A.   I think I need to answer this in a

23     personal capacity, rather than Facebook.            I don't

24     think Facebook has a view on that.

25                  In my personal capacity, my recollection         04:34:12

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1      is that there were what was seen at the time to be             04:34:16

2      a relatively large number of

3      and going through each of them manually might take

4      a significant amount of energy.

5              Q.   And you state the value was unclear.              04:34:37

6                   Why -- why did Facebook believe the value

7      was unclear?

8              A.   Well, I'm not sure Facebook has a view on

9      that.

10                  Again, from a personal capacity, when I           04:34:50

11     was writing this, my -- my recollection is that the

12     value of doing such an --                          -- wasn't

13     necessarily obvious or understood.

14             Q.   And did the audit occur?

15                  MR. DAVIS:   Objection.      Form.                04:35:17

16                  THE DEPONENT:     Some work was done to

17     improve the capability tool and remove some

18     capabilities from apps that weren't using them.

19             Q.   (By Mr. Loeser)     Let's look at the next

20     slide which has the header "P3.0                               04:35:32

21     Launches/Deprecations."

22                  Do you see that?

23             A.   Yes.

24             Q.   And there's a list here, in the middle of

25     the slide, "Public API Deprecations," and it states            04:35:42

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1      "i.e. Currently public APIs which will become                 04:35:46

2      whitelist only or deprecated entirely," right?

3           A.    I see that.

4           Q.    So in the planning phase for the rollout

5      here, Facebook had identified that there would be             04:35:58

6      APIs that were deprecated entirely, right?

7           A.    At this time, the changes to the platform

8      were in a proposed state.     They -- well,

9      ultimately -- was announced and launched changed

10     significantly over time.     And certainly between the        04:36:24

11     time that this deck was created and the ultimate

12     announcements.

13          Q.    Okay.   And my question was simpler

14     really.   I'm just -- I want to make sure that -- in

15     the planning phase, Facebook identified that --               04:36:39

16     that some apps would become whitelist only or

17     some -- some -- some APIs would become whitelist

18     only and others would be deprecated entirely.          That

19     was the structure that Facebook came up with,

20     right?                                                        04:36:53

21                MR. DAVIS:    Objection.    Form.

22                THE DEPONENT:    Again, in -- I don't think

23     Facebook came up with that structure.

24                And, again, in personal capacity, my

25     understanding at the time is that it was proposed             04:37:05

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1      that some permissions would be privatized or                  04:37:07

2      deprecated and some APIs were proposed to be

3      privatized or -- or deprecated.

4           Q.     (By Mr. Loeser)     Okay.    So there was a

5      decision being made as to which APIs would be                 04:37:24

6      publicly deprecated.     And while that decision

7      was -- was being made, Facebook was also evaluating

8      which ones would be still available but whitelisted

9      or privatized?

10                 MR. DAVIS:   Objection.      Form.                04:37:41

11                 THE DEPONENT:     Can you be specific as

12     to -- to the time you're -- you're talking about.

13          Q.     (By Mr. Loeser)     Yes.

14                 I'm talking about the planning phases for

15     the introduction of Graph API version 2.           And it's   04:37:52

16     a pretty -- I -- I -- I hope it's a simple question

17     because I'm hoping -- I'm trying to have it be a

18     simple question.

19                 But my question is simply, in the

20     planning phase, Facebook was -- identified a number           04:38:02

21     of APIs that it intended to pub- -- to deprecate,

22     right?

23          A.     There was a team working on coming up

24     with the proposals for how to simplify the

25     platform.    And as part of that, there were                  04:38:21

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1      proposals about APIs and permissions that -- that         04:38:23

2      would be privatized or deprecated.       At the time

3      this deck was written, no decisions had been made.

4           Q.   Okay.   And when you say "privatized" or

5      "deprecated," is that an expression you're using          04:38:36

6      that's synonymous with whitelisted?

7                MR. DAVIS:   Objection.      Form.

8                THE DEPONENT:     In -- when -- in this

9      context, when I refer to "privatized," I'm

10     referring to something that would be available only       04:38:49

11     to apps that had been -- only to apps developers

12     that had been whitelisted in some way.

13          Q.   (By Mr. Loeser)     And then this -- this

14     table below the "Public API Deprecations" list --

15     under the heading "Public API deprecations," it           04:39:10

16     lists through a variety of permissions that, at

17     this stage anyway, Facebook was intending to -- to

18     deprecate; is that right?

19               MR. DAVIS:   Objection.      Form.

20               THE DEPONENT:     This is a list of             04:39:25

21     permissions and APIs that at the time were being

22     considered for deprecation or privatization.

23          Q.   (By Mr. Loeser)     Okay.    And so, for

24     example, for friends_star permissions, this also

25     indicates the number of apps requesting these             04:39:39

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1      permissions per day, and it says 18,067.                  04:39:41

2                  Do you see that?

3             A.   I do see that.

4             Q.   And how was Facebook able to identify the

5      number of apps requesting those permissions per           04:39:50

6      day?

7             A.   This analysis was -- was -- was pulled by

8      me so I should answer that in a -- in a personal

9      capacity.

10                 My recollection is there was a mechanism      04:40:01

11     to determine if a permission had been displayed to

12     a user in the authentication in the GDP login

13     dialogue.    And my recollection is that's the

14     information I was using to determine whether or not

15     an app was actively requesting that permission from       04:40:19

16     users.

17            Q.   And when you say "GDP," is that -- what

18     is that?

19            A.   Sorry.   Yeah.   Good -- good

20     clarification.                                            04:40:30

21                 That's jargon.     That's the -- what's

22     otherwise known as the Facebook login dialogue.

23     It's the log -- it's the dialogue that a user sees

24     before -- when they grant permissions to

25     applications.                                             04:40:43

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1           Q.      And then the next column has the heading     04:40:44

2      "User app-pair permission-set impressions/day."

3      And for "friend_*permissions," it's

4                   Explain what that column represents and

5      how you were able to identify the number.                 04:40:59

6           A.      Give me a few seconds to -- to read this

7      and see if I can remember exactly how this was

8      pulled together.

9                   Unlike the first column, I don't

10     immediately recall how this was computed.                 04:41:15

11                  So this refers to -- reading this has

12     jogged my memory.      Reading this refers to the

13     number of distinct users for an application, across

14     all of the applications that requested that -- that

15     group of permissions from users on -- when the            04:41:55

16     analysis was done.

17          Q.      Okay.   And what was the tool that you

18     used to determine that?

19          A.      I would have used the HiPal tool to query

20     this data.                                                04:42:19

21          Q.      And if you wanted to find that

22     information today at Facebook, what would you do?

23          A.      I would ask one of the engineers on the

24     platform team if they could do the analysis or find

25     someone who could do the analysis.                        04:42:34

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1           Q.   And who's the one that you think would be        04:42:36

2      the most knowledgeable?

3           A.   The engineer I would immediately go speak

4      to is Steven Elia.    But he would almost certainly

5      direct me to someone more knowledgeable than him.          04:42:46

6           Q.   Let's go to the next slide, which has the

7      heading "Preparing for the Deprecations."        And the

8      first line under the heading writes "            -- so

9                  -- "apps are currently using

10     to-be-deprecated features.    Propose we review these      04:43:06

11     apps and classify each as:"

12               Did I read that correctly?

13          A.   You read that correctly.

14          Q.   And so then you come up with a -- or you

15     present here a classification of -- of the apps            04:43:17

16     that are currently using to-be-deprecated features;

17     is that right?

18          A.   Yeah.    Again, in a personal capacity,

19     my -- my recollection is that I was proposing a

20     potential way to -- to categorize the apps using           04:43:38

21     to-be-deprecated features.

22          Q.   Okay.    And the first bullet is

23     "Pre-enforce."    And you write "use existing

24     policies to revoke apps access (note: no appetite

25     to do this at" the -- "at present)."                       04:43:54

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1                  Explain what you mean there.                  04:43:57

2             A.   Again, in a personal capacity, my

3      recollection is that there was some discussion

4      about whether or not there would be a way to make

5      changes in advance of some form of public                 04:44:18

6      announcement.    But I don't recall the specifics.

7                  What I think is important to remember is

8      that, again, this deck, as I understand it, from

9      the time stamp -- the date stamp in the bottom left

10     is, you know, eight months in advance of ultimately       04:44:33

11     how the deprecations were announced.

12                 And at the time, my recollection is that

13     the ways in which those changes would be rolled out

14     was very different to how it ultimately was rolled

15     out.    And at this point, therefore, some different      04:44:54

16     options were being considered.

17            Q.   Fair to say that the introduction of the

18     new platform was an extremely important event for

19     Facebook, right?

20                 MR. DAVIS:   Objection.    Form.              04:45:11

21                 THE DEPONENT:   The updates that were

22     announced on April the 30th, 2015, were -- were

23     certainly seen as a significant change to the

24     developer platform and a significant step forward

25     for -- for users.                                         04:45:28

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1           Q.      (By Mr. Loeser)     And Facebook did a         04:45:31

2      significant amount of planning and preparation in

3      advance of rolling out that platform, right?

4           A.      Given the nature of the changes, a good

5      number of people were involved in determining what          04:45:48

6      they were.     How to roll them out.       And -- and how

7      to manage the developer ecosystem's transition to

8      the new world.

9           Q.      And this deck that you prepared was part

10     of that planning and preparation for the rollout of         04:46:04

11     the new platform, right?

12          A.      This deck represents a very, very early

13     version of the thinking as to how these changes

14     might be rolled out.

15          Q.      So when you say "use existing policies to      04:46:20

16     revoke apps access," in order to revoke apps access

17     with existing policies, that would mean that the

18     app was violating the existing policies, right?

19                  MR. DAVIS:   Objection.      Form.

20                  THE DEPONENT:     Facebook doesn't have a      04:46:40

21     view on what is meant here.        And I don't recall

22     what I meant when I was -- I was writing this.

23                  This is the only time I've seen a

24     reference to pre-enforcement anywhere.            So it's

25     possible that this was a -- an unusual suggestion           04:46:57

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1      on my part.    I do not recall what caused me to add      04:47:03

2      this bullet into the deck.

3           Q.     (By Mr. Loeser)     So it wouldn't make

4      sense to -- to revoke app access with existing

5      policies, if those policies weren't being violated,       04:47:11

6      would it?

7                  MR. DAVIS:   Objection.      Form.

8                  THE DEPONENT:     I think typically

9      revoking, changing what an app can do outside of a

10     policy would be certainly an usual thing to do.           04:47:27

11          Q.     (By Mr. Loeser)     So your next bullet is

12     "Standard," and then it says "(default)."

13                 "Apps are notified on P-day and have

14     n-days to comply (vast majority of apps)."

15                 And I'm going to interpret this for you       04:47:43

16     and you tell me if I'm right or wrong.

17                 What you're suggesting here is that on

18     the day that the new platform is introduced,

19     telling apps that they have a number of days to

20     comply with the requirements of the new platform;         04:47:54

21     is that right?

22          A.     That's right.     And ultimately,

23     essentially, what occurred for most developers.

24          Q.     Okay.   And then your next bullet is

25     "Extension."                                              04:48:10

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1                And you write "Apps given n+x days to           04:48:10

2      comply due to long upgrade cycles e.g. devices

3      (Smart TV, in car, mobile OS's)."

4                Now, is this the -- the category that

5      you've provided testimony about already that              04:48:25

6      explains why extensions were given to certain apps

7      and developers?

8                MR. DAVIS:   Objection.    Form.

9                THE DEPONENT:   The -- this -- this deck

10     was written a long time before the changes were           04:48:38

11     announced, and then a long time before decisions

12     were ultimately made about whether or not someone

13     should be given an extension.

14               So I don't want to connect the two

15     specifically because at this point those -- the           04:48:55

16     exact determination had not been made.       So this is

17     proposing a model where some apps might be given

18     additional time.

19               The thing I will also point out here is

20     my recollection is at the time that this deck was         04:49:15

21     written, the proposal was to implement the changes

22     in 90 days.   And when changes of this nature are

23     introduced in -- in a 90-day time period, not all

24     developers can react at that speed.      It takes many

25     companies often longer than that to write code and        04:49:42

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1      ship it to production or to their users.                  04:49:46

2                And so this -- this category is on this

3      deck here, again, in my personal recollection,

4      given the expectation at the time that the changes

5      would be rolled out in a 90-day time period.              04:50:02

6           Q.   (By Mr. Loeser)     And -- and so just --

7      you know, I asked you on Monday, and a little bit

8      this morning, to explain all the reasons why -- why

9      apps or partners were given access to deprecated

10     permissions.                                              04:50:20

11               And -- and one of the categories you

12     described was an extension and -- and -- and this

13     bullet is consistent with your earlier testimony.

14               Perhaps the length of time changed, but

15     the notion of providing an extension for those            04:50:33

16     reasons is what you indicated previously; is that

17     right?

18          A.   The suggestion on the slide here is -- is

19     broadly consistent with -- ultimately, one of the

20     reasons why several extensions were granted.              04:50:46

21          Q.   Okay.   Let's -- let's look at the next

22     bullet here on this slide, which says "Exception,

23     Apps to be whitelisted indefinitely due to their

24     strategic value to Facebook e."

25               Do you see that?                                04:51:04

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1           A.   I do see that.                                  04:51:05

2           Q.   And we had a conversation a few minutes

3      ago about strategic value to Facebook and you were

4      unable to describe what that meant to Facebook and

5      expressed some lack of familiarity -- familiarity         04:51:15

6      with the term "strategic value."

7                Does this provide you with better context

8      to understand what Facebook has in mind with the

9      expression "strategic value" to Facebook?

10               MR. DAVIS:   Object to the form.                04:51:27

11               THE DEPONENT:     Again, back to my earlier

12     testimony of -- strategic value, as a phrase, is

13     not a defined term at the company and could mean

14     many different things in many different contexts.

15               In a personal capacity, my -- my                04:51:43

16     recollection, when writing this deck, is that it

17     was -- I thought there would be some apps that the

18     business -- the -- the leadership team might

19     consider for continued access.

20               But in this deck, I'm not specific as to        04:52:10

21     what that is.   And I don't recall having a clear

22     understanding or defined understanding of -- of --

23     of what that meant.

24          Q.   (By Mr. Loeser)     Who was the intended

25     audience of this slide deck?                              04:52:35

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1             A.   Again, in my personal capacity, my            04:52:43

2      understanding is that the -- the audience of this

3      deck was Dan Rose, who was the director of platform

4      partnerships at the time.

5             Q.   And fair to say that when you wrote this      04:52:55

6      bullet, "Exception, Apps to be whitelisted

7      indefinitely due to their strategic value to

8      Facebook e," you had an idea of what that meant to

9      you?

10            A.   When I wrote this deck, I recall thinking     04:53:13

11     that there would be a group of apps which would

12     be -- that the company would consider potentially

13     for being granted access to this information over a

14     longer period of time.

15                 But, again, at this -- at this time, I        04:53:35

16     didn't have a clear understanding of what those

17     reasons would be, merely that there might be the

18     need for a category into which they could be

19     sorted.

20            Q.   Let's move forward to what is the eighth      04:53:53

21     slide in the deck that has the heading "Open

22     Questions."

23                 And you'll see the second question is,

24     "Who needs to be on the Review Board to classify

25     apps using to-be-deprecated features?        Chris?       04:54:07

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1      Doug?        Vernal?    What about mobile apps, companies     04:54:10

2      with sales-led relationships."

3                      Do you see that?

4              A.      I see that.

5              Q.      And how is that question answered?            04:54:20

6              A.      I do not recall that question being

7      answered.

8              Q.      So does Facebook -- can Facebook tell the

9      Court who it put on the review board -- well, first

10     of all, was there a review -- a review board to               04:54:35

11     classify apps using to-be-deprecated features?

12             A.      No.    No review board was set up.

13             Q.      And -- and I asked you before and I'll

14     ask you again, do you know who made the final

15     decisions on how to classify apps using                       04:54:55

16     to-be-deprecated features?

17                     MR. DAVIS:    Objection.     Form.

18                     THE DEPONENT:     Can you ask me the

19     question again.          I think it's important to --

20                     MR. LOESER:     Sure.   Sure.                 04:55:10

21                     THE DEPONENT:     -- to understand.

22             Q.      (By Mr. Loeser)     Yeah.    I see that the

23     question is slightly different than I asked before.

24     So that's a fair clarification.

25                     Who made the decision on how to classify      04:55:17

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1      apps using to-be-deprecated features?                     04:55:19

2                  MR. DAVIS:   Object to the form.

3                  THE DEPONENT:     I don't think any -- I

4      don't think any, in parti- -- single person de- --

5      decided that it was a classification of apps for          04:55:34

6      using to-be-deprecated features.

7           Q.     (By Mr. Loeser)     And then if you look at

8      the last bullet, it says "If we grant an exception,

9      does that

10                 Do you know how that question was             04:55:52

11     answered?

12          A.     I don't know how that question was

13     answered.

14          Q.     So let's go to the -- there's an appendix

15     to this -- to this deck, and we can go to the first       04:56:07

16     slide of the appendix.

17                 And you see there's two columns,

18     "NewsFeed API."

19                 Is -- is that a reference to read stream

20     permission?                                               04:56:33

21          A.     Yes, the first column refers to the --

22     the read stream permission.

23          Q.     And the second column is "Non-App-Friends

24     data."

25                 And from this, it appears that's a            04:56:43

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1      reference to the permissions -- for the friends           04:56:48

2      permissions?

3             A.   That's correct.

4             Q.   And if you look there, there's a list of

5      different types of app below on each column; is           04:56:59

6      that right?

7             A.   There are some -- there are some apps,

8      yes.

9             Q.   And then with regard to each of the

10     categories of app, there's a recommendation as to         04:57:16

11     whether to keep access or remove access to the --

12     in the first column, the "NewsFeed API," and the

13     second column, the "Non-App-Friends data"; is that

14     right?

15            A.   Yeah.                                         04:57:33

16            Q.   And who -- who's making that

17     recommendations that's identified there?

18            A.   The recommendation is in a -- in a deck

19     that I was involved in producing.         But I don't

20     recall if there were other people involved in that        04:57:46

21     recommendation.

22            Q.   And if you look at the first header on

23     the newsfeed API, so the read stream, it says -- or

24     I'm sorry -- the first type of app identified,

25     "Strategic mobile & replica apps."                        04:58:06

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1                  Do you see that?                               04:58:09

2           A.     I do.

3           Q.     And the "Recommendation" is "keep

4      access"?

5           A.     I see that.                                    04:58:14

6           Q.     Was that recommendation followed by

7      Facebook?

8           A.     The -- the -- the apps listed here, to

9      me, look like mobile device integration partners,

10     which is a program that continued after the                04:58:33

11     announcement of API v2.

12          Q.     So it appears that the recommendation was

13     followed?

14          A.     Well, what I understand happening is

15     consistent -- ultimately is consistent with our            04:58:49

16     recommendation.

17          Q.     And if you look at the last category on

18     the list there for "NewsFeed API," it says "Other

19     Strategic e.g.                                         ,

20                    and the "recommendation" is "case by        04:59:02

21     case basis."

22                 Was that recommendation followed?

23          A.     I don't know the specifics of -- of -- of

24     whether or not that recommendation was followed.

25     It would require me to know on an individual app           04:59:13

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1      basis, which is -- is not something I have prepared        04:59:18

2      to testify on.

3           Q.     So do you know if -- well, are

4                                                 partners that

5      Facebook identifies as having strategic value to           04:59:30

6      Facebook?

7                  MR. DAVIS:    Objection.     Form.

8                  THE DEPONENT:     Those apps are -- are

9      listed in that category, but I -- I'm not a

10     determiner of what was considered strategic or not.        04:59:44

11     They are listed here under -- under that framing.

12          Q.     (By Mr. Loeser)     And Facebook can't

13     testify today as to whether

14                              were provided access on a

15     case-by-case basis to newsfeed APIs after the new          05:00:02

16     platform was introduced?

17                 MR. DAVIS:    Objection.     Form.

18                 THE DEPONENT:     On a specific app-by-app

19     basis, I have not revised exactly what happened

20     with each of the apps listed here.                         05:00:16

21          Q.     (By Mr. Loeser)     Let's look at the next

22     column "Non-App-Friends data."

23                 At the top it says "Apps recently

24     requesting permissions," and it has the number

25                                                                05:00:30

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1                   Do you see that?                             05:00:32

2              A.   Yeah.

3              Q.   And then it says "Apps recently accessing

4      the API," and then it says "Unknown due to

5      instrumentation issues."                                  05:00:40

6                   What -- what -- what does that refer to?

7              A.   I don't recall exactly what those --

8      what that -- what that means.       So hard for me to

9      say today, nine years later.

10             Q.   And if you wanted to -- if Facebook          05:00:55

11     wanted to answer that question, where would it go

12     to get the answer?

13             A.   Sorry.

14                  Today?   You're asking me today where

15     would I go to answer the --                               05:01:09

16             Q.   Yeah.

17             A.   Where would I go to answer the question

18     to -- as in using the API today, or where would I

19     go to answer the question who was using the API in

20     2013?                                                     05:01:19

21             Q.   I -- I'm asking where you would go to

22     develop an understanding of what you meant when you

23     said "Unknown due to instrumentation issues."

24             A.   I -- as the author of the deck speaking

25     there, I -- the only person that would know likely        05:01:35

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1      is me.    And I do not recall what those                  05:01:40

2      instrumentation issues were.

3           Q.      So for the newsfeed API, you were able to

4      identify the apps recently accessing the API.

5                   How did you do that?                         05:01:51

6           A.      I would have used the HiPal tool.

7           Q.      And would you have attempted to do the

8      same thing for identifying apps that recently

9      accessed the non-app-friends data APIs?

10          A.      I would have attempted to do the same        05:02:11

11     thing.    But I am not a data scientist.       And so

12     my -- my skills of data are not the -- of a

13     professional -- of a highly professional standard.

14     I'm competent, but not a professional data

15     scientist.                                                05:02:30

16          Q.      Well -- okay.   So if you look at the

17     first category of apps on the "Non-App-Friends

18     data" column, the first one is also "Strategic

19     mobile & replica apps," and the "Recommendation" is

20     "keep access."                                            05:02:45

21                  Is it your -- did Facebook follow that

22     recommendation?

23                  MR. DAVIS:   Object to the form.

24                  THE DEPONENT:   I cannot say if Facebook

25     followed the recommendation.        That would suggest    05:02:54

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1      that the recommendation was in itself listened to.        05:02:56

2                 But as with my previous testimony on the

3      first column, my understanding from this is that

4                                    were classified as device

5      integration partners, which was a separate program        05:03:14

6      that continued after the announcement of API v2.

7      And so my understanding is that is consistent with

8      what ultimately happened.

9           Q.    (By Mr. Loeser)     And so for that

10     category, "Strategic, mobile and replica apps,"           05:03:33

11     those companies continued to have access to friend

12     permissions; is that right?

13                MR. DAVIS:   Object to the form.

14                THE DEPONENT:     As we've discussed

15     previously, the device integration partners had           05:03:49

16     access to a number of private APIs to allow them to

17     build Facebook replacement clients on third-party

18     devices.

19          Q.    (By Mr. Loeser)     And those private APIs

20     allowed access to -- to friends data, right?              05:04:05

21          A.    Those private APIs allowed the third

22     parties to build experiences that replicate the

23     Facebook experience on those devices, which would

24     have allowed them to include things like the

25     newsfeed, which would have included friends data.         05:04:24

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1           Q.   And also they had access to the -- to the       05:04:26

2      friends permissions as well, right?

3           A.   The way these -- the way that the

4      Facebook replacement clients were implemented, they

5      had access to the information.    But the way that        05:04:40

6      that information was granted was not through the

7      standard Facebook login dialogue.

8           Q.   Right.   I understand that.     But I'm

9      just -- this is in a column for "Non-App-Friends

10     data," and I just wanted to be clear that the             05:04:50

11     "Strategic, mobile & replica apps" continued to

12     have access to "Non-App-Friends data," right?

13          A.   The apps listed here, yes, as I

14     understand it, continue to have access to friends

15     data after -- yes, continue to have access to             05:05:04

16     friends data until -- until later.

17          Q.   And -- and when you say "later," you mean

18     after the API Graph version 2 was implemented?

19          A.   After API version 2 is implemented, yes.

20          Q.   Now, one of the categories here is              05:05:23

21     "Lifestyle & Dating," and it says "e.g.

22                                  and the

23     "Recommendation" is "special consideration for

24     dating apps (see KP)."

25               Do you see that?                                05:05:37

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1              A.   I see that.                                      05:05:37

2              Q.   And what were the special considerations

3      that Facebook applied for dating apps?

4              A.   Dating apps were seen as a good use case

5      of the Facebook developer platform.           And there was   05:05:52

6      discussion about how to enable them to continue to

7      provide a great user experience while minimizing

8      the amount of information they needed to perform

9      that function.

10             Q.   So after the transition to Graph API             05:06:11

11     version 2, or as it referred in this deck,

12     platform 3, dating apps continued to have access to

13     "Non-App-Friends data"?

14                  MR. DAVIS:    Objection.     Form.

15                  THE DEPONENT:     That's -- dating               05:06:24

16     apps were -- there was a new API built for dating

17     apps that allowed them to continue to build

18     recommendations without having any personally

19     identifiable information available to them.

20             Q.   (By Mr. Loeser)     And so did those dating      05:06:43

21     apps -- dating apps continue to have access to what

22     is referred to on this slide as "Non-Apps-Friends

23     data?

24                  MR. DAVIS:    Objection.     Form.

25                  THE DEPONENT:     They had access to an API      05:06:56

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1      that gave them the ability to understand the number       05:06:58

2      of mutual friends that people have in common

3      without any personally identifiable information

4      about those people being emitted.

5           Q.   (By Mr. Loeser)     And did it provide them     05:07:10

6      with access to "Non-App-Friends data"?

7                MR. DAVIS:   Objection.      Form.

8                THE DEPONENT:     Can you define for me in

9      this context what you mean by "Non-App-Friends

10     data"?                                                    05:07:20

11          Q.   (By Mr. Loeser)     Well, what did you mean

12     when you wrote that on the top of this slide?

13          A.   Well, in this case, I'm referring

14     specifically to a set of permissions and

15     specifically to a set of example methods.                 05:07:31

16               Dating apps did not have access -- my

17     understanding is dating apps did not have access --

18     in general, dating apps did not have access to

19     those permissions or those -- and, therefore, able

20     to use those methods to access friend data after          05:07:52

21     the transition.

22          Q.   But they did have access to some friends

23     data after the transition?

24               MR. DAVIS:   Objection.      Form.

25               THE DEPONENT:     As I've testified, my         05:08:04

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1      understanding is they had access to a new API that        05:08:05

2      granted them the ability to understand mutual

3      friends in common of two app users without having

4      any personally identifiable information emitted.

5                   That's very different in form to the rest    05:08:21

6      of how the friends data and friends permissions

7      worked.

8              Q.   (By Mr. Loeser)     Let's go to the last

9      bullet on here, "Other Strategic," and it says

10     "e.g.                                      ," and the     05:08:36

11     "Recommendation" is "case by case basis."

12                  Is that -- is that how Facebook proceeded

13     with regard to the apps identified on your slide

14     here as "Other Strategic"?

15             A.   Again, on -- on a -- on a specific           05:08:57

16     app-by-app basis, I don't -- I don't know here

17     today, in my head, what happened to each of the --

18     the apps listed here.

19             Q.   And then if you look at the next slide,

20     there's a whole slide devoted to the topic of             05:09:12

21     "Strategic Partners & Exceptions."

22                  Does this help you understand what

23     Facebook means by strategic partners?

24             A.   There are certainly some examples here

25     that are -- that seem to be classified as the             05:09:26

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1      strategic partners.                                       05:09:29

2                But, again, to determine whether or

3      not -- I was not at this time the person

4      determining whether or not these were seen as

5      strategic partners.                                       05:09:37

6           Q.   And -- and Facebook -- having looked at

7      this slide on behalf -- you cannot testify on

8      behalf of Facebook, as its designee, what Facebook

9      means by strategic partners?

10          A.   This slide is written by a person in the        05:09:57

11     partnerships team and -- and representative of the

12     partnerships team's opinions, so I think it's

13     consistent with what the partnerships team would

14     have defined as a strategic partner.

15          Q.   Okay.   Why don't we look at the next           05:10:13

16     slide.

17               Here's another entire slide devoted to

18     identification of strategic partners and

19     exceptions.

20               Do you see that?                                05:10:20

21          A.   I do.

22          Q.   And does that help you, as Facebook's

23     designee, to describe for me what Facebook means by

24     strategic partners?

25          A.   Again, this is what I think the strategic       05:10:29

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1      partnerships team were to classify as strategic           05:10:31

2      partners.

3           Q.     Okay.   Let's look at the next slide.

4                  This is another entire slide devoted to

5      the topic of strategic partners and exceptions.           05:10:40

6                  Does this help you, as Facebook's

7      designee, to testify as to what Facebook means by

8      strategic partners?

9           A.     This helps me identify that these are

10     partners that the platform partnerships team would        05:10:54

11     have designated as strategic partners.

12          Q.     And is there some other organization at

13     Facebook that would -- that would also weigh in on

14     how Facebook classifies partners as strategic?

15                 MR. DAVIS:   Objection.      Form.            05:11:13

16                 THE DEPONENT:     There are several

17     partnerships teams at Facebook working on different

18     types of things.     Each of them would maybe have had

19     their own designation of what partners meant and

20     which would -- and -- and how to categorize them.         05:11:30

21     There wasn't just one partnerships team at

22     Facebook.

23          Q.     (By Mr. Loeser)     And so if you, as

24     Facebook's corporate designee, wanted to develop a

25     complete understanding of what Facebook means by          05:11:39

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1      strategic partners, where are all the places that              05:11:42

2      you would go for that answer?

3                  MR. DAVIS:     Object to the form.

4                  THE DEPONENT:     I'm not sure.      It would be

5      possible to develop a full understanding -- a full             05:11:53

6      list of different teams of the company that may or

7      may not classify -- that work -- classify partners

8      and may or may not classify them as strategic.

9                  MR. LOESER:     Okay.   We can go to the next

10     exhibit.                                                       05:12:17

11                 MR. DAVIS:     Mr. Loeser, we've been going

12     about an hour and a half.       Would this be an

13     opportune time for a short break?

14                 MR. LOESER:     Sure.   That's fine.

15                 Ten minutes.                                       05:12:23

16                 SPECIAL MASTER GARRIE:       Wait.    Before

17     we -- we do that, Mr. -- Mr. Cross, how long would

18     you like?

19                 MR. LOESER:     Rebecca --

20                 THE DEPONENT:     Ten minutes is good for          05:12:35

21     me.

22                 SPECIAL MASTER GARRIE:       And Rebecca, does

23     ten minutes work for you?

24                 THE COURT REPORTER:      Yes.

25                 SPECIAL MASTER GARRIE:       You're very           05:12:39

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1      important to this whole process.         Your happiness is   05:12:39

2      critical to the entire transaction.

3                 MS. DAVIS:   Off the record.

4                 (Discussion off the stenographic record.)

5                 THE VIDEOGRAPHER:     Okay.     We're off the     05:13:00

6      record.   It's 5:13 p.m.

7                 (Recess taken.)

8                 THE VIDEOGRAPHER:     We're back on the

9      record.   It's 5:36 p.m.

10          Q.    (By Mr. Loeser)     Mr. Cross, previously,        05:36:19

11     when I was asking you about who made the decision

12     about how to decide which partners would continue

13     to have access to friend data, you mentioned the --

14     the platform leadership team, in addition to the

15     platform partnership group; is that right?                   05:36:36

16          A.    The platform leadership team -- the

17     platform product leadership team would have been

18     involved in those conversations.

19          Q.    And who at the platform -- I'm sorry.

20                What is the full name of that group, the          05:36:53

21     platform -- platform leadership...

22          A.    So just the Facebook platform team, that

23     would have been the name of it.        And then the kind

24     of -- the leadership team would have been -- the --

25     the senior product and engineering people as part            05:37:08

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1      of that group.                                              05:37:11

2           Q.   And who were those people?

3           A.   Some names that come to mind, I can't --

4      well, I -- can't be specific as to time.         But some

5      names that come to mind around the time of this             05:37:29

6      period, 2013 to 2015, Mike Vernal, Doug Purdy,

7      Ilya Sukhar and Vladimir Fedorov.

8                MR. LOESER:   Okay.     Thank you.

9                If we can put up what's previously been

10     marked as Exhibit 20.                                       05:37:49

11          Q.   (By Mr. Loeser)     And Mr. Cross, you

12     should be looking at Exhibit 20, which is an email

13     from you to a number of people.

14               First in the list is Quinn Duffy and also

15     Namita Gupta and Amir Naor and KP, among others,            05:38:37

16     with a cc to Eddie O'Neil.

17               The subject is "Capabilities Tool,

18     improvement requests - feedback by EOD Sunday,

19     please" with the attachment "Capability Audit

20     24 Oct 2013.xlsx."                                          05:38:51

21               Do you see that?

22          A.   I do.

23          Q.   And the date of your email is

24     October 24th, 2013; is that correct?

25          A.   That's correct.                                   05:39:02

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1           Q.     And I'll read -- the first paragraph of       05:39:02

2      your email states "Over the last few weeks, you'll

3      have noticed Engineering have moved many app-based

4      GKs over to the new Capabilities tool."

5                  What are app-based GKs?                       05:39:15

6           A.     So as we previously talked about, GK

7      refers to gatekeeper, which is a tool inside

8      Facebook.    And app-based GK is a gatekeeper that

9      takes an app ID as an input rather than a user ID,

10     for example.                                              05:39:34

11          Q.     And you write "Going" -- thank you.

12                 "Going forward, this tool is going to be

13     a much" part much -- I'm sorry -- "to be a much

14     larger part of our lives - its where the vast

15     majority of whitelists will be managed."                  05:39:45

16                 Is that, in fact, what -- what happened,

17     is that -- and I think you testified about this on

18     Monday -- the capabilities tool became the place

19     where the vast majority of whitelists were managed,

20     right?                                                    05:40:00

21          A.     Our intention at the time was to make the

22     capability tool the -- the way the -- what platform

23     application whitelists were managed.       That was

24     the -- that -- that was the plan for the

25     capabilities tool over time.                              05:40:14

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1           Q.   Okay.     And then you next write "Platform     05:40:15

2      Simplification is about to introduce even more

3      whitelists - such as allowing apps to be exempt

4      from the transition to hashed UIDs, or be able to

5      continue using read_stream or friends_*perms."            05:40:28

6                Did I read that correctly?

7           A.   You did read that correctly.

8           Q.   And is platform simplification there a

9      team or an event?

10          A.   Neither.     Platform simplification refers     05:40:41

11     to the program of work, I guess you would call it,

12     that ultimately came to be the changes we launched

13     on April 30th, 2014, otherwise as known as

14     platform 3.0.

15          Q.   Okay.     And did platform simpli- --           05:41:02

16     simplification, in fact, introduce even more

17     whitelists?

18          A.   It introduced -- as a result, there were

19     a small number of additional whitelists added, but

20     not a large number.                                       05:41:18

21               My recollection at the time, in my

22     personal capacity here, is that the expectation was

23     that there would be -- the expectation I had is

24     that we might need a -- a number of new whitelists.

25               In actual fact, a very small number were        05:41:40

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1      ultimately needed due to the decisions taken as to        05:41:43

2      how the changes would be rolled out.

3              Q.   And how many whitelists were introduced

4      to continue -- to enable apps to continue using

5      read stream or friends permission?                        05:41:56

6              A.   I couldn't tell you today exactly how

7      many new capabilities were added to the capability

8      tool.

9              Q.   And where would Facebook go to get an

10     answer to that question?                                  05:42:09

11             A.   I would go and ask the platform

12     engineering team to see if they could determine

13     which capabilities were added and when.

14             Q.   And that's not something that you did to

15     prepare for your testimony today?                         05:42:26

16             A.   I talked to the platform engineering team

17     about a number of issues, but not the specific

18     question of exactly how many new capabilities were

19     added back in 2013, '14.

20                  MR. LOESER:   And I'm going to ask really    05:42:44

21     you, but through your counsel, since we'll be back

22     on Monday, if that's a question that you could

23     obtain an answer for, since it's clearly under the

24     heading of the whitelisting topic that is indicated

25     in your notice.                                           05:42:59

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1                 MR. BLUME:    Noted.    And we can discuss it   05:43:02

2      offline.

3                 MR. LOESER:    So let's go to the next

4      exhibit, which is previously been marked

5      Exhibit 13.                                                05:43:12

6           Q.    (By Mr. Loeser)     And Mr. Cross, we are

7      showing you what's previously been marked

8      Exhibit 13, which is an email from you to

9      Jackie Chang, Ime Archibong, KP, Bryan Hurren and

10     Monica Mosseri.                                            05:43:56

11                Do you see that?

12          A.    I do.

13          Q.    And the date of the email is

14     December 10th, 2013.     And the subject is "Re:

15     Simon's Updates - 6th Dec."                                05:44:02

16                Do you see that?

17          A.    I do.

18          Q.    Who is Bryan Hurren?

19          A.    Bryan Hurren was, if I recall correctly,

20     a strategic partner manager on the platform                05:44:16

21     partnerships team.

22          Q.    So there's a group at Facebook that is

23     referred to as the strategic partner group?

24          A.    The job title I recall having -- that

25     these folks had at the time -- including I had at          05:44:31

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1      the time -- was strategic partner manager and --          05:44:35

2      and the platform partnerships team was the team you

3      were part of.

4              Q.   And I'm sorry, did you say that you were

5      part of the strategic -- strategic partner group as       05:44:44

6      well?

7              A.   At this time I was a partner manager on

8      the platform partnerships team, yes.

9              Q.   The strategic partnership team?

10             A.   The name of the team was the -- I -- I       05:44:58

11     recall the name of the team being the platform

12     partnerships team.

13             Q.   Okay.   And is that the same team that

14     Bryan Hurren was on?

15             A.   Yes.                                         05:45:11

16             Q.   Who is Monica Mosseri?

17             A.   She was another partner manager on the

18     team.

19             Q.   So now this -- the subject of this email

20     is indicated "Simon's Updates."                           05:45:28

21                  Were -- were you creating regular updates

22     regarding platform simplification?

23             A.   I -- I was involved in updating my team

24     about the things I was working on, and platform

25     simplification was one of the things I was working        05:45:50

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1      on at the time.                                           05:45:55

2           Q.    Okay.   So let's go to the -- the third

3      page of this email string.    The Bates on this page

4      is FB-CA-MDL-00200698.    And the heading I'm looking

5      at is "Platform Simplification."                          05:46:09

6                 And if you look under that heading, can

7      you read the third bullet in that -- under that

8      heading?

9           A.    "Key focus this week is to pull

10     additional data on apps and capabilities to allow         05:46:29

11     the 4 partnerships teams" to -- "(Games, Non-games,

12     Mobile, Marketers) to pre-approve apps for the new

13     whitelists, and review their apps with existing

14     whitelists."

15          Q.    Okay.   And so based upon this update, it      05:46:43

16     is -- it is true, is it not, that Facebook was

17     identifying particular apps so that it could

18     preapprove them to -- to continue having access to

19     friend data, right?

20          A.    Well, first of all, the -- it doesn't --       05:47:04

21     the new whitelist doesn't necessarily mean friend

22     data, right.   You need to be specific about that.

23     Whitelist and friends data are not synonyms.

24                The -- what's on the slide deck here is,

25     again, in a personal capacity, me talking about an        05:47:21

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1      initiative that was proposed to be done in the            05:47:27

2      coming week.

3             Q.   Okay.   And -- and thank you for

4      clarification on -- on friends data.        The project

5      was broader than that.                                    05:47:37

6                  This was looking at the -- the -- the

7      permissions that would be deprecated more broadly

8      in the platform simplifications process, right?

9             A.   The platform simplification at this time,

10     which again is several months before it happened,         05:47:55

11     and a lot changed between then and the

12     announcement.

13                 What I'm referring to here is -- is the

14     broader package of work, which included a large

15     number of other changes to the API as well.               05:48:08

16            Q.   Okay.   And so, nonetheless, Facebook was

17     endeavoring to preapprove certain apps for the new

18     whitelist that would be implemented in connection

19     with the introduction of platform 3, right?

20            A.   I don't think it's fair to say Facebook       05:48:26

21     was.    I, as a partner manager, was proposing that

22     we do a piece of work like this, although I do not

23     recall us doing so.

24            Q.   And if Facebook wanted to be able to

25     testify as to whether there was work done to              05:48:48

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1      preapprove apps for the new whitelist, how would           05:48:50

2      Facebook go about getting that information?

3                 MR. BLUME:     Objection.     Form.

4                 THE DEPONENT:      I would try and see if any

5      documents existed from the time that would pertain         05:49:09

6      to such an effort.      I -- again, like -- I don't

7      think the -- what -- what you're seeing in this

8      email and the previous slide deck is a bunch of

9      people trying to figure this out, very differently

10     from what ultimately happened and transpiring.             05:49:33

11                So to answer your question, where would I

12     go.   I would go and speak to the -- the other

13     people on this thread, if they still exist, and see

14     if they recall any documents that were produced

15     around this time that might pertain to this bullet.        05:49:50

16                I do not recall --

17           Q.   (By Mr. Loeser)      And you haven't --

18           A.   Sorry.    Go on.

19           Q.   No, go ahead.      I'm sorry.

20           A.   I -- I do not recall pre-approving or           05:50:01

21     being involved in pre-approving apps for -- for the

22     new whitelists at this time.

23           Q.   And you did not go talk to any of the

24     persons on this thread in order to identify whether

25     any apps were pre-approved for the new whitelists?         05:50:23

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1              A.   I don't recall.     Again, nine years ago,         05:50:28

2      in a personal capacity, I don't recall what I did

3      here.

4                   Specifically, as the next step, I'm not

5      sure I've seen a bullet that -- that talks about                05:50:39

6      what happened after this.        And I don't -- I don't

7      recall what my next -- what my next actions were.

8              Q.   And to prepare for your testimony today,

9      you did not ask any of the people on this thread

10     what they knew about pre-approving apps for the new             05:50:54

11     whitelist?

12             A.   We didn't -- I didn't talk about

13     pre-approving because that's not -- doesn't

14     resonate with me as a concept at the time.

15                  I did talk with the people that were -- I          05:51:09

16     was working with at the time as to their

17     recollection as to why we granted extensions to

18     certain app developers.

19             Q.   And can you read the last bullet on your

20     list here.                                                      05:51:32

21             A.   "Jackie leading on putting together a new

22     whitelist process with Legal and Product."

23             Q.   And did Jackie lead on putting together a

24     new whitelist process with legal and product?

25             A.   I do not recall what Jackie did.             You   05:51:45

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1      might want to ask her.                                       05:51:49

2           Q.   And that would be the natural way to find

3      out what Jackie did, right?

4           A.   That would be a reasonable thing to do.

5           Q.   And -- and is that what Facebook would             05:52:01

6      do, if Facebook wanted to answer the question

7      whether Jackie led on putting together a new

8      whitelist process with legal and product?

9                MR. BLUME:     Objection.    Form.

10               THE DEPONENT:     To that very specific            05:52:14

11     question, it might -- if Jackie was -- if I -- if

12     Jackie was available, then speaking to her about

13     that might -- might be a way to get clarity.           But

14     it's not certain, given it would be relying on her

15     recommendation -- her recollection.                          05:52:32

16          Q.   (By Mr. Loeser)     Let's go to the next --

17     go up the string to the email from you dated

18     November 25th, 2013.     "Subject: Re: Simon's

19     Updates - 22nd Nov."

20               So this is another update you provided             05:52:53

21     about the work that you were doing at the time,

22     right?

23          A.   Yes.

24          Q.   Okay.   And if you go down to the portion

25     of that -- it's on the next page of your update --           05:53:08

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1      there's, again, a heading "Platform                           05:53:12

2      Simplification."

3                   Do you see that?

4           A.      Uh-huh.

5           Q.      And I'll read the second bullet.                 05:53:23

6                   It says "New Whitelisting process -

7      Jackie working closely with                              to

8

9                Spec for updates to tools in progress and

10     moving forward build-stage.                                   05:53:36

11                                       is underway."

12                  Do you see that?

13          A.      I do see that.

14          Q.      So your earlier email we went through was

15     on October 28th -- I'm sorry -- went through the              05:53:46

16     8th of November email, in which you indicate

17     "Jackie is leading on putting together a new

18                                                    ," right?

19          A.      Yeah.

20          Q.      All right.   And this email, a little bit        05:53:57

21     later in time, you provide an update on what Jackie

22     was doing, right?

23          A.      It looks that way.

24                  Thank you for scrolling up.

25          Q.      And did Jackie work closely with                 05:54:11

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1                                                                  05:54:14

2

3           A.   I honestly don't recall what Jackie did.

4      And I think, again, the best -- the best way to

5      understand -- understand that would be to ask her.          05:54:27

6                I do not recall what -- what she did or

7      what the outcome was.     And I don't recall anything

8      that -- outputting from this being ultimately used

9      a year and a half later.

10          Q.   Okay.   So what was the                           05:54:48

11

12                  apps that was developed at Facebook?

13               MR. BLUME:     Objection.     Scope.   Form.

14               THE DEPONENT:     Yeah.     I'm not sure I can

15     answer that in -- in Facebook's capacity.         I'm not   05:55:05

16     sure there was a -- a single process for

17     whitelisting apps.

18               I can talk in a personal capacity about

19     my involvement at the time, which was to improve

20     the capability tool as to how whitelists were               05:55:27

21     requested and granted.

22          Q.   (By Mr. Loeser)     And other than what

23     you've previously -- previously testified to, is

24     there a -- was there a process for whitelisting

25     apps that -- that was adopted by Facebook?                  05:55:57

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1                  MR. BLUME:   Objection.      Scope and form.   05:56:01

2                  THE DEPONENT:     There was a -- a technical

3      process for whitelisting apps which allowed --

4      which enabled a -- which was implemented through

5      the capabilities tool.                                     05:56:16

6            Q.    (By Mr. Loeser)     And was there a formal

7      document or protocol to be used when deciding what

8      apps to whitelist?

9            A.    I do not recall a -- a formal document or

10     protocol.    And it did -- deciding -- well, let           05:56:32

11     me -- let me wind back.

12                 Deciding to whitelist for what?

13           Q.    For permissions that were going to be

14     deprecated with the transition to platform 3.

15           A.    So the -- the -- so specifically,              05:56:56

16     extensions to the Graph API -- API v1 deprecation?

17           Q.    Yes.

18           A.    The -- and so what was your original

19     question?

20                 I'm sorry.   I want to make sure I answer      05:57:15

21     it.

22           Q.    Sure.

23                 Was there a formal document or protocol

24     to be used when deciding what apps to whitelist?

25           A.    I don't recall there being a formal            05:57:28

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1      document or protocol.                                     05:57:29

2           Q.     And if Facebook were to answer that

3      question, where would Facebook go to identify an

4      answer?

5                  MR. BLUME:    Objection.     Form.            05:57:45

6                  THE DEPONENT:     I would attempt to speak

7      to -- to Jackie potentially and -- and maybe Eddie

8      as if to -- their recollection as -- as to how this

9      process was -- was managed.

10          Q.     (By Mr. Loeser)     And -- and you did not    05:58:02

11     do that to testify -- to prepare yourself to

12     testify today, is that right, about this particular

13     topic?

14          A.     I talked to Eddie, Ime and a few other

15     people to ask on their recollection of -- of -- of        05:58:17

16     how -- specifically why we decided -- why

17     partners -- their recollection as to why certain

18     entities were granted extensions, and I reviewed

19     some internal documents on the topic.

20          Q.     But you didn't ask them if there was a        05:58:42

21     formal document or protocol to be used when making

22     whitelisting decisions?

23          A.     I did not ask them that specific

24     question.

25                 MR. LOESER:     And similar to what I said    05:58:51

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1      before, and via your counsel, if that's a question           05:58:53

2      you could be prepared to answer when we come back

3      on Monday, that would be useful for this process.

4                   MR. BLUME:   Noted.

5              Q.   (By Mr. Loeser)     Okay.    So let's look at   05:59:09

6      the -- let's look at the next bullet on your update

7      here.

8                   It says "New whitelists for public

9      deprecations - close to finalizing with Product

10     (Eddie and Harshdeep) a set of 54 new Capabilities           05:59:15

11     we need to add to allow us to whitelist partners

12     past the public deprecations.         Next step is to map

13     apps against these and start making

14     no/extension/exemption decisions."

15                  Do you see that?                                05:59:32

16             A.   I do see that.

17             Q.   And so these 54 new capabilities were

18     necessary to allow Facebook to whitelist partners

19     past the public deprecations; is that right?

20             A.   I -- the -- the email references 54 new         05:59:47

21     capabilities.     I do not recall, again, personal

22     veracity, that those were created.

23             Q.   And so in order to allow Facebook to

24     whitelist partners past the public deprecations,

25     Facebook obviously had to do some advance work               06:00:14

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1      before the new platform was introduced; is that           06:00:18

2      right?

3           A.   There was work done to ensure that as the

4      platform announcements were made, that we had tools

5      to control the rollout.                                   06:00:35

6           Q.   And it took some time to develop the

7      tools that would enable certain apps and partners

8      to have access to the publicly deprecated

9      permissions after the rollout of the new platform;

10     is that right?                                            06:00:51

11          A.   It would have taken an engineer some time

12     to write some code, yes.

13          Q.   And then you write, "Next step is to map

14     apps against these and start making

15     no/extension/exemption decisions."                        06:01:03

16               And those were decisions that needed to

17     be made in advance of the rollout of the platform

18     as well; is that right?

19          A.   No.

20          Q.   Okay.   Did Facebook make decisions about       06:01:15

21     no extension and -- no/extension/exemption

22     decisions in advance of the rollout of

23     platform 3.0?

24          A.   I do not recall extension, exemptions

25     decisions being made before the rollout of the            06:01:36

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1      platform.     It's possible that there was some                06:01:39

2      opinions about what would be done.        But remember,

3      the rollout took a year and the discussions about

4      extensions were towards the end of that period.

5           Q.      And what about exemptions, when did those         06:02:04

6      discussions start?

7           A.      The -- you're talking there really about

8      the integration partners, which was considered

9      separate from this process.

10          Q.      And so Facebook interprets exemption to           06:02:23

11     refer solely and specifically to integration

12     partners?

13                  MR. BLUME:   Objection.

14                  THE DEPONENT:   In this case -- sorry.       Go

15     on, Rob.                                                       06:02:35

16                  MR. BLUME:   Objection.    Form.

17                  THE DEPONENT:   At this time, again

18     speaking in a personal capacity, it was -- I -- it

19     was considered by me that there was potentially

20     some apps that would be                                        06:02:49

21                                               that might be

22     considered with exemptions.

23                  But ultimately, I do not recall that

24     happening.     The integration partners set is -- is a

25     separate process.     This is referring to the public          06:03:12

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1      platform.                                                     06:03:16

2           Q.     (By Mr. Loeser)     And so did Facebook give

3      integration partners extensions or exceptions?

4           A.     Inte- -- integration partners had access

5      to private APIs and permissions on top of what the            06:03:27

6      standard API offered regular developers.           And that

7      was considered access to continue, separate to the

8      API changes that were being made for the public

9      developer platform.

10          Q.     And -- and other than integration                 06:03:54

11     partners, were there partners that -- that fell

12     into that -- that category?

13          A.     My understanding is that the -- the

14     integration partners, the -- the apps that were

15     intended to have longer term access to this                   06:04:13

16     information.

17          Q.     Okay.   And -- and Facebook's testimony is

18     that there were not other types of partners that

19     had longer term access to the publicly deprecated

20     permission?                                                   06:04:28

21                 MR. BLUME:   Object to form.

22                 THE DEPONENT:     My understanding is that

23     outside of the integration partners only --

24     ultimately, only temporary extensions were -- were

25     granted.                                                      06:04:43

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1           Q.     (By Mr. Loeser)     And integration partners       06:04:44

2      weren't the only type of partners with private

3      APIs, were they?

4                  MR. BLUME:    Objection.     Scope and form.

5                  THE DEPONENT:     Yeah.    I'm -- I'm not          06:04:55

6      sure -- I'm not -- not sure what you mean.

7                  Sorry.    Can you ask a more precise

8      question.

9           Q.     (By Mr. Loeser)     Well, you said -- you

10     testified integration partners had access to                   06:05:01

11     private APIs and permissions.

12                 And what did you mean by that?

13          A.     So many of the -- many of the -- there

14     were a number of developers that had integrations

15     with the Facebook developer platform that were                 06:05:37

16     nonstandard, not things that public developers

17     could build.    To enable those integrations, they

18     would have had some additional capabilities.             And

19     that -- those developers and those integrations

20     were seen as separate to the deprecations of API v1            06:06:00

21     and v2, and rollout to v2.

22          Q.     Yeah.    I just want to make sure the

23     record is clear.

24                 You said that integration partners had

25     that -- went through that process.         And I'm asking      06:06:15

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1      you are there other types of partners that had            06:06:18

2      access to -- to private APIs that enabled something

3      similar for them?

4           A.   My understanding that integration

5      partners refers to any partner at the limit who had       06:06:30

6      some kind of private API access.

7           Q.   If we go to page 3 of this string, back

8      to your November 8th update -- I'm sorry.      We're

9      going to go to page 5 of the string.     And we're

10     moving back to an October 11th, 2013, update on           06:06:57

11     "Platform Simplification."

12               There's a bullet here, "Dev Chakravarti

13     joined the team as a data analyst - helped him ramp

14     up on how to analyze the effects of PS12n on the

15     whole ecosystem."                                         06:07:14

16               Explain who he is and what you asked him

17     to do.

18          A.   I do not recall Dev Chakravarti, and I do

19     not recall what I asked him to do.

20          Q.   I gather Facebook evaluated the effects         06:07:34

21     of PS12 and on the whole ecosystem.

22               And for the record, PS12n is another way

23     of describing the transition to Graph API

24     version 2, right?

25          A.   PS12n refers to platform simplification,        06:07:47

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1      which refers to the package of work that ultimately          06:07:49

2      resulted in what was announced on April 30th, 2014,

3      yes.

4             Q.   Okay.   So Facebook evaluated the effects

5      of PS12n on the whole ecosystem?                             06:08:01

6                  MR. BLUME:     Objection.    Beyond the scope.

7      And form.

8                  THE DEPONENT:     I can't confirm what did

9      or did not happen.       There's an email that says that

10     I helped this person ramp up.        But it doesn't          06:08:16

11     confirm if any analysis or -- was done or what was

12     found.

13            Q.   (By Mr. Loeser)     So if Facebook wanted to

14     answer the question, "Did you analyze the effects

15     of PS12n on the whole ecosystem," what would                 06:08:29

16     Facebook do to find an answer to that question?

17                 MR. BLUME:     Objection.    Scope.    Form.

18                 THE DEPONENT:     I would attempt to see if

19     Dev Chakravarti was still at the company.           And I

20     would look for documents around this time that were          06:08:46

21     analysis or -- or pertained to be analysis of the

22     potential impacts of PS12n.

23                 But you asked me a specific question as

24     to whether or not he did an analysis, and I cannot

25     confirm if he did any analysis.                              06:09:06

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1              Q.   (By Mr. Loeser)     Okay.    Going -- going   06:09:08

2      back to your answer right before that statement, to

3      prepare for your testimony today, did you ask

4      anyone whether Facebook analyzed the effects of

5      PS12 on the whole ecosystem?                               06:09:21

6              A.   I asked people as to if they recall

7      impact sizing being done.        I didn't -- this --

8      your -- your specific question about the whole

9      ecosystem is a very specific one.

10                  I spoke to people about their                 06:09:38

11     recollections as to what analysis was done in

12     advance of the changes.        And I reviewed several

13     documents that could be construed as impact

14     analysis.

15                  MR. LOESER:   Okay.     Thank you.            06:09:53

16                  And -- and I saw that in your notes and

17     we'll come -- we'll get to that in -- in a little

18     bit.

19                  So thank you for that answer.

20                  Let's go to the next exhibit which is a       06:10:01

21     new exhibit, which you'll see in a moment.

22                  It's marked -- we're going to mark it

23     with a new number, 338.

24

25     /////                                                      06:10:29

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1                (Exhibit 338 was marked for                     06:10:29

2      identification by the court reporter and is

3      attached hereto.)

4           Q.   (By Mr. Loeser)     And momentarily,

5      Mr. Cross, you'll see an email from KP to                 06:10:40

6      Monica Mosseri, dated 12/10/2013.       "Subject:

7      Re: PS12n Criteria Review," with an attachment

8      "Criteria for whitelist MWv1_kp edits.pptx."

9                You let me know when you can see that.

10          A.   Yeah, I see it.                                 06:11:10

11          Q.   And you'll see that KP starts his email,

12     "Hello Monica, This is awesome!       Great framework."

13               Do you see that?

14          A.   I do see that.

15          Q.   And then he -- based on this, it appears        06:11:24

16     that he reviewed slides that she prepared and

17     provided some edits and comments; is that right?

18          A.   That's a reasonable interpretation of

19     what KP said.

20          Q.   And if we move down this email string,          06:11:36

21     you'll see at the beginning there's an email from

22     Monica Mosseri to KP, dated December 10th, 2013,

23     with the "Subject: PS12n Criteria Review."

24               Do you see that?

25          A.   I do see that.                                  06:11:53

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1            Q.   She writes, "Hey KP, I am in the final           06:11:54

2      stages of the Whitelist Criteria Review (1a in

3      Simon's graphic) and need your help.         I can set up

4      time over VC if that is easier let me know."

5                 Did I read that correctly?                       06:12:09

6            A.   You read that correctly.

7            Q.   So based on this, Monica Mosseri was

8      involved in a whitelist criteria review as part of

9      the introduction of PS12n or platform 3; is that

10     right?                                                      06:12:25

11                MR. BLUME:    Objection.     Form.

12                THE DEPONENT:     It says what she was

13     involved in here.     I don't want to answer on behalf

14     of the company.     We should just read what she has.

15           Q.   (By Mr. Loeser)     Okay.    And so Facebook     06:12:37

16     did a whitelist criteria review as part of the

17     introduction of platform 3.0?

18           A.   I don't think it's appropriate to say

19     Facebook did.     Monica seems to have done a piece of

20     work of that nature.     But I don't recall what it         06:12:56

21     is.

22           Q.   And she worked for Facebook at the time,

23     right?

24           A.   She worked for Facebook at the time.

25           Q.   So you've said a lot that -- something           06:13:09

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1      along the lines of "I'm not sure that Facebook did              06:13:12

2      this.        But this is what this person did."

3                      Are you -- are you saying to me that when

4      a Facebook employee engages in a project in

5      connection with her work, that that's not something             06:13:21

6      that Facebook did?

7              A.      Perhaps I'm --

8                      MR. BLUME:   Objection to form.

9                      THE DEPONENT:     Perhaps I'm just

10     misrepresenting how that question should be                     06:13:35

11     answered.        My apologies.

12             Q.      (By Mr. Loeser)     Okay.     And -- and I'm

13     not -- I'm not trying to make you uncomfortable.

14     I'm just -- I want to be clear that we're talking

15     about a Facebook employee doing work for Facebook.              06:13:48

16                     And you're not saying something other

17     than that, right?

18             A.      No, this is a Facebook employee --

19     sorry, Rob.        You were going to say something?

20                     MR. BLUME:   I was going to say,                06:13:57

21     objection, to the extent it calls for a legal

22     conclusion.

23                     THE DEPONENT:     Okay.     Yeah, I -- I -- I

24     can say that Monica was a Facebook employee and

25     it -- it appears by this email that she's --                    06:14:07

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1      she's -- she's doing some work, and it would be           06:14:10

2      reasonable to say it's in con- -- coherent with her

3      duties.

4           Q.   (By Mr. Loeser)     And if you look at No. 1

5      in her email, she writes, "Finalizing app                 06:14:26

6      categories and conversional apps to flag: in

7      slide 7, I have gone ahead and highlighted the

8      categories of apps that are controversial.

9      Controversial meaning there would be significant

10     impact to us if they were" shut -- "if they were to       06:14:38

11     shut down their integration in response to PS12n.

12     Also controversial because they are trending and

13     there is a strategic relationship with Zuck/mteam."

14               Did I -- did I read that accurately?

15          A.   I think you read that accurately.               06:14:59

16          Q.   So based upon this, it appears that a

17     whitelist criteria review was done to determine

18     which apps should be whitelisted, right?

19          A.   No, that doesn't -- that's not a

20     conclusion you can directly draw from this.               06:15:16

21               She's saying she's in the final stages of

22     a whitelist criteria review.      I don't know what --

23     I don't recall what she meant by that.        And it

24     doesn't mean that necessarily apps were categorized

25     against that criteria.   I just don't know what this      06:15:35

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1      work was, sitting here today.                              06:15:40

2           Q.   So fair to say that a whitelist criteria

3      review was a review of whitelist criteria?

4                MR. BLUME:     Objection.    Form.

5                THE DEPONENT:     She's -- it's hard to know     06:15:54

6      what she means.     She's in the final state -- she

7      says here she's in the final stages of something.

8      But I -- again, I don't know what that means.

9      There was some process underway, but I'm -- I'm not

10     aware, sitting here today, of what that was.               06:16:12

11          Q.   (By Mr. Loeser)     And -- and Mr. Cross,

12     what relationship does the whitelist criteria

13     review have to the work that KP referred as

14     Jackie Chang's format for partnership positions?

15               MR. BLUME:     Objection.    Form.    Scope.     06:16:33

16               THE DEPONENT:     Sorry.    Can you frame that

17     a bit again?     I'm not sure I make the connection

18     you're making.

19          Q.   (By Mr. Loeser)     Sure.

20               We went through some email that discussed        06:16:44

21     Jackie Chang's recommendations regarding a format

22     for how to treat different types of partners in the

23     transition to the new platform.       KP referred to

24     that as Jackie's format.

25               And I'm asking you what the relationship         06:17:02

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1      is between that and this whitelist criteria review           06:17:05

2      that is referenced here?

3           A.     I don't know the relationship between

4      those two things.

5           Q.     So in this -- in her final stages of the         06:17:15

6      whitelist criteria review, Ms. Mosseri indicates

7      that she's gone ahead and highlighted the

8      categories of apps that are controversial.             And

9      then she defines controversial here, "meaning there

10     would be significant impact to us if they were shut          06:17:34

11     down."

12                 What is -- how -- how does Facebook

13     define significant impact resulting from if

14     partners or apps are shut down in response to the

15     transition to PS12n?                                         06:17:50

16                 MR. BLUME:   Objection.    Scope.    And form.

17                 THE DEPONENT:   There's no standard

18     definition at the company of what "significant

19     impact" would mean.

20                 Significant is subjective.      And impact       06:18:01

21     could mean many different things in many different

22     contexts.

23                 Oh, I can say in a -- in a personal

24     capacity here, having been involved to some degree,

25     is the types of things that would be considered              06:18:18

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1      here might be reputational concerns and platform --            06:18:22

2      like user significant -- user -- user experience

3      concerns by developers removing integrations that

4      users found valuable.

5           Q.     (By Mr. Loeser)     And any other --               06:18:43

6      anything else that Facebook would consider a

7      significant impact to Facebook if particular apps

8      were shut down as a result of the introduction of

9      platform 3.0?

10                 MR. BLUME:     Objection.    Scope.    And form.   06:19:05

11                 THE DEPONENT:     Again, I don't feel I can

12     answer on Facebook's behalf.        There's no standard

13     definition for significant.       And there's no

14     significant -- there's no standard definition

15     for -- for impact.       So I -- I -- I don't feel I can       06:19:17

16     define that on Facebook's behalf.

17          Q.     (By Mr. Loeser)     Okay.    But nonetheless,

18     you gave one example, which was reputational

19     concern.

20                 That could be a significant impact for             06:19:29

21     Facebook?

22          A.     In my personal capacity, having worked on

23     this stuff, that might be considered impact because

24     of these changes.

25                 I gave a second example as well, which is          06:19:41

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1      user experience changes as a result of the changes        06:19:46

2      and how the API worked and the experiences that

3      developers would be able to build.

4           Q.   And then Ms. Mosseri also writes, "Also,

5      controversial because they are trending and there         06:20:01

6      is a strategic relationship with Zuck/mteam."

7                What -- what apps had a strategic

8      relationship with -- and I suppose that's

9      Mark Zuckerberg; is that a fair way to read that?

10          A.   I think "Zuck" in this context would            06:20:14

11     refer to -- to Mark Zuckerberg.

12          Q.   And what does the M Team refer to?

13          A.   M Team refers to Mark's leadership team.

14          Q.   And do you know who's on that team -- who

15     was on at this time?                                      06:20:27

16          A.   I know some of the people that are on it

17     at this time.     But the -- the people on that team

18     has changed over -- over the years, as you may

19     expect.

20          Q.   Okay.     Who were some of the people that      06:20:37

21     were on at this time?

22          A.   On it at this time?

23          Q.   Yeah.

24          A.   Sorry.

25               I know who's on it -- I know some of the        06:20:44

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1      people on it today.       But I'm not sure who would        06:20:47

2      have been on it at this time.

3           Q.      Was -- was Sheryl Sandberg on the M Team

4      at this time?

5           A.      I cannot confirm.     I do not -- I do not     06:21:02

6      know whether or not Sheryl was on the M Team at

7      this time.

8                   Again, in a personal capacity,

9                                 But I could not say

10     100 percent for certain                                     06:21:12

11          Q.      And what does it mean to Facebook for

12     apps that have a "strategic relationship with

13     Zuck/mteam"?

14                  MR. BLUME:    Objection.     Form.    Scope.

15                  THE DEPONENT:     I don't know what it means   06:21:28

16     specifically to have a strategic relationship

17     with -- with Zuck and M Team.

18                  There's no company definition for -- for

19     what that would mean.        So I -- I cannot -- I don't

20     feel I can accurately answer that question on               06:21:43

21     behalf of the company.

22          Q.      (By Mr. Loeser)     And if you move down

23     Ms. Mosseri's email a little bit under No. 2, it

24     says "Loss/Decision Assessment: in slide 7 and 8,

25     we need to access the loss for the top partners and         06:21:58

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1      determine whether we will grant them an exemption           06:22:00

2      or extension."

3                   So what does Facebook mean by top

4      partners?

5                   MR. BLUME:   Objection.      Scope.    Form.   06:22:12

6                   THE DEPONENT:     I don't know what Face- --

7      I don't know what Monica means by -- by top

8      partners.     That could mean a whole bunch of

9      different things, depending on the context.

10          Q.      (By Mr. Loeser)     And the reference to       06:22:25

11     exemptions or extensions, that -- that is with

12     regard to the -- to changes that would occur with

13     the introduction of platform 3.0?

14          A.      Given the timeline of the -- of the

15     email, I think it's reasonable to -- to -- to               06:22:39

16     conclude that's what she meant.

17                  But, again, as I've said multiple times

18     here, I think the -- the frame of mind of the team

19     in 2013, when the nature of the changes was still

20     in flux and the expected exact -- exact -- exact            06:23:04

21     set of changes and the way in they were rolled out

22     drastically differed from what ultimately ended up

23     happening.

24                  So you're seeing a bunch of people here

25     as -- as I mentioned before, attempting to -- to            06:23:22

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1      prepare for -- for something where the actuality               06:23:25

2      was quite different.

3            Q.   Okay.   And so on that same No. 2,

4      Ms. Mosseri writes -- and this is to KP -- "Can you

5      help me assess the losses (rev and data)" -- "rev"             06:23:42

6      refers to revenue there; is that right?

7                 MR. BLUME:   Objection.       Form.   Scope.

8                 THE DEPONENT:     I can't confirm what

9      revenue means in this context.

10           Q.   (By Mr. Loeser)     Okay.     Well, let's just      06:23:57

11     read it into the record.

12                "Can you help me assess the losses (rev

13     and data) and whether we will make an

14     exemption/extension for the following apps?"

15                And then the following apps it appears              06:24:09

16     are                        is what's shown on here; is

17     that -- did I read that correctly?

18           A.   The formatting is a little messed up.          So

19     it's not 100 percent clear that that's -- that --

20     that's what naturally follows.         But it's not            06:24:24

21     unreasonable to -- to think that's the case.

22           Q.   Okay.   And so it looks like Ms. Mosseri

23     was asking KP if he can help her assess the losses

24     and -- whether Facebook will make an exemption or

25     extension for particular apps.                                 06:24:40

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1                And this, again, is in connection with             06:24:42

2      the implementation of platform 3.0, right?

3                MR. BLUME:     Objection.    Form.    Scope.

4                THE DEPONENT:     I can't confirm exactly

5      what these folks meant.     We should speak to them.         06:24:53

6      But it looks like that's the discussion they're

7      having given the subject of the email.

8                MR. LOESER:     Let's go to the next

9      exhibit, which is the slide deck that -- that

10     Ms. Mosseri sent to KP, attached to the email that           06:25:12

11     we just went through on December 10th, 2013.           And

12     this will be another new exhibit.

13               (Exhibit 339 was marked for

14     identification by the court reporter and is

15     attached hereto.)                                            06:25:27

16          Q.   (By Mr. Loeser)     And I represent to you,

17     Mr. Cross, that this is the attachment to

18     Ms. Mosseri's email.

19               And you'll remember in KP's response he

20     indicated that he made some notes and provided some          06:25:56

21     comments on her slide deck.

22               Do you recall that?

23          A.   Yes, I do.

24          Q.   Okay.     So if we go to the -- it looks

25     like the seventh slide, and then go to the next              06:26:14

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1      page.        The -- the notes are not visible -- visible    06:26:20

2      on the view that we're looking at.

3                      I will note for the record that the

4      version that we're introducing as an exhibit has

5      notes in -- in the document that appear to be the           06:26:35

6      notes that -- that KP made on the slide deck.

7                      We can put this exhibit aside.      We're

8      going to go to another version of this deck.

9                      Let's -- actually, before we do that, go

10     to the first page of the deck.                              06:26:48

11                     Do you see the title of this slide deck,

12     Mr. Cross?

13             A.      I do.

14             Q.      And could you read that title for the

15     record.                                                     06:27:05

16             A.      "Criteria for granting Exemptions and

17     Extensions."

18             Q.      And the date of this document is 12/5/13;

19     is that right?

20             A.      I assume that's the American format,        06:27:18

21     so...

22             Q.      Fair -- fair point.

23                     I interpret that as December 5th, 2013;

24     is that how you interpret it as well?

25             A.      Annoyingly, yes, it is, how I interpret     06:27:30

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1      it.                                                       06:27:33

2            Q.    And -- and the author is Monica Mosseri;

3      is that right?

4            A.    It is.    And the critical piece of

5      information on this is the word "Draft."                  06:27:39

6                  MR. LOESER:    Right.    Right.

7                  Okay.    So let's go -- you can put that

8      exhibit aside and we're going to go to another

9      version of this presentation.

10                 This will be marked as Exhibit 340.           06:27:50

11                 (Exhibit 340 was marked for

12     identification by the court reporter and is

13     attached hereto.)

14                 MR. LOESER:    And when you -- when it

15     comes up, we'll look at the first page of this            06:28:17

16     slide deck as well.

17           Q.    (By Mr. Loeser)     And fair to say that

18     this is another -- this also is a slide deck, and

19     if you could read the title into the record.

20           A.    "Criteria for granting Exemptions and         06:28:44

21     Extensions, Draft, 12/5/13".

22           Q.    Okay.    And if we could go back to the

23     metadata.

24                 So I'll -- I'll state for the record that

25     this was a version of this document that was also         06:29:06

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1      produced by Facebook.     And -- and this is the           06:29:09

2      metadata associated -- metadata associated with

3      that document.     We can move on to the document

4      itself.

5                So let's go to the -- the second --              06:29:28

6      the -- it looks like the second slide in the -- in

7      the deck which has the heading decision -- well --

8      yeah, let's look at this agenda.       This is page 2 of

9      the deck, I believe.

10               And you see there's "Agenda," and it says        06:29:47

11     "Decision Buckets," right?

12          A.   Yeah.

13          Q.   And then there's a list of different

14     categories of apps, right, "Non-Games, Games,

15     PMD's, Mobile/TV/Devices"?                                 06:29:59

16          A.   I see.

17          Q.   And what -- what are PMDs?

18          A.   PMDs, I think, refers to page management

19     developers.    I'm not 100 percent sure of that -- of

20     the acronym.                                               06:30:20

21          Q.   So the first item on the agenda is

22     "Decision Buckets"; is that right?

23          A.   That's the first item on the agenda.

24          Q.   Okay.     And if we go to the next page of

25     the slide deck, you see there's a slide that says          06:30:32

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1      "Decisions Buckets."                                      06:30:37

2                Do you see that?

3           A.   I see that.

4           Q.   And, again, this is a presentation on the

5      criteria for granting exemptions and extensions,          06:30:42

6      right?

7           A.   No.     This is a proposed -- a set of

8      proposals for potentially how to think about this.

9           Q.   Okay.     So under the "Decision Buckets"

10     listed in this slide, in this presentation on the         06:31:05

11     criteria for granting exemptions and extensions,

12     the first bucket is "Exemption."

13               Do you see that?

14          A.   I do see that.

15          Q.   And why don't you read for the record           06:31:16

16     what -- how that bucket is described.

17          A.   On the document it says "Strategic value

18     for both companies long term."

19          Q.   Okay.     And then let's look at the second

20     bucket identified.                                        06:31:29

21               That's "Extension"; is that right?

22          A.   That's correct.

23          Q.   And why don't you read for the record

24     what that -- how that bucket is described.

25          A.   "Contract with backward capability clause       06:31:38

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1      Company that cannot move quickly and what length"             06:31:42

2      of "extension and what capabilities."

3           Q.    And the third bucket identified here is

4      "Standard"; is that right?

5           A.    That's what's on the slide.                        06:31:53

6           Q.    Okay.   And what's the descriptions of

7      that bucket?

8           A.    "No access to private capabilities."

9           Q.    So if we go back to the "Agenda" slide.

10                Again, after the "Decision Buckets,"               06:32:10

11     there are these -- these four categories.

12                The first "Non-Games."     The second,

13     "Games."   The third "PMD's."     And the fourth

14     "Mobile/TV/Devices"; is that right?

15          A.    That's right.                                      06:32:31

16          Q.    Okay.   So now let's go to the fourth page

17     of the presentation and you see the cover slide,

18     "Non Games."

19          A.    Yup.

20          Q.    Waiting for it here.     "Non Games."      There   06:32:50

21     it is.

22                And then the slide that comes after that

23     is a description of apps that are within the

24     "Non Games" category, and there's more detail on

25     those different apps.                                         06:33:11

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1                  If you look at that slide, it's captioned     06:33:13

2      "Categories of apps and impact."

3                  Is that a fair read of this presentation,

4      that there's a title slide that says "Non Games,"

5      and the next page has more detailed information.          06:33:20

6                  Would you read that to -- for -- for

7      the -- the next slide to be related to the title

8      slide?

9           A.     I think that's a fair read, yes.

10          Q.     And are all of these apps identified here     06:33:31

11     nongames?

12          A.     I would --

13                 MR. BLUME:   Objection.      Form.

14                 THE DEPONENT:     -- consider all of the

15     categories listed here as nongames.                       06:33:41

16          Q.     (By Mr. Loeser)     And then within this

17     category of nongames, you'll see that the slide has

18     a category, "Sub Categories that require further

19     assessment."

20                 Do you see that?                              06:33:55

21          A.     I do.

22          Q.     And there are five different

23     subcategories that are identified; is that right?

24          A.     I do.

25          Q.     And they are -- "Social network               06:34:06

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1      influencing," that's the first one, right?                06:34:09

2              A.   Yeah.

3              Q.   "Media Aggregators" is the second; is

4      that right?

5              A.   Correct.                                     06:34:17

6              Q.   "Social Apps" is the third; is that

7      right?

8              A.   Correct.

9              Q.   "TV" is the fourth, correct?

10             A.   Correct.                                     06:34:25

11             Q.   And what's the fifth one identified

12     there?

13             A.   The word on the slide is "Strategic."

14             Q.   So let's go to next page of this slide

15     deck.                                                     06:34:41

16                  And can you read for the record what the

17     title of this slide is.

18             A.   The title of the slide is "What do we

19     have to lose?"

20             Q.   Okay.   And this is a -- is a slide that     06:34:53

21     is in the presentation called "Criteria for

22     granting Exemptions and Extensions"; is that right?

23             A.   It's in a slide which is a draft of how

24     to think about that potentially.

25             Q.   So let's go through each of these items      06:35:11

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1      on here.                                                    06:35:13

2                 The first one is "Revenue"; is that

3      right?

4           A.    That's what's on the slide.

5           Q.    And then what are the questions asked in         06:35:18

6      connection with "Revenue"?

7           A.    "Big Neko spenders?

8

9           Q.    Okay.   And what are -- what is Neko?

10          A.    Neko is the code name for mobile app             06:35:31

11     install ads.

12          Q.    So one of the questions being asked on

13     "What do we have to lose?" is whether -- whether

14     revenue would be lost by -- by big Neko spenders;

15     is that -- that right?                                      06:35:45

16                MR. BLUME:    Objection.     Form.    Scope.

17                THE DEPONENT:     What's on the slide is --

18     is "Big Neko spenders" is under the heading "What

19     do we have to lose?"

20          Q.    (By Mr. Loeser)     For revenue, right?          06:35:59

21          A.    It's next to "Revenue" on the slide.

22          Q.    Okay.   And the next item there is "

23                                             And that's also a

24     question related to what do we have to lose with

25     regard to revenue; is that right?                           06:36:13

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1                  MR. BLUME:   Objection.      Form.                 06:36:15

2                  THE DEPONENT:     It's a question, as

3      written on the slide.

4           Q.     (By Mr. Loeser)     Question relating to

5      "What do we have to lose?" related to revenue,                 06:36:22

6      right?

7                  MR. BLUME:   Same objection.

8                  THE DEPONENT:     I mean, if -- if I'm just

9      reading a slide now.

10          Q.     (By Mr. Loeser)     Well, actually, you're         06:36:34

11     testifying on behalf of Facebook.

12                 So did Facebook consider the -- the loss

13     that would relate to revenue because of big Neko

14     spenders?

15                 MR. BLUME:   Objection.      Form.    And scope.   06:36:48

16                 THE DEPONENT:     So the slide here

17     indicates that when thinking about the potential

18     impact of these changes, along with several other

19     accesses, it was a question being asked.

20          Q.     (By Mr. Loeser)     Okay.    And another           06:37:05

21     question being asked in that context was "Will

22     access to graph increase spend?"; is that right?

23                 MR. BLUME:   Objection.      Form.    And scope.

24                 THE DEPONENT:     The slide suggests that

25     the author was asking that question.                           06:37:16

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1           Q.      (By Mr. Loeser)     The author is a person        06:37:19

2      who works for Facebook, who developed a PowerPoint

3      called "Criteria for granting Exemptions and

4      Extensions," right?

5                   THE COURT REPORTER:      Wait.    Mr. Blume,      06:37:29

6      you were muffled.     What --

7                   MR. BLUME:   Sorry.     I -- my objection was

8      asked and answered.

9           Q.      (By Mr. Loeser)     You can answer,

10     Mr. Cross.                                                     06:37:43

11          A.      This is a slide deck with that title,

12     with this slide on it, produced by an employee of

13     Facebook.

14          Q.      (By Mr. Loeser)     And then if we move down

15     the -- the column on "What do we have to lose," the            06:37:56

16     second item is "Visibility/Influence."

17                  Do you see that?

18          A.      I do see that.

19          Q.      And what were the questions that Facebook

20     posed with regard to visibility and influence?                 06:38:10

21                  MR. BLUME:   Objection.      Form.    Scope.

22                  THE DEPONENT:     What's on the slide

23     written by Monica is "Risk of bad press?"            And "Is

24     there user value and will they be upset?"

25          Q.      (By Mr. Loeser)     And so the risk of bad        06:38:26

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1      press, in the context of this transition to the new          06:38:29

2      platform, why would there be a risk of bad press

3      relating to that transition in which certain

4      permissions were deprecated?

5                MR. BLUME:   Objection.      Form.    And scope.   06:38:43

6                THE DEPONENT:     It's hard to answer that

7      on behalf of the company.

8                But what I can say in a personal

9      capacity, having worked in this area, is that the

10     changes that were being proposed at the time would           06:38:55

11     have had an impact on several -- many applications

12     built on the Facebook developer platform, and there

13     was a concern that they might be vocal about their

14     displeasure.

15          Q.   (By Mr. Loeser)     And now the next item is       06:39:13

16     "Users/Engagement," and the question is "Will they

17     remove login resulting in a MAU drop?"

18               Tell me what that means.

19               MR. BLUME:   Objection.      Form.    Scope.

20               THE DEPONENT:     Well, what they mean is --       06:39:29

21     by remove login is that the -- an app might choose

22     to remove a Facebook login integration, and that

23     might result in a monthly activity user drop.

24          Q.   (By Mr. Loeser)     And so you're -- what

25     this is suggesting is that because of the changes            06:39:48

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1      to the platform, an app may decide not to                    06:39:50

2      participate on the platform anymore causing a drop

3      in monthly average users of the platform; is that

4      right?

5                  MR. BLUME:   Objection.      Form and scope.     06:40:02

6                  THE DEPONENT:     This is -- MAU is monthly

7      active, rather than average users.

8                  One of the -- one of the concerns

9      discussed at the time is that these changes might

10     require developers to deprecate or that developers           06:40:20

11     would choose to deprecate their applications and,

12     therefore, no longer participate in the Facebook

13     developer platform resulting in worse outcomes for

14     users.

15          Q.     (By Mr. Loeser)     And why does Facebook        06:40:35

16     care about monthly active users?

17                 MR. BLUME:   Objection.      Beyond the scope.

18                 THE DEPONENT:     Yeah.   I -- this is beyond

19     the scope of like what I've been prepared to

20     testify on.                                                  06:40:47

21                 Sorry.   I don't feel I can answer that

22     question.

23          Q.     (By Mr. Loeser)     So in connection with

24     the -- the impact of the transition to the new

25     platform, Facebook is not prepared to testify about          06:40:59

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1      why it cares about an impact relating to a drop in              06:41:02

2      monthly active users?

3                  MR. BLUME:   Objection to form.        And

4      scope.

5                  THE DEPONENT:     It's unclear what MAU             06:41:12

6      means in this context.      It could be -- MAU is a

7      metrics used to define many different things at

8      Facebook.

9           Q.     (By Mr. Loeser)     All related to monthly

10     active users, right?                                            06:41:25

11          A.     In different context, though.         There are

12     different products that calculate monthly active

13     users for their product.

14          Q.     Okay.   So looking at the next item on

15     here, it says "Data Exchange."                                  06:41:38

16                 Do you see -- see that?

17          A.     I do.

18          Q.     What does data exchange mean for

19     Facebook?

20                 MR. BLUME:   Objection.      Form.    And scope.    06:41:48

21                 THE DEPONENT:     I can't answer what does

22     data exchange mean for Facebook, in general.             That

23     would be beyond the scope.

24                 Well, I can say there in this context --

25     again, given my personal experience -- is one of                06:42:01

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1      the benefits of the Facebook developer platform was                    06:42:05

2      that users would share their activity in apps back

3      to Facebook.        And that was seen as a good thing

4      because it would be more content on their timeline

5      and in newsfeed for their friends.                                     06:42:22

6              Q.      (By Mr. Loeser)     And the data was also

7      beneficial for Facebook's business, right?

8                      MR. BLUME:   Objection.      Form.    And beyond

9      the scope.

10                     THE DEPONENT:     I'm not able to answer the           06:42:35

11     question on -- on the business, on the advertising

12     side.        That's not my area of expertise.

13                     Again, what I can say is that one of the

14     values of the Facebook developer platform is that

15     information about users' activity and apps, users                      06:42:52

16     would decide to share that back to Facebook, and

17     that would be content on their timeline, in their

18     newsfeed.

19                     And that would be a reason for their

20     friends to come back and look at newsfeed.                   So good   06:43:04

21     for -- good for users and ultimately good for

22     Facebook.

23             Q.      (By Mr. Loeser)     Okay.    And so the

24     question being asked with regard to "Data Exchange"

25     is "Will we lose access to OG data?"                                   06:43:16

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1                  What is OG data?                              06:43:19

2                  MR. BLUME:   Objection.      Form.

3                  THE DEPONENT:     OG data, in this context,

4      refers to Open Graph data, which in this context,

5      again, specifically refers to users choosing to           06:43:30

6      share their activity in apps back to their Facebook

7      timeline.

8           Q.     (By Mr. Loeser)     And OG data would also

9      include data about users' friends, right?

10                 MR. BLUME:   Objection.      Form.            06:43:44

11                 THE DEPONENT:     No.

12          Q.     (By Mr. Loeser)     Why not?

13          A.     So in this context, it's about a user

14     sharing their activity back to Facebook.

15          Q.     Can their activity also involve               06:44:01

16     information about their friends?

17          A.     No.   A user in -- in this context, is

18     about a user sharing their activity in an app back

19     to Facebook.

20          Q.     So if their activity was "Went to the         06:44:16

21     restaurant with my friend," that's not information

22     about the user's friend?

23                 MR. BLUME:   Objection.      Form.

24                 THE DEPONENT:     I mean, in this context,

25     that's what it means.       It's -- there was a           06:44:27

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1      mechanism for a user to tag their friend in a                 06:44:32

2      story.    But in this case, it's about a user

3      choosing to share activity in their -- in an app

4      with their friends on Facebook.          And that's --

5      that's specifically what this is referring to, in             06:44:46

6      my understanding.

7           Q.      (By Mr. Loeser)     Okay.    And then the next

8      question is "Do certain products depend on this

9      data?"

10                  What -- what data is this referring to?          06:44:52

11          A.      I'm not sure exactly what data is -- is

12     this data.     I'm inferring that it means OG data.

13                  But, you know, that -- that's -- that's

14     my inference.     It's not entirely clear from this

15     slide what -- what this data means.                           06:45:13

16          Q.      So Ms. Mosseri -- Mosseri -- or Mosseri

17     here was evaluating -- when answering the question

18     "What do we have to lose," one of the categories

19     she identified was data exchange, right?

20                  MR. BLUME:   Objection.      Form.               06:45:26

21                  THE DEPONENT:     Data exchange is on -- on

22     the slide.

23          Q.      (By Mr. Loeser)     So let's go to the next

24     page of the slide.

25                  Do you see that the header or the title          06:45:42

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1      of that slide is "Loss Assessment"?                             06:45:46

2           A.      I do.

3           Q.      So based on this slide, it appears that

4      Facebook did a loss assessment using the different

5      categories of apps that were earlier identified in              06:46:00

6      this presentation; is that right?

7                   MR. BLUME:   Objection.      Form.    And scope.

8                   THE DEPONENT:     I mean, it's hard to --

9      it's hard to read this slide.

10                  The title "Loss Assessment" is there, but          06:46:12

11     everything else is -- is kind of squiffy.

12          Q.      (By Mr. Loeser)     Okay.    So if you go back

13     to the slide, "Categories of apps and impact" --

14     and -- and I can clarify this with -- with some

15     questions.     I can see why you were confused.                 06:46:28

16                  The subcategories that required further

17     assessment were "Social Network Influencing, Media

18     Aggregators, Social Apps, TV" and "Strategic"; is

19     that right?

20          A.      That's what I see on the slide, yeah.              06:46:41

21          Q.      Okay.   So now when you go forward to the

22     "Loss assessment" slide, the categories of apps for

23     which there was further assessment were "Media

24     Aggregator, Social Network Influencing, Social

25     Apps, TV" and "Other strategic."                                06:46:50

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1                Do you see that?                                   06:46:54

2           A.   That's what I see on the slide.

3           Q.   Okay.   So this is a further loss

4      assessment pertaining to those specific categories

5      that were subcategories of the nongames category.            06:47:03

6                Do I have that right?

7                MR. BLUME:   Objection.      Form.    And scope.

8                THE DEPONENT:     I -- I think you -- I

9      think you probably have these right.        These are --

10     these are five categories that are mentioned on the          06:47:18

11     previous slide.

12          Q.   (By Mr. Loeser)     Okay.    And then if you

13     look at the "Loss assessment," it's broken down

14     into four different categories.       And they are

15     "Revenue, Visibility Influence, Users/Engagement"            06:47:28

16     and "Data Exchange."

17               Do you see that?

18          A.   I do see that.

19          Q.   And those were the four different

20     categories that was identified on the slide "What            06:47:39

21     do we have to lose"; is that right?

22          A.   That matches the previous slide.

23          Q.   So let's look down the other strategic

24     column of this loss assessment.       And if you look at

25     the -- across from the "Revenue (Q4 '13)" line --            06:47:59

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1      do you see that in the middle of the page, "Revenue             06:48:04

2      (Q4 '13)"?

3             A.    I see it in the middle of the page, yeah.

4             Q.    And so for the purpose of this analysis,

5      Facebook was able to identify the revenue for                   06:48:14

6      specific apps that were taken into account when

7      evaluating loss assessment rating -- relating to

8      revenue for Q4 '13; is that right?

9                   MR. BLUME:   Objection.      Form.    And scope.

10                  THE DEPONENT:     I -- I am not -- I               06:48:37

11     can see -- I can see on the slide, but --

12     discussing exactly how revenue was calculated or --

13     is -- is not something I've been prepared to

14     testify about -- I'm prepared to testify about.

15            Q.    (By Mr. Loeser)     Okay.    So one of the         06:48:54

16     topics here was the revenue impact of -- of

17     whitelisting, for example, right?

18            A.    I think that -- I think that's right,

19     yes.

20            Q.    And so this is a slide that -- that shows          06:49:11

21     that Facebook evaluated loss assessment, and one of

22     the categories of loss assessment that was

23     evaluated was revenue, right?

24                  MR. BLUME:   Objection.      Form.    And scope.

25                  THE DEPONENT:     Again, in this slide deck        06:49:30

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1      that -- that Monica prepared, she has done some                 06:49:35

2      analysis or pulled some data, and one of those data

3      is some revenue numbers.

4           Q.      (By Mr. Loeser)     And so it appears from

5      this slide deck that when considering the other                 06:49:50

6      strategic partners, and these other subcategories,

7      and the impact of the transition to the new

8      platform, Facebook was able to evaluate the revenue

9      associated with other strategic partners; is that

10     right?                                                          06:50:08

11                  MR. BLUME:   Objection.       Form.   And beyond

12     the scope.

13                  THE DEPONENT:     Yeah.     As I say, I think

14     it's beyond the scope of what I've been prepared to

15     testify on.                                                     06:50:19

16          Q.      (By Mr. Loeser)     Okay.     Can you answer

17     the question?

18          A.      From looking at the slide here, there is

19     some revenue numbers for some developers and

20     partners, but it's unclear to me exactly what                   06:50:37

21     that -- what -- where that -- where that data came

22     from or exactly what it refers to.           But there's

23     some revenue numbers on the slide.

24          Q.      So the revenue numbers on the slide

25     include -- and you tell me if I'm reading the slide             06:50:51

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1      wrong -- but for Q4 '13, so fourth quarter of 2013,             06:50:55

2      eBay has $639,342 of revenue.           That was revenue for

3      Facebook.

4                   Is that -- is that a fair way to read

5      this slide?                                                     06:51:11

6                   MR. BLUME:    Objection.      Form.   And scope.

7                   THE DEPONENT:     I can't confirm exactly

8      what was meant by the author.           But I'm reading that

9      there is those numbers on the slide, yes.

10          Q.      (By Mr. Loeser)        So based upon this          06:51:26

11     slide, it appears that Facebook evaluated the

12     revenue paid by certain partners when looking at

13     the impact of the introduction of the new platform

14     would have on those partners if they were to stop

15     using the platform?                                             06:51:40

16                  MR. BLUME:    Objection to form.

17          Q.      (By Mr. Loeser)        Do you think that's --

18                  MR. BLUME:    Sorry.

19                  THE DEPONENT:     No.

20                  MR. BLUME:    Hold on.      Did you finish your    06:51:49

21     question, Derek?

22                  MR. LOESER:     Yes.

23                  MR. BLUME:    Oh, then objection.       Form.

24     And scope.

25                  THE DEPONENT:     So my understanding of --        06:52:04

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1      of reading this is that there is some data on                06:52:06

2      revenue from some partners, but it's not clear to

3      me that this is directly related to whether or not

4      they would stop using the platform.

5                It indicates that they -- again, seeing            06:52:27

6      what I see on the slide -- that that was the

7      revenue in the quarter.     It does not make a

8      specific connection to whether or not they would be

9      impacted by the changes and how.

10          Q.   (By Mr. Loeser)       But does Facebook track      06:52:44

11     the revenue of -- that it receives from its

12     strategic partners?

13               MR. BLUME:    Form.     Scope.

14               THE DEPONENT:     I'm not well up on the

15     advertising side of Facebook's business.         And I       06:53:03

16     haven't worked in the strategic partnership team

17     for a long time.   So I don't feel I can clearly

18     answer that question.

19          Q.   (By Mr. Loeser)       So where would Facebook

20     go if it wanted to answer the question of the                06:53:16

21     amount of revenue paid to Facebook in the Q -- in

22     Q4 '13 for Amazon, Apple, Spotify, Bing, Windows,

23     Skype, eBay and Ticketmaster?

24               MR. BLUME:    Objection.     Form.    And scope.

25               THE DEPONENT:     I would probably go and          06:53:33

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1      ask someone on the advertising side of the                      06:53:35

2      business.

3           Q.     (By Mr. Loeser)     And if Facebook wanted

4      to evaluate the loss of revenue to Facebook, if all

5      of the partners I just listed stopped using the                 06:53:46

6      platform, how would Facebook do that?

7                  MR. BLUME:   Objection.      Form.    And scope.

8                  THE DEPONENT:     I'm -- I'm not sure --

9      I -- I -- I don't know.       I'm not an expert in

10     analyzing spend and what the impact is.                         06:54:01

11                 Remember, the -- we're talking here about

12     a bunch of platform changes.        Revenue could come

13     from -- from a number of different reasons.              This

14     revenue is not necessarily directly connected to

15     their integration.                                              06:54:22

16                 So I -- I actually -- again, I don't

17     know -- and I want to be clear -- I'd be

18     speculating.    I -- I do not know.       And I -- I'm not

19     an expert in how you would assess the potential

20     loss in revenue if the integrations were stopped.               06:54:37

21          Q.     (By Mr. Loeser)     So fair to say when

22     Ms. Mosseri was evaluating "What do we have to

23     lose," one of the topics that she evaluated was

24     revenue, right?

25                 MR. BLUME:   Objection.      Asked and              06:54:52

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1      answered.                                                  06:54:52

2                  THE DEPONENT:     I feel like I've answered

3      that question.

4           Q.     (By Mr. Loeser)     So that's a "yes"?

5           A.     I feel like I've answered that question.       06:55:02

6                  MR. BLUME:     You can answer.

7           Q.     (By Mr. Loeser)     You can answer.

8                  MR. BLUME:     You -- you can answer again,

9      Simon, if you remember.

10                 THE DEPONENT:     Okay.     Revenue -- there   06:55:09

11     are -- there are some revenue stats on here, but

12     it's not necessarily making a connection with --

13     with impact.     It's just -- my understanding is

14     this is -- this is statements of revenue in a

15     quarter by these companies and that's it.                  06:55:27

16          Q.     (By Mr. Loeser)     Okay.     On a page with

17     the title "Loss assessment"; is that right?

18          A.     The numbers are on a page with the title

19     "Loss assessment."       But that doesn't mean that

20     this would be the loss if -- this would be an              06:55:41

21     assessed loss based on the proposed changes.

22          Q.     Fair to say, however, that Ms. Mosseri

23     was identifying the revenue received from certain

24     partners in connection with her evaluation of

25     potential losses that Facebook would experience as         06:55:59

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1      a result of the transition?                                     06:56:01

2                   MR. BLUME:   Objection.      Form.    And scope.

3                   THE DEPONENT:     Again, reading -- reading

4      from the slide here, there's a slide with "Loss

5      assessment" in the title, and there are some                    06:56:14

6      revenue numbers, very small number of companies.

7            Q.     (By Mr. Loeser)     And fair to say if -- if

8      Facebook could identify those revenue numbers for

9      eBay and Spotify, it could also identify them for

10     all of its other strategic partners?                            06:56:30

11                  MR. BLUME:   Objection.      Form.    Scope.

12                  THE DEPONENT:     I do not know how -- I --

13     I do not know if that's possible.          It's -- as we've

14     discussed previously, definition of strategic

15     partner is not like clearly defined and/or                      06:56:45

16     universal.

17                  And I'm not an expert and would not know

18     and was not -- did not prepare to answer questions

19     on how revenue would be assessed for a given

20     company.     It's -- it's not something I know how to           06:57:10

21     do.

22           Q.     (By Mr. Loeser)     You can't answer the

23     question, but it's an answerable question by

24     Facebook, right?

25                  MR. BLUME:   Objection.      Form.    Scope.       06:57:20

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1                   THE DEPONENT:     It's -- it -- again, it's   06:57:24

2      potentially an answerable question by Facebook.

3      But I'd be speculating.        As I say, I -- I am not

4      aware of how this would be done.

5              Q.   (By Mr. Loeser)     So let's move to the      06:57:38

6      next type of loss that -- that was identified here,

7      and it's "Visibility" and "Influence."

8                   Do you see -- see that?

9              A.   I see that.

10             Q.   And you'll see for the "Other Strategic"      06:57:49

11     category of partners, it notes "High"?

12             A.   It seems to note "High," yes.

13             Q.   And so what does that indicate with

14     regard to those partners?

15                  MR. BLUME:    Objection.     Scope.           06:58:05

16                  THE DEPONENT:     Impossible for me to say

17     here from the company's perspective.           This is a

18     slide deck written by somebody.          There's no

19     criteria defined for visibility and influence or

20     what high, medium or low would be in that context.         06:58:22

21                  I think if you want to know that --

22             Q.   (By Mr. Loeser)     Do you --

23             A.   -- it might be worth asking Monica.

24             Q.   Sorry.   I don't mean to talk at the same

25     time.                                                      06:58:31

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1           A.   Sorry.                                             06:58:32

2           Q.   Does Amazon have a high visibility and

3      influence with -- with Facebook?

4                MR. BLUME:   Objection.      Form.    Scope.

5                THE DEPONENT:     I don't -- I -- I -- I           06:58:48

6      couldn't answer on the company's perspective about

7      like whether or not Amazon has -- has influence.

8      It's -- it's certainly a large organization.           But

9      assessing its influence within Facebook is not

10     something I could testify to.                                06:59:06

11          Q.   (By Mr. Loeser)     Okay.    And then if we go

12     to the next category "Users/Engagement."

13               Do you see that?

14          A.   I do see that.

15          Q.   And you'll see that for each of these              06:59:15

16     subcategories there's a monthly active user number.

17               Do you see that?

18               MR. BLUME:   Objection.      Form.

19               THE DEPONENT:     I do.

20          Q.   (By Mr. Loeser)     And the highest monthly        06:59:23

21     active user category in here is to "Other

22     Strategic"; is that right?

23          A.   Of the five listed here, that's the

24     largest number.

25          Q.   And "Other Strategic," it shows that               06:59:33

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1      65,996,118 monthly active users.                                06:59:36

2                   So what does that mean with regard to the

3      "Other Strategic" category?

4                   MR. BLUME:   Objection.      Form.    And beyond

5      the scope.                                                      06:59:49

6                   THE DEPONENT:     So in -- and this is one

7      of the things I was referring to earlier.

8                   Different products measure their own MAU.

9      My understanding is in this context it refers to

10     whether or not the Facebook platform apps                       07:00:06

11     associated with these entities and how many people

12     were actively using those Facebook platform apps.

13          Q.      (By Mr. Loeser)     And -- so if Facebook

14     wanted to isolate and identify the monthly active

15     users for all partners apps that were whitelisted               07:00:29

16     for the time period they were whitelisted, is that

17     something Facebook could do?

18          A.      Can you help me understand, monthly

19     active users in what context?

20          Q.      In -- in the context that you just used            07:00:47

21     when answering my prior question.

22          A.      So whether or not the app IDs that were

23     associated with these entities, what their monthly

24     active user based off the application was?

25          Q.      Right.                                             07:01:02

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1           A.      And help me understand -- remind for me        07:01:03

2      the rest of your question so I can make sure I

3      answer it as accurate as I can.

4           Q.      Sure.   I -- it's really -- it's a

5      question about Facebook's ability to track its --           07:01:10

6      its users.

7                   And so can Facebook identify monthly

8      active users for all partner apps that were

9      whitelisted?

10                  MR. BLUME:   Objection.      Form.             07:01:32

11          Q.      (By Mr. Loeser)     For the time period that

12     they were whitelisted?

13          A.      I don't know if Facebook can -- can

14     determine that.      The answer is relatively hard to

15     compute, as I understand it and would -- would --           07:01:45

16     would depend on data retention policies.

17                  I do not know whether or not that's an

18     answerable question.

19          Q.      Okay.   And what about if Facebook wanted

20     to isolate revenue from all partners that were              07:02:00

21     whitelisted for the time period that they were

22     whitelisted; is that something Facebook can do?

23          A.      Again, I don't know if that's something

24     that Facebook could do.

25          Q.      And where would Facebook go to answer the      07:02:14

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1      question of whether it could do that?                           07:02:16

2                   MR. BLUME:   Objection.      Form.

3                   THE DEPONENT:     I would have to -- I -- I

4      don't know.     I would have to speak to the folks on

5      the platform team to see if they knew if they could             07:02:33

6      provide some of the information.

7                   And I think the -- the sales and

8      marketing and advertising part of the business

9      would -- somebody there would -- would be able to

10     answer whether or not that was answerable.                      07:02:50

11             Q.   (By Mr. Loeser)     So let's look at the

12     last category of -- of -- of what Facebook has to

13     lose in the transition to the new platform, and

14     that's "Data Exchange."

15                  And, again, under the "Other Strategic"            07:03:06

16     column, it lists a number of -- of apps.            It says

17     "Bing/Win" -- which I assume is Windows -- "Skype:

18     Maps, Search, Video Message, Ticketmaster: Events

19     data."

20                  What is that -- explain to what data               07:03:24

21     exchange occurs with regard to those particular

22     apps.

23                  MR. BLUME:   Objection.      Form.    And scope.

24                  THE DEPONENT:     I'm not able to answer

25     the apps with -- with that specificity.            That would   07:03:35

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1      require me to know the details of those                         07:03:40

2      integrations a long time in the past.

3                   So I'm -- I'm not able to -- to

4      explain -- to answer the question as -- as to

5      exactly what data -- how those integrations                     07:03:51

6      functioned.

7           Q.      (By Mr. Loeser)     And can you answer more

8      broadly, or do you have anything other than what

9      you've already said about data exchange to -- to

10     say with regard to why it was taken into account                07:04:02

11     when evaluating what Facebook has to lose in the

12     transition to the new platform?

13                  MR. BLUME:    Objection.     Form.    And beyond

14     the scope.

15                  THE DEPONENT:     Related to these, I --           07:04:13

16     I -- I -- I couldn't give a specific answer.

17                  We talked about a previous category here

18     which is apps that people used that allowed them to

19     share their activity back to their friends on

20     Facebook, and that being a form of data exchange                07:04:30

21     that was the core -- one of the core value

22     propositions of the Facebook developer platform for

23     users and for developers.

24                  MR. LOESER:     We can move on to a new

25     exhibit.                                                        07:04:48

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1                 MR. BLUME:     Is this a -- is this a good            07:04:50

2      time for a break, Derek?

3                 THE DEPONENT:     Yeah, I would love a

4      break, if that's all right.        A bio break.

5                 MR. LOESER:     Sure.     Absolutely.                 07:04:58

6                 SPECIAL MASTER GARRIE:          How long -- how

7      long of a break are we talking about, Counsel?

8      Maybe 20 -- how long do you need Mr. Cross?             Do you

9      want to grab dinner?

10                THE DEPONENT:     Well, what time are we              07:05:06

11     planning to go to?      I have on my calendar until I

12     think --

13                SPECIAL MASTER GARRIE:          These people --

14     oh, let's go off the -- off the record.

15                THE DEPONENT:     Okay.                               07:05:14

16                THE VIDEOGRAPHER:       Okay.     We're off the

17     record at 7:05 p.m.

18                (Recess taken.)

19                THE VIDEOGRAPHER:       We are back on the

20     record at 7:39 p.m.                                              07:39:07

21                MR. LOESER:     Okay.     Mr. Cross, we're

22     going to introduce a new exhibit which will be

23     marked Exhibit 341.

24                (Exhibit 341 was marked for

25     identification by the court reporter and is                      07:39:16

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1      attached hereto.)                                             07:39:16

2                   MR. LOESER:   And so you should be looking

3      at now a document that has the header "Deprecated

4      f8 2014 Partnerships/Ops XFN."

5                   Do you see that?                                 07:39:51

6           A.      Yeah, I see that.

7           Q.      And what does the title of that document

8      refer to?

9           A.      I can't be 100 percent sure.      But reading

10     the document, it seems to refer to a -- a Facebook            07:40:09

11     group or a Workplace group.      Some -- some kind of

12     internal message board.      It's -- it's hard to read

13     the exact structure.

14          Q.      And -- and what does "Partnership/Ops

15     XFN" mean?                                                    07:40:28

16          A.      Partnerships would mean the --

17     partnerships team ops means the ops team.          And XFN,

18     in Facebook parlance, stands for cross-functional,

19     i.e., people from different teams working together.

20          Q.      And -- and what is the ops team?                 07:40:47

21                  That's developer operations; is that what

22     that means?

23          A.      In this case, it would mean developers

24     operations, yeah.

25          Q.      And just looking at this document,               07:40:57

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1      what -- is this a -- a Quip or -- you know, what is             07:40:59

2      the -- what is the -- how is this document

3      generated?

4                   Do you know?

5           A.      I think this is a -- this is contents in           07:41:08

6      a Workplace group, which is a kind of internal

7      version of -- of Facebook.        But I can't be

8      100 percent certain of that.         And the formatting

9      makes it hard to -- to follow.           But I -- I think

10     it's a Facebook group or a Workplace group.                     07:41:26

11          Q.      And so Facebook used its platform

12     internally for employees to communicate with each

13     other?

14          A.      That's correct.     Today that's a tool

15     called Workplace.     But in the past, it was groups            07:41:43

16     on -- on Facebook that were only available to

17     employees.

18          Q.      And is that a -- is that a product that

19     you can search?

20                  So for example, if you wanted to search            07:41:59

21     on the word developer operations, could you -- is

22     that a searchable -- the tool allow for searches

23     like that?

24                  MR. BLUME:     Objection.     Form.   And scope.

25                  THE DEPONENT:     I can't -- I can't give a        07:42:16

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1      canonical Facebook answer.       But as a -- but as a        07:42:19

2      user of the tool, you -- you can search for things.

3      But I'm unclear on the -- the -- how -- how far the

4      index goes back or -- or how the -- the search

5      function works.                                              07:42:33

6           Q.     (By Mr. Loeser)     Okay.    And it's a little

7      hard to read on this, but the last entry in this

8      series of messages is by you and it's -- it looks

9      like July 24th, 2014.

10                 Do you see that at the very top of the           07:42:47

11     document?

12          A.     I do.

13          Q.     Okay.   And is what I stated accurate?

14          A.     Yeah.   This is a message from me and I --

15     on July 24th, 2014.                                          07:43:01

16          Q.     Okay.   So it is a long string and the --

17     and the -- the font is small.        And I'm going to ask

18     you to turn a few pages into this string to the

19     Bates number FB-CA-MDL-02978566.

20          A.     I have it.                                       07:43:33

21          Q.     Okay.   And so -- yeah, there's the Bates.

22                 And so if we go up and -- and -- to read,

23     we'll try to make this bigger if necessary.

24                 But in the middle of that page there is a

25     post -- is that the right way to describe it, a              07:43:41

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1      post?                                                            07:43:44

2              A.      I -- I think -- I think this is a post

3      if -- if I'm right in identifying where this is

4      from.        We -- we can call it a post for the purposes

5      of this conversation.                                            07:43:54

6              Q.      Okay.   And there's a post from

7      Monica Mosseri, and it's dated February 10th, 2014;

8      is that right?

9              A.      That's right.

10             Q.      And I'll just, for the record, read part         07:44:05

11     of this post and -- and I have some questions for

12     you.

13                     Monica Mosseri writes "I just wanted to

14     follow up on Jackie's post regarding the asks of

15     the partnership team.           The POC's for each group" --     07:44:23

16     what are POCs?

17             A.      That would refer to points of contact.

18             Q.      The points of contact "for each group

19     (listed below) are responsible for completing these

20     three buckets for" the "entire team.              Please         07:44:37

21     complete this by end of day Wed Feb 12th.               If you

22     have any questions please reach out to me and cc

23     Simon Cross."

24                     Do you see that?

25             A.      I do.                                            07:44:47

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1           Q.   And so Monica is informing the                  07:44:51

2      partnership teams that they have to fill out a

3      spreadsheet that has three buckets; is that right?

4                MR. BLUME:   Objection.      Form.

5                Derek, does he have the -- does he have         07:45:02

6      scrolling ability to see the context?

7                THE DEPONENT:     I -- I do.

8                So sorry, Derek.     Could you ask your

9      question again.

10          Q.   (By Mr. Loeser)     Sure.                       07:45:30

11               I just read a -- the beginning of the

12     post and -- and asked you that, based upon this,

13     Monica Mosseri notes, "I just wanted to follow up

14     on Jackie's post regarding the asks of the

15     partnership team.   The Points of Contact for each        07:45:42

16     group are responsible for completing these three

17     buckets for" the "entire team."

18               And if you -- if you read through this,

19     she's asking the partnership teams to classify the

20     partners into one of three buckets; is that right?        07:45:52

21               MR. BLUME:   Objection to form.        And

22     scope.

23               THE DEPONENT:     I think that's what she's

24     asking on the post, yes.

25          Q.   (By Mr. Loeser)     And if you move down        07:46:04

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1      the -- the -- her post a little bit, there's a                 07:46:05

2      No. 2.    It says "Extension/Exemption."

3                   Do you see that?

4           A.      I do see that.

5           Q.      And she states "Identify your Partners            07:46:16

6      with Platform Agreements or non-standard Platform

7      Agreements & identify 'Backward Compatibility.'"

8                   Do you see that?

9           A.      I do.

10                  I do --                                           07:46:25

11          Q.      And I'm going to read another part of

12     this post.

13                  She writes "The capabilities that are in

14     this spreadsheet columns U-BO are capabilities that

15     are now public but soon won't be as they are tied              07:46:52

16     to a perm/API that we are deprecating in PS12n."

17                  Do you see that?

18          A.      I see that.

19          Q.      So she's asking the partner points of

20     contact for each of these groups to put the                    07:47:07

21     partners into three buckets, and this is in the

22     context of the permissions and the APIs that are

23     being deprecated in connection with PS12n, right?

24                  MR. BLUME:    Objection.    Form.    And scope.

25                  THE DEPONENT:    That's what's on the page.       07:47:25

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1           Q.     (By Mr. Loeser)     So there's another line   07:47:35

2      in this post in which she says "The existing

3      Private API" -- or I'll start that again.

4                  "The existing Private API's partners have

5      access to are not listed in this doc and will go          07:47:52

6      through a different review process."

7                  Do you see that?

8           A.     Yeah, I see that.

9           Q.     And so she's identified, in addition to

10     partners that will have private APIs going forward        07:48:07

11     that didn't have them before, existing private API

12     partners, and she's indicating that that will go

13     through a different review process.

14                 Do you recall that -- that different

15     review process for partners that already had access       07:48:22

16     to private APIs before the transition to the new

17     platform?

18          A.     I do not recall a different -- that

19     different review process.

20          Q.     And so did Facebook have a different          07:48:34

21     review process for partners that already had access

22     to private APIs before the transition to the new

23     platform, when deciding whether they would continue

24     to have access to information that partners would

25     no longer have access to after the transition to          07:48:52

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1      the new platform?                                               07:48:55

2                   MR. BLUME:    Objection.      Form.   And scope.

3                   THE DEPONENT:     I -- I -- I can't -- I

4      can't say for certain if there was another process

5      or, if so, what that process was.                               07:49:08

6                   I don't -- I don't recall and it -- and

7      it hasn't come up in my conversations with people

8      or the documents I've reviewed.

9              Q.   (By Mr. Loeser)     So has Facebook

10     identified a group of partners that already had                 07:49:21

11     private APIs at the time of the transition to the

12     new platform through which those partners were able

13     to obtain access to friend data?

14                  MR. BLUME:    Objection.      Form.   And scope.

15                  THE DEPONENT:     Sorry.     Can you ask the       07:49:38

16     question again, please.

17                  MR. LOESER:     Sure.     We can just read it

18     back.

19                  THE DEPONENT:     Sure.

20                  MR. BLUME:    I'll read it back.       It's        07:49:43

21     fine.

22             Q.   (By Mr. Loeser)     So has Facebook

23     identified a group of partners that already had

24     private APIs at the time of the transition to the

25     new platform through which those partners were able             07:49:51

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1      to obtain access to friend data?                              07:49:53

2              A.      Has -- has Facebook?       I mean, sorry.

3                      At what time period are you asking had

4      Facebook done that?

5              Q.      At any point to the present.                  07:50:05

6                      MR. BLUME:   Object to form.

7                      THE DEPONENT:      The -- the capabilities

8      tool and the other tools would have identified

9      which apps had access to -- to private APIs both

10     before and after the advent of API v2.                        07:50:29

11             Q.      (By Mr. Loeser)      Thank you.

12                     All right.   If we can turn to -- and I'll

13     tell you the last four digits of the Bates -- Bates

14     number.        But it's -8568, which is two pages where

15     we were before.                                               07:50:49

16             A.      Yup.   I see it.

17             Q.      And there's a post by you in the middle

18     of the page dated -- it looks like January 20 --

19     I'm looking at the January 20 -- I can't see it on

20     my page, but right down -- January 22nd, 200- --              07:51:12

21     okay.        January 23rd, 2014.      So top of the page

22     you're looking at now.

23                     Do you see that?

24             A.      "Game Face Time," is that the -- the one

25     you're referring to --                                        07:51:31

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1           Q.   Yeah.                                           07:51:32

2           A.   -- or the one below?

3           Q.   No, that -- the -- the "Game Face Time."

4           A.   Okay.

5           Q.   And -- and you write at the beginning of        07:51:39

6      this, "Game Face Time.   Notes from today's XFN:

7      1/ We have 6 weeks to go."

8                And what you're talking about here is

9      until the new platform becomes live, right?

10          A.   At this time we were working to a launch        07:51:52

11     date that was -- ended up being significantly

12     sooner than -- than the launch date.      This is just

13     another example of how much changed in -- in terms

14     of preparation versus what actual happened.

15               So this point, "6 weeks to go," that's          07:52:10

16     for a launch date that was being prepared for but

17     didn't happen.

18          Q.   Okay.   And then you have No. 2, and it

19     states "We will have a Partnerships/Ops all hands

20     on the Login v4/PS12n launch in early Feb."               07:52:25

21               Do you see that?

22          A.   I see that.

23          Q.   And then you have an item 3 -- and if we

24     could highlight it, we would.

25               In the middle of that page you state "The       07:52:37

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1      next main job is to audit the 26" thousand -- and           07:52:41

2      it says k, but I'm reading thousand -- "The next

3      main job is to audit the 26,000 affected apps and

4      determine which apps must be whitelisted for which

5      features."                                                  07:52:54

6                      Do you see that?

7              A.      I see that.

8              Q.      Can you read the next sentence of your

9      post for the record.

10             A.      What's on the page is "The bar is very      07:53:03

11     high:        Contract commitment, inability to move fast

12     (physical devices etc) or super-strategic use

13     cases."

14             Q.      So you put, at this time, six weeks

15     before the launch of the new platform, you                  07:53:20

16     identified three different categories of -- of

17     apps; is that right?

18             A.      Where am I identifying the three

19     different categories of apps?

20             Q.      Well, one is -- you say -- I'll read it     07:53:38

21     again.

22                     "The next main job is to audit the 26,000

23     affected apps and determine which apps must be

24     whitelisted for which features.          The bar is very

25     high," and then you -- you identify "contract               07:53:50

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1      commitment."                                               07:53:54

2                  So that's one of the categories that

3      you're indicating should be whitelisted, right?

4           A.     That's not a category I'm indicating

5      should be whitelisted.     I'm indicating -- well, I       07:54:03

6      don't recall exactly what I meant.        This is a long

7      time ago.

8                  But on the page, it's indicating the

9      kinds of considerations that -- that may be

10     appropriate.     But these are not --                      07:54:19

11          Q.     Okay.

12          A.     These are not a categorization or

13     taxonomy.

14          Q.     All right.   Well, let's try and

15     understand what it is.                                     07:54:29

16                 There's 26,000 apps you're referring to;

17     is that right?

18          A.     It says 26,000 affected apps on the -- on

19     this -- on the page, yes.

20          Q.     And then you indicate that you're seeking      07:54:40

21     to determine -- Facebook is seeking to determining

22     which apps must be whitelisted for which features;

23     is that right?

24                 MR. BLUME:   Objection.     Form.

25     And scope -- and scope.                                    07:54:51

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1                   THE DEPONENT:     Again, what -- that's --         07:54:56

2      that's what's on the page.

3              Q.   (By Mr. Loeser)     That's what you wrote on

4      this post?

5              A.   Those are the words on this post that it           07:55:03

6      looks like I wrote.

7              Q.   And then you say that "The bar is very

8      high."

9                   You mean the bar for whitelisting is very

10     high?                                                           07:55:11

11             A.   I would assume that's what I meant.

12             Q.   And then you said that -- the first thing

13     you identify after saying the bar is very high is

14     contract commitment.

15                  And does that refer to apps for which              07:55:24

16     there was a contract commitment to continue to

17     allow access to something that's being taken away

18     in the transition to the new partnership -- or the

19     new platform?

20                  MR. BLUME:   Objection.      Form.    And scope.   07:55:38

21                  THE DEPONENT:     I can't be 100 percent

22     certain what I mean in this.         Again, this is in a

23     personal capacity.

24                  But my reading of that is that if we want

25     to whitelist them, if -- if they -- if there's a                07:55:51

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1      whitelisting requirement, that we would need a                07:55:54

2      contract commitment to cover that -- to cover that.

3              Q.   (By Mr. Loeser)     And then you have

4      another description here of something different,

5      which is "inability to move fast (physical devices            07:56:03

6      etc)," and that's another group or type or

7      category -- and use the term that you want -- of

8      apps that -- that you thought -- or Facebook

9      thought needed to be whitelisted, right?

10                  MR. BLUME:   Objection.      Beyond the scope.   07:56:19

11     And form.

12                  (Brief interruption.)

13                  (Discussion off the stenographic record.)

14             Q.   (By Mr. Loeser)     Okay.    So we discussed

15     contract commitment, and the next thing you note --           07:56:39

16     you note after noting "The bar is very high" is

17     "inability to move fast (physical devices)."

18                  And are you saying there that another

19     group to be whitelisted are those that have an

20     inability to move fast?                                       07:56:48

21             A.   I'm indicating that that might be one of

22     the criteria that maybe is for consideration.

23             Q.   Okay.   And what's the last criteria that

24     may be for consideration that you identify in this

25     post?                                                         07:57:10

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1           A.      Again, I wouldn't frame it as -- as                07:57:11

2      criteria.     This is just a list of statements.          But

3      the last one says "super-strategetic use cases."

4           Q.      And what were the super-strategic use

5      cases that you're referring to here in this post to             07:57:35

6      the teams involved in bucketing apps for the

7      purpose of determining which should have continued

8      access to -- to deprecated permissions?

9                   MR. BLUME:   Objection.      Form.

10                  THE DEPONENT:     I do not know what               07:57:56

11     super-strategetic use cases I'm -- I'm referring to

12     here mean.     I certainly can't remember what I'm

13     referring to.

14          Q.      (By Mr. Loeser)     So we're six weeks away

15     from launch and you used the phrase                             07:58:11

16     "super-strategic use cases."

17                  And can Facebook tell me now, through

18     you, as its corporate designee, what was meant by

19     "super-strategic use cases"?

20                  MR. BLUME:   Objection.      Form.    And scope.   07:58:27

21                  THE DEPONENT:     I can't confirm what

22     super-strategic use cases mean, either as a

23     corporate representative and even in my personal

24     capacity, I don't recall what -- what that's

25     referring to.                                                   07:58:43

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1                      I think what's also important to note is          07:58:44

2      your mentioning six weeks to launch here.               A, that

3      wasn't the case in the end.           And B, no deprecations

4      were going to take a place for a year after launch.

5      And so there was no impending impact to existing                  07:59:01

6      apps and integrations for a considerable time to

7      come.        Much changed between then and later.

8              Q.      (By Mr. Loeser)     And this is a long

9      string and -- and I don't want to ask you to go

10     through all of it now.         But perhaps on your next           07:59:20

11     break, you can take a spin.

12                     I don't see any post from anyone saying

13     to you, leading right up until the launch date --

14     by July 24th, 2014, had the platform actually been

15     launched?                                                         07:59:35

16             A.      Sorry.   Can you give that date again.

17             Q.      Yeah.

18                     When -- when did -- when did platform 3.0

19     launch?

20             A.      The -- several changes were announced,            07:59:47

21     including API version 2 were launched on

22     April the 30th, 2014.         But they only came into

23     force for new apps that were created after that

24     date.        Any app that was created before that date

25     had no impact for another 12 months after that                    08:00:07

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1      date.                                                              08:00:09

2              Q.   Okay.   And so -- and this -- this post,

3      the messages go up through July 24th, 2014, right?

4                   That's what we are saw at the beginning

5      of the -- of the document?                                         08:00:22

6              A.   It looks like that's the first post in

7      the thread.

8              Q.   And I -- I've gone through the thread and

9      I don't see any question from any person of any one

10     of these teams saying to you, "Mr. Cross, what do                  08:00:33

11     you mean by super-strategic?"

12                  And I don't -- you don't need to take the

13     time right now, but perhaps on a break or

14     otherwise, you should review this document.               And if

15     you find a question back to you stating some                       08:00:45

16     confusion about what that means, if you'll please

17     let me know.     I'd appreciate it.

18                  MR. BLUME:    We'll note your question,

19     but...

20                  MR. LOESER:     Okay.   So we can move on to          08:01:01

21     the next exhibit, which has previously been marked

22     Exhibit 14.

23                  THE DEPONENT:     I have it.

24             Q.   (By Mr. Loeser)     So this is an email

25     dated February 9th, 2014, from Ime Archibong to                    08:01:52

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1      Eddie O'Neil and to you.     "Importance," it states      08:01:56

2      "High."

3                "Subject: FW: Our teams next steps for

4      PS12n"; is that right?

5           A.   I see that.                                     08:02:07

6           Q.   And if you look down to Jackie Chang's

7      email to you and to Ime Archibong, she writes

8      "Actually - here's an updated version."

9                And that's a reference, I assume, to the

10     attachment to this -- this document; is that your         08:02:26

11     understanding?

12               MR. BLUME:     Objection.    Form.

13               THE DEPONENT:     It's -- it's reasonable,

14     but I couldn't confirm it.

15          Q.   (By Mr. Loeser)     Okay.    And she writes,    08:02:33

16     "I'll explain on the call, but in essence we're not

17     going to grant any exceptions, only extensions

18     based on contract and partner sensitivity."

19               Do you see that?

20          A.   I do see that.                                  08:02:43

21          Q.   And she writes, "Where I've

22     labeled 'exemptions' are actually private apis

23     today that allow for friend data to be read."

24               Do you see that?

25          A.   I see that.                                     08:02:53

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1           Q.      She writes "I believe we should keep               08:02:55

2      maintaining these apis as private strategic ones -

3      however, it's worthwhile acknowledging this as

4      there's been some confusion by partnership teams on

5      how we plan to maintain these moving forward."                  08:03:03

6                   Do you see that?

7           A.      I do see that.

8           Q.      So tell me, what did Facebook mean in

9      this context by "private strategic ones"?

10                  MR. BLUME:   Objection.      Form.    And beyond   08:03:18

11     the scope.

12                  THE DEPONENT:     I can't answer that on

13     what does Facebook mean.        Again, this is an email

14     thread between three people.         So I don't think

15     Facebook has a view on what that means.                         08:03:29

16                  I can answer based on my understanding

17     and participation in this thread.          But I don't

18     think it would be right to characterize that as --

19     as Facebook's opinion.

20                  So with that, what this means is -- my             08:03:41

21     understanding is this means maintaining the

22     existing integrations that existed and had been

23     built to date -- we talked about these earlier --

24     that rely on private APIs to function.

25          Q.      (By Mr. Loeser)     Okay.    And those are         08:04:06

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1      referred to here as private strategic ones?                 08:04:06

2           A.   In the document, they're referred to as

3      private strategic ones.

4           Q.   And she also references in her email

5      "partner sensitivity."                                      08:04:18

6                What -- what is partner sensitivity?

7           A.   Again, I don't think there's a corporate

8      Facebook answer to that.     And I wouldn't want to

9      take [sic] a speculation.     I wouldn't want to

10     speculate as to what Jackie meant -- meant by that.         08:04:36

11          Q.   And what does it mean to grant an

12     extension based on partner sensitivity?

13          A.   Again, I don't know what -- there's no --

14     there's no corporate position on that.        What Jackie

15     means by that, I think you would have to ask her.           08:05:06

16               MR. LOESER:     So why don't we turn to the

17     presentation, which I will note for you is attached

18     to the email that we just went through from

19     Ime Archibong to you and Eddie O'Neil.

20               And this has been previously marked as            08:05:29

21     Exhibit 15.

22               And for the record, the email was sent on

23     February 9th, 2014, with this attachment.

24               THE DEPONENT:     I have it.

25          Q.   (By Mr. Loeser)     Do you see the title of       08:05:54

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1      this document -- or the first heading on -- on the            08:05:58

2      document is "[PS12n] Product Update - What -- "What

3      Are We Announcing"?

4                 Do you see that?

5            A.   I see that.                                        08:06:12

6            Q.   And who -- who is the intended audience

7      of this -- of this presentation?

8                 MR. BLUME:    Objection.     Form.    And scope.

9                 THE DEPONENT:     I do not know who the

10     intended audience of this was.                                08:06:27

11           Q.   (By Mr. Loeser)     So let's look at the --

12     the first page of this.

13                On the third bullet it states "Removing

14     access to non-app friends. friend_* permissions

15     being deprecated - apps will only get data about              08:06:52

16     people who've explicitly logged-in with Facebook,

17     not that user's incognizant friends."

18                What does "incognizant friends" refer to?

19                MR. BLUME:    Objection.     Form.    And scope.

20                THE DEPONENT:     I don't want to make a           08:07:13

21     determination of a -- of -- of -- there's no

22     corporate answer to what -- what that means.            It

23     would be a -- a dictionary definition to look it

24     up.

25           Q.   (By Mr. Loeser)     Okay.    What -- and --        08:07:25

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1      and what -- how would Facebook use the term                         08:07:26

2      "incognizant friends" in this context?

3                      MR. BLUME:   Scope --

4                      THE COURT REPORTER:       Wait.   Mr. Blume,

5      you were muffled.                                                   08:07:32

6                      MR. BLUME:   Asked and answered.        And

7      beyond the scope.

8                      THE DEPONENT:     Yeah.    I -- I don't think

9      Facebook has a -- a definition of what that means.

10     Again, the author of this deck chose to use that                    08:07:47

11     word.        It's not used --

12                     (Simultaneously speaking.)

13             Q.      (By Mr. Loeser)     And next --

14             A.      -- in any other context.

15             Q.      And then the next bullet states                     08:07:59

16     "read_stream (timeline API, Newsfeed API) being

17     publicly deprecated.         Partner/contract only."

18                     Does that suggest to you that the

19     decision at this point was to deprecate read stream

20     and make it available to partners by contract only?                 08:08:16

21                     MR. BLUME:   Objection.      Form.    And scope.

22                     THE DEPONENT:     I -- I think it's wrong to

23     characterize anything as a -- as a decision.                  All

24     we can say is that this deck had been produced by

25     somebody and that was their belief or understanding                 08:08:34

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1      at the time.        I don't think this is representative      08:08:39

2      of a -- of a decision.

3           Q.      (By Mr. Loeser)     Okay.    And when you say

4      "somebody," we know from the prior email that this

5      deck was prepared by Jackie Chang, right?                     08:08:48

6                   MR. BLUME:     Objection.

7                   Is there a Bates-stamped version, Derek?

8      Oh, forget it.        That's a native.    Got it.

9           Q.      (By Mr. Loeser)     Right.

10                  Mr. Cross, if you go back to Exhibit 14,         08:09:08

11     you'll see that this is a presentation that was

12     sent by Jackie Chang to Ime Archibong and to you,

13     right?

14          A.      Yes.

15          Q.      Can you put up the prior -- sorry.           I   08:09:29

16     talked at the same time as you, which I -- I

17     apologize for.

18          A.      Apologies.

19                  Yes, it looks like this deck was authored

20     by Jackie.                                                    08:09:41

21          Q.      Okay.     So let's go back to the deck.

22                  And if we look at the last slide of the

23     deck, it says "Partnerships Update."

24                  And do you see "Partner Identification &

25     Impact Assessment"?                                           08:10:05

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1           A.      I do.                                        08:10:06

2           Q.      And the first bullet says "Product

3      identified the 26,000 App IDs & 45+ affected APIs."

4                   Do you say that -- see that?

5           A.      I see that.                                  08:10:18

6           Q.      And you recall you were involved in

7      that -- in that bit of work, right?

8           A.      I certainly was involved in pulling some

9      data at various time.      It's not clear that I was

10     the source of those numbers.                              08:10:28

11          Q.      And then the next bullet says "XFN

12     coordination," and then it lists a series of

13     different types of -- of apps that should look

14     familiar at this point because we've seen the same

15     categorization in some of the documents that we've        08:10:41

16     gone through, right?

17          A.      Some of these are the same as categories

18     in other documents.

19          Q.      Okay.   And it notes that Facebook was

20     "deploying a top down and bottoms up T0 partner           08:10:55

21     identification," right?

22          A.      That's what it says on the slide.

23          Q.      Okay.   And you still don't recall what T0

24     refers to?

25          A.      As per my previous testimony, it's a         08:11:08

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1      categorization that was in use at the                         08:11:11

2      partnerships -- in the partnerships team at this

3      time.        But I don't recall what was categorized

4      within T0, nor the criteria for that.

5              Q.      And the next bullet says "Extensions &        08:11:25

6      Private API Identification."

7                      Do you see that?

8              A.      I see that.

9              Q.      And then it says "Granting no exemptions,

10     except in the cases where we have:"                           08:11:35

11                     Do you see that?

12             A.      I see that.

13             Q.      And the first one to where there would be

14     an exemption granted is "Wind-down"; is that right?

15             A.      I don't think it's right to characterize      08:11:52

16     this as deterministic as to why an exemption or

17     extension would be granted.         It's just a slide deck

18     written by a person at a time.          So that's what's on

19     the slide.

20             Q.      Okay.   And this slide identifies             08:12:07

21     circumstances where an exemption would be granted

22     that would allow an app to continue to have access

23     to data that would no longer be available after

24     the transition to the new platform, right?

25             A.      No.                                           08:12:28

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1                   MR. BLUME:   Form.      And scope.                 08:12:29

2                   THE DEPONENT:     No.

3              Q.   (By Mr. Loeser)      You're saying "no"

4      because my statement is untrue?

5              A.   That's correct.      I don't think it              08:12:40

6      specifies -- sorry.

7                   Read me your question again, and I'll be

8      able to point out the bit I was not able to agree

9      with.

10             Q.   Sure.   I'll just ask another question.            08:12:48

11                  This says that Facebook's going to be

12     granting no exemptions, but then it lists some

13     situations where it would be granting exemptions,

14     right?

15                  MR. BLUME:   Objection to form.        Scope.      08:12:58

16                  THE DEPONENT:     This does not -- sorry,

17     Rob.     Say it again.

18                  MR. BLUME:   Objection.      Form.    And scope.

19                  THE DEPONENT:     This doesn't represent

20     Facebook's position on -- on -- on anything in                  08:13:09

21     particular.     This is the -- what this person who

22     authored the deck understood at the time.

23             Q.   (By Mr. Loeser)      Okay.   So this person,

24     Jackie Chang, who authored this deck at the time,

25     February 14th, 2014 -- I'm sorry --                             08:13:24

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1      February 9th, 2014, believed that Facebook would be             08:13:30

2      granting no exemptions except in the cases where we

3      have "1. Wind-down" and "2. Private APIs"; is that

4      right?

5                   MR. BLUME:   Objection.      Form.    And scope.   08:13:44

6                   THE DEPONENT:     That's what's on the

7      slide.

8           Q.      (By Mr. Loeser)     And let's look at

9      wind-down.

10                  Do you know what wind-down means?                  08:13:52

11                  MR. BLUME:   Objection.      Scope.

12                  THE DEPONENT:     I wouldn't want to give

13     like a Facebook answer to that.          I think there's no

14     standard definition for that.

15                  In my personal capacity and having been            08:14:03

16     involved in this, to me, that means that there

17     would be a period by which those integrations would

18     be deprecated or turned off over time.

19          Q.      (By Mr. Loeser)     And with regard to

20     "Non-standard Platform Agreements specifying unique             08:14:22

21     Backwards Compatibility"; is that what happened?

22                  MR. BLUME:   Objection.      Form.

23                  THE DEPONENT:     I can't give answers in

24     specific cases because I haven't investigated

25     everything and memorized everything.                            08:14:41

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1                   But what I can say is that one thing           08:14:43

2      you'll notice from this slide deck further up is

3      that the plan of record in how to launch this

4      differed relatively -- relatively drastically from

5      what actually happened.                                     08:15:08

6                   One of the big changes was the length of

7      the deprecation window, a year.          And one of the

8      considerations would have been if there was a

9      partner with a contract, we specified a notice

10     period.   And that notice period was less than the          08:15:28

11     notice given than there would be a contractual need

12     to comply.     That's what it means by backwards

13     compatibility.

14          Q.      (By Mr. Loeser)     Okay.    So that was one

15     of the situations where an exception would be               08:15:48

16     provided to the deprecations from occurring on the

17     time frame indicated in -- by Facebook, when it

18     implemented the platform, right?

19          A.      Not necessarily.     The -- my -- my

20     previous testimony is that if there was a                   08:16:08

21     relationship with a partner that had a notice

22     period in the contract, then that might need to be

23     considered in the -- the migration, although most

24     of the entities that had private APIs had -- had

25     contracts with us, had some form of private API.            08:16:35

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1           Q.      Okay.   And private API is another                    08:16:38

2      category.

3                   But you describe a circumstance in which

4      an exemption, as the -- as the format is presented

5      here would -- would be granted.          And that would be         08:16:45

6      the backward compatibility-type contracts.

7                   Facebook recognized there would need to

8      be an exemption for that -- for that group?

9           A.      It's -- it's -- it's possible -- the --

10     the author of this deck suggests that that might be                08:16:59

11     a possible reason to grant an extension or an

12     exemption.

13          Q.      Okay.   So the author of this deck,

14     Jackie Chang, thought that another possible reason

15     was "Sensitive/strategic partner integrations                      08:17:13

16     requiring extension"; is that right?

17                  MR. BLUME:   Objection.      Form.    And scope.

18                  THE DEPONENT:     I can read what's on here,

19     but this doesn't represent Facebook's position.

20     This is what Jackie wrote in the slide.                            08:17:26

21          Q.      (By Mr. Loeser)     Okay.    And I -- I didn't

22     see in the cover email -- it is -- does Jackie

23     report to Ime Archibong, or did she at this time?

24          A.      I don't know for -- for certain.             But my

25     understanding is that Jackie reported to Ime at                    08:17:45

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1      this time.                                                 08:17:49

2             Q.    Okay.   And did you see in that cover

3      email any indication by Ime that he thought Jackie

4      got it wrong when she described the circumstances

5      for exemptions?                                            08:17:58

6                   MR. BLUME:   Objection.      Form.

7                   THE DEPONENT:     I didn't see anything in

8      the email thread, but that doesn't mean it -- there

9      was -- there was disagreement or uncertainty at

10     all.                                                       08:18:13

11                  I think -- remember, you're reading

12     documents here about -- that -- that -- that are a

13     team making progress as things shift around them.

14     Nothing in here necessarily is -- is what happened

15     or should have happened.                                   08:18:28

16            Q.    (By Mr. Loeser)     Okay.    And then if we

17     look at the next bullet in this presentation

18     providing an update on -- what Facebook was going

19     to be announcing about its platform change.

20                  No. 2 is "Private APIs."                      08:18:42

21                  Do you see that?

22            A.    I see it on the slide.

23            Q.    And the bullet says --

24                  MR. BLUME:   Objection.      Hold --

25     objection.     Sorry.                                      08:18:47

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1                 Objection to the initial                        08:18:50

2      characterization.     And form to the question.

3           Q.    (By Mr. Loeser)     And you'll see the

4      bullet then says "Private use-cases for exemption

5      (i.e. Mobile RCP)."                                        08:18:58

6                 What does that refer to?       What is --

7      what -- what are private use cases for exemption?

8           A.    My understanding is that this refers to

9      the existing integrations that had access to

10     private APIs, both before the change in the public         08:19:21

11     API service area and would be considered unaffected

12     by the changes to the public service area.

13          Q.    And are you aware of -- of any other

14     update or communication within the teams involved

15     in -- in the creation of this update of a different        08:19:57

16     format for determining when exemptions would be

17     granted?

18                MR. BLUME:    Objection.     Scope.    Form.

19                THE DEPONENT:     We've seen several

20     documents in this testimony that have very                 08:20:11

21     different framings of what was launched, when --

22     what might be happening and why.        So we've already

23     looked at some alternatives I would suggest.

24          Q.    (By Mr. Loeser)     Okay.    And -- and we

25     went through a number of descriptions that referred        08:20:32

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1      to strategic partners; is that right?                     08:20:34

2                MR. BLUME:     Objection.    Form.

3                THE DEPONENT:     We went through a number

4      of documents which associated some entities with

5      the word "strategic."                                     08:20:44

6           Q.   (By Mr. Loeser)     When discussing whether

7      those partners would continue to have access to

8      publicly deprecated permissions, right?

9                MR. BLUME:     Objection.    Form.

10               THE DEPONENT:     Generally, when we were       08:20:57

11     discussing the broad set of changes to the public

12     platform surface area.

13          Q.   (By Mr. Loeser)     So I want to make sure

14     we're clear so far on the record and the transition

15     to the new platform.                                      08:21:22

16               We've gone through a number of documents

17     in which the platform team and the developer

18     operations team discussed the changes that we

19     made -- that we made to the social Graph when Graph

20     API version 2 was implemented, right?                     08:21:35

21               MR. BLUME:     Objection.    Form.

22               THE DEPONENT:     Sorry.    Yeah, I'm -- I'm

23     not -- I'm not what -- what specifically I'd be

24     agreeing to the affirmative there.

25          Q.   (By Mr. Loeser)     Well, I guess we can        08:21:50

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1      read the question back and see if there's anything         08:21:51

2      unclear about it.

3                  So I want to make sure we are clear so

4      far on the record and the transition to the new

5      platform.    We've gone through a number of documents      08:22:02

6      in which the platform team and the developer

7      operations team discussed the changes that would be

8      made to the social Graph when Graph API version 2

9      was implemented, right?

10                 MR. BLUME:    Objection.     Form.             08:22:18

11                 THE DEPONENT:     So we've looked at a

12     number of documents that refer to the changes that

13     were ultimately launched on April the 30th, 2014.

14          Q.     (By Mr. Loeser)     And these changes

15     included publicly deprecating certain APIs that            08:22:31

16     were considered sensitive, including friend and

17     read stream permissions, right?

18                 MR. BLUME:    Objection.     Form.

19                 THE DEPONENT:     API version 2 removed the

20     friend permissions.      That was one of the changes       08:22:46

21     launched at the time.

22          Q.     (By Mr. Loeser)     And we've seen a variety

23     of discussions of the fact that certain apps and

24     partners would continue having access to certain of

25     the publicly deprecated APIs, right?                       08:23:00

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1           A.   There are a number of integrations that         08:23:06

2      had access to private APIs before the change and

3      would go on to have access to private APIs after

4      the change.

5           Q.   And in -- in addition to integrations,          08:23:21

6      there were other apps that were considered for

7      whitelist access to the publicly deprecated

8      permissions, right?

9           A.   There was a number of discussions about

10     whether or not apps should be granted additional          08:23:35

11     time to migrate or discussions about exemptions.

12     We've seen those discussions.

13          Q.   Okay.   And Facebook management also

14     discussed how to choose which apps and partners

15     would continue having access to publicly deprecated       08:23:52

16     APIs, right?

17               MR. BLUME:   Objection.       Form.

18               THE DEPONENT:     Can you describe what you

19     mean by "Facebook management"?

20          Q.   (By Mr. Loeser)     Sure.                       08:24:04

21               The -- the Facebook managers whose email

22     we reviewed over the course of the last several

23     hours.

24          A.   Can you be specific?        "Facebook

25     managers," I'm not -- not sure I understand that          08:24:15

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1      term.                                                           08:24:16

2              Q.   Sure.

3                   Let's -- Ime Archibong, for example.         KP.

4      Eddie O'Neil.

5                   The people on these various emails we've           08:24:24

6      looked at are people who discussed and evaluated

7      how to choose which apps and partners would

8      continue having access to publicly -- publicly

9      deprecated APIs, right?

10                  MR. BLUME:   Objection.      Form.                 08:24:39

11                  THE DEPONENT:     We've seen a number of

12     email threads and documents where a number of

13     Facebook employees are discussing whether or not to

14     offer extensions or exemptions to the changes and

15     how that might be framed.                                       08:24:56

16             Q.   (By Mr. Loeser)     And sometimes how that

17     might be framed was referred to by KP, for example,

18     as a format, right?

19                  MR. BLUME:   Objection.      Form.

20                  THE DEPONENT:     I -- KP may refer to that.       08:25:15

21     You can bring that up in a document again, if you

22     want me to agree to it.        But what KP referred to it

23     is what KP referred to it.

24             Q.   (By Mr. Loeser)     Okay.    And sometimes it

25     was referred to as a framework; is that right?                  08:25:27

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1                MR. BLUME:   Objection.      Form.                 08:25:30

2                THE DEPONENT:     I don't know what you're

3      referring to with the -- with the phrase "it."

4           Q.   (By Mr. Loeser)     Oh.   The discussion as

5      to which apps and partners would continue to have            08:25:38

6      access to deprecated permissions.

7                MR. BLUME:   Objection.      Form.

8                THE DEPONENT:     So again, I think you're

9      mixing a few concepts up there.       You're suggesting

10     there's a specific framework and then you're                 08:25:51

11     talking about a number of -- there's a wide range

12     of discussions that happened on this topic

13     involving different people at different times.

14          Q.   (By Mr. Loeser)     Nonetheless, there was a

15     discussion of -- of a framework that could be or             08:26:04

16     would be developed to determine which apps and

17     partners would continue to have access to

18     deprecated permissions and which would not, right?

19               MR. BLUME:   Objection.      Form.    And scope.

20               THE DEPONENT:     What we've reviewed today        08:26:17

21     is there's a number of people attempting to put

22     together some suggestions or ways to think about

23     whether or not certain entities should or should

24     not be given additional access.       But we have not

25     reviewed anything that necessarily ever got                  08:26:42

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1      implemented.                                               08:26:46

2           Q.   (By Mr. Loeser)     Okay.    And it's fair to

3      say that deciding what apps and partners would

4      retain access to publicly deprecated permissions

5      was an important decision for Facebook, right?             08:26:53

6                MR. BLUME:   Objection.      Form.

7                THE DEPONENT:     I think when we're making

8      changes to the platform, we wanted to be

9      considerate about how those changes would be

10     implemented and the impact they would have on users        08:27:12

11     and developers.

12          Q.   (By Mr. Loeser)     Losing access to

13     friend-sharing permissions, for example, could

14     damage relationships that Facebook have with app

15     develop- -- developers and strategic partners,             08:27:25

16     right?

17               MR. BLUME:   Objection.      Form.

18               THE DEPONENT:     Any change to the Facebook

19     development --

20               MR. BLUME:   Form and scope.                     08:27:33

21               THE DEPONENT:     Sorry.    Can you repeat the

22     question again.

23          Q.   (By Mr. Loeser)     Losing access to

24     friend-sharing permissions, for example, could

25     damage relationships that Facebook had with app            08:27:50

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1      developers and strategic partners, right?                     08:27:53

2                   MR. BLUME:   Same objection.

3                   THE DEPONENT:     As a platform, when you

4      make changes of -- of any type, they can have

5      impact on the developers and users of your                    08:28:06

6      platform, and this set of changes was -- was no

7      exception.

8           Q.      (By Mr. Loeser)     And granting exemptions

9      was also a big deal for Facebook because it

10     protected important relationships it had with                 08:28:19

11     developers and partners, right?

12                  MR. BLUME:   Objection.      Form.

13                  THE DEPONENT:     There were integrations

14     that were valuable to users and to developers and

15     to Facebook.     And it was -- it was valuing                 08:28:34

16     continuing those -- sorry.

17                  Can you repeat the question again?           I

18     want to make sure I'm answering.

19          Q.      (By Mr. Loeser)     And granting exemptions

20     was also a big deal for Facebook because it                   08:28:57

21     protected important relationships it had with

22     developers and partners, right?

23          A.      I don't feel I can represent like whether

24     or not this was important to Facebook.

25                  I can -- I can say that when you're              08:29:13

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1      making changes to your developer platform and             08:29:15

2      there's integrations which are existing and

3      valuable to people and developers and Facebook,

4      that some of those might -- you may want to

5      continue and changing -- but because of their value       08:29:36

6      to people, developers and Facebook.

7           Q.   The Facebook management team was aware

8      that some developers and partners would retain

9      access to deprecated permissions, like friend

10     sharing, after the implementation of Graph API            08:29:51

11     version 2, right?

12          A.   Can you repeat the question, please.

13               MR. LOESER:     Rebecca, do you mind reading

14     the question back.

15               (Record read as follows:                        08:30:00

16               "QUESTION:    The Facebook management

17               team was aware that some developers

18               and partners would retain access to

19               deprecated permissions, like friend

20               sharing, after the implementation of            08:30:00

21               Graph API version 2, right?")

22               MR. BLUME:    Objection.     Form.

23               THE DEPONENT:     The changes to the public

24     API surface area, there were -- there were -- there

25     were no plans, I'm aware of, to, at the time,             08:30:27

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1      deprecate the device integrations or other                 08:30:30

2      integration partners.

3           Q.     (By Mr. Loeser)     And Mr. Cross, Facebook

4      management was aware of that, right?

5                  MR. BLUME:    Objection.     Form.             08:30:41

6                  THE DEPONENT:     I can't say if Facebook

7      management was aware.       There's a number of threads

8      on this topic.

9           Q.     (By Mr. Loeser)     Was Mark Zuckerberg

10     aware of that?                                             08:30:54

11                 MR. BLUME:    Objection.     Form.

12                 THE DEPONENT:     I don't know if

13     Mark Zuckerberg was aware of that.

14                 MR. LOESER:     Let's look at -- introduce a

15     new exhibit.                                               08:31:06

16                 (Exhibit 342 was marked for

17     identification by the court reporter and is

18     attached hereto.)

19                 MR. LOESER:     We'll mark Exhibit 342.

20          Q.     (By Mr. Loeser)     This is an email from      08:31:30

21     Eddie O'Neil to Mark Zuckerberg with a cc to Mike

22     Vernal, Douglas Purdy and Ilya Sukhar, dated

23     January 27th, 2014, "Subject: platform model

24     changes."

25                 Do you see that?                               08:31:44

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1           A.   I see that.                                        08:31:45

2           Q.   And who, of the recipients of this email,

3      was on the Facebook management team at this time?

4           A.   Can you help me understand what you mean

5      by the "Facebook management team"?                           08:31:58

6           Q.   Sure.

7                There was the document earlier that was

8      the M Team, and I'm referring to the M Team.

9                Is that the management team?

10          A.   Well, there's -- there's a thing called            08:32:09

11     the M Team, which is Mark's -- Mark's leadership

12     group.

13          Q.   So -- so who -- who, on this list, would

14     be considered Facebook leadership?

15               MR. BLUME:    Objection.     Form.    And scope.   08:32:23

16               THE DEPONENT:     I mean, I think it's

17     reasonable to assume Mark would be considered

18     Facebook leadership.    But I couldn't answer the

19     question as to which other people on the thread

20     were on the M Team at the time.                              08:32:37

21          Q.   (By Mr. Loeser)     What was Eddie O'Neil's

22     position at the time?

23          A.   Again, I don't want to give a canonical

24     answer, but my understanding is he was a product

25     manager on the Facebook platform team.                       08:32:54

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1           Q.   And if you look at the first line of                    08:32:58

2      Mr. O'Neil's email to Mark Zuckerberg, he states

3      "Hi Mark - attached are the slides we reviewed and

4      a list of key apps affected by the API

5      deprecations/privatizations."                                     08:33:10

6                Do you see that?

7           A.   I see that.

8           Q.   And do you see that he writes "To clarify

9      my perspective: I feel strongly that we should make

10     these changes - want to be sure we've considered                  08:33:23

11     alternative viewspoints, but my opinion is solid.

12     We need to realign our relationship with developer

13     in order to put the ecosystem in a sustainable

14     place and to improve user trust."

15               Do you see that?                                        08:33:34

16          A.   I do see that.

17          Q.   So does this indicate to you, as

18     Facebook's corporate designee, that Mr. Zuckerberg

19     was made aware of the platform model changes that

20     would occur when the platform 3.0 was implemented?                08:33:46

21               MR. BLUME:    Objection.    Form.    Scope.

22               THE DEPONENT:    I -- it -- it would

23     indicate to me that Mark had received this email.

24     I don't know whether or not he was aware of it.              It

25     doesn't mean he necessarily read the email.           So I        08:34:07

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1      couldn't answer on behalf of Mark.         But it would        08:34:10

2      make sense that he was aware that these changes

3      were being made.

4           Q.     (By Mr. Loeser)     Okay.    So Mr. Cross,

5      the -- the changes that -- that occurred when the              08:34:45

6      platform -- the new platform was installed were

7      something that Facebook informed the developer

8      community of; is that right?

9           A.     We announced the changes to the Facebook

10     developer platform at F8 on April the 30th, 2014.              08:35:08

11          Q.     And tell the jury, if you will, what the

12     F8 is?

13          A.     F8 is a developer conference run by

14     Facebook.

15          Q.     And is it an important event for                   08:35:28

16     Facebook?

17                 MR. BLUME:   Objection.      Form.

18                 THE DEPONENT:     It's an event.

19          Q.     (By Mr. Loeser)     So it's like a birthday

20     party, or is it something that's significant for               08:35:44

21     Facebook?

22                 MR. BLUME:   Objection.      Scope.    And form.

23                 THE DEPONENT:     F8 is a little bit bigger

24     than a birthday party.

25          Q.     (By Mr. Loeser)     Is it fair to describe         08:35:53

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1      it as a significant event for Facebook?                      08:35:54

2                MR. BLUME:     Objection.    Scope.

3                THE DEPONENT:     I -- I wouldn't want to --

4      it's -- it's an event.     There are many events.        I

5      don't think it necessarily needs to be pegged as             08:36:06

6      significant.

7           Q.   (By Mr. Loeser)     Is it something that

8      people who present at the event do some preparation

9      in advance or do they just wing it?

10               MR. BLUME:     Objection.    Form.    Scope.       08:36:20

11               THE DEPONENT:     Typically, when you speak

12     at F8, you've done a little prep.

13          Q.   (By Mr. Loeser)     And the reason for the

14     prep is so that you can speak accurately?

15               MR. BLUME:     Objection.    Form.                 08:36:37

16               THE DEPONENT:     So you can deliver -- in

17     general, preparation helps you deliver a good

18     presentation.

19          Q.   (By Mr. Loeser)     And is a good

20     presentation also a presentation that is accurate?           08:36:49

21          A.   Again, I'm not going to offer a Facebook

22     answer to that.

23               In my personal capacity, when presenting,

24     I would generally like to be accurate.

25               MR. BLUME:     Is this a good time for a           08:37:16

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1      break, Derek?           We've been going about an hour.            08:37:17

2                      MR. LOESER:     Sure.     Sure.    Let's try and

3      keep it a little shorter than some of the other

4      ones.        But if we actually can get back on in ten

5      minutes, that would be great.                                      08:37:28

6                      We can go off the record.

7                      THE VIDEOGRAPHER:        Okay.    We're off the

8      record.        It's 8:37 p.m.

9                      (Recess taken.)

10                     THE VIDEOGRAPHER:        We're back on the         08:37:34

11     record.        It's 8:50 p.m.

12             Q.      (By Mr. Loeser)        Mr. Cross, you mentioned

13     the April 30th, 2018, F8 conference; is that right?

14             A.      April the 30th, 2014.

15             Q.      2014.     I'm sorry.                               08:50:31

16                     And -- and that is the F8 where Facebook

17     announced the changes that were being made to the

18     platform with the introduction of Graph API

19     version 2, right?

20             A.      That's the event where Graph API                   08:50:44

21     version 2 and the new login were -- were announced

22     publicly.

23             Q.      And were you at the April 30th, 2014, F8?

24             A.      I was at the event.

25             Q.      And was -- was Ime Archibong at that               08:51:04

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1      event?                                                     08:51:06

2           A.      I couldn't say for certain.          I -- I

3      would -- he may -- he may well have been, but I

4      couldn't say for certain.

5           Q.      And do you know -- and I'll just list the     08:51:17

6      names and you tell me if you know if they were

7      there.

8                   Was Eddie O'Neil at that event?

9           A.      Eddie O'Neil was there.

10          Q.      And was Jackie Chang at that event?           08:51:25

11          A.      I don't know if Jackie Chang was there.

12          Q.      Was KP at that event?

13          A.      I don't know for certain if KP was there.

14          Q.      Now, the keynote at the F8 was -- was

15     delivered by Mark Zuckerberg; is that right?               08:51:41

16          A.      That's correct.

17          Q.      And was that normally what happened at

18     the F8?

19          A.      Mark has historically given the keynote

20     at F8s.                                                    08:51:59

21          Q.      And -- and that's so he can deliver

22     important news or information about Facebook for

23     that year?

24                  MR. BLUME:   Objection.      Form.

25                  THE DEPONENT:     Yes.   So that Mark can     08:52:09

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1      update our developer community on what he -- what          08:52:12

2      we're going to launch and what he thinks is coming

3      next.

4              Q.   (By Mr. Loeser)     We have a video clip of

5      that portion of Mr. Zuckerberg's keynote address           08:52:24

6      and we're going to play it.        And then I'll have a

7      few follow-up questions for you about what he said.

8                   Okay?

9              A.   Okay.

10                  (Video playing.)                              08:52:34

11             Q.   (By Mr. Loeser)     Were you able to hear

12     that, Mr. Cross?

13             A.   I could hear that, yeah.

14             Q.   Okay.   So during that keynote

15     presentation, Mr. Zuckerberg described the changes         08:53:50

16     that were going to be made with regard to the

17     sharing of friend information, in particular; is

18     that right?

19             A.   He talked about how the -- the API for

20     most developers was going to change.                       08:54:07

21             Q.   And he -- he didn't actually use the

22     phrase "most developers," did he?

23             A.   I don't recall exactly.

24                  MR. LOESER:   Well, we have a copy of the

25     transcript and we can mark this as the next                08:54:24

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1      exhibit, which has previously been marked as              08:54:26

2      Exhibit 17.

3           Q.   (By Mr. Loeser)     And I'll represent to

4      you that this is a transcript of Mr. Zuckerberg's

5      April 30th, 2014, keynote address at the F8.              08:54:40

6                And if we go to the fifth page -- do you

7      see the paragraph in the middle, "And in the past,

8      when one of your friends logged into an app, in

9      this case Ilya, the app could ask him not only to

10     share his data but also data that his friends had         08:55:07

11     shared with him."

12               Do you see that?

13          A.   I see that.

14          Q.   And having just listened to the -- the

15     recording of the presentation, do those words look        08:55:14

16     familiar to you?

17          A.   They do.

18          Q.   And so what Mr. Zuckerberg said is, "So

19     now we're going to change this and we're going to

20     make it so that now everyone has to choose to share       08:55:28

21     their own data with an app themselves"; is that

22     right?

23          A.   That's what he said.

24          Q.   So -- and for that to occur, that would

25     mean that -- that no app would get access to data         08:55:41

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1      about anyone other than the Facebook user using the       08:55:45

2      app, correct?

3           A.   I'm not sure that is -- has to be true

4      for -- for this to make sense.

5           Q.   Okay.   So tell me what -- when -- when he      08:55:58

6      says so -- "So now we're going to change this and

7      we're going to make it so that now everyone has to

8      choose to share their own data with an" apps

9      themselves -- "with an app themselves," in that

10     statement, is there some indication that -- that          08:56:11

11     not everyone has to choose to share their own data

12     with an app themselves?

13               MR. BLUME:   Objection.      Form.     Scope.

14               THE DEPONENT:     So -- sorry.       Ask the

15     question again, please.                                   08:56:29

16          Q.   (By Mr. Loeser)     Mr. Zuckerberg stated

17     "So now we're going to change this and we're going

18     to make it so that now everyone has to choose to

19     share their own data with an app themselves,"

20     right?                                                    08:56:38

21          A.   That's what he said.

22          Q.   Okay.   He didn't say "We're going to make

23     it so that now some people have to choose to share

24     their own data with an app themselves," did he?

25          A.   He didn't say that.      Assuming this is his   08:56:51

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1      transcript.                                               08:56:57

2           Q.   Okay.   And now, Mr. Cross, it's true, is

3      it not, that after the transition to Graph API

4      version 2 -- strike that.

5                It is not true that after the transition        08:57:17

6      to Graph API version 2, "No app would get access to

7      data about anyone other than the Facebook user

8      using the app", correct?

9           A.   Mark is speaking here to the broad

10     develop community and referring to the generally          08:57:34

11     publicly available Facebook developer platform.

12     And over time, we transitioned all applications

13     to -- we transitioned most applications to

14     version 2 and ultimately deprecated the friend

15     permissions for everyone.                                 08:58:00

16          Q.   Okay.   Mr. Cross, show me where in this

17     statement that Mr. Zuckerberg made at the --

18     April 30th, 2018, he suggests that -- that some

19     people would have to choose to share their own data

20     but others would not have that ability.                   08:58:13

21          A.   Well, so an application that had been

22     upgraded or migrated to version 2, it was part of

23     the public API surface area.      The behavior is the

24     same for all users.

25          Q.   Yeah.   Mr. Cross, let's go back to the         08:58:32

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1      transcript because I really -- I'm trying to                   08:58:33

2      understand what words were said and what were not.

3                  And when Mr. Zuckerberg said "So now

4      we're going to change this and we're going to make

5      it so that now everyone has to choose to share                 08:58:44

6      their own data with an app themselves," that was

7      not a true statement, was it?

8                  MR. BLUME:    Objection.     Form.    And scope.

9                  THE DEPONENT:     So I -- I can't like give

10     the, you know -- like I can't be sure exactly what             08:59:01

11     Mark had in his head when he said this.           Only he

12     can -- this is his transcript.

13                 So what was the question again?         Sorry.

14                 MR. LOESER:     If we could read the

15     question back, please, Rebecca.                                08:59:28

16                 (Court Reporter initiates discussion off

17     the record.)

18                 MR. LOESER:     I can -- I can restate the

19     question.

20          Q.     (By Mr. Loeser)     When Mr. Zuckerberg            09:00:03

21     stated at the F8, "So now we're going to change

22     this and we're going to make it so that now

23     everyone has to choose to share their own data with

24     an app themselves," that was not a true statement

25     at time, was it?                                               09:00:15

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1                   MR. BLUME:   Objection.      Form.    And scope.   09:00:17

2                   THE DEPONENT:     That is -- that is true

3      for the public API surface area, once all apps had

4      been transitioned to API version 2 and the friend

5      permissions have been deprecated for everyone.                  09:00:37

6              Q.   (By Mr. Loeser)     It was never the case,

7      Mr. Cross, that everyone was given the opportunity

8      to choose to share their own data with an app

9      themselves because of the exemptions that were made

10     to the deprecations of friend-sharing APIs; isn't               09:00:53

11     that right?

12             A.   The friend permissions were deprecated

13     and removed for everybody over time.           The migration

14     here is a process, and it took time.           But as of

15     now, there are no friend permissions and that is                09:01:14

16     the case for everyone.

17             Q.   And you're talking about as of now, as of

18     2022?

19             A.   I am talking about as of now, as of 2022.

20             Q.   So this was announced in 2014; is that             09:01:33

21     right?

22             A.   He's making this announcement in 2014.

23             Q.   Okay.   So in 2015, it was not true that

24     everyone has to choose to share their own data with

25     an app themselves, right?                                       09:01:47

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1                   MR. BLUME:   Objection.      Form.    And scope.   09:01:49

2                   THE DEPONENT:     The migration to -- from

3      API v1 to v2 took a long period of time.            And

4      continued into 2016 -- into 2015, and continued on.

5           Q.      (By Mr. Loeser)     And so the answer to my        09:02:11

6      question is correct?

7                   MR. BLUME:   Objection.      Form.

8                   THE DEPONENT:     Sorry.    I'm not sure what

9      I'm agreeing to there.

10          Q.      (By Mr. Loeser)     My question is, in 2015,       09:02:25

11     it was not true that everyone had to choose to

12     share their own data with an app themselves, right?

13                  MR. BLUME:   Same objection.

14                  THE DEPONENT:     In 2015 -- in 2015, API

15     version 1 was still available to any application                09:02:41

16     that had been created before F8 2014.

17          Q.      (By Mr. Loeser)     Okay.    And after the new

18     platform became operative in 2015, it was still not

19     true that everyone has to choose to share their own

20     data with an app themselves, right?                             09:02:57

21                  MR. BLUME:   Objection.      Form.

22                  THE DEPONENT:     The deprecation of API v1

23     and the friend permissions was a process that took

24     some time.

25          Q.      (By Mr. Loeser)     Okay.    So can you answer     09:03:08

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1      my question?                                              09:03:10

2           A.   Sorry.     In -- repeat the question,

3      please.

4           Q.   After the new platform became operative

5      in 2015, it was still not true that everyone has to       09:03:23

6      choose to share their own data with an app

7      themselves, right?

8           A.   Well, the -- the -- after the new

9      platform version became operative, there was still

10     a migration process underway that took some more          09:03:42

11     time and that continued into -- into 2015.

12          Q.   Okay.     So can you answer my question,

13     please.

14               MR. BLUME:     Objection.    Form.

15               THE DEPONENT:     So in API version 2, there    09:03:58

16     were -- in 2015, there were still apps in the

17     process of migrating from one to the other and that

18     process continued.     And while that process

19     continued, then some applications had access to

20     friends information.                                      09:04:24

21          Q.   (By Mr. Loeser)     So the answer to my

22     question is correct?

23               MR. BLUME:     Objection.    Form.

24               THE DEPONENT:     I feel like I've answered

25     the question.     I'll restate my testimony again.        09:04:36

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1                  The migration from version 1 to version 2      09:04:38

2      took a period of time.      And while that took place

3      there were some applications that retained the

4      ability to access friends information.

5           Q.     (By Mr. Loeser)     And because the            09:04:57

6      migration took, as you say, a long period of time,

7      it was not true that everyone could choose to share

8      data with an app themselves in 2015, after the new

9      platform was introduced, correct?

10                 MR. BLUME:   Objection.      Form.    Scope.   09:05:07

11                 THE DEPONENT:     As I've explained, the way

12     the platform migration worked is it took a period

13     of time and during that migration period some apps

14     had the ability to access friends information until

15     the friend permissions were finally removed for            09:05:24

16     everyone.

17          Q.     (By Mr. Loeser)     And, sir, I'm going to

18     ask you to answer my question again.          And we can

19     read the question back.       And I understand your

20     reference to the migration taking a long period of         09:05:35

21     time, but my question is very specific.

22                 Because the migration took a long period

23     of time, as you say, it was not true that everyone

24     could choose to share data with an app themselves

25     in 2015, after the platform became operative,              09:05:48

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1      correct?                                                  09:05:52

2                 MR. BLUME:   Objection.      Form.

3                 THE DEPONENT:     The platform -- the

4      platform became operative for -- for new

5      applications in 2014, so -- I mean, again, in 2015,       09:05:57

6      while the process of migration was still underway,

7      apps -- some apps retained the ability to access

8      friends information until the friend permissions

9      were ultimately deprecated.

10          Q.    (By Mr. Loeser)     And that was also true     09:06:23

11     in 2016, correct?

12          A.    In 2016, there were still some

13     applications that had access to friends

14     information.

15          Q.    And that was also true in 2017, correct?       09:06:33

16          A.    In 2017, there were some integrations

17     that still retained access to friends information.

18          Q.    And that is still true in 2017, correct?

19          A.    In 2017, there were some applications

20     that had access to friends information due to being       09:06:55

21     integration partners.

22          Q.    And that's -- that was true in 2018 also,

23     correct?

24          A.    The friend permissions were ultimately

25     deprecated for all apps for all users in 2018.            09:07:08

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1           Q.   And in 2019, there were still some apps          09:07:14

2      that emitted friend data; isn't that right?

3           A.   The friend permissions were deprecated

4      for -- removed for everybody, for all apps, in

5      March 2018.                                                09:07:25

6           Q.   Right.   But as we talked about on Monday,

7      there are other APIs that emit friend data even

8      though they're not friend permissions; isn't that

9      right?

10               MR. BLUME:   Objection.      Form.               09:07:36

11               THE DEPONENT:     Can you remind me what you

12     define as friends data?

13          Q.   (By Mr. Loeser)     Well, we went through

14     this in some detail on Monday.      But the post APIs

15     and the groups APIs and the events APIs and the            09:07:51

16     tagable friends APIs, the inviteable friends API,

17     those were all APIs that you testified did emit

18     friend data, right?

19          A.   Those APIs -- some of them emitted very

20     limited amounts of information.       But those APIs, as   09:08:08

21     I understand it, were still operational in 2018.

22          Q.   And those were still operational in 2019,

23     too, right?

24          A.   I -- many updates to the platform

25     happened in 2018, including a new API version which        09:08:27

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1      dramatically limited the amount of information            09:08:31

2      available to applications even further.

3           Q.     Nonetheless, there were still apps

4      emitting friend data in 2019, right?

5           A.     In 20- -- in 2019, there were some apps       09:08:44

6      discovered that still had access to friends

7      information.

8           Q.     And that's true in 2020, as well, right?

9           A.     My understanding is that all of the apps

10     that were discovered that had access to friends           09:09:03

11     information were removed in 2018.

12          Q.     Except for the apps that you talked about

13     on Monday that weren't friends permissions but

14     emitted friend data, right?

15          A.     I'm not sure exactly the state of the         09:09:27

16     APIs in 2019.

17          Q.     And what about in 2020?

18                 MR. BLUME:   Objection.      Form.

19                 THE DEPONENT:     Again, the APIs, as they

20     exist in 2019 and -- and 2020, I count -- I do not        09:09:41

21     know exactly the details of how those APIs

22     function.

23          Q.     (By Mr. Loeser)     So you can't testify

24     today as to whether Facebook continues to allow

25     apps to emit friend data in 2020?                         09:09:58

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1                   MR. BLUME:   Objection.      Form.           09:10:03

2                   THE DEPONENT:     The friend permissions

3      were deprecated in 2018.        And the API was updated

4      also in 2018 to significantly reduce the amount of

5      information that was available to applications.           09:10:16

6      And there was -- those were major steps forwards

7      [sic] in reducing the amount of data available to

8      apps.

9              Q.   (By Mr. Loeser)     Understood.

10                  But as you said, in 2019, there were         09:10:31

11     still APIs that emitted some friend data, right?

12             A.   I'm not confident in understanding how

13     the API worked in 2019.

14             Q.   So can you, as Facebook's corporate

15     designee today, testify as to whether there are           09:10:51

16     APIs in use in 2019, 2020, 2021 and 2022 that still

17     emit some friend data?

18                  MR. BLUME:   Objection.      Form.

19                  THE DEPONENT:     I do not know how -- in

20     detail how the APIs work today or worked in 2018,         09:11:09

21     '19 and '20.

22             Q.   (By Mr. Loeser)     So the answer to my

23     question is no, as the corporate designee, you

24     cannot testify and provide an answer to that

25     question?                                                 09:11:24

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1                   MR. BLUME:   Objection.      Form.           09:11:26

2                   THE DEPONENT:     I can't say for certain

3      how the API functions today or in the last three

4      years.

5              Q.   (By Mr. Loeser)     But on Monday you were   09:11:34

6      able to testify about the friend data that these

7      other APIs that we talked about did emit some

8      friend information; is this right?

9              A.   Which other APIs are you referring to?

10                  I think that probably matters.               09:11:46

11             Q.   The ones that we just went through; the

12     groups, events, posts, tagable friends, inviteable

13     friends, the whole list.

14             A.   Those APIs were deprecated in the past.

15     I think most of those APIs were deprecated in 2018.       09:12:03

16             Q.   You think.   But who -- who knows for

17     sure?

18             A.   The tagable friends and the inviteable

19     friends API were certainly deprecated in 2018, and

20     these APIs -- the -- the change log of which APIs         09:12:17

21     were deprecated and when is available on Facebook's

22     developer website.

23                  I just haven't memorized all of that

24     information for you.

25             Q.   So perhaps on Monday you could testify as    09:12:29

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1      to when those other APIs that emitted friend data              09:12:31

2      were deprecated, if they were.

3                 Is that something you can investigate?

4                 MR. BLUME:    Objection.      Form.

5                 Noted.                                              09:12:48

6           Q.    (By Mr. Loeser)     Now, Mr. Cross, it is

7      not true that after the transition to Graph API

8      version 2 no app would get access to data about

9      anyone other than the Facebook user using the app,

10     right?                                                         09:13:01

11                MR. BLUME:    Objection.      Form.

12                THE DEPONENT:     Sorry.     Can you repeat --

13     can you repeat the question.

14                MR. LOESER:     Sure.   If we could read it

15     back, please.                                                  09:13:06

16                THE COURT REPORTER:        Wait.   Could you

17     slow down a little bit, Mr. Loeser.

18                MR. LOESER:     Sure.   I'm sorry.      And I can

19     just read the question again.

20                THE COURT REPORTER:        Thank you.               09:13:06

21          Q.    (By Mr. Loeser)     Mr. Cross, it is not

22     true that after the transition to Graph API

23     version 2, no app would get access to data about

24     anyone other than the Facebook user using the app,

25     correct?                                                       09:13:28

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1                  MR. BLUME:   Objection.      Form.             09:13:31

2                  THE DEPONENT:     The way the APIs

3      functioned was that the -- even after the

4      deprecation of the -- the friend permissions, there

5      were still cases where an app would emit some              09:13:41

6      information about people who had interacted with

7      the content that the app user had posted.

8             Q.   (By Mr. Loeser)     So the answer to my

9      question is, correct, it is not true that no app

10     would get access to data about anyone other than           09:14:01

11     the Facebook user using the app after Graph AP one

12     [sic] version 2 was implemented?

13            A.   Graph API version 2 removed the friend

14     permissions from the public surface area of the

15     API.    But there were no guarantees made about other      09:14:16

16     information that the API would emit.

17            Q.   And Mr. Zuckerberg didn't say in his

18     keynote address that they were deprecating friend

19     permissions for most apps, but they were going to

20     continue to allow access to those apps after               09:14:34

21     Graph -- Graph API version 2 was implemented for

22     certain partners chosen by Facebook, right?

23                 That's not in his keynote address, is it?

24                 MR. BLUME:   Objection.      Form.    Scope.

25                 THE DEPONENT:     You have the transcript of   09:14:51

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1      what he said in the keynote.                               09:14:52

2           Q.     (By Mr. Loeser)     And -- and when I played

3      the portion of the transcript, you didn't hear him

4      say those words; is that right?

5                  MR. BLUME:   Objection.      Form.    Scope.   09:15:01

6                  THE DEPONENT:     I didn't hear Mark say the

7      words that you just said.

8           Q.     (By Mr. Loeser)     And at the time that

9      Mr. Zuckerberg made these statements, Facebook knew

10     that certain app developers and partners with,             09:15:10

11     quote, nonstandard platform agreements, unquote,

12     would be given continued access to friend data

13     after Graph AP one -- API version 2 was

14     implemented, right?

15                 MR. BLUME:   Objection.      Asked and         09:15:23

16     answered.

17                 THE DEPONENT:     The -- at the time there

18     were -- the -- there were a number of integrations

19     that existed through -- device integrations and

20     integration partners.       And there was, as I            09:15:38

21     understand it, no plans to deprecate those.

22                 Mark is speaking to a public developer

23     audience and referring to the public developer

24     platform.

25          Q.     (By Mr. Loeser)     And just to be clear,      09:15:55

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1      Mr. Zuckerberg knew that certain app developers and          09:15:55

2      partners with nonstandard platform agreements would

3      be given continued -- continued access to friend

4      data after Graph API version 2 was implemented,

5      right?                                                       09:16:09

6                  MR. BLUME:   Objection.       Asked and

7      answered.    Form and scope.

8                  THE DEPONENT:     Sorry, Rob.      Can you

9      say --

10            Q.   (By Mr. Loeser)      Sure.                       09:16:18

11                 MR. BLUME:   Sure.     I objected that --

12     that it was asked and answered.          And I objected to

13     form and scope.

14            Q.   (By Mr. Loeser)      At the time

15     Mr. Zuckerberg gave his keynote address on                   09:16:25

16     April 30th, 2014, at the F8, Facebook knew that

17     certain app developers and partners with

18     nonstandard platform agreements would be given

19     continued access to friend data after Graph AP one

20     version 2 was implemented, right?                            09:16:42

21                 MR. BLUME:   Objection.       Scope.   Form.

22                 THE DEPONENT:     Sorry.     Say that again,

23     Rob.

24                 MR. BLUME:   Yeah.     Objection to form.

25                 THE DEPONENT:     There were apps still on       09:17:00

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1      whitelists and there were no plans that I was aware       09:17:04

2      of to -- to deprecate the integration partners that

3      were already in existence.

4           Q.     (By Mr. Loeser)      So the answer to my

5      question is "yes"?                                        09:17:22

6                  MR. BLUME:    Objection.     Form.

7                  THE DEPONENT:     Sorry.    I feel

8      like I've -- I feel like I've answered the

9      question.

10                 I don't -- I don't know what                  09:17:31

11     Mark Zuckerberg knew.       He was aware that the -- he

12     would have been aware.       And we've seen the email

13     sent to him, that made him aware of what the

14     changes were.    But I don't know what he would have

15     known about the plans to continue with integration        09:17:49

16     partners and so on.

17          Q.     (By Mr. Loeser)      And as Facebook's

18     corporate -- sorry.      Go ahead.

19          A.     Sorry.   Go ahead.

20          Q.     As Facebook's corporate designee today,       09:18:02

21     tell the jury -- isn't it true that Facebook knew

22     that certain app developers and partners with

23     nonstandard platform agreements would be given

24     continued access to user friends data after

25     Graph API version 2 was implemented?                      09:18:19

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1                MR. BLUME:     Objection.    Form.              09:18:21

2                THE DEPONENT:     The changes announced at

3      F8 2014 reflected major changes to the Facebook

4      developer platform for most apps and most

5      developers a significant change to the way the            09:18:37

6      platform worked.

7                Facebook had relationships with entities

8      that built integrations into devices, mobile phones

9      and operating systems that provided great value to

10     users and those were planned to continue.                 09:18:59

11          Q.   (By Mr. Loeser)     And Mr. Cross, I'd

12     appreciate it if you could answer the question.

13     I've asked you a yes-or-no question about what

14     Facebook knew.     And I can have the question read

15     back, if you want.     But I would like you to answer     09:19:14

16     the question I asked.

17               And that question is, as Facebook's

18     corporate designee today, tell the jury, isn't it

19     true that Facebook knew that certain app developers

20     and partner with nonstandard platform agreements          09:19:26

21     would be given continued access to user friend data

22     after Graph API version 2 was implemented?

23               MR. BLUME:     Objection.    Form.

24               THE DEPONENT:     There were -- it was -- it

25     was expected that, as with many cases and many            09:19:47

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1      companies, that there would be experiences that we        09:19:54

2      wanted certain developers to build that would not

3      be possible via the standard public platform, and

4      we wanted those integrations to -- to continue

5      providing value to users, developers and Facebook.        09:20:11

6             Q.   (By Mr. Loeser)     And I appreciate that

7      explanation, but that was not the question I asked

8      you.

9                  I'm asking you about what Facebook knew.

10     And I would like you to answer my question about          09:20:21

11     what Facebook knew at the time Mr. Zuckerberg made

12     his statements at the F8.

13                 Would you like me to read the question

14     again?

15            A.   Yes.   Please read the question again.        09:20:34

16            Q.   As Facebook's corporate designee, tell

17     the jury, isn't it true that Facebook knew that

18     certain app developers and partners with

19     nonstandard platform agreements would be given

20     continued access to user friend data after                09:21:04

21     Graph API version 2 was implemented?

22            A.   Facebook had agreements with certain

23     developers that allowed them to build experiences

24     that had continued access to friend information for

25     a period of time and that was planned to continue.        09:21:31

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1           Q.     So the answer to my question is, yes, at          09:21:38

2      the time Mr. Zuckerberg made his statements,

3      Facebook knew that certain partners would continue

4      having access to friend data after Graph API

5      version 2 was implemented, correct?                           09:21:52

6                  MR. BLUME:     Objection.    Form.

7                  THE DEPONENT:     Certain appli- -- sorry.

8      Say again, Rob.

9                  MR. BLUME:     I objected to the form of the

10     question.                                                     09:22:03

11                 THE DEPONENT:     And I feel like I'm

12     answering your question -- I feel like I've

13     answered your question a few times now.

14                 SPECIAL MASTER GARRIE:       No.     Answer the

15     question yes or no.       He's asking you a yes-or-no         09:22:10

16     question.

17                 It's not that complicated.         He's saying,

18     here the question, as a corporate designee, is the

19     answer yes or no.     If you can't answer it as yes or

20     no, state such.                                               09:22:23

21                 THE DEPONENT:     I think I'm confused by

22     like what -- what does he mean by "Facebook knew"?

23                 SPECIAL MASTER GARRIE:       Counsel.

24                 MR. LOESER:     Mr. Cross, you're testifying

25     on behalf of Facebook.       So I'm asking you what           09:22:38

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1      Facebook knew.        So what Facebook employees informed             09:22:43

2      management and what management knew.

3                      THE DEPONENT:     There were people inside

4      the company that knew that --

5                      SPECIAL MASTER GARRIE:       He gave the              09:23:00

6      explanation of "knew."           So the question is -- he

7      asked you a question.           He's told you what "knew"

8      means.

9                      Is the answer yes or no, or you don't

10     know.        But you can answer it.                                   09:23:08

11                     THE DEPONENT:     I mean, I -- I -- I don't

12     know what "did Facebook knew" means, right.                  Did --

13     did -- how did the -- the -- the company know.

14                     SPECIAL MASTER GARRIE:       Well, you're

15     representing the company today as a designee of the                   09:23:22

16     company.

17                     THE DEPONENT:     Right.

18                     SPECIAL MASTER GARRIE:       Did the company

19     have knowledge -- Counsel Loeser is asking did

20     Facebook itself have knowledge or individuals                         09:23:31

21     therein have knowledge.

22                     I think its confusion is around what you

23     mean by "Facebook knew."           So maybe you can explain

24     to him, if that's not clear.

25             Q.      (By Mr. Loeser)     Facebook operates                 09:23:44

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1      through its employees, right?                                  09:23:46

2           A.     Facebook has employees, yes.

3           Q.     And employees are assigned certain

4      responsibilities as employees?

5           A.     Employees tend to have job titles.                 09:24:01

6           Q.     Okay.   And some employees were

7      responsible for determining which apps and partners

8      would continue to have access to friend data after

9      Graph AP one version 2 was implemented, right?

10          A.     There were people working on the platform          09:24:16

11     partnership team who were responsible for the

12     device integration partners and the integration

13     partners.

14          Q.     And the -- the knowledge that they

15     developed was communicated to people with                      09:24:28

16     management level authority; isn't that right?

17                 MR. BLUME:     Objection.    Form.

18                 THE DEPONENT:     There are emails with

19     conversations on about what was going to happen and

20     what could happen.       And there were various levels         09:24:44

21     of management on these email threads.

22          Q.     (By Mr. Loeser)     And we talked about some

23     of those people.     Eddie O'Neil, for example.          KP,

24     for example.

25                 Those were people who were aware of which          09:24:56

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1      apps and partners would continue to have access to           09:24:58

2      deprecated permissions after Graph API one -- API

3      version 2 was implemented, right?

4             A.    The integration -- so they were aware of

5      the integration partners.        And --                      09:25:13

6                   SPECIAL MASTER GARRIE:       The answer is

7      yes.     We looked at the emails.      You can just answer

8      the question asked.     We all looked at the emails.

9                   THE DEPONENT:     Yes, we looked at emails.

10                  SPECIAL MASTER GARRIE:       So they knew --    09:25:23

11            Q.    (By Mr. Loeser)     And we looked at an

12     email --

13                  SPECIAL MASTER GARRIE:       -- right?

14                  Keep going, Counsel.

15            Q.    (By Mr. Loeser)     We looked at an email as    09:25:30

16     well in which Eddie O'Neil communicated with

17     Mark Zuckerberg directly on this topic; is that

18     right?

19            A.    We looked at an email that Eddie sent to

20     Mark which talked about the changes.           But that      09:25:39

21     email didn't contain anything about apps that would

22     continue to have access.

23            Q.    It refers to the privatization of APIs,

24     right?

25            A.    That email does use the term                    09:25:53

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1      "privatization."                                          09:25:55

2           Q.   And that was a term used to describe

3      certain partners that would continue to have access

4      to information that was otherwise deprecated on the

5      new platform, right?                                      09:26:05

6           A.   Privatization could be used to suggest an

7      API that was no longer available to public

8      developers.

9           Q.   So Mr. Cross, in light of all of the

10     materials we went through that show discussion of         09:26:19

11     which partners would continue to have access to

12     friends data after the implementation of Graph API

13     version 2, it is true, is it not, that Facebook

14     knew that certain apps and partners would continue

15     to have access to friend data after the                   09:26:35

16     implementation of Graph API version 2, correct?

17               MR. BLUME:   Objection.      Form.

18               THE DEPONENT:     There were people at

19     Facebook who knew that there would be apps that

20     continued to have access -- to some apps that had         09:26:53

21     continued access to some information about friends

22     after the public surface area apps had been

23     migrated to API version 2.

24          Q.   (By Mr. Loeser)     And Facebook knew that

25     some sensitive and strategic partners would be            09:27:09

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1      given continued access to user friend information            09:27:12

2      after Graph API -- after Graph API version 2 was

3      implemented, correct?

4                   MR. BLUME:   Objection.      Form and scope.

5                   THE DEPONENT:     There were a number of        09:27:24

6      integration partners and device integrations, and

7      they were going to continue to have access to

8      friend information in order to build Facebook

9      replacement clients and other experiences after API

10     version 2 had been adopted by the public developer           09:27:44

11     platform.

12          Q.      (By Mr. Loeser)     And Facebook knew that

13     at the time that Mr. Zuckerberg made his comments

14     about the deprecation of friend permissions at the

15     April 30th, 2014, F8, right?                                 09:27:59

16                  THE DEPONENT:     Sorry, Rob.     Did you say

17     something?

18                  MR. BLUME:   Objection to form.

19                  THE DEPONENT:     In April 2014, there were

20     no plans to deprecate the device integration or              09:28:14

21     integration partners that were already in

22     existence.

23          Q.      (By Mr. Loeser)     And Facebook knew that

24     at the time Mr. Zuckerberg made his statements,

25     correct?                                                     09:28:26

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1           A.   The people in the platform partnerships         09:28:27

2      team did not have plans to deprecate the

3      integration partners or partner inte- -- or device

4      integrations that already existed.

5           Q.   And they knew that at the time                  09:28:38

6      Mr. Zuckerberg made his public statements on

7      April 30th, 2014, correct?

8           A.   So in -- when the announcements were made

9      in 2014, the partnerships team had no plans to

10     deprecate, as I'm aware, the device integration or        09:28:55

11     integration partnerships that existed to date.

12          Q.   And Mr. Cross, you are avoiding answering

13     my question about knowledge.    And I am asking you

14     the same question about knowledge because you're

15     not answering it.                                         09:29:07

16               And I would like you answer the question

17     about what Facebook knew at the time Mr. Zuckerberg

18     made those statements.   And we went through a few

19     minutes of explaining what I meant by what Facebook

20     knew, so there's no confusion about that now.        So   09:29:17

21     if you could please answer my question.

22               Facebook knew that app developers and

23     partners, who were considered sensitive and

24     strategic partners, would be given continued access

25     to user friend data after Graph API version 2 was         09:29:31

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1      implemented, correct?                                         09:29:36

2                   MR. BLUME:   Objection.      Form and scope.

3                   SPECIAL MASTER GARRIE:       Answer the

4      question.

5                   Sorry.   Go ahead, Counsel Blume.                09:29:39

6                   MR. BLUME:   I'm sorry.      Objection to form

7      and scope to that question.

8                   SPECIAL MASTER GARRIE:       Noted for the

9      record.     Overruled.

10                  Answer the question.                             09:29:47

11                  THE DEPONENT:     There were partners --

12                  SPECIAL MASTER GARRIE:       "No," or

13     "Correct," or "I don't know."         Those are your

14     choices.     Or "I cannot answer the question as

15     asked."     However you want to say it, those are your        09:30:00

16     choices.

17                  THE DEPONENT:     I cannot answer the

18     question as asked because of the -- the definition

19     used in it around sensitive and strategic, which is

20     not established or defined.                                   09:30:14

21                  SPECIAL MASTER GARRIE:       Okay.    Fair

22     enough.

23                  There you go, Counselor.

24          Q.      (By Mr. Loeser)     And Facebook knew, at

25     the time Mr. Zuckerberg made -- gave his keynote              09:30:27

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1      address at the April 30th, 2014, F8, that app                    09:30:32

2      developers and partners with private APIs would be

3      given continued access to user friend data after

4      Graph API version 2 was implemented, correct?

5           A.      Can you ask the top of that question                09:30:49

6      again.     It was quite a long one.

7           Q.      Mr. Cross, Facebook knew that app

8      developers and partners with private APIs would be

9      given continued access to friend user data after

10     Graph API version 2 was implemented, correct?                    09:31:05

11                  MR. BLUME:   Objection.      Form.

12                  THE DEPONENT:     Facebook knew that there

13     were integration partners and device integrations

14     that would continue to have access to friends

15     information after the public API surface area had                09:31:20

16     been migrated to version 2.

17          Q.      (By Mr. Loeser)     Mr. Zuckerberg said

18     "we're going to make it so that now everyone has to

19     choose to share their own data with an app

20     themselves" right?                                               09:31:34

21          A.      You're reading from his transcript.          That

22     seems to be what he said.

23          Q.      And I'm -- I'm going to try and ask this

24     question really clearly so you can answer very

25     clearly.     And this is a question for you that I               09:31:47

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1      would like you to explain to the jury.         Okay.      09:31:50

2                Considering all the apps and partners

3      that would continue to have access to user friend

4      data after Graph API version 2 was implemented,

5      Facebook knew that Mr. Zuckerberg's statement that        09:32:03

6      "we're going to make it so that now everyone has to

7      choose to share their own data with an app

8      themselves" was an untrue statement, correct?

9                MR. BLUME:   Objection to scope.        Form.

10     Asked and answered.                                       09:32:18

11               THE DEPONENT:     I -- I -- Mark is talking

12     about the public surface area of the platform, and

13     over time this statement that he made about that

14     became true.   The friend permissions were

15     deprecated for all apps, for all people, in               09:32:37

16     March 2018.

17          Q.   (By Mr. Loeser)     And Mr. Zuckerberg did

18     not say in his statement that over the course of

19     several years we're going to make it so that

20     everyone has to choose to share their own data with       09:32:54

21     an app themselves, right?

22               MR. BLUME:   Objection.      Form.

23               THE DEPONENT:     We've looked at the

24     transcript of what Mark said.

25          Q.   (By Mr. Loeser)     And he didn't say that,     09:33:04

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1      did he?                                                        09:33:06

2                  MR. BLUME:    Objection.        Form.

3                  THE DEPONENT:     He didn't say the words

4      that you just said.

5                  MR. LOESER:     We're going to go to a new         09:33:11

6      exhibit.

7                  MR. BLUME:    Is this a good time for a

8      break, Derek?

9                  MR. LOESER:     You know, if we could

10     just -- if it's okay, I wouldn't mind powering                 09:33:58

11     through, if it's okay with Mr. Cross, because I

12     don't have a lot of time on -- on my end.            And I'd

13     like to try and cover as much as we can this

14     evening.    But really, it's up to Mr. Cross, if he

15     needs a couple minutes.                                        09:34:09

16                 THE DEPONENT:     Can I take a three-minute

17     quick bio break?

18                 MR. LOESER:     Sure.    No problem.     Make it

19     five.

20                 THE DEPONENT:     Thank you.                       09:34:17

21                 MR. LOESER:     Yeah.

22                 THE VIDEOGRAPHER:       Okay.     We're off the

23     record.    It's 9:34 p.m.

24                 (Recess taken.)

25                 THE VIDEOGRAPHER:       We're back on the          09:34:22

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1      record.      It's 9:47 p.m.                                        09:47:24

2                    MR. LOESER:      Before we took a break,

3      Mr. Cross, I believe we introduced the next

4      exhibit, which we'll put up on the screen.

5                    (Exhibit 343 was marked for                          09:47:36

6      identification by the court reporter and is

7      attached hereto.)

8                    MR. LOESER:      And this is an email string,

9      a fairly long one.         The top email is from

10     Steven Elia, dated 3/24/2016.           "Subject: Re:              09:47:48

11     Changing App Settings // Friend Permissions."

12             Q.    (By Mr. Loeser)      Do you see that?

13             A.    I do.

14                   Can I -- can I make sure I've got my -- a

15     copy here so I can -- I have it.            Okay.    I have it.    09:48:09

16             Q.    And -- and there's a number of

17     recipients --

18             A.    Sorry.     I -- I don't -- 343.

19                   My 343 is a -- is the keynote video from

20     Mark.                                                              09:48:22

21             Q.    So let's see what number this is.             This

22     would be the next exhibit after --

23             A.    I just want to make sure --

24                   343.     Okay.   Yeah, I have it.      I have it.

25             Q.    Okay.     And so we're looking at the -- the         09:48:37

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1      "To" line and there's -- it's from Steven Elia.           09:48:39

2                Who is Steven Elia?

3           A.   Steven Elia is an engineering manager on

4      the Facebook platform team.

5           Q.   Okay.   And one of the recipients --            09:48:50

6      there's some names on here like Eddie O'Neil and KP

7      that were -- that we've already talked about.

8      There's another person on here, Johanna Peace.

9                Do you know who she is?

10          A.   Johanna Peace was somebody who worked in        09:49:02

11     the communications department.

12          Q.   And so if we go to the end of this

13     string, it is an email from Johanna Peace to

14     Eddie O'Neil, Monica Tsang, Amee Kamdar,

15     Jonathan Coleman, Steve Elia and Shirine Sajjadi,         09:49:16

16     dated March 24th, 2016.

17               Do you see that?

18          A.   That's right.

19          Q.   And Ms. Peace says, at the beginning of

20     her email, "Hi all, You may have seen this article        09:49:33

21     in US Today which takes a pretty negative stance

22     toward Login, partly based on a wrong assumption

23     from looking at App Settings that friends can share

24     all your info with apps."

25               Do you see that?                                09:49:47

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1           A.      I see that.                                    09:49:48

2           Q.      And at the time was it, in fact,

3      incorrect that friends could share all your info

4      with apps?

5                   MR. BLUME:    Objection.     Form.             09:49:59

6                   THE DEPONENT:     Sorry.    Was it incorrect

7      that friends -- like -- I just want to get that

8      double negative right.

9           Q.      (By Mr. Loeser)     Well, let me -- let me

10     clean that up.                                              09:50:11

11                  So as we've spent a lot of time talking

12     about, there were a number of apps and partners

13     that were whitelisted and continued to have access

14     to friend data as of March 24th, 2016; is that

15     right?                                                      09:50:23

16          A.      There were apps that still had access

17     to -- to friend permissions and some friend

18     information in 2016, yes.

19          Q.      Okay.   So -- so at the time that this was

20     written, there were -- friends could share all of           09:50:39

21     their friends info with some apps, right?

22          A.      There were some apps that still had

23     access to the friend permissions and APIs that

24     allowed the apps to access some friend information.

25          Q.      Okay.   And then in the second paragraph       09:50:57

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1      of her email, she writes "Matt (copied) has been          09:51:00

2      working to push back against US Today's negative

3      claims and we've been emphasizing that friends

4      cannot actually share all your info with apps, but

5      the editors are having a hard time believing us,          09:51:13

6      since they noticed that App Settings appear to

7      contradict this."

8                Do you see that?

9           A.   I see that.

10          Q.   And she then writes "Given that this has        09:51:28

11     been a persistent issue confusing press and people,

12     I wanted to raise a few questions."

13               Do you see that?

14          A.   I see that.

15          Q.   And in her second paragraph below that          09:51:38

16     she writes, "In the meantime, Matt and I are

17     looking for a way to explain to USAT why the App

18     Settings appear this way, so I wanted to see what"

19     the "group is comfortable saying."

20               And I want you to look at and could you         09:51:54

21     read the next sentence that she writes.

22          A.   She says "I know we have not been

23     publicly forthcoming that we have whitelisted

24     certain apps."

25          Q.   And so at the time was it true that             09:52:06

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1      Facebook had not been publicly forthcoming with the       09:52:08

2      fact that it had whitelisted certain apps?

3                MR. BLUME:    Objection.     Form and scope.

4                THE DEPONENT:     It -- I can't answer -- I

5      can't answer what Facebook -- all of Facebook's           09:52:22

6      statements were about that.     It's hard for me to

7      answer that question.

8                But at the time there were still

9      applications that -- that had access to some friend

10     information.                                              09:52:36

11          Q.   (By Mr. Loeser)     And that hadn't been

12     communicated publicly; is that right?

13               MR. BLUME:    Objection.     Form.    Scope.

14               THE DEPONENT:     I don't -- I -- I don't

15     know if there had been -- if there had been               09:52:45

16     communications about that or -- or not.

17          Q.   (By Mr. Loeser)     And then she writes "But

18     could we say something like:      'Only a few apps have

19     access to this information, for example, to provide

20     a Facebook experience on platforms where there is         09:52:57

21     no Facebook app.'   I believe that's one of a few

22     reasons apps are whitelisted, but can this group

23     let me know thoughts / additional context?"

24               Do you see that?

25          A.   I do see that.                                  09:53:11

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1           Q.   And if we move up the string to an email        09:53:12

2      from Reagan Williams to Eddie O'Neil and

3      Johanna Peace, among others -- Johanna Peace -- she

4      writes on March 24th, 2016, "I found there are

5      approx 80 apps still accessing v1.0 of the API,           09:53:40

6      with the largest bulk of them being from phone

7      manufacturers & Apple, both of which we are under

8      contract to continue supporting.      Outside of these

9      apps, nobody appears to have accessed v1.0 friends

10     data edges in the last 30 days."                          09:53:52

11               Do you see that?

12          A.   I do see that.

13          Q.   And then she also writes "However, I did

14     uncover a few apps that were not part of our

15     original Capability whitelists, but still                 09:54:01

16     maintained access to v1.0 (such as: Socialist), but

17     I've confirmed" that "these apps are only accessing

18     Page feeds and not friends data."

19               Do you see that?

20          A.   I see that.                                     09:54:16

21          Q.   And page feeds did communicate some

22     friends data; isn't that right?

23               MR. BLUME:    Objection.    Form.

24               THE DEPONENT:    Page feeds allowed apps to

25     access the information about posts on a page, which       09:54:28

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1      may have included the people who commented or liked           09:54:33

2      the posts on that page.

3              Q.      (By Mr. Loeser)     Okay.    And then if we

4      move up the string a bit, Johanna Peace says, on

5      March 24, 2016, in her email to Steven Elia,                  09:54:42

6      Reagan Williams, Eddie O'Neil and others, "Thanks

7      both.        So given these findings, does the response I

8      shared below in #2 seem true/fair to share with a

9      reporter?        'Only a few apps have access to this

10     information, for example, to provide a Facebook               09:55:00

11     experience on platforms where there is no Facebook

12     app.'"

13                     Do you see that?

14             A.      I see that.

15             Q.      And then if you move up the string above      09:55:11

16     that, KP says, on March 24th, 2016 -- why don't you

17     read what -- what KP said.

18             A.      So what's there is, "In the spirit of

19     fairness," I would not say anything around the

20     lines that 'only a few apps have access to this               09:55:34

21     information.'        Instead I would suggest that this

22     option under the App Settings is an artifact of

23     what used to be true and enforce our messaging that

24     apps can no longer access friend_*permissions."

25             Q.      Now, this statement -- this messaging         09:55:49

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1      that apps can no longer access friend_*permissions,           09:55:53

2      that wasn't actually true at the time that he wrote

3      that, right?

4                MR. BLUME:     Objection.    Form.     And scope.

5                THE DEPONENT:     In 2016, there were some          09:56:06

6      apps that still had access to -- to friends

7      information and friend permissions.

8           Q.   (By Mr. Loeser)     Okay.    So this

9      statement, no apps can no longer access friend

10     permissions, is not a true statement, is it -- or             09:56:20

11     let me put it a different way.

12               This statements, no acts -- no -- this

13     statement that apps can no longer access friend

14     permissions is not an accurate statement; is that

15     right?                                                        09:56:31

16               MR. BLUME:     Objection.    Form.     Scope.

17               THE DEPONENT:     In 2016, there were apps

18     that still had access to some friend permissions

19     and information.

20          Q.   (By Mr. Loeser)     Mr. Cross, I -- I'm             09:56:43

21     hoping to avoid a long time getting a yes or no to

22     a yes-or-no question here.

23               So if -- if we could read the question

24     back, and if you could answer the question yes or

25     no, I'd appreciate it.                                        09:56:54

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1                 SPECIAL MASTER GARRIE:       Instructing the       09:57:00

2      witness to answer the question yes or no.

3                 THE DEPONENT:     Can you read the question

4      back for me, please.

5                 (Record read as follows:                           09:57:12

6                 "QUESTION: this statements, no

7                 acts -- no -- this statement that

8                 apps can no longer access friend

9                 permissions is not an accurate

10                statement; is that right?")                        09:57:12

11                THE DEPONENT:     Where -- where is the

12     statement -- where is the statement that -- sorry.

13                MR. LOESER:     And I'm sorry, Rebecca, let

14     me -- I -- it's been a long day and I'm sure it's

15     no fun to try and recreate my speaking as quickly             09:57:38

16     as I am.

17                So let me ask the question again.            And

18     Mr. Cross, if you could please answer it yes or

19     not, I'd appreciate it.

20          Q.    (By Mr. Loeser)     The question is, the           09:57:47

21     statement in the email from KP on March 24th, 2016,

22     that apps can no longer access friend permissions

23     is not an accurate statement, is it?

24                MR. BLUME:    Objection.     Form.    Scope.

25                SPECIAL MASTER GARRIE:       Yes or no.            09:58:08

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1                   THE DEPONENT:     There were some apps that        09:58:17

2      could access --

3                   SPECIAL MASTER GARRIE:       I'm instructing

4      the witness to answer the question yes or no.

5                   MR. BLUME:   Mr. Garrie, if there's no yes         09:58:26

6      or no, can he answer that way as well?

7                   SPECIAL MASTER GARRIE:       If he -- if he's

8      not able to answer the question, he can say "I'm

9      not able to answer the question" certainly.               But

10     either "Yes," "No," or "I can't answer the                      09:58:34

11     question."

12                  Any time you can't answer a question, say

13     "I can't answer."     But he's asking you yes or no,

14     so -- or you can't answer.

15                  THE DEPONENT:     It -- it doesn't make --         09:59:00

16     it doesn't make a statement here about like all

17     apps or any apps or some apps.         It just says apps.

18     And at this point, you know, the vast majority of

19     apps could no longer access friend permissions.

20                  So it doesn't -- it doesn't -- the                 09:59:14

21     statement isn't qualified enough for me to give a

22     yes-or-no answer.

23                  SPECIAL MASTER GARRIE:       Okay.

24          Q.      (By Mr. Loeser)     Mr. Cross -- sorry,

25     Special Master Garrie.                                          09:59:25

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1                  SPECIAL MASTER GARRIE:       No.     Go ahead,    09:59:27

2      Counsel.

3           Q.     (By Mr. Loeser)     On March 14th, 2016, it

4      was not true that apps can no longer access friend

5      permissions, right?                                           09:59:38

6                  MR. BLUME:   Asked and answered.         Scope.

7      And form.

8                  THE DEPONENT:     There were some apps in

9      2016 that could still access friend permissions.

10          Q.     (By Mr. Loeser)     And that is not what KP       10:00:01

11     was indicating Ms. Peace should report to

12     USA Today; is that right?

13                 MR. BLUME:   Objection.      Form.     Scope.

14                 THE DEPONENT:     I can't -- I can't confirm

15     what KP's statement of intent was here.            This is    10:00:16

16     him writing not the -- this is him writing.

17          Q.     (By Mr. Loeser)     So Mr. Cross, he's

18     responding to an email in which Ms. Peace is asking

19     if she should say only a few apps have access to

20     this information, is he not?                                  10:00:35

21                 MR. BLUME:   Objection.      Form.     Scope.

22     Argumentative.

23                 THE DEPONENT:     He's certainly replying to

24     an email from Johanna.

25          Q.     (By Mr. Loeser)     Okay.    And does he not      10:00:47

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1      say "In the spirit of fairness I would not                             10:00:48

2      say anything around the lines that 'only a few apps

3      have access to this information'"?

4              A.   That's what's on the page.

5              Q.   And does he not say that he would                         10:00:59

6      "suggest that this option under the App Settings is

7      an artifact of what used to be true and enforce our

8      messaging that apps can no longer access

9      friend_*permissions"?

10             A.   Again, those words are written on the                     10:01:14

11     page.

12                  MR. LOESER:     We can go to the next

13     exhibit.     And I think this will be the last thing

14     that we do today to abide by your request that we

15     stop at the -- the late hour that it is now for                        10:01:34

16     you.

17                  THE DEPONENT:     I'd appreciate that.

18     Thank you.

19                  (Exhibit 344 was marked for

20     identification by the court reporter and is                            10:01:38

21     attached hereto.)

22                  MR. LOESER:     So this as -- okay.          This

23     will be marked Exhibit 344.

24             Q.   (By Mr. Loeser)     And Mr. Cross, I'm

25     showing you what's been marked as Exhibit 344.                   And   10:02:21

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1      it's quite a long email string and -- and not to          10:02:23

2      worry because I don't have questions about the

3      whole thing.

4                I will note for the record that a number

5      of the pages are -- nothing can be read because of        10:02:29

6      the redactions that are on the pages.

7                And -- but if we go to the top email in

8      the thread, it's an email from Johanna Peace

9      to Joshua Smith, yourself, and Eddie O'Neil.

10               Do you see that?                                10:02:51

11          A.   I see that.

12          Q.   And the date on the email is

13     September 11, 2015, and the subject is "Re:

14     [a/c priv] Re: WSJ story on API migration."

15               Do you see that?                                10:03:14

16          A.   I see that.

17          Q.   And is there a lawyer among the -- to

18     your knowledge, or any of the persons from or to

19     whom this email sent, a lawyer?

20               THE DEPONENT:     Sorry.      Say that -- say   10:03:35

21     that again, Rob.    You're --

22               MR. BLUME:    Sorry.     Objection.    Scope.

23          Q.   (By Mr. Loeser)       Yeah.    The recipients

24     are Joshua Smith.

25               Do you know who he is?                          10:03:42

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1           A.    He is a lawyer at Facebook, as I               10:03:45

2      understand it.

3           Q.    Okay.   And that -- that's helpful.

4                 If we go to page 7 of this lengthy

5      string, to the page where -- the Bates                    10:03:57

6      FB-CA-MDL-01169161.

7                 At the bottom of the page, there's an

8      email from Johanna Peace to you and to Mr. O'Neil,

9      "Re: WSJ story on API migration."

10                Do you see that?                               10:04:23

11          A.    I see that.

12          Q.    And that's September 11th, 2015, when

13     Ms. Peace sent that email?

14          A.    It looks to be that way, yeah.

15          Q.    And she writes "You rock, Simon!               10:04:31

16     Thanks."

17                Do you see that?

18          A.    I do.

19          Q.    And she states "Revised the information

20     below to reflect the corrections and clarifications       10:04:42

21     I'll make based on your feedback."

22                And then "Eddie - can you please give

23     this a once-over before I send?"

24                Do you see that?

25          A.    I see that.                                    10:04:52

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1           Q.   And so this appears to be information           10:04:54

2      that -- that she was developing with regard to a

3      Wall Street Journal story on API migration, right?

4           A.   That's correct.

5           Q.   And API migration is a reference to the         10:05:04

6      changes to the APIs with the new platform?

7           A.   That's correct.

8           Q.   Okay.   And so in -- in her email, she

9      presents the information that it appears that she

10     had prepared for the Wall Street Journal.                 10:05:20

11               She states "Under API 2.0, app developers

12     can get the following info about a user who logs in

13     with their Facebook account.      Some caveats apply."

14               Do you see that?

15          A.   I do.                                           10:05:33

16          Q.   And she has a couple different

17     categories.   One is, "This is data that used to be

18     available by default and now can only be accessed

19     with Facebook's approval."

20               Do you see that?                                10:05:45

21          A.   I see that.

22          Q.   And then she has a heading that says

23     "This data used to be available through Facebook's

24     API and is no longer available, period.         This

25     includes 30 different data points about your              10:05:56

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1      friends."                                                      10:05:58

2              A.   I see that.

3              Q.   Now, if you look at the bolded text that

4      I just read, at the time that statement -- at the

5      time this email was sent on September 11th, 2015,              10:06:13

6      was it true that this data used to be available

7      through Facebook's APIs and is no longer available,

8      period?

9              A.   No, this information was still available

10     to some -- some whitelisted applications at the                10:06:27

11     time.

12             Q.   So if we go to page 10 in this string,

13     which is further back in time, there's an earlier

14     version of the information that Ms. Peace had put

15     together.     And this is dated September 11th, 2015,          10:06:50

16     but earlier in that day.           This is at 12:39, and the

17     other message we just went through was at 2:10.

18                  We see that same heading towards the

19     bottom of the page --

20             A.   I'm sorry.        Could you give me the Bates     10:07:04

21     number of the page you're looking at?

22             Q.   Yeah.     Yeah.

23                  FB-CA-MDL-01169164.

24             A.   Got it.     Thank you.

25             Q.   And you'll see the same bolded heading,           10:07:16

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1      "This data used to be available through Facebook's          10:07:18

2      API and is no longer available.          This includes 30

3      different data points about your friends." [as

4      read]

5                   And -- and there's a -- appears to be a        10:07:25

6      comment and the initials for the comments are SC.

7                   Is that you?

8              A.   I think that would have been me.

9              Q.   Okay.   And you write "we may need to be

10     careful about the finality here.          There are still   10:07:37

11     apps on v1 (extended deprecation window) and we may

12     have apps under contract which retain access to

13     this information.      Don't know if we need to explain

14     that in this context."

15                  Do you see that?                               10:07:55

16             A.   I see that.

17             Q.   So that's consistent with the answer you

18     just gave about that bolded heading not being

19     accurate at the time, right?

20                  MR. BLUME:     Objection.    Form.             10:08:06

21                  THE DEPONENT:     It's consistent with my

22     previous statement that at this time there were

23     still apps that had access to some friends

24     information via the API.

25             Q.   (By Mr. Loeser)     And you write "Don't       10:08:24

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1      know if we need to explain that in this context."            10:08:24

2                And it is true, is it not, that -- that

3      that additional information that you indicate in

4      that parenthetical was not communicated to the

5      Wall Street Journal in connection with this story?           10:08:39

6                MR. BLUME:    Objection.     Form.    And scope.

7                THE DEPONENT:     I can't say for certain

8      what information was shared with -- with the

9      Wall Street Journal.

10          Q.   (By Mr. Loeser)     Now, in that same              10:09:05

11     comment from you, there is another comment from JP,

12     and that -- those are the initials of

13     Johanna Peace, right?

14          A.   That's correct.

15          Q.   And do you see that she says "Don't think          10:09:19

16     we need to go into that detail here; we can always

17     clarify if asked."

18               Do you see that?

19          A.   I see that.

20          Q.   And then you respond to that with another          10:09:27

21     comment, and it just says, "[SC: sgtm!]"

22               What does "sgtm" mean?

23          A.   It sounds good to me.

24               MR. LOESER:     I think we can conclude for

25     the day, Mr. Cross.                                          10:09:44

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1                   And, again, I do want to -- I do                  10:09:45

2      appreciate the time you've spent.

3                   And we can go off the record.

4                   THE VIDEOGRAPHER:   Off the record.        It's

5      10:09 p.m.                                                     10:09:53

6                   (TIME NOTED:   10:09 p.m.)

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1             I, SIMON CROSS, do hereby declare under
2      penalty of perjury that I have read the foregoing
3      transcript; that I have made any corrections as
4      appear notes; that my testimony as contained
5      herein, as corrected, is true and correct.
6             Executed this ____ day of ___________________,
7      2022, at      __________________,_____________________.
8
9
10
11                                _______________________
                                  SIMON CROSS
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1             I, Rebecca L. Romano, a Certified Shorthand
2      Reporter of the State of California, do hereby
3      certify:
4             That the foregoing proceedings were taken
5      before me remotely at the time and place herein set
6      forth; that any deponents in the foregoing
7      proceedings, prior to testifying, were administered
8      an oath; that a record of the proceedings was made
9      by me using machine shorthand which was thereafter
10     transcribed under my direction; that the foregoing
11     transcript is true record of the testimony given.
12            Further, that if the foregoing pertains to the
13     original transcript of a deposition in a Federal
14     Case, before completion of the proceedings, review
15     of the transcript [ ] was [X] was not requested.
16            I further certify I am neither financially
17     interested in the action nor a relative or employee
18     of any attorney or any party to this action.
19            IN WITNESS WHEREOF, I have this date
20     subscribed my name.
21
22     Dated: May 17, 2022
23
24                                <%7321,Signature%>
                                  Rebecca L. Romano, RPR, CCR
25                                CSR. No 12546

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1      DEREK W. LOESER, ESQ.

2      dloeser@kellerrohrback.com

3                                                          May 17, 2022

4      IN RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION

5      MAY 12, 2022, SIMON CROSS, VOLUME II, JOB NO. 5219195

6      The above-referenced transcript has been

7      completed by Veritext Legal Solutions and

8      review of the transcript is being handled as follows:

9      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10        to schedule a time to review the original transcript at

11        a Veritext office.

12     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13        Transcript - The witness should review the transcript and

14        make any necessary corrections on the errata pages included

15        below, notating the page and line number of the corrections.

16        The witness should then sign and date the errata and penalty

17        of perjury pages and return the completed pages to all

18        appearing counsel within the period of time determined at

19        the deposition or provided by the Code of Civil Procedure.

20     __ Waiving the CA Code of Civil Procedure per Stipulation of

21        Counsel - Original transcript to be released for signature

22        as determined at the deposition.

23     __ Signature Waived – Reading & Signature was waived at the

24        time of the deposition.

25

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1      __ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2         Transcript - The witness should review the transcript and

3         make any necessary corrections on the errata pages included

4         below, notating the page and line number of the corrections.

5         The witness should then sign and date the errata and penalty

6         of perjury pages and return the completed pages to all

7         appearing counsel within the period of time determined at

8         the deposition or provided by the Federal Rules.

9      _X_Federal R&S Not Requested - Reading & Signature was not

10        requested before the completion of the deposition.

11

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1      IN RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION
2      SIMON CROSS, VOLUME II, JOB NO. 5219195
3                            E R R A T A         S H E E T
4      PAGE_____ LINE_____ CHANGE________________________
5      __________________________________________________
6      REASON____________________________________________
7      PAGE_____ LINE_____ CHANGE________________________
8      __________________________________________________
9      REASON____________________________________________
10     PAGE_____ LINE_____ CHANGE________________________
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18     REASON____________________________________________
19     PAGE_____ LINE_____ CHANGE________________________
20     __________________________________________________
21     REASON____________________________________________
22
23     ________________________________                    _______________
24     WITNESS                                             Date
25

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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 as submitted by the court reporter. Veritext Legal
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 exhibits, if any, are true, correct and complete
 documents as submitted by the court reporter and/or
 attorneys in relation to this deposition and that
 the documents were processed in accordance with
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1                      UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
       IN RE:     FACEBOOK, INC.,                MDL No. 2843
4      CONSUMER USER PROFILE                     Case No.
       LITIGATION                                18-md-02843-VC-JSC
5      ___________________________
6      This document relates to:
7      ALL ACTIONS
8
       ____________________________
9
10
11                        **HIGHLY CONFIDENTIAL**
12              ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13              CORPORATE REPRESENTATIVE - SIMON CROSS
14     (Reported Remotely via Video & Web Videoconference)
15               London, England (Deponent's location)
16                           Monday, June 6, 2022
17                                 Volume III
18
19
20
       STENOGRAPHICALLY REPORTED BY:
21     REBECCA L. ROMANO, RPR, CSR, CCR
       California CSR No. 12546
22     Nevada CCR No. 827
       Oregon CSR No. 20-0466
23     Washington CCR No. 3491
24     JOB NO. 5265189
25     PAGES 496 - 724

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1                      UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
       IN RE:     FACEBOOK, INC.,                MDL No. 2843
4      CONSUMER USER PROFILE                     Case No.
       LITIGATION                                18-md-02843-VC-JSC
5      ___________________________
6      This document relates to:
7      ALL ACTIONS
8
       ____________________________
9
10
11
12
13
14
15                   DEPOSITION OF SIMON CROSS, taken on
16     behalf of the Plaintiffs, with the deponent located
17     in London, England, commencing at
18     3:36 p.m., Monday, June 6, 2022, remotely reported
19     via Video & Web videoconference before
20     REBECCA L. ROMANO, a Certified Shorthand Reporter,
21     Certified Court Reporter, Registered Professional
22     Reporter.
23
24
25

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25     /////

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25     /////

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16             Ian Chen, Associate General Counsel,
17     Meta Platforms
18             John Macdonell, Videographer
19
20
21
22
23
24
25     /////

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1                London, England; Monday, June 6, 2022

2                                 3:36 p.m.

3                                 ---o0o---

4

5                   THE VIDEOGRAPHER:     Okay.     We're on the      03:00:36

6      record.     It's 3:36 p.m. London time on June 6th,

7      2022.

8                   This is the deposition of Simon Cross,

9      Volume 3.     We're here in the matter of In Re:

10     Facebook, Inc. Consumer Privacy User Profile                   03:19:04

11     Litigation.     I'm John Macdonell, the videographer

12     with Veritext.

13                  Before the reporter swears the witness,

14     would counsel please identify themselves, beginning

15     with the noticing party, please.                               03:19:16

16                  MR. LOESER:     Good morning.     Derek Loeser

17     from Keller Rohrback.        With me is Adele Daniel,

18     also from Keller Rohrback.

19                  MR. SCHWING:     This is Austin Schwing from

20     Gibson, Dunn & Crutcher for the defendant, and I               03:19:33

21     also have with me Matt Buongiorno, Ian Chen,

22     Phuntso Wangdra, and Hannah Regan-Smith.

23                  MR. MELAMED:     Good morning.     This is Matt

24     Melamed from Bleichmar Fonti & Auld for plaintiffs.

25     With me are Anne Davis and Josh Samra.                         03:19:52

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1                MR. LOESER:     And also with me from            03:19:56

2      Keller Rohrback is Emma Wright.

3                SPECIAL MASTER GARRIE:       Counsel Weaver is

4      here as well?

5                MS. WEAVER:     Yes.                             03:20:14

6                SPECIAL MASTER GARRIE:       Okay.

7                This is Special Master Daniel Garrie.

8      I'm here on behalf of the Court.

9                And, Mr. Cross, I will turn my video off

10     and mute myself.   If I turn my video on or unmute         03:20:21

11     myself, it is because I want to be seen and I have

12     something to say or to resolve an issue.

13               That said, I'm going to turn it over to

14     the court reporter to kick things off and move

15     things along.                                              03:20:34

16               THE COURT REPORTER:       If you could raise

17     your right hand for me, please.

18               THE DEPONENT:     (Complies.)

19               THE COURT REPORTER:       You do solemnly

20     state, under penalty of perjury, that the testimony        12:04:19

21     you are about to give in this deposition shall be

22     the truth, the whole truth and nothing but the

23     truth?

24               THE DEPONENT:     I do.

25     /////                                                      12:04:19

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1                                SIMON CROSS,                        12:04:19

2      having been administered an oath, was examined and

3      testified as follows:

4                            EXAMINATION(resumed)

5      BY MR. LOESER:                                                03:20:55

6             Q.     Good morning for me, Mr. Cross.        Good

7      afternoon for you.        Thank you for being here.

8                    This is a continuation of the 30(b)(6)

9      deposition that's -- that we started a few weeks

10     ago, and I will continue to ask you questions about           03:21:09

11     topics 6 and 7 in the notice, and then there are

12     some other discrete topics for which you've been

13     designated, and Mr. Melamed will be examining you

14     with regard to those topics.

15                   And you -- you've been put under oath           03:21:25

16     again.      You understand you're under oath?

17            A.     I do.

18            Q.     And, Mr. Cross, we sent over some

19     additional documents a few days ago.           Did you have

20     an opportunity to review those documents to prepare           03:21:39

21     for your testimony today?

22            A.     I did have an opportunity to review them,

23     yes.

24            Q.     And did you do anything else to prepare

25     for your testimony today other than what you                  03:21:48

                                                                     Page 508

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1      previously described?                                     03:21:50

2             A.   I had some more conversations with --

3      with our legal team to review the documents, and I

4      also had conversations with a few additional

5      Facebook employees to help me prepare.                    03:22:03

6             Q.   Who were those additional employees?

7             A.   I have a conversation with Ali Hendrix.

8      I had a conversation with -- excuse me -- the

9      name...

10                 With Mark Molaro.                             03:22:34

11                 And that's, I think, the extent of the

12     additional conversations, meetings I've had.

13                 And then I had some additional

14     conversations over email with Steven Elia.

15            Q.   And what were your conversations with         03:23:01

16     Ms. Hendrix about?

17            A.   We were discussing her work on platform

18     policy enforcement.

19            Q.   And you believe that that related in some

20     way to friend sharing or whitelisting of friend           03:23:27

21     sharing on APIs?

22            A.   My understanding is it -- it related

23     to -- some of the topics I've been designated for,

24     yes.

25            Q.   Including those two topics?                   03:23:42

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1           A.      I think so, yes.                               03:23:46

2           Q.      And what about Mark Molaro?      Who is Mark

3      Molaro?

4           A.      Mark Molaro is a data scientist, as I

5      understand it, at Meta.                                     03:23:55

6           Q.      And what did you speak with him about?

7           A.      We discussed his team's work on

8      Facebook's efforts to track API usage.

9           Q.      And during what time frame were those

10     updates?                                                    03:24:14

11          A.      His team's work is primarily from 20 --

12     2019 onwards.

13          Q.      And Steven Elia, what did you speak with

14     him about?

15          A.      We were discussing when the rest API was       03:24:30

16     deprecated, I think, and some other whitelisting

17     details.

18          Q.      And you said "the rest API"?      What --

19     what is that API?

20          A.      Sorry.   The rest API is the API which was     03:24:55

21     built before the Graph API and continued to exist

22     for some time.

23          Q.      And what were the other whitelisting

24     details you discussed with Mr. Elia?

25          A.      We discussed how the friend permissions        03:25:15

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1      were finally removed from the Facebook developer          03:25:22

2      platform.

3           Q.     And what did you learn from Mr. Elia

4      about that?

5           A.     From Steven, I learned that there was a       03:25:29

6      change in, I think, 2018 to make the friend

7      permissions known and usable by -- by any

8      application.

9           Q.     And did you talk to Mr. Elia about the

10     other APIs that emit friend data that we discussed        03:25:50

11     previously in your testimony?

12          A.     I don't recall specifically what -- what

13     I discussed with Steven, but we -- we discussed

14     like previous whitelists and capabilities that

15     existed around friend data.                               03:26:13

16          Q.     Okay.   So did you figure out by talking

17     to him whether these other APIs that emit friend

18     data continue to operate, or have they deprecated

19     as well?

20          A.     Can you let me ask what you mean by           03:26:27

21     "which APIs that continue to emit friend data"?

22          Q.     Sure.

23                 We talked about a series of APIs that --

24     that we went through and you identified as also --

25     having the ability to emit some -- some friend            03:26:43

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1      data.                                                         03:26:46

2                   Can you give a list of those APIs are, or

3      that's -- what I just said is enough to refresh

4      your recollection about that testimony.

5                   The events and pages and groups, all             03:27:02

6      those APIs.

7                   MR. SCHWING:    Object to form.

8                   THE DEPONENT:     Yeah, that's -- that's a

9      pretty long list of APIs, and we didn't discuss

10     the -- the full gamut of APIs and their deprecation           03:27:14

11     timelines.

12             Q.   (By Mr. Loeser)     So do you know

13     whether -- these other APIs -- and these are the

14     ones that didn't have the word "friends" in them.

15     But nonetheless, as you testified, they did emit              03:27:24

16     some friend data.

17                  Do you know if those are continuing to

18     operate?

19                  MR. SCHWING:    Object to form.

20                  THE DEPONENT:     Can we -- can we be            03:27:34

21     specific about the APIs we're talking about here?

22     Because I want to make sure I'm giving you, you

23     know, an accurate answer.

24             Q.   (By Mr. Loeser)     Sure.    Well, three of

25     them are events APIs, pages APIs, groups API.             I   03:27:43

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1      think there was taggable friends as well, invitable       03:27:48

2      friends.   We have -- and read stream.

3           A.    So -- so relatively large list of APIs.

4      The exact deprecation and removal dates for each of

5      them would be different.      And I don't have -- I       03:28:09

6      don't have that to hand.

7           Q.    And you don't know offhand whether

8      those -- all or any of those APIs have been

9      deprecated as of today?

10                MR. SCHWING:    Compound.                      03:28:20

11                THE DEPONENT:     Yeah, I mean -- there's,

12     again, lots of APIs there.      I -- I do know that in

13     April 2018, the -- the -- the comments and likes

14     edge, as I understand it, was removed from -- from

15     several of those APIs, and the groups and events          03:28:41

16     APIs have since been modified so that they only

17     emit data of people who have authorized the

18     application.

19          Q.    (By Mr. Loeser)     Okay.    And so this is

20     something that if you were to investigate or              03:28:56

21     Facebook were to investigate the details, Facebook

22     could provide an answer as to the extent to which

23     any of these APIs continued to emit friend data and

24     so on today, right?

25                MR. SCHWING:    Object to form.                03:29:11

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1                  THE DEPONENT:      My understanding is that          03:29:14

2      today, Facebook has the infrastructure to determine

3      whether or not which APIs exist and which APIs are

4      emitting user data and whether or not that user

5      data is on behalf of the person calling the API.                 03:29:31

6             Q.   (By Mr. Loeser)      Okay.    Thank you.

7                  And, Mr. Cross, did you add to your notes

8      for your deposition testimony today?

9             A.   I have a -- I have a few pages of

10     handwritten notes that I took in to help me prepare              03:29:48

11     and answer the questions that may come up today.

12            Q.   Okay.   And --

13                 MR. LOESER:      Counsel, could we have those

14     notes sent over to us as soon as possible?

15                 MR. SCHWING:      Yeah.   We can -- we can           03:30:01

16     look into that in a break, if that would work for

17     you.

18                 MR. LOESER:      Great.   And the sooner we

19     get them, the better.        I mean, ideally we can just

20     get this all wrapped up today and we don't have to               03:30:09

21     come back and do that.

22                 MR. SCHWING:      I understand, yeah.         At a

23     break, we're happy to get those over.           I obviously

24     can't focus on it right this second, but we'll work

25     on that.                                                         03:30:22

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1                      MR. LOESER:    Okay.    Thank you.              03:30:23

2              Q.      (By Mr. Loeser)     Mr. Cross, you were on

3      the strategic partnership team at some point in

4      your career at Facebook; is that right?

5              A.      I was on the platform partnerships team,        03:30:33

6      which is, I think, the name of the team, but the

7      name of the team may have changed over time.

8              Q.      Okay.    According to your LinkedIn, from

9      August 2013 to January 2014, it appears that you

10     were on the -- something called the "strategic                  03:30:49

11     partner team."

12                     Is that accurate or --

13             A.      I don't recall the -- the formal name of

14     the team, but I refer as the platform partnerships

15     team.        It may have been referred to the strategic         03:31:03

16     partnerships team as well.

17             Q.      Okay.    And were you at one point a

18     strategic partner manager?

19             A.      I was a partner manager.       I think -- I'm

20     not confident whether or not the word "strategic"               03:31:16

21     was in my official job tile, but I worked on that

22     team, yes.

23             Q.      Sorry.    I'm leaning off camera to look at

24     your résumé.

25                     According to your résumé, the title that        03:31:31

                                                                       Page 515

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1      you have is strategic product partnerships.                      03:31:32

2                      Is that -- does that sound accurate to

3      you?

4                      MR. SCHWING:    Object to form.

5      Foundation.                                                      03:31:42

6                      THE DEPONENT:     If you're asking what my

7      official title job was -- as per my kind of

8      contract at Facebook, I can't remember that --

9      that.        This seems to be what's on my LinkedIn.

10                     I couldn't tell if that was like my              03:31:56

11     official Facebook job title at the time.

12             Q.      (By Mr. Loeser)     Okay.    But I assume it's

13     your practice to accurately record your job titles

14     on your LinkedIn?

15             A.      Generally, yes.     The -- as I say, the         03:32:07

16     team was referred to sometimes as the strategic

17     partnerships team or the platform partnerships

18     team.

19             Q.      So at the time -- and I'll just use the

20     terminology in your LinkedIn, understanding your                 03:32:20

21     testimony that you just gave.

22                     But at the time that you were on the --

23     you were a strategic product manager, how many

24     strategic partners were there at Facebook?

25             A.      I don't think there's an official                03:32:40

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1      definition of "strategic partners" for the -- for         03:32:43

2      the company.    And I don't know how many partners

3      that the partnership team that I worked on would

4      have considered managed at the time.

5           Q.   And so when you were a strategic partner        03:32:57

6      manager, what did you believe "strategic partner"

7      referred to?

8           A.   So, again, in my personal capacity when I

9      worked on that team, my understanding is my job was

10     to work with companies and app developers that            03:33:12

11     Facebook had decided to -- to work with or -- or

12     partner with to build Facebook platform

13     integrations.

14          Q.   And so if you were to define "strategic

15     partner," that's how would you define it?                 03:33:27

16               MR. SCHWING:    Objection.

17               THE DEPONENT:     Again, in my personal --

18               Sorry.    Say again, Austin.

19               MR. SCHWING:    Just take what -- you're

20     faster than I am, Mr. Cross.      It's later in the day   03:33:36

21     for you, so I need some coffee.       Just give me a

22     heartbeat to object.

23               Object to form.

24               THE DEPONENT:     So, again, you know, in a

25     personal capacity, my understanding is that I             03:33:48

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1      would -- by partner, I would have been working with       03:33:50

2      company's that the Facebook had decided to work

3      with more closely to build Facebook platform

4      integrations of some -- some -- some nature.

5           Q.     (By Mr. Loeser)     So -- so all of the       03:34:04

6      strategic partners were partners that had

7      integrations with Facebook?

8           A.     I -- I don't think I can answer that

9      question.    Like I -- I don't know what the --

10     there's a formal definition of "strategic partner."       03:34:19

11     It's possible that some had -- most of the ones I

12     would have worked with would have had integrations

13     with Facebook in some -- with the Facebook

14     developer platform in some way.

15          Q.     And what are some examples of the             03:34:31

16     partners that you worked with?

17          A.     So Spotify would be -- would be one

18     example.    And then others that I worked with in my

19     team in this -- in this capacity would have been

20     things like Mixcloud, SoundCloud, and Giza and --         03:34:54

21     and Guardian.

22          Q.     And did you work with any strategic

23     partners that -- in which Facebook did not have

24     some form of integration?

25                 MR. SCHWING:   Object to form.                03:35:13

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1                THE DEPONENT:     So when I was a -- when I       03:35:15

2      was a partner manager, typically I would have been

3      working with entities that had an integration with

4      the Facebook developer platform in some way.

5           Q.   (By Mr. Loeser)     And was there a -- is         03:35:27

6      there a common understanding at Facebook how

7      Facebook defines "strategic partner"?

8           A.   I don't think there's a common

9      understanding at Facebook for what the -- what the

10     definition of the "strategic partner" is.         I think   03:35:41

11     different organizations might define their

12     partnerships with entities in -- in different ways.

13     I don't there's a -- a standard definition of -- of

14     what "strategic partner" means.

15          Q.   Is a common denominator of strategic              03:35:58

16     partners partners that provide value to Facebook?

17               MR. SCHWING:     Object to form.

18               THE DEPONENT:     Again, I don't think

19     there's a -- a standard definition of what a

20     strategic partner is.     It's a relatively loose           03:36:13

21     definition of -- of entities that -- that the

22     partnerships team would have worked with.

23          Q.   (By Mr. Loeser)     Are there any strategic

24     partners that don't provide value to Facebook?

25               MR. SCHWING:     Object to form.                  03:36:29

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1                THE DEPONENT:     Yeah, I don't think           03:36:31

2      there's a definition of "strategic partner," so

3      it's -- it's hard to answer that question.

4           Q.   (By Mr. Loeser)     Well, however you define

5      it, are there any strategic partners that don't           03:36:38

6      provide value at Facebook?

7                MR. SCHWING:    Same objection.

8                THE DEPONENT:     Typically as a -- as a

9      partner manager, you'd be working with -- with --

10     with these organizations to build or potentially          03:36:50

11     build integrations that would be valuable to,

12     ideally, the partner, to users, and to Facebook.

13          Q.   (By Mr. Loeser)     So -- what are -- what

14     are the ways in which a -- a strategic partner

15     could provide value to Facebook?                          03:37:10

16          A.   Again, I'm not sure that -- as I

17     mentioned before, I'm not sure there's a definition

18     of "strategic partner."     So, again, can you ask

19     that question in -- in a way that's like -- doesn't

20     require me to rely on a definition which I -- I           03:37:28

21     don't think is established.

22          Q.   You use the term "strategic partner"

23     sometimes in the course of your employment at

24     Facebook, right?

25          A.   I would have typically referred to              03:37:40

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1      "partners" and then sometimes "strategic partners."        03:37:41

2      So like -- I may have used those terms, yes.

3           Q.   Okay.   And so what was your understanding

4      of the term "strategic partner" if it's different

5      than what you already testified?                           03:37:59

6           A.   So my -- my understanding --

7                THE DEPONENT:     Sorry.    Say again, Austin.

8                MR. SCHWING:    Asked and answered.

9                Go ahead.

10               THE DEPONENT:     Yeah, so my understanding      03:38:06

11     of -- of -- of "strategic partner" would be an

12     entity, an organization that Facebook has partnered

13     with or was considering partnering with to build

14     some form of integration with the Facebook

15     developer platform.                                        03:38:21

16          Q.   (By Mr. Loeser)     And back to the

17     questions about value, so let's talk about

18     partnerships generally.

19               Partners -- Facebook partners with

20     developers that provide value to Facebook; is that         03:38:36

21     right?

22          A.   Typically the partnerships team would be

23     focused on working with entities that provided

24     value to -- to users by building integrations with

25     the Facebook developer platform.                           03:38:51

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1           Q.   So you're saying that Facebook doesn't          03:38:53

2      consider whether the partner provides value to

3      Facebook other than the value to the users?

4                MR. SCHWING:    Misstates testimony.

5                THE DEPONENT:     Yeah, that's not what I --    03:39:01

6      what I said.   Typically when I as working with

7      partners, we were focused on the value that those

8      integrations would provide to -- to user.

9           Q.   (By Mr. Loeser)     And did you not also

10     consider the value those integrations would provide       03:39:11

11     to Facebook?

12          A.   One of the things that -- that would be

13     looked at is how this would be used by users and

14     would those integrations be considered valuable to

15     users, and the value -- the -- how -- how well they       03:39:29

16     would be used by users and the implications for

17     that on the Facebook community.

18          Q.   And, again, were there types of value

19     that Facebook took into account that pertained to

20     Facebook as opposed to users?      Can you think of any   03:39:47

21     ways that a partnership would provide value

22     directly to Facebook other than the benefits

23     received by the users?

24               MR. SCHWING:    Vague.    Compound.

25               THE DEPONENT:     Yeah, so typically an         03:40:03

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1      integration would allow people, for example, to              03:40:04

2      post stories back to Facebook, and that would

3      provide content for newsfeed that could be seen

4      by -- by their friends.        That would be an example

5      of the value that would be provided.                         03:40:19

6                   And -- and typically, if there's more

7      content in newsfeed and there's more interesting

8      stories for people to see, they might come back to

9      Facebook more frequently and interact with those

10     stories, and that might increase visitation.                 03:40:31

11          Q.      (By Mr. Loeser)     Is ad revenue a value

12     that Facebook received from some partners?

13                  MR. SCHWING:    Scope.

14                  THE DEPONENT:     Sorry.    Yeah, my -- my --

15     this is a -- there's a question about the                    03:40:48

16     advertising ecosystem, which is not my area of

17     expertise.     So, you know, that's very -- I'm not

18     particularly well educated on -- to explain in

19     detail.

20                  What I can say from my personal                 03:41:03

21     experience, though, is that sometimes developers

22     would want to buy ads to promote their

23     applications, and that would be considered a form

24     of -- of value.

25          Q.      (By Mr. Loeser)     Value for Facebook,         03:41:20

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1      right?                                                    03:41:22

2             A.   Well, if -- if a developer is buying ads

3      to promote their application, it's because they

4      believe that that's a -- that's a worthwhile thing

5      to do in terms of growing -- growing an application       03:41:33

6      and its user base, and in the process of doing

7      that, Facebook would receive some money for the

8      ads.

9             Q.   And what about user data?        Don't some

10     developers provide Facebook with -- with user data        03:41:44

11     that is a value to Facebook?

12                 MR. SCHWING:    Object to form.

13                 THE DEPONENT:     So they typically --

14     again, most integrations would allow developers --

15     would allow users of those applications to share          03:42:01

16     content back to Facebook, and that would create

17     stories and newsfeed that could be seen by their

18     friends or, in the case of Open Graph, which is on

19     their timeline, which would enrich their Facebook

20     profile.                                                  03:42:20

21            Q.   (By Mr. Loeser)     And did the partnership

22     group also look at potential opportunities for

23     future relationships with -- with partners as a

24     form of value for Facebook?

25                 MR. SCHWING:    Object to form.               03:42:33

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1                  THE DEPONENT:     Yeah, I'm not sure -- I'm   03:42:34

2      not sure what -- what you mean by that.           Like

3      future value -- could you give me an example?

4             Q.   (By Mr. Loeser)     Well, when you're --

5      when the partnership group was interacting with a         03:42:42

6      partner and was -- did the partnership group also

7      consider whether there was some possibility for

8      future relationships with that partner that could

9      be a value to Facebook?

10            A.   I -- it's hard to know what -- what the       03:42:58

11     partnerships team was considering in its -- in its

12     various discussions with -- with developers and

13     partner -- potential partners and potential

14     partners in the past.       So I'm not sure I can give

15     an accurate answer to that question.                      03:43:10

16            Q.   Do you know what an OEM is?

17            A.   My understanding that would mean

18     "original equipment manufacturer."

19            Q.   Okay.   And did -- did Facebook consider a

20     value to Facebook an OEM preloading the Facebook          03:43:27

21     app?

22            A.   So I think the partnerships team are

23     the -- are the -- probably the determiners of what

24     that -- of what that means.       My understanding

25     from -- from having worked in this area is that           03:43:45

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1      there was value to users by having the Facebook app         03:43:49

2      on their device, and so it was easy and accessible

3      without having to download it separately.

4                   MR. LOESER:     Let's go off the record.

5                   THE VIDEOGRAPHER:     Okay.    We're off the   03:44:19

6      record.     It's 4:02 p.m.

7                   (Recess taken.)

8                   THE VIDEOGRAPHER:     We're back on the

9      record.     It's 4:12 p.m.

10          Q.      (By Mr. Loeser)     Mr. Cross, does Facebook   03:54:13

11     enter into contracts with -- with some of its

12     partners?

13          A.      Yes.    There would be typically additional

14     contracts that would have been agreed between

15     Facebook and those parties to cover a number of             03:54:32

16     different things.

17          Q.      And what types of partners does Facebook

18     contract with?

19          A.      Well, you're asking who Facebook

20     contracts with.       Do you mean across the whole gamut    03:54:49

21     of the company?

22          Q.      No.    I mean with regard to the

23     conversation we're having about the partnership

24     group and the product managers, the conversation

25     we're having now?                                           03:55:04

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1                MR. SCHWING:    Outside the scope.           Vague.   03:55:06

2                THE DEPONENT:     Yeah, can you -- just,

3      again, I'm trying to do my best here and, you know,

4      give you an accurate answer.

5                So can you be a bit more specific                     03:55:19

6      about -- about the scope of the -- the work that

7      you're -- you're referencing here?

8           Q.   (By Mr. Loeser)     Well, when you were in

9      the partnership group, did you have partners that

10     you worked with with which Facebook contracted?                 03:55:28

11          A.   So on a personal level, I don't -- I

12     don't recall working with that many entities that

13     had -- we had contract -- that the Facebook had

14     contracts with when I was manager on the

15     partnerships team.   But -- but, yes, there were --             03:55:49

16     there were contracts that I was aware of between

17     Facebook and some of these partners that covered

18     their use of the Facebook developer platform.

19          Q.   And -- and sometimes did Facebook contain

20     in those contracts the ability to access APIs on                03:56:09

21     the partners platform?

22          A.   Yeah, it's -- that's possible, but I -- I

23     don't recall any specific examples from my time on

24     the partnerships team.

25               But, yeah, across the -- the history of               03:56:34

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1      the company, it's possible, but I'd be speculating            03:56:36

2      exactly as to what.

3              Q.   Okay.   And in the context of the

4      relationship with partners, what does "reciprocity"

5      mean?                                                         03:56:52

6                   MR. SCHWING:    Object to form.       Scope.

7                   THE DEPONENT:     So, again, can you be a

8      bit more specific about like the -- the -- the

9      scope we're talking about here?          Is it the Facebook

10     developer platform or -- or partners in general?              03:56:59

11             Q.   (By Mr. Loeser)     I'm talking about

12     partners with which Facebook contracts and where

13     the contract governs the partner's access to the

14     Facebook platform and Facebook's access to the

15     partners platform.                                            03:57:14

16                  In that context, is there something that

17     Facebook refers to as "reciprocity"?

18                  MR. SCHWING:    Object to form.

19                  THE DEPONENT:     I've heard the -- the

20     phrase "reciprocity" used.        I'm not sure if it's        03:57:25

21     codified in any platform policies.

22                  My personal understanding of -- of that

23     term, it generally refers to really about fairness

24     in sharing data with Facebook, users sharing

25     stories back to Facebook where apps are also                  03:57:48

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1      reading data from Facebook so as to contribute to          03:57:52

2      the overall community Graph.

3           Q.     (By Mr. Loeser)     So when you say

4      "fairness," you mean Facebook provides access to

5      information and Facebook believes it's fair for            03:58:00

6      them, the partner, to provide data back to

7      Facebook?

8                  MR. SCHWING:     Vague.

9                  THE DEPONENT:     I think that's a -- that's

10     a very broad statement.       Let me -- best to give an    03:58:11

11     example would be useful is if -- developers --

12     let's take the Open Graph set of APIs that existed

13     in around 2011, 2012.       If apps were reading from

14     the Open Graph, then it would be considered

15     reasonable that they would be expected to offer            03:58:45

16     users the ability to publish their actions in that

17     app also back to the Graph so that everybody could

18     benefit.

19          Q.     (By Mr. Loeser)     And so you keep talking

20     about the benefits to users, and I'm wondering if          03:58:57

21     Facebook also identified the benefit to Facebook

22     specifically that results from reciprocity.

23          A.     What -- Sorry.

24                 MR. SCHWING:     Object to form.

25                 Go ahead.   You can answer.                    03:59:15

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1                  THE DEPONENT:     So, again, in the example      03:59:20

2      of Open Graph stories in terms of reciprocity, then

3      if users have the ability to share their activity

4      in an app back with Facebook, then that enriches

5      the Facebook newsfeed for their friends and creates          03:59:39

6      additional content for their timeline that might

7      encourage users to spend more time on Facebook.

8           Q.     (By Mr. Loeser)     And that's a benefit for

9      Facebook?

10          A.     Typically Facebook wants its user -- we          03:59:54

11     want our users to find value in using our products,

12     and spending more time on our products is one way

13     that they may express that value.

14          Q.     Facebook considers the value that a

15     partner contributes to Facebook when making                  04:00:11

16     decisions about what user data to make available to

17     that partner, right?

18                 MR. SCHWING:    Object.     Vague.

19                 Go ahead.

20                 THE DEPONENT:     Yeah, it's a very broad        04:00:26

21     question that's hard to answer.         Again, in general,

22     when Facebook is considering partnering with --

23     with an entity or working more closely with an

24     entity, there would be an assessment of the -- the

25     value that is trying to be created for users, how            04:00:48

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1      that would create value for Facebook, and for the         04:00:53

2      third-party developer as well.

3                So typically working with these

4      partnerships requires investments of time and

5      energy from both sides and, you know, the -- the          04:01:07

6      amount of resources to -- to do that are not

7      unlimited, and so there would be some determination

8      by the partnerships team as to whether or not this

9      was a -- a partnership worth pursuing.

10          Q.   (By Mr. Loeser)     And Facebook considered     04:01:24

11     a partner's value to Facebook when deciding whether

12     to maintain access to certain data after the

13     transition to platform 3.0, right?

14          A.   Sorry.   "Platform 3.0"?      Can you be

15     specific about -- about what you mean?                    04:01:42

16          Q.   Yeah, I'm sorry.     I'm using -- there's a

17     variety of terms used by Facebook, and "platform

18     3.0" -- you tell me if I'm wrong -- is one of the

19     references to the Graph API version 2.0 platform.

20          A.   Well, that -- that terminology refers           04:01:57

21     to -- is one of the code names used for this

22     general series of work leading up to what became

23     API version 2 and Login v4 that were launched in

24     April of 2014.

25               And so could you ask the question again         04:02:14

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1      to make sure I understand.                                04:02:20

2           Q.   Sure.   And with that understanding of

3      what platform 3.0 means, Facebook considered a

4      partner's value to Facebook when deciding whether

5      to maintain access to certain data after the              04:02:31

6      transition to platform 3.0?

7           A.   Well, again, can you -- can you help me

8      understand what you mean by "certain data"?

9      Like -- like the specifics matter here, and I want

10     to get -- make sure I give you an accurate answer.        04:02:47

11          Q.   Yeah.   There were series of APIs that

12     were deprecated in the new platform; is that right?

13          A.   In version 2 there were a number of APIs

14     that were deprecated and a number of permissions

15     that were publicly deprecated, yes.                       04:03:01

16          Q.   And when deciding whether to continue to

17     allow partners to have access to those deprecated

18     permissions, Facebook considered the value that

19     those partners provided to Facebook, right?

20               MR. SCHWING:    The question is vague.          04:03:15

21               THE DEPONENT:     Yeah, I mean, it -- can we

22     talk about which -- which specific partners you're

23     referring to here and what kind of additional time

24     periods and access we're talking about?

25          Q.   (By Mr. Loeser)     I would like you to         04:03:34

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1      answer the question.        The question refers to the      04:03:35

2      transition to the new platform, and it refers to

3      deprecated permissions, and it refers to whether

4      Facebook considered the value that partners

5      provided to Facebook when deciding which of those           04:03:46

6      partners to grant continued access to those

7      deprecated functions.

8                   So if you could answer the question

9      whether Facebook took into account the value

10     partners provided to Facebook when making that              04:03:58

11     decision, that's all I'm asking.

12                  MR. SCHWING:     The question is vague.

13                  THE DEPONENT:     Yeah, so Facebook --

14     sorry.     Master Garrie, I see you here.        I -- you

15     said earlier that means because you want to                 04:04:13

16     intervene and help.

17                  I want to give a good answer to -- to

18     this question, and --

19                  SPECIAL MASTER GARRIE:       I was going to

20     just direct you to answer the question the best you         04:04:21

21     can.     So either a "yes," "no," or "I don't

22     understand the question."

23                  MR. SCHWING:     Special Master Garrie,

24     since you're on and we're -- I don't want to

25     interrupt the questioning here too much, but I do           04:04:32

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1      have a concern that Mr. Loeser is supposed to be            04:04:35

2      asking questions about topics 6 and 7, which relate

3      to friend sharing.

4                   SPECIAL MASTER GARRIE:     Again, so

5      let's --                                                    04:04:44

6                   MR. SCHWING:   And Mr. Melamed is going to

7      be asking questions about the other topics.

8                   I want to ensure that there are not

9      multiple lawyers who are asking kind of overlapping

10     questions here today, because I don't believe               04:04:53

11     that's appropriate under our protocol.          So I just

12     want to make sure we're focused on actual 6 and 7

13     here before we transition over to Mr. Melamed.

14                  SPECIAL MASTER GARRIE:     Okay.    So one

15     second.     We will address that in a second.               04:05:03

16                  But, Mr. Cross, what I was going to

17     instruct you is so when you're asked a question,

18     you can answer, "yes," "no," give an explanation or

19     say "I don't understand the question," but

20     otherwise, good question/bad question is not a              04:05:18

21     judgment.     He's asked the question.      You're to do

22     your best and endeavor your best to answer the

23     question.     And you can say, yes, this is how I

24     define this; no, this is how I define that, or so

25     on and so forth and answer the question the best            04:05:32

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1      you can.                                                      04:05:34

2                 If you don't understand the question, you

3      can state "I don't understand the question as

4      asked" or something to that effect.        Whatever

5      reflects your current state of mind as you                    04:05:40

6      understand it.     But you do just need to answer the

7      question the best you can.

8                 THE DEPONENT:    Cool.   Thank you,

9      Special Master Garrie.

10                SPECIAL MASTER GARRIE:      With that              04:05:51

11     settled, I'll turn it back to Counsel Loeser.          Just

12     reask the question.

13                Once he finishes this line of

14     questioning, Counsel Schwing, we will go off the

15     record and address the other question.        I just          04:05:58

16     don't want to interrupt Counsel Loeser's flow.          I

17     just wanted to weigh in and just communicate to the

18     witness to answer the question the best you can as

19     a 30(b)(6) corporate representative.

20                And then we will -- once the line of               04:06:13

21     questioning is done, Counsel Schwing, we will

22     address your question or your point of concern.

23                Okay?

24                MR. SCHWING:    Thank you, Special Master.

25                SPECIAL MASTER GARRIE:      Of course.             04:06:23

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1                 MR. LOESER:     Thank you.                     04:06:25

2           Q.    (By Mr. Loeser)     Mr. Cross, Facebook

3      considered a partner's value to Facebook in

4      deciding whether to maintain the partner's access

5      to deprecated permissions after the transition to         04:06:30

6      platform 3.0, right?

7                 MR. SCHWING:     Object to form.

8                 THE DEPONENT:     So in -- in the

9      transition, there were a number of integrations

10     that -- that preexisted that transition, and              04:06:45

11     Facebook would have determined that they would

12     continue to exist based on the value to users and

13     the value that they provided to -- to Facebook and

14     the partner too.

15                MR. LOESER:     Okay.                          04:07:06

16                I guess we're going off the record.

17                We can go off the record.

18                THE VIDEOGRAPHER:       Okay.   Thank you.

19                We're off the record.        It's 4:25 p.m.

20                (Recess taken.)                                04:09:47

21                THE VIDEOGRAPHER:       We're back on the

22     record.   It's 4:29 p.m.

23          Q.    (By Mr. Loeser)     Mr. Cross, when deciding

24     whether to provide access to the friend data after

25     2014 for partners, did Facebook consider the value        04:11:41

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1      that the partners could provide to Facebook?              04:11:46

2                   MR. SCHWING:     The question is vague.

3                   THE DEPONENT:     Yeah, I -- again, I -- I

4      hope -- I just want to make sure I answer this

5      correctly.     A whole bunch of things were considered    04:11:59

6      or would have been considered in determining

7      whether or not to -- to allow integration partners

8      to continue to have access to information after the

9      APIs and permissions were more publicly deprecated.

10     There's a whole -- a whole raft of things that            04:12:20

11     would have been -- would have been considered in

12     those determinations:        the value to users, how

13     often they were being used, the contractual

14     determinations, if -- if there were any such,

15     and -- and so on.                                         04:12:39

16                  So a wide range of things would have been

17     considered.

18                  When you say "value to Facebook," can you

19     help me define what -- what you mean?

20          Q.      (By Mr. Loeser)     Well, that's what I've   04:12:50

21     been trying to have you testify about, all the ways

22     Facebook understands value.

23                  So if you have some understanding of how

24     Facebook defines value that helps you answer that

25     question, go ahead and say what those things are          04:13:02

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1      and then answer the question.                             04:13:04

2           A.   So, yeah.   One of the things that would

3      have been considered is how often those apps are

4      being used.   So, for example, a device integration

5      would have a number of people -- would be -- a            04:13:19

6      number of people would be using it and -- and that

7      would be considered in -- in the overall assessment

8      of whether or not the information -- should

9      continue -- the integration should continue.

10               So there's a -- a wide range of things          04:13:32

11     that would have been considered, including user

12     value and various types of value to Facebook.

13          Q.   And revenue received by Facebook from

14     the -- the partner was one of the other things, one

15     of the other forms of value that Facebook                 04:13:46

16     considered, right?

17               MR. SCHWING:    The question is vague.

18               THE DEPONENT:     In terms of -- like, I

19     recall seeing documents which -- which suggest that

20     the revenue from a company was pulled and,                04:14:00

21     you know -- assessed in some way.       But I -- I do

22     not recall when, you know, revenue from a partner

23     was part of the assessment for -- for why

24     integration would continue.

25          Q.   (By Mr. Loeser)     And so as Facebook's        04:14:32

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1      corporate designee here, can you testify as to              04:14:36

2      whether revenue from the partner was considered

3      when deciding whether to continue allowing a

4      partner to have access to APIs that emit friend

5      data?                                                       04:14:48

6              A.   Again, I can see --

7                   MR. SCHWING:     Sorry.

8                   The question is vague.

9                   Go ahead.

10                  THE DEPONENT:     Yeah, I -- I recall seeing   04:14:53

11     documents that were -- where revenue from a partner

12     is considered as part of the overall assessment,

13     but I -- I cannot say whether or not revenue was a

14     determinant in whether or not a partner continued

15     to have access or not.                                      04:15:12

16             Q.   (By Mr. Loeser)     And is there somebody

17     else --

18                  I'm sorry.     I thought were finished.

19             A.   Sorry -- continued to have access to

20     publicly deprecated APIs or private APIs.                   04:15:25

21             Q.   And who at Facebook would definitively

22     know the answer to that question?

23                  MR. SCHWING:     The question is vague.

24                  THE DEPONENT:     I -- I think like the --

25     the -- I don't think anyone at Facebook would --            04:15:40

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1      would be able to know whether or not for every             04:15:43

2      single app, what the decision-making criteria was.

3      So I'm not sure that's -- that's like fully --

4      fully knowable.

5                 I -- I don't recall -- and again, on a          04:15:58

6      personal level, I do not recall being in any

7      conversations where revenue was a determining

8      factor in -- whether or not an app was continued --

9      had an app continued to have access to deprecated

10     permissions.                                               04:16:15

11          Q.    (By Mr. Loeser)     Okay.    And I didn't ask

12     you for a person who would know with regard to each

13     and every partner.   I'm just asking you as a

14     general matter who would be the most knowledgeable

15     person on Facebook who can answer the question             04:16:23

16     about the extent to which revenue was taken into

17     account when deciding to, for example, whitelist

18     entities so that they could continue to obtain

19     friend data?

20          A.    I think the partnerships leadership team.       04:16:37

21     The partnership team is probably the people who

22     have the -- the -- the closest understanding of --

23     of that.   I've spoken to -- to several of those in

24     preparation for this, and none of them represented

25     to me that -- that revenue was -- was a driver in          04:16:56

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1      the decision-making.                                          04:17:00

2           Q.      And who did you speak to about that?

3           A.      I spoke to Ime Archibong, I spoke to

4      Eddie O'Neil, and I spoke to Francisco Varela.

5                   (Exhibit 401 was marked for                      04:17:15

6      identification by the court reporter and is

7      attached hereto.)

8                   MR. LOESER:     Okay.     We're going to

9      introduce an exhibit, which is -- this is -- it'll

10     come up in a second, Mr. Cross.           This is an email    04:17:31

11     from you to Jackie Chang and Brian Hurren dated

12     October 30th, 2013, cc to Ime Archibong.            Subject

13     line on the email is "PS12n divide and conquer."

14                  Do you see this email, Mr. Cross?

15                  THE DEPONENT:     I do.                          04:17:54

16          Q.      (By Mr. Loeser)     This is an email that

17     you offered; is that right?

18                  MR. SCHWING:     I'm sorry, Derek.      Just

19     really quickly so we can be on the same page and I

20     can quickly get to documents too.                             04:17:59

21                  Was that -- was there like a tab number

22     associated with that with the documents that you

23     sent over?     I'm wondering if -- I would just like

24     to be able to -- rather than have you launch into

25     it, have some access to look at the document, so --           04:18:12

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1                   MR. LOESER:     It will be Exhibit 401.                04:18:15

2           Q.      (By Mr. Loeser)     Do you see the exhibit

3      numbers in the Exhibit Share?

4                   MR. LOESER:     Or, Mr. Schwing, you can

5      also just look at the Bates number and match it to                  04:18:38

6      what you receive.

7                   MR. SCHWING:     Okay.   Go ahead.     I got it.

8      I just had a little technical difficulty there, but

9      go ahead.     Thank you.

10          Q.      (By Mr. Loeser)     Mr. Cross, do you see              04:18:51

11     the email?

12          A.      I do see the email.

13          Q.      And the date is October 30th, 2013,

14     right?

15          A.      Yup.                                                   04:19:00

16          Q.      And the email has an attachment.             It says

17     "PS12n private platform Ops & Partnership Work

18     Streams.key"; is that right?

19          A.      That's right.

20          Q.      And that's an attachment that you                      04:19:11

21     prepared, correct?

22          A.      I -- that's likely.

23          Q.      And one of the recipients is Brian

24     Hurren.     Who is Brian Hurren?

25          A.      Brian Hurren was a partner manager on the              04:19:24

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1      platform partnerships team.                               04:19:27

2                MR. LOESER:    And we can go to the next

3      exhibit, which is the attached slide deck.

4                (Exhibit 402 was marked for

5      identification by the court reporter and is               04:19:36

6      attached hereto.)

7           Q.   (By Mr. Loeser)     And while we're waiting

8      for that, Mr. Cross, what was your job at Facebook

9      in October 2013?

10          A.   I was a partner manager on the platform         04:19:59

11     partnerships team.

12          Q.   And how many partner managers were there

13     at the time?

14          A.   On the platform partnerships team or at

15     the company?                                              04:20:11

16          Q.   On the platform partnerships team.

17          A.   I'm not sure of the exact number, but it

18     was less than -- less than ten.

19          Q.   And we're looking now at Exhibit 402,

20     which is the slide deck that you prepared with the        04:20:26

21     title "PS12n:   Partnerships & Operations, Managing

22     the Private Platform."

23               Do you see that?

24          A.   I see.

25          Q.   So that the record is clear, what is            04:20:39

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1      PS12n?                                                    04:20:41

2           A.   PS12n refers to platform simplification,

3      which is another code name for the set of proposed

4      changes that ultimately resulted in the launch of

5      Graph API v2 in April 2014.                               04:20:54

6           Q.   And how is it that you came to prepare

7      this PowerPoint?

8           A.   I don't recall exactly what -- how I came

9      to prepare this -- this PowerPoint.        But at the

10     time, my understanding is that there were a set of        04:21:13

11     changes being proposed to the Facebook developer

12     platform, and the partnerships team were trying to

13     understand what the impact would mean for

14     Facebook's -- the -- the developers that the

15     partnership team worked with.                             04:21:37

16          Q.   And why is it that you were tasked with

17     preparing this PowerPoint?

18               Do you recall?

19          A.   I don't recall why I was -- why I was

20     tasked with it, but -- but at time I recall our --        04:21:46

21     our -- most of the team was engaged in some way

22     and -- in trying to understand the impact on the

23     developer ecosystem and the -- the partners that

24     were managed by the team.

25          Q.   And what is Facebook's private platform?        04:22:00

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1           A.     So, again, I -- I think the -- well -- I       04:22:09

2      think the best way to answer that is my experience

3      in a personal capacity.     What I'm referring to here

4      is the set of APIs, permissions, and so on that

5      were not available to regular developers and were          04:22:23

6      available to developers through whitelists.

7           Q.     Okay.   You can go to slide 2.

8                  Are you looking at -- I'll just represent

9      to you this is the second slide.       There's no page

10     numbers on them.     But the title of the slide is         04:22:47

11     "PS12n:    Partnerships/Operations Goals."

12                 Do you see that?

13          A.     I do.

14          Q.     Could you read each of the bullet points,

15     and after each one, explain what it means.                 04:22:56

16          A.     I'll -- I'll do my best.     This is a slide

17     deck written kind of nearly -- nearly eight years

18     ago now.    And so I'll do my best, given the time

19     that's elapsed since.

20                 The first bullet is "Protect the Graph,"       04:23:18

21     which my understanding is around ensuring that

22     Facebook's information or the -- the user's

23     information is being appropriately used by

24     applications in -- by apps and developers.

25                 The next bullet is "but retain                 04:23:36

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1      valid/strategic use cases."                               04:23:41

2           Q.   Actually, let me pause you for a second.

3                On "Protect the Graph," you mentioned it

4      was to make sure that users' data was used

5      appropriately.                                            04:23:50

6                Was it also to make sure that Facebook

7      wasn't providing access to user data without

8      getting anything in return from its partners?

9           A.   Sorry.    I may have to think about that to

10     make sure I give you a correct answer.                    04:24:10

11               I don't think this was -- I don't think

12     this refers to -- to reciprocity.      It's that -- my

13     understanding, again, given that this slide deck

14     is, you know, is eight years old, and going off

15     what I can read on the page, my recollection is           04:24:29

16     that this is about making sure that the -- the

17     information that is emitted to third parties is

18     being used appropriately and creating value for

19     users.

20          Q.   And what is the basis for your                  04:24:44

21     understanding of that point?

22          A.   The basis for my understanding is my

23     memory from eight years ago, so that's what I'm

24     going off here.

25          Q.   Okay.    So the next bullet, could you read     04:24:59

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1      that one again, please.                                      04:25:01

2           A.     The next bullet is "but retain

3      valid/strategic use cases."

4           Q.     So what did Facebook mean here when it

5      wrote that one of the goals was to retain valid              04:25:11

6      strategic use cases?

7                  MR. SCHWING:    Object to form.

8                  THE DEPONENT:    Again, this -- this is a

9      document written by a person, in this case, me.         So

10     I don't think that is necessarily Facebook's as a            04:25:24

11     company's understanding.      This is one document

12     written -- written a long time ago by -- by a

13     person.

14                 I can talk about what -- what I recall

15     meaning or what I think this means, given my -- my           04:25:38

16     personal involvement, which is that there were

17     integrations, for example, that were valuable to --

18     to users that wouldn't be possible under the

19     proposed changes, and -- and those -- those

20     would -- there was a consideration that those --             04:25:59

21     those should continue, a good example being the

22     Facebook app on BlackBerry.      That would be, I

23     think, an app that was considered valuable to

24     users, valuable to BlackBerry, and valuable to

25     Facebook.                                                    04:26:17

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1           Q.   (By Mr. Loeser)     Okay.    And skipping down   04:26:18

2      to the last bullet points "Dev NPS-neutral

3      (short-term), Dev NPS-positive (medium term)."

4                What -- what does that mean?

5           A.   So Dev NPS-neutral.      So NPS means -- or      04:26:37

6      Dev NPS means developer net promoter score, which

7      at the time was a metric used to survey Facebook's

8      platform developers and understand their level of

9      satisfaction with the Facebook developer platform.

10     And so what this means is that the -- a great              04:27:00

11     outcome for those changes in the short term would

12     be no impact on developer NPS and that over time

13     these changes would be positive for developer NPS.

14          Q.   And the title of this slide shows that

15     these bullets relate to the partnership operation          04:27:18

16     goals; is that right?

17          A.   The slide says "partnerships/operations

18     goals."

19          Q.   And were these, in fact, Facebook's goals

20     at the time?                                               04:27:29

21          A.   Again, I don't think it's fair to

22     represent these as Facebook's goals.        This is a

23     skeletal draft slide deck written by one person

24     in -- in kind of mid-2013, so I don't think this

25     was -- this is officially Facebook's goals.                04:27:49

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1                So no, I don't think it's right to make         04:27:52

2      that representation.

3           Q.   Well, were these the goals that were --

4      that were implemented and that Facebook sought to

5      achieve through the transition to the new platform?       04:28:01

6                MR. SCHWING:     Object to form.

7                THE DEPONENT:     Again, no, I don't

8      think -- I don't think it's right to say that these

9      are Facebook's goals.     These are the goals that I,

10     as the author of this document, was proposing or          04:28:12

11     asserting that would be attempted, but I don't

12     think that's right to say that these are Facebook's

13     goals for the overall program.

14          Q.   (By Mr. Loeser)     Well, you were there

15     through the whole process -- right? -- the                04:28:28

16     transition?

17          A.   I was there through -- I was working on

18     this from -- from mid-2013 to kind of mid-2015.

19          Q.   Okay.    So through the transition, right?

20          A.   Yeah, through -- through most of the            04:28:43

21     transition, yes.

22          Q.   Okay.    So were these the goals you had in

23     mind for that transition and that Facebook

24     implemented?

25               MR. SCHWING:     That's compound.               04:28:53

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1                THE DEPONENT:     So, again, I don't -- I            04:28:54

2      don't think it's -- I mean, there are a number of

3      goals that Facebook has -- was attempting to --

4      attempting to achieve with this transition.            These

5      four bullets suggest a proposed subset as -- as I,             04:29:07

6      as a person on the partnerships team, understood

7      them in -- in kind of mid to late 2013.

8                So I don't -- I don't think it's right to

9      say that these are -- these are the goals of the

10     overall program.                                               04:29:21

11          Q.   (By Mr. Loeser)     Were any of these goals

12     abandoned through the transition?

13          A.   I don't think                     was a

14     particular focus of the -- of the -- of the effort.

15     I wouldn't say it was abandoned.       It was -- it was        04:29:38

16     considered, but I don't think that was necessarily

17     the primary goal of the set of transitions.

18          Q.   Okay.    We can go to the next slide.

19               You see that the title of this slide is

20     "PS12n Ops/Partnerships Workstreams"?                          04:29:56

21               Do you see that?

22          A.   I do.

23          Q.   And so you helped come up with the

24     workstreams that would be necessary to implement

25     the transition to the new version of social Graph?             04:30:12

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1           A.    So, again, this slide deck represents a        04:30:18

2      set of potential proposed things that needed to be

3      done, but the -- I don't think this is

4      representative of what ultimately was -- was done

5      or enacted.   So this is a -- my understanding as a       04:30:32

6      partnerships person at a point in time in mid -- in

7      mid-2013 in trying to understand the changes and

8      how to articulate them.

9           Q.    Okay.   You see on the far right, there's

10     a reference to the "public platform"?                     04:30:47

11                Do you see that?

12          A.    I do.

13          Q.    And below that there's a reference to the

14     "private platform"; is that right?

15          A.    I see that, yup.                               04:30:57

16          Q.    And so at this time in 2013, was there a

17     public platform and a private platform?

18          A.    In 2013 -- I don't think it's right to

19     categorize these like as completely separate

20     things.   There was no separate public platform and       04:31:13

21     completely separate private platform.       What I'm --

22     again, remembering my authoring of this deck eight

23     years ago, is trying to frame that there was the

24     public platform, certainly, which was what regular

25     developers had access to, and -- and then there           04:31:30

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1      were a set of APIs, permissions, and modifications               04:31:33

2      to that public platform that were available or --

3      or -- or enacted through a set of whitelists, and

4      that's what I'm referring to by -- by the phrase

5      "private platform."                                              04:31:51

6                There were not distinct like things.             One

7      was really a modifier of the other.

8           Q.   So if you go to the far left, the first

9      box, it says "public," and then in the box Login,

10     Open Graph, Dialog, Payments, Canvas, non-app                    04:32:07

11     friends -- I missed one, plug-ins -- friend data,

12     newsfeed, et cetera.

13               Do you see that?

14          A.   I do see that.

15          Q.   And what are each of those things?                     04:32:18

16          A.   I -- I'll do my best to enumerate.

17          Q.   I'm sorry.     Just generally, are those

18     permissions?   APIs?    Descriptions of APIs?          What --

19     what are they generally?

20          A.   It refers to, actually, a pretty wide                  04:32:35

21     gamut of different things.     Login is the Facebook

22     login dialogue.   Open Graph is the ability for

23     developers to read and write structured actions

24     to -- to Facebook.     Dialogs is a suite of -- a set

25     of dialogs, user -- user-facing dialogs for a range              04:32:53

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1      of purposes like sharing.     Payments refers to the      04:32:59

2      ability of developers to -- to take payments from

3      users inside apps.     Canvas refers to the ability to

4      render an app inside Facebook on dub-dub-dub.

5      Plug-ins refers to the ability to embed various           04:33:11

6      social plug-ins, of which were there several, on

7      your website.     Non-app friends refers to things

8      like the full friend list.     Friend data is

9      referring -- again, my personal recollection --

10     referring to the friend permissions.        And then      04:33:25

11     newsfeed referring to the -- to the newsfeed API

12     and so on.

13                  So it's actually quite a wide range of

14     things that -- that -- that I was reflecting there

15     as part of the, quote, public platform.                   04:33:37

16          Q.      And so just help me if I understand this

17     slide correctly.     All the things you just listed

18     were available on the public platform at the time

19     that you created this slide; is that right?

20          A.      My understanding is that at the time I       04:33:51

21     created this slide in kind of mid-2013, that was a

22     list of things that would be reasonably considered

23     to be part of the public developer platform, the

24     standard Facebook public developer platform.

25          Q.      And your arrow that says 1a, 1b directs      04:34:04

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1      all of those things down to the private platform in       04:34:09

2      the list that says No. 2 there.

3                 Do you see that?

4           A.    I do see that.

5           Q.    And so was the idea that all of those          04:34:17

6      abilities and -- and I don't want to use the wrong

7      word, because there's a variety of different ways

8      to describe those things -- but some are

9      permissions, some are capabilities, some are tools.

10     All of those things will not be available publicly        04:34:30

11     anymore but will instead be available privately; is

12     that right?

13                MR. SCHWING:     Object to form.

14                THE DEPONENT:     Sorry again.     Trying to

15     explain this is --                                        04:34:42

16                Yes, my understanding in -- again, on a

17     personal level, writing this deck and remembering

18     what I knew in -- in mid-2013, a lot changed

19     between then and the launch of the ultimate set of

20     changes.                                                  04:34:56

21                Is the -- that yes, there were some

22     things that were going to be -- my understanding at

23     the time was that there was some subset of those

24     things which would no longer be publicly available;

25     i.e., available to -- to regular developers.              04:35:09

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1           Q.     (By Mr. Loeser)     Okay.    And two of those   04:35:13

2      things in particular here on this list are non-app

3      friends and friend data, right?         Those were being

4      transitioned from being publicly available to being

5      available on the private platform, right?                   04:35:25

6           A.     Again, my understanding at the time is

7      that these things would be no longer publicly

8      available to regular developers eventually but that

9      there would be some use cases that would continue

10     to -- to need them and that those would be made             04:35:44

11     available via -- via certain whitelists.

12          Q.     So with regard to non-app friends and

13     friend data in particular, those -- let's talk

14     about friend data first.       Permissions relating to

15     friend data weren't going eliminated altogether,            04:36:07

16     right?    Instead they were going to be made

17     available on the private platform?

18                 MR. SCHWING:    Object to form.

19                 THE DEPONENT:     So, again, my

20     understanding writing this slide deck in -- in kind         04:36:18

21     of mid to late 2013 is that these things were

22     being -- were being deprecated from the -- the

23     public surface area, and the -- I -- I was, again,

24     as the author of this deck, trying to imagine a

25     world where there would be some apps that would             04:36:36

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1      continue to have access to this information after           04:36:40

2      it had been publicly deprecated.

3            Q.     (By Mr. Loeser)     And in -- this slide has

4      the title "Workstreams," right?

5            A.     This article contains the word                 04:36:55

6      "Workstreams," yeah.

7            Q.     Okay.   And so you're diagramming the

8      workstreams here, and you have 1a, 1b, 2, 3, and 4?

9      Those are the workstreams?

10                  MR. SCHWING:    Object to form.                04:37:07

11                  THE DEPONENT:     Well, I -- I'm not

12     entirely sure what they're referring to.            Like,

13     yes, those probably refer to a set of

14     proposed/potential workstreams.

15                  But, again, this is -- this is a skeleton      04:37:20

16     deck that -- that -- that's is missing a lot of --

17     a lot of content and I don't think represents what

18     ultimately was done.

19           Q.     (By Mr. Loeser)     So I know there's a lot

20     of information on this deck, but is there anything          04:37:35

21     in particular that you see that was not done?

22           A.     Well, I don't think we had the

23     workstreams that -- that this deck suggests might

24     exist.     I don't think any of that was -- was set

25     up.                                                         04:37:53

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1                And I think there's -- exactly how              04:37:54

2      these -- exactly how the changes to the platform

3      were enacted, I don't think this is necessarily

4      representative of what ultimately happened.

5           Q.   With regard to non-app friends and friend       04:38:08

6      data, does this accurately reflect what happened?

7                MR. SCHWING:    Object to form.

8                THE DEPONENT:     So it -- it's -- it's hard

9      to say this accurately represents what happened,

10     because, you know, there's so much nuance and             04:38:25

11     detail.

12               But at a high level, there were, you

13     know, apps that continued to have access to some

14     friends data after the -- the public deprecation

15     of -- of those permissions.                               04:38:47

16          Q.   (By Mr. Loeser)     Okay.    We can go to the

17     next slide.

18               Do you see the title of this slide is

19     "Workstream 1a-Simon"?    Does that refer to you?

20          A.   That would refer to me.       But as I          04:39:02

21     mentioned in -- in the previous -- when we

22     reviewing the previous slide, I don't think this

23     represents in any case what -- what happened.

24          Q.   Well, let's go through and figure out

25     what did and what didn't.                                 04:39:18

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1                     Were you involved in preapproving apps      04:39:20

2      for the new PS12n capabilities?

3              A.     I was involved later as a product manager

4      on -- on the platform team trying to determine

5      what capabilities and -- and what lists needed to          04:39:32

6      as exist to support the needs of the partnerships

7      team.

8              Q.     Do you see the goal that's written on

9      this slide for your workstream?

10             A.     Well, again, I want to be -- I want to be   04:39:51

11     clear.       This is a proposed workstream.     I don't

12     want to say that this is workstream that I assumed

13     ownership of and enacted upon.        This is, again --

14     if you scroll through the rest of the deck, it's

15     broadly empty.                                             04:40:03

16                    So I think it's just worth noting for the

17     record that this is a skeleton deck, not a final

18     deck in any form.

19             Q.     Can you read the goal that you have for

20     the workstream that you anticipated at this time.          04:40:13

21             A.     Again, what's on the slide here is "Goal:

22     Exempt strategic use cases from PS12n impact."

23             Q.     And what does that mean?

24             A.     Again, my understanding from the -- from

25     the time is -- as -- as -- as involved in this is          04:40:30

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1      that there were some integrations and partnerships        04:40:35

2      that were considered valuable to -- to users and

3      the developers and Facebook and that those

4      integrations would be expected to continue or there

5      was a -- there was the -- the thought that some of        04:40:51

6      those integrations would continue after the changes

7      to the public developer platform.       And this is

8      referring to an analysis to understand -- well, not

9      an analysis -- a proposed workstream to understand

10     how the API changes would affect those                    04:41:11

11     integrations.

12             Q.   And the idea was that for certain

13     strategic -- what you define as strategic use

14     cases, they would be exempt from the deprecations

15     and instead continue to have access to APIs or            04:41:28

16     permissions that no longer were public?

17             A.   Again, at the time here, a lot changed in

18     terms of how the changes were implemented and

19     exactly what was implemented, but there was a

20     thought in the partnerships team -- it was thought        04:41:50

21     in the partnerships team that there would be ways

22     or cases where some of these integrations would

23     continue to -- to be able to operate even through

24     the public deprecations of those permissions and

25     APIs.                                                     04:42:10

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1             Q.    And this goal that's described here, that    04:42:10

2      is, in fact, what Facebook did, right?

3             A.    I don't think that's representative --

4      that's -- that's -- appropriate to characterize

5      that as -- as what Facebook did.         There were, as   04:42:24

6      we've discussed, certainly some integrations -- for

7      example, a device integrations that continued to --

8      to operate after the changes to -- to the public

9      surface area.

10                  But like I don't think it's appropriate      04:42:38

11     to say that all strategic use cases, however that's

12     defined, were -- were exempt.

13            Q.    Well, did Facebook exempt some strategic

14     use cases from PS12n impact?

15            A.    Well, again, like there's no formal          04:42:58

16     definition of -- of "strategic" as -- as we've

17     discussed.     But there were apps and integrations

18     who -- who -- where their functionality continued

19     after the public deprecation of -- of certain

20     permissions and APIs.                                     04:43:16

21            Q.    Okay.    Let's look at the method you

22     describe here.

23                  Do you see No. 1?    I take it that's a

24     yes?

25            A.    Sorry.    Do I see No. 1?    Sorry, Derek.   04:43:28

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1      Say again.                                                04:43:30

2           Q.      Do you see that there's a heading

3      "Method"?

4           A.      Yes, I see that, yeah.

5           Q.      Then under "Method," there's a series of     04:43:35

6      numbers, 1 through 8.

7                   Do you see that?

8           A.      I do, yeah.

9           Q.      And the first one is "

10                                               ."              04:43:43

11                  Do you see that?

12          A.      I see that, yup.

13          Q.      Did that happen?

14          A.      There was some analysis -- I recall some

15     analysis being done to                                    04:43:54

16                                     yes.

17          Q.      Okay.   Do you see No. 2, "segment into

18     our four functional Groups:       Games, Non-games,

19     Mobile, Marketers/PMD"?      Do you see that?

20          A.      I see that.                                  04:44:11

21          Q.      That happened, right?

22          A.      I don't recall if that happened as -- as

23     prescribed here.      There was a number of different

24     categorizations that were -- were used across

25     different times.      I -- I don't recall if those --     04:44:22

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1      that categorization or taxonomy was ultimately                  04:44:25

2      used.

3              Q.   Do you recall the slide deck we went

4      through previously that categorized different apps

5      in those -- those categories?                                   04:44:35

6              A.   I remember reviewing a slide deck.           Did

7      they match to -- it's possible they matched to

8      those categories, but I can't be 100 percent sure.

9              Q.   Did you see No. 3, "each functional group

10     to define their whitelisting criteria"?                         04:44:48

11                  Did that happen?

12             A.   Again, speaking from my personal

13     recollection, I don't recall whether or not that

14     happened.     I don't think that happened.

15             Q.   Did anyone define any whitelisting                 04:45:04

16     criteria?

17             A.   I don't think there was a formal written

18     set of whitelisting criteria defined, no.

19             Q.   So it was just ad hoc?

20                  MR. SCHWING:    Object to form.                    04:45:19

21                  THE DEPONENT:     I wouldn't characterize it

22     as ad hoc.     The -- the decisions were made on -- on

23     a case-by-case basis through conversation with --

24     with the partnerships team primarily.

25             Q.   (By Mr. Loeser)     Okay.    Did anyone come       04:45:34

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1      up with any type of principles that would be                   04:45:35

2      applied to deciding whether to whitelist?

3           A.   I don't recall a formal set of principles

4      or framework that was -- that was used.           Ultimately

5      the -- the set of integrations -- the -- were                  04:45:48

6      whitelisted was relatively small and was managed

7      through -- on a case-by-case basis through the

8      partnerships team.

9           Q.   Take a look at No. 4, "assess apps for

10     the new Capabilities against those criteria."                  04:46:01

11               Did that happen?

12          A.   Again, on -- on a personal level, I -- I

13     think -- assess apps for the new capabilities.            I

14     mean, it's -- it's hard to answer whether or not

15     that happened, but certainly some new capabilities             04:46:21

16     were created and some apps were added to them in

17     order to allow them to continue accessing

18     information, accessing -- in order for their

19     activity to continue.

20               So it's possible that meets that -- meets            04:46:40

21     that criteria, but it's hard to say whether or not

22     that -- that bullet was met as written.

23          Q.   Okay.   So No. 5 is "review

24     recommendations with                            , Group

25     Leads (e.g.             )."                                    04:46:53

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1                     Do you see that?                            04:46:55

2              A.     I see that.

3              Q.     Were whitelisting decisions reviewed by

4      those leads?

5              A.     I don't think individual -- every           04:47:02

6      whitelist decision was reviewed with -- with those

7      folks.       It would have been some conversations about

8      generally how to proceed.

9              Q.     Could partner managers just make a

10     decision on their own to whitelist and that was            04:47:19

11     that?

12             A.     Again, like my -- I was not on the

13     partnerships later on when the actual whitelisting

14     decisions were -- were being discussed within the

15     partnerships team, because the -- that didn't need         04:47:35

16     to happen until kind of late 2014, early -- early

17     2015.

18                    So a partner manager certainly could

19     propose that their -- that a given partner needed

20     to be whitelisted, and then that would be a                04:47:58

21     discussion between them and the product team.

22             Q.     No. 6 is "physically add apps to

23     capabilities."

24                    That happened, right?

25             A.     Well, were some new capabilities created,   04:48:15

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1      and apps were added to them later on in 2014 and          04:48:17

2      '15.

3             Q.   No. 7 is "at launch, outreach to apps to

4      let them know they've been whitelisted."

5                  That happened, right?                         04:48:29

6             A.   I don't recall whether or not that

7      happened or what the -- what the communications

8      were between the partnerships team and the -- and

9      the various partners and app developers.

10            Q.   And who at Facebook would know whether        04:48:41

11     there was outreach to apps to let them know they'd

12     been whitelisted?

13            A.   I think the partnerships team would

14     have -- the platform partnerships team would have

15     handled some, the games partnerships team might           04:48:53

16     have handled others, and the mobile partnerships

17     team would have -- would have handled others,

18     and -- and -- and the marketing or PMD would have

19     handled others.

20            Q.   And the last method on your list here is      04:49:07

21     "get necessary contracts in place" -- that's No. 8

22     -- (see Workstream 2)."

23                 Did that happen?

24            A.   Again, it's -- it's hard to know whether

25     or not this -- you know, precisely what that means        04:49:22

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1      or what happened.      This is, again, a slide deck       04:49:24

2      that was written as -- as a draft and skeleton

3      slide deck proposed in mid-2013, and ultimately

4      the -- the changes were not enacted for -- for --

5      for more than a year and a half later.                    04:49:35

6                   Some -- as part of this process, I do

7      recall contracts that existed previously being

8      checked to see whether or not there were, for

9      example,

10                in those contracts, to determine whether or    04:49:56

11     not

12

13           Q.     And you see the "Who?" heading at the

14     bottom left on your slide?

15           A.     I do.                                        04:50:16

16           Q.     And do you see it has four -- the same

17     four segments referred to above:        "Games, Mobile,

18     OEM carrier/OS, non-Games, marketers/PMDs"?

19                  Do you see that?

20           A.     I see that.                                  04:50:35

21           Q.     Which of those are integration partners?

22           A.     Integration partners cuts across Mobile

23     and -- and Non-Games.

24           Q.     Okay.   So the marketers, PMDs, and Games

25     are not considered integration partners?                  04:50:50

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1           A.     Well, they are -- they're entities with         04:50:54

2      which Facebook has relationships which could be

3      characterized as partnerships, and they are -- they

4      integrate or develop against the Facebook developer

5      platform.                                                   04:51:09

6                  I think it's important these -- these

7      words and phrases were used relatively

8      interchangeably, so like there is a -- a specific

9      definition for -- for "integration partners" that

10     covers some of the integrations and apps that were          04:51:20

11     built or managed by the mobile partnerships team

12     and the platform partnerships team, but the other

13     categories, you know, could be at times

14     characterized as integrations or partners.

15          Q.     Well, let me try and understand.                04:51:40

16                 The way that Facebook was using

17     "integration partner" and the way you've used it --

18     I just want make sure your testimony is clear.

19                 There's four categories here.        And does

20     the phrase "integration partner," as Facebook has           04:51:54

21     used that phrase in this case, cover all four of

22     those categories?

23                 MR. SCHWING:    Objection.    Object to form.

24                 THE DEPONENT:    It -- it doesn't -- the

25     phrase "integration partner" doesn't directly map           04:52:07

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1      to these four categories.                                 04:52:10

2           Q.   (By Mr. Loeser)     So, again, which of

3      these four categories would fall outside of the

4      concept of integration partners?

5           A.   Again, my understanding is that -- of the       04:52:24

6      integration partners that -- that I've -- that I've

7      seen defined and referred to, some of them were

8      mobile, integrations and OEMs, carriers and OS's.

9      Others would be -- might be considered non-Games.

10          Q.   Do you see the "Why?" heading in your           04:52:44

11     slide here?

12          A.   I see "Why" on the slide.

13          Q.   And that is a "why" that's -- describes

14     workstream 1a, "preapprove apps for new PS12n

15     capabilities"; is that right?                             04:53:05

16          A.   Again, I think we're just making sure we

17     characterize this slide appropriately for -- for

18     the record.   This is a proposed workstream that,

19     you know, I don't think was ever enacted upon.

20     What's on the slide is a proposed workstream for --       04:53:18

21     with the title "Preapprove apps for PS12n

22     capabilities," and there's the "why" bullets there.

23               But I -- I want to be clear that I don't

24     think this represents a -- a formal workstream that

25     was enacted upon, in my recollection.                     04:53:36

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1           Q.    Okay.    So the goal "exempt strategic use     04:53:38

2      cases from PS12n impact," right?

3           A.    I see that on the slide, yes.

4           Q.    Okay.    And then the "why" is down below.

5                 Could you -- could you read what is --         04:53:51

6      what is wrote under the "why."

7           A.    What's under the "why" on the slide is

8      "retain strategic uses cases" and "keep the right

9      partners happy."

10                MR. LOESER:     Mr. Cross, would this be a     04:54:08

11     good time for a break, or you want to continue?

12                THE WITNESS:     Yeah, now's a great time

13     for a break.

14                MR. LOESER:     Why don't we take a

15     ten-minute break.                                         04:54:14

16                THE VIDEOGRAPHER:     Okay.    We're off the

17     record.   It's 5:12 p.m.

18                (Recess taken.)

19                THE VIDEOGRAPHER:     We're back on the

20     record.   It's 5:25 p.m.                                  05:07:21

21                THE DEPONENT:     I'm just going to shut the

22     door to my office because my kids are about to

23     arrive home so it'll get noisy.        So my apologies.

24                MR. LOESER:     No problem.

25                THE DEPONENT:     Thank you.     Sorry.        05:07:44

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1           Q.   (By Mr. Loeser)     Okay.    We can go to the   05:07:45

2      next page of this slide deck.      I just have a few

3      more questions.

4                Do you see the title of this slide,

5      "Workstream 1b-Bryan"?                                    05:07:54

6           A.   Yup, I see that title on the slide.

7           Q.   Okay.   And can you read the -- what it

8      says under the -- the header.

9           A.   It says "set up a channel and process for

10     impacted apps to apply for whitelists."                   05:08:10

11          Q.   And the Bryan up here, is that

12     Bryan Hurren?

13          A.   That would refer to Bryan Hurren, yes.

14          Q.   Okay.   And your idea was this workstream

15     would be assigned to him?                                 05:08:24

16          A.   Again, this is a potential proposed

17     proper workstream in a draft slide deck without a

18     huge amount of detail around it, but yes, as the

19     author of this deck, I was imaging such a

20     workstream could exist, and if it did, then Bryan         05:08:40

21     might be the one to lead it.

22          Q.   And was -- did Facebook set up a channel

23     and a process for impacted apps to apply to

24     whitelists?

25          A.   I don't recall Facebook setting up a            05:08:54

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1      channel or process for impacted apps to apply for         05:08:57

2      whitelists.

3            Q.   Do you know if that happened or not?

4            A.   I don't -- I don't know if -- I don't

5      recall a channel or process being -- being stood          05:09:09

6      up.   That suggests something public or formal

7      that -- that I don't think happened.

8                 So -- so no, in my estimation, no, a

9      channel and process for impacted apps to apply for

10     whitelists was not set up.                                05:09:26

11           Q.   Okay.   We can go to the next slide.

12                Do you see the header on this slide is

13     "Workstream 2-Jackie"?

14                Do you see that?

15           A.   Yeah, I see that.                              05:09:45

16           Q.   And is that Jackie Chang?

17           A.   That would refer to Jackie Chang, yes.

18           Q.   And could you read what it says below the

19     header.

20                It says "Design post-PS12n whitelisting        05:09:55

21     process and requirements."

22                And did that happen?

23           A.   No, I don't think that -- that happened

24     as expected.   Today Facebook has a process for

25     handling whitelisting, so if we're talking up to          05:10:18

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1      today, then yes, such a process could be said to          05:10:20

2      exist.

3                But in the 2013, '14, '15 time frame, I

4      -- I don't think it's right to say a PS12n

5      whitelisting process was set up.                          05:10:32

6           Q.   And you goal you provided here, could you

7      read the goal.

8           A.   The goal in the slide is "exempt

9      strategic use cases we didn't catch in 1a," but

10     I'll note that it's identical to what's on the --         05:10:43

11     the previous slide, which is indicative of this

12     building a skeleton slide deck rather than one

13     that's formally reviewed or published.

14          Q.   And 1a refers to -- refers to what?

15          A.   Again, going back to my recollection            05:11:05

16     of -- of this deck, 1a would refer to what's shown

17     here as a proposed workstream 1a.

18          Q.   Which was to preapprove apps for new

19     PS12n capabilities, right?

20          A.   That's what the slide says for that             05:11:26

21     proposed workstream, yes.

22          Q.   And were there strategic use cases that

23     were not caught in the preapproval process?

24          A.   Again, I'm -- I'm not sure it could be

25     said that a pre -- pre -- a preapproval process           05:11:41

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1      was -- was -- was set up.                                          05:11:45

2                   So like -- it's hard to say that -- that

3      that's -- that's what happened.           So yeah, hard to

4      say that happened.

5           Q.      Do you see the "Why?" on -- on this                   05:12:02

6      slide?

7           A.      Yeah, the "Why" on this slide, yes.

8           Q.      Okay.     Could you read the "Why."

9           A.      It says                  from granting access

10     to                                   ."                            05:12:17

11                  And the second line is "capture

12                                                               in the

13     future" -- "in the future."

14          Q.      And starting with the first line, "

15          from                                                          05:12:31

16                   what was the risk you were -- had in

17     mind here?

18          A.      So, again, answering this in a -- in a

19     personal capacity as the author of this deck and

20     trying to remember what was in my head eight years                 05:12:44

21     ago, I'll do my best.

22                  There's a number of private APIs and

23     whitelists which were made available to -- to apps,

24     and I -- I'm interpreting here the company would

25     want to make sure that that -- those -- those APIs                 05:13:08

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1      and permissions were being used appropriately.            05:13:12

2           Q.   And what did you mean by "used

3      appropriately"?

4           A.   So that can mean a range of things,

5      depending on -- on the API, depending on the              05:13:26

6      permission, depending on the whitelist.         For

7      example, there were APIs -- like one example might

8      be off.login, which was made available to external

9      developers under a whitelist.      And the way that

10     that was implemented by the developer was important       05:13:52

11     to be done correctly, and you would want to ensure

12     that people who had that capability would be

13     implementing it correctly and that -- that

14     implementation would remain correct over time.

15          Q.   So one data was -- one of the types of          05:14:19

16     sensitive data that Facebook removed from the

17     public platform and made available to certain apps

18     and partners on the private platform, right?

19               MR. SCHWING:    Object to form.

20               THE DEPONENT:     So there were a range of      05:14:39

21     permissions and APIs that were previously available

22     to any developer that became only available to

23     whitelisted developers after API v2 launch.

24          Q.   (By Mr. Loeser)     I appreciate that, but

25     that's not the question I asked, so I'll -- I'll          05:14:57

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1      read you the question again, and if you could just              05:14:59

2      try to answer the question.

3              A.   My apologies.

4                   MR. SCHWING:    Argumentative.

5              Q.   (By Mr. Loeser)     So I'll read it again.         05:15:07

6                   "Friend data was one of the types of

7      sensitive data that Facebook removed from the

8      public platform and made available to certain apps

9      and partners on the private platform."

10                  MR. SCHWING:    Object to form.                    05:15:18

11                  THE DEPONENT:     So, again, the -- the --

12     one -- some of the information that was made

13     available via private APIs was access to the friend

14     permissions and the newsfeed APIs.          I -- so those

15     were made available via the private API surface                 05:15:36

16     area.

17             Q.   (By Mr. Loeser)     And when Facebook did

18     that, which it did for strategic use cases, these

19     apps and partners were granted access to sensitive

20     data and features, right?                                       05:15:48

21                  MR. SCHWING:    Object to form.

22                  THE DEPONENT:     I think the definition

23     of -- of "sensitive" is somewhat subjective.              And

24     there's a range -- what we're talking about here is

25     a set of private capabilities, APIs and platforms               05:16:02

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1      that go way beyond just friend data.           There's all     05:16:05

2      kinds of APIs and -- and things that were -- that

3      are being referred to here.

4                   So like I think there's a wide range of

5      things that were considered as this part of the                05:16:22

6      slide.

7              Q.   (By Mr. Loeser)     Okay.    I'm asking

8      specifically about friend data.          So can you answer

9      the question specifically with regard to friend

10     data?                                                          05:16:32

11                  MR. SCHWING:    Vague.

12                  THE DEPONENT:     So, yeah, I'm -- I'm

13     trying to do my best and answer the -- answer the

14     question as best I can, right.

15             Q.   (By Mr. Loeser)     Let me ask you a              05:16:45

16     different question, then, and see if we can't get

17     to the bottom of this.

18                  When you said                       from

19     granting access to                                        ,"

20     did you have in mind that granting access to friend            05:16:53

21     data was

22             A.   Again, answering in personal capacity,

23     not necessarily.     I'm referring here to a range of

24     private APIs that -- that existed and were made

25     available, not just friend data.          And so I don't       05:17:10

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1      think that this pertains just to friend data or            05:17:14

2      friend permissions.

3                   In -- in this slide, based on my

4      recollection, I'm talking about a proposal for --

5      for -- for whitelisting processes for a range of           05:17:26

6      APIs that -- that might be considered important to

7      govern.

8           Q.      And that range included friend data,

9      right?

10          A.      After the deprecation of -- of API            05:17:39

11     version 1 from the public surface area, the friend

12     permissions and data were made available only to

13     whitelisted applications.       Again, I think the

14     definition of whether or not that's considered

15     sensitive is -- is subjective, which is why I'm            05:17:53

16     being -- trying to be clear in answering your --

17     your question.

18                  There was certainly, after the public

19     deprecation, a set of private capabilities that

20     were not -- were not available to regular                  05:18:06

21     developers.

22          Q.      Does Facebook consider friend data

23     sensitive?

24                  MR. SCHWING:    Object to form.

25                  THE DEPONENT:    I think Facebook considers   05:18:16

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1      any data important to govern properly.              And so like   05:18:20

2      even -- I don't think it's right to just

3      characterize friend data as -- as sensitive.                 I

4      think Facebook takes privacy of information very

5      seriously and does a -- a number of things to                     05:18:37

6      ensure that data is being properly used.

7              Q.      (By Mr. Loeser)     Mr. Cross, I appreciate

8      that.        I asked you a very specific question.           So

9      I'll ask it again.        If you could answer yes or no

10     or let me know if it's not possible to answer yes                 05:18:52

11     or no, I'd appreciate it.

12                     Does Facebook consider friend data

13     sensitive?

14             A.      I don't think I can answer that on behalf

15     of Facebook, because I don't know how to answer                   05:19:05

16     "does Facebook think."        I can answer from -- you

17     know, from a personal capacity, but it's hard to --

18     to determine whether or not Facebook thinks --

19     would concern it as -- as quite sensitive.

20                     Again, I think the definition of                  05:19:21

21     "sensitive" is -- is somewhat subjective.

22             Q.      Is there any definition of "sensitive"

23     Facebook uses that does not include friend data?

24             A.      I don't think Facebook has a formal

25     definition of "sensitive," right?             This is why I'm     05:19:38

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1      trying to give you the best answer I can.                      05:19:41

2                   So I -- I certainly think user data is

3      considered sensitive.

4              Q.   All user data is considered sensitive?

5              A.   User data is important to manage                  05:19:57

6      appropriately and is therefore -- like could be

7      considered -- could be considered sensitive.

8                   But, again, I don't have a formal

9      definition of "sensitive."        I don't think there is

10     a formal definition of "sensitive" that the company            05:20:10

11     uses.

12                  MR. LOESER:   Can we go to the next

13     exhibit.

14                  Oh, actually, before we do that, can we

15     go back to the last page of the last exhibit.                  05:20:42

16             Q.   (By Mr. Loeser)     The second "why" that

17     you read was "                                            to

18     enable                     for the future."

19                  Did that happen in -- in the transition

20     from Graph API version 1 to version 2 and in the               05:21:05

21     months after when -- whitelisting was happening?

22             A.   You mean -- you mean specific to time as

23     part v1 to v2 transition?        Is that what you're --

24     you're interested in?

25             Q.   Yes.                                              05:21:26

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1           A.   And the whitelist specific to the               05:21:27

2      transition?

3           Q.   Yes.

4           A.   I think there's a -- let me make sure I'm

5      answering this correctly for you.     Give me a second    05:21:39

6      just to collect my thoughts.

7                So I think as this workstream -- again,

8      as we've talked about, this slide deck represents a

9      set of proposed workstreams which do not

10     necessarily represent what ultimately happened.           05:22:07

11               I think the -- the intent here is -- is

12     suggesting some formal process or some -- some set

13     of mechanisms.   I don't think there is a -- there

14     was no way that I'm -- I'm aware of that captured

15     the decisions and commitments to -- around how            05:22:38

16     whitelisting was made in a centralized way.

17          Q.   Was there a system used by Facebook to

18     enable proper auditing for the future?

19          A.   I think it depends on what the definition

20     of "proper auditing" is, so that -- that's --             05:23:01

21     that's a subjective definition.

22               Today Facebook has a -- a rigorous

23     process for tracking decisions around how

24     whitelisting issues were made.

25          Q.   And Facebook did not have that system at        05:23:18

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1      the time of the transition to Graph --                    05:23:21

2           A.   The system that exists today did not

3      exist in -- in 2013.

4           Q.   And did Facebook have some other rigorous

5      system previously?                                        05:23:31

6                MR. SCHWING:    Objection.     Vague.

7                THE DEPONENT:     Yeah -- we -- there's --

8      there's a tool for managing -- for managing

9      whitelists and who -- who has access to what.

10               There was no centralized process to track       05:23:43

11     how or why a given app was accessed -- was added to

12     a whitelist.

13          Q.   (By Mr. Loeser)     Okay.    We can go to the

14     next document.

15               You should see in a moment an email from        05:24:03

16     you to Gareth Morris and to yourself dated

17     May 1st, 2014.   Subject "message summary."

18               (Exhibit 403 was marked for

19     identification by the court reporter and is

20     attached hereto.)                                         05:24:15

21               THE DEPONENT:     I see, yeah.

22          Q.   (By Mr. Loeser)     And it appears that this

23     email captures a chat between you and Mr. Morris;

24     is that right?

25          A.   Yes, I think this represents a chat             05:24:30

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1      thread.                                                   05:24:33

2              Q.   Who is Gareth Morris?

3              A.   Gareth Morris is a partner engineer at

4      Meta.

5              Q.   And by sending this message to yourself,     05:24:45

6      was that a way of keeping a record of this chat?

7              A.   I'm not -- sorry.    I don't think I sent

8      this to myself.       The way this is represented is

9      likely an artifact of Facebook's retention systems.

10             Q.   Okay.    And May 1st, 2014, the date of      05:25:04

11     this -- this chat, that was after the public

12     announcement at the new platform at the 2014 F8; is

13     that right?

14             A.   Yes.    The -- the changes were announced

15     on April 30th, 2014, so this would have been after        05:25:27

16     that.

17             Q.   So at this point the public announcement

18     had been made and process of transitioning

19     deprecated permissions from the public to the

20     private platform was underway, right?                     05:25:38

21             A.   At this point, yes, the migration from

22     API v1 to v2 for public developers had begun, yes.

23             Q.   And looking through this chat, it appears

24     that it's in chronological order, so we can stop at

25     the top and you can read through it.                      05:25:58

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1                Mr. Morris says to you, "I expect we'll         05:26:00

2      hear questions like this from developers impacted

3      by friends_*deprecations:     'Is there any way for

4      trusted partners to continue to access full friend

5      list/friends_*data in v2.0?'"                             05:26:17

6                Did I read that correctly?

7           A.   You read that correctly.

8           Q.   And then Mr. Morris goes on to say "On

9      full friend list, I know we will whitelist certain

10     apps that have meaningful experiences (                   05:26:30

11     etc) but do you know what the criteria are and if

12     we are communicating it externally at all?"

13               Did I read that correctly?

14          A.   You read that correctly.

15          Q.   So at this point in time, Facebook had          05:26:43

16     made the decision to whitelist certain apps that

17     have meaningful experiences; is that right?

18               MR. SCHWING:     Objection.    Vague.

19               THE DEPONENT:     I don't think it's right

20     to say that Facebook had decided to whitelist             05:27:01

21     certain applications.     So -- so no, I don't think

22     that's like -- it's right to say that Facebook had

23     made that decision.

24          Q.   (By Mr. Loeser)     Would -- but that

25     Facebook's plan generally though, right?                  05:27:11

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1                   MR. SCHWING:     Objection.     Vague.         05:27:14

2                   THE DEPONENT:     Again, I don't think -- I

3      don't think it's right to say that's Facebook plan

4      generally.     My -- speaking from my involvement at

5      the time, there were discussions about what --              05:27:27

6      which -- which apps should or should not be

7      whitelisted for -- for different things, and there

8      was an active discussion about what would be done,

9      so I don't think any -- many decisions had been

10     made.                                                       05:27:45

11             Q.   (By Mr. Loeser)     Okay.     And Mr. Morris

12     goes on to say to you "And I'm guessing no

13     exceptions to friends_* in v2.0."

14                  Did I read that correctly?

15             A.   You read that correctly.                       05:27:56

16             Q.   Okay.   Read for me your next four chats.

17             A.   So the next four things say "We may not

18     even whitelist              for non-app friends."

19                  The next thing is "there's whitelists for

20     all these things."                                          05:28:19

21                  "But we'd only grant in strategic use

22     cases."

23                  "Like the upcoming

24     integration."

25             Q.   So it sounds like at the time you              05:28:33

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1      believed there were -- there were whitelists that          05:28:34

2      were in place or going to be in place, right?

3           A.   At the time --

4                MR. SCHWING:     Objection.

5                THE DEPONENT:     -- again, using --             05:28:41

6                MR. SCHWING:     Sorry, Mr. Cross.      I

7      just -- give me one second to object.        I know it's

8      a -- it's a -- challenging to do.

9                Objection.     Vague.

10               Go ahead.                                        05:28:50

11               THE DEPONENT:     Again, going back to my

12     personal recollection at the time is that it was

13     thought that there would be whitelists for various

14     things or it was possible to make whitelists for

15     various things -- by "these things" referring to           05:29:05

16     the set of changes in API version 1 to version 2.

17               So my -- my recollection, again, eight

18     years ago is that -- there was -- there was either

19     some whitelist in place or discussion about whether

20     or not additional whitelists should be in place.           05:29:27

21          Q.   (By Mr. Loeser)     And -- and what you told

22     Mr. Morris in -- response to his question about

23     whitelists, "but we'd only grant in strategic use

24     cases"; is that right?

25          A.   What it says on -- in the thread is that         05:29:45

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1      we'd only grant in strategic use cases, yeah.             05:29:46

2           Q.   And that was your understanding of what

3      Facebook was going to do, right?

4           A.   Was that -- again, I don't think it's

5      appropriate to say that's my understanding of what        05:29:56

6      Facebook was going to do.     My understanding at --

7      at -- that's my understanding at -- at the time is

8      that -- there would be some -- some whitelists and

9      some apps added to them.     But -- and my

10     understanding at the time was that that would be in       05:30:16

11     some certain use cases.

12          Q.   Well, this doesn't say "some certain use

13     cases," does it?   It says "strategic use cases,"

14     right?

15          A.   It says "strategic use cases," yes.             05:30:27

16          Q.   And it was your practice when

17     communicating with your colleagues to provide them

18     with truthful and accurate information?

19               MR. SCHWING:     Objection.    Vague.

20               THE DEPONENT:     I do my best normally         05:30:41

21     to -- to communicate my understanding of things

22     accurately, yes.

23          Q.   (By Mr. Loeser)     So Mr. Morris goes on

24     and writes, "For someone like               it's just a

25     'sorry, this stuff is in gone in v2.0,'" right?           05:30:56

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1                Did I read that correctly?                         05:31:01

2           A.   You read that correctly.

3           Q.   And read for me your -- your next two

4      chats which are your response to his question.

5           A.   The next two lines are "Yep.        Unless we      05:31:11

6      see some strategic value in their existence."

7           Q.   So you confirmed for Mr. Morris that

8      perhaps like            he should tell them there are

9      no exceptions for friend deprecations and this

10     stuff is gone in v2.0, right?                                05:31:32

11          A.   I'm not confirming anything here in -- in

12     the sense that it's a formal or final answer.          I'm

13     representing my understanding of the -- the

14     position at the time.

15          Q.   Okay.     And that is the approach, as you         05:31:52

16     say, "unless we see some strategic value in their

17     existence," right?

18          A.   What it says here is "unless we see some

19     strategic value in their existence."

20          Q.   And does "we" --                                   05:32:05

21          A.   I can provide --

22          Q.   I'm sorry.

23          A.   Sorry.     You -- please ask your question.

24          Q.   Yes.     The "we" here refers to Facebook,

25     right?                                                       05:32:14

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1           A.   The "we" here would refer to the                05:32:17

2      partnerships team and what the partnerships team

3      considered -- the partnerships team and the

4      platform leadership team would consider strategic

5      value.                                                    05:32:34

6           Q.   And the partnership team and the platform

7      leadership teams were acting on behalf of Facebook;

8      is that right?

9                MR. SCHWING:     Objection.    Vague.

10               THE DEPONENT:     These are people employed     05:32:46

11     by Facebook for sure.     But like -- it's hard to --

12     to -- to say that "we" means Facebook in a -- in a

13     holistic sense.

14          Q.   (By Mr. Loeser)     All right.     And if you

15     go down the chat, Mr. Morris then writes "Okay.           05:33:15

16     I'll meet with them next week as they're working

17     with some of our game developers, though I'm not

18     sure exactly what services they are providing."

19               Did I read that correctly?

20          A.   You read that correctly.                        05:33:25

21          Q.   And what did you say in your next chat?

22          A.   The next line is




24          Q.   Okay.   And your next chat, what is --

25     what did you say in your next chat?                       05:33:42

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1              A.   The next line is "                           05:33:44

2      etc., etc."

3              Q.   Okay.   So what did Facebook do for Bing

4      and Firehose?

5              A.   So, again, I'm relying on my recollection    05:33:55

6      here of a -- of an integration from eight years

7      ago, so I'll do my best to describe it generally.

8                   My understanding is there was an

9      integration with Bing to enable them to index

10     public Facebook content such that when you searched       05:34:15

11     for things on Bing, it would allow Bing to return

12     public content from Facebook in Bing search

13     results.

14             Q.   And did Facebook have a contract with

15     Bing?                                                     05:34:33

16             A.   My understanding is yes, Facebook had a

17     contract with Bing to govern that interrogation.

18             Q.   And did Facebook get some data back from

19     Bing?

20                  MR. SCHWING:    Objection.     Vague.        05:34:45

21                  THE DEPONENT:     I'm not sure what was in

22     the contract or -- or -- or what the -- how the

23     integration worked in detail.

24             Q.   (By Mr. Loeser)     What about Firehose?

25             A.   My understanding is that Firehose is         05:34:57

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1      technical mechanism by which that integration was            05:34:59

2      powered.

3           Q.     Do you know it was called Firehose?

4           A.     I don't know why it was called Firehose I

5      wasn't around for the -- for the naming of it.         But   05:35:10

6      Firehose is a -- a term that's used in the

7      industry.

8           Q.     And to mean what?

9           A.     To mean an API that -- that streams

10     information from one entity to another.                      05:35:29

11          Q.     And was it qualitative at all in terms of

12     the quantity of information?

13          A.     I don't think there's anything definition

14     of what "quantity" means.       But in this case, to

15     make that integration work, my understanding is              05:35:48

16     it's streaming public content from Facebook to

17     Bing, which you can imagine being not an

18     insignificant amount of information.

19          Q.     And what is your next text?

20          A.     The next line is "but these perms are            05:36:04

21     gone for a reason."

22          Q.     And what does "perms" mean?

23          A.     In this context, "perms" means the friend

24     permissions.

25          Q.     And read your next text, please.                 05:36:15

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1              A.   The next line is "I'd feel pissed if I                05:36:19

2      found out a friend of mine was using their product

3      which was mining all my data."

4              Q.   And why would you feel pissed if you

5      found out a friend of yours was using their product                05:36:31

6      which was mining all of your data?

7              A.   So at a personal capacity, remembering as

8      the -- as the author of this, I think I'm

9      reflecting the concerns that we've talked about

10     previously and discussed where users might be                      05:36:47

11     unaware that their information was being shared

12     with third parties and used in ways they may not

13     have expected.

14             Q.   Is it fair to say that being pissed is a

15     reasonable reaction to fining out a friend of yours                05:37:05

16     was using your product which was mining all of your

17     data?

18                  MR. SCHWING:    Objection.     Vague.        Scope.

19                  THE DEPONENT:     I think you're asking me

20     to kind of review a -- a relatively informal chat                  05:37:15

21     thread from -- from eight years ago.           I think it's

22     a -- a phrase that I might have used in -- in

23     passing.

24             Q.   (By Mr. Loeser)     And do you believe that

25     your reaction was a reasonable one?                                05:37:31

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1                   MR. SCHWING:    Objection.     Vague, and it's         05:37:36

2      outside of the scope of the deposition topics.

3                   You can answer.

4                   THE DEPONENT:     So yeah.    I mean, you're

5      asking me a really -- a personal question here.                I    05:37:45

6      think it's -- it's reasonable to be concerned, as

7      evidenced by the changes made to the platform,

8      that apps might be using information from mine --

9      to mine data.

10          Q.      (By Mr. Loeser)     We can put that exhibit            05:38:12

11     aside.

12                  I'm going to read a statement to you.             If

13     you can tell me what Facebook means by this

14     statement.

15                  And I'll to read it slowly so that                     05:38:38

16     Rebecca doesn't get mad.

17                  "If an application asks permission from

18     someone else to access your information, the

19     application will be allowed to use that information

20     only in connection with the person that gave the                    05:38:52

21     permission and no one else."

22          A.      Sorry.   Can you repeat that again.          It

23     would helpful to -- do you have it written,

24     could -- could present?        I want to make sure I'm

25     fully understanding it.                                             05:39:12

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1           Q.      I'll read it again.     I don't have it        05:39:13

2      written.     And this relates to friend sharing, which

3      is why -- which is why I'm an asking.

4                   "If an application asks permission from

5      someone else to access your information, the                05:39:23

6      application will be allowed to use that information

7      only in connection with the person that gave the

8      permission and no one else."

9                   MR. SCHWING:    Mr. Loeser, is there -- you

10     read it.     I'm confused a little bit what you're --       05:39:39

11     is there a question associated with it?           I don't

12     understand.

13                  MR. LOESER:    Yes.   I would like to

14     understand what Facebook means by that statement.

15                  MR. SCHWING:    Is there a document that --    05:39:54

16     I'm sorry.     I just want to make sure.       Is there a

17     document that this is in that you could help the

18     witness with?     He's asked to see what it is.

19                  MR. LOESER:    Yeah, I can write it down on

20     a piece of paper and we can put it up as an                 05:40:03

21     exhibit.     It'll take a couple minutes, but -- this

22     is just my effort to understand how friend sharing

23     worked at Facebook.

24                  So we can -- we can come back to that.

25     And -- we'll write it down on a piece of paper and          05:40:16

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1      put it up as an exhibit.        That's probably an            05:40:20

2      effective way to do it.

3                   MR. SCHWING:    Okay.    If you're -- and

4      let's -- I don't want to take long on this, but if

5      you're representing Facebook said something in a              05:40:27

6      document, to be able to give the document, I think,

7      is the appropriate way to approach the issue.

8                   But if you want to move on to the next

9      topic, that's fine.

10                  MR. LOESER:    Yeah.    We'll come back once     05:40:38

11     we create an exhibit.

12                  MR. SCHWING:    Just to be clear, I will

13     ask that -- at that time that you actually give

14     the -- the document as opposed to excerpting it.

15          Q.      (By Mr. Loeser)     Okay.    We're going to      05:40:54

16     screen share this sentence, and if you could tell

17     me what this means as Facebook's corporate

18     designee, I'd appreciate it.

19          A.      It's hard --

20                  MR. SCHWING:    I'm sorry.     Let me state an   05:41:09

21     objection.

22                  I object to taking snippets of

23     unidentified documents and -- and putting them

24     before the witness and asking the witness to

25     explain what Facebook means by something that's               05:41:19

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1      excerpted.     You should have the entirety of the            05:41:22

2      document.

3                   THE DEPONENT:     Yeah.   It's hard for me to

4      answer this -- this question, again, accurately

5      without understanding where this came from and --             05:41:33

6      and the context behind it.        There's not enough here

7      for me to give a reasonable answer, I think.

8           Q.      (By Mr. Loeser)     Can you read the

9      sentence and give me your -- your understanding of

10     what it means.                                                05:41:53

11                  MR. SCHWING:    Special Master Garrie, I

12     don't want to difficult during this deposition, but

13     I would appreciate -- I'd like to make a motion

14     under Rule 30 that if -- if they're asking about

15     a -- a document and a purported Facebook document             05:42:03

16     that they actually use the document so that the

17     witness can properly answer.

18                  SPECIAL MASTER GARRIE:       Yeah, I was going

19     to rule, but the witness answered the question.

20                  Counsel Loeser, do you have the entirety         05:42:13

21     of the document?

22                  THE DEPONENT:     I don't, and there's no

23     requirement for me to show this witness any

24     documents.     I'm asking the question --

25                  SPECIAL MASTER GARRIE:       No, no.             05:42:25

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1                   MR. LOESER:     I'm asking the witness about   05:42:26

2      this document.

3                   SPECIAL MASTER GARRIE:       Just so I

4      understand, you're asking them -- you're asking the

5      witness what this sentence means as a                       05:42:33

6      representative of Facebook, not in reference to a

7      particular document Facebook has, but just

8      generally?

9                   THE DEPONENT:     That's right.     I'm just

10     asking what this -- if this sentence means anything         05:42:42

11     to Facebook.

12                  MR. SCHWING:     But, Special Master Garrie,

13     he's representing that this is a statement by

14     Facebook, and it's snippeted out from something.

15     We have no idea what it is.                                 05:42:51

16                  SPECIAL MASTER GARRIE:       Well, Counsel

17     Loeser --

18                  MR. SCHWING:     If we could talk about it

19     off the record, that would be wonderful.

20                  SPECIAL MASTER GARRIE:       Yeah, can we --   05:42:56

21     well, on the record, let me just get clarification.

22                  Counsel Loeser, is this, you're

23     representing, a statement from Facebook?

24                  MR. LOESER:     This is a statement that

25     Facebook has made, yes.                                     05:43:08

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1                  SPECIAL MASTER GARRIE:      Do you have any        05:43:12

2      further context as to who, what, when, or where?

3                  MR. LOESER:   I do --

4                  SPECIAL MASTER GARRIE:      Or do you not --

5                  MR. LOESER:   Yeah, we can introduce it.           05:43:22

6      I'm surprised the witness isn't familiar with this

7      statement, but we can introduce the statement.

8      There's no requirement for us to --

9                  SPECIAL MASTER GARRIE:      I'm not saying

10     there is -- there is --                                        05:43:35

11                 MR. LOESER:   Fine.     That's fine.       We're

12     happy to introduce the statement, but I want to

13     understand about this statement is what it means to

14     Facebook.    So we'll introduce the statement --

15                 SPECIAL MASTER GARRIE:      Right, so --           05:43:44

16                 MR. LOESER:   -- the policy.

17                 SPECIAL MASTER GARRIE:      So if you -- if

18     you want to know what the statement means in

19     general from what Facebook says, that's different

20     than saying this is a statement Facebook has made,             05:43:53

21     what does it mean to Facebook.

22                 So I'm just trying to understand which of

23     the two courses you're going down.

24                 MR. LOESER:   I started on the first

25     course and I'm happy to stay there.        This is a           05:44:05

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1      statement, what does it mean to you.        If it means    05:44:06

2      nothing to him, then he can say that.

3                SPECIAL MASTER GARRIE:       Yeah, got it.

4      That's all I needed to know.

5                So, Counsel Schwing, I appreciate your           05:44:12

6      position, but I don't think it's an issue, so he's

7      simply as Facebook's 30(b)(6) representative, what

8      does this statement mean.

9                MR. SCHWING:    Okay.    And just -- I

10     appreciate that, Special Master.       For the record, I   05:44:24

11     think it's difficult, if not impossible, without

12     any context with respect to what the document is or

13     the time frame or anything like that to pluck out

14     the statement and have him ask, answer on behalf of

15     the company about what this means.       There's just      05:44:41

16     not enough context.

17               I would appreciate it if the document

18     would be -- would be put up, since counsel

19     has indicated that they have the document.

20               MR. LOESER:    Yeah.    You know, we can cut     05:44:53

21     this short.   We can just introduce -- it's already

22     an exhibit, so we can just refer to the exhibit.

23     We can focus on this.

24               And, again, the purpose of my asking

25     Mr. Cross this is --                                       05:45:00

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1                SPECIAL MASTER GARRIE:         I understand.     05:45:01

2                MR. LOESER:      Yeah.

3                SPECIAL MASTER GARRIE:         Yeah, I get it,

4      Counsel Loeser.   So, I mean, if you want to do that

5      for Facebook, you're under no obligation to do             05:45:07

6      such, but if you want to produce it, that would be

7      probably be effective in aiding in the testimony

8      you're trying to obtain.      But you're under no

9      obligation to do such.      So...

10               MR. LOESER:      We're going to go ahead and     05:45:22

11     introduce it, just because I think it satisfies

12     Mr. Schwing's concern.

13               MR. SCHWING:      I would appreciate that,

14     Mr. Loeser.   Thank you.

15               MR. LOESER:      This is Exhibit 400.            05:45:34

16               This is the data use policy.

17               Yeah, and the reason why we didn't send

18     this over to Mr. Cross is we didn't actually intend

19     to introduce the exhibit.      But to satisfy counsel's

20     concerns about the context of this statement, we're        05:45:54

21     introducing the data use policy.

22          Q.   (By Mr. Loeser)      And my question is

23     really very specific.      It's not about what anyone

24     else might think this means; it's specifically what

25     Facebook thinks this means.         I'm asking the         05:46:09

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1      question so that I can understand how Facebook             05:46:12

2      believes friend sharing works.

3                   So if we can -- we'll try and find the

4      statement.

5                   MR. SCHWING:    While you're scrolling for    05:46:27

6      that, I object to using documents that were not

7      provided to us in advance as required under our

8      protocol.

9                   And the policies are outside of the scope

10     of -- of Mr. Cross's deposition topics.                    05:46:35

11          Q.      (By Mr. Loeser)     Okay.    So, Mr. Cross,

12     the data use policy is in front of you.

13                  And do you see the statement "If an

14     application asks permission from someone else to

15     access your information, the application will be           05:46:54

16     allowed to use that information only in connection

17     with the person that gave the permission and no one

18     else"?

19                  Do you see that statement?

20          A.      I do see that statement.                      05:47:04

21          Q.      What does that statement mean?

22                  MR. SCHWING:    Outside the scope of the

23     deposition.

24                  THE DEPONENT:     So, yeah, I'm not an

25     expert in interpreting Facebook's platform policies        05:47:12

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1      or data use policies.       I think there are other       05:47:15

2      people that your -- that are testifying who are

3      better placed to interpret that.

4                  I can give you a personal interpretation

5      or my personal understanding of that, but I think         05:47:30

6      there are -- there are other people who -- who are

7      more knowledgeable about this subject than me that

8      would give you a more accurate answer.

9             Q.   (By Mr. Loeser)     Okay.    And I'm really

10     trying to understand it from the technology               05:47:42

11     standpoint, which is why I'm asking you.

12                 So why don't you go ahead and give me

13     whatever explanation for this statement that you

14     can.

15                 MR. SCHWING:     Object to the scope.         05:47:52

16                 Go ahead if you can answer in your

17     personal capacity.

18                 THE DEPONENT:     Yeah, I'll answer in my

19     personal capacity and my understanding having --

20     having worked on this area but not being an expert        05:48:02

21     in interpreting or enforcing Facebook's policies in

22     this matter.

23                 My understanding is that what this means

24     is when an app ask permission -- "permissions" in

25     this case, I think, refer to -- to the Facebook           05:48:18

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1      platform permissions -- to access your information,       05:48:20

2      my interpretation of that is the friend

3      permissions.   The -- or indeed the read stream

4      permission, which includes friends information.

5                The -- the -- the data that the app             05:48:38

6      receives through a given user's access token from a

7      technical capacity should be used to enhance the

8      experience of that user in the application only.

9           Q.   (By Mr. Loeser)     Thank you.

10               Okay.     We can move on.                       05:48:57

11               MR. LOESER:     Tab 53.

12               (Exhibit 404 was marked for

13     identification by the court reporter and is

14     attached hereto.)

15          Q.   (By Mr. Loeser)     You're going to see in a    05:49:33

16     moment an email from KP to several people,

17     including Marne Levine and Ime Archibong, and the

18     date of the email is December 18th, 2018, and the

19     subject is "private API review."

20               There's an attachment to this email,            05:49:52

21     "private_API_review_vF_pptx;

22     private_API_review_vF.pdf."

23               Do you see that?

24          A.   I see that, yeah.

25          Q.   And this is Exhibit 404.                        05:50:07

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1             A.    Can you -- I have it here.        Do you mind      05:50:14

2      giving me just a few minutes to familiarize myself

3      with it?

4             Q.    Yeah.

5                   And while you're familiarizing yourself,           05:50:41

6      Mr. Cross, you should also --

7                   MR. LOESER:     Is there a way to put up the

8      PDF as well?

9                   We're going to post the attachment.          You

10     can just go ahead and look at both of those things.             05:50:49

11     That would be useful.

12                  THE DEPONENT:     Great.    Thank you.

13                  I don't have the PDF in Veritext just

14     yet.

15            Q.    (By Mr. Loeser)      It's on its way.              05:51:31

16            A.    Cool.   Thank you.

17                  I have it now.     Thank you.     I'm just

18     reviewing it now.

19                  Cool.   I've reviewed both of those

20     before.     Thank you.                                          05:52:40

21            Q.    Okay.   So --

22            A.    I appreciate you guys giving me the time

23     to read these things.

24            Q.    Yes, of course.

25                  Looking back at the email itself, KP               05:52:48

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1      writes, "Hello, Marne and all.        Please find                 05:52:54

2      attached a deck summarizing our thinking around the

3      private API review that (1) outlines the problem,

4      (2) explains what we're doing about it broadly

5      including what partnerships will do specifically,                 05:53:08

6      and (3) how we might accelerate the effort.               In

7      short..."

8                   Do you see that?

9             A.    I see that.

10            Q.    And then do you see the heading                      05:53:20

11     "Problem"?

12            A.    I do.

13            Q.    Okay.    And No. 1 on the problem.          Why

14     don't you go ahead and read No. 1.

15            A.    Sure.                                                05:53:35

16                  "Partners maintained access

17           even after featured                                  have

18                          (i.e.

19                                                       in 2015

20     but                                       etc.    maintained      05:53:51

21                     until recently -- this is probably the

22     main theme of the NYT story that is expected to

23     land today)."

24            Q.    And can you explain what this is

25     identifying any more than what you just read?                     05:54:10

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1           A.      I'll do my best.    Again, this is an email        05:54:24

2      written by somebody else, so I give you my -- my

3      interpretation of that email from my understanding

4      and conversations with people in preparation, which

5      is that there were partners; i.e. apps, that were               05:54:35

6      on whitelists where the -- their usage of those

7                                              was

8                 but they were still                          , and

9      that potentially allowed them

10                                                                     05:55:05

11                  That's my understanding from this

12     reading.

13          Q.      And did those features include access to

14     friend data?

15          A.      I'm not sure what -- what KP's referring           05:55:16

16     to here specifically.      He -- he calls out instant

17     personalization and search integrations.          It's --

18     it's possible that he's casting a wider net, but --

19     I would be speculating.

20          Q.      Okay.   And what -- can you read Problem           05:55:33

21     No. 2 that's identified here.

22          A.      In the email, again, it says "It's not

23     clear what                                       to those

24     APIs (if any)."

25          Q.      Okay.   And can you what the problem was           05:55:50

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1      here?                                                        05:55:52

2                   MR. SCHWING:    I will caution the witness

3      not to reveal anything that may be attorney-client

4      privilege.

5                   But if you can answer without revealing         05:55:59

6      that, please do.

7                   THE DEPONENT:     Yeah, my -- again, it --

8      I -- I don't know what KP means specifically.

9      It's -- it's his email, and he's -- he's the source

10     of truth as to what he was referring to.                     05:56:17

11                  I can answer given -- given my -- my

12     understanding, which is that there were the

13     standard platform developer policies and -- and

14     typically Facebook                               with some

15     developers to                                   and my       05:56:39

16     understanding -- my understanding was -- my

17     understanding is that it was not known what -- what

18

19                  But, again, I want to caveat what I've

20     just given there with I'm -- I'm not super close to          05:57:04

21     the -- to the terms here.        So that's -- that's the

22     best answer I can give.

23                  But -- it's the best answer I could give.

24             Q.   (By Mr. Loeser)     Okay.    And Problem

25     No. 3, "Partners have access to private APIs that            05:57:21

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1      may not be valuable to Facebook that we need to           05:57:24

2      review and deprecate or secure support for future

3      investments."

4                  Did I read that correctly?

5           A.     You read that correctly.                      05:57:36

6           Q.     What does it mean in this context for

7      private APIs that may not be valuable to Facebook?

8                  MR. SCHWING:    Object to the extent it's

9      outside of the scope of topics 6 and 7.

10                 THE DEPONENT:     Yes, it's hard for me       05:57:48

11     to -- to answer that question on behalf of the

12     Facebook.    I can give you, again, my -- my

13     understanding and my interpretation, having been

14     involved to this and spoken to people involved.

15                 There are at this point a number of -- of     05:58:03

16     private APIs or permissions that existed, and the

17     purpose for which those were introduced may -- and

18     the reasons for which those were introduced may --

19     may -- the developer ecosystem uses expectations

20     and so on would have changed and so the -- the            05:58:29

21     purpose for which they were originally built might

22     not make sense anymore.

23          Q.     (By Mr. Loeser)     Okay.    And what does

24     "secure support for future investments" mean in

25     this context?                                             05:58:48

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1                  MR. SCHWING:    Calls for speculation.         05:58:54

2                  THE DEPONENT:     Yeah, I -- it's -- it's

3      hard for me to what -- what -- what he means by

4      this in this email, so I'd be speculating as to --

5      to what he means.                                          05:59:01

6           Q.     (By Mr. Loeser)     He writes "We need to

7      review and deprecate or secure support for future

8      investments."

9                  Does that help you answer the question to

10     look at it in that context?                                05:59:09

11          A.     So, again, like I'm -- I'm not sure what

12     he means by "secure support for further

13     investment."    So -- so I could speculate as to what

14     that might mean, but I don't think that's

15     appropriate to do here.                                    05:59:25

16          Q.     Okay.   If you look at the next header, it

17     says "Actions to be Taken."       And -- and based on my

18     read of this, it appears that Facebook launched an

19     effort to

20                                                                05:59:44

21                 Did that, in fact, happen?

22          A.     Yes, it did.

23          Q.     Okay.   And if you look at No. 3, it's --

24     well No. 2 is "remove access for those APIs that

25     have been since been deprecated," right?                   05:59:57

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1              A.      Sorry.   Can you point out that again?       I   06:00:01

2      just want to make sure.         Bullet No. 2?

3              Q.      The second action to be taken says

4      "remove access for those APIs that have since been

5      deprecated," right?                                              06:00:09

6              A.      That's what I see on the email here,

7      yeah.

8              Q.      And then the third action:      "Together

9      with product, assess whether certain private APIs

10     need to be maintained, supported.           This will fold       06:00:20

11     into the so-called project Frozen."

12                     Did I read that correctly?

13             A.      You did read that correctly.

14             Q.      Do you know what project Frozen is?

15             A.      I'm not entirely what -- what project            06:00:38

16     Frozen -- he's referring to with project Frozen

17     here.        Again, I -- I can -- there's a -- there was

18                              which he could be referring to.

19     But he's -- again, he's using the caveat "so-called

20     project Frozen," so he may be referring to a -- to               06:00:55

21     a different code name here.

22                     Again, I -- I'd be speculating, and KP is

23     the source of truth.

24             Q.      So No. 4, it looks like after assessing

25     certain private APIs, the idea was to "                          06:01:09

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1                                  to ensure they retain         06:01:12

2      access to those private APIs."

3                   Did I read that correctly?

4              A.   You read that correctly, yeah.

5              Q.   And did that happen?                         06:01:19

6              A.   I -- I don't know whether or not that

7      happened.     I'm -- I'm not familiar with the precise

8      things that were -- were done as part of this

9      project, so I can't comment as to whether or not

10     that -- that happened.                                    06:01:37

11             Q.   And did the private APIs being accessed

12     include APIs that emitted friend data?

13             A.   Yes.   My understanding is that this

14     effort looked at all private APIs and capabilities

15     that existed at the time.                                 06:01:57

16             Q.   And so in 2018, those private apps and

17     capabilities including those that emitted friend

18     data?

19             A.   Well, at this point, the -- the friend

20     permissions had been fully removed from the code          06:02:21

21     base, and there's a number of -- this covers every

22     API and private API or whitelists or permission

23     that was gated behind a capability.

24                  I can't say for certain what that full

25     set of things would have included.                        06:02:38

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1             Q.   But the idea certainly was to                           06:02:42

2

3                           right?

4             A.   My understanding is yes, the intent of

5      this was to -- was to do a -- perform a                             06:02:52

6                                                                  -- of

7

8

9             Q.   Okay.   If we can go down to the

10                                                               And you   06:03:05

11     see the first bullet there.

12                 And it states:

13

14

15                                                                         06:03:26

16                 Did I read that correctly?

17            A.   You did, yeah.

18            Q.   And so fair to say that Facebook believes

19     that

20                                                                         06:03:41

21                 MR. SCHWING:      Object to the form.

22     Outside the scope.

23                 THE DEPONENT:      So, again, this is an

24     email from KP, and KP is asserting that he believes

25     that                                                                06:03:55

                                                                           Page 611

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1                                                                     06:03:59

2           Q.     (By Mr. Loeser)     And was KP considered a

3      knowledgeable person about these topics at

4      Facebook?

5                  MR. SCHWING:    The question is vague.             06:04:08

6      Calls for speculation.

7                  THE DEPONENT:     Yeah.   I mean, hard --

8      hard -- hard to answer that question.          Yeah, I

9      don't know how KP was perceived by -- by various

10     people at the company.      He was certainly                   06:04:19

11     knowledgeable as a platform partnerships person.

12          Q.     (By Mr. Loeser)     And fair to say that

13     Facebook believed that he had an adequate

14     understanding of what a sensitive private API was?

15                 MR. SCHWING:    Outside of the scope.              06:04:34

16     Object to the form.

17                 THE DEPONENT:     Yeah, hard for me to

18     answer on behalf of Facebook and what -- what

19     Facebook as -- as an entity thinks.

20                 I can give you my -- my view.         But -- but   06:04:45

21     I don't feel I can answer that on behalf of the

22     company as such.

23                 I think he was knowledgeable about --

24     about the Facebook developer platform and which

25     APIs existed and what -- what they were being used             06:05:00

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1      by -- how they were being used by developers.                    06:05:07

2           Q.   (By Mr. Loeser)     Who at Facebook can

3      answer the question in the way that -- that would

4      describe Facebook's corporate understanding of what

5      is a sensitive private API?                                      06:05:21

6                MR. SCHWING:     Object to the scope.          Calls

7      for speculation.

8                THE DEPONENT:     I mean, it -- I think,

9      again, "sensitive" is -- is a subjective

10     definition.   "Private API," I think we've covered.              06:05:36

11     "Sensitive" is subjective.

12               I would think that maybe the legal policy

13     teams would be well placed to opine on that.

14               But, again, "sensitive" is not -- is a

15     subjective term.                                                 06:05:56

16          Q.   (By Mr. Loeser)     So who in the policy

17     team could opine on -- on what Facebook means by

18     "sensitive private API"?

19               MR. SCHWING:     Outside the scope.          Calls

20     for speculation.                                                 06:06:09

21               THE DEPONENT:     Yeah, I -- I don't know

22     who at the company would like names of -- of people

23     that -- that would be able to give you an

24     authoritative answer.     Again, you're asking a very

25     broad question.                                                  06:06:22

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1           Q.   (By Mr. Loeser)     And do APIs that emit            06:06:24

2      friend data emit PII data?

3                MR. SCHWING:     Object -- sorry.

4                Objection.     Vague.   Outside the scope.

5                THE DEPONENT:     Can you help me understand         06:06:40

6      what -- what you mean by PII data?

7           Q.   (By Mr. Loeser)     Well, what does it mean

8      here on this -- on this communication?

9                MR. SCHWING:     Calls for speculation.

10     Outside the scope.                                             06:06:51

11               THE DEPONENT:     Yeah, I -- yeah, I can't

12     give you an authoritative answer to that.         I have

13     my own understanding, but KP is the -- is the

14     author of the email, and he's -- he's the one

15     making these statements.                                       06:07:07

16          Q.   (By Mr. Loeser)     Do you know what "PII"

17     stands for?

18          A.   My understanding in this context is "PII"

19     stands for personally identifiable information.

20          Q.   And does friend data provide personally              06:07:18

21     identifiable information?

22               MR. SCHWING:     Objection.    Vague.        Calls

23     for a legal conclusion.

24               THE DEPONENT:     Yeah, it's -- I'm not --

25     I'm not able to make a formal determination of what            06:07:30

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1      PII includes or counts as PII.                                   06:07:33

2            Q.    (By Mr. Loeser)     So you're saying -- your

3      testimony under oath today is you cannot testify as

4      to whether friend data includes PII?

5            A.    By giving you -- again, I'm trying to do             06:07:48

6      my best here and give you an accurate -- an

7      accurate and complete answer.

8                  The definition of "PII" is -- is not

9      defined, and so it's hard to give -- me to give you

10     a complete -- complete answer.        Right?                     06:08:00

11                 So I -- I just -- I'm not sure I can

12     answer that question in a way that's like -- fully

13     accurate.    I could, you know, speculate and give

14     you my personal take, but you're asking me to

15     testify as to what Facebook considers PII, which is              06:08:14

16     a -- a thing I'm -- I don't believe I'm well placed

17     to give.

18           Q.    Well, Mr. Cross, what do you believe PII

19     is?

20           A.    I think there's a range of definitions               06:08:28

21     of -- of PII.    One definition would be somebody's

22     name and maybe their profile picture.          You could

23     argue that that is personally identifiable.              There

24     are cases where it's not personally identifiable.

25     So hence -- hence the challenge giving a complete                06:08:50

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1      answer there.                                             06:08:55

2           Q.   Okay.

3                MR. LOESER:     Why don't we go to the

4      PowerPoint itself.   It's Exhibit 405.

5                (Exhibit 405 was marked for                     06:09:10

6      identification by the court reporter and is

7      attached hereto.)

8           Q.   (By Mr. Loeser)     Again, Mr. Cross, you've

9      had a chance to review this PowerPoint previously,

10     right?                                                    06:09:23

11          A.   I have, yes.

12          Q.   And did you also read it to prepare for

13     your testimony today?

14          A.   It was -- yes, it was supplied as one of

15     the documents I -- I think you were potentially           06:09:32

16     going to show me, so I -- I reviewed it in

17     preparation for today, yes.

18          Q.   And the title slide states "

19                                        ," right?

20          A.   I see that, yeah.                               06:09:45

21          Q.   And what were the

22

23               MR. SCHWING:     Objection.    Vague.

24               THE DEPONENT:     Yeah, I think there's a --

25     hard for me to -- to -- there's a number of the           06:09:59

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1      potential risks from -- from private APIs.                I        06:10:03

2      couldn't enumerate them all.

3              Q.   (By Mr. Loeser)       Can you enumerate any of

4      them?

5              A.   Yes.   I can attempt to enumerate some                06:10:19

6      examples.

7                   So there a number of -- as I said, a

8      number of private APIs.        One of the risks for an

9                               is that it allowed developers to

10                                                                   in   06:10:39

11     order to allow a user to log in to an experience on

12     a device.

13                  And an app that had that capability,

14     there were a number of risks around making sure

15     that the                                                           06:10:55

16              and that the

17     is -- is

18                  So that would be one --                 from one

19                                    .

20             Q.   Are there                              that emit      06:11:16

21     friend data?

22             A.   Again, there's many private APIs, and --

23     and APIs that emit information about users or their

24     friends.     Facebook would want to make sure that

25     those APIs and that information is being used                      06:11:39

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1      appropriately and in accordance with our -- our                    06:11:44

2      terms.

3              Q.      And are there                      that relate

4      to friend data that Facebook was concerned about?

5                      MR. SCHWING:     Objection.    Vague.              06:11:56

6                      THE DEPONENT:     So we talked about this in

7      a -- in a previous testimony around some of the

8      reasons for the changes to the public API surface

9      area.        We'd had concerns from users that they were

10     not always aware how their information was being                   06:12:17

11     used by -- by applications, and so in the case of

12     private APIs, we would want to make sure that

13     information was being used appropriately.

14             Q.      (By Mr. Loeser)     Can we go to --

15                     MR. SCHWING:     Mr. Loeser, just -- just          06:12:36

16     quickly.        We've been going for about an hour.          I'm

17     not saying we need to take a break right now, but

18     at a convenient time in the next few minutes, if we

19     could take a break, that would be great.

20                     MR. LOESER:     Sure.   I'd like to get            06:12:48

21     through this deck, and I'll try and do it quickly,

22     but if it's taking too long, we'll stop before we

23     get to the end.

24                     THE DEPONENT:     Thank you.

25                     MR. SCHWING:     Thank you.                        06:12:56

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1            Q.     (By Mr. Loeser)     If you go to the next              06:12:57

2      slide.

3                   Do you see that "What is the problem?"

4            A.     I see that, yeah.

5            Q.     And am I reading this correctly:             That in   06:13:01

6      this analysis Facebook identified                private API

7      application pairs that included                  ?

8            A.     Well, again, what's on the slide here,

9      I'm -- the author was KP.        I -- I don't know how

10     these data were compiled or collected.                              06:13:28

11                  But from rating the slide, somebody at

12     Facebook, KP, seems to have identified                     API --

13     API application pairs that met some definition

14     of -- of         which I'm not aware of the details

15     of.                                                                 06:13:50

16           Q.     And what is "a private API application

17     pair"?

18           A.     So I actually would be speculating if I

19     knew precisely.     I think I know what -- what this

20     refers to.     I would have used a different term.                  06:14:05

21                  So private API is a -- is an ambiguous

22     term, and so I think he may have used a -- he may

23     be referring to a different technical term.                So I

24     would actually be speculating if I -- if I

25     confirmed that -- understanding -- if I confirmed.                  06:14:27

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1                 My understanding, speaking -- you know,              06:14:30

2      trying to do my best here and trying to give you

3      the best answer I can -- is that -- I understand

4      him to be referring to capability app pairs.           So

5      that -- that -- that's my understanding of what                 06:14:44

6      he'd be referring to.

7                 But private APIs is a little bit

8      ambiguous in this context.

9           Q.    Okay.   And then the key issues that he

10     identified, those appear to be the same, more or                06:15:00

11     less, as the problems he identified in the cover

12     email; is that right?

13          A.    This maps pretty closely to what he

14     identified in the email, yes.

15          Q.    Okay.   So we go to thing next slide.                06:15:15

16                "What we're doing about it, Private API

17     Review."

18                Do you see the product heading?

19          A.    Yup, I see it.

20          Q.    He writes "Following our                         ,   06:15:26

21     Product is introducing new steps to grant new

22     access to new external-facing, private APIs gated

23     by capabilities.    While this addresses issues

24     moving forward, we still have an uncertain past

25     that needs to be cleaned."                                      06:15:41

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1                Do you see that?                                     06:15:43

2           A.   I do see that, yeah.

3           Q.   And what was the                      ?

4           A.   So the                    was an announcement

5      in -- I actually have the -- the rough dates                   06:15:54

6      here -- on the November the 1st, 2018, that

7

8

9           Q.   And why was the                       put in

10     place?                                                         06:16:15

11          A.   My understanding is that the

12                was put in place to give the company

13     time to                                                  and

14     how they were being used as well as to develop new

15     processes and practices for controlling changes to             06:16:38

16     APIs going forward.

17          Q.   And -- and what events prompted that

18

19               MR. SCHWING:    Object to the scope.

20     Outside the scope.                                             06:16:52

21               THE DEPONENT:     I'm -- I'm not sure,

22     again, exactly what prompted that.       So probably a

23     number of factors that went into the -- the

24     decision-making that I, you know, have not fully --

25     I'm not fully aware of.     So I can't answer fully as         06:17:09

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1      to what that was -- what drove that                           06:17:16

2      decision-making.

3                   But, again, what I can share from my

4      personal perspective is this is after the

5      Cambridge Analytica story broke, and -- and I                 06:17:28

6      would -- my understanding is that was one of the

7      drivers for improving development practices around

8      APIs.

9              Q.   (By Mr. Loeser)     And if you look at the

10     next heading, which says "Partnerships," this                 06:17:44

11     states "Partnerships will




               that evolve in the future."                           06:18:00

16                  Did I read that correctly?

17             A.   You did read that correctly.

18             Q.   Did that happen?

19             A.   My understanding is that broadly, yes,

20     that did happen.                                              06:18:10

21             Q.   We can go to the next slide.        This title

22     is "How Partnerships plans to read the cleanup."

23                  And do you know specifically what is

24     being cleaned up?

25                  MR. SCHWING:   It's outside the scope.           06:18:29

                                                                     Page 622

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1                   THE DEPONENT:     Let me -- let me just                06:18:34

2      review the slide and see if I can give you an

3      answer.

4                   So having -- having read this, what's on

5      the slide is the best answer I could give as what's                 06:18:57

6      being cleaned up here.       I can provide commentary

7      and some explanation if it would be useful, but I

8      think the slide is actually a pretty good

9      explanation of what was happening.

10          Q.      (By Mr. Loeser)     And generally speaking,            06:19:13

11     was the idea to clean up the                            and to

12                                                         and those

13                                                                 they

14     provide to Facebook?

15                  MR. SCHWING:    Objection.        Vague.     Outside   06:19:29

16     the scope.

17                  THE DEPONENT:     My understanding is that

18     this is primarily identifying -- reviewing private

19     API pairs, which is a given capability and a given

20     application that has that capability in an                          06:19:46

21                                              and

22

23          Q.      (By Mr. Loeser)     And why wasn't that done

24     in 2015?

25                  MR. SCHWING:    Objection.        Outside the          06:20:02

                                                                           Page 623

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1      scope.     Vague.                                          06:20:03

2                   THE DEPONENT:     Yeah, I -- hard for me to

3      comment on -- on -- on why this wasn't -- wasn't --

4      why this -- this process continued later.

5                   My recollection from the time is there        06:20:20

6      was an effort in 2013 to reduce the number of

7      capability app pairs which existed, and so I think

8      this is -- it's not right to characterize this as

9      "not done" and "done."       There were -- have been a

10     number of efforts over a number of years to attempt        06:20:38

11     to manage the -- the set of private APIs.

12          Q.      (By Mr. Loeser)     Okay.    If you look at

13     the "Investigate and Decide" stop on this -- on the

14     plans on this slide.

15                  The first bullet says "Investigate API        06:20:56

16     access on questionable private API app pairs and

17     contractual obligations."

18                  Did I read that right?

19          A.      You did read that right.

20          Q.      And what are questionable private API app     06:21:07

21     pairs?

22                  MR. SCHWING:    Outside the scope of topics

23     6 and 7.     It's vague.

24                  THE DEPONENT:     Again, it's hard -- I

25     don't feel I can give a kind of answer on behalf of        06:21:18

                                                                  Page 624

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1      the company there.     KP is the author of the deck                06:21:21

2      and the source of truth as to what he means here.

3                   Again, in the service of being helpful, I

4      can -- I can give you the best answer I can give,

5      which is that, for example, an app may have a                      06:21:34

6      capability that it is not using and therefore there

7      is little value in it having the capability, and

8      therefore the capability should be removed from the

9      application.

10                  So that would be an example of something              06:21:52

11     that that I would personally would have determined

12     to be a questionable private app pair.           Put it

13     another way:     If it's not being used, why do they

14     still have access to it.

15             Q.   (By Mr. Loeser)     The next bullet is "Set           06:22:07

16     criteria on decision points (e.g. hi/low value of

17     API usage."

18                  What does "hi/low value of API usage"

19     mean?

20                  MR. SCHWING:    Outside the scope.           Vague.   06:22:20

21                  THE DEPONENT:     So, again, I can't -- I

22     don't feel I can give you a company answer to that

23     question.     KP's the source of truth.        I can give

24     you my -- my interpretation, my understanding, as

25     best I can with -- given my experience here.                       06:22:33

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1                  So hi/low value of API and usage, in my          06:22:38

2      estimation, would be -- would -- would revert --

3      would refer to the -- the value of the API in terms

4      of the value it provides to -- to users and to the

5      developer, and usage would refer to how often that           06:22:57

6      API is being used or how -- how widespread that use

7      is by applications and uses.

8           Q.     (By Mr. Loeser)     And you gave one example

9      of an app API pair that is questionable.           Can you

10     think of other examples?                                     06:23:28

11          A.     Give me a second to make sure I can think

12     of some.

13                 So yeah.   Another example might be where

14     an application has the ability to call a certain

15     API or access certain information where the -- the           06:24:03

16     way in which that information is being used to

17     enhance the user experience is unclear or not

18     known.

19          Q.     Would a misuse of user data by the app

20     also be considered the result of a questionable              06:24:26

21     private API app pair?

22                 MR. SCHWING:    The question is vague.

23     Outside the scope.

24                 THE DEPONENT:     Again, hard to give a

25     detail.    I can't give a representative company             06:24:40

                                                                    Page 626

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1      answer there.                                                 06:24:42

2                   My -- my understanding is that, yes,

3      questionable means would -- would mean, to me, this

4      is worth investigating as to why this app has this

5      capability to make sure we are confident that the             06:24:56

6      app should indeed have access to this capability.

7              Q.   (By Mr. Loeser)     Okay.    You can go to the

8      slide, and then we're just about finished with this

9      document.     Appreciate your patience.

10             A.   Thank you.                                       06:25:10

11             Q.   This is titled "What we need to move

12     faster."     And you'll see that this slide -- correct

13     me if I'm wrong -- describes different types of

14     review that could be done of the API app pairs; is

15     that right?                                                   06:25:26

16             A.   Give me a second just to -- just to read

17     the slide again.

18                  MR. SCHWING:    It's outside the scope for

19     this witness.

20                  THE DEPONENT:     This is hard for me to         06:26:11

21     interpret.     I wasn't involved at the time in a

22     personal capacity, I don't think it's appropriate

23     for me to try and speculate on what -- what's meant

24     here.

25             Q.   (By Mr. Loeser)     Sure.    Well, let me ask    06:26:22

                                                                     Page 627

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1      you a more specific question.                                   06:26:23

2           A.   Thank you.

3           Q.   You see on the far right there are in

4      bold letters the first line for each of these, one,

5      three months, six months, is a reference to "no                 06:26:30

6      contract review"?

7                Do you see that?

8           A.   I see that, yup.

9           Q.   Okay.     And then there's a description of

10     what would be done to investigate and decide with               06:26:42

11     regard that that was the approach.

12               Do you see that?

13          A.   I think so.     Sorry.   Yes.    I mean, I

14     see -- I see the slide.

15               Can you point me to the cell row you're               06:26:59

16     referring to.

17          Q.   Yeah.     If you look on the far left down

18     below one month, and there's columns of information

19     and titles for those columns on the far left, and

20     the first title is "No Contract Review."         The            06:27:14

21     second title is "Strategic Partners Only."             And --

22          A.   Yes.

23          Q.   -- the third is "All Partners Review."

24               Do you see that?

25          A.   Yes, I see that, yes.                                 06:27:21

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1              Q.      And so -- so for this -- those are the            06:27:23

2      three options that are described for what Facebook

3      could do to move faster; is that a fair read?

4                      MR. SCHWING:    Objection.     Calls for

5      speculation.        It's outside the scope.                       06:27:40

6                      THE DEPONENT:     Yeah, I -- it's hard for

7      me to answer -- give you authoritative answer here.

8      Like, I -- I, you know, we saw this document in

9      preparation before.        I was not involved at the

10     time.        So I'd be speculating as to exactly what --          06:27:56

11     what was meant here.

12             Q.      (By Mr. Loeser)     Well, this PowerPoint at

13     its outset identified                what KP refers to

14     private API application pairs, right?

15             A.      He refers to          --                          06:28:16

16             Q.      Okay.

17             A.      -- private API, yeah.

18             Q.      And it refers to a need to audit those

19     pairs to identify questionable API access, right?

20             A.      He does -- does refer to that.                    06:28:31

21                     MR. SCHWING:    Sorry.     Sorry.   It's vague,

22     outside the scope.

23                     You can answer it, Mr. Cross.

24                     Just give me one minute -- or one second

25     to state my objection.                                            06:28:40

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1                   Thank you.                                       06:28:41

2                   Mr. Loeser, I'm sorry.       It may have

3      become a bit garbled there.          Can you just reask

4      that?

5                   MR. LOESER:     Sure.    We can just ask.        06:28:49

6              Q.   (By Mr. Loeser)     And it refers to the

7      need to audit those pairs to identify questionable

8      API access, right?

9                   MR. SCHWING:     Same objection.

10                  Go ahead.                                        06:29:01

11                  THE DEPONENT:     It's what it says on the

12     slide, yes.

13             Q.   (By Mr. Loeser)     Okay.    And then the last

14     slide in the deck describes potential audits that

15     could occur, and one would involve no contract                06:29:12

16     review; is that right?

17                  MR. SCHWING:     Calls for speculation.

18     Outside the scope.

19                  THE DEPONENT:     Yeah, it's actually pretty

20     hard for me to understand what -- what this                   06:29:27

21     slide -- what this slide means and what he's

22     referring to here.        This could be interpreted in a

23     few different ways.        It's not -- it's not -- it's

24     not clear.

25                  MR. LOESER:     Okay.    Well, why don't you     06:29:43

                                                                     Page 630

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1      read the notes that are on that slide.         Just take a      06:29:44

2      second.   We can -- I just have two more questions,

3      and I want to make sure that you understand the

4      context of this slide.

5                 THE DEPONENT:     Okay.   I've read the --           06:30:30

6      the notes there.

7           Q.    (By Mr. Loeser)     I want to zero in on

8      the -- the second type of review that's identified

9      here, which is Strategic Partners Only, right?

10          A.    Okay.                                                06:30:54

11          Q.    And Strategic Partners Only is a subset

12     of all partners, right?

13          A.    I'm -- I'm not sure what KP is referring

14     to with strategic partners only, whether or not

15     this is a -- I'm not even sure what -- what he's                06:31:08

16     referring to here and what -- what he's using as --

17     as that definition far "strategic partners."

18          Q.    Okay.   Does it appear to be a smaller

19     group of partners than the all partners review,

20     just looking at the numbers reflected there?            Isn't   06:31:19

21     that a fair interpretation of that?

22                MR. SCHWING:    These questions call for

23     speculation and outside the scope.

24                THE DEPONENT:     Yeah, I'd be speculating.

25     Like it's -- it's possible that that's the case.                06:31:33

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1      It could also mean that different partners require                06:31:36

2      different levels of review and time.           I -- I don't

3      know what he's referring to here specifically.

4              Q.   (By Mr. Loeser)     Who at Facebook could

5      tell me whether there's a subset of partners called               06:31:46

6      "strategic partners" at Facebook?

7                   MR. SCHWING:    Outside the scope.           Calls

8      for speculation.

9                   If you know, you can go ahead and answer.

10                  THE DEPONENT:     So the platform                    06:32:05

11     partnerships team would probably be able to provide

12     some additional context there.         As I -- as I have

13     said before, I don't think there's a standard

14     definition for "strategic partner," and I think if

15     there is, those definitions will change depending                 06:32:18

16     on -- on the division of Facebook that you're

17     talking to and -- and different definitions over

18     time.

19                  So I'm not aware of a standard definition

20     of what "strategic partners" means.                               06:32:32

21             Q.   (By Mr. Loeser)     Last question.      And if

22     you go back to the second page of the deck where we

23     referred to the number of private API application

24     pairs.

25                  Are all of those pairs reflected on a                06:32:42

                                                                         Page 632

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1      whitelist?                                                      06:32:49

2           A.      I'm sorry.     Can you help me understand

3      the question?        I think I know what you're asking,

4      but it's a little imprecise.

5                   Are they reflected on a whitelist?                 06:33:05

6           Q.      Yeah.     Are these all whitelisted

7      partners, basically?        Is that how they -- that's

8      how you're able to identify that these private API

9      application pairs are what you would refer to as

10     capability pairs, are those reflected on -- on                  06:33:17

11     whitelists?     These are whitelisted partners?

12          A.      So my understanding -- so first of all,

13     I'm not entirely sure what KP is referring to.             As

14     I've -- as I've mentioned earlier, his definition

15     of "private API" is a little ambiguous to me.             So    06:33:35

16     I -- I don't think I can give you a fully

17     authoritative answer.

18                  But, again, in personal capacity, my

19     understanding is yes, he's referring to -- I think

20     he's referring to capabilities as -- and                        06:33:50

21     specifically capability app pairs, and my

22     understanding of that is the two have access to a

23     capability.     An app is whitelisted for it or is on

24     a whitelist.

25                  MR. LOESER:     Thank you.                         06:34:07

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1                    Let's go off the record.                          06:34:08

2                    Mr. Schwing, I asked that last question

3      because you've made a lot of scope objections.             I

4      just want to make it clear to you that I'm asking

5      these questions because this is a -- relates to                 06:34:21

6      whitelisting, and so I want to make sure the record

7      was clear on that.      I hope that satisfies that,

8      sir.

9                    THE VIDEOGRAPHER:     Okay.    It's 6:52 p.m.

10                   (Recess taken.)                                   06:34:33

11                   THE VIDEOGRAPHER:     We're back on the

12     record.      It's 7:57 p.m.

13                   (Exhibit 406 was marked for

14     identification by the court reporter and is

15     attached hereto.)                                               07:39:23

16                   MR. LOESER:     Let me introduce another

17     exhibit.      Momentarily, Mr. Cross, you'll see an

18     email from Rob Boyle to Eddie O'Neil, Shirley Sun,

19     and Drew Lackman dated March 27th, 2019.             Subject:

20     "Escalation deck Rev" with an attachment of a slide             07:39:41

21     deck.

22             Q.    (By Mr. Loeser)     And, Mr. Cross, who is

23     Rob Boyle?

24                   MR. SCHWING:     I'm sorry, Derek.      Just to

25     be helpful.      This is Exhibit 406 for the record,            07:40:12

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1      right?                                                            07:40:12

2                      MR. LOESER:     Yes.     Yes, thank you for

3      that.        Exhibit 406.

4                      I have not been reading the Bates numbers

5      because -- frankly, it's just time, but the Bates                 07:40:18

6      numbers associated with the exhibit.

7                      THE DEPONENT:     I'm -- I'm not sure who

8      Rob Boyle is, I'm afraid.

9              Q.      (By Mr. Loeser)        Okay.    Do you know who

10     Shirley Sun is?                                                   07:40:39

11             A.      No, I'm not sure who Shirley Sun is

12     either.

13             Q.      How about Drew Lackman?

14             A.      I'm not sure who Drew -- Drew Lackman is

15     either.                                                           07:40:52

16             Q.      And what about WS3.h?          Do you know what

17     that is?

18             A.      I don't know what W3.h -- WS3.h is

19     either, I'm afraid, no.

20             Q.      Do you know what the escalation referred          07:41:07

21     to concerns?

22             A.      I -- I don't, I'm afraid.

23                     (Exhibit 407 was marked for

24     identification by the court reporter and is

25     attached hereto.)                                                 07:41:18

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1           Q.   (By Mr. Loeser)     Why don't we go to the      07:41:18

2      deck itself, which is attached.

3                And while we're loading up the next

4      exhibit, 407, Mr. Cross, I take it you reviewed

5      that email and the attached deck in advance of your       07:41:33

6      testimony today?

7           A.   I did -- I did review these documents.

8      You sent over a lot of documents.       I did my best,

9      but there was quite a lot to get through.

10          Q.   Oh, I understand.                               07:41:48

11               Did you make any effort to contact

12     Mr. Boyle, Ms. Sun, or Mr. Lackman?

13          A.   I did not make efforts to contact them.

14          Q.   How about Eddie O'Neil?

15          A.   I did not make efforts to contact               07:42:03

16     Eddie O'Neil after receiving these documents.

17          Q.   And I'll try and -- I don't have a lot of

18     questions about this deck, but I have a few.

19               So if you look at the first slide, it

20     says "WS3.j escalation process proposal                   07:42:15

21     March 2019."

22               Did I read that correctly?

23          A.   You read that correctly.       Do you mind if

24     you -- do you mind if I just take a --

25          Q.   Yeah, yeah.                                     07:42:26

                                                                  Page 636

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1              A.     -- couple minutes to scan through the          07:42:27

2      deck?

3                     MR. LOESER:     Let me tell you -- please

4      review the deck, but let me tell you that

5      particular pages that I'm -- I'm not going to ask             07:42:39

6      you a lot about it, but I'm going to ask you about

7      slide 5, slide 6, slide 14, 17, and 18.

8                     THE DEPONENT:     Okay.     I've had a quick

9      scan through.

10             Q.     (By Mr. Loeser)     Okay.     Thank you.       07:43:55

11                    Let's look at slide 5, which I think will

12     help you understand the context of this deck.

13                    And I'll read the header on the slide.

14     "

15                            All will either be                     07:44:12

16

17                    Do you see that?

18             A.     I do.

19             Q.     And do you know if that occurred?

20             A.     My understanding is yes, that did occur.       07:44:23

21             Q.     Okay.     And the bullet says

22

23

24                  to ensure they comply

25                                                                   07:44:37

                                                                     Page 637

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1                  Do you know if that occurred?                       07:44:40

2           A.     My understanding is yes, that -- that did

3      occur.

4           Q.     And what is the

5                                                                      07:44:47

6           A.     I'll -- I'll do my best to describe it.

7                  The            is a companywide process by

8      which any                                                need

9      to be reviewed by a number of people from a number

10     of different teams                                              07:45:12

11

12          Q.     And why was that process implemented?

13                 MR. SCHWING:     Outside the scope.

14                 THE DEPONENT:     I -- I'm not sure the full

15     details of -- of why that process was implemented.              07:45:31

16     I can talk from my -- my personal understanding,

17     but I'm not aware of the full set of reasons why --

18     why that was implemented.

19          Q.     (By Mr. Loeser)     What are the reasons

20     that Facebook had for implementing that process?                07:45:48

21     Any of the reasons?

22                 MR. SCHWING:     Same objection.

23                 Go ahead.

24                 THE DEPONENT:     So, again, so some of the

25     reasons I understand that -- that this was                      07:45:59

                                                                       Page 638

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1      introduced was to ensure that appropriate gating              07:46:01

2      mechanisms were being used, that the implementation

3      of the APIs was using Facebook's modern coding

4      standards, and that there were policies and

5      procedures documented about the purpose of the API            07:46:24

6      and who it was made available to.

7            Q.   (By Mr. Loeser)     And was there a

8      particular event that prompted Facebook to

9      undertake these efforts?

10                MR. SCHWING:     Outside the scope.                07:46:42

11                THE DEPONENT:     Sorry, Austin.      Say again.

12                MR. SCHWING:     I said outside of the

13     scope.

14                But -- if you know in your personal

15     capacity, go ahead.                                           07:46:50

16                THE WITNESS:     Yeah, I'm not sure I can

17     give -- a companywide answer there.         My

18     understanding is that this happened after the

19     Cambridge Analytica situation broke and that was

20     one of the driving reasons.                                   07:47:03

21           Q.   (By Mr. Loeser)     And if you go to slide

22     9.   And the header says "Each API is

23

24                Do you see that?

25           A.   I do see that.                                     07:47:20

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1           Q.   And then can you read the first bullet.          07:47:22

2           A.   "The

3

4

5           Q.   And did that happen?                             07:47:34

6           A.   My understanding is yes.       An exercise was

7

8

9           Q.   Okay.    Can you read the next bullet.

10          A.   The second bullet is "Everything found to        07:47:50

11     be high risk but high value is being flagged for

12     escalation."

13          Q.   And what does Facebook mean by "high risk

14     but high value"?

15               MR. SCHWING:     Object to the extent it's       07:48:02

16     outside the scope of topics 6 and 7.

17               THE DEPONENT:     I'm -- I'm not confident

18     in -- in -- I don't think I can answer on behalf of

19     the company there.    I wasn't involved in this -- in

20     this process, so -- and I haven't seen the -- the          07:48:13

21     documentation or the -- the -- what was used to --

22     to make that determination.     So I'm not sure I can

23     answer that, I'm afraid.

24          Q.   (By Mr. Loeser)     Were there APIs and

25     platform products that emitted friend data that            07:48:30

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1      were considered high risk and high value?                 07:48:34

2           A.     As I said, I'm not entirely -- I'm not

3      confident in which APIs specifically were

4      categorized in each -- in each of these buckets.

5      So I couldn't give you an answer, I'm afraid.             07:48:48

6           Q.     So who would at Facebook would know if

7      there are APIs that emit friend data that are

8      considered high risk and high value?

9                  MR. SCHWING:    Object to form.

10                 THE DEPONENT:     Sorry.    The -- the        07:49:02

11     question there -- the question you asked you had a

12     tense in it that was present, whereas we're

13     reviewing a deck here from the past.          So sorry.

14                 Is your question about today or about

15     the -- the process being described in this                07:49:16

16     document?

17          Q.     (By Mr. Loeser)     Well, let's start with

18     the process described in this document.

19          A.     I would need to understand who was

20     involved in creating this -- this process and then        07:49:33

21     speak to them as to like -- how this determination

22     was made.

23          Q.     And how would you find out who was

24     involved in creating this process?

25          A.     I would attempt to ping the -- the -- the     07:49:50

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1      people who -- for whom -- who created this deck and         07:49:58

2      then go from there.

3           Q.      We can go to slide 17.

4                   Let's go back to the slide right before

5      that, slide 16.     407.                                    07:50:25

6                   It says "Step 1:    Roll up APIs into

7      products."

8                   Do you know what that means?

9           A.      I -- I can -- again, I can give you -- a

10     personal answer based on my understanding is that           07:50:40

11     there was an attempt to identify APIs and which

12     product organization at the company was responsible

13     for their existence and maintenance.

14          Q.      Now we can go to the next slide.

15                  "Step 2:   Directors make a                    07:50:59

16

17

18                  That's the header on the slide.        Did I

19     read that correctly?

20          A.      You read that correctly, yeah.                 07:51:09

21          Q.      And did the directors make the

22

23

24                  MR. SCHWING:    Outside the scope.

25                  THE DEPONENT:    I don't know -- I can't       07:51:29

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1      answer as to what happened as part of this process.             07:51:31

2      I don't have personal experience.        So -- so I'm not

3      sure I'm able to answer that question, I'm afraid.

4           Q.    (By Mr. Loeser)     You understand that --

5      that Facebook did, in fact,                                     07:51:46

6

7                                              for high value

8      for Facebook and high risk?

9           A.    I'm aware that -- my understanding is

10     that Facebook did                                       , but   07:52:00

11     I'm -- I'm not sure exactly what process was

12     followed to determine whether or not

13

14          Q.    And if we flip to slide 14.        I'll read

15     the header:   "Estimates for volumes within each                07:52:24

16     bucket."

17                Do you see that?

18          A.    I see that, yeah.

19          Q.    And the bullet states "With assessment

20     90 percent done, we have fairly confident estimates             07:52:32

21     for the volume of products that will land in each

22     bucket."

23                Do you see that?

24          A.    I see that, yup.

25          Q.    And do you see that according to this                07:52:40

                                                                       Page 643

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1      graphic here, Facebook made the determination to             07:52:42

2      escalate

3      that it considered high value to Facebook and high

4      risk; is that right?

5                   MR. SCHWING:    Object to form.       Outside   07:52:59

6      the scope.

7                   THE DEPONENT:     Sorry.    I think this --

8      this slide suggests an estimate of things which

9      might be escalated, but I'm not sure that is

10     reflective of ultimately what was done or the                07:53:13

11     proportions that were

12

13          Q.      (By Mr. Loeser)     And how would you find

14     the answer to what was actually done?

15          A.      I would try and determine who was               07:53:26

16     involved in this effort and -- and ask them some

17     more detailed questions.

18          Q.      And you would do that by pinging the

19     author of this deck to start?

20                  MR. SCHWING:    Outside the scope.              07:53:41

21                  THE DEPONENT:     So my starting -- my

22     starting point in trying to determine that would be

23     to -- to -- to find the author of this deck and

24     attempt to ask them questions about what was done.

25          Q.      (By Mr. Loeser)     Okay.    Let's go back to   07:53:55

                                                                    Page 644

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1      slide 17.                                                      07:53:57

2                   Sorry.

3                   And this is the slide that has the header

4      "Directors make the

5                                                          correct?   07:54:12

6              A.   I see that, yeah.

7              Q.   And do you see the bullets on the right

8      side?

9              A.   I do.

10             Q.   The first bullet is "Each product will be         07:54:20

11     rolled up its closest director," right?

12             A.   Yup, I see that.

13             Q.   And the next bullet says "We will ask

14     them to make

15                                          and to complete a         07:54:33

16     one-slide template for each explaining why its

17                                              ."

18                  Did I read that correctly?

19             A.   You read that correctly.

20             Q.   Okay.    And then the next bullet states          07:54:48

21     "Each director will have their respective PG lead

22     sign off on their decisions and justification."

23                  Did I read that correctly?

24             A.   You read that correctly.

25             Q.   And did that -- did that occur?                   07:54:59

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1                   MR. SCHWING:     Outside the scope.          Vague.   07:55:07

2                   THE DEPONENT:     I'm not aware of the -- of

3      the details of what process was followed and what

4      was ultimately done, so I'm afraid I -- I can't

5      answer that question.                                              07:55:16

6           Q.      (By Mr. Loeser)     Okay.    Let's go to the

7      next slide.

8                   And, Mr. Cross, the slide we just looked

9      at referred to a one-slide template.           And this is

10     the next page.     At the top it says "Example product             07:55:25

11     template."

12                  Do you see that?

13          A.      I do see that.

14          Q.      And this was -- this was the template

15     that was designed for -- for the directors to make                 07:55:32

16     a

17

18                                          is that right?

19                  MR. SCHWING:     Outside the scope.

20     Object -- object to form.                                          07:55:52

21                  THE DEPONENT:     So, yeah, I -- I didn't

22     write this deck, and I haven't spoken to the

23     authors of this deck, so I can't confirm that

24     that's their intention.

25                  But it -- it seems to me to be a                      07:56:05

                                                                          Page 646

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1      reasonable interpretation that this is the                 07:56:08

2      one-slide template -- although the -- it's -- the

3      slide -- the slide prior links to one-slide

4      template.    It's not clear that that links to the

5      next slide or links to something else.                     07:56:19

6           Q.     (By Mr. Loeser)     Fair to say, though, if

7      the prior slide refers to a one-slide template and

8      this is, in fact, a one-slide template that this is

9      likely what the prior slide was referring to?

10                 MR. SCHWING:    Calls for speculation.         07:56:35

11     Outside the scope.

12                 THE DEPONENT:     Yeah, I can't confirm

13     that, but it's not an unreasonable interpretation.

14          Q.     (By Mr. Loeser)     Did Facebook use this

15     template?                                                  07:56:44

16          A.     I -- I do not know if Facebook used this

17     template, and -- and anything else would be --

18     would be speculating, which is inappropriate, I

19     think.

20          Q.     And looking at the template, it provides       07:57:01

21     a place for the director to fill in certain details

22     about the APIs and products that that director was

23     responsible for; is that right?

24                 MR. SCHWING:    Same objections.

25                 THE DEPONENT:     What I see on the slide is   07:57:20

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1      a range of -- of things.                                     07:57:21

2           Q.    (By Mr. Loeser)     Okay.     And these things

3      are details that, according to the prior slide,

4      were intended to be used by the director to

5                                                  , correct?       07:57:33

6                 MR. SCHWING:    Same objections.

7                 THE DEPONENT:     So I -- I'm, as I

8      testified previously, not able to confirm that this

9      template was -- was indeed used or for what

10     purpose.                                                     07:57:59

11                So it's -- it's hard for me to answer

12     that question.

13          Q.    (By Mr. Loeser)     Okay.     Well, let's just

14     look at the template and see what information,

15     according to this slide deck, the director was               07:58:06

16     going to provide in order to

17

18                Okay?   Is that fair?       Can we look at this

19     slide and walk through it?

20          A.    I'm happy to review the slide.                    07:58:24

21                MR. SCHWING:    Calls --

22                THE DEPONENT:     Sorry, Austin.

23                MR. SCHWING:    Calls for speculation.

24     It's outside the scope.

25          Q.    (By Mr. Loeser)     So the first, if you          07:58:32

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1      look at the right -- the right column, the first             07:58:33

2      box there is "sizing"; is that right?

3           A.     That's what's on the slide, yeah.

4           Q.     And the information that falls into that

5      category, there's three things.                              07:58:44

6                  The first is number of users, right?

7           A.     Again, that's what I see on the slide.

8           Q.     And the second is number of businesses?

9           A.     That's what I see on the slide.

10          Q.     And the third is number of apps?                 07:58:56

11          A.     That's what I see on the slide.

12          Q.     And so those are three details that the

13     director would provide to help

14                                                  -- right? --

15     according to this structure?                                 07:59:10

16                 MR. SCHWING:    Calls for speculation.

17     It's outside the scope.

18                 THE DEPONENT:     I'm not sure who is

19     intended to -- to fill in this -- this slide or --

20     or how this information would have been used.                07:59:27

21          Q.     (By Mr. Loeser)     Okay.    Well, let's go

22     back to slide 17 for a second.

23                 And you see the second bullet, it says --

24     and it's referring to directors:         "We will ask them

25     to make a                                                    07:59:40

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1                                      and to complete a           07:59:42

2      one-slide template

3

4                   So based upon this deck, does it appear

5      that the person who was intended by the author of           07:59:52

6      this deck that would complete the template was the

7      director, and the purpose of filling out the

8      template was to

9

10                  Isn't that -- isn't that right,                08:00:11

11     Mr. Cross?

12                  MR. SCHWING:    Same objections.

13                  THE DEPONENT:     I'm not sure it's -- I

14     don't think you can summarize the directors who

15     were -- expected to fill out this template.                 08:00:22

16          Q.      (By Mr. Loeser)     Well, can you read into

17     the record the second bullet.

18          A.      The second bullet is "We will ask them to

19     make a

20                             and to complete a one-slide         08:00:39

21     template

22

23          Q.      What do you interpret that to mean?

24                  MR. SCHWING:    Same objections.

25                  THE DEPONENT:     Again, like I don't feel I   08:00:54

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1      can give a -- an accurate company answer onto that.       08:00:56

2      From my experience being involved in these kinds of

3      things in the past, typically an engineering

4      manager or product manager or some other person

5      would be responsible for collecting the                   08:01:15

6      information.     It's possible that directors would

7      have done that work.     I -- I don't know how teams

8      were -- were expected to do this.

9           Q.   (By Mr. Loeser)     Let's look again at

10     the -- at the next page, and let's assume for the         08:01:33

11     moment this is the one-page template that is

12     referred to on the prior page.

13               We went through sizing.       The next

14     category of information says "metrics impact"; is

15     that right?                                               08:01:45

16          A.   That's what I see on the slide.

17          Q.   And the first item listed there is MAU;

18     is that right?

19          A.   That's what I see on the slide, right.

20          Q.   And what is MAU?                                08:01:56

21          A.   MAU, as I understand it, refers to

22     monthly active users.

23          Q.   Okay.     And the next is "MSI."

24               What is that?

25          A.   My understanding is that that refers to         08:02:05

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1      meaningful social interactions.                             08:02:07

2           Q.   What is that?

3           A.   Meaning social interactions is a -- is a

4      metric used to understand the engagement with

5      content posted to Facebook.                                 08:02:20

6           Q.   And how is it -- is it ranked or scored

7      somehow or...

8           A.   There's a way in which MSI is -- is

9      calculated.     I'm not an expert in it, in exactly

10     how it is calculated.                                       08:02:39

11          Q.   Why is it tracked?

12               MR. SCHWING:     Outside the scope.

13               THE DEPONENT:     I think it's -- it's one

14     of many measures of -- of engagement.        It's -- it's

15     one that the company has used previously to -- to           08:02:51

16     understand engagement as -- as a concept.

17          Q.   (By Mr. Loeser)     The next thing is "MBI."

18               What is that?

19          A.   I don't know what MBI stands for.

20          Q.   And the next item here is "revenue."              08:03:05

21               What does that stand for?

22               MR. SCHWING:     Outside of the scope.

23               THE DEPONENT:     Well, I think, again,

24     I'll -- don't want to give a company answer to

25     that, because I don't think it's -- I didn't write          08:03:20

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1      the slides.                                                08:03:23

2                 But in a personal capacity, I don't

3      "revenue" stands for anything.         It just means

4      revenue.

5            Q.   (By Mr. Loeser)     Okay.     And it says       08:03:27

6      "revenue attribution."

7                 So is the idea here, as for all of these

8      categories, that this is the revenue that would be

9      associated with the particular app that had access

10     to this API?                                               08:03:38

11                MR. SCHWING:    Calls for speculation.

12     Outside the scope.

13                THE DEPONENT:     I'm not sure what was

14     expected to be put in this slide.         It wouldn't be

15     related to -- to a specific app, no.                       08:03:54

16           Q.   (By Mr. Loeser)     What would it be related

17     to?

18                MR. SCHWING:    Same objections.

19                THE DEPONENT:     Again, I don't know what

20     it would be related to.      There's no detail here of     08:04:03

21     exactly what is expected in terms of attribution.

22     I would expect that would differ greatly based on

23     the API being assessed.

24           Q.   (By Mr. Loeser)     So can you tell me how

25     Facebook defines "revenue" for purposes of                 08:04:20

                                                                  Page 653

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1      completing this template?                                           08:04:25

2           A.      I can't explain what "revenue" means

3      in -- in this context.        I think that the -- the ask

4      here is -- is not documented, and I would be

5      speculating by -- by trying to -- trying to explain                 08:04:44

6      what -- what "revenue attribution" means.

7           Q.      And the next line here says "risk."

8                   Do you see that?

9           A.      I do see that.

10          Q.      And following down that row, it says "                 08:04:58

11

12                  Do you see that?

13          A.      I do.

14          Q.      What do you take that to mean?         How does

15     that relate to risk?                                                08:05:12

16                  MR. SCHWING:     Compound.    Vague.    Outside

17     the scope.

18                  THE DEPONENT:     So, again, in terms of

19     a -- I don't think I can give a company answer here

20     because I wasn't involved in writing this deck and                  08:05:20

21     haven't spoken to its authors.

22                  In -- my understanding is that it would

23     be a determination of whether or not the --

24                                                               defined

25     in some way which I have -- I have not -- have not                  08:05:37

                                                                           Page 654

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1      seen and is not defined specifically in this deck.                08:05:41

2           Q.    (By Mr. Loeser)     And does Facebook

3      consider APIs that emit PII as being more risky

4      than those that don't?

5                 MR. SCHWING:     Vague.   Outside the scope.           08:05:54

6                 THE DEPONENT:     I don't think -- I

7      can't -- again, can't give an answer on behalf of

8      the Facebook here.   I think they're -- again,

9      giving you my -- my take from a personal

10     perspective here, APIs that emit PII are certainly                08:06:10

11     worthy of -- of being rigorously understood.              But

12     there are also other APIs that -- that maybe don't

13     emit PII that would also be considered risky.              So I

14     don't think it's just PII.

15          Q.    (By Mr. Loeser)     You see the next item on           08:06:35

16     this template here, "Strategic Value"?

17          A.    I do see that.

18          Q.    And how does Facebook define "strategic

19     value" for purposes of deciding whether to continue

20     allowing access to private APIs?                                  08:06:51

21                MR. SCHWING:     Outside the scope.          Object

22     to form.

23                THE DEPONENT:     So as I said, I didn't

24     write this slide deck and haven't spoken to its

25     authors, so I can't understand what they were                     08:07:06

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1      referring to by this.        And I think as -- as we           08:07:08

2      discussed previously, there's no universal

3      understanding of what "strategic value" means, and

4      it likely differs between product group across the

5      company.                                                       08:07:26

6                   So I don't think there's a standard

7      definition I'm aware of that I could cite now.

8           Q.      (By Mr. Loeser)     So you recall from this

9      deck that the -- the template was intended to

10                                                                    08:07:41

11                                                   is that right?

12                  MR. SCHWING:     Object to form.      Misstates

13     testimony.     Outside the scope.

14                  THE DEPONENT:     So can you ask the

15     question again to make sure I understand what                  08:08:00

16     you're asking.

17          Q.      (By Mr. Loeser)     Yes.

18                  So you recall from this deck that the

19     template was intended to

20                                                                    08:08:07

21                         is that right?

22                  MR. SCHWING:     Same objections.

23                  THE DEPONENT:     Again, my understanding is

24     that from -- from reading this is that this was

25     designed to capture information to help inform a               08:08:21

                                                                      Page 656

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1      decision.                                                   08:08:26

2           Q.     (By Mr. Loeser)     And so in connection

3      with the deciding

4                            Facebook identified whether

5      there was a strategic value associated with the API         08:08:36

6      or product, right?

7                  MR. SCHWING:    Same objections.

8                  THE DEPONENT:     I -- I don't know how

9      these decisions were -- were made.         And we're

10     looking at a sample template here that -- that may          08:08:50

11     have been filled in in a bunch of different ways.

12     So I -- I couldn't -- I don't feel I could answer

13     on how this information was used.

14          Q.     (By Mr. Loeser)     Who at Facebook would be

15     able to answer that question?                               08:09:13

16                 MR. SCHWING:    Calls for speculation.

17                 If you know, go ahead and answer.

18                 THE DEPONENT:     Yeah, I -- I don't know

19     who at Facebook would -- would be able to answer

20     that question.                                              08:09:25

21          Q.     (By Mr. Loeser)     This assessment that is

22     discussed in this deck assessed APIs that emitted

23     friend data, among other APIs; is that right?

24          A.     I'm not -- I'm not sure exactly which --

25     what this -- what this covered.         So, again, I -- I   08:09:58

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1      can't confirm which APIs were covered by this.                08:10:03

2                   Oh, yeah.   If this covers all APIs in

3      platform products, again, that's what it says in

4      this slide.     But, again, I don't know exactly what

5      was -- what was covered by this -- by the process             08:10:17

6      articulated in this deck.

7           Q.      And based upon this process articulated

8      in the deck, was the result a decision to whitelist

9      APIs or -- or products?

10          A.      Sorry.   Can you ask the question again.         08:10:56

11     I'm not sure I understood.

12          Q.      Sure.

13                  This deck describes a process that

14     involves a one-page template that provides details

15     about a product or API that's provided by the                 08:11:04

16     director associated with that product or API, and

17     the template was then

18                                                  ; is that

19     right?

20                  MR. SCHWING:    Lacks foundation.      Outside   08:11:22

21     the scope.

22                  THE DEPONENT:    I'm not -- again, I'm not

23     confident in this -- I'm not expert in -- in -- in

24     this process or how it was followed or the

25     decisions that were taken as a result of this                 08:11:36

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1      process.                                                    08:11:38

2              Q.   (By Mr. Loeser)     Okay.    Based upon your

3      preparation for your testimony today, can you tell

4      me whether for products or APIs that Facebook

5      decided to retain through this process, would that          08:11:51

6      result in a whitelist for that product or API?

7                   MR. SCHWING:     Object to form.

8                   THE DEPONENT:     It -- I -- I don't know

9      whether or not -- what -- what the result of this

10     process would have been and what the -- the                 08:12:12

11     specifics as to what happened next likely depended

12     on a number of factors that I -- that I'd be

13     speculating about.     So it's hard -- hard to give an

14     answer.

15                  I don't know exactly what happened in          08:12:26

16     these decisions and what the resulting results

17     were.

18             Q.   (By Mr. Loeser)     Who at Facebook would

19     know whether the result of this process was a

20     whitelisting decision?                                      08:12:38

21             A.   I don't know who at Facebook would --

22     would -- would know the answer to that question.

23             Q.   If you go to the next exhibit.

24                  MR. LOESER:     We're going to pull up the

25     next exhibit.     Exhibit 29.                               08:13:12

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1           Q.   (By Mr. Loeser)     Mr. Cross, I'm showing      08:13:45

2      you what's been previously marked as Exhibit 29,

3      which is an email from Jackie Rooney to the

4      management team dated March 22nd, 2018.

5                Do you see that?                                08:14:03

6           A.   I see that.

7           Q.   And the "to" says "M Team."

8                Is that the management team?

9           A.   Yes, that would be Facebook's executive

10     management team.                                          08:14:11

11          Q.   And you see the subject is "Q&A briefing

12     for March 23, 2018"?

13          A.   I see that, yeah.

14          Q.   And are Q&A briefings something that

15     happened regularly at Facebook?                           08:14:29

16          A.




20          Q.   Mr. Cross, take a minute and -- and             08:14:44

21     review this -- this email, if you would.

22          A.   I will do.     Thank you.

23               MR. SCHWING:     Mr. Loeser, is this a

24     document that you provided us notice with in

25     advance of this depo?                                     08:15:35

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1                   MR. LOESER:     Yes.     We can double-check    08:15:36

2      right now.

3                   THE DEPONENT:     Okay.     Yes, I have

4      reviewed the document.

5           Q.      (By Mr. Loeser)        Now, this Q&A briefing   08:16:07

6      discusses the Cambridge Analytica events; is that

7      right?

8           A.      I see Cambridge Analytica mentioned a

9      couple of times or -- or once in the document.

10          Q.      Do you recall other Q&A briefings in            08:16:22

11     which Cambridge Analytica was discussed?

12                  MR. SCHWING:     I'm going to state for the

13     record that I don't believe that this was noticed

14     as a document that we were going to be providing

15     testimony on today.                                          08:16:33

16                  So, Mr. Cross, it may have been provided

17     earlier.

18                  I just want to make sure Mr. Cross has

19     the opportunity to -- to take a look at it.

20                  MR. LOESER:     Well, yeah.     It was          08:16:47

21     provided.     I don't know if it was provided for

22     today.     There was a subset of documents --

23                  MR. SCHWING:     Yeah.

24                  MR. LOESER:     -- it wasn't.

25                  MR. SCHWING:     I think Mr. Melamed            08:16:55

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1      indicated -- and I don't want to take much time on        08:16:56

2      this -- indicated that the only documents we needed

3      to be ready on were the ones that he identified in

4      his email.

5                   So, Mr. Cross, it's -- I'll allow the        08:17:03

6      questioning on it.

7                   I just want to make sure Mr. Cross has an

8      opportunity to review it, since it wasn't

9      identified.

10                  So, Mr. Cross, just let us know when         08:17:12

11     you're ready and we'll continue.

12                  MR. LOESER:    And for the record,

13     Mr. Melamed identified the documents that were

14     subject to the notices for which he was

15     responsible.     We previously provided Mr. Cross with    08:17:20

16     a series of documents for his examination, and this

17     was included.

18                  MR. SCHWING:    Okay.   Well, I don't want

19     to take up too much time here.

20                  We also received notice with respect to 6    08:17:30

21     and 7.     There's no problem with asking questions

22     about it.     It's fine.    We'll just --

23                  Go ahead and take your time, Mr. Cross,

24     to look at it, and then when you're ready, just let

25     us know.                                                  08:17:41

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1                 THE DEPONENT:     Yeah.     Please -- please     08:17:48

2      ask your questions, Mr. Loeser.

3           Q.    (By Mr. Loeser)     Sure.     If we go down

4      this briefing to the heading "Suggested Guidance."

5                 Do you see that?                                 08:17:57

6           A.    I do see that.

7           Q.    And it says "Q1:     What is the message we

8      would like to send out from employees to their

9      friends and family

10                                                                 08:18:12

11                Do you see that?

12          A.    I see that.

13          Q.    And can you read the second bullet.

14          A.    The second bullet is

15                                                                 08:18:29

16

17

18          Q.    Okay.   And can you read the next bullet

19     as well.

20          A.                                                     08:18:39

21

22

23

24          Q.    And what are the                being referred

25     to here?                                                    08:18:54

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1                 MR. SCHWING:    Object to the form.            08:18:57

2      Outside the scope.

3                 THE DEPONENT:     I couldn't comment on --

4      I'm not sure I -- I can comment on what -- what

5      this is referring to from a company's perspective.        08:19:07

6      I haven't -- I haven't prepared -- it's not

7      something I'm an expert on in terms of -- the comms

8      work around this at the time.

9           Q.    (By Mr. Loeser)     Well, Mr. Cross, I'm

10     asking you as Facebook's 30(b)(6) designee what           08:19:23

11     Facebook means by "              in this context.

12                Are you prepared to answer that question?

13          A.    No, I'm not sure --

14                MR. SCHWING:    Objection.

15                THE DEPONENT:     Sorry.                       08:19:34

16                MR. SCHWING:    Outside the scope of topics

17     6 and 7.

18          Q.    (By Mr. Loeser)     Mr. Cross, did the

19

20                                                               08:19:44

21          A.    I'm -- I'm not sure, again, I can comment

22     on what -- what is meant here by the term

23

24          Q.    And, Mr. Cross, did the

25                                                               08:20:00

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1                                                                    08:20:03

2

3           A.    I don't think I can comment on what --

4      what's being referred to by -- by the word

5      "           here.                                             08:20:11

6           Q.    So who at Facebook can provide the answer

7      to the questions I just asked?

8                 MR. SCHWING:     Calls for speculation.

9                 THE DEPONENT:     Yeah, I -- I couldn't give

10     you the name -- like a name of somebody that --               08:20:25

11     that would be able to answer that question.

12          Q.    (By Mr. Loeser)     Does Facebook believe

13     that telling users that apps would no longer be

14     able to obtain friend data while continuing to

15     allow a number of apps to do just that was a                  08:20:39

16     mistake?

17                MR. SCHWING:     Object to form.

18                THE DEPONENT:     Yeah, I don't feel I can

19     comment on the -- the terminology                  and what

20     Facebook meant by it.      It's not something I'm an          08:20:56

21     expert in, I'm afraid.

22          Q.    (By Mr. Loeser)     Are you prepared to

23     answer that question today, Mr. Cross?

24                MR. SCHWING:     Object to form.

25                THE DEPONENT:     I don't -- I don't feel          08:21:05

                                                                     Page 665

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1      I'm able to answer that question on behalf of the              08:21:07

2      company, no.

3              Q.   (By Mr. Loeser)     Does Facebook believe it

4      was a breach of user trust to tell users that apps

5      would no longer be able to obtain friend data while            08:21:14

6      continuing to allow a number of apps to do just

7      that?

8                   MR. SCHWING:    Object to form.       Outside

9      the scope.

10                  THE DEPONENT:     Again, I'm not an expert        08:21:25

11     in what is meant by the phrase "                    here or

12     what the company is referring to and -- and

13     specifically what -- what is meant by that phrase.

14     So I'm afraid I don't feel I can answer that

15     question on behalf of the company.                             08:21:40

16             Q.   (By Mr. Loeser)     Mr. Cross, what is the

17                          referred to in this employee

18     communications sent by the management team?

19                  MR. SCHWING:    Same objections.

20                  THE DEPONENT:     I don't feel I can comment      08:22:02

21     on -- on what's meant by                             here on

22     behalf of the company.       That's a -- that's a --

23     that's a term I like -- that could mean several

24     things that I -- I don't feel prepared to -- to

25     opine on.                                                      08:22:21

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1           Q.      (By Mr. Loeser)     And, Mr. Cross, what        08:22:24

2      does -- what does Facebook believe

3                means in this context?

4                   MR. SCHWING:    Outside of the scope of the

5      witness.     Object to form.                                 08:22:34

6                   THE DEPONENT:     Again, this -- the framing

7      here is not something I'm an expert in, and so I

8      don't feel I can answer on behalf of the company.

9           Q.      (By Mr. Loeser)     Mr. Cross, what is

10     Facebook's position on whether there was a                   08:22:50

11

12                  MR. SCHWING:    Object to form.       Outside

13     the scope.

14                  THE DEPONENT:     So, again, I don't think

15     I -- I -- this -- the communications here and                08:23:03

16     the -- the terminology here is not something I'm --

17     I'm an expert in.     And I -- I don't feel prepared

18     to -- I don't feel I'm able to give an answer on

19     behalf of the company there.

20          Q.      (By Mr. Loeser)     Mr. Cross, what is          08:23:20

21     Facebook's position on whether mistakes were made

22     by Facebook in connection with the deprecation of

23     friend data?

24                  MR. SCHWING:    Object to the scope.

25     Outside the scope.     Object to form.                       08:23:34

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1                THE DEPONENT:     So, again, I don't -- I        08:23:41

2      don't feel like -- like I don't feel this an area

3      of expertise of mine, and therefore I -- I don't

4      feel able to provide an answer on behalf of the

5      company as to specifically what's meant by that --         08:23:51

6      by that phrase.

7           Q.   (By Mr. Loeser)        Mr. Cross, we're going

8      to introduce as an exhibit interrogatory responses

9      by Facebook.

10               MR. LOESER:     And for the record, this is      08:24:11

11     Defendant Facebook, Inc.'s second amended responses

12     and objections to plaintiff's fourth set of

13     interrogatories.

14               It's a long document, and I'm only going

15     to ask you questions about specific pages, so              08:24:26

16     there's -- we don't spend a lot of time reviewing

17     the 460 pages that are about to become an exhibit.

18               MR. SCHWING:     Derek, what's the -- is

19     there an exhibit number for this one?

20               MR. LOESER:     Yes.     It's Exhibit 128, and   08:25:09

21     the date of the verification for the responses is

22     February 11th, 2021.     These were verified by Steven

23     Elia and also by the person we've been referring to

24     as KP.

25          Q.   (By Mr. Loeser)        Mr. Cross, your notes     08:25:33

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1      that you produced following the first day of your                 08:25:34

2      testimony referred to Facebook's interrogatories

3      responses.

4                      Do you recall that?

5              A.      I don't recall that.      Let me -- let me        08:25:52

6      review.        Can you point to the thing that you're

7      referencing there?

8              Q.      In your notes?

9              A.      Yeah.

10             Q.      I can.   I will have to take a moment to          08:26:17

11     go find the notes, but -- but I can do that as

12     well.        Bear with us.

13                     While we're looking for that, have you

14     reviewed these signed interrogatories responses

15     previously, Mr. Cross?                                            08:26:46

16             A.      I have -- I have -- I have seen this

17     document before, but it's extremely long.               I've --

18     I've looked at some parts of it.             I couldn't say

19     I've read every word.

20             Q.      And did you have any role in -- in                08:26:59

21     providing these responses?

22             A.      No, I do not recall having any -- any

23     role in -- in providing these responses.

24                     MR. LOESER:     We put your Exhibit 335 up.

25                     THE DEPONENT:     Thank you.                      08:27:18

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1                   MR. LOESER:    In reference to your --              08:27:18

2           Q.      (By Mr. Loeser)     Okay.    Under "Other

3      Capabilities" at the end of the page, there is a

4      quotation:     "The vast majority of capabilities that

5      allowed access to private APIs did not enable                    08:27:29

6      third-party apps to access user data."

7                   That -- that is a statement made in

8      interrogatories.      Is that where you obtained the

9      statement?

10          A.      I -- I couldn't confirm where I pulled              08:27:43

11     that statement from.       It's their -- it's their

12     attribution.     If it's -- if it's in the

13     interrogatory responses, it's possible -- it's

14     likely that that's -- that's where I took it from,

15     but I couldn't be 100 percent certain.                           08:27:57

16          Q.      Okay.   Thank you for that.

17                  We can go to page 63 of the interrogatory

18     responses.

19                  And this is -- the numbering Facebook

20     used is a little odd.       This says "Response No. 77."         08:28:16

21     However, if you go back to page 60, this is

22     Facebook's response to interrogatory No. 14.               I'm

23     just saying that for the record.

24                  So we're back on Exhibit 128.         We're

25     looking at Facebook's response to interrogatory                  08:28:34

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1      No. 14, which starts on page 60.      And on page 63,     08:28:36

2      under the heading "Response No. 77," Facebook

3      provides a definition for "integration partner."

4                So if you could look at the paragraph

5      under Response No. 77, and I'll read what matters,        08:29:03

6      and then we can look at some more specific

7      responses here.

8                Facebook writes "'Business partners' is

9      not a term of art used within Facebook used to

10     describe third parties to whom Facebook outsourced        08:29:18

11     the time, labor, and money required to build

12     Facebook's platform from different devices and

13     operating systems pursuant to integration

14     partnerships.

15               "To avoid confusion, Facebook will refer        08:29:31

16     to these entities as 'integration partners.'

17     Facebook's integration partners are companies

18     Facebook engaged to build integrations for a

19     variety of devices, operating systems, and other

20     products where Facebook and its partners wanted to        08:29:45

21     offer people a way to receive Facebook or Facebook

22     experiences.    These integrations were built by

23     Facebook partners for Facebook users that are

24     approved by Facebook, and they included."

25               Did I read that accurately?                     08:29:58

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1           A.      I think you read that accurately.                    08:30:00

2           Q.      Okay.   And there are --

3                   MR. SCHWING:     I'm sorry, Mr. Loeser.

4      Just this is another document that wasn't

5      identified for this session.                                      08:30:07

6                   So, Mr. Cross, I know it's a long

7      document.     You certainly don't need to look at the

8      whole thing.     But I think it's appropriate for you

9      to take a look at it and make sure for -- you're

10     ready to testify on it.                                           08:30:20

11                  You know, let's not take too long, but do

12     please take a look and then can you answer

13     questions about it.

14                  MR. LOESER:     Why don't we go off the

15     record for a second.                                              08:30:34

16                  MR. SCHWING:     Okay.

17                  THE VIDEOGRAPHER:        Okay.     Off the record.

18     It's 8:48 p.m.

19                  (Recess taken.)

20                  THE VIDEOGRAPHER:        We're back on the           08:45:55

21     record.     It's 9:04 p.m.

22                  (Discussion off the stenographic record.)

23          Q.      (By Mr. Loeser)     Okay.        So back on the

24     interrogatory responses and looking at page 63, and

25     Facebook has defined "integration partners" in this               08:47:11

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1      response, and it gives four examples of integration        08:47:14

2      partners that are reflected in the bullets on this

3      page and the following pages.

4                  And those four examples are

5                                                                 08:47:23

6

7                  Are there other types of integration

8      partners at Facebook?

9                  MR. SCHWING:    Outside the scope.

10                 THE DEPONENT:     I'm not sure if -- I'm not   08:47:45

11     if there -- if there are other things that may have

12     been called "integration partners" at various

13     times.    So I'm -- I'm not -- I'm not sure, I'm

14     afraid.

15          Q.     (By Mr. Loeser)     Is -- does Facebook have   08:48:01

16     the -- what does Facebook mean by "integration

17     partner"?

18                 MR. SCHWING:    Outside the scope.

19                 THE DEPONENT:     So I'm -- "integration

20     partners" is defined here.       But I think -- I'm not    08:48:20

21     able to give a definition beyond what's in this --

22     in this document.

23          Q.     (By Mr. Loeser)     Okay.    Are there any

24     other types of partner that you consider or that --

25     strike that.                                               08:48:35

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1                 Are there any types of partners that              08:48:35

2      Facebook considers an integration partner other

3      than what's listed in this interrogatory response?

4                 MR. SCHWING:    Object to the form.

5      Outside the scope.                                           08:48:46

6                 THE DEPONENT:     So I think it -- in terms

7      of like Facebook's definition of it, I think it's

8      hard -- hard for me to give anything.         I don't feel

9      I'm able to give anything beyond -- beyond what's

10     in this document.                                            08:49:01

11                What I can say, though, more generally is

12     you -- at various times, any integration -- an app

13     that uses the Facebook developer platform could be

14     termed an integration, and there were entities that

15     would be referred to as -- as -- as partners that            08:49:19

16     had integrations that might not meet the -- the

17     definition "integration partners" as per this --

18     this document.

19                So it's just -- just in terminology used,

20     I think there is a way to interpret that more                08:49:37

21     broadly.

22          Q.    (By Mr. Loeser)     Okay.    So what types of

23     partners would you add to this list if you were to

24     include those that we just mentioned?

25                MR. SCHWING:    It's outside the scope.           08:49:54

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1      It's vague.                                                08:49:55

2                   THE DEPONENT:     Yeah, I wouldn't -- I

3      don't think I can give a -- a Facebook

4      determination of -- of a company like determination

5      of -- of an answer to that question.                       08:50:06

6                   But, again, kind of a personal

7      perspective with my experience working on this

8      stuff, I might -- I might have used the phrase

9      "integration partner" or "partner integration" or

10     "partner" or "integration" to at times refer to            08:50:25

11     other applications that were integrated with

12     Facebook that weren't on this -- on this definition

13     list.

14             Q.   (By Mr. Loeser)     Is every integration

15     partner under contract with Facebook?                      08:50:46

16             A.   When you say --

17                  MR. SCHWING:     Yeah, sorry.

18                  Objection.     It's vague.    Outside the

19     scope.

20                  THE DEPONENT:     When you say "integration   08:50:57

21     partner," do you mean integration partners as -- as

22     defined in this document?

23             Q.   (By Mr. Loeser)     I mean integration

24     partners as that term is used by Facebook.

25                  MR. SCHWING:     Objection.                   08:51:13

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1                   THE DEPONENT:     Yeah, no --                      08:51:14

2                   MR. SCHWING:    Vague and outside the

3      scope.

4                   Mr. Cross, I know this is challenging.

5      It's also getting late in the day for you.                But   08:51:17

6      just give me a second to -- to state an objection.

7      Thank you.

8                   THE DEPONENT:     Of course.     My apologies.

9                   I -- I don't know whether or not every --

10     every entity determined here as integration                     08:51:34

11     partners has a contract with Facebook, I'm afraid.

12          Q.      (By Mr. Loeser)     Let's go to the next --

13     if you go to page 65, you'll see that -- I'll start

14     at the bottom of page 64.

15                  Facebook writes "Below is a list of                08:51:51

16     Facebook's integration partners during the relevant

17     time period asserted by plaintiffs.           For

18     information related to the period during which each

19     integration partner was active, Facebook directs

20     plaintiffs to Facebook's responses to Interrogatory             08:52:05

21     No. 15.   The lack of an access revocation date does

22     not signify that such access was never revoked or

23     otherwise terminated."

24                  Do you see that language?

25          A.      I see that, yeah.                                  08:52:19

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1           Q.   And then do you see over pages 65 and 66         08:52:20

2      and 67 a list of entities that Facebook has

3      identified as integration partners?

4           A.   I see that list of entities that Facebook

5      has identified as integration partners in this             08:52:37

6      document, yes.

7           Q.   Okay.    And just is -- as Facebook's

8      corporate designee, can you tell me whether this

9      list is a complete list of all of Facebook's

10     integration partners?                                      08:52:50

11               MR. SCHWING:    Outside of the scope.

12               THE DEPONENT:     I can't comment on

13     what's -- what's beyond what's in this document.       I

14     think this defines "integration partners" a certain

15     way and than -- and than gives a list, and I don't         08:53:08

16     think I have anything I can add beyond that.

17          Q.   (By Mr. Loeser)     Did all of these

18     integration partners have access to friend data

19     through private APIs?

20          A.   I don't know if all of these entities had        08:53:28

21     access to -- to friends data through private APIs.

22          Q.   Facebook knows the answer to that

23     question, right?

24          A.   I -- I'm not sure if Facebook knows

25     whether or not each of these had access to friend          08:53:52

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1      data.        It's -- it's possible Facebook knows, but      08:53:55

2      I -- I'm not sure of how -- of giving sort of an

3      answer to that question.

4              Q.      Okay.   Let's look at page 68, which has

5      Interrogatory No. 15.                                       08:54:14

6                      And you'll see that on page 72 -- again

7      you'll have to -- I'll represent to you that

8      despite the numbering on page 72 which says

9      Response No. 78, this is Facebook's response to

10     Interrogatory No. 15.          And I'll read the first      08:54:43

11     paragraph here and then I have a few questions to

12     ask you.

13                     This states:    "With regard to the APIs

14     Facebook's integration partners had access to,

15     Facebook has provided a table identifying by                08:54:59

16     integration partner the APIs that may have allowed

17     each integration partner to query (but were not

18     necessarily -- but would not have necessarily

19     returned) endpoints associated with users friends'

20     data fields during the relevant time period, their          08:55:18

21     associated apps, the date ranges during which they

22     were active, and the data fields associated with

23     the APIs they had access to."

24                     Did I read that correctly?

25             A.      You read that correctly.                    08:55:30

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1           Q.   Now, where this says that the APIs that              08:55:34

2      may have allowed each integration partner to query,

3      but would not have necessarily returned

4      endpoints --

5                Do you see that?                                     08:55:45

6           A.   I see that language.

7           Q.   Does Facebook have information on whether

8      particular data fields available to apps were

9      actually accessed or collected by apps?

10               MR. SCHWING:     Objection.    Vague.                08:55:58

11               THE DEPONENT:     Can you help me understand

12     the -- the time period you're referring to here?

13          Q.   (By Mr. Loeser)     Let's talk about the

14     time period 2015 to the present.

15          A.   So my understanding is that today,                   08:56:16

16

17

18     system came into existence in around 2020.             Prior

19     to that, Facebook had an

20                                                                    08:56:48

21

22

23

24          Q.   And as to the --

25                                                                    08:57:11

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1                                                                    08:57:12

2

3

4

5                                                                    08:57:32

6           A.    Yes, there were mechanisms in place to --

7                                                         .    But

8      exactly what was

9                           is -- is -- is complicated to

10     explain and -- and not something I can fully                  08:57:53

11     explain.

12          Q.    And is it your understanding that the

13                                         previously?

14                MR. SCHWING:    Objection.     Vague.

15                THE DEPONENT:     When you say "previously,"       08:58:10

16     do you mean before 2020?

17          Q.    (By Mr. Loeser)     Right.

18          A.    I -- the -- the -- my point is around

19     the -- the retention time window.        So my

20     understanding is                                         --   08:58:28

21

22

23          Q.    And do you have a general understanding

24     of the time -- what was Facebook's retention policy

25     for that information?                                         08:58:48

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1                   MR. SCHWING:    Outside the scope.             08:58:52

2                   THE DEPONENT:     I don't know what

3      Facebook's retention policy was for -- for that

4      information.     There were various ways in which that

5      information was -- was stored and aggregated and            08:59:04

6      retain over time.

7             Q.    (By Mr. Loeser)     And you said that the --

8      what

9

10                  MR. SCHWING:    Object to form.                08:59:21

11                  THE DEPONENT:     My understanding is there

12     were mechanisms in place that could be used to

13

14

15                                                                 08:59:41

16                                          that -- that that

17     would entail.

18            Q.    (By Mr. Loeser)     And were there instances

19     in which that was

20                                                                 08:59:55

21            A.    I don't know whether or not that

22

23                         I'm -- I'm not aware of the

24     specifics.

25            Q.    And who would you ask to answer that           09:00:10

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1      question?                                                          09:00:11

2           A.      I would attempt to speak to someone on

3      the platform engineering team to -- to determine if

4      there is -- was such a facility and if there are

5      records of when it was used.                                       09:00:27

6           Q.      You used the expression "source of truth"

7      before.     Is there a person who would be the source

8      of truth for that information.

9                   MR. SCHWING:    Calls for speculation.

10                  THE DEPONENT:     Excuse me.                          09:00:41

11                  There's likely no one person that's the

12     source of truth.      There are people that have

13     knowledge of how these systems worked who might be

14     able to shed light on it.        So I think that's -- the

15     best we'd have.                                                    09:01:00

16          Q.      (By Mr. Loeser)     Okay.    Now, post 2020,

17     you testified that




                   is that right?

20          A.      That's my understanding --                            09:01:14

21                  MR. SCHWING:    Hold on --

22                  THE DEPONENT:     I keep doing that.         Sorry,

23     Austin.     You go.

24                  MR. SCHWING:    I think it misstates his

25     testimony -- well, it may mistake his testimony.                   09:01:23

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1                  If you could ask that question again just         09:01:25

2      to make sure it's clear, that would be very

3      helpful, I think.

4                  MR. LOESER:   I'll just ask another

5      question.                                                     09:01:33

6           Q.     (By Mr. Loeser)     So for those -- so post

7      2020, there are apps that -- I'm sorry.           There are

8      APIs that emit some friend data; is that right?

9           A.     I don't -- I can't comment on which APIs

10     exist post 2020 and the information that's emitted.           09:01:54

11          Q.     Facebook knows whether there are APIs

12     post 2020 that emit friend data?

13          A.     My understanding is that --

14                 Can you help me understand what you mean

15     by "friend data"?                                             09:02:10

16          Q.     Data about users' friends.

17          A.     When you say "data about users' friends,"

18     could you -- could you be more specific?

19          Q.     I feel like we've had this conversation.

20     But I'm asking about Facebook's understanding of              09:02:27

21     the term "friend data," which is used repeatedly

22     and extensively throughout Facebook's records.

23                 And I'm simply asking you in the system

24     that became operative in 2020 if Facebook can

25     identify those APIs that emit friend data, using              09:02:44

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1      Facebook's definition of "friend data."                        09:02:50

2                  MR. SCHWING:      Object to form.

3                  THE DEPONENT:      My understanding is there

4      is a

5                                                                     09:03:04

6

7

8

9                  MR. LOESER:      Flip forward many pages in

10     these interrogatories to page 355.          And you'll see     09:03:25

11     that Interrogatory No. 27 is -- asks Facebook to

12     "identify by name and time period all third parties

13     to whom Facebook granted whitelisted access, the

14     time period of the grant of whitelisted access, and

15     the third parties for which such access was                    09:03:54

16     granted."

17                 Do you see that?

18            A.   Yeah.   Can you just give me a few minutes

19     to read around this -- this area.

20            Q.   Sure.                                              09:04:03

21            A.   Okay.   Sorry.

22                 Do you -- do you have a question?

23                 (Discussion off the stenographic record.)

24            Q.   (By Mr. Loeser)      So I'm referring you to

25     page -- the page we're looking at, 358.            I'm going   09:05:39

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1      to read the first paragraph.      The first -- second     09:05:43

2      paragraph below response No. 87.

3                  Facebook indicates "The first list below

4      consists of apps that requested and were given

5      permission by the app user to access friend               09:05:55

6      permissions at some point during the app's

7      existence and were given a one-time extension

8      allowing them to continue to access the field

9      available through Graph API v1 (potentially

10     including friend data) after the deprecation of           09:06:10

11     Graph API v1 in May 2015.




15                 Do you see that?                              09:06:23

16            A.   I see that.

17            Q.   So Graph API version 1 was deprecated in

18     May of 2015; is that right?

19            A.   Facebook began removing access to Graph

20     AP v1 for applications beginning in April 2015, and       09:06:41

21     that process continued for -- for most applications

22     into -- into May 2015, as I -- as I understand it,

23     yes.

24            Q.   And so if an extension went past

25     December 2015, the extension must have been for           09:07:00

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1      more than six months after Graph API version 1 was           09:07:03

2      implemented, right?

3             A.     Sorry.    Can you say that again.

4             Q.     Sure.

5                    You just indicated that the -- the             09:07:15

6      deprecation occurred in May of 2015.           That's when

7      that process was completed.

8                    This answer indicates that extensions

9      were for less than six months with one exception,

10     and I'm just trying to understand the timeline.              09:07:29

11                   So if you go to December of 2015, that's

12     more than six months after May of 2015; is that

13     right?

14            A.     December is -- December 2015 is more than

15     six months after May 2015, yes.                              09:07:43

16            Q.     Okay.    So any extension that lasted past

17     December of '15 must have been more than six

18     months, right?

19            A.     I think -- I think that -- that's true,

20     yes.                                                         09:08:01

21            Q.     Let's take a look at -- if you will note

22     that starting on page 360 is the list referred to

23     in the paragraph I just read, and it's many, many

24     pages.      But I'll just have you pick any page,

25     frankly.      Let's take this page.                          09:08:19

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1                And if you look at the headers across the       09:08:21

2      top, there's -- there's a column for "Entity."

3                Do you see that?

4           A.   I see that.

5           Q.   And then "app name."                            09:08:33

6                Do you see that?

7           A.   I see that.

8           Q.   And "app creation date."

9                Do you see that?

10          A.   I see that.                                     09:08:39

11          Q.   And then "access end date."

12               Do you see that?

13          A.   I see that.

14          Q.   And then "friend permissions."

15               Do you see that?                                09:08:48

16          A.   I see that.

17          Q.   So I won't make you count them myself, so

18     you'll have to take my word, but I've gone through

19     this entire list and I've counted 15 different apps

20     for which the extension lasted beyond 2015.               09:09:01

21               As Facebook's corporate designee, could

22     you please explain to why this rog states there's

23     only one app that had an extension longer than six

24     months when, based on the information provided, it

25     appears that there were at least 15 apps that had         09:09:17

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1      extensions for more than six months?                             09:09:20

2                 MR. SCHWING:     Object to the scope.

3      Object to form.

4                 THE DEPONENT:     I don't -- I don't -- I'm

5      not able to -- to -- to -- I don't feel I can                    09:09:31

6      answer that question.      I'm not sure how this

7      information was -- was pulled or -- what it's

8      referring to or any -- or the caveats that may

9      be -- may be behind it.

10          Q.    (By Mr. Loeser)     Let's just pick one               09:09:47

11     example on page 360.      If you look at

12

13                Do you see that?

14          A.    I see that.

15          Q.    It says                                               09:10:06

16                Do you see that?

17          A.    I see that.

18          Q.    It says

19                Do you see that?

20          A.    I see that.                                           09:10:23

21          Q.    So that's access to these friend

22     permissions that was more than six months after the

23     deprecation of those permissions; is that right?

24                MR. SCHWING:     Outside the scope.          Object

25     to form.                                                         09:10:35

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1                   THE DEPONENT:     I -- as I say, like I'm       09:10:38

2      not an expert in -- in how this information was

3      pulled or -- or the caveats behind it or the -- or

4      the precise formulation of -- of the end date and

5      how that was determined, and so I don't feel I can           09:10:52

6      give an answer to that question, I'm afraid.

7           Q.      (By Mr. Loeser)     Why did Facebook allow

8      access to friend permissions for a number of these

9      apps into 2018?

10                  MR. SCHWING:    Object to form.       Outside   09:11:11

11     the scope.

12                  THE DEPONENT:     As I say, I'm -- I'm not

13     sure as -- as I don't know exactly how this list

14     was -- was pulled together and the caveats behind

15     the data, and so I'm -- I'm not sure I can give an           09:11:24

16     answer to that question, I'm afraid.

17          Q.      (By Mr. Loeser)     How did Facebook

18     determine whether and for how long to grant each of

19     the extensions identified on this list that lasted

20     more than six months?                                        09:11:38

21                  MR. SCHWING:    Same objections.

22                  THE DEPONENT:     Again, I'm not sure how

23     each of these extensions was -- was granted and why

24     the access end date is listed here is beyond --

25     beyond the six months or 12 months previously                09:12:01

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1      referred.                                                       09:12:03

2              Q.   (By Mr. Loeser)     What did you do as

3      Facebook's corporate designee to understand the

4      reasons why for a number of the apps on this list

5      the extensions lasted more than six months?                     09:12:16

6                   MR. SCHWING:    Object to scope.       Object to

7      form.

8                   THE DEPONENT:     I spoke to -- I reviewed

9      these -- these documents and I spoke to some of the

10     engineers in -- involved in how the platform was --             09:12:38

11     how whitelists were applied.         And that's what I did

12     to prepare for this.

13             Q.   (By Mr. Loeser)     Those efforts didn't

14     provide you with the information needed to answer

15     the questions I have asked about why these                      09:12:58

16     extensions lasted longer than six months, right?

17                  MR. SCHWING:    Same objections.

18                  THE DEPONENT:     As I say, I tried like --

19     I -- I don't have with me today an understanding

20     of -- of why the access end date is listed in 2018              09:13:19

21     for some of these applications.          So no, I don't

22     feel I can explain why that's listed in that column

23     here.

24             Q.   (By Mr. Loeser)     Let's go to page 372.

25     And this page identifies the second list that was               09:13:36

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1      referenced in Facebook's response to interrogatory          09:13:42

2      No. 27, and I will read the description of the list

3      at the top, and then I have a few questions for

4      you.

5                  This states:     "The second list below         09:13:52

6      consists of third-party applications that had

7      access to capabilities which were associated with

8      private APIs that may have allowed third-party

9      application developers to query end points

10     associated with data fields associated with a               09:14:10

11     user's friends after the transition to Graph API

12     v2."

13                 Did I read that correctly?

14            A.   I -- you did read that correctly.

15                 Can I have a few minutes to -- to               09:14:23

16     understand the context here?

17            Q.   Yes, of course.

18                 MR. SCHWING:     Derek, would you remind me

19     what page you were reading from?

20                 MR. LOESER:     I was reading from page 372.    09:14:36

21                 MR. SCHWING:     Thank you.

22                 THE DEPONENT:     Okay.     I've had a chance

23     to read now.    Thank you.

24            Q.   (By Mr. Loeser)     Okay.     Sure.

25                 And so the description I just read is           09:15:46

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1      broken down into -- the list has several different             09:15:56

2      types of partner on it, and I'm just looking at

3      page 372.        This list includes integration partners.

4                      Do you see that?

5              A.      I see that, yeah.                              09:16:15

6              Q.      And it includes business integrations.

7                      Do you see that?

8              A.      I see that too, yeah.

9              Q.      What's the difference between a

10     integration partner and a business integration?                09:16:25

11                     MR. SCHWING:     Outside the scope.

12                     THE DEPONENT:     I'm not sure I can provide

13     anything more than -- is more than is included

14     here.        Integration partners use private APIs to

15     provide Facebook's services to users.                          09:16:47

16             Q.      (By Mr. Loeser)     And by --

17             A.      As an example.

18             Q.      I'm sorry.

19             A.      The example provided there is the

20     Facebook app on BlackBerry devices.                            09:16:58

21             Q.      Okay.   Previously you mentioned

22     integration partners or partners that had access to

23     the developer platform, right?

24                     MR. SCHWING:     Misstates testimony.

25     Object to form.                                                09:17:13

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1                  THE DEPONENT:     I would term any -- any     09:17:19

2      app that was using the Facebook developer platform

3      in -- in my explanation there, the Facebook

4      developer platform refers to the APIs and services

5      that were available to third-party developers, and        09:17:34

6      so integration partners would be using the -- the

7      Facebook developer platform.

8           Q.     (By Mr. Loeser)     And do business

9      integrations use the Facebook developer platform?

10          A.     Yes, I think it would be fair to say          09:17:50

11     business integration use the Facebook developer

12     platform.

13          Q.     Do media integrations use the Facebook

14     developer platform?

15          A.     I'm not sure what's meant by "media           09:18:04

16     integrations" here, but there may have been APIs

17     made available through the Facebook developer

18     platform for -- for media organizations.

19          Q.     And do search integrations use the

20     Facebook developer platform?                              09:18:20

21          A.     Again, I -- I would term that if they're

22     using APIs that that would be a part of the

23     Facebook developer platform.

24          Q.     And do beta test APIs use the Facebook

25     developer platform?                                       09:18:41

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1              A.      Yes, I -- I would term, again, here that             09:18:44

2      if -- if it's an API that's -- that's made

3      available by the Graph API, then I would have

4      considered that to be the Facebook developer

5      platform.                                                            09:18:57

6              Q.      If you go the next page.

7                      Do specialized consumer experiences use

8      the Facebook developer platform?

9              A.      Again, here I'm -- the Facebook developer

10     platform is a -- a term that I'm using here.                  I'm    09:19:12

11     not sure it's been defined anywhere -- anywhere

12     else.        So it's a term that I'm using here.

13                     So this -- these, to me, would include

14     things that -- that use the Facebook developer

15     platform, yes.                                                       09:19:34

16             Q.      Okay.   And -- so what is the distinction

17     from Facebook's perspective between integration

18     partners and business integrations?

19                     MR. SCHWING:    Outside the scope.          Object

20     to form.                                                             09:19:51

21                     THE DEPONENT:    I'm not confident in --

22     like I am not sure I can shed light on that beyond

23     what the definitions are -- are here.             Integration

24     partners are -- a defined -- defined in this

25     document and listed here, and business integrations                  09:20:12

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1      would be things other than those.                                     09:20:18

2              Q.      (By Mr. Loeser)     Does Facebook, the

3      company, have a -- an understanding of the

4      difference between integration partners and

5      business integrations?                                                09:20:30

6                      MR. SCHWING:    Outside the scope.           Object

7      to form.

8                      THE DEPONENT:     I'm not sure I can answer

9      that on behalf of the company beyond what's listed

10     here.        Integration partners have been -- a                      09:20:45

11     well-defined -- or defined in this document, but

12     business integrations is -- is defined here with

13     some illustrative examples.

14             Q.      (By Mr. Loeser)     So the list that's

15     provided after this information about different                       09:20:59

16     types of partners covers pages 377 to 460, and

17     these are "all of the -- all third-party

18     applications that had access to capabilities which

19     were associated with private APIs that may have

20     allowed third-party application developers to query                   09:21:24

21     endpoints associated with data fields associated

22     with the users' friends after the transition of

23     Graph API version 2."

24                     And you see if we go to page 377, at the

25     top there's a header line, and the first entry is                     09:21:39

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1      "name of application whitelisted for capability."         09:21:43

2                   Do you see that?

3           A.      I see that.

4           Q.      And there's a "capability name" column?

5           A.      I see that.                                  09:21:52

6           Q.      "Associated data."

7                   Do you see that?

8           A.      I see that.

9           Q.      And then "date access granted."

10                  Do you see that?                             09:21:59

11          A.      I see that.

12          Q.      "Date accessed revoked"?

13          A.      I see that.

14          Q.      And then it says "used since

15     October 2014."                                            09:22:06

16                  Do you see that?

17          A.      I see that.

18          Q.      And the last column is "10 or fewer

19     installs."

20                  Did I read that accurately?                  09:22:13

21          A.      You read that accurately.

22          Q.      So where was the information obtained

23     from to populate this list?

24                  MR. SCHWING:   Object to outside the

25     scope.                                                    09:22:29

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1                   THE DEPONENT:     I do not -- I don't know    09:22:32

2      specifically where the information -- like how --

3      how this table was populated, but what -- what I

4      can say more generally is that because this lists

5      capabilities, then the capability tool would have          09:22:47

6      been involved in -- in pulling this data.

7              Q.   (By Mr. Loeser)     And after 2020, was the

8      capability tool updated to have any information

9      about

                                                                  09:23:07

11             A.   Sorry.   Can you -- can you just ask that

12     again, because there's a detail in there I think

13     matters.

14             Q.   You mentioned that in 2020, a tool was

15     implemented that allowed Facebook to                       09:23:19

16

17

18             A.   My understanding is that in -- in 2020 a

19     tool was built that

20                                                                09:23:37

21

22             Q.   And what is that tool called?

23             A.   I'm not sure what -- what the tool is

24     called, but the -- my understanding is that the --

25     the                                                        09:23:55

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1           Q.    Could you spell that?                          09:24:00

2           A.

3           Q.    Okay.    And where are those tables

4      maintained?

5           A.    Sorry.    When you say "where," do you mean    09:24:10

6      physically or in which system?      How do you mean

7      "where"?

8           Q.    Are they Hive tables, or are they some

9      other type of table?

10          A.    My understanding is that they -- they          09:24:23

11     are -- they are stored in Hive, yes.

12          Q.    And could you query those tables to

13

14          A.    I couldn't query those tables, no.

15          Q.    Could somebody at Facebook query those         09:24:38

16     tables for that information?

17          A.    I presume so.    The tables exist, and some

18     people at the company would have -- have the

19     ability to query them.

20          Q.    If you had an apps user's ID or a              09:24:54

21     Facebook's user's ID, could you associate that

22     Facebook user with the friend data in that table?

23          A.    I'm not familiar with -- with a precise

24     schema of those tables and how they work, so I

25     don't want to speculate as to what is and isn't           09:25:12

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1      possible in using them.                                        09:25:16

2           Q.     Now, as we saw, this list that covers

3      pages 377 to 360 has a whole lot of apps

4      identified.    And when Facebook created these lists

5      in response to interrogatories 15 and interrogatory            09:25:35

6      27, did Facebook include entities that had access

7      to friend data through the Events API or the Pages

8      API or the Groups API or the Social Contexts API,

9      taggable friends, invitable friends, and user

10     posts?                                                         09:25:56

11                 MR. SCHWING:    Objection.     Outside the

12     scope.    Object to form.

13                 THE DEPONENT:     I'm not sure what -- I'm

14     not able to comment on what was and was not

15     included to -- to produce these -- these outputs.              09:26:07

16          Q.     (By Mr. Loeser)     Okay.    So if those APIs

17     had been included, would you expect to see them

18     identified somewhere in this list?

19                 MR. SCHWING:    Same objection.

20                 THE DEPONENT:     This list lists                  09:26:23

21     capabilities specifically, as I understand it.           And

22     so this is a




25          Q.     (By Mr. Loeser)     Okay.    This is a list,       09:26:47

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1      according to the description, of "third-party                09:26:48

2      applications that had access to capabilities which

3      were associated with private APIs that may have

4      allowed third-party application developers to query

5      endpoints associated with data field associated              09:27:00

6      with the user's friends," right?

7                MR. SCHWING:    Outside the scope.

8                THE DEPONENT:     I'm -- I'm sorry.          Not

9      following where you reading that from.

10          Q.   (By Mr. Loeser)     I'm back on page 372,          09:27:20

11     the description of the list.

12          A.   Cool.   Yeah.   Thank you.

13          Q.   Okay.   And that description, "third-party

14     applications that had access to capabilities which

15     were associated with private APIs that may have              09:27:37

16     allowed third-party application developers to query

17     endpoints associated with data fields associated

18     with the user's friends after the transition to

19     Graph API v2."

20               Do you see that description?                       09:27:51

21          A.   I see that description, yes.

22          Q.   And that description would apply to, for

23     example, the Groups API, right?

24               MR. SCHWING:    Outside the scope.

25               Go ahead.                                          09:28:01

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1                      THE DEPONENT:     So this is referring to             09:28:04

2      private APIs or capabilities that gate private

3      APIs.        And I'm not sure when this list was -- was

4      pulled, but the Groups API was -- was not a private

5      API.                                                                  09:28:20

6              Q.      (By Mr. Loeser)     And --

7                      So it was a public API?

8              A.      My understanding is that there was a

9      Groups and is a Groups API that was generally

10     available to -- to developers on the Facebook                         09:28:41

11     developer platform.

12             Q.      What about the social context API?           Is

13     that publicly available?

14             A.      The social context API was publicly

15     available.        It was -- it was later deprecated.              I   09:28:54

16     don't have the specific dates of that deprecation.

17             Q.      Okay.    So did it become a private API

18     after that?

19                     MR. SCHWING:    Object to form.

20                     THE DEPONENT:     I don't know how -- the             09:29:06

21     mechanism by which the social context API was

22     deprecated.

23             Q.      (By Mr. Loeser)     Has it been completed at

24     any point?

25             A.      Sorry.    I'm pausing to make sure -- give            09:29:20

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1      Austin time if he wants to interject.                               09:29:22

2                   I -- my -- I -- I can't confirm.             My --

3      completely.     My understanding that it has been

4      completely deprecated and no longer exists in any

5      form, but I'm not 100 percent sure of that.                         09:29:34

6              Q.   Okay.   And I read a list of different

7      APIs, and I'm going to read them again and you can

8      tell me if any of them fit the description for

9      what's supposed to be on this list.

10                  You mentioned the Groups API and you say               09:29:49

11     it's not a private API, so it wouldn't be on this

12     list.

13                  The Pages API?

14                  MR. SCHWING:     I'm going to object that

15     it's outside of the scope of the deposition.                        09:30:00

16                  THE DEPONENT:     Yeah, I think this is --

17     this going to be complicated, because there's --

18     again, trying to helpful here.         A phrase like "the

19     Pages API" could mean many different things.                There

20     are -- there are capabilities which modify the                      09:30:17

21     behavior of each of these APIs, and there are --

22     they're -- they're affected by permissions in

23     different ways.

24                  So I'm just adding that caveat, given the

25     questions you --                                                    09:30:33

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1           Q.      (By Mr. Loeser)     Let me try and make this    09:30:35

2      really simple.

3                   Facebook has created lists that

4      supposedly show all of the APIs and all of the apps

5      that got access to friend data, and I'm trying to            09:30:44

6      understand if, when Facebook created those lists,

7      it also included the series of APIs that you've

8      testified about that were not -- that didn't have

9      the word "friends" in them but also made friend

10     data available.                                              09:31:02

11                  And is there a list here or can -- well,

12     let's start with that.

13                  Is there any list provided by Facebook to

14     date that identifies the apps that had access to

15     these other APIs that we've talked about that                09:31:16

16     emitted friend data?

17                  MR. SCHWING:    Object to form.       Outside

18     the scope.

19                  THE DEPONENT:     So my understanding is

20     that these responses here are focused on either              09:31:28

21     private APIs that may have emitted friend data or

22     the friend permissions and the apps that had access

23     too friend permissions.

24          Q.      (By Mr. Loeser)     And so the APIs that

25     emit friend data that don't fall into those two              09:31:44

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1      categories are not covered by the disclosures made                09:31:46

2      by Facebook to date; is that right?

3                  MR. SCHWING:    Outside the scope of this

4      deposition.    Object to the form of the question.

5                  THE DEPONENT:     I don't know what's                 09:32:03

6      been -- what information -- I don't know the

7      totality of the information that's been provided to

8      date, so it's hard -- hard for me to comment on --

9      on that.

10                 The -- the information contained here is              09:32:12

11     focused on the -- the friend permissions and the

12     private APIs that may have enabled access to

13     additional friends information.

14          Q.     (By Mr. Loeser)     Okay.    So if the

15     plaintiffs in this case asked Facebook to provide a               09:32:27

16     list of all of the -- any other API that emitted

17     friend data that was not already covered by the

18     list we've just gone through, that is something

19     Facebook could do, right?

20                 MR. SCHWING:    Outside the scope.           Object   09:32:42

21     to the form.

22                 THE DEPONENT:     I'm not able to comment on

23     what -- on what Facebook can or can't do, given the

24     APIs and the -- the data retention information that

25     exists.    So it's hard for me to -- to know and                  09:32:57

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1      answer without whether or not that would be                        09:33:00

2      possible.

3              Q.   (By Mr. Loeser)     Mr. Cross, are all of

4      the -- the apps identified on this list cover or

5      covering pages 377, 460 considered strategic use                   09:33:18

6      cases?

7                   MR. SCHWING:    Outside the scope.           Object

8      to form.

9                   THE DEPONENT:     As we've talked about

10     here, there's -- there's no standard or formal                     09:33:37

11     definition for -- for what's considered a strategic

12     use case or a strategic partner.          So I -- I -- so

13     your question was -- sorry.         Ask -- I think your

14     question was is everything on this list considered

15     a strategic partner; is that --                                    09:33:56

16                  Sorry.   Let me say:     Can you ask your

17     question again, please?        Thanks.

18             Q.   (By Mr. Loeser)     Are all the apps

19     identified on this list considered a strategic use

20     case?                                                              09:34:09

21                  MR. SCHWING:    Same objections.

22                  THE DEPONENT:     So I -- there's no --

23     there's no standard or formal definition of what's

24     considered a strategic partner or a strategic use

25     case, so I couldn't comment on whether or not                      09:34:25

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1      everything on this list is therefore considered              09:34:26

2      strategic -- a strategic -- sorry -- is therefore

3      considered a strategic use case.

4           Q.      (By Mr. Loeser)     So does Facebook have a

5      record for each one of these apps of the reasons             09:34:35

6      why the app was allowed to continue having access

7      to friend data after 2015?

8                   MR. SCHWING:     Object to form.      Outside

9      the scope.

10                  THE DEPONENT:     I don't know what Facebook    09:34:54

11     has about each of these applications and -- and why

12     they continue to have access.         It's possible there

13     are records for some, but I -- I don't know if

14     there's a record for every single one.

15          Q.      (By Mr. Loeser)     Okay.    We can put that    09:35:42

16     document aside.

17                  (Exhibit 408 was marked for

18     identification by the court reporter and is

19     attached hereto.)

20                  MR. LOESER:     So I'm showing you an           09:36:26

21     exhibit which is Exhibit 408, which a

22     December 18th, 2018 Facebook Newsroom post.

23                  What is the Facebook Newsroom?

24                  THE DEPONENT:     The Facebook Newsroom is

25     Facebook's corporate blog.                                   09:36:44

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1           Q.   (By Mr. Loeser)     And is that a place         09:36:49

2      where Facebook employees provide information to

3      each other about Facebook products?

4           A.   No, I wouldn't characterize it as a -- a

5      way of Facebook employees providing information to        09:37:03

6      each other about Facebook's products.

7           Q.   Okay.   What is the purpose of the

8      Facebook Newsroom?

9           A.   My understanding is it's a public blog

10     that Facebook publishes blog posts publicly.              09:37:15

11          Q.   And this blog post by -- by KP is

12     captioned or titled "Let's clear up a few things

13     about Facebook partners," right?

14          A.   I see that.

15          Q.   And you see it's written by KP, director        09:37:38

16     of developer platforms and programs?

17               Do you see that?

18          A.   I see that, yeah.

19          Q.   So if we go down the blog a little bit.

20               KP writes:    "Today, we're facing              09:37:48

21     questions about whether Facebook gave large tech

22     companies access to people's information and, if

23     so, why we did this."

24               Do you see that?

25          A.   I see that.                                     09:38:00

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1           Q.      And we've talked about some of the                   09:38:02

2      reasons why Facebook did this.         And KP writes:       "To

3      put it simply, this work was about helping people

4      do two things.        First, people could access their

5      Facebook accounts or specific Facebook features on                09:38:16

6      devices and platforms built by other companies like

7      Apple, Amazon, BlackBerry, and Yahoo.           These are

8      known as integration partners.         Second, people

9      could have more social experiences -- like seeing

10     recommendations from their Facebook friends -- on                 09:38:31

11     other popular apps and websites like Netflix, the

12     New York Times, Pandora, and Spotify."

13                  Right?

14          A.      I see that, yeah.

15          Q.      Now, that's not a complete list of the               09:38:44

16     types of partners that were given access to

17     information by Facebook, is it?

18                  MR. SCHWING:     Object to the scope.

19     Object to form.

20                  THE DEPONENT:     There are a -- a small             09:39:01

21     number of companies listed here or integrations

22     listed here.     I wouldn't characterize that as a

23     full list.

24          Q.      (By Mr. Loeser)     What are the -- other

25     types that are missing from this list?                            09:39:14

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1                   MR. SCHWING:    Same objections.                 09:39:17

2                   THE DEPONENT:     When you say "other types

3      missing," like I'm not sure what you mean.

4           Q.      (By Mr. Loeser)     Well, let's go back to

5      interrogatory -- the interrogatories, and if you              09:39:33

6      look at page 372 and 373, there was a description

7      of the different types of partners that were given

8      access to friend data after the transition.

9                   And you'll recall under the business

10     integrations category, there was a series of                  09:40:08

11     descriptions, including




13     and so on.

14                  And -- you see all those different types

15     of partners?                                                  09:40:31

16          A.      I see a list of --

17                  I'm sorry.

18                  MR. SCHWING:    Sorry.      Outside the scope.

19                  Go ahead.

20                  THE DEPONENT:     So I see a list of             09:40:39

21     categorizations used in -- in the rog responses.

22          Q.      (By Mr. Loeser)     Okay.     And so can you

23     tell which of those are not included in KP's public

24     posts about partners with whom Facebook shared

25     information?                                                  09:41:00

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1                  MR. SCHWING:    Outside of the scope.            09:41:01

2      Object to form.

3                  THE DEPONENT:     Like -- yeah, I -- I don't

4      think I can give a authoritative explanation of --

5      of the mapping between these two things.           I'm not   09:41:16

6      sure it's intended to be an authoritative mapping.

7           Q.     (By Mr. Loeser)     So KP was communicating

8      publicly about -- to explain to people whether

9      Facebook gave large tech companies access to

10     people's information, and if so, why, right?                 09:41:37

11                 MR. SCHWING:    Object to outside the

12     scope.    Object to form.

13                 THE DEPONENT:     So that's the -- those are

14     the words written in the blog post.

15          Q.     (By Mr. Loeser)     Okay.    So he explained     09:41:48

16     why information was given to some partners but

17     not -- he didn't provide a complete description of

18     the partners to whom information was given by

19     Facebook, right?

20                 MR. SCHWING:    Same objections.                 09:41:59

21                 THE DEPONENT:     There are -- he's

22     listed -- you know, given four and four example

23     here, and as we reviewed on the -- on the list,

24     there are -- there are other examples.

25          Q.     (By Mr. Loeser)     He didn't identify any       09:42:19

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1      of the -- what are referred to as "business                    09:42:20

2      integrations" in the interrogatory responses,

3      right?

4                   MR. SCHWING:     Outside of the scope.

5      Object to form.                                                09:42:27

6                   THE DEPONENT:     As I said, I'm not sure

7      what -- what "business integrations" is

8      specifically referring to.

9              Q.   (By Mr. Loeser)     Okay.     Well the

10     interrogatory is pretty specific.                              09:42:40

11                  Did he include                 in this public

12     post about partners with whom Facebook shared this

13     information?

14                  MR. SCHWING:     Same objections.

15                  THE DEPONENT:     The examples that he gives      09:42:52

16     here do not include

17             Q.   (By Mr. Loeser)     Do they include

18

19                  MR. SCHWING:     Same objection.

20                  THE DEPONENT:     The example --                  09:43:02

21                  Sorry, Austin.

22                  MR. SCHWING:     Sorry.     I know it's getting

23     late.

24                  Same objections.

25                  THE DEPONENT:     I don't see him give those      09:43:10

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1      examples in this blog post, no.                                09:43:12

2           Q.   (By Mr. Loeser)       Does he include

3

4                MR. SCHWING:       Same objections.

5                THE DEPONENT:       I would categorize "             09:43:22

6

7           Q.   (By Mr. Loeser)       Okay.    And what about

8                                                                Is

9      that on here?

10          A.   The examples in the blog post do not                 09:43:42

11     include anything I would -- I would consider a

12

13          Q.   Let's go to the next page.

14               KP writes:       "To be clear:     None of these

15     partnerships or features gave companies access to              09:43:55

16     information without people's permission, nor do

17     they violate our 2012 settlement with the FTC."

18               Do you see that?

19          A.   I want to make sure I find that passage

20     in the blog.    Hang on.     Give me a second.                 09:44:12

21               I see it.

22          Q.   Okay.    So a Facebook user who used the

23     service or feature gave the partner or app

24     permission, right?

25               MR. SCHWING:       Outside of the scope.             09:44:27

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1      Object to form.                                           09:44:28

2                  THE DEPONENT:     My understanding is that

3      these -- the examples given here for -- for an

4      app -- for the apps to have access to information

5      through the user, the user would have to give             09:44:47

6      permission.

7           Q.     (By Mr. Loeser)     Okay.    But these

8      partners and apps had access to friend-sharing

9      APIs; is that right?

10          A.     I can't be 100 percent confident as to        09:44:59

11     which APIs and so on that these -- these apps were

12     using.    But yes, some of would have access to -- to

13     friend information.

14          Q.     And, sir, these -- those apps that did

15     have access to friend information could obtain            09:45:17

16     friend data from people who did not themselves use

17     the apps, right?

18                 (Court Reporter asks clarification.)

19          Q.     (By Mr. Loeser)     The apps and partners

20     that could obtain friend data -- sorry.                   09:45:33

21                 Apps and partners that obtained friend

22     data could obtain this friend data from people who

23     do not themselves use the app or partners, right?

24                 MR. SCHWING:    Object to form.

25                 THE DEPONENT:     Exactly how these apps      09:45:55

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1      behaved changed over time, and so I -- I would need           09:45:56

2      to give a -- understand the integrations more --

3      more concretely and understand which time we're --

4      we're talking about here.

5              Q.   (By Mr. Loeser)     What was the time period     09:46:15

6      in which apps could obtain friend data from users?

7              A.   My understanding is that the -- the

8      friend permissions were removed in around

9      April 2018.

10             Q.   So up until that time, apps that had             09:46:34

11     access to friend permissions could obtain that

12     information from users that did not themselves use

13     the app, right?

14                  MR. SCHWING:     Object to form.

15                  THE DEPONENT:     My understanding is that       09:46:52

16     the -- the way some of these integrations worked

17     allowed the integration or the app to access

18     information about the logged-in user's friends.

19                  MR. SCHWING:     I just want to note that

20     we're five minutes past our designated stopping               09:47:09

21     time of 10:00 p.m. London time.          I think there will

22     be additional questioning, an additional session of

23     the depo.     I think this would be a good moment to

24     stop.

25                  MR. LOESER:     Well, I'm in the middle of       09:47:26

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1      questioning about this document, and I think              09:47:27

2      it's -- probably make sense to finish that

3      questioning.   And then I'm quite close to the end.

4      We can either stop after this document or if

5      Mr. Cross wants to power through two more                 09:47:36

6      documents, three more documents, that will be all

7      he'll hear from me.

8                But why don't we finish with this

9      document and then go off the record to decide

10     whether we have the ability to do a bit more or if        09:47:47

11     we should wrap it up today.

12               Is that okay, Mr. Cross?

13               THE DEPONENT:     I'm comfortable finishing

14     this document, but I think we should probably break

15     after that.                                               09:48:02

16          Q.   (By Mr. Loeser)     So when KP writes "none

17     of these partnerships or features gave companies

18     access to information without people's permission,"

19     that wasn't actually true, was it?

20               MR. SCHWING:    Object to form.       It's      09:48:13

21     outside the scope.

22               THE DEPONENT:     I -- I can't comment on

23     the -- on the -- the -- what was meant by -- in

24     this blog post or how this blog post was formulated

25     and what was meant by it.                                 09:48:29

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1           Q.     (By Mr. Loeser)     What -- during the time     09:48:35

2      that apps and partnerships could obtain friend data

3      via friend permissions, they didn't need permission

4      from the friends of the user in order to obtain

5      that permission, right?                                     09:48:50

6                  MR. SCHWING:    Object.     It's beyond the

7      scope.    Object to the form of the question.

8                  THE DEPONENT:     So, again, my

9      understanding here is that integration partners had

10     to get authorization from -- from the people who            09:49:11

11     use the integration, and that's what's meant by

12     "permission."

13          Q.     (By Mr. Loeser)     Okay.    They didn't have

14     to get authorization from the friends of the people

15     who use the -- the integration, right?                      09:49:25

16                 MR. SCHWING:    Same objections.

17                 THE DEPONENT:     In the past, my

18     understanding is that a user could -- would log in

19     to the application and give the application

20     permission, and then the app would be able to               09:49:45

21     access information about that user in there and

22     some of their friends.

23          Q.     (By Mr. Loeser)     And it could get the

24     information about some of their friends without the

25     authorization from the friends, right?                      09:49:58

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1                  MR. SCHWING:    Object to form.                09:50:00

2                  THE DEPONENT:     So I want to be --

3      you know, I'm going off my understanding of how

4      these -- how some of those integrations worked in

5      the past.                                                  09:50:12

6                  The user had to log in to an application

7      for the app to then access information about that

8      user and their friends.

9           Q.     (By Mr. Loeser)     Right.    And I've asked

10     you just a pretty simple question about the user's         09:50:21

11     friends.

12                 When that happened, did app could get

13     information about the user who installed the app

14     and the user's friends without getting

15     authorization from the friends, right?                     09:50:33

16                 MR. SCHWING:    Object to the form.

17     Outside the scope.

18                 THE DEPONENT:     So my understanding is

19     that the app had access to information about the

20     user's friends without those -- all of those               09:50:45

21     friends necessarily having used the application

22     themselves.

23          Q.     (By Mr. Loeser)     Without those friends

24     having given the app permission to access their

25     data, correct?                                             09:50:59

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1                MR. SCHWING:     Object to the form.            09:51:02

2      Outside the scope.   Asked and answered.

3                THE DEPONENT:     Yeah, so I feel like

4      the -- we're reviewing here a blog post that was

5      written that I didn't -- you know, I wasn't super         09:51:16

6      closely involved in, and I haven't been prepared on

7      the exact determinations that were -- that were

8      used to create this blog post.

9                So like -- again, from my understanding

10     as a -- as -- as somebody who's worked in this area       09:51:32

11     and in past and spoken to many people involved is

12     that, yes, the way these applications worked was

13     that -- or some of these applications worked is

14     that some of them allowed the app to access

15     information about the logged-in user's friends even       09:51:50

16     though the logged-in user -- even though all of

17     those friends haven't necessarily used or

18     authorized the application.

19               MR. LOESER:     Why don't we go off the

20     record.                                                   09:52:05

21               THE VIDEOGRAPHER:     We're off the record.

22     It's 10:10 p.m.

23               (Recess taken.)

24               THE VIDEOGRAPHER:     We're back on record

25     it's 10:57 p.m.                                           10:38:17

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1                 MR. SCHWING:     All right.      I note for the   10:38:20

2      record that the parties have agreed that the

3      deposition testimony will be treated as "Highly

4      Confidential." The witness will review the

5      testimony and provide any corrections, and we will           10:38:32

6      also be reviewing the testimony given here today to

7      make further distinctions about the confidential

8      treatment of the materials.

9                 SPECIAL MASTER GARRIE:         So noted.

10                Counsel Loeser, any comment before we go          10:38:47

11     off the record?

12                MR. LOESER:     No.   Just obviously we

13     appreciate the designation.       I don't think we agree

14     with the designations, and understand you will be

15     reviewing it for distinctions that may come up with          10:38:57

16     different portions of the testimony.

17                MR. SCHWING:     Thank you.

18                SPECIAL MASTER GARRIE:         So noted for the

19     record.

20                We can go off the record.                         10:39:07

21                THE VIDEOGRAPHER:      Okay.     We are off the

22     record.   It's 10:57 p.m.

23                (TIME NOTED:     10:57 p.m.)

24

25                              ---o0o---                           10:39:12

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1             I, SIMON CROSS, do hereby declare under
2      penalty of perjury that I have read the foregoing
3      transcript; that I have made any corrections as
4      appear notes; that my testimony as contained
5      herein, as corrected, is true and correct.
6             Executed this ____ day of ___________________,
7      2022, at      __________________,_____________________.
8
9
10
11                                _______________________
                                  SIMON CROSS
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1             I, Rebecca L. Romano, a Registered
2      Professional Reporter, Certified Shorthand
3      Reporter, Certified Court Reporter, do hereby
4      certify:
5             That the foregoing proceedings were taken
6      before me remotely at the time and place herein set
7      forth; that any deponents in the foregoing
8      proceedings, prior to testifying, were administered
9      an oath; that a record of the proceedings was made
10     by me using machine shorthand which was thereafter
11     transcribed under my direction; that the foregoing
12     transcript is true record of the testimony given.
13            Further, that if the foregoing pertains to the
14     original transcript of a deposition in a Federal
15     Case, before completion of the proceedings, review
16     of the transcript [X] was [ ] was not requested.
17            I further certify I am neither financially
18     interested in the action nor a relative or employee
19     of any attorney or any party to this action.
20            IN WITNESS WHEREOF, I have this date
21     subscribed my name.
22
23     Dated: June 8, 2022
24                                <%7321,Signature%>
                                  Rebecca L. Romano, RPR, CCR
25                                CSR. No 12546

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1      SIMON CROSS

2      si@fb.com

3                                                          June 8, 2022

4      RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION

5      JUNE 6, 2022, SIMON CROSS, VOLUME III, JOB NO. 5265189

6      The above-referenced transcript has been

7      completed by Veritext Legal Solutions and

8      review of the transcript is being handled as follows:

9      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10        to schedule a time to review the original transcript at

11        a Veritext office.

12     __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13        Transcript - The witness should review the transcript and

14        make any necessary corrections on the errata pages included

15        below, notating the page and line number of the corrections.

16        The witness should then sign and date the errata and penalty

17        of perjury pages and return the completed pages to all

18        appearing counsel within the period of time determined at

19        the deposition or provided by the Code of Civil Procedure.

20     __ Waiving the CA Code of Civil Procedure per Stipulation of

21        Counsel - Original transcript to be released for signature

22        as determined at the deposition.

23     __ Signature Waived – Reading & Signature was waived at the

24        time of the deposition.

25

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1      _X_Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2         Transcript - The witness should review the transcript and

3         make any necessary corrections on the errata pages included

4         below, notating the page and line number of the corrections.

5         The witness should then sign and date the errata and penalty

6         of perjury pages and return the completed pages to all

7         appearing counsel within the period of time determined at

8         the deposition or provided by the Federal Rules.

9      __ Federal R&S Not Requested - Reading & Signature was not

10        requested before the completion of the deposition.

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1      RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION
2      SIMON CROSS, VOLUME III, JOB NO. 5265189
3                             E R R A T A         S H E E T
4      PAGE_____ LINE_____ CHANGE________________________
5      __________________________________________________
6      REASON____________________________________________
7      PAGE_____ LINE_____ CHANGE________________________
8      __________________________________________________
9      REASON____________________________________________
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19     PAGE_____ LINE_____ CHANGE________________________
20     __________________________________________________
21     REASON____________________________________________
22
23     ________________________________                    _______________
24     WITNESS                                             Date
25

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[ways - yeah]

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[yeah - zoom]

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                  Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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      COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

 Veritext Legal Solutions represents that the
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1                      UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
4      IN RE:     FACEBOOK, INC.,                MDL No. 2843
5      CONSUMER USER PROFILE                     Case No.
6      LITIGATION                                18-md-02843-VC-JSC
7      ___________________________
8      This document relates to:
9      ALL ACTIONS
       ____________________________
10                        **HIGHLY CONFIDENTIAL**
11
12              ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13              CORPORATE REPRESENTATIVE - SIMON CROSS
14     (Reported Remotely via Video & Web Videoconference)
15               London, England (Deponent's location)
16                         Monday, June 20, 2022
17                                   Volume 4
18
19     STENOGRAPHICALLY REPORTED BY:
20     REBECCA L. ROMANO, RPR, CSR, CCR
       California CSR No. 12546
21     Nevada CCR No. 827
22     Oregon CSR No. 20-0466
23     Washington CCR No. 3491
24     JOB NO. 5281223
25     PAGES 725 - 985

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1                      UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3
4      IN RE:     FACEBOOK, INC.,              MDL No. 2843
5      CONSUMER USER PROFILE                   Case No.
6      LITIGATION                              18-md-02843-VC-JSC
7      ___________________________
8      This document relates to:
9      ALL ACTIONS
10     ____________________________
11
12
13
14
15     CONTINUED VIDEOTAPED DEPOSITION OF SIMON CROSS, taken
16     on behalf of the Plaintiffs, with the deponent located
17     in London, England, commencing at
18     1:35 p.m., Monday, June 20, 2022, remotely reported
19     via Video & Web videoconference before
20     REBECCA L. ROMANO, a Certified Shorthand Reporter,
21     Certified Court Reporter, Registered Professional
22     Reporter.
23
24
25

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25     /////

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25     /////

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14
15     ALSO PRESENT:
16             Ian Chen, Associate General Counsel,
17     Meta Platforms
18             John Macdonell, Videographer
19
20
21
22
23
24
25     /////

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1                                  I N D E X
2      DEPONENT                                              EXAMINATION
3      SIMON CROSS                                                    PAGE
       VOLUME 4
4
5                                 BY MR. MELAMED                       735
6
7
8                              E X H I B I T S
9      NUMBER                                                         PAGE
10                                DESCRIPTION
11     Exhibit 425       Native Excel Spreadsheet,                     867
12                       HC_AEO_2022-06016_In re
13                       FB-TablesColumn Names;
14
15     Exhibit 426       Native Excel Spreadsheet                      920
16                       C2_022-FB-MTHD-00080;
17
18     Exhibit 427       Native Excel Spreadsheet,                     945
19                       FB-CA-MDL-029362498;
20
21     Exhibit 428       Native Excel Spreadsheet,                     964
22                       C2_018-FB-CA-MDL-02936296.
23
24
25     /////

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1             London, England; Monday, June 20, 2022             09:04:04

2                              1:35 p.m.

3                              ---o0o---

4

5                  THE VIDEOGRAPHER:   We are on the record      01:35:43

6      at 1:35 p.m. on June 20th, 2022.

7                  This is the deposition of Simon Cross,

8      Volume 4.     We're here in the matter of the In Re:

9      Facebook, Inc. Consumer Privacy User Profile

10     Litigation.                                               01:35:59

11                 I'm John Macdonell, the videographer with

12     Veritext.

13                 Before the reporter swears the witness,

14     would counsel please identify themselves, beginning

15     with the noticing party, please.                          01:36:09

16                 MR. MELAMED:   Good morning.     My name is

17     Matt Melamed.     I'm with the law firm of

18     Bleichmar Fonti & Auld.     I represent plaintiffs.

19                 With me here presently are Adele Daniel

20     and Emma Wright.     They're from Keller Rohrback, and    01:36:20

21     they also represent plaintiffs.

22                 MR. SCHWING:   This is Austin Schwing of

23     Gibson Dunn for defendant Meta, and with me are

24     Ian Chen, Hannah Regan-Smith, and Phuntso Wangdra

25     and Matt Buongiorno.                                      01:36:46

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1                   Okay.     I think I got everybody.                  01:36:47

2                   SPECIAL MASTER GARRIE:       This is

3      Special Master Garrie on behalf of the courts.

4                   Good morning, Counsel Buongiorno.            It's

5      been a while.        I hope you're healthy.                      01:36:57

6                   MR. BUONGIORNO:     Thank you, Special

7      Master Garrie.

8                   THE COURT REPORTER:       At this time, I will

9      ask counsel to agree on the record that there is no

10     objection to this deposition officer administering               01:37:05

11     a binding oath to the deponent via remote

12     videoconference, starting with the noticing

13     attorney, please.

14                  MR. MELAMED:     No objection.     Thank you.

15                  MR. SCHWING:     No objection for the               01:37:27

16     defendant.

17                  THE COURT REPORTER:       Mr. Cross, could you

18     raise your right hand for me, please.

19                  THE DEPONENT:     (Complies.)

20                  THE COURT REPORTER:       You do solemnly           01:37:45

21     state, under penalty of perjury, that the testimony

22     you are about to give in this deposition shall be

23     the truth, the whole truth and nothing but the

24     truth?

25                  THE DEPONENT:     I do.                             01:37:45

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1                             SIMON CROSS,                       01:37:46

2      having been administered an oath, was examined and

3      testified as follows:

4                             EXAMINATION

5      BY MR. MELAMED:                                           01:37:46

6           Q.   Welcome back, Mr. Cross.

7           A.   Thank you.

8           Q.   So as I mentioned, my name is

9      Matt Melamed from the law firm

10     Bleichmar Fonti & Auld.     I'm going to be asking you    01:38:02

11     questions about the 30(b)(6) notice topics 2 and

12     8 today, and then, as I mentioned off the record,

13     Mr. Loeser is going to ask you a few questions

14     about topics 6 and 7.

15               So you understand for these topics, and         01:38:20

16     specifically for topics 2 and 8, you've been

17     designated by Facebook to answer questions on its

18     behalf, correct?

19          A.   That's correct.

20          Q.   Okay.    And you are prepared to do so          01:38:29

21     today, correct?

22          A.   I've done my best to prepare, yes.

23               MR. SCHWING:     And, Matt, I just want to

24     just state for the record that we have certain

25     aspects of 2 and 8 that have been carved out for          01:38:39

                                                                  Page 735

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1      this witness.                                             01:38:42

2                MR. MELAMED:     And to be clear, you're

3      talking about questions related to targeted

4      advertising and data brokers; is that right,

5      Mr. Schwing?                                              01:38:49

6                MR. SCHWING:     That is correct.

7                MR. MELAMED:     Okay.

8           Q.   (By Mr. Melamed)     So, Mr. Cross, just so

9      everybody's clear, you are not prepared to answer

10     questions today related to targeted advertising or        01:38:58

11     data brokers; is that right?

12          A.   I have not prepared to answer questions

13     relating to targeted advertising and data brokers.

14     My understanding is that another witness has been

15     designated to -- to cover those types of things.          01:39:12

16          Q.   Okay.     So for ease of reference

17     throughout this deposition, I will likely ask about

18     third parties generally.     And is it okay for you,

19     Mr. Cross and counsel, if when I ask those, you

20     understand that those do not include advertisers,         01:39:32

21     data brokers, and other parties related to targeted

22     advertising?

23               Is that -- Mr. Cross, does that make

24     sense to you?     If I say "third parties," you will

25     understand it to not include those entities for           01:39:46

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1      which you are not prepared to testify?                       01:39:49

2           A.     Yes, I think that makes sense to me.

3           Q.     And if you are unclear, please ask.        And

4      I'm not -- this isn't to play tricks; it's just so

5      that I don't have to repeat a carve-out in every             01:40:01

6      question or series of questions.

7                  Understood?

8           A.     I understand, yes.

9                  MR. MELAMED:   Okay.    And, Mr. Schwing,

10     same to you.    If ever you believe a question               01:40:11

11     unclear because of that carve-out or you're not

12     sure what I'm getting at, I invite you to ask me to

13     clarify.    I just want to make sure that the

14     testimony is -- is clear, but I'd like to avoid

15     having to add pause -- unnecessary pauses to every           01:40:24

16     question.

17                 Does that make sense to you?

18                 MR. SCHWING:   It does.     If we have things

19     that need to be clarified along the way, we'll try

20     to work that through.                                        01:40:37

21                 MR. MELAMED:   Great.     Thank you.

22          Q.     (By Mr. Melamed)     So as you're aware,

23     Mr. Cross, there's a lot of material from past

24     experience that we are going to cover.        I'm going

25     to hope to get through it as efficiently as                  01:40:47

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1      possible.     I hope you are going to do so as well.        01:40:49

2                   Let's start with the description of the

3      topics.

4                   So for topic 2, there is a subcategory A.

5      And for that, plaintiffs are focused on the type of         01:41:00

6      data Facebook sold, made accessible to, or made

7      available to third parties.

8                   Do you understand that?

9                   MR. SCHWING:   Matt, I think you -- I

10     think it was unintentional.        I think you misspoke     01:41:14

11     and said "sold" instead of "shared."

12                  MR. MELAMED:   Thank you.    Let me repeat

13     that.

14             Q.   (By Mr. Melamed)     What type of data --

15     make sure I'm reading this correctly.                       01:41:25

16                  The type of data --

17                  MR. MELAMED:   Thank you for the

18     correction, Mr. Schwing.

19             Q.   (By Mr. Melamed)     The type of data

20     Facebook shared, made accessible, or permitted              01:41:36

21     third parties to target.        That is the stated topic.

22                  Do you understand that?

23             A.   I do understand it.     I'd love to

24     understand where the boundary comes between making

25     available to target, because that touches on                01:41:51

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1      targeted advertising, and I'd like to understand          01:41:55

2      the -- the boundary there.

3           Q.   Okay.   So for purposes of questioning

4      today, are you prepared to answer questions on the

5      type of user data or information Facebook shared or       01:42:07

6      made accessible to third parties, with the

7      exception, as we spoke before, of targeted

8      advertising and data brokers?

9           A.   I'm prepared to -- to talk about data

10     made available to -- to third parties via the --          01:42:24

11     the Graph API and the Facebook developer platform

12     in particular.

13          Q.   Are there any other ways that Facebook

14     made data available to third parties?      And, again,

15     here -- and I'll repeat this a few times until we         01:42:41

16     get in the habit -- this does not include to

17     advertisers or data brokers.

18          A.   When you say -- sorry.     Again, to be

19     clear, when you say "data" in this context, what

20     kind of data are we -- are we talking about?              01:42:55

21          Q.   User data.

22          A.   So data on any particular user?       "User

23     data" meaning specifically what again?      Again, I

24     just want to be super clear.

25          Q.   I'm just asking -- and if you're not            01:43:10

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1      clear and if you're unable to answer, tell me.            01:43:12

2      I'll try to do my best to clarify.

3                  But the question is:   Are you prepared to

4      answer questions about the types of user data for

5      user information that Facebook shared or made             01:43:21

6      accessible to third parties?

7           A.     I've done my best to prepare on that --

8      on that topic, yes.

9           Q.     And then you are also going to testify

10     about subtopic 2C -- correct? -- which is "the            01:43:40

11     format or formats through which Facebook made user

12     data or information accessible or available to

13     third parties," correct?

14          A.     I'm prepared to testify on -- on that,

15     again, with this -- this focus on the Facebook            01:44:00

16     developer platform, which is what I believe is --

17     is pertinent to this case.

18          Q.     Are there other ways that Facebook made

19     user data available to third parties, not including

20     targeted advertisers or data brokers?       And by        01:44:15

21     "other ways," I'm speaking of other than via the

22     Facebook platform.

23          A.     It's possible that like user data was

24     made available to third parties over -- over other

25     means.    For example, attachments to emails,             01:44:33

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1      which -- which would -- I'm not able to identify           01:44:35

2      every possible way in which Facebook over the class

3      period has -- has made available information to --

4      to third parties.     Like the primary way in which

5      that was done was through the Graph API, and that's        01:44:51

6      where my -- my focus in being able to answer these

7      questions have been put.

8           Q.   Okay.     Just -- just to be clear, there

9      may be other ways in which Facebook made user data

10     available to third parties other than via platform,        01:45:04

11     and you are not prepared to testify about those

12     other ways today; is that accurate?

13               MR. SCHWING:     Misstates his testimony.

14               THE DEPONENT:     I can talk at a high level

15     about Facebook generally communicates with -- with         01:45:24

16     third parties using standard -- standard business

17     means and practices.     But it would be very hard

18     for -- for me or anyone to answer questions about

19     the totality in which Facebook has ever exchanged

20     information with -- with third parties.                    01:45:40

21          Q.   (By Mr. Melamed)     I'm not -- I'm not

22     asking you to try and capture you.       I'm just trying

23     to understand the confines of what you're prepared

24     to testify about today.

25               So are there other ways aside -- you             01:45:58

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1      mentioned Facebook platform as a way that Facebook         01:46:01

2      makes user data available to third parties,

3      correct?

4           A.      Correct.

5           Q.      You also mentioned a possibility that         01:46:09

6      user attach data could be attached to emails, and

7      you're not prepared to testify about that manner of

8      providing user data to third parties, correct?

9                   MR. SCHWING:    No.    Misstates his

10     testimony.                                                 01:46:18

11                  THE DEPONENT:    As I said, I could talk at

12     a high level about how Facebook conducts, you know,

13     conversations with -- with third parties at a high

14     level, but it would impossible to -- for me or

15     anyone to -- to know the totality of ways in which         01:46:39

16     Facebook, over a 15-year period, has made -- made

17     data available to -- to third parties.

18          Q.      (By Mr. Melamed)      Why would that be

19     impossible?

20          A.      So in this context, you know, that's -- a     01:46:58

21     broad range in which a way of essentially thousands

22     of people over many years have interacted with --

23     with third parties.     I think having a -- a complete

24     understanding of every example would be -- would be

25     hard to come by.                                           01:47:18

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1                   As I say, the -- the primary way in which         01:47:20

2      Facebook shares data with third parties is via the

3      Facebook developer platform, and I focused my -- my

4      attention there.

5                   I can talk at a high level about                  01:47:30

6      typically how Facebook conducts business with third

7      parties through with user data may have been

8      exchanged.     But, you know, I don't have a record of

9      every email that was sent that may have contained

10     a -- an Excel spreadsheet, for example, containing             01:47:45

11     user information.

12            Q.    Are there ways other than via platform or

13     via email that you are aware of that Facebook

14     provided user data to third parties?

15            A.    I'm not aware of any other major ways in          01:48:07

16     which Facebook would have shared data with -- with

17     third parties, no.

18            Q.    Okay.    I just want to be clear.      You used

19     the -- the phrase "major ways" in your answer to

20     that question.       Are there any other ways other than       01:48:18

21     those that you are aware of?

22            A.    Not that I'm -- not that I'm intimately

23     aware of, no.

24            Q.    Are there any ways you're aware of in any

25     way?                                                           01:48:33

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1           A.   No.     Not that I know that Facebook has       01:48:36

2      shared data with third parties from -- from my

3      conversations with -- with people or -- or my own

4      personal experiences.

5           Q.   And let's -- let's return to topic 2CU,         01:49:03

6      which concerns the format or formats by which

7      Facebook shared data with third parties -- shared

8      user data with third parties.

9                Do you understand that to be the topic?

10          A.   Yes, I understand that to be the topic.         01:49:23

11          Q.   And you mentioned the Graph API is the

12     primary way that Facebook shares user data with

13     third parties?

14          A.   The Facebook developer platform of which

15     Graph API is a component, yes.                            01:49:36

16          Q.   Okay.     We're going to turn to the

17     Facebook developer platform in a little bit.

18               Counsel has also informed us that you are

19     prepared to testify in a limited way about topic

20     2d, which it concerns how Facebook insured third          01:50:09

21     parties' use of such data or information with

22     limited to the use case; is that correct?

23          A.   That's correct.     I'm prepared to -- to

24     testify on -- on how platform integrity teams

25     attempted to do that.                                     01:50:26

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1           Q.    And then you are prepared as well to           01:50:31

2      testify about topic 8, correct?

3           A.    Would you just mind reading out just

4      topic 8 for me so I can confirm accurately.

5           Q.    No problem.                                    01:50:43

6                 So topic 8 concerns "the methods, tools,

7      technologies, databases, project management tools,

8      task lists, and other internal sources Facebook

9      used to track third parties and data brokers."

10                I understand that you are not prepared to      01:50:57

11     talk about data brokers, but are you prepared to

12     talk about the rest of that topic?

13          A.    Again --

14                MR. SCHWING:    Just -- sorry.     Just

15     quickly.   And also advertisers, to the extent            01:51:07

16     that's not encompassed by data brokers as well,

17     Matt, just to have the record clear.

18          Q.    (By Mr. Melamed)    Are you prepared to

19     talk about topic 8 with the exception of data

20     brokers and advertisers?                                  01:51:20

21          A.    Yes, I have done my best to prepare for

22     topic 8.

23          Q.    And that includes the four subsections of

24     topic 8, correct?

25          A.    Again, be useful if you'd just read them       01:51:32

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1      out for -- for extra clarity.                             01:51:34

2           Q.     Sure.

3                  So the first subtopic is "the type and

4      purpose of data and information Facebook received

5      from third parties."                                      01:51:43

6                  And to clarify, that does not include

7      from advertisers or data brokers.

8                  Are you prepared to answer that subtopic?

9           A.     I've done my best to prepare for

10     subtopic, yes.                                            01:51:55

11          Q.     And topic b, "the type and purpose of

12     data and information Facebook provided to third

13     parties"?

14          A.     Yes, I've done my best to prepare for

15     that subtopic too.                                        01:52:05

16          Q.     And "payments consideration, including

17     actual payments and consideration or promised

18     payments and consideration that Facebook provided

19     or received for engaging in exchanges of user data

20     with third parties" -- again, for clarity, not            01:52:20

21     including advertisers and data brokers.

22                 Are you prepared to answer on that topic?

23          A.     I've done my best to prepare for that

24     topic too -- that subtopic too, yes.

25          Q.     And then the final subtopic is "any           01:52:33

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1      evaluation of benefits through Facebook of the            01:52:34

2      information provided or received or engaging in

3      exchanges of user data."

4                Are you prepared to testify about that

5      topic today?                                              01:52:44

6           A.   I have done my best to prepare for that

7      subtopic, too.

8           Q.   Do you have any notes to help with your

9      testimony today?

10          A.   I prepared a couple of pages of                 01:53:00

11     handwritten notes, yes.

12          Q.   Okay.     And you intend to use those to

13     help you testify?

14          A.   Potentially.     It depends on the -- on the

15     questions I'm asked to answer.                            01:53:07

16          Q.   You said you personally prepared those

17     notes?

18          A.   That's correct.

19          Q.   And how -- how did you go about preparing

20     those notes?                                              01:53:24

21          A.   Those notes are written from my -- my

22     notes from the conversations I've with people to

23     prepare for today and some of documents I've read.

24          Q.   Conversations with whom?

25          A.   I had a number of conversations with --         01:53:45

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1      with Facebook employees to prepare for this -- for               01:53:46

2      the deposition today.     I can give you their names

3      if -- if required.

4           Q.     Would you please give me their names.

5           A.     Sure.   I spoke to Steven Elia.       I spoke        01:53:58

6      to Chad Heaton.     I spoke to Tina Cardaci.       And I

7      spoke to -- some of these names I forgot now, but

8      I -- I could get for you if needed.

9           Q.     What would you do to get their names

10     for -- for us today?                                             01:54:30

11          A.     Look at my calendar.     Look at my Outlook

12     calendar.

13          Q.     And what did you speak to Mr. Elia about?

14          A.     I spoke to Mr. Elia about his experience

15     in managing API whitelisting and the way in which                01:54:46

16     whitelists were tracked over time.

17          Q.     Anything else?

18          A.     Those are the primary topics we -- I

19     discussed with Steven.

20          Q.     You said they're the primary topics.           Did   01:55:06

21     you discuss anything else with Mr. Elia?

22          A.     I don't recall discussing anything else

23     with Steven beyond the -- the topics I was required

24     to -- to prepare for today.

25          Q.     Did your conversation go beyond -- with              01:55:20

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1      Mr. Elia, did your conversation go beyond                 01:55:22

2      discussions of API whitelisting and tracking?

3           A.   It would have included identification of

4      how the API or the Facebook APIs behaved as -- as

5      far as discernable at any particular time or at           01:55:39

6      particular times, again, to help me prepare for the

7      topics I've been designated to -- to speak to

8      today.

9           Q.   Anything else with Mr. Elia?

10          A.   That's about the limit of what I recall         01:55:54

11     discussing with Steven.

12          Q.   I just want to note that you -- as you're

13     answering these questions, there are a lot of

14     qualifiers, which is fine, and I'm just asking for

15     clarification when you provide those qualifiers.          01:56:08

16               So you said "it's about the limit" of

17     what you discussed with Steven.     Do you recall

18     discussing anything else with Mr. Elia?

19          A.   As I sit here today, that's what I recall

20     discussing with Steven.                                   01:56:22

21          Q.   Okay.

22               What did you discuss with Mr. Heaton?

23          A.   We discussed a particular document which

24     I believe has been marked for the use of it today.

25          Q.   Do you recall which document that was?          01:56:36

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1           A.   I don't recall the Bates number                 01:56:43

2      particularly, no.   It was a document to do with the

3      platform and interpreting its value to third-party

4      developers.

5           Q.   Why did you discuss that document with          01:56:55

6      Mr. Heaton?

7                MR. SCHWING:    And I would just caution

8      the witness not to reveal any attorney-client

9      privilege information.

10               If you answer without doing that, you may       01:57:06

11     do so.

12               THE DEPONENT:    My understanding is that

13     it was a document marked for -- for exhibition

14     today by -- by the plaintiffs, and I wanted to

15     speak to Mr. Heaton to attempt to understand his          01:57:20

16     understanding of the -- of the document and how it

17     was created.

18          Q.   (By Mr. Melamed)    Was it a document that

19     you understand Mr. Heaton to have created?

20          A.   I understand Mr. Heaton to have been            01:57:35

21     involved in its creation, but I can't say for

22     certain whether or not he was the creator.

23          Q.   And Mr. Heaton is somebody who is still

24     employed at Facebook?

25          A.   My understanding is that Mr. Heaton is --       01:57:49

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1      is still employed by Facebook.                            01:57:52

2           Q.    And what is his role at Facebook?

3           A.    I'm not certain of what his role is

4      today, I'm afraid.

5           Q.    Do you understand what his role was            01:58:02

6      around the time that he was involved in creating

7      the document that he reviewed?

8           A.    My understanding is he had some role

9      in -- in finance or business planning, but I

10     wouldn't want to give any more specifics than that.       01:58:16

11          Q.    Why wouldn't you want to give me more

12     specifics than that regarding his role?

13          A.    That's the understanding I have as I --

14     as I sit here today.   I have not reviewed his

15     internal profile or work history, for example.            01:58:41

16          Q.    How long did you speak to Mr. Heaton?

17          A.    I spoke to Mr. Heaton for about 25

18     minutes.

19          Q.    How long did you speak to Mr. Elia?

20          A.    I speak to Mr. Elia for around 55              01:58:58

21     minutes.

22          Q.    You mentioned you spoke to somebody whose

23     name I don't think I caught, and I don't want to

24     get it wrong, so please correct me.      I think it was

25     Ms. Cardaci?                                              01:59:14

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1             A.     I spoke to Tina -- Tina Cardaci.            01:59:16

2             Q.     Can you spell her last name just so we

3      have it clearly for the record, please.

4             A.     I'll do my best.   I -- I may get it

5      wrong.      Cardaci, C-A-R-D-A-C-I, I believe.            01:59:28

6             Q.     And what did you speak to Ms. Cardaci

7      about?

8             A.     I spoke to Ms. Cardaci about another

9      document which I believe plaintiffs have identified

10     to be exhibited today.                                    01:59:50

11            Q.     And do you recall which document that

12     was?

13            A.     Again, I -- I don't know the Bates number

14     or anything like that, but my understanding is it

15     was a document relating to the assessment of the          02:00:02

16     impact of the changes announced in April 2014 upon

17     Facebook's games ecosystem.

18            Q.     What kind of impact are you -- do you

19     mean when you say "it was a document concerning the

20     assessment of impact"?                                    02:00:28

21            A.     My recollection is this is a -- a

22     document to do with the potential revenue impact of

23     the changes on the Facebook games ecosystem.

24            Q.     And why did you speak to Ms. Cardaci

25     about that document?                                      02:00:45

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1           A.     My understanding is this is a document        02:00:49

2      that was potentially marked for being exhibited

3      today, and I -- I wanted to understand the context

4      behind its creation and content.

5           Q.     Why did you speak to her about this           02:01:01

6      document's creation and content?

7           A.     My understanding is she was either the

8      author or involved in the authorship of this

9      document.

10          Q.     Do you know what her role was around the      02:01:15

11     time of the creation of this document?

12          A.     My understanding she was in some -- some

13     kind of business planning operations function.

14          Q.     Did Ms. Cardaci understand -- help you

15     understand the meaning of the document that you           02:01:36

16     reviewed with her?

17          A.     I believe my understanding of the

18     document improved after speaking with her.

19          Q.     And do you have notes reflecting your

20     conversation with her about that document?                02:01:52

21          A.     I don't have any notes relating to that

22     conversation.

23          Q.     And your conversation with Mr. Heaton,

24     did that help improve your understanding of the

25     document you reviewed with him?                           02:02:06

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1           A.     I believe that helped me understand the        02:02:10

2      document better, yes.

3           Q.     And how long did you speak to

4      Ms. Cardaci?

5           A.     I think about 25 minutes again.                02:02:19

6           Q.     Do you have notes regarding your

7      understanding of either of the two documents we've

8      just discussed?     And by "the two documents," I mean

9      the one you spoke about with Mr. Heaton and the one

10     you spoke about with Ms. Cardaci.                          02:02:43

11          A.     No, I do not have notes relating to my --

12     my conversation with them.

13          Q.     Do you have any notes about the documents

14     at all, whether -- whether or not those notes

15     relate to your conversations with them?                    02:02:54

16          A.     I do not have notes relating to those

17     documents, no.

18          Q.     Who else did you talk to in preparation

19     for today's testimony?

20          A.     I spoke to Mark Molaro -- I think that's       02:03:10

21     right.    Molaro, I think, is probably accurate.       I

22     spoke to him too.

23          Q.     Why did you speak to Mr. Molaro?

24          A.     Mr. Molaro, as I understand it, was

25     involved in the production of documents relating to        02:03:28

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1      the capabilities tool and platform login, which I         02:03:34

2      wanted to make sure I fully understood.

3           Q.    Is Mr. Molaro a Facebook employee?

4           A.    My understanding is that Mr. Molaro is

5      employed by Facebook.                                     02:03:50

6           Q.    And do you know what Mr. Molaro's role is

7      presently at Facebook?

8           A.    My understanding is he's a data science

9      manager.

10          Q.    Do you have any understanding whether his      02:04:10

11     role involves anything having to do with the

12     capabilities tool presently at Facebook?

13          A.    I'm -- I'm not entirely -- I'm not sure

14     what his role involves at the moment and whether or

15     not he's involved in -- with the capabilities.            02:04:28

16          Q.    Do you know if his role at any time

17     during the time he's worked at Facebook included

18     anything having to do with the capabilities tool?

19          A.    My understanding is that he -- he has

20     been involved with the capabilities tool in the           02:04:47

21     past, at least.

22          Q.    What is your understanding of

23     Mr. Molaro's involvement with the capabilities tool

24     in the past?

25          A.    My understanding is that he will have          02:05:00

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1      been involved in the -- the information which is          02:05:02

2      stored in the tool and how that information is used

3      internally and the documents that were produced as

4      part of this case.

5             Q.   Do you have any understanding of the time     02:05:27

6      period when Mr. Molaro was involved in the

7      capabilities tool at Facebook?

8             A.   I don't have that level of detail of

9      understanding.    My understanding is he's a -- he's

10     a data scientist on the platform team and so may          02:05:40

11     have been involved from the beginning of his -- his

12     role on that team to today.     But I'm not sure of

13     exactly what his -- what time that is.

14            Q.   Do you know when he started on the data

15     science team on platform?                                 02:05:54

16            A.   As I sit here today, I don't have the

17     exact date of -- of his work history, no.

18            Q.   Do you have a general understanding of

19     when he started in that role?

20            A.   My understanding is he started at least       02:06:08

21     before 2019, but I -- I'm not sure -- again, sure

22     of the exact dates.

23            Q.   About how long did you talk to Mr. Molaro

24     for?

25            A.   I talked to Molaro, Mr. Molaro, over a        02:06:24

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1      few sessions.        Hard to give an exact amount of           02:06:27

2      time.        I'd estimate spending probably 30 to 60

3      minutes with Mark.

4              Q.      Do you have any written notes reflecting

5      your conversations with Mr. Molaro?                            02:06:50

6              A.      I have taken some notes about my

7      conversation with -- my conversations with

8      Mr. Molaro.

9              Q.      And those notes pertain to the

10     capabilities tool?                                             02:07:03

11             A.      Those notes pertain to -- to parts of the

12     capabilities tool and other -- other work he was

13     involved in.

14             Q.      What else do the notes concern?

15             A.      I took some notes regarding some of the        02:07:23

16     more                                 that Facebook has

17     today.

18             Q.      Is that a singular

19

20                       that you're referencing?                     02:07:46

21             A.      Facebook has many different systems

22     for -- for                       and there -- in

23

24

25                                                        which was   02:08:08

                                                                      Page 757

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1      built more recently.                                      02:08:14

2           Q.   What was that particular set of

3                          built more recently that you

4      spoke to Mr. Molaro about?

5           A.   I spoke to Mr. Molaro about some                02:08:28

6

7

8           Q.

9           A.   That's correct,

10          Q.   Do those stand for anything or are they         02:08:44

11     just stand-alone terms?

12          A.   My understanding is they're stand-alone

13     terms.

14          Q.   Can you describe what the Can table is?

15          A.   I'll do my -- my best.       My understanding   02:08:57

16     is that the




19          Q.   Does that include the user -- Facebook

20     user information that a




22          A.   My understanding is it -- it -- it

23     enumerates the --

24

25                                                               02:09:43

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1              Q.   Do you know when the                 was            02:09:51

2      created as a tool to provide

3              A.   My understanding it was built in around

4      2019 and became operational sometime in 2020.

5              Q.   Do you know if it contains information              02:10:10

6      dating from before it became operational?

7              A.   I do not know if it contains information

8      relating to before it became available.

9              Q.   Who would know the answer to that

10     question?                                                        02:10:25

11             A.   I would ask Mr. Molaro.

12             Q.   Do you know whether the                     could

13     have technologically been created before 2019 or

14     2020?

15             A.   Can you help me understand what you mean            02:10:56

16     by --

17                  THE DEPONENT:    Sorry, Austin.      You were

18     going to say something?

19                  MR. SCHWING:    Just object to form.

20                  Go ahead -- go ahead, Simon, if you                 02:11:02

21     wanted to clarify something.

22                  THE DEPONENT:    Yeah.   Can you clarify

23     what you mean by "could technologically have been

24     created"?

25             Q.   (By Mr. Melamed)    Was the                         02:11:12

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1      created -- let me withdraw that and restate it.               02:11:14

2                   Was there new technology that became

3      available that enabled Facebook to create the

4               in or around the time that it became

5      created -- that it was created?                               02:11:28

6                   MR. SCHWING:    Object to form.

7                   THE DEPONENT:    The development of these

8                         themselves would be -- I would

9      classify as new technology because they involved

10     code being written.                                           02:11:46

11             Q.   (By Mr. Melamed)    Was there anything that

12     prevented the code that was written for the

13              from being written at an earlier point in

14     time?

15                  MR. SCHWING:    Object to form.                  02:12:01

16                  THE DEPONENT:    These -- these

17

18                                                   , and compute

19     and storage power in the past was -- was less than

20     it is today.     And so it's -- it wouldn't have been         02:12:18

21     possible to -- to build these                in the form

22     they're in today in -- you know, it is in the past.

23             Q.   (By Mr. Melamed)    When did the computing

24     and storage power become sufficient to support

25     the --                                                        02:12:46

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1                   MR. SCHWING:    Object to form.      Outside     02:12:54

2      the scope.

3                   THE DEPONENT:    The -- that's a hard

4      question, I think, for -- for anyone to answer,

5      because the -- the information that's contained in            02:13:04

6      them or -- or the processing required to create

7      them, there's -- there's no like one point in time

8      where they would have suddenly become possible.

9      Data infrastructure and technology has been

10     continually improving over time.                              02:13:24

11          Q.      (By Mr. Melamed)    Would it have been

12     possible to have created the                    at any time

13     prior to when they were created, which I believe

14     you said was 2019?

15                  MR. SCHWING:    Object to form.                  02:13:47

16                  THE DEPONENT:    Again, like -- it's a

17     hard -- hard question to answer.         They -- they

18     could have been created in a -- in a different form

19     earlier.     Like -- yeah, I'm just not sure I can --

20     I can answer that question in -- in any way.             It   02:14:05

21     would be me speculating as to the compute processes

22     required and -- and Facebook's data infrastructure

23     capabilities at -- at the time.         That's just --

24     that's a level of detail, I think, is -- is hard

25     for me to answer, I'm afraid.                                 02:14:20

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1           Q.    (By Mr. Melamed)   If you wanted to            02:14:22

2      understand better the answers to that question, who

3      would you ask?

4           A.    Again, my first point of call would be

5      Mr. Molaro, who seems to be knowledgeable on these        02:14:35

6      matters.

7           Q.    Going back to the content of

8      you mentioned that it's -- it identifies which

9

10                      is that correct?                         02:14:59

11          A.    My understanding is that the -- the

12

13

14          Q.    How does the

                                                                 02:15:23

16          A.    My understanding is that are there is a

17




                                                                 02:15:51

21          Q.    So would it be possible for somebody at

22     Facebook to look at




25          A.    My understanding is that's the intent          02:16:17

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1      of -- of the technology, although there are likely        02:16:19

2      caveats and details as to what's possible that --

3      that I'm -- that I'm not aware of.      In -- in

4      preparation for testimony today, I did my best to

5      understand these systems at a high level.        So       02:16:34

6      that's a question I -- I don't think I'm able to --

7      to answer for you, I'm afraid.

8           Q.   All right.   If you wanted to provide a

9      more full answer to that question, would you ask

10     Mr. Molaro?                                               02:16:51

11          A.   Mr. Molaro would be one of the people I

12     would ask to speak to for -- for more specific

13     information.

14          Q.   Who else would you ask to speak to for

15     more specific information?                                02:17:02

16          A.   I would start with Mark.

17          Q.   Is there anybody else that -- that you

18     come to mind who you would speak to other than

19     Mr. Molaro?

20          A.   At this point, no.     I would start with       02:17:18

21     Mr. Molaro and go from there.

22          Q.   Do you have any understanding of why the

23               was developed?

24          A.   My understanding is that the

25     was developed to -- in response to some obligations       02:17:38

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1      in --                                                       02:17:45

2              Q.

3

4              A.   I'm -- I'm not sure specifically exactly

5      which one it was referring -- was -- was the                02:17:57

6      results of the -- sorry.     Let me answer that

7      question.

8                   I'm not exactly which version of the

9

10                                                                 02:18:11

11             Q.   Who would you ask to find out which

12

13

14             A.   I would, again, start with Mr. Molaro.

15             Q.   What is your understanding of the          d   02:18:35

16

17             A.   My understanding of -- of the

18

19

20                                                                 02:18:57

21             Q.   Do you know when the                were

22     created?

23             A.   My understanding is they were -- they

24     were built in 2019 and began to come online in --

25     in 2020.                                                    02:19:15

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1           Q.      Were the                          created as     02:19:21

2      part of the same -- let me withdraw that.

3                   What was impetus for the creation of the

4

5           A.      My understanding is -- is similarly that         02:19:40

6      the -- the                  were a response to some

7




9           Q.      Do you know if the                  could have

10     been created before they were created?                        02:20:07

11                  MR. SCHWING:     Object to form.

12                  THE DEPONENT:     Again, similar to my

13     answer with the -- with the -- with the

14     I'm not intimately involved in -- in understanding

15     of their complexity or the resources required to              02:20:28

16     create them, and so I -- I -- I don't feel like

17     that's an answer -- a question I can -- I can

18     answer.

19          Q.      (By Mr. Melamed)     Who would you ask if

20     you wanted to know the answer to that question?               02:20:40

21          A.      Similar to my previous answers, I would

22     start with Mr. Molaro and -- and see if those

23     questions were answerable by him or even answerable

24     at all.

25          Q.      Is -- sorry.     Let me withdraw that.           02:21:00

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1                   Do you have any understanding of how the         02:21:08

2                    work?

3           A.      I have --

4                   MR. MELAMED:    Let me restate that.

5      That's a terrible question.                                   02:21:16

6           Q.      (By Mr. Melamed)    Do you have any

7      understanding of how Facebook users inside at

8      Facebook could -- could use the                     to find

9      information?

10                  MR. SCHWING:    Object to form.                  02:21:29

11                  THE DEPONENT:    I -- I understand that

12     certain Facebook employees would be able to query

13




                                                                     02:21:50

16          Q.      (By Mr. Melamed)    Do you know whether

17     they could




                                                                     02:22:11

21          A.      I -- I -- my understanding is that these

22                                           -- and therefore

23     that's theoretically possible, but I have not

24     queried the table myself, and so I'd be speculating

25     as to exactly what -- what's possible with these              02:22:32

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1      tables.                                                   02:22:34

2           Q.   Do you understand whether the




                                                                 02:22:49

6

7                MR. SCHWING:    Object to form.

8                THE DEPONENT:    Yeah, I'm -- I'm not

9      familiar with the precise structure of those

10     tables, so I'd be speculating as to -- as to              02:23:02

11     exactly what -- what is possible with them.

12          Q.   (By Mr. Melamed)    And who would you ask

13     to figure out what was possible in terms of

14     querying the

15               THE DEPONENT:    Similar.    I would start      02:23:19

16     with Mr. Molaro and see where he goes from there.

17          Q.   (By Mr. Melamed)    Prior to the creation

18     of the




20               MR. SCHWING:    Object to form.                 02:23:43

21               THE DEPONENT:    Facebook has a number of

22     systems for




                                                                 02:24:15

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1                                                                      02:24:19

2




4              Q.   (By Mr. Melamed)     So in that answer you

5      talked about                                     correct?       02:24:29

6              A.   I likely mentioned                             ,

7      yes.

8              Q.   Are you aware of any              that

9      existed before the

10                                                                     02:24:52

11

12             A.   I'm not aware, as I sit here today, of --

13     of any




15             Q.   In preparing for today, did you                    02:25:17

16     investigate whether there existed

17

18             A.   Yes.   I spoke to Mr. Molaro and Mr. Elia

19     about

20             Q.   And the answer was that Facebook                   02:25:48

21

22             A.   My understanding is that there was --

23




                                                                       02:26:04

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1           Q.   Were they ever                                  02:26:12

2

3           A.   It's hard -- were they -- were they ever

4                                          Like ever?

5           Q.   During -- during the time period at issue       02:26:30

6      in this case.     And as a general matter going

7      forward for -- for the questions today, if you

8      don't understand, please clarify.

9           A.   Sure.

10          Q.   But as a general matter, my questions           02:26:38

11     will be from 2007 to present.

12               And so here we're talking about 2007 up

13     until the creation of the




15                                                               02:26:58

16               MR. SCHWING:     Object to form.

17               THE DEPONENT:     It's -- it's possible that

18




                                                                 02:27:18

21               But from talking to the people who -- who

22     know this infrastructure well,




24          Q.   (By Mr. Melamed)

                                                                 02:27:40

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1                                                                02:27:44

2             A.

                                               so hard to give

4      a comprehensive answer of all parts of the -- of

5      the time period.                                          02:28:02

6




8             Q.   When did you become -- first -- let me

9      withdraw that.

10                 When -- on what date are you first aware      02:28:22

11     that

12            A.   I'm not sure of the precise date as to

13     which Facebook




                                                                 02:28:46

16     significantly over the kind of 15-year -- year

17     period that you're asking about.

18            Q.




20            A.




22            Q.




25            Q.   Who would know that information?              02:29:22

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1             A.   I'm not sure who would know that               02:29:28

2      information.    The -- data infrastructure that

3      Facebook has has changed significantly over time,

4      and many of the people involved in -- in building

5      it back then would no longer be at the company.       In   02:29:38

6      fact, I'm not aware of many people who are still at

7      the company from back in that time.

8

9




13            A.   Similar to my previous answer, I'm not

14     sure who would know.    I would ask the -- I would

15     start by asking the data science team to see if            02:30:13

16     they knew that or the answer to that question,

17     which is a relatively specific question.

18            Q.   Who on the data science team would you

19     ask?

20            A.   At this point, I would start with Mark         02:30:28

21     Molaro, similarly, and see if he knew or knew the

22     right person.

23




                                                                  02:30:49

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1                                                                   02:30:55

2           A.    I am unaware as -- I'm not -- I'm not

3      fully confident in

                               This is when the beginning

5      of my involvement with platform begins, and I                02:31:15

6      recall -- again, in a personal capacity how I

7      recall like seeing information




                                                     -- is not

10     something I am able to testify about today.                  02:31:36

11          Q.




13                                                          but I

14     want to be -- I want to be clear here that this is

15     a long time ago, and it's hard to be -- for me to            02:32:03

16     be confident that I was involved in viewing

17                       in -- in late 2010.     I joined the

18     company in September.   So I -- I'm not sure I can

19     give a confident answer to that.

20          Q.    What kind of information did                      02:32:27

21     reflect?

22          A.    I don't recall exactly what -- what

23     information             would have -- would have --

24     would have requested -- would have stored.

25          Q.    Did            reflect information on an          02:32:46

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1      app-by-app basis?                                           02:32:52

2              A.   Again, I -- I'm not entirely confident in

3      how               worked or the information that was

4      contained in it, and so I'd be speculating, I'm

5      afraid.                                                     02:33:06

6              Q.   Does the information that was retained in

7                    from 2010 -- sorry.   Let me withdraw

8      that and restate it.

9                   Was the information that was reflected in

10                   in 2010 retained by Facebook?                 02:33:21

11             A.   I'm not aware exactly what information

12     from                           has been retained and

13     what hasn't.     Again, that answer -- I did plenty of

14     work to prepare for today's testimony.        That's a --

15     that's a very detailed question that I'm afraid I           02:33:44

16     can't give an accurate answer to today.

17             Q.




22             Q.   What is your recollection of the way in

23     which                                           ?

24             A.   My understanding is that

25                                                now known as     02:34:30

                                                                   Page 773

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1      Hive, and there was another system that came into              02:34:41

2      existence, but I'm unclear exactly when.

3           Q.      What is the other system that you're --

4      that you're referring to?

5           A.      The other system I recall using to query          02:34:55

6                                                               But

7      exactly when          became -- came online and its

8      relation to these other tools is not something I

9      have a detailed lineage of, I'm afraid.

10          Q.      Do you know whether the                           02:35:17

11                             that were recorded in Hive

12     exist for the entirety of the time that that -- let

13     me withdraw that and restate it.

14

                                                                      02:35:40

16                  MR. SCHWING:    Object to form.      Outside

17     the scope.

18                  THE DEPONENT:    Again, I'm not -- I'm not

19     sure exactly what Facebook has retained from which

20     systems across a 15-year -- across a 15-year time              02:35:55

21     period.

22                  This data retention and storage is -- is

23     a very special subject.       I prepared to testify at a

24     high level on these -- on these topics, but that

25     level of detail is something I -- I don't have on              02:36:10

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1      hand today, I'm afraid.                                      02:36:14

2              Q.     (By Mr. Melamed)   Okay.   If you wanted to

3      see the




5              A.     I do not -- I do not know if that could       02:36:23

6      be done.

7              Q.     And who would you ask whether that can be

8      done?

9              A.     I would -- I would ask Mr. Molaro, again,

10     as to whether or not I was -- that was possible              02:36:35

11     or -- or -- or achievable.

12             Q.     And you said you're not sure of -- well,

13     let me -- let me ask this as a question.

14                    What was the difference between the




17             A.     There's likely numerous differences which

18     I -- I would not be able to enumerate all of the

19     differences.       One common difference is that the

20     information stored in Hive became                            02:37:08

21

                    whereas Scuba allowed




24             Q.     Let me return quickly to a question about

25     the                                                          02:37:35

                                                                    Page 775

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1                   Where in Facebook's data infrastructure      02:37:39

2      are the

3              A.   My understanding is they're stored in

4      Facebook's Hive data warehouse.

5              Q.   Do you know if they have a different name    02:38:08

6      within the Hive data warehouse, a




8              A.   Those -- those




13             Q.   But you're not aware of them, of what

14     those names are, as you sit here today?

15             A.   I don't recall the specific and full         02:38:39

16     names of those tables, no.

17             Q.




20                  Is that -- is that your recollection too?    02:39:08

21             A.   My -- my understanding is that in --

22     in --

                                but in precisely what form,

24     I -- I don't recall, as I might be speculating.

25             Q.   Is there a difference between the term       02:39:28

                                                                  Page 776

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1      "API hit" on one hand and the term "API call" on          02:39:30

2      another?

3           A.      Generally, the term "API hits" and "API

4      calls" are synonymous and would typically be used

5      interchangeably.                                          02:39:48

6           Q.      And what -- what do those terms

7      reference?

8           A.      Those terms reference where -- where an

9      application, which could be a first-party or a

10     third-party application, for example, make a              02:40:06

11     request to Facebook's API.

12          Q.      Would an application have to receive

13     approval or -- let me withdraw that.

14                  Would an application have to receive

15     permission from Facebook before making an API call?       02:40:23

16          A.      Not necessarily.   The API exists as -- as

17     a server on the Internet, and it's possible to call

18     those APIs without some form of authentication.

19     But the information returned most likely in that

20     circumstance would -- would be an error.         It       02:40:56

21     depends on exactly the form of API call that's

22     being made and exactly what -- what information is

23     supplied at request time is a -- a degree of ways

24     that that works.

25          Q.      You mentioned that an API that was called    02:41:17

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1      without some form of authentication would likely           02:41:26

2      return an error; is that right?

3           A.     Well, the -- there are -- there are many

4      ways -- there's lots of different APIs.        I think

5      their exact behavior differs from API to API, and          02:41:42

6      the response provided will differ from API to API,

7      and the information required to be provided by the

8      third-party developer in order to get a successful

9      response will also change from API method to API

10     method.                                                    02:42:06

11          Q.     If an error was returned as a result of

12     an API call, what form would that error take?         Is

13     there a common form that that error would take?

14          A.     There are two common ways in which APIs

15     generally signal error states.     The first is an         02:42:30

16     HTTP error code, and the second is returning an

17     error object as part of the API response.

18          Q.     Can you be more specific about each of

19     those?    Like what the HTTP error code say?

20          A.     There's a list of standard HTTP error          02:42:55

21     codes provided by the W3c, and an API provider

22     would generally emit an API code -- sorry -- an

23     HTTP error code that indicates the type of error

24     that the API had encountered.

25          Q.     You said a -- an API provider would            02:43:23

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1      typically use one of these standard HTTP -- HTTP                  02:43:31

2      error codes.     Did Facebook generally -- I'm sorry.

3                   Did Facebook respond with these typical

4      HTTP error codes when a standard error code was --

5                   That question got very messed up.           Let me   02:43:56

6      restate it.

7                   Did HTTP -- did Facebook use the standard

8      HTTP error codes in response to calls that were not

9      permitted?

10                  MR. SCHWING:    Object to form.                      02:44:20

11                  THE DEPONENT:    Again, the Facebook APIs

12     have -- have changed in -- in form over -- over the

13     time period we're talking about here, and the error

14     returned would differ.       The way errors would be

15     expressed would differ depending on the -- the type               02:44:41

16     of API being used or the API being used and -- and

17     the method and how it had been implemented.

18                  My recollection is that -- that the --

19     that the Facebook -- that the Facebook APIs over

20     time would have emitted HTTP error codes in some                  02:44:56

21     cases as one way of signaling errors.

22                  I recognize the answer is -- is -- is

23     heavily -- is a little complex, but the -- the --

24     my understanding is at times HTTP error codes will

25     have been one of the ways in which some Facebook                  02:45:23

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1      APIs signaled error states.                               02:45:26

2           Q.   (By Mr. Melamed)    At those times, were

3      the HTTP error codes the typical HTTP error codes?

4           A.   Again --

5                MR. SCHWING:    I'm sorry.    Object --         02:45:38

6      object to form.

7                Go ahead, Simon.

8                THE DEPONENT:    Similarly, it -- it's hard

9      to give a full and complete answer there because of

10     the number of APIs that existed and how they              02:45:50

11     changed over time.

12               It would typically be a good practice for

13     an engineer implementing an API, if they were

14     returning an HTTP error code, to return the one

15     that most closely matched the situation that the          02:46:07

16     API had encountered.

17          Q.   (By Mr. Melamed)    Did Facebook maintain a

18     list of the error codes it returned from

19     unsuccessful API calls?

20          A.   The HTTP error code mechanism, there's          02:46:27

21     only a standard set of HTTP error codes that the

22     W3c did -- like -- codifies, and so that would

23     generally be the list of error codes that an

24     engineer would be able to choose from.

25          Q.   You also mentioned error objects that           02:46:48

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1      could get returned, correct?                              02:46:51

2           A.     That's correct, yes.

3           Q.     Did Facebook maintain a list of the error

4      objects that could be returned?

5           A.     Facebook maintained some lists of errors      02:47:07

6      that could be returned, but I'm unclear -- you

7      know, how to say when that list came into existence

8      and whether or not it was possible for an engineer

9      to emit an error that was more custom than one of

10     the predefined ones.                                      02:47:32

11          Q.     Does Facebook presently maintain a list

12     of error objects that can be returned?

13          A.     I am unaware of whether or not Facebook

14     maintains a list of API error objects that --

15     that -- that could be returned.                           02:47:52

16          Q.     Are you aware of whether Facebook ever

17     retained a list of error objects that could be

18     returned?

19          A.     I recall in the past a system which was

20                                                               02:48:08

21

22     but I couldn't say when that system started or --

23     or stopped and -- and whether or not it was fully

24     comprehensive of -- of the API responses that could

25     be returned.                                              02:48:35

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1           Q.    What was the name of that system?                02:48:37

2           A.    I don't recall the precise name of that

3      system.   I'm -- I'm going from memory here on a --

4      on a system that I -- that I recall, but

5      couldn't -- couldn't give a very confident answer           02:48:55

6      as to the name of.

7           Q.    Do you have any recollection of what the

8      name could have been or could have included?

9           A.    The system I'm referencing here in my

10     head I think may have been called "                         02:49:12

11                    but -- but, again, I -- I'm not

12     entirely confident of -- of the precise name of

13     that system.

14          Q.    If you wanted to know more about the

15     system, whatever it was named, who would you go to?         02:49:24

16          A.    My first act would be to search for the

17     name of that in Facebook's internal tools and

18     systems and then speak to someone on the platform

19     team as to whether or not it was relevant.

20                Again, I want to be clear:       I'm trying to   02:49:49

21     give here the best answers I can based on my -- my

22     understanding and my memory.      And I'm trying also

23     be clear when I'm doing that from my personal

24     memory and experiences versus a more general

25     answer.                                                     02:50:07

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1           Q.      Is there any individual you would ask          02:50:09

2      about this system that was used to reference the

3      error states that could be returned?

4           A.      I would -- I would ask Steven Elia and

5      see if he knew or knew who knew.                            02:50:28

6                   MR. SCHWING:     Matt, we've been going for

7      longer than an hour.        Would this be a good time for

8      a break?

9                   MR. MELAMED:     Yeah.   Let me just ask a

10     few more questions and then we'll take a break, if          02:50:39

11     that works for you.

12                  MR. SCHWING:     Okay.

13          Q.      (By Mr. Melamed)     Is that okay,

14     Mr. Cross?

15          A.      Yeah, that's fine.                             02:50:47

16          Q.      Do you have any recollection about the

17     time period?     I know you don't have a specific

18     recollection about this system that was used to

19                          , but do you recall any point in

20     time when it was in use?                                    02:50:57

21          A.      I -- I don't want to give an answer

22     that -- that -- that's based on very, very poor

23     memory of this.     This is a -- you know, a system

24     that I didn't have deep understanding or

25     integration with from -- from, you know, eight or           02:51:17

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1      nine years ago.    So I -- I'm just not sure I can        02:51:21

2      give an accurate answer as to -- as to when it was

3      sourced or in use.

4             Q.   And you said you don't believe that -- am

5      I correct that you do not believe the system is           02:51:38

6      still in use today?

7             A.   I do not know whether or not the system

8      is in -- is in use today.

9             Q.   But to find that out, you would ask

10     Mr. Elia?                                                 02:51:52

11            A.   I would ask Steven, Mr. Elia, if he had

12     an answer to that question of that specificity,

13     yes.

14            Q.   All right.

15                 MR. MELAMED:   Before we go off the           02:52:11

16     record, Mr. Schwing and Mr. Cross, I'd like to ask

17     for the notes that you are -- that you have taken

18     in order to prepare for today.      If you can produce

19     those to us, I'd appreciate it, and doing so

20     immediately so that we can review them and use them       02:52:25

21     during today's questioning.

22                 Mr. Schwing, if that's okay with you or

23     if that's something you want to discuss off the

24     record?

25                 MR. SCHWING:   Yeah.   Why don't we take a    02:52:38

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1      look at the notes just to make sure there's nothing             02:52:39

2      that's -- you know, for example, in terms of being

3      privileged.     And we can address that further, Matt.

4      I think we can probably work it out.

5                   MR. MELAMED:   The only note I would make          02:52:52

6      to that point is if there -- if there is something

7      that is attorney-client privileged that Mr. Cross

8      is using to testify from, it's no longer

9      attorney-client privilege, and that will be waived.

10                  But happy to deal with that off the                02:53:06

11     record and, of course, take a look at those.              But

12     we would just ask that you do so as quickly as

13     possible so we can use them during today's

14     testimony.

15                  MR. SCHWING:   Yeah, I -- I understand the         02:53:17

16     request.     We'll take a look at the notes and we can

17     follow up with you.

18                  MR. MELAMED:   Okay.

19                  Happy to go off the record.

20                  THE VIDEOGRAPHER:      Okay.   We're off the       02:53:24

21     record.    It's 2:53 p.m.

22                  (Recess taken.)

23                  THE VIDEOGRAPHER:      We're back on the

24     record.    It's 3:18 p.m.

25          Q.      (By Mr. Melamed)     Before the break we           03:18:46

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1      were talking about the                              .      03:18:48

2                     Do you remember that?

3            A.       Yeah, I remember talking about those.

4            Q.       Does the

                                                                  03:19:03

6            A.




9            Q.       Does not -- let me withdraw that.

10                    What about the




                  ?

13           A.       My understanding is that the --




18           Q.       Is the answer the same regarding whether

19     the




23           A.       I -- I -- I'd be -- as I sit here today,

24     you know, not entirely sure of the precise

25     information that's logged in that -- in that table.        03:20:40

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1             Q.   Who would you ask to determine whether        03:20:48

2      the




4             A.   To answer a question of that specificity,

5      I -- I'd speak to Mr. Molaro and see if he knew the       03:21:08

6      answer.

7             Q.   What types of user data did Facebook

8      share or make accessible to third parties?

9                  MR. SCHWING:    Objection.    Vague.

10                 THE DEPONENT:    The -- the amount of --      03:21:46

11     the types of user data that Facebook has made

12     available to -- to third parties via the Facebook

13     developer platform has -- has changed over time.

14     Typically the Facebook developer platform would

15     emit information about the -- the user who was            03:22:02

16     using the application who was integrated with the

17     API and typically access to information on their

18     Facebook profile which was made available via the

19     API.

20            Q.   (By Mr. Melamed)    Does Facebook have an     03:22:28

21     internal taxonomy of the types of user information

22     that it made available via the API?

23                 MR. SCHWING:    Object to form.

24                 THE DEPONENT:    The way API works is

25     organized around a concept of nodes and edges, and        03:22:49

                                                                  Page 787

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1      the Graph API is organized around this concept of                  03:22:55

2      nodes and edges and fields on those nodes.                And so

3      that -- that concept is -- is relatively well --

4      well understood.

5           Q.      (By Mr. Melamed)     And you mentioned that           03:23:15

6      the type of user information that Facebook shared

7      or made accessible to third parties has changed

8      over time, correct?

9           A.      Sorry.     The -- which information has been

10     made available to third parties has -- has changed                 03:23:31

11     over time?     Sorry.     So that's probably what I was

12     referring to.

13          Q.      Okay.    How has the information that was

14     made available to third parties changed over time?

15                  MR. SCHWING:     Object to form.                      03:23:52

16                  THE DEPONENT:     So one of the ways that

17     the information made -- made available to third

18     parties has changed over time involves the -- the

19     type of IDs which are emitted via the -- the

20     Facebook developer platform.                                       03:24:06

21                  In its inception, the API emitted

22     canonical user IDs but over time has moved to app

23     scoped user IDs and page scoped user IDs as -- as

24     the identifying mechanisms for users.           That's --

25     that's one example of the ways in which the                        03:24:29

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1      information that's emitted has changed over time.                  03:24:31

2              Q.     (By Mr. Melamed)   Are there other

3      examples of the ways in which the user information

4      that Facebook emits to third parties has changed

5      over time?                                                         03:24:43

6              A.     So another example in which the Facebook

7      emits user information has changed over time

8      involves the advent of platform permissions, which

9      were a concept introduced in, I think, 2010, which

10     allowed users to grant applications access to                      03:25:04

11     specific subsets of their profile information, for

12     example.

13             Q.     Are there other changes in the way the

14     user information has -- is emitted via APIs?

15             A.     Other ways in which the -- help me                  03:25:36

16     understand what you mean by "the way."           Do you mean

17     from a more technical perspective or some other

18     form?

19             Q.     Fair enough.   You just gave two examples

20     of changes.       I'm looking for other changes.          And as   03:25:47

21     you sit here today, you may not know each

22     individual change that was made over the -- the

23     decade-plus time period we're talking about, but

24     you've hit on a couple of -- of large changes,

25     right?       The way in which IDs were emitted and the             03:26:01

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1      way that permissions came into being.                     03:26:05

2                  I'm asking for other changes in the way

3      that user data was emitted over time that are

4      similar -- similar to -- in scale to those.

5                  Does that make sense to you?                  03:26:22

6                  MR. SCHWING:    Object to form.

7                  THE DEPONENT:    So let -- let me see if I

8      can think of some other examples.        Just give me a

9      second.    I want to make sure I give you an example

10     that's valuable.                                          03:26:59

11                 So another example that I think is worth

12     calling out is the advent of API versioning as --

13     as a way in which the information that is made

14     available to third parties has changed over time.

15                 Prior to the advent of API versioning,        03:27:24

16     APIs would configure the way in which they wanted

17     information made available to them.         With the

18     advent of API versioning, developers could request

19     the API version they wanted at the time they made

20     the API call.                                             03:27:46

21                 So I think that's another example in

22     which the way the information was emitted over time

23     changed.

24          Q.     (By Mr. Melamed)    Are there any other

25     examples that you can think of of the ways in which       03:27:56

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1      information was emitted over time changed?                03:28:00

2           A.     Another example I can think of is that in

3      the earliest -- early iterations of the platform,

4      there was a technology




8           Q.     Any other examples you can think of of

9      the ways in which information was emitted over time

10     changed?                                                  03:28:53

11          A.     Another example I can think of is the way

12     that user authentication was performed within

13     Canvas applications on the Facebook developer

14     platform.

15                 I recall in the original version, the         03:29:12

16




22          Q.     Do you recall when that change occurred?

23          A.     I think that change occurred in -- in

24     around 2010, 2011, but I'm -- I'm not 100 percent

25     confident on the date, but around that time.              03:29:54

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1              Q.   Do you recall any other changes in the           03:29:56

2      way that information was emitted over time?

3              A.   Another example I can think of is the

4      change from the rest API to the Graph API.              The

5      rest API was Facebook's API design launched in 2007           03:30:16

6      or 2008 along with the original Facebook developer

7      platform.     The Graph API was launched in 2010, as I

8      understand it.

9                   And those were two different mechanisms

10     of -- of -- of ways in which developers could                 03:30:40

11     access user information via Facebook platform.

12             Q.   Are there other examples you can think of

13     of the way in which the data that was emitted

14     changed over time?

15             A.   Sorry.   Examples in which the -- the way        03:31:06

16     that data that was emitted?

17             Q.   I'm sorry.   The term we've been using has

18     been "information," so I didn't mean to change the

19     term.

20                  Are there other examples you can think           03:31:14

21     of -- of the way that information was emitted over

22     time changed?

23             A.   At a high level, the Facebook API has

24     developed over -- you know, the Graph API in

25     particular has developed over -- over several                 03:31:37

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1      years, and there have been new fields added, edges        03:31:40

2      and objects taken away, and permissions changed as

3      well.

4                   So a whole range of -- of ways in which

5      information was -- was made available or the way --       03:31:56

6      you know, what apps had access to what has changed

7      over time.

8              Q.   I want to go back to the list you just

9      gave and ask a few questions about each example.

10                  So you started with the types of IDs that    03:32:15

11     were available, and you said at the inception it

12     was canonical IDs.

13                  Can you explain what you mean when you

14     meant when you used the "canonical"?

15             A.   Yes, when I use the phrase "canonical,"      03:32:30

16     I'm referring to a Facebook user's ID in the

17     Facebook database that was created for them when

18     they signed up to Facebook.

19             Q.   And what is the difference between that

20     and an app scoped ID?                                     03:32:52

21             A.   An app scoped ID is an ID for a user

22     which is stable within the context of a particular

23     app, but that ID for that user may differ between

24     applications.

25             Q.   And what is the difference a canonical       03:33:15

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1      Facebook ID and a page scoped ID?                         03:33:18

2              A.   It's similar to an app scoped user ID

3      except the user ID is different for the same user

4      within the context of different pages.

5              Q.   When did Facebook stop emitting canonical    03:33:39

6      IDs?

7              A.   There are circumstances in which

8      canonical IDs are likely still being emitted today.

9              Q.   When did Facebook commence app scoped

10     IDs?                                                      03:34:02

11             A.   Facebook began emitting app scoped user

12     IDs in April 2014.

13             Q.   And when did Facebook commence using page

14     scoped IDs?

15             A.   The existence of page scoped IDs began       03:34:22

16     later and was used in the Messenger app, a

17     Messenger API context, I think, first; and then was

18     later brought to the Graph API when interacting

19     with pages.

20                  I think the time was -- was -- was around    03:34:43

21     2015, 2016 that -- that those changes began to be

22     made.

23             Q.   Why was the page scoped ID -- let me

24     withdraw it and restate it.

25                  Is there a reason that the page scoped ID    03:35:02

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1      was not started at the same time of the app scoped            03:35:05

2      IDs with Facebook?

3              A.   The changing of the ID scheme is -- is a

4      significant change for developers.        The move to

5      page scoped IDs in the Graph API, my understanding            03:35:27

6      was done to unify the ID space between the Graph

7      API and the messaging -- the business messaging and

8      the Facebook Messenger for Business APIs.

9              Q.   Was the development of the app scoped IDs

10     a significant undertaking?                                    03:35:52

11                  MR. SCHWING:   Object to form.

12                  MR. MELAMED:   I'm sorry.    Let me rephrase

13     that.

14             Q.   (By Mr. Melamed)     You said the changing

15     of an ID scheme is a significant change for                   03:36:03

16     developers in your prior answer.

17                  So my question is:     Was -- was the change

18     to an app scoped ID a significant change for

19     developers at Facebook?

20             A.   Sorry.   Can you help me understand.       Are   03:36:18

21     you asking whether or not it's a significant change

22     for developers or it was a significant

23     development -- it took significant time development

24     for Facebook?

25             Q.   Did it take significant time to develop          03:36:28

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1      app scoped IDs at Facebook?                               03:36:30

2           A.    The developer -- the development of app

3      scoped IDs involved several engineers over -- over

4      several months, so it -- it wasn't an insignificant

5      amount of work, but it's hard for me to know what         03:36:46

6      "significant" means, you know, at Facebook's

7      context.   There's all kinds of things that...

8           Q.    Understood.     I was trying to use the

9      language you had used, but I understand what you're

10     saying.                                                   03:37:00

11          A.    So -- so to be clear, when I used the

12     language, my -- my assertion was that it's a -- it

13     was a significant change for developers to -- to --

14          Q.    Sorry.

15          A.    -- to --                                       03:37:12

16                Sorry.     Go ahead.

17          Q.    I'm sorry for interrupting you.

18                When you say "a significant for

19     developers," do you mean significant change for

20     third-party developers?                                   03:37:20

21          A.    Yes.     It -- it would mean a significant

22     change for third-party developers.

23          Q.    Do you know whose impetus it was to

24     change to app scoped IDs?

25          A.    I don't think it was any particular            03:37:38

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1      person's impetus.     It -- the -- the concept, I            03:37:40

2      recall being discussed internally by several

3      people, and so I'm not -- I'm not sure there was

4      any one person who -- whose impetus it was to

5      change to app scoped IDs.                                    03:37:57

6              Q.   Do you recall when these first

7      discussions occurred concerning changing to app

8      scoped IDs?

9              A.   There were likely discussions that --

10     that I was not a part of.     The first time I've -- I       03:38:12

11     recall becoming aware of them as a -- this is a

12     concept, and I think reviewing documents in which

13     they were discussed, is around, you know, late

14     2013.

15             Q.   Why was the change made to app scoped           03:38:35

16     IDs?

17             A.   There were a number of reasons why app

18     scoped IDs were seen as a valuable change.             The

19     first is that it would allow -- would make it hard

20     for developers to collect data from multiple                 03:39:00

21     applications and merge it together into a single

22     dataset.

23             Q.   So before app scoped IDs were used and

24     during the time when canonical -- let me break it

25     down into two questions.     Sorry.                          03:39:21

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1                Before app scoped IDs were used, is it          03:39:23

2      accurate to say that canonical IDs were used?

3           A.   Before app scoped IDs came into use,

4      Facebook developer platform would have emitted

5      canonical IDs user IDs to refer to -- to users.           03:39:40

6           Q.   And during that time that canonical IDs

7      were used to refer to users, it was easier for

8      developers to collect data from multiple

9      applications and merge it together in a single

10     dataset than it would be later when app scoped IDs        03:39:57

11     were used, correct?

12               MR. SCHWING:    Object to form.

13               THE DEPONENT:    With canonical IDs, if a

14     developer owned or -- or used multiple apps, then

15     it would have been




18          Q.   (By Mr. Melamed)     In your response, you

19     just said it would have been




22          A.   It would have been technically possible

23     for them to do so.

24          Q.   Is there anything other than technology

25     that prevented them from doing so?                        03:40:54

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1                MR. SCHWING:    Object to form.                 03:41:01

2                THE DEPONENT:    It's -- it's possible that

3      Facebook's platform policies prevented or were --

4      or asked developers not to share information

5      between apps, but exactly how those policies were         03:41:13

6      written and how they were -- how they were -- yeah,

7      how they were written and changed over time is --

8      is, you know -- is something kind of -- I think

9      other people are better placed to answer than me.

10               So I'm -- I'm not a complete expert on          03:41:31

11     Facebook's platform policies.

12               So hopefully that -- hopefully that gives

13     you an answer.

14          Q.   (By Mr. Melamed)      Understood.    I just

15     want to clarify so I understand your testimony            03:41:43

16     about that.

17               Was there something in the policies that

18     would have made it impossible for developers to

19     link information from different apps that used the

20     same canonical ID?                                        03:41:57

21               MR. SCHWING:    Outside the scope of the

22     deposition.   Object to form.

23               THE DEPONENT:    So policies are a --

24     you know, a way of Facebook telling developers what

25     Facebook thinks is -- i's appropriate or not with         03:42:17

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1      the information.    So -- and, again, as I said, like      03:42:22

2      I'm not an expert in what Facebook's policies did

3      and did not permit at any given time.

4                 So a policy -- a platform policy is a

5      written document.    That doesn't, you know, prevent       03:42:32

6      a user doing something or -- sorry.       Let me back

7      up.

8                 Doesn't prevent a developer from -- from

9      doing something, but it -- it's a clear statement

10     that that is not something Facebook would -- would         03:42:47

11     have approved of, if indeed there was a policy

12     written to that effect.

13           Q.   (By Mr. Melamed)   Thank you.     That helps.

14                I think this is a good transition to

15     topic 2d, where it's my understanding that Facebook        03:43:05

16     has identified somebody else to testify about 2d,

17     except that you are going to testify about it today

18     concerning a technical aspect relating to the

19     platform integrity team, and the topic is "how

20     Facebook ensured third parties' use of data and            03:43:26

21     information is limited to the use case."

22                So can you tell me what is the technical

23     aspect related to platform integrity team

24     concerning how Facebook ensured third parties' use

25     of user data they acquired from Facebook was               03:43:41

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1      limited to the use case?                                  03:43:45

2           A.     So there's a number of techniques that

3      the platform integrity teams would have used to

4      attempt to identify developers who were accessing

5      or using data in -- in -- in different ways, in           03:44:04

6      ways that was against policy.

7




14          Q.     Was that a technology that was developed

15     to ensure that a                             at the URL   03:44:52

16     provided?

17          A.     Yes, that's technology that was developed

18     to ensure that where a




                                                                 03:45:09

21          Q.     Did that tool evaluate the

                                   in any way?

23          A.     My understanding is that that tool did

24

                    in -- in place by -- by Facebook that        03:45:30

                                                                  Page 801

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1      would evaluate the -- the




3           Q.     Okay.    So just focusing on that tool for

4      the purpose of this question.

5




                           is that -- is that accurate?

10                 MR. SCHWING:    Object to form.      Incomplete   03:46:10

11     hypothetical.

12                 THE DEPONENT:    My understanding is that

13     that tool certainly would have said that a




17          Q.     (By Mr. Melamed)      Okay.   Were each of the

18                                                             on

19     the platform evaluated by the -- by anyone at

20     Facebook?                                                     03:46:47

21                 MR. SCHWING:    Outside the scope of the

22     deposition.     Object to form.

23                 THE DEPONENT:    My understanding is that

24

                                                                     03:47:04

                                                                     Page 802

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1

                   for and how they evaluated them is -- is

3      not -- not something I'm an expert in.        I think

4      Ally Hendrix is probably best placed to talk about

5      how Facebook




7             Q.    (By Mr. Melamed)   Okay.   And just to be

8      clear, that is not -- the

                           is not the technical aspect

10     related to platform integrity team that you were             03:47:42

11     prepared to testify about today; is that right?

12            A.    The example I've given here is about a

13




                       -- by the operations teams and policy

17     teams at Facebook.

18            Q.    What happened when Facebook determined

19     that                                             provided

20     by an app?                                                   03:48:22

21            A.    Different things would have happened

22     depending on what the app -- which app it was.          If

23     it was an app where -- there was a partnerships

24     team at Facebook that was responsible for the

25     relationship with that developer, and typically the          03:48:42

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                                                                 03:48:59

6                 For other apps that may not have had a

7      managed partner, the developer operations team

8      would have or could have




                                             I'm -- it likely    03:49:19

11     depended on a number of factors.

12          Q.    And are you prepared to testify today

13     about those factors?

14          A.    I can give you some

                                                  but exactly    03:49:36

16     which one would be applied would depend -- would

17     have differed over time and a number of different

18     factors.

19          Q.    What are some

20     that would have applied -- could have applied?            03:49:49

21          A.    So one example is that Facebook

22




                                                                 03:50:12

                                                                  Page 804

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1           Q.      And what are other examples of -- of          03:50:16

2                                         that could have been

3      imposed if

4           A.      So other examples, again, of

5      that Facebook has employed as -- as our -- as part         03:50:28

6      of our -- as here,




9                   And then another example of a




12                  As I said, exactly which




                                                        is

15     something the developer operations team and policy         03:51:02

16     team are best placed to -- to talk about.         I can

17     give you examples of the -- the example -- the

18                    I'm aware of, having talked to the

19     people involved, but exactly which ones are applied

20     is -- is something that -- that -- that operations         03:51:17

21     and policy teams are best placed to -- to answer.

22          Q.      Are there records at Facebook regarding

23                                                       by the

24     technology you described?

25          A.      This technology will have -- would have       03:51:39

                                                                  Page 805

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1                                                                03:51:45

2

                      in their -- existing for their

4      application.

5                But the retention, you know, exactly            03:52:00

6      what's in those -- those logs and the -- the

7      duration for which they've been retained is -- is,

8      you know, something I can't -- I can't answer as --

9      as we sit here today.    But there would have been

10     logs as part of the existence of the system, yes.         03:52:14

11          Q.   Do you know what those logs were called?

12          A.   They would have been tables relating to

13     the name of the system in -- in Hive, most likely.

14     But I -- I -- you know, I don't know the exact name

15     of -- of the tables that were -- that were -- that        03:52:34

16     were created to log this information.

17          Q.   Does this technology that you described

18     whereby Facebook would




                                                                 03:53:03

21     does this technology still exist today?

22               MR. SCHWING:    Object to form.

23          Q.   (By Mr. Melamed)    Can I just restate the

24     end of that.

25               Does the technology describe -- is the          03:53:19

                                                                  Page 806

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1      technology you described still used by Facebook             03:53:21

2      today?

3                   MR. SCHWING:    Same objection.

4                   THE DEPONENT:    My understanding is that

5      that technology is still in place as part of our            03:53:31

6      efforts to




8           Q.      (By Mr. Melamed)    And am I correct in

9      understanding that you do not know the name of the

10     table that records -- that logs the information             03:53:51

11     about apps that




13          A.      So in preparation for -- for today, I

14     spoke to, you know, people involved in -- in these

15     efforts about, in general, the techniques and tools         03:54:07

16     which are applied.     This was one of the examples

17     that was -- you know, we talked about.          You know,

18     so I have a high-level understanding of -- of that

19     system and its existence, but the precise name of

20     the table in -- in Hive, that's -- that's something         03:54:29

21     I'm afraid I don't have in my head today.

22          Q.      And you mentioned -- you used the phrase

23                          but the tool automatically --

24     there's -- let me see if I'm describing this

25     correctly.                                                  03:54:50

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1                So Facebook wrote code -- engineers at          03:54:50

2      Facebook wrote code to determine




                                                 is that an

5      accurate statement of the -- of the way the tool          03:55:04

6      worked?

7                MR. SCHWING:    Object to form.

8                THE DEPONENT:    That matches my high-level

9      understanding of -- of how this tool worked, yes.

10          Q.   (By Mr. Melamed)    Do you know what            03:55:17

11     qualified as a                   in that context?

12          A.   The system would likely have checked for

13     a number of things.   For example, the -- whether or

14     not when we -- when




17               So that would be certainly one of the

18     things that that the system was checking for.

19          Q.   Are you prepared to testify regarding

20     what constituted a                                        03:55:56

21

22          A.   So, again, I can give you my high-level

23     understanding of how the system works from -- from,

24     you know, talking to the -- to the people involved.

25     And in preparation for today, we talked about a           03:56:08

                                                                  Page 808

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1      large number of -- of different systems at -- at          03:56:13

2      the company.   So I can give my high-level

3      understanding of how that -- of how that system

4      worked.

5                My understanding is it would have               03:56:25

6




                       , in Facebook's estimation, as to

9      whether or not that --

                                                                 03:56:41

11          Q.   Are you familiar with the use of the text

12     lorem ipsum as placeholder text for when designing

13     or writing a document?

14          A.   Yes, I'm aware of the -- the practice of

15     using lorem ipsum.                                        03:56:58

16          Q.   Are you -- do you know whether the tool

17     you're describing which




                                                 that had        03:57:23

21     lorem ipsum placeholder text?

22          A.   So the precise nature of how this system

23     behaved is -- and whether or not it would have

24     returned a valid document or not, determination

25     in -- in that respect, is -- a level of detail I --       03:57:48

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1      I -- I don't have in my head right now.           So hard --   03:57:52

2      hard for me to answer that question in that level

3      of specificity, I'm afraid.

4              Q.   I'm -- I'm not trying to get you to

5      testify beyond your knowledge.        I'm just -- the          03:58:05

6      indication we were provided is that you were

7      prepared to talk about a technical aspect relating

8      to platform integrity team, and you identified this

9      as the technical act -- a technical aspect you were

10     prepared to identify.       So I'm just trying to              03:58:23

11     understand the extent of your testimony.

12                  MR. SCHWING:    And, Matt -- and I want you

13     to continue your questioning, so I'll be brief

14     here.

15                  Just for the record, we -- we did                 03:58:31

16     indicate in the letter that -- that he would

17     generally speak to this issue to give you

18     information on it with the idea that could then,

19     you know, learn about it, if you need to ask other

20     witnesses about it, et cetera.                                 03:58:44

21                  But I want to make the record clear that

22     we did use the word "generally," I believe.

23             Q.   (By Mr. Melamed)    Are there other

24     technical aspects relating to the platform

25     integrity team that you -- that you are prepared to            03:58:57

                                                                      Page 810

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1      testify about today concerning how Facebook ensured       03:59:00

2      third parties' use of user data they acquired from

3      Facebook was limited to the use case?

4           A.     So another example of -- of a technique

5      that the platform integrity team used was




9                  So that's another -- another type of

10     example.                                                  03:59:39

11          Q.     How were

                  defined?

13                 Let me restate that.

14                 What constitutes an

                                                                 03:59:56

16          A.     The answer to that is somewhat -- in the

17     definition of the integrity teams, one of the

18     challenges of working in -- in a -- in a space like

19     this is the adversarial nature of it, and so some

20     developers -- you know, what -- what is unusual or        04:00:21

21     is considered unusual by the integrity team is a

22     set of things that changes over time and will be

23     different from context to context.

24                 Typically and generally, though, what the

25     team would be looking for is, for example, cases          04:00:37

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1                                                                      04:00:42

2




                            .

5                So those are two examples of what might               04:00:58

6      be considered anomalous.

7           Q.   What are the

8           A.   So in the context of the Graph API?              Is

9      that what you mean by -- how would you like me to

10     answer generally in -- in -- can you help me                    04:01:16

11     understand the kind of answer -- what kind of

12     answer you're expecting, generally or specifically

13     as it applies to the Graph API?

14          Q.   In the context of the answer you just

15     provided, where you said that                                   04:01:27

16




19          A.   More that if an app




22          Q.   Okay.   Thank you for the clarification.

23               What did you mean by                        in

24     that context?

25          A.   So in that context, a                  refers         04:02:05

                                                                       Page 812

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1      to a --




                              The exact definition of that

4      is -- is -- will have changed over time, but at a

5      high level, that's -- that's what we mean by




7           Q.   And who sets or establishes the




9           A.   The platform integrity team would likely

10     have been responsible for -- for -- for

                      or being -- certainly being consulted

12     for how they were -- how they were set.

13          Q.   And who at the platform integrity team

14     would you speak to to understand how

15     were set over time at Facebook during the time            04:03:07

16     period of this case?

17          A.   Given the -- the -- the time period of

18     the case is so wide, I would start by trying to

19     speak to somebody in the -- in the platform

20     integrity team today to see if they had more              04:03:29

21     information.     I -- I have information and have a --

22     implemented at various times, but, you know, the --

23     the mechanism of                   across -- across 15

24     years would have -- would have changed.

25          Q.   And who would you reach out to today if         04:03:48

                                                                  Page 813

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1      you wanted to talk -- on the platform integrity           04:03:50

2      team today if you wanted to talk about

                  over time?

4           A.     I would start by reaching out to -- to

5      Dan Xu and see if he was able to answer the -- the        04:04:03

6      kind of specific questions that I'm -- you know,

7      beyond what I'm able to answer myself.

8           Q.     Can you spell his last name, please.

9           A.     That's X-U.

10          Q.     You also noted that another




13          A.     Yes.   And from speaking to the platform

14     integrity team, one thing that may have built --

15     has evolved over time is a system to look for




                                       for example.

18          Q.     You mentioned that evolved over time,

19     correct?

20          A.     My understanding, from talking to the         04:05:12

21     people involved, is that -- and as it would be

22     common in any adversarial space, as technology

23     evolves, the first versions might be relatively

24     simple and rules based, and -- and more

25     sophisticated ones might be -- you know, might            04:05:30

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1      be -- would have been developed over time -- for             04:05:34

2      example, machine-based models and so on.

3           Q.      Do you know when the first versions of --

4      the first version of this tool was built by

5      Facebook?     I'm not speaking outside the context of        04:05:52

6      this case.

7           A.      Sure.   This is one of the things that

8      people have -- have -- when I've talked to the

9      people involved in this, this is certainly

10     something they -- they reference from around the --          04:06:09

11     in existence around the 2011, 2012 time frame.          So

12     my understanding is that such a system was in

13     place, you know, even a basic one then.          So that's

14     the -- that's the kind of earliest example I've --

15     I've -- I've heard about when talking to the people          04:06:31

16     involved in preparation for today.

17          Q.      How were the reports or notifications

18     that there were




20     what kind of




22          A.      My understanding from -- again, from

23     talking to the people involved is that one of the

24     forms that that would have taken is -- is a

25                  that -- that was made available to -- to        04:07:08

                                                                    Page 815

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1                                                                04:07:11

2




                                                                 04:07:32

6              Q.   So putting this together, is it right to

7      say that around 2011 or 2012 -- and you're not

8      specific as to time period, but generally those --

9      those years -- there was

                                                                 04:07:49

11




13             A.   Right.   The -- the -- from my

14     understanding the -- yes, around -- around that

15     time, possible -- possibly later, the exact form          04:08:12

16     that that information would have taken would -- the

17     way in which it would have been made available to

18     DevOps may -- may have changed.

19                  But, yes, the -- the -- there were --

20     there was a                                               04:08:26

21




24             Q.   Were there -- sorry.    Let me withdraw

25     that.                                                     04:08:42

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1                   Are there records that still exist of the     04:08:43

2

                                    starting in the 2011 or '12

4      time period?

5                   MR. SCHWING:    Object to form.               04:09:00

6                   THE DEPONENT:    So my understanding is

7      this -- this -- certainly logging from 2012

8      onwards, as I understand it,




10                  So I know that that information has           04:09:21

11     been -- has been stored and, in fact, made

12     available in this case, as I understand it.

13                  It's -- it's possible that there is a way

14     to reconstruct

                                                  but again,      04:09:42

16     exactly what Facebook's data retention policy is in

17     this -- is -- is hard to that level of detail to

18     know.

19                  So it may be possible to recreate

                    , but -- but I can't for certain -- I         04:09:56

21     can't with certainty say that that would be

22     possible today.

23             Q.   (By Mr. Melamed)    You -- you mentioned

24     from 2012 forward it's your understanding that

25     information has been provided in this case                 04:10:06

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1

                                   , correct?

3           A.   That's correct, yeah.

4           Q.   What -- do you know what the name -- is

5      there a name for that information or that table or        04:10:19

6      whatever it is?

7           A.   I think I'm thinking of here is the




10               And I apologize, Rebecca, for making you        04:10:40

11     have to write that down.

12          Q.   Okay.   And have you heard that referred

13                                 just as a stand-alone

14     two-word name without the underscores?

15          A.   I've heard that referred to as




17          Q.   Is that your understanding of what is

18     being referred to when people talk about




20          A.   That's my understanding of what's being         04:11:04

21     referred to when people talk about




23          Q.   Going back to the -- the technology that

24     exists to check

                                                                 04:11:21

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1                   Do you recall talking about that?             04:11:24

2           A.      Yeah, I recall talking about that.

3           Q.      And there were some questions you weren't

4      able to answer about whether               -- what the

5      meaning of a                      was, for example,        04:11:31

6      correct?

7                   MR. SCHWING:     Object to form.

8                   THE DEPONENT:     The precise nature of how

9      that system determines

                 is a -- a level of detail I don't have right     04:11:42

11     now and will have changed over time.

12          Q.      (By Mr. Melamed)     Who would you talk to

13     to figure out how that had changed over time, how

14     what a                      was had changed over time?

15          A.      I would attempt to speak to somebody on       04:12:01

16     the platform integrity team to see if they could

17     answer a question with that level of specificity.

18          Q.      And who would you go to now if you wanted

19     to start that inquiry?

20          A.      I would start with Dan Xu.                    04:12:15

21          Q.      Are there other technical aspects

22     relating to the platform integrity team concerning

23     how Facebook ensured third parties' use of user

24     data that they acquired from Facebook was limited

25     to the use case that you are prepared to testify           04:12:34

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1      about?                                                    04:12:36

2              A.   Another example that -- that I've learned

3      about by preparing for this case is a system which

4

                                                                 04:12:54

6

7              Q.   Do you know when that technology was

8      implemented?

9              A.   So this activity has likely been done in

10     some form for -- for quite some time.        Early in     04:13:24

11     its -- early in -- earlier in the gestation, this

12     would have been a more manual process, and my

13     understanding that since a -- an automated way of

14     doing it is now -- is now in place.

15                  And that's been developed more recently      04:13:44

16     using




20             Q.   When did that more automated process         04:14:02

21     commence?

22             A.   The precise date, I -- I don't have

23     access to the precise date that -- that -- that

24     that activity -- that that automated system came

25     into being.     From talking to the people involved,      04:14:19

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1      you know, a very simple automated -- some very            04:14:22

2      simple automated processes were likely in use in

3      around 2012, 2013.   But, again, the specifics,

4      I'm -- you know, I just -- I don't have that level

5      of detail available to me right now.                      04:14:36

6           Q.   And in saying you don't have that level

7      of detail available to you now, you can't -- are

8      you able to speak about that, what you referred to

9      as a "simple automated process" that you thought

10     was in -- in place in 2012 or 2013 time period?           04:14:55

11     Can you talk about how that simple process worked?

12               MR. SCHWING:    Object to form.

13               THE DEPONENT:    So I -- I can talk more

14     concretely about the -- I talk more about the

15     systems that are in place today as I understand           04:15:15

16     them, because in preparation for -- for today's

17     case, most of the people I spoke to had, you know,

18     knowledge of the most recent systems in place.

19          Q.   (By Mr. Melamed)     And when you're talking

20     about the systems in place today, how long have           04:15:33

21     those systems been in place?

22          A.   Again, exactly -- exactly which systems

23     are in -- in -- in place today and -- and when they

24     were started, they were like -- I -- again, I don't

25     have the -- the exact dates as to when, you know,         04:15:55

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1      those systems were first implemented or how it               04:15:59

2      operated over time.     I've, you know, done the best

3      job I can to prepare.     I talked to a number of

4      people who -- who were involved in these systems,

5      but the precise dates in which they existed is --            04:16:12

6      is not something I have -- recall.

7           Q.    Without precision, are you able to say

8      about when the systems that you were prepared to

9      testify about today started being used at Facebook?

10          A.    The exact lineage of -- and when these            04:16:37

11     systems came into being, like I -- I don't have the

12     precise -- the precise timelines, I'm afraid.          And

13     as I say, I think these -- these systems overlap

14     and, you know, were developed over a long period of

15     time, and so hard to give very specifics about               04:16:56

16     exactly what the behavior was and what the major

17     milestones of evolution are.

18          Q.    Do you know if the systems that are in

19     place today were implemented after March 2018?

20          A.    It's likely, given that there's a -- a            04:17:22

21     team who works on this, that they've been

22     constantly developing -- developing these kinds of

23     systems.   And so, yes, there -- there will be

24     systems in place today that were not in operation

25     around 2018.                                                 04:17:39

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1             Q.   You mentioned that there are                  04:17:46

2




5             A.   The -- the -- it's likely there are           04:18:05

6      different -- different parts to the system that --

7      that

                     So hard -- again, like, I can talk

9      about these in -- high-level concept of what they

10     intend to do and -- and how they -- what their            04:18:23

11     functionality -- you know, how they are used.

12                 The detail of the technical

13     implementation is something best left to an

14     engineer.

15                 At a high level,




24                 And then one of the other examples would

25     be                                                        04:19:12

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1




3                  So pretty typical in an integrity context

4      is the -- you know, the people using -- the people

5      trying to develop bad apps are also trying to be          04:19:30

6      not detected, and therefore the systems in place to

7      detect them need to evolve over time in order to

8      stay ahead of -- of those patterns in behavior.

9                  So precisely how -- you know, how these

10     systems are architected and whether or not -- which       04:19:49

11     different pieces there are is, you know, a level of

12     engineering detail.    From -- from a product

13     perspective, those are the -- the goals of the

14     system and the types of things that those systems

15     are looking for                                           04:20:07

16

17          Q.     To be clear, I'm not asking for

18     engineering-level detail of how exactly how this

19     happened.    If I were to look for that information,

20     who would I ask?    Or if you were to look for that       04:20:24

21     level of information, who would you reach out to?

22          A.     Again, I would speak to one of the -- one

23     of the engineers on the platform integrity team to

24     understand, you know, that -- that level of

25     specificity as to exactly how the systems are             04:20:45

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1      implemented.                                              04:20:47

2              Q.   Is there a particular person you would

3      reach out to as being somebody you would start

4      with?

5              A.   I would start with Dan Xu again.             04:20:59

6              Q.   Now, you mentioned, I think, three

7      factors -- and I just want to make sure I have

8      them -- that this tool would have looked at.

9

                                                                 04:21:14

11

12                  Do I have that right?

13             A.   Those are three examples I -- I

14     mentioned.     My understanding is that the -- the --

15     there are likely more factors involved, and a             04:21:29

16




18             Q.   Are you aware of any other factors as you

19     sit here right now?

20             A.   As I sit here right now, no.     So I -- I   04:21:44

21     can imagine some of what they might be, but I think

22     that -- that would be speculating.

23             Q.   Do you know when Facebook started looking

24     at

                                                                 04:22:02

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1                                                                      04:22:06

2             A.   Yeah.   Again, I talked to people involved

3      in -- in integrity who -- who were involved in a

4      number of ways of




                                                              in

8      around 2013, 2014, possibly earlier.

9                  But that's when the people I -- I spoke

10     to talked about beginning to -- to perform that                 04:22:45

11     kind of activity.

12            Q.   Do you know who was involved in that

13     manual review that was happening around 2013, 2014

14     time period?

15            A.   I don't know exactly who was involved.          I   04:23:06

16     mean, platform integrity team changed over time,

17     too.

18                 The -- there were people I spoke to

19     who -- who were involved in the platform integrity

20     team around that time.                                          04:23:23

21            Q.   Who are those people?

22            A.   So one name is Eugene Zarashaw.

23     Zarakhovsky was his previous name.       So I think he

24     was -- he was involved.

25                 Another person that was involved is                 04:23:42

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1      someone called Jonathan Gross.                            04:23:45

2                 And then the -- exactly how that

3      information is -- was -- was

4                      is, again, I think a set of questions

5      for the developer ops and policy teams.         I think   04:23:57

6      Ally Hendrix is -- is placed to answer those kinds

7      of questions.

8            Q.   Do you know who led the development of

9      the




13           A.   The specific name of the -- of the people

14     involved, no, I don't have -- you know, I don't

15     have their names.                                         04:24:29

16                As I've said, like this is a -- this is a

17     concept that -- that will -- that evolved over --

18     over time and, you know, in its earliest phases

19     would have been a

                             and today is -- is -- my            04:24:46

21     understanding is today is a much more -- more

22     c

23                I -- I -- I know the name of the -- of

24     the engineering manager involved more recently, so

25     I -- I, you know, I -- I recall meeting him               04:25:05

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1      recently to talk about this stuff.       I can't think    04:25:11

2      of his name right now.     I think Jay is his first

3      name, I think.

4           Q.     If you remember that at any point during

5      the deposition, just please stop and say, "I              04:25:24

6      remember the name of the person."

7           A.     I will.   As -- as I've said, in order

8      to -- to prepare for the broad topics to cover

9      today, you know, I had to do a lot of prep across a

10     number of areas.                                          04:25:41

11          Q.     Are there other technical aspects

12     relating to the platform integrity team concerning

13     how Facebook ensured third parties' use of user

14     data they acquired from Facebook was limited to the

15     use case?                                                 04:25:53

16          A.     So another technique that I -- I'm aware

17     has been employed is our




                                              So that's a --

20     another -- another common technique that -- that          04:26:29

21     was employed, as I understand it, at various times.

22          Q.     And just so we don't have to keep going

23     back to the same question, I'd like to get out as

24     many of these examples -- you know, this is

25     something that you're here to testify about, so I         04:26:43

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1      just want to get the list of the examples of                     04:26:48

2      technical aspects relating to the platform

3      integrity team concerning how Facebook ensured

4      third parties' use of user data they acquired from

5      Facebook was limited to the use case.                            04:26:57

6                So you just mentioned                            and

7      let's just try and list all of the other ways that

8      you're aware of, if you can do that.

9           A.   So another mechanism that is in place

10     today is app review.    And so app review is a                   04:27:18

11     mechanism by which Facebook asks developers to

12     explain why they want access to a particular piece

13     of information, and then Facebook uses technical

14     means to determine whether or not they can, indeed,

15     request that information from -- from users.          So         04:27:43

16     that's another example.

17          Q.   Any other examples?

18          A.   Another example of how Facebook attempted

19     to ensure that information was not being

20     inappropriately shared with fourth parties, in this              04:28:05

21     case, people that the third-party developer had a

22     relationship with, is




                                                                        04:28:32

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1                    That's a lot of information, but these         04:28:37

2      things are sometimes complex to explain.

3              Q.    Are there any other technical aspects

4      related to the platform integrity team concerning

5      how Facebook ensured third parties' use of the data          04:28:49

6      they acquired from Facebook was limited to use

7      case.

8              A.    Those are the main ones that -- that

9      we've -- that were -- were talked through with me

10     when I prepared for this.      We talked about app           04:29:08

11     scoped IDs and page scoped IDs.        We talked about

12     permissions -- actually, no, we haven't talked

13     about permissions.      We should talk about

14     permissions real quick.

15                   So permissions is a mechanism, again, by       04:29:24

16     which Facebook attempts to ensure that information

17     is only available to third parties within the

18     context of a particular use case.

19             Q.    Let's go through these ones that you just

20     listed.      I just want to understand.     Again, I'm not   04:29:43

21     asking for the technical mechanisms by which they

22     worked; I'm just asking for time period, general

23     implementation.

24                   So you mentioned first the

                                                                    04:29:58

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1      correct?                                                  04:30:04

2           A.    My understanding is that's a -- that's an

3      activity that's been performed periodically.

4           Q.    Starting about when?

5           A.    I don't have the exact dates as to -- as       04:30:15

6      to when that activity was -- was done.      Again, app

7      scoped user IDs began to be emitted in -- in

8      April 2014, and so after that is when it would have

9      been, you know, technically possible to --

10     you know, for -- for those                                04:30:36

11

12          Q.    When you're talking about these

13                              are you talking about --

14                Have you heard the phrase "dark web"?

15          A.    I have heard the phrase "dark web."            04:30:51

16          Q.    Are you -- are you talking about data

17     made available by actors on the dark web?

18          A.    My understanding from, you know, having

19     spoken to people involved in this is -- the

20                                                               04:31:10

21

22

23     So it's not -- not just limited -- my understanding

24     is it's not just limited to -- to those sources.

25          Q.    Your understanding is this -- this             04:31:26

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1      necessarily only started after app scoped IDs were        04:31:28

2      implemented.

3                But do you know about when this process

4      actually started?

5           A.   I don't have the precise dates as to --         04:31:39

6      as to -- as to when this -- this activity was --

7      was done, no.

8           Q.   And so far in your description you've

9      mentioned that this is

                                                                 04:31:53

11               Do you know if there's been any effort to

12

13          A.   My understanding is that the same efforts

14     would have looked for




17          Q.   Do you know whether this effort by the

18     security teams




                                                                 04:32:41

21          A.   I'm -- I'm -- I think -- yeah, I'm not

22     aware of -- specifically if this activity was

23     happening -- happening beforehand.    It's -- it's --

24     it's likely it was happening in some form, but I --

25     I'd be speculating as to exactly what -- what was         04:33:13

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1      happening in the security teams.                           04:33:17

2           Q.   Let's move on to app review.      You

3      described the process whereby -- or can you

4      describe briefly what app review is, and then you

5      could also say when it started.                            04:33:30

6           A.   App review is a process by which Facebook

7      requires app developers to request permission to

8      use certain features which are known as "reviewable

9      features" or request certain permissions which are

10     known as "reviewable permissions" in their                 04:33:56

11     application.

12               Developers ask -- explain to Facebook why

13     they want these features and why they want to

14     request these permissions from users, and then

15     Facebook determines whether or not, indeed, they           04:34:17

16     can use those features and can request those

17     permissions from users.

18               So that's the process of app review.       And

19     app review was instituted for new apps on

20     April 30th, 2014.                                          04:34:32

21          Q.   Did apps that existed prior to

22     April 30th, 2014 ever go through app review?

23          A.   Yes.   The way app review was instituted

24     is that the apps created for 2014 -- I'm sorry --

25     April 30th, 2014 had to go through app review in           04:35:02

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1      order to continue requesting the permissions they          04:35:09

2      were requesting from users once they were upgraded

3      to API v2.

4              Q.   And who led -- who participated from

5      Facebook in the app review process?                        04:35:26

6              A.   Can you help me understand what you mean

7      by "participated in"?      You mean developers --

8              Q.   I'm sorry.   That was an unclear question.

9                   Who are the Facebook employees involved

10     in approving or denying the requested permissions          04:35:43

11     from an app?

12             A.   Those would be members of the developer

13     operations team.

14             Q.   And was this an automated process or a

15     manual process?                                            04:35:57

16             A.   My understanding, app review is primarily

17     a manual process.

18             Q.   And how many -- I'm sorry.      You said it

19     started on April 30th, 2014; is that right?

20             A.   App review was announced on April             04:36:20

21     the 30th, 2014.

22             Q.   When did app review start happening at

23     Facebook?     Was that on the same date or a different

24     date?

25             A.   My understanding is where Facebook began      04:36:33

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1      to receive or was ready to receive app review             04:36:35

2      submissions on -- on the same date.

3           Q.     Do you know how many people were on the

4      team responsible for conducting app review on -- in

5      April of 2014?                                            04:36:53

6           A.     The precise number of people on the

7      developer operations team, I -- I don't have that

8      information.     You know, I don't have that

9      information at hand.

10          Q.     Do you know roughly how many people were      04:37:07

11     on that team in 2014?

12          A.     I think the questions around DevOps

13     and -- and app review are best asked to Ally

14     Hendrix.    She was -- she was much more closely

15     involved in the actual operation of this -- of this       04:37:23

16     program.

17                 I can speak to, again, the technical

18     aspects by which it was implemented and how it

19     worked.    I think in terms of operation and the way

20     decisions were made and who was responsible for           04:37:34

21     making those decisions, I think Ally is the best

22     person to give you that information.

23          Q.     And this is implied by your answer, but I

24     just want to be clear.     Are you able to provide

25     that answer?                                              04:37:47

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1                MR. SCHWING:     Object to form.                04:37:48

2                THE DEPONENT:     You mean an answer to the

3      number of people who were on the -- the developer

4      operations team in 2014?

5           Q.   (By Mr. Melamed)     Correct.     Can you       04:38:00

6      provide an approximate number of people on the

7      developer operations team in 2014?

8           A.   I -- I think it's likely the order of

9                               , but I'm -- I'm not -- like

10     I'm not confident in -- in that answer.                   04:38:21

11               My role at the time was to build out the

12     technical infrastructure and even developer-facing

13     infrastructure for -- for how this was enacted and

14     implemented.   As I say, I think Ally is the -- is

15     likely the best person to give you information            04:38:38

16     on -- on how it was instituted and operated from a

17     operations perspective.

18          Q.   Another technical aspect relating to

19     platform integrity team concerning how Facebook

20     ensure third parties' use of user data they               04:38:53

21     acquired from Facebook was limited to use case that

22     you mentioned is




25               Is that -- did I get that right?                04:39:12

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1           A.    Yes, that's pretty -- pretty close, yes.       04:39:16

2           Q.    Was that an automated or a manual

3      process?

4           A.    My understanding is the




9           Q.    Do you know when that process started,

10     when Facebook started using the process?                  04:39:54

11          A.    My understanding is that that was

12     something built around 2011 or 2012.

13          Q.    Do you know who was responsible for

14     building it around 2011 or 2012?

15          A.    The platform integrity team were               04:40:22

16     responsible for -- for building that as -- as --

17     as, you know, it pertains to exactly their -- their

18     scope, making sure the information is -- is

19     appropriately shared with third parties and so on.

20                So I -- I know that they were the team         04:40:39

21     responsible for -- for building it.

22          Q.    Do you know if records exist of the

23




                                                                 04:41:03

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1                                                                04:41:07

2           A.   This system would have




                                    whether or not that

5      information has been retained, you know, eight or         04:41:25

6      so years later, Facebook standard data retention

7      policies, you know, are shorter than that.

8                So it's possible that information has

9      been retained.   I wouldn't know, I'm afraid.

10          Q.   Does that effort continue today, the            04:41:45

11     automated effort to look for such information?

12          A.   My understanding is technical changes

13

                                                  that means

15     that -- that detection is no longer needed.               04:42:04

16          Q.   Do you know when those technical changes

17     were made such that Facebook determined the

18     detection was no longer needed?

19          A.   I want to say those -- those changes were

20     roughly made in 2013, '14.     But, again, that's --      04:42:22

21     that's my understanding of the rough timelines.

22          Q.   When these -- this




                                                                 04:42:48

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1                                                                     04:42:52

2           A.      I -- I am afraid the precise nature in

3      which that tool operated ten years ago, I have a

4      high-level understanding, which is that

                                                                      04:43:10

6

7                   Whether or not that tool




9      detail, I -- I can't answer, I'm afraid.

10                  MR. SCHWING:   Matt, we've been going for         04:43:30

11     a while now.     I understand you're kind of working

12     on a -- you know, a bit of the topic here, but I

13     wanted to check in with Mr. Cross to make sure

14     he's -- how he's doing, if he needs a break, and

15     kind of, you know, think about when we're going to             04:43:43

16     stop for our next break.

17                  THE WITNESS:   Yeah, I'd appreciate a bio

18     break, if that's -- if that's possible.

19                  MR. MELAMED:   That is.    I just wanted to

20     follow up with a question about permissions, which             04:43:53

21     you had mentioned as, I think, the last of these

22     techniques.     If we can finish those questions now

23     before the break, that would be great.         If not, if

24     you need the break, I can return to it after.           It's

25     up to you.                                                     04:44:05

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1                   THE DEPONENT:     I'll take a break now, if     04:44:06

2      that's okay.

3                   MR. MELAMED:    Okay.

4                   THE DEPONENT:     And then come back to that

5      question.                                                    04:44:12

6                   MR. MELAMED:    Okay.     We can go off the

7      record.

8                   THE VIDEOGRAPHER:       Okay.   We're off the

9      record at 4:44 p.m.

10                  (Recess taken.)                                 04:44:17

11                  THE VIDEOGRAPHER:       We're back on the

12     record.     It's 4:57 p.m.

13          Q.      (By Mr. Melamed)     Mr. Cross, the last of

14     the techniques we were talking about related to the

15     technical aspects of how the -- how platform                 04:57:29

16     integrity team ensured third parties' use of user

17     data they acquired from Facebook was limited to the

18     use case or permissions.

19                  Do you remember that?

20          A.      Accessing permissions, yeah.                    04:57:46

21          Q.      When were permissions implemented?

22          A.      Permissions as we -- as they're known

23     today were first introduced in May 2010.

24          Q.      And what do you mean by "known today"?

25          A.      So these are permissions in the -- in the       04:58:13

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1      sense that these are things that developers can           04:58:14

2      request from users and then once the user is

3      granted those permissions, then the app has access

4      to information that are covered by the permissions

5      that the users have granted to the application.           04:58:31

6           Q.   And how did those permissions relate to

7      the use case of the app?

8                MR. SCHWING:     Object to form.

9                THE DEPONENT:     So a permission would gain

10     a particular piece of information or set of               04:58:51

11     information that an app could have access to, and

12     typically those permissions would be requested by

13     the developer based on the -- on the functionality

14     their app was trying to perform.

15          Q.   (By Mr. Melamed)     The permissions were       04:59:18

16     requested by the developer, correct?

17          A.   The permissions were requested -- well --

18     when permissions were first introduced, developers

19     requested them from users.     After the institution

20     of app review, an app was required to go through an       04:59:35

21     app review, then the developer would be required to

22     request those permissions from user -- from

23     Facebook, and if Facebook granted the permission,

24     then the app could request those permissions from

25     users.                                                    04:59:53

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1           Q.      I know you testified about this before.         04:59:54

2      I just want to make sure I have it in the right

3      place.

4                   App review, the process of app review,

5      started on April 30th, 2014, correct?                        05:00:02

6           A.      That's correct.

7           Q.      So prior to April 30th, 2014, permissions

8      were requested by an app -- I'm sorry -- by a

9      developer, and the request was made to -- directly

10     to a user; is that correct?                                  05:00:18

11          A.      That's correct.

12          Q.      Was -- did Facebook do anything prior to

13     April 30th, 2014, to check whether developers were

14     requesting permissions from users for data that

15     went beyond the developer's use case?                        05:00:36

16                  MR. SCHWING:    Object to form.       Outside

17     the scope.

18                  THE DEPONENT:     So one example here is

19     their publishing permissions.         One of the

20     permissions that exists -- existed -- apologies --           05:00:53

21     in the API is the ability for apps to publish

22     content back to Facebook on behalf of the user.

23                  And the platform integrity team would

24     have looked at or did look at the information being

25     published by apps on behalf of the users and                 05:01:15

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1      whether or not -- attempt to determine whether or                 05:01:22

2      not the information being shared back to Facebook

3      was being done in a way that was compliant with

4      Facebook's policies around sharing stories back to

5      Facebook.                                                         05:01:40

6           Q.     (By Mr. Melamed)    Let me ask a more -- a

7      narrower version of the question I just asked.              And

8      I'm attempting to eliminate with this question

9      sharing back from the developer or the app to

10     Facebook.                                                         05:01:54

11                 In terms of the permissions sought by a

12     developer for an app from a user before

13     April 30th, 2014, did Facebook review any of the

14     permissions to determine whether the information

15     the developer was asking for was within the app's                 05:02:20

16     use case?

17                 MR. SCHWING:    Outside the scope.          Object

18     to form.

19                 THE DEPONENT:    Again, I think the -- in

20     terms of                                                          05:02:36

21

22

23                 The assessment of that would have been,

24     at that time, done by primarily the developer

25     operations and policy teams.                                      05:03:00

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1           Q.   (By Mr. Melamed)      What were the               05:03:03

2      operational processes in place at that time?          And

3      by "that time," I mean prior to April 30th, 2014.

4                MR. SCHWING:    Outside the scope of the

5      deposition.   Object to form.                               05:03:13

6                THE DEPONENT:    I think the operation --

7      like Ally Hendrix is the best person to answer

8      questions around the operational processes in place

9      and the policies there.

10               The platform engineering teams would have         05:03:28

11




13          Q.   (By Mr. Melamed)      Just to be clear about

14     it, so I am clear about the testimony you are

15     giving.                                                     05:03:43

16               You were identified as somebody who could

17     talk about the technical aspect related to platform

18     integrity team concerning how Facebook ensured

19     third parties' use of user data they acquired from

20     Facebook was limited to the use case; is that               05:03:56

21     right?

22               Do you understand that as well?

23          A.   I understand.    That's right.

24               MR. SCHWING:    Subject to the -- Matt,

25     subject to the clarifications that we've indicated          05:04:08

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1      in our correspondence.                                      05:04:11

2                  But go ahead.    Please go ahead and ask

3      your question.

4           Q.     (By Mr. Melamed)    Okay.    So the follow-up

5      to that is is it accurate that there were no                05:04:16

6      technical aspects relating to the platform

7      integrity team concerning how Facebook ensured

8      third parties' use of user data they acquired from

9      Facebook was limited to the use case in the context

10     of permissions before April 30th, 2014?                     05:04:35

11                 MR. SCHWING:    Object to form.

12                 THE DEPONENT:    My -- my goal here is to

13     give you examples of what was done, and in attempt

14     to do that, I spoke -- I've spoken to people

15     involved in this over -- over periods of time, and          05:05:00

16     I think I've given several examples of how the

17     platform integrity team operated and the things

18     they did.    It's possible they did other things that

19     I am not aware of, that I was unable to uncover in

20     my preparation for today.                                   05:05:21

21                 So I don't think I can rule out other

22     things were done.    It's possible other things were

23     done that I'm -- I'm not aware of.        My job -- my

24     job here is to do the best job I can giving you

25     examples of things that were -- that were done that         05:05:38

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1      were relayed to me as part of my preparation for           05:05:40

2      today.

3           Q.   (By Mr. Melamed)    Let me restate the

4      question, then, based on that answer.

5                Are you aware of any technical aspects           05:05:50

6      relating to the platform integrity team concerning

7      how Facebook ensured third parties' use of user

8      data they acquired from Facebook was limited to the

9      use case in the context of permissions prior to

10     April 30th, 2014?                                          05:06:06

11          A.   In the context of permissions

12     specifically and the technical aspects, I'm -- I'm

13     not aware of anything more than the examples I've

14     already given, which -- which were in place at --

15     to prevent and detect misuse of information.               05:06:30

16          Q.   What were the examples you've already

17     given concerning permissions that were in place to

18     prevent and detect misuse of information prior to

19     April 30th, 2014?

20               MR. SCHWING:    Object to form.                  05:06:55

21               THE DEPONENT:    We talked about the

22     existence of the permissions and then the

23     institution of -- of app review as examples.          So

24     that's what I'm referring to.

25          Q.   (By Mr. Melamed)    And the existence of         05:07:13

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1      app review commenced on April 30th, 2014, right?          05:07:17

2             A.   App review commenced on April 30th, 2014,

3      yes.

4             Q.   And so in the context of this line of

5      inquiry of topic 2d, the technical aspect related         05:07:41

6      to platform integrity team concerning how Facebook

7      ensured third parties use of user data they

8      acquired from Facebook was limited to use case, we

9      just talked about a series of technical -- of

10     technical aspects that Facebook used, correct?            05:07:59

11                 I'm not trying -- this isn't a "gotcha."

12     I'm just trying to go back over what we talked

13     about a little bit.

14            A.   Yes, we talked through a number of

15     techniques that -- that Facebook used over time to        05:08:10

16     assess how developers were using information.

17            Q.   And for some of them, you were unable to

18     state the specific -- the specific time period when

19     those technical aspects were in place, right?

20            A.   I've given -- I've given some dates as        05:08:32

21     much as I can, so I feel I've given the best job --

22     given some reasonable clarity on that.

23            Q.   And then for some of them you were unable

24     to talk about the specific way the technology

25     worked to ensure that third parties' use of user          05:08:51

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1      data acquired from Facebook was limited to use            05:08:58

2      case; is that right?

3                 MR. SCHWING:    Object to form.

4                 THE DEPONENT:    To be able to give a

5      general overview of -- of several systems that --         05:09:10

6      that have been in place.      So, yes.

7           Q.    (By Mr. Melamed)     I just want to read for

8      the record the representation that was made by

9      counsel before talking to you about this subject.

10                MR. MELAMED:    And I'm not doing this to      05:09:29

11     start a fight, Austin.     You know, obviously you can

12     respond.

13                But the paragraph that was in the letter

14     written on June 3rd specifically regarding your

15     preparation to testify was with respect to topic          05:09:41

16     2d, which relates to "how Facebook ensured third

17     parties' use of such data or information was

18     limited to the use case."      For avoidance of doubt,

19     Facebook again writes that "while Ally Hendrix is

20     prepared to testify on most aspects of topic 2d,          05:09:59

21     there is a technical aspect relating to the

22     platform integrity team that Mr. Cross is prepared

23     to testify about.   We are uncertain why you are

24     pushing back on this issue.      As mentioned above,

25     Facebook is simply using its best efforts to              05:10:11

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1      identify the best possible witnesses to testify on         05:10:14

2      plaintiffs' topics."

3                   So I just want to state for the record

4      that that's why we were pushing on these topics.

5      That's why I've asked the follow-ups that I asked.         05:10:23

6      And we will seek additional testimony regarding

7      these topics so that we get the answers to those

8      questions.

9                   MR. SCHWING:   And, Matt, I will not argue

10     with you, and I'm happy to address that, you know,         05:10:39

11     at -- at an appropriate time.       We've indicated in

12     correspondence that Mr. Cross will be prepared to

13     discuss -- and I'm quoting -- "generally the steps

14     the platform integrity team undertook to detect

15     misuse."     You're, of course, free to follow up with     05:10:58

16     further discovery.

17                  I appreciate you raising your concerns.

18     I'm happy to speak with you about it and -- and --

19     and work through the issues.

20                  MR. MELAMED:   Thank you.     I just -- I     05:11:12

21     appreciate that.     I just want to note that the word

22     "generally" is not in the -- uttered in the

23     reference.

24                  SPECIAL MASTER GARRIE:      This is Special

25     Master Garrie.     Both parties have been heard.           05:11:21

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1      Let's move forward.                                         05:11:23

2                  MR. SCHWING:   Thank you, Special Master.

3      I appreciate it.

4                  MR. MELAMED:   Thank you.

5             Q.   (By Mr. Melamed)   So I'm going to return       05:11:29

6      to the ways that Facebook made user data available

7      to third parties.     We talked a little bit about

8      Graph API and you -- you talked a little about rest

9      API.    I just want go all the ways and make sure I

10     understand the time periods and the differences in          05:11:44

11     the way information was made available.

12                 So I want to know as a general matter,

13     starting what are the ways that third parties --

14     again, excepting advertisers and data brokers --

15     could access user data from Facebook from 2007 to           05:12:05

16     the present?

17            A.   Sure.   Happy -- happy to go into that.

18                 So 2007, my understanding is there was an

19     API called the "rest API," which allowed developers

20     to query Facebook's database for user information.          05:12:30

21     And that was the primary way in which developers

22     queried the Facebook -- queried Facebook for user

23     data up until launch of the Graph API in

24     April 2010.

25            Q.   And for the rest -- I'm sorry.       I didn't   05:12:53

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1      mean to interrupt you.      I want to ask some             05:12:55

2      follow-ups about rest API while we're here.

3                   Were those queries submitted in FQL?

4           A.      No.   I was going to go on to FQL.

5                   FQL is another mechanism by which             05:13:13

6      developers can query or could query Facebook for

7      user data.     At a technical level, you would make an

8      X -- a rest API call to the FQL method and specify

9      your FQL statement in your API request.

10                  Similarly, when the Graph API was             05:13:38

11     launched, you would be able to access the FQL

12     method on the Graph API and specify your FQL query,

13     and then in both cases, a response to your FQL

14     query would be returned.

15          Q.      Did Facebook -- I'm sorry -- third            05:14:03

16     parties, using FQL queries, could batch multiple

17     queries into a single call, correct?

18          A.      I -- I think yes.   Facebook -- the -- the

19     FQL allowed you to request -- well, more

20     specifically, I -- I'm certain that Facebook -- FQL        05:14:25

21     allowed you to ask for multiple pieces of

22     information in your API requests.        I can't say for

23     certain whether or not you could submit multiple

24     FQL requests, so I'm not sure about that detail.

25     But you could certainly ask for multiple pieces of         05:14:46

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1       information as part of the FQL query.                       05:14:49

2              Q.   Was the same true for rest API?

3              A.   When you say "the same," do you mean --

4       refer -- sorry.       Can you just clarify what you mean

5       by "the same true."                                         05:15:06

6              Q.   Sure.

7                   Would third parties ask for multiple

8       pieces of information in the same call to the rest

9       API?

10             A.   No.     My understanding is that the rest       05:15:26

11      API, you would call one -- you would make one API

12      call at a time.

13             Q.   And you said rest API was used between

14      2007 and 2010, correct?

15             A.   My understanding is it was instituted           05:15:42

16      in -- in 2007.       The Graph API came to -- was

17      announced in April of 2010 and was designed to

18      replace it over time.

19             Q.   Do you know when third parties were no

20      longer able to make calls via a rest API?                   05:15:59

21             A.   The deprecation of the rest API was

22      announced, I think, in v2.1 or v2.3.          The precise

23      date on which it was later published and

24      deprecated, I -- I don't have in my head or my

25      notes today.      I -- I can access that for you.           05:16:25

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1            Q.   When you're talking about -- when you           05:16:30

2       mentioned the deprecation of rest API being

3       announced, what you believe it was either 2.1 or

4       2.3, are you referring to Graph v2.1 or Graph v2.3?

5            A.   Sorry.   Yes, that's true.       The            05:16:47

6       announcement of the deprecation of the rest API and

7       FQL was announced at the same time as one of those

8       API versions.   Again, I think that's -- that's

9       right, but we can follow up with the specific

10      dates.                                                    05:17:06

11           Q.   And then once the deprecating of rest API

12      and FQL was announced, is it accurate that certain

13      third parties were still able to make calls on user

14      data via those methodologies for a period of time?

15                MR. SCHWING:    Object to form.                 05:17:26

16                THE DEPONENT:     Yes, the -- the FQL and

17      the rest API were then later removed from the

18      public APIs of this area.     Some apps retained

19      access to those mechanisms for -- for a longer

20      period of time because those apps were -- were hard       05:17:48

21      or hadn't been yet updated to call a Graph API.

22           Q.   (By Mr. Melamed)     Do you know when the

23      last apps were no longer accessing FQL mechanism

24      for calling user data?

25           A.   I -- I discussed that -- I discussed that       05:18:18

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1       date with -- with folks.      I don't have the precise    05:18:19

2       date to hand, but that's something we could -- we

3       could follow up on if needed.

4            Q.      I just want to understand your answer,

5       though.     You asked that question of people you         05:18:32

6       spoke in preparation for today and were not able to

7       determine in those conversations the exact date?

8            A.      No.   My understanding is that the exact

9       date is determinable.      I don't have it in my head

10      or in my notes right now.                                 05:18:49

11           Q.      And is the -- is your answer the same for

12      rest API?

13           A.      Yes, my understanding is those -- those

14      two were treated broadly together as legacy

15      mechanisms for accessing information.                     05:19:10

16           Q.      Do you know how many apps called user

17      information via the FQL methodology, just as a

18      rough number?

19           A.      Can you help me understand -- over what

20      period of time.      In the past?   I guess -- I'm        05:19:32

21      sorry.    I don't understand.

22           Q.      I'll restate the question.

23                   During the period of time apps could

24      query user data using FQL, do you know how many

25      apps did so?                                              05:19:49

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1            A.   FQL was one of the more advanced ways to        05:19:56

2       access user data, and so it was my -- my

3       understanding is it was always




5            Q.   And is it accurate to say that those apps       05:20:16

6       were the more advanced apps that were using

7       platform at that time?

8                 MR. SCHWING:    Object to form.

9                 THE DEPONENT:    It's not accurate to say

10      that they were necessarily the most advanced apps.        05:20:28

11      FQL was -- was just a way developers could choose

12      at the time to -- to query Facebook for

13      information, and some chose to make FQL queries and

14      others would have chosen to use the predefined

15      methods that the API provided.     And typically FQL      05:20:50

16      existed to allow developers to -- to query

17      different --

18                Let me put it the other way.       Sorry.

19                Standard API methods existed to cover the

20      most common use cases.    So it was more about the        05:21:06

21      technical abilities of the developer rather than

22      the app being, you know, more advanced in terms of

23      such an answer.

24           Q.   (By Mr. Melamed)    Does Facebook have a

25      record of which developers queried for user data          05:21:23

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1       using FQL?                                                05:21:28

2               A.   My understanding is that the

3       contained information about apps querying FQL on

4       the Graph API.

5               Q.   Was Facebook able to determine which         05:21:57

6       types of information were requested by each FQL

7       call?

8                    MR. SCHWING:    Object to form.

9                    THE DEPONENT:    In order to process the

10      query,                                                    05:22:14

11

12              Q.   (By Mr. Melamed)    Did Facebook record

13      each type of information requested in FQL calls?

14      Is there a log of each type -- was there a log of

15      each type of information requested by FQL calls?          05:22:38

16                   MR. SCHWING:    Compound.    Vague.

17                   THE DEPONENT:    The -- the fact that --

18      I'm aware that the fact that an API -- that an app

19      made an FQL call would

20      there -- what I'm saying is that in the past there        05:23:08

21      was a way to unpack which the -- the FQL calls

22      being made.     But I'm -- I'm uncertain




24              Q.   (By Mr. Melamed)    I just want to restate

25      that to make sure I understand it.         And please     05:23:32

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1       correct me if I'm getting this wrong.                     05:23:35

2                 So we're starting from the premise that a

3       single FQL call could pass for multiple types of

4       information, right?

5            A.   An FQL call allowed a developer to              05:23:50

6       request different fields on an object and join

7       those together.

8            Q.   And that's in a single call, correct?

9            A.   Yes.    An FQL call would allow a developer

10      to -- to request multiple types of information in a       05:24:06

11      single call.

12           Q.   And Facebook obviously understood enough

13      about the individual types of information in

14      requested -- in a single call to be able to return

15      those individual types of information, correct?           05:24:20

16           A.




19           Q.   And I think you answered this, but I'm

20      going to ask it as a question again just to make          05:24:38

21      sure I understand correctly.

22                Did Facebook log the individual types of

23      information it provided in response to FQL queries?

24                MR. SCHWING:    Object to form.

25                THE DEPONENT:    My understanding is that       05:24:59

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1                              -- similar to the Graph API,       05:25:00

2




4            Q.     (By Mr. Melamed)    Did Facebook log the

5       individual types of information requested in a            05:25:14

6       single FQL query?

7            A.     My understanding is that it's




9       The retention of that information is -- is -- is,

10      you know, not known to me, and -- but from that, it       05:25:41

11




13           Q.     You do not know whether Facebook, in

14      fact, logged each type of information requested in

15      FQL call?                                                 05:26:18

16                  MR. SCHWING:    Object to form.

17                  THE DEPONENT:    The -- my answer is -- my

18      understanding is Facebook




22           Q.     (By Mr. Melamed)    Do you know whether

23      Facebook had logs that broke out each type of

24      information requested in FQL queries?

25                  MR. SCHWING:    Objection.    Vague.          05:26:59

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1                       THE DEPONENT:    I've spoken to people,       05:27:07

2       again, involved in API logging over time, and the

3       type of information exposed by FQL, as I -- as I

4       say, is --

                                            .   In order to specify   05:27:25

6       an FQL query, the developer has to be very specific

7       about the information they want in that -- in that

8       API call.




                                                                      05:27:46

11              Q.      (By Mr. Melamed)    Does Facebook have a

12      log of the FQL queries that were made for users'

13      data?

14                      MR. SCHWING:    Asked and answered.

15                      THE DEPONENT:    As I say, I -- I             05:28:03

16      understand that

                     Whether or not Facebook has access -- has

18      those logs today and has access to that

19      information, I -- I can't say as I sit here today,

20      I'm afraid.                                                   05:28:19

21              Q.      (By Mr. Melamed)    Does Facebook have a

22      log of the user information that was requested via

23      the rest API?

24              A.      Are you asking whether or not Facebook

25      has -- has that today?                                        05:28:41

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1            Q.      Yes.                                             05:28:43

2            A.      Once again, that information

                                     , but you're asking a

4       question about Facebook's data retention policies

5       from -- from a set of data that -- from several               05:28:58

6       years ago.     I -- I can't say for certain whether or

7       not Facebook has that data today.

8            Q.      And just to be clear, I'm not asking

9       about the retention policies, but I understand

10      there's an overlap in these questions.           I'm asking   05:29:13

11      about the -- one of the topics on which you've been

12      designated is how Facebook tracked information,

13      right.     Information was provided to third parties.

14      And so I think this falls within that topic.

15                   I understand your -- I understand your           05:29:30

16      answer.     I'm just trying to be clear about where

17      these questions are coming from.

18                   Do you know whether Facebook had at any

19      time the information about which users' data was

20      accessed via FQL queries?                                     05:29:55

21                   MR. SCHWING:     Vague.

22                   THE DEPONENT:     My understanding is that

23      Facebook                                        -- which is

24      what would have been required to answer that

25      question.                                                     05:30:21

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1            Q.    (By Mr. Melamed)    Do you know whether           05:30:21

2       Facebook at any time had information on which

3       users' data was requested via FQL queries?

4                  MR. SCHWING:    Asked and answered.

5                  I'm sorry, Matt.    I don't want to               05:30:38

6       interrupt you.    You already asked about FQL.         Do

7       you mean FQL or do you mean rest?

8                  MR. MELAMED:    I mean FQL.

9                  MR. SCHWING:    Sorry.    Go ahead.

10                 THE DEPONENT:    I -- he -- I'm going to          05:31:06

11      try to give you the best answer I can for how FQL

12      worked.   It's been a long time since I've used it

13      myself.

14                       Generally my understanding of

15                                    at the time is that they       05:31:25

16                                          and not necessarily

17

18      It's -- it's possible the -- that

                                                          but that

20      would require me to understand the detail of a --            05:31:57

21      of a logging table from several years ago.

22                 So I -- I'm not sure I can completely

23      answer that question, I'm afraid.

24           Q.    (By Mr. Melamed)    Is there a point at

25      which Facebook did log the identity of individual            05:32:15

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1       users whose information was requested by a third            05:32:25

2       party?

3                       MR. SCHWING:    Objection.    Vague.

4                       THE DEPONENT:    I can't for certain,

5       but -- but my understanding is that the

                                         may have included the




9               Q.      (By Mr. Melamed)    That's the method

10      table, speaking -- "colloquially" is the wrong              05:33:12

11      word.        But are you describing the

12              A.      No.   I'm describing the --




14      in which we have

                                                                    05:33:35

16              Q.      Do you know what the names of those

17      tables are, the specific names?

18              A.      There are two tables I can -- I can

19      recall,

20              Q.      Are you aware of information -- sorry.      05:34:01

21      Let me withdraw that and restate it.

22                      Are you aware of any other tables or

23      records within Facebook's possession that identify

24      individual users whose data has been requested by a

25      third party?                                                05:34:20

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1                 MR. SCHWING:     Objection.    Vague.              05:34:25

2                 THE DEPONENT:     My understanding is a

3       previous version of those tables called

4       They later were split into -- into two tables.         But

5       that's the system I'm aware of that




7            Q.   (By Mr. Melamed)     Are you aware of any

8       other system that identified -- that identified API

9       calls where those calls can be tracked to an

10      individual user?                                             05:35:06

11           A.   When you say "tracked" -- can I just

12      clarify what you mean by "tracked to an individual

13      user."

14           Q.   Sure.

15                Let me describe what I'm asking for in             05:35:17

16      term of a table, right.     Would there be any table

17      that said X app, meaning this API call on this user

18      ID's information or this replacement user ID's

19      information or some other identifier describing

20      identifying an individual whose -- whose                     05:35:45

21      information that a call was being made against.

22                Does that help clarify?

23                MR. SCHWING:     Object to form.

24                THE DEPONENT:     The -- my -- my

25      understanding of the way                                     05:36:00

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1

                                                            , so in

3       this case, it's the

                                  rather than the -- the

5                                                                     05:36:29

6                 So the example here would be the

7       system would -- again, as I understand it from

8       talking to the people involved -- when you had

9

                                           and the

                                                            and

12      therefore your              Not necessarily the -- the

13

14           Q.   (By Mr. Melamed)     So if I had logged in

15      to an app and the app was permitted to call my                05:37:17

16      friend's religious and political preferences, and

17      the app made a call on that data for my friends, am

18      I understanding correctly that the records that

19      they Facebook kept would identify me as having

20      requested that information via my access token, but           05:37:49

21      not the individuals whose data was returned as a

22      result of that request?     Or I'm sorry -- who has

23      request access -- who --

24                Let me restate this whole thing.             I'm

25      going to reread most of it.     I'm sorry.      I             05:38:05

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1       understand that Facebook didn't have the records of        05:38:07

2       whose data was returned.

3                 So starting again.      If I had logged in to

4       an app and the app was permitted to call my

5       friend's religious and political preferences and           05:38:17

6       the app made a call on that data for my friends, do

7       I understand correctly that the records Facebook

8       kept would identify me as having requested that

9       information, but not the friends whose information

10      was requested?                                             05:38:37

11                MR. SCHWING:     Object to form.

12                THE DEPONENT:     My understanding of the

13                                                    is that it

14      would record the

                    and -- and not necessarily                     05:38:56

16      of the

17           Q.   (By Mr. Melamed)     Are you aware of any

18      tables within Facebook during the entirety of the

19      relevant time period that recorded the subject of

20      API requests?                                              05:39:18

21                MR. SCHWING:     Object to form.

22           Q.   (By Mr. Melamed)     By "subject," I mean

23      the user -- the user's data who was the subject of

24      the API request?

25                MR. SCHWING:     Object to form.                 05:39:32

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1                    THE DEPONENT:   The entirety of the -- the   05:39:38

2       time period, the -- the system I'm -- I'm aware of

3       that I -- as I understand it, logs that information

4       is -- is the -- the --                            which

5       exists today.                                             05:40:00

6                    Again, I -- I've understood that system

7       as best I can, and that's -- that's the best --

8       that's my -- from talking to the people involved in

9       it, that's my understanding of how that works to

10      the best of my ability.                                   05:40:15

11              Q.   (By Mr. Melamed)   Prior to the

12      implementation of the Did access system, did

13      Facebook maintain any logs of the individuals whose

14      data was the subject of a request?

15              A.                                                05:40:40

16

17      Again, I -- I've spoken to -- to several people

18      about this, and it's possible there are systems,

19      again, that -- that I have been unable to ascertain

20      their existence of that did that.        But my           05:41:00

21      understanding




24

25      /////                                                     05:41:14

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1                    (Exhibit 425 was marked for                   05:41:14

2       identification by the court reporter and is

3       attached hereto.)

4                    MR. MELAMED:    Just introduced what's been

5       marked as Exhibit 325 -- I'm sorry.          425.   My     05:41:41

6       mistake.

7            Q.      (By Mr. Melamed)    And just for the

8       record, Exhibit 425 was provided to us, to

9       plaintiffs, by counsel for Facebook.          I don't

10      anticipate that you've seen this before, Mr. Cross.        05:41:55

11      It's possible you have, but I just want to ask you

12      a couple questions about it.

13                   And it's probably going to be easiest if

14      I share my screen.     It's a very large -- a very

15      lengthy Excel spreadsheet.       You can go ahead and      05:42:13

16      look at it.     I don't mean to cut you off from

17      familiarizing yourself from it.

18                   THE DEPONENT:    Sorry.     Where would I

19      access this?     Are you just going to share your

20      screen or --                                               05:42:33

21                   MR. MELAMED:    Okay.     I will share my

22      screen.     But it should be in marked exhibits on --

23      in Exhibit Share for deposition of Simon Cross,

24      Volume 4.

25                   Austin, are you able to see it?               05:42:46

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1                 MR. SCHWING:     I can.                            05:42:51

2                 Simon, do you have the Egnyte page up?

3                 THE DEPONENT:     Yes, I do.     Exhibit 3 --

4                 MR. SCHWING:     The top -- you should see

5       things that say Simon Cross.        It would be the top      05:43:02

6       one, I believe.

7                 THE DEPONENT:     Yeah, that's it.

8                 MR. MELAMED:     Yes.     As I mentioned, this

9       is really, really long.     I'm going to direct you

10      very specifically to a few lines.        I just want to      05:43:13

11      understand if you're able to provide answers.           If

12      you're not, that's fine.

13                So I'm going to scroll down to line

14      36,608.

15                (Discussion off the stenographic record.)          05:43:28

16                MR. SCHWING:     Matt, if you're trying to

17      demonstrate your -- your diligence by saying you've

18      reviewed 36,000 rows of this, I am impressed.

19                MR. MELAMED:     I appreciate that you think

20      that I reviewed 36,000 rows of this table that was           05:43:56

21      provided, I think, last night.

22                MS. WEAVER:     I'll take credit for it.

23                SPECIAL MASTER GARRIE:        Hey, Counsel.

24      Can I ask a question?

25                What are the column values for A?                  05:44:23

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1                    MR. MELAMED:    I will tell you -- I will          05:44:31

2       open it locally and tell you, if that's okay, and

3       I'll state for the record once I get down.

4                    Is that okay?

5                    SPECIAL MASTER GARRIE:      Yeah.    If you        05:44:37

6       want to get to the bottom, just hit control page

7       down or control N.

8                    MR. MELAMED:    Thank you very much.        That

9       was -- and the highlight -- and then I will tell --

10      tell you now for the record, Special Master Garrie,             05:45:01

11      column A is table_name.       Column B is column_name.

12      And my understanding is that these reflect the

13      column names for a list of Hive tables for which

14      Facebook is proposing to search and produce data

15      from a statistically significant sample.                        05:45:34

16                   I just want to --

17           Q.      (By Mr. Melamed)    Do you see these five

18      columns that are highlighted on my screen,

19      Mr. Cross?

20           A.      I do.                                              05:45:44

21           Q.      Five entries.    I'm sorry.

22                   And you see that the first one




25                   MR. MELAMED:    Apologies, Rebecca.                05:46:07

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1                  THE DEPONENT:     I see that, yes.               05:46:10

2            Q.    (By Mr. Melamed)     Okay.    And that that is

3       actually each of these five cells, column A, rows

4       36,008 through -612 reflects the same descriptor

5       for the table name.                                         05:46:25

6                  Do you see that?

7            A.    I do see that.

8            Q.    Do you know if these reflect the

              that you testified about before?

10                 MR. SCHWING:     I'm just going to state for     05:46:40

11      the record that we didn't receive these in advance

12      of the deposition.     I understand you represented

13      that this was provided last night, Matt, but just

14      to be clear, the witness has not had a chance to

15      look through this.                                          05:46:51

16                 MR. MELAMED:     Let me -- you're right,

17      Austin.   Let me correct the record.        This was not

18      received last night.      It was received Thursday.

19      That was my mistaken.

20                 I am only asking about this because of           05:46:58

21      Mr. Cross's testimony before about the

22      It's just -- you know, and I understand that

23      Mr. Cross likely has not reviewed this, but I can

24      confirm that.

25                 So I'll ask that, but I understand -- I          05:47:12

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1       understand the point you're making, Mr. Schwing.                05:47:16

2            Q.      (By Mr. Melamed)     Mr. Cross, have you

3       reviewed this table before?

4            A.      I have not reviewed this table before.

5            Q.      Are you -- do you know whether the rows            05:47:26

6       36,608 through -612 are related to the

7       you described in your testimony today?

8                    MR. SCHWING:    It's outside the scope of

9       the deposition.     Object to form.

10                   THE DEPONENT:    I cannot ascertain if             05:47:48

11      these relate to the -- the                               I've

12      previously talked about.        I cannot ascertain that

13      from this.

14           Q.      (By Mr. Melamed)     Do you know what the

15      information in column B for these five tables                   05:48:07

16      reflects?

17                   Do you have any understanding of what

18           means?

19                   MR. SCHWING:    Same objections.

20                   THE DEPONENT:    Sorry.    I --




                              A




24           Q.      (By Mr. Schwing)     And do you have any

25      understanding of what                   means in the            05:48:35

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1       context of Hive tables?                                        05:48:39

2                   MR. SCHWING:     Same objections.

3                   THE DEPONENT:

                                    seems to be a -- my

5       understanding is something that is specific to the             05:48:54

6       table itself and therefore could mean different

7       things in different contexts.

8            Q.     (By Mr. Melamed)     What about

9                   MR. SCHWING:     Same objections.

10                  THE DEPONENT:     Again,               to me is    05:49:14

11      a table-specific property, so it could mean

12      something different in different tables.

13           Q.     (By Mr. Melamed)     What about

14

15                  MR. SCHWING:     Same objections.      I'll have   05:49:29

16      a same objection with respect to           if you get to

17      that too.

18                  THE DEPONENT:     Similarly, that's a

19      table-specific property.       I'd be speculating what

20      it means.    I'd need to review much more information          05:49:43

21      to give you an answer to that.

22           Q.     (By Mr. Melamed)     And what about

23           A.     My understanding is

                                                 so within a

25      particular time window.       Again, my understanding is       05:50:02

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1       that's in favorable by table.                               05:50:07

2                 MR. MELAMED:    Thank you.    You can put

3       that exhibit away if you have it open.

4            Q.   (By Mr. Melamed)    We were talking before

5       we returned to the Did table for a minute about the         05:50:34

6       manner by which third parties could access user

7       data, and we talked about the rest API and the FQL

8       API, and we've talked periodically about

9       Open Graph, correct?

10           A.   Well, we talked about the Graph API.         We   05:50:49

11      haven't talked about Open Graph.

12           Q.   Thank you for the correction.        We talked

13      about the Graph API.

14                During what period of time did third

15      parties access user data via Facebook login?                05:50:59

16                MR. SCHWING:    Object to form.

17                THE DEPONENT:    So Facebook login is a --

18      is a name that refers to the dialogue by which

19      users grant apps access to information.        It renders

20      platform permissions and emits access tokens.         But   05:51:31

21      typically the apps then take the access token and

22      make calls against the Graph API or previously the

23      rest API in order to actually access information.

24           Q.   (By Mr. Melamed)    So is it right to

25      understand Facebook login as providing third                05:51:50

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1       parties a user's access token?      It is one way that    05:51:52

2       a third party can get a user's access token?

3               A.   Facebook login is -- is -- is a -- is the

4       primary way by which apps get an access token for a

5       user.                                                     05:52:10

6               Q.   Is there a time period during which

7       Facebook login has been the primary way that apps

8       get access tokens for users?

9               A.   The equivalent of the login dialogue has

10      been in existence throughout platform, as I               05:52:32

11      understand it, from 2007.     It's now branded and

12      called Facebook login in -- in -- in materials for

13      developers, but a -- a product that does that job

14      has been part of the Facebook open platform since

15      the beginning.                                            05:52:54

16              Q.   Did it go by any other names before it

17      became branded as "Facebook login"?

18              A.   The previous name for the login dialogue

19      was -- "Facebook Connect" is commonly a term used

20      to refer to the Facebook login dialogue, although         05:53:13

21      Facebook Connect refers to a -- a broader program

22      of work.

23              Q.   But Facebook Connect includes Facebook

24      login but is not limited to Facebook login?

25              A.   Facebook Connect was -- was a term           05:53:38

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1       associated with allowing apps to integrate Facebook       05:53:45

2       into third-party -- sorry -- third parties to

3       integrate Facebook into their mobile apps and

4       websites, and the login dialogue was the mechanism

5       by which users granted permission for that                05:54:06

6       information to be shared.

7              Q.     And so Facebook login existed from the

8       inception of platform through the present; is that

9       right?

10             A.     My understanding of what today is known     05:54:22

11      as "Facebook login," an equivalent product has

12      existed since the beginning of -- of platform in

13      the earlier days.      It was called "the login

14      dialogue" or the -- the "authentication screen."

15      It was known by -- by different names at different        05:54:44

16      times.      But generally an equivalent to Facebook

17      login has existed since the beginning.

18             Q.     What other ways do third parties access

19      user tokens?

20             A.     Login dialogue is by far the primary way.   05:55:06

21      One other mechanism is something called

22




                                 and as a result the product

25      then                                                      05:55:33

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1                                                                           05:55:38

2               Q.      And is                      as in short for

3

4               A.

5               Q.      Are there particular circumstances in               05:55:49

6       which                    is used?

7               A.                   was typically used in the case

8       of devices or circumstances where a




10              Q.      Will you help me understand when a                  05:56:16

11      developer -- the circumstance where a developer

12

13              A.      So an example would be where a developer

14      is building a Facebook experience on a smart TV or

15      set-top box that

                     As a result, they might use                       in

17      order to provide people a

                                                           on that

19      device.

20              Q.      So when -- when a third party requests a            05:57:14

21      type of user information from Facebook, can you

22      explain the data flow.          How does -- it goes from a

23      request to Facebook into determining whether there

24      is permission or not, et cetera, to determining

25      whether to return data.             And I'm not phrasing this       05:57:37

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1       elegantly, but I'm just trying to understand the            05:57:40

2       process of the data flow and then whether that has

3       changed over time.

4                 If you want me to restate the question,

5       I'm happy to do so and break it down.       But I'm         05:57:49

6       looking for that kind of information.

7                 MR. SCHWING:    I apologize, Matt.          The

8       question is vague.    But if the witness understands

9       the question, please go ahead and give the --

10                (Discussion off the stenographic record.)         05:58:09

11                THE DEPONENT:    I -- I can give a

12      high-level overview if that would be helpful and

13      then maybe this -- you know, that would -- that

14      would help.

15                So typically a -- the first thing that            05:58:26

16      happens is an app asks the user for permission to

17      access information, and to do that, they'll display

18      the login dialogue.

19                At that time, the developer requests or

20      specifies the permissions they would like the user          05:58:50

21      to agree to, and the login dialogue -- the code

22      behind the login dialogue will determine whether or

23      not those permissions are, indeed, requestable from

24      this particular user.

                                                                    05:59:10

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1                   Then the user grants some or all of those         05:59:12

2       permissions, and the -- they have various options

3       there.    At that point,

4                                         and if the app does

5       not already have one, they are given                          05:59:36

6                                  of behalf of that

7

8                   Then the app uses that                     to

9       make API requests to particular API methods.           The

10      API, the Graph API or the API they're calling, will           05:59:59

11      then evaluate that request and determine what

12      information, if any, can be emitted.

13                  A number of things, many things, go into

14      that termination.    One of them is does the user --

15      has the user granted the appropriate permission or            06:00:24

16      permissions required to access this data.          A number

17      of other checks are made as well.       And then

18      Facebook's internal privacy rules are evaluated,

19      and ultimately the API returns a request or returns

20      a response that satisfies those requests.                     06:00:49

21                  That's a -- a high-level typical overview

22      of how these systems work.

23           Q.     (By Mr. Melamed)   I'd like to ask you

24      some follow-ups.    If you -- you know, to the extent

25      you don't know, you don't know.                               06:01:03

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1                 But -- we talked about this before.         I    06:01:06

2       just want to make sure I understand it correctly.

3                 The first step of this is the app asking

4       for user permission, correct?     Or an early step, if

5       not the first.   So the app asks the user, can I           06:01:18

6       access this type of information, right?

7                 MR. SCHWING:    Objection.    Vague.

8                 THE DEPONENT:    And I'm describing here

9       a -- a typical way that this would work.         And the

10      first step, again, typically, is that the user             06:01:37

11      takes an action in the app which results in the app

12      request showing the login dialogue to the user or

13      redirecting the user to the login dialogue.

14                But typically the first thing that

15      happens is the user takes an action.                       06:01:59

16           Q.   (By Mr. Melamed)    Was there any point in

17      time going back to 2007 where the app did not have

18      to ask users for permission for different types of

19      information the app could request?

20                MR. SCHWING:    Object to form.                  06:02:18

21                THE DEPONENT:    My understanding is that

22      in certain very narrow scenarios, for example,

23      where a third party had built a Facebook

24      replacement or a Facebook app for their device or

25      platform, then the user experience would be --             06:02:46

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1       would be different.                                         06:02:51

2            Q.      (By Mr. Melamed)    So I understand that

3       answer to say that where a third party built a

4       Facebook app on its device, that app did not have

5       to ask a user's permission to get the information,          06:03:06

6       specific types of information, from Facebook?

7                    MR. SCHWING:    Object to form.

8                    THE DEPONENT:    Yeah.   I'm not sure

9       that's -- that's quite right.

10                   In the case where Facebook partnered           06:03:28

11      with, for example, a device manufacturer to build a

12      Facebook experience on that device, then the app

13      wouldn't necessarily have to render the Facebook

14      login dialogue as -- as a -- as a standard platform

15      app would do.                                               06:03:50

16                   However, the user experience, you know,

17      would -- would have requested -- you know, would

18      have explained -- would have explained to the user

19      what was about to happen.

20           Q.      (By Mr. Melamed)    How would the user         06:04:07

21      experience have explained to the user what was

22      about to happen?

23                   MR. SCHWING:    Object to form.      Outside

24      the scope.

25                   THE DEPONENT:    So the precise way in         06:04:26

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1       which each of these Facebook device integrations           06:04:27

2       was designed would have -- would have -- would have

3       differed.    And I -- I -- I don't have the details

4       on all of them.

5                   But the -- the goal was, as close as           06:04:42

6       possible, that this is a Facebook app.        You have a

7       device, there's a Facebook app on it, and it should

8       look and feel just like logging in to -- to

9       Facebook.

10                  And there's appropriate disclosures or         06:05:00

11      appropriate disclosures around that, as I

12      understand it, that would say that was appropriate

13      for the use case.

14           Q.     (By Mr. Melamed)   Do you know how many of

15      these devices integrations took place?                     06:05:14

16           A.     On the order of -- it's hard to give a --

17      on the order of tens or less than 200, I think,

18      broadly.    This was a very, you know -- very limited

19      program where the goal was to enable people to have

20      access to Facebook on other platforms and devices,         06:05:50

21      and that was the purpose of the program.         The

22      number of the devices and platforms were supposedly

23      limited.

24           Q.     Okay.   Does that program still exist?

25                  MR. SCHWING:   Object to form.                 06:06:09

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1                  THE DEPONENT:    That program does not               06:06:12

2       still exist, to my knowledge.

3            Q.    (By Mr. Melamed)    Do you know when that

4       program ceased to exist?

5            A.    The announcement of those partnerships               06:06:23

6       would be begun to wound down was made on April --

7       in April 2018, and the wind-down of that program

8       took place in -- in 2018 and early '19.

9            Q.    Do you know why the decision was made to

10      wind down that program?                                         06:06:46

11                 MR. SCHWING:    Outside the scope.          Object

12      to form.

13                 THE DEPONENT:    Yeah, I -- I don't have

14      like the -- I'm not sure I can speak on behalf of

15      the company here completely.      I -- I haven't                06:07:03

16      reviewed the full details.

17                 My understanding, though, from a personal

18      perspective is that, first of all, these

19      integrations were not widely used anymore.             They

20      were designed and built in a time where there were              06:07:25

21      many more devices and mobile operating systems and

22      platforms than there are today with regards to

23      iOS and Android.

24                 And in -- in light of the Cambridge

25      Analytica situation, it was -- it was seen that                 06:07:46

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1       the -- the -- the value that these integrations           06:07:52

2       were providing was -- was relatively limited, and

3       the decision was taken to wind down the program.

4            Q.      (By Mr. Melamed)    Are you familiar with

5       any of the individual partners with whom Facebook         06:08:04

6       engaged in the program?

7            A.      I'm familiar with -- with -- a few of

8       them, yes.

9            Q.      So the idea was that Facebook provided

10      the user data, all of the user data, for a                06:08:25

11      particular -- well, let me withdraw that.

12                   Can you explain how -- what user

13      information did the -- was the partner provided?

14                   MR. SCHWING:    Object to form.

15                   THE DEPONENT:    So the goal of this         06:08:49

16      program was to allow users to have -- one of the

17      goals of this program was -- sorry.

18                   (Discussion off the stenographic record.)

19                   MR. MELAMED:    Lesley, you're on --

20                   (Discussion off the stenographic record.)    06:09:06

21                   MR. MELAMED:    Lesley, Lesley, Lesley...

22                   (Discussion off the stenographic record.)

23                   MR. SCHWING:    Why don't we go into a

24      breakout room, because I don't want to hear...

25                   SPECIAL MASTER GARRIE:      Me neither.      06:09:17

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1                     MR. MELAMED:    Can we go off the record.        06:09:19

2                     MR. SCHWING:    Let's go into a breakout

3       room.

4                     SPECIAL MASTER GARRIE:       Off the record,

5       mute her.                                                      06:09:20

6                     MR. MELAMED:    Thank you, John.       Can you

7       mute -- can you mute Lesley.

8                     MR. SCHWING:    I'm going into the breakout

9       room.

10                    MR. MELAMED:    Thank you, Austin.               06:09:20

11                    THE VIDEOGRAPHER:     Did you want to go off

12      the record?      I'm sorry.

13                    THE COURT REPORTER:      Yes.

14                    THE VIDEOGRAPHER:     Thank you.

15                    Off the record.     It's 6:09.                   06:09:39

16                    (Recess taken.)

17                    THE VIDEOGRAPHER:     We are back on the

18      record.      It's 6:53 p.m.

19              Q.    (By Mr. Melamed)     Before the break, we

20      were talking about partner integrations.                       06:53:04

21                    Do you remember that, Mr. Cross?

22              A.    I do remember that.

23              Q.    And I think you had testified that

24      partner integrations were phased out, and I can't

25      recall if you gave a time period when those -- that            06:53:21

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1       project or that program was phased out.                      06:53:24

2                   Can you tell me when those were phased

3       out?

4              A.   My understanding is that partner

5       integrations, the announcement of the wind-down of           06:53:32

6       that program was in made in April of 2018 and then

7       the wind-down of the program proceeded through 2018

8       and into the early parts of 2019.

9              Q.   Did Facebook track the information it

10      made available to partners in the program as part            06:53:53

11      of the integration process?

12             A.   Can you help -- help me understand what

13      you mean by "as part of the integration process."

14             Q.   Sure.   We can take that out of that.       We

15      can take that phrase out of the question.          So I'll   06:54:20

16      restate it.

17                  Did Facebook track the information it

18      made available to its partners when it pursued --

19      you know, when it engaged -- when those partners

20      engaged the process of creating a Facebook-like app          06:54:31

21      for their device?

22                  MR. SCHWING:    Object to form.

23                  THE DEPONENT:    Facebook




25             Q.   (By Mr. Melamed)    So if you were using         06:54:56

                                                                     Page 885

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1       one of the devices that were part of this                    06:54:57

2       integration process, Facebook would have tracked

3       API calls that the device you were using made to

4       complete the integration process?

5            A.     Facebook




7            Q.     And did it do so on an individual basis?

8                   MR. SCHWING:    Object to form.

9                   THE DEPONENT:    Can you help me understand

10      what you mean by "on an individual basis."                   06:55:35

11           Q.     (By Mr. Melamed)    Sure.

12                  So let's make it more concrete.        Are you

13      aware whether Huawei was one of the partners, the

14      integration partners?

15           A.     There was a number of integration                06:55:55

16      partners.     I -- I don't recall all of them in

17      particular.     That information is available in the

18      interrogatory responses if you -- if you want to

19      refer to those.

20           Q.     Okay.   So I'm going to represent to you         06:56:07

21      that Huawei was identified as one of those

22      partners.

23                  So if you engaged with a Huawei device

24      and said, yes, I'd like to use Facebook on this

25      device, did Facebook track the API calls that were           06:56:25

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1       made for your information by Huawei as part of that            06:56:30

2       integration?

3                   MR. SCHWING:    Object to form.

4                   THE DEPONENT:    Facebook

                                                                       06:56:45

6       using your --




8            Q.     (By Mr. Melamed)    And where would that

9       information be logged in Facebook?

10           A.     My understanding is that would have been           06:57:13

11      logged in the

12           Q.     That's the -- the                      that

13      later became split as the

14

15                  MR. SCHWING:    Object to form.                    06:57:36

16           Q.     (By Mr. Melamed)    All I'm trying to do is

17      make sure I understand which table you're talking

18      about.

19           A.     My understanding is that information

20      would have been logged in the                           when   06:57:47

21      it was a single table, and then it would have been

22      logged in one of the

23      depending

24           Q.     And so the information would have been

25                        , so using this example,                     06:58:06

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1                         ; is that correct?                             06:58:12

2              A.   So my understanding is the way the

3                                                               to the

4              the fact

5       and then                                                   ,     06:58:26

6       so there would be a --                                  that

7       each

8              Q.   And do you know whether Facebook still

9       has the logs of those requests from integration

10      partners?                                                        06:58:55

11                  MR. SCHWING:    It's outside the scope of

12      the deposition.

13                  THE DEPONENT:

                                                  dating back

15      that far.                                                        06:59:14

16             Q.   (By Mr. Melamed)    Do you know whether

17      Facebook has any logs reflecting the partner

18      integrations, the data that was requested as part

19      of the partner integrations?

20                  MR. SCHWING:    Object to the form.                  06:59:31

21                  THE DEPONENT:    My understanding is that

22      the                  as we've previously referred to

23      it, would




25             Q.   (By Mr. Melamed)    Did Facebook ever                06:59:59

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1       receive information about users from third parties?        07:00:00

2                    MR. SCHWING:    Objection to form.

3                    THE DEPONENT:    Can you break the question

4       down -- down for me a little.        Did Facebook -- can

5       you ask the question again?                                07:00:16

6            Q.      (By Mr. Melamed)    Sure.

7                    So I'm moving on to topic 8, and the

8       first subtopic in topic 8 is the type -- is whether

9       and how Facebook tracked the type and purpose of

10      data and information Facebook received from third          07:00:28

11      parties.     So I'm just starting with a predicate

12      question.

13                   Did Facebook receive information from

14      third parties about users?

15                   MR. SCHWING:    Objection.    Vague.          07:00:43

16                   THE DEPONENT:    Can you help me understand

17      what you mean by "about users."

18           Q.      (By Mr. Melamed)    Did Facebook receive

19      information about any of its users from a third

20      party and not directly from the user or the user's         07:01:00

21      friends or anybody else -- sorry.         So I'll stop

22      there.     User or user friends?

23                   MR. SCHWING:    Same objection.

24                   THE DEPONENT:    Again, I'm finding it hard

25      to give an answer to the question in the way               07:01:22

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1       it's -- in the way it's phrased.       There's a number    07:01:24

2       of potential different interpretations which I --

3       which I'd like to try and understand before I give

4       an accurate answer.

5            Q.    (By Mr. Melamed)    What are the potential      07:01:36

6       interpretations that are making my question

7       unclear?

8                  MR. SCHWING:    Object to form.

9                  THE DEPONENT:    So an example that I'd

10      like to understand if you mean to include is where         07:01:49

11      a user uses a third-party app to post stories and

12      content back to Facebook.

13           Q.    (By Mr. Melamed)    Is that one way that

14      Facebook received information about users from

15      third parties?                                             07:02:11

16           A.    It depends on your interpretation of

17      whether it comes from a third party.        So that's --

18      that's the thing I'm having -- just I want to get

19      clarity on to make sure I'm going to give you an

20      accurate answer.                                           07:02:31

21           Q.    Do you interpret that as coming from a

22      third party?

23                 MR. SCHWING:    Object to form.

24                 THE DEPONENT:    The API request is being

25      made by -- typically made by code written by a             07:02:46

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1       third party, but it's in response generally to a              07:02:50

2       user's activity in that app.

3              Q.   (By Mr. Melamed)    Did Facebook ever

4       receive data about individual users through the use

5       of the Facebook Pixel?                                        07:03:06

6                   MR. SCHWING:    Outside of the scope of the

7       deposition to the extent of at least advertising.

8                   You can go ahead and answer if you know,

9       sir.

10                  THE DEPONENT:    Yeah.   So the Facebook          07:03:19

11      Pixel is a -- an advertising -- advertising

12      product.    My understanding if that a user was using

13      an app or website integrated with the Facebook

14      Pixel, then some information about activities in

15      that API or website would be shared back with                 07:03:39

16      Facebook.    But -- the specifics of how the Facebook

17      Pixel works is not -- is not something I'm

18      particularly well qualified to -- to speak to.

19             Q.   (By Mr. Melamed)    Did Facebook use its

20      Pixel product for anything other than                         07:03:55

21      advertising-related purposes?

22             A.   The Facebook Pixel is an -- is an

23      advertising product, and my understanding is its

24      purpose is to do with -- with advertising.

25             Q.   What about the Facebook Like button?        Did   07:04:23

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1       Facebook ever receive information from the use of         07:04:27

2       the Facebook Like button on third-party websites?

3            A.   So in order to -- to render a Like

4       button, if a user visits a Web page that has the

5       Like button embedded, then the Like button would          07:04:46

6       get -- a call would be made to Facebook servers

7       to -- to render the Like button, and in the act of

8       doing that, Facebook would know that a Like button

9       had been rendered on a particular page.        If the

10      user who had logged in -- sorry.                          07:05:04

11                If the user was logged in to Facebook at

12      the time that they noted the Web page with the Like

13      button in it, Facebook would know that that Like

14      button had been rendered on behalf of the user.

15           Q.   Did -- was it required -- well, let me          07:05:27

16      step back and ask a different question.

17                You said that if the user was logged in

18      to Facebook at the time they clicked the Like

19      button on another site, then the information would

20      be rendered back to Facebook that that individual         07:05:44

21      had clicked it; is that correct?

22           A.   Sorry.   No.   I want to clarify.

23                What I mean is if a user visits a website

24      that has embedded the Like button on it, then a

25      call will be made to Facebook servers to render the       07:06:03

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1       Like button.                                                07:06:06

2                    If the user who visited that Web page was

3       logged in to Facebook, then Facebook would know

4       that the user was logged in, and that was

5       information used to make the Like button function.          07:06:26

6               Q.   Would the Like button -- let me withdraw

7       that.

8                    Was it a prerequisite for the Like button

9       appearing on a -- on a third party's website that

10      the user be logged in to Facebook before visiting           07:06:46

11      that website?

12              A.   Sorry.     I'm not sure I understand the --

13      the question.        Can you ask -- can you ask it again.

14              Q.   Sure.

15                   So let's say you go to a website and you       07:06:59

16      see a Like button.        Does -- does that indicate to

17      Facebook -- let me withdraw that.

18                   Does that mean that you have -- you are

19      logged in to Facebook in order to see that Like

20      button?                                                     07:07:15

21              A.   No.     The Like button would be rendered --

22      the people -- if -- if they were logged in to

23      Facebook or if they were not logged in to Facebook.

24              Q.   And now let's say you are on the website

25      with the Like button and you click -- you select            07:07:32

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1       the Like button.     You click it.                        07:07:34

2                 In what circumstances would that

3       information be communicated -- that you had clicked

4       the Like button be communicated back to Facebook?

5                 MR. SCHWING:     Object to form.                07:07:48

6                 THE DEPONENT:     Typically the purpose of

7       the Like button is that when you click it, you're

8       telling Facebook that you like the page on which

9       it's embedded or the entity for which it is set up.

10      So the act of clicking on the Like button would           07:08:05

11      tell Facebook that you had liked it.

12           Q.   (By Mr. Melamed)     Would you need to have

13      first opened a browser page or the Facebook app and

14      logged in before Facebook could track that you had

15      clicked the Like button?                                  07:08:26

16           A.   Yes.     For Facebook to register a Like, it

17      needs to be associated with your Facebook user

18      account, and so if you clicked the Like button, the

19      Like would not be registered unless you were logged

20      in to Facebook.                                           07:08:47

21           Q.   Is it -- is it necessary that you have

22      logged in to Facebook during that browsing session

23      in order for the Like button to -- communication

24      about your clicking the Like button to be

25      communicated back to Facebook?                            07:09:08

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1            A.     The Like button is or was -- is rendered        07:09:14

2       through your Facebook session.     So if you're logged

3       in to Facebook in your browser, then the Like

4       button will render as if you're logged in.

5            Q.     And if you had logged in to Facebook and        07:09:35

6       then quit your browser and then reopened it without

7       going back to Facebook and went to a website and

8       clicked on a Like button, would your session still

9       be open such that the -- the information that you

10      clicked that Like button would be communicated back         07:09:54

11      to Facebook?

12           A.     The way Facebook sessions work is --

13      Facebook browser sessions work sometimes change,

14      depending on the user and the user settings.          But

15      in general, if you log in to Facebook in your               07:10:15

16      browser and then close the browser and reopen the

17      browser and go back to Facebook, you'll still be

18      logged in to Facebook, and that session will carry

19      over to the Like button too.

20           Q.     And is -- what about if I logged -- if          07:10:31

21      you had logged in to Facebook, closed your

22      computer -- closed your browser and restarted your

23      computer.    Is it generally true that your session

24      with Facebook would still be open?

25           A.     So it would depend on your browser              07:10:54

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1       settings as well, for example.        But typically, the       07:10:57

2




                                                                 has

5       occurred.                                                      07:11:16

6            Q.      What other types of




8            A.      So, for example, if you

                     if you -- if you have

                    on your phone, for example, then Facebook          07:11:31

11                                            in order to protect

12      your security.     That's one example of when a

13

14           Q.      When that -- when you have selected that

15      Like button, does Facebook track the information               07:11:53

16      internally that you have selected a Like button on

17      the site you were visiting?

18                   MR. SCHWING:    Object to form.

19                   THE DEPONENT:    Can you just be clear

20      about what mean we by "select."         Earlier you talked     07:12:06

21      about "click on the Like button."         Is -- is that

22      what you mean?

23           Q.      (By Mr. Melamed)    I'm sorry.     I don't

24      mean to be -- I'm not meaning to be overly

25      technical or trick you.                                        07:12:17

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1                  Let's say you click -- you go to visit a             07:12:18

2       website.   You click on a Like button.       That

3       information, we've established, if you have an open

4       session, is communicated back to Facebook, correct?

5             A.   Correct.   If you click on a Like button             07:12:28

6       and you're logged in to Facebook, then Facebook

7       will register the fact that you've liked the URL

8       entity for which the Like button has been set up.

9             Q.   Where does Facebook register that

10      information in its internal systems?                            07:12:44

11            A.   So clicking on the Like button --

12      sorry -- sorry.

13                 MR. SCHWING:    It's okay.

14                 THE DEPONENT:    When you like something

15      using the Like button, that is considered a part of             07:13:01

16      your Facebook profile, and it                              in

17      general, what we call                            so the --

18      the                                                    and --

19      and

20            Q.   (By Mr. Melamed)    And that is in TAO; is           07:13:23

21      that correct?

22            A.   TAO is a --




24      when you perform a user action like that,

                                                                        07:13:43

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1            Q.   And then it would also be stored in Hive;       07:13:46

2       is that right?

3                 MR. SCHWING:     Object to form.

4                 THE DEPONENT:     So generally,




7            Q.   (By Mr. Melamed)     Did Facebook ever

8       collect information about a user when the user

9       logged in to Facebook from a mobile device?

10                Sorry.    Let me restate that.                  07:14:23

11                Did Facebook collect user's -- ever

12      collect a user's phone number when the user logged

13      in from a mobile device?

14           A.   Sorry.    Let's -- I'm not sure I

15      understand -- again, understand the question.             07:14:44

16                If a user logged in to -- to -- to what?

17           Q.   To Facebook.     If a user logged in to

18      Facebook from their mobile device, did Facebook

19      ever collect that user's phone number via that

20      interaction without -- without explicitly asking          07:15:02

21      the user to collect that information?

22           A.   So, again, are you talking about where a

23      user logs in to Facebook using a phone number?

24           Q.   No.    Just logs in without using a phone

25      number, using the user name and password that's not       07:15:22

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1       a phone number, from a mobile device.             Did Facebook       07:15:26

2       ever collect, as part of that, the phone number

3       that the user had logged in -- the phone number of

4       the device that the user had logged in?

5                       MR. SCHWING:    Object to form.                      07:15:40

6                       THE DEPONENT:    Yeah, I'm -- I'm not

7       certain that -- that -- I don't know if that's

8       happened or not.                                            -- the

9

10                                         I'm -- I'm not an expert          07:16:02

11      in -- in how Facebook's login processes work and

12      what -- what information is exchanged with Facebook

13      from the device or the carrier that they're logging

14      in on.

15              Q.      (By Mr. Melamed)    I'm asking because I'm           07:16:16

16      trying to establish whether Facebook collected

17      these things and then, if so, where they tracked

18      them.        And that's the connection to the topic, just

19      to be clear.

20                      Did Facebook collect users' mobile device            07:16:30

21      IDs?

22              A.      Can you be more specific, "mobile device

23      IDs."

24                      What do you mean by that?       Sorry.

25              Q.      Did Facebook ever collect a user's IDFA              07:16:59

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1       when the user logged in to Facebook using their             07:17:08

2       mobile device?

3              A.   By "IDFA," you're referring -- what are

4       you referring to with "IDFA"?      You're referring to

5       Apple's -- Apple's identifier, which is specific to         07:17:25

6       iOS?

7              Q.   Let's -- let's start there.      Did Facebook

8       ever collect a user's Apple identifier that was

9       specific to iOS when the user logged in to

10      Facebook?                                                   07:17:38

11             A.   Logged in to Facebook when?      On a mobile

12      or on -- again, I -- again, I'm not trying to be

13      difficult here.     I want to make sure I'm giving you

14      the best possible answers I can.

15                  These -- these terms and topics are very        07:17:54

16      complicated, and I want to make sure I'm giving you

17      the right answer.

18             Q.   If a user logged in to Facebook using an

19      Apple mobile device, did Facebook -- at any point

20      in Facebook's history relevant to this case, 2007           07:18:05

21      to present, did Facebook collect a device

22      identifier?

23             A.   Again, maybe I'm back to -- we got to --

24      a specific type of device identifier there, but

25      we're going back to general device identifiers,             07:18:27

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1       which is a term I'm not sure I fully understand.            07:18:31

2                  I see Special Master Garrie --

3             Q.   Are you --

4             A.   -- is on the -- on the call.

5                  THE DEPONENT:     Is there guidance you'd        07:18:37

6       like to give, Mr. Garrie?

7                  SPECIAL MASTER GARRIE:       Not yet.

8             Q.   (By Mr. Melamed)     Did -- when Facebook --

9       when a user logged in to Facebook using an Apple

10      mobile device, did Facebook ever collect the IDFA,          07:18:48

11      which is the Apple device identifier?

12            A.   My understanding is that while I'm not an

13      expert, again, at Facebook's login systems and how

14      that works,                                        if you

15                                                                  07:19:11

16      then the Facebook app --

17                              .

18            Q.   And if the user logged in to the Facebook

19      via Android, would Facebook collect the user's GA

20      ID?                                                         07:19:37

21            A.   I'm less familiar with -- with -- with

22      how Android works.      Assuming they're relatively

23      similar,




25            Q.   How -- how did Facebook associate those          07:19:59

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1       IDs with users in their -- in Facebook's internal                    07:20:05

2       systems?

3                       MR. SCHWING:    Outside of the topic, the

4       scope of the deposition.           It's vague.

5                       THE DEPONENT:    Yeah, I -- I'm not an               07:20:23

6       expert in -- in how these -- how these systems

7       work.        From -- from my experience, though, what I

8       do know is that if you are                                      on

9                      and that                                      with

10      such                               then that connection              07:20:44

11

                       , although the precise nature and how that

13      was stored is not something I'm -- I'm an expert

14      on.     I cannot give canonical testimony on.

15              Q.      (By Mr. Melamed)     And so your -- you do           07:21:05

16      not want to provide testimony on -- well, let me

17      state this in a positive way.

18                      Can you identify how Facebook tracked

19      mobile device IDs that were associated with users?

20                      MR. SCHWING:    Outside the scope of the             07:21:28

21      deposition.

22                      You can answer, if you can answer.

23                      THE DEPONENT:    My understanding is that

24      when a                                               and that

25                                                         on that           07:21:41

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1                                   , then that                      07:21:44

2                                                       as being

3                                                        on that

4

5            Q.   (By Mr. Melamed)     Do you know where that        07:22:02

6       information would be tracked?      Is there a name of a

7       document or a data system that tracks that

8       association?

9                 MR. SCHWING:    Same objections.

10                THE DEPONENT:     Again, precisely the             07:22:13

11      systems that -- that are used to -- to store that

12      information.

13      be -- would have been and would

14      It would likely also have been                         and

15      the Facebook -- you know,                                    07:22:38

16

17           Q.   (By Mr. Melamed)     Are you familiar with

18      the term "reciprocity" as it relates to the

19      relationship between Facebook and developers -- let

20      me break this down.                                          07:23:02

21                Are you familiar with the term

22      "reciprocity" as it is used inside Facebook?

23                MR. SCHWING:    Objection as vague.

24                THE DEPONENT:     I -- I've heard the term

25      used inside Facebook and seen it used in -- in some          07:23:14

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1       documents.                                                         07:23:18

2               Q.   (By Mr. Melamed)    What is your

3       understanding of what the term means?

4                    MR. SCHWING:    Objection.

5               Q.   (By Mr. Melamed)    Inside Facebook?                  07:23:23

6                    MR. SCHWING:    Objection.    Vague.        Outside

7       the scope.

8                    Go ahead.

9                    THE DEPONENT:    Yeah, I can't speak to how

10      that term is used inside Facebook in its entirety.                 07:23:35

11      There's likely a number of ways in which that term

12      has or has not been used by different teams at

13      different times.     The thing I -- the context I'm

14      aware of it being used in is -- to do with the

15      Facebook developer platform.                                       07:23:56

16              Q.   (By Mr. Melamed)    And can you explain the

17      context -- the definition of that term and the

18      context in which you are familiar with it being

19      used?

20                   MR. SCHWING:    Object to form.                       07:24:09

21                   THE DEPONENT:    I'm aware of the term

22      being used to refer to information being made

23      available to developers and users having the option

24      to share similar data back to Facebook as part of a

25      Facebook integration.                                              07:24:40

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1            Q.   (By Mr. Melamed)    How do use users share      07:24:46

2       information back to Facebook through third-party

3       developers?

4                 MR. SCHWING:    Object to form.

5                 THE DEPONENT:    Users using Facebook           07:24:59

6       platform apps have -- used to have the ability to

7       share stories from the app base back to Facebook

8       that would appear on their Facebook timeline and

9       friends' newsfeeds.

10           Q.   (By Mr. Melamed)    Is there any other          07:25:18

11      information that third-party apps provided to

12      Facebook about individual users?

13                MR. SCHWING:    Object to form.

14                THE DEPONENT:    Again, can you be specific

15      about the -- about the time period.       Is that the     07:25:45

16      entire thing?

17           Q.   (By Mr. Melamed)    Let's start in 2007.

18      What kind of information could -- could apps share

19      back to Facebook about individual users?

20                MR. SCHWING:    Object to form.                 07:26:01

21                THE DEPONENT:    So when an app is making

22      API calls using a user's access token, the nature

23      of making the API call is potentially indicative of

24      a user's activity in that app, although it isn't

25      necessarily.                                              07:26:24

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1            Q.   (By Mr. Melamed)     What about information     07:26:39

2       that users provided a third-party app directly?

3       Did third-party apps ever provide that information

4       back to Facebook?

5                 MR. SCHWING:     Objection.    Vague.           07:26:54

6                 THE DEPONENT:     Sorry.    Can you ask the

7       question again.

8            Q.   (By Mr. Melamed)     I'm not trying to be

9       difficult here.     I'm trying to establish

10      foundationally whether Facebook was receiving             07:27:22

11      information -- so Facebook provided information to

12      app users through Facebook could provide

13      information to apps, correct?

14           A.   Through the Facebook platform, users

15      could provide information to apps, yes.                   07:27:37

16           Q.   And as -- within the definition of

17      "reciprocity," as you explained it, there was this

18      idea that there could be an exchange, which meant

19      that users should also be able to enable apps to

20      provide information back to Facebook, their               07:27:52

21      information back to Facebook, correct?

22                MR. SCHWING:     Misstates testimony.

23      Object to form.

24                THE DEPONENT:     So going back to that

25      definition of "reciprocity" as -- as I understand         07:28:05

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1       it, it's a very-high level idea that if an app is          07:28:08

2       accessing information on behalf of a user, that

3       that app would also offer the user the opportunity

4       to share similar information back to Facebook.

5               Q.     (By Mr. Melamed)   Did that process ever    07:28:33

6       occur?       Did apps ever provide -- did users --

7       did -- were users ever able to enable an app to

8       provide information back to Facebook?

9               A.     Yes.   One of the common features of the

10      Facebook platform was that it allowed users to             07:28:55

11      choose to share activity in the app back to

12      Facebook.

13              Q.     How did Facebook track the information

14      that it received from users through third-party

15      apps?                                                      07:29:14

16              A.     If the user chose to share their activity

17      in an app back to Facebook, then, for example, to

18      post a story or to share a story with their

19      friends, then -- then yes, that -- that information

20                                                                 07:29:36

21      and made available

22

23              Q.     Where would that -- in which internal

24      Facebook systems would that information be stored?

25              A.     If the user chose to share a story back     07:29:56

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1       to Facebook from a third-party app, then that would       07:29:58

2       be                  and made available on the

                    and then potentially rendered in their

4

5            Q.      The information that users could share to    07:30:18

6       Facebook through third-party apps was not limited

7       to stories, correct?

8            A.      The -- the information that users could

9       share or choose to share back to Facebook included

10      stories, posts for their timeline, and also at a          07:30:38

11      time included what was known as Open Graph actions.

12           Q.      Can you provide a description of what

13      Open Graph actions are?

14           A.      Open Graph refers to a -- a -- a product

15      that Facebook had between 2011 and sometime later         07:31:02

16      where developers could share structured activity

17      about a user's activity in their app back to

18      Facebook so it could be shared with their -- their

19      friend -- shared with their friends on their

20      Facebook timeline.                                        07:31:30

21           Q.      Was all of the information that was

22      shared back to Facebook through Open Graph actions

23      shared with the user's friends via the user's

24      timeline?

25                   MR. SCHWING:   Object to form.               07:31:45

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1                 THE DEPONENT:    The information shared         07:31:51

2       back to Facebook, the user could choose who had --

3       which of their friends had the permissions to -- to

4       see that information.

5            Q.   (By Mr. Melamed)    Was there any               07:32:20

6       information from a third-party app shared back to

7       Facebook that was associated with the user that

8       Facebook did not make available to share via the

9       user's timeline?

10                MR. SCHWING:    Object to form.                 07:32:42

11                THE DEPONENT:    Sorry.    Can -- can you ask

12      that again.

13           Q.   (By Mr. Melamed)    Was there any

14      information from a third-party app that was shared

15      back to Facebook associated with an individual user       07:32:53

16      that Facebook did not make available via the user's

17      timeline -- did not make available to be shared via

18      the user's timeline?

19                MR. SCHWING:    Same objections.

20                THE DEPONENT:    So referring back to my --     07:33:16

21      my previous testimony about when an app makes an

22      API call using an access token of a user, that is

23      potentially indicative of the user's activity in an

24      app, and that wouldn't necessarily be shared on a

25      user's timeline.                                          07:33:39

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1            Q.   (By Mr. Melamed)   Was there any other          07:33:42

2       type of information other than the fact of an API

3       call being potentially indicative of the user's

4       activity that would be shared back to Facebook but

5       not be made available for the user to share via           07:33:56

6       their timeline?

7            A.   So there was -- a product called App

8       Events at a time which allowed developers to share

9       activity in their application back to Facebook for

10      the purposes of app analytics.                            07:34:26

11           Q.   What time period did App Events exist?

12           A.   My understanding is App Events were built

13      or made available around 2013 to 2014, and I think

14      that product was deprecated around 2017, 2018,

15      although I'm not sure on the specific dates.              07:35:01

16           Q.   Who would you ask if you wanted to know

17      the specific dates during which App Events was

18      available to be used by third parties?

19           A.   The first thing I'd do is look -- look on

20      the Facebook developer website and see if I could         07:35:18

21      ascertain that information myself.

22           Q.   Okay.   When Facebook received information

23      about App Events in this context, how did it

24      associate that information in its internal systems

25      with individual users?   And I'm not asking for           07:35:40

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1       technical explanation; I'm asking for how --              07:35:42

2                  Let me restate it to make it more

3       general.

4                  How did Facebook track the information

5       that it received from App Events about an                 07:35:50

6       individual user?

7                  MR. SCHWING:    Object to form.

8                  THE DEPONENT:    So Facebook would have

9       tracked App Events in its various databases,

10      including Hive.                                           07:36:10

11           Q.    (By Mr. Melamed)    Do you know in which

12      tables it could track App Events?

13           A.    My understanding is that the API Hits

14      table would include App Events where the -- where

15      there was a logged-in user.                               07:36:35

16           Q.    Again, I don't mean to make you repeat

17      this testimony.    I really just do want to make sure

18      I'm understanding it.

19                 The API Hits table you're describing, is

20      that the -- what subsequently became the API -- the       07:36:48

21      API_hits_mobile and API_hits_www tables?

22           A.    That's my understanding.      These -- these

23      App Events were implemented as Graph API calls, and

24      as such, the information would be tracked in -- in

25      those tables.                                             07:37:17

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1            Q.   Other than from advertisers and data              07:37:26

2       brokers, did Facebook ever receive payment from any

3       third party for user information?

4            A.   No.   Facebook does not sell user data.

5            Q.   Let me -- let me just make sure I                 07:37:43

6       understand your answer.    I just asked whether it

7       received payment.   So is the answer the same?

8            A.   Facebook does not sell user data, and

9       therefore I'm not aware of a time Facebook has

10      received payment for user data.                             07:38:05

11           Q.   Has Facebook ever received any payment

12      for aggregated user data other than the context

13      that you're now testifying today as the targeted

14      advertising and data brokers?

15           A.   I'm -- I'm not aware of any time Facebook         07:38:35

16      has received payment for aggregated user data.

17           Q.   Did Facebook ever evaluate the value to

18      Facebook of aggregated user data?

19                MR. SCHWING:    Object to form.

20                THE DEPONENT:    Sorry.    The value to           07:39:08

21      Facebook of aggregated user data?      I'm sorry.     I'm

22      not sure I understand the question.

23           Q.   (By Mr. Melamed)    Let me restate it more

24      simply.

25                Did Facebook ever evaluate the value to           07:39:16

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1       Facebook of user data?                                          07:39:19

2                       MR. SCHWING:     Object to form.      Outside

3       the scope of the deposition.

4                       THE DEPONENT:     I'm not sure how to answer

5       that.        I'm just sure not how to answer that               07:39:39

6       question.

7                       Like -- yeah.     It's a -- it's a very --

8       I'm not sure how to answer that question.

9               Q.      (By Mr. Melamed)     Did Facebook ever

10      attempt to evaluate the value to Facebook of any                07:40:00

11      particular type of user data?

12                      MR. SCHWING:     Object to form.

13                      THE DEPONENT:     Again, could you give me

14      an example of what you mean by "type of user data"?

15              Q.      (By Mr. Melamed)     Did Facebook ever          07:40:21

16      attempt to evaluate the value to Facebook of data

17      about where a user was educated, the user,

18      you know -- an individual data point, an individual

19      piece of information?

20                      MR. SCHWING:     Object to form.                07:40:50

21                      THE DEPONENT:     Again, I'm not sure how to

22      answer that -- that question.            It's -- it's

23      possible that an analysis was done across the

24      15-year time period.           I -- like -- it's hard to --

25      hard to -- hard to understand what's meant by -- by             07:41:12

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1       "value" in this context or even evaluate.                         07:41:16

2                   So I'm just not sure I can answer that

3       question.

4             Q.    (By Mr. Melamed)    When Facebook engaged

5       in the process of determining whether to deprecate                07:41:29

6       certain types of API calls, did it conduct any

7       evaluation of the potential financial impact to

8       Facebook of deprecating those calls?

9                   MR. SCHWING:    The question is vague.

10                  THE DEPONENT:                               that      07:41:50

11      was

12      of -- of -- of a                             that -- that

13      were made in 2014,                       , as I

14      understand it,

                                                                          07:42:15

16            Q.    (By Mr. Melamed)    Is that a specific

17      document you're referencing?

18            A.    I'm thinking back to a document that was

19      prepared to try to understand the impact of the

20      changes in 2014 on the games ecosystem.                           07:42:36

21            Q.    As a matter of course, did F                  track

22      the valuation of -- its valuation of different

23      types of user data over time?

24                  MR. SCHWING:    Object to form.

25                  THE DEPONENT:    Again, hard -- hard to               07:43:00

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1       answer that question by -- do you mean -- yeah.           07:43:01

2       It's like very -- very broad question.          Hard to

3       give a specific answer.

4                    Could you -- could you be more specific

5       about a context, and maybe that would help give an        07:43:12

6       accurate answer.

7            Q.      (By Mr. Melamed)    Did Facebook ever look

8       at the value of the information it was receiving

9       about its users and evaluate what that value was

10      over time?     Did it track how much different user       07:43:27

11      information was worth over time?

12                   MR. SCHWING:    Object to form.

13                   THE DEPONENT:    So I can give some

14      examples that might -- might help here.           For

15      example, if an app -- if a user is using an               07:43:48

16      application and is sharing stories from the

17      application back to Facebook, then it was using

18      that, then Facebook would track the monthly active

19      users involved in -- in using the application and

20      would -- would track the -- the stories shared from       07:44:09

21      that application and would -- likely also track

22      clicks from Facebook back to that application that

23      the user or a user's friends had -- had taken from

24      Facebook.

25                   So there's -- there's are three types of     07:44:32

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1       things that I'm aware of that were tracked in                    07:44:34

2       relation to the Facebook developer platform in

3       third-party developers, which is what I believe

4       that this case is broadly about.

5               Q.     (By Mr. Melamed)     What -- let me withdraw      07:44:50

6       that.

7                      For those examples, were there particular

8       document types that provided this tracking

9       information, names of reports, internal systems,

10      et cetera?                                                       07:45:05

11                     MR. SCHWING:    The question is vague.

12                     THE DEPONENT:    Again -- typically --

13      typically, this kind of --




                      , and may have been                                07:45:19

16                   as well.   But typically, if I wanted -- if

17      somebody wanted to understand how many users               ere

18      using an application or the stories being shared

19      from it, typically you would --

                                                                         07:45:36

21              Q.     (By Mr. Melamed)     We've talked about the

22                        -- correct? -- during -- during your

23      testimony today?

24              A.     Yes, we've talked about the

25              Q.     Can you tell me what types of information         07:46:11

                                                                         Page 916

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1       are reflected in the                                           07:46:14

2              A.     So going -- going from memory here.

3       These are some of the things I recall in that

4

5                     The first is the            which refers to      07:46:30

6       the                                      that would have

7

8                     Another thing that was tracked was the

9                                                                is

10                                       that maps to -- to a          07:46:52

11                  which is the atomic unit of -- of

12

13                    The next thing that were tracked is the

14                                  whose                  was being

15      used to                                 on that given day      07:47:15

16      and then a                                          that the

17                         to the                 on the given

18      day.

19                    And then my understanding is that another

20                                          , which will be            07:47:38

21                                   that were made.

22                    So from my understanding, that's --

23      that's some of the information at least tracked in

24      that table.

25             Q.     You just -- you just described the               07:47:53

                                                                       Page 917

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1       as "the atomic unit" of an                      on the             07:47:55

2                          Can you elaborate on the

3       relationship between an API call and a method?

4               A.   A method is --                        -- a

5                                            on -- in                      07:48:17

6                         that is                          to a

7                           .

8                    When an app makes a call to the API,

9       it --                                                    in that

10                                                                         07:48:45

11              Q.   Is there a one-to-one mapping between the

12      API and the method that is used to call the

13      information requested by that API?

14              A.   So that -- that depends on your -- on the

15      specific definition of API which is being used                     07:49:09

16      in -- in context.

17                   So I wouldn't say it's a necessarily a

18      one-to-one mapping, so -- yeah, I wouldn't say it's

19      necessarily a one-to-one mapping.

20              Q.   Can you explain why there isn't                       07:49:23

21      necessarily a one-to-one mapping?

22              A.   So, for example, we talk about the Graph

23      API as a -- as a -- as a thing.         But the Graph API

24      is a -- is a collection of methods, and so

25      sometimes people are referring to it an API and                    07:49:41

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1       they mean the Graph API or another company's API           07:49:44

2       or -- or, you know, something like that, or they

3       may be referring to an endpoint -- an API endpoint,

4       or they may be referring to an API synonymous with

5       a method.                                                  07:50:02

6                    So the terminology used there is -- is

7       ambiguous, and the -- changes depending on the

8       context.

9            Q.      I'm sorry.

10                   Does Facebook maintain an index that maps     07:50:11

11      methods to specific API requests?

12           A.

                                                    which exists

14      to

15           Q.      Is that information publicly available?       07:50:35

16           A.      That's -- that refers to

17                                                   is

18      documented publicly and then how

19

                   which is a




22           Q.      I'm asking because if the

23      provides the method, I'm curious how we can use

24      that method that's identified to map to an

25      individual API request.                                    07:51:23

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1                 Does that make -- does my -- so I'm              07:51:26

2       asking whether Facebook maintains something that

3       would enable us to do that.

4            A.   Facebook maintains ways

5                                            I'm not aware of      07:51:40

6       a                                                    to,

7       say, part of the Facebook developer documentation,

8       although those mappings can be --

9

10                (Exhibit 426 was marked for                      07:51:59

11      identification by the court reporter and is

12      attached hereto.)

13                MR. MELAMED:   I've introduced what's been

14      marked as Exhibit 426.   Exhibit 426 is an excerpt

15      from a CSV file produced in this case, Bates number        07:52:26

16      FB-MDL-MTHD-00080.csv.

17                Mr. Cross and Counsel, for the record,

18      these files are each individually so large that we

19      could not share them, so this is an excerpt of ten

20      rows of one of the -- what have been identified by         07:52:52

21      counsel as the method table files.     I just want to

22      use this as an example to talk through.       I'm not

23      asking questions about these individual entries

24      other than to understand what they -- the

25      information that they represent.                           07:53:08

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1              Q.    (By Mr. Melamed)   Mr. Cross, are you         07:53:08

2       familiar with the type of information that's

3       reflected in this document, Exhibit 426?

4              A.    Yes, I am.

5              Q.    And you reviewed it in preparation for        07:53:24

6       today?

7              A.    I -- I -- I think I reviewed this sample

8       in preparation for today, and I -- I've worked with

9       API methods previously.

10             Q.    And so can you see my screen, that I'm        07:53:36

11      sharing Exhibit 426?

12             A.    I can, but I also have the information

13      available, so I don't think you need to, unless

14      it's useful for you, Mr. Melamed.

15                   MR. MELAMED:   Thank you.    I'll share for   07:53:50

16      now.     I've enlarged -- the only change I've made to

17      what I think you downloaded and is enlarged in

18      column size just so we can see a little bit more of

19      what's in the column.

20             Q.    (By Mr. Melamed)   When you used the          07:53:59

21                      internally, is this the format that is

22      returned to you?

23             A.    Yes, this matches how information is

24      represented in the

25             Q.    So if you look at column A in that, the       07:54:19

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1       header of column D is DS.                                      07:54:22

2                    Do you see that?

3              A.    I do.

4              Q.    And what does        stand for in this

5       context?                                                       07:54:28

6              A.                                  in which

7                                  .    It would refer to a

8

9              Q.    So all of the entries on this excerpt

10      reflect entries from December 19th, 2019; is that              07:54:46

11      accurate?

12             A.    My understanding is that these were --

13                                     made by a

14      in a                                   indicated by the

15      date, yes.                                                     07:55:04

16             Q.    And column B is

17                   Do you see that?

18             A.    I do.

19             Q.    And that is a -- is the                  wholly

20      numeric identifier?                                            07:55:17

21             A.    Yes.




23             Q.    And what is

24

25             A.    So what I mean by that is when an object          07:55:43

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1       is created in                                                       07:55:46

2                        that entity                          , and

3                       are used for -- today are used for any

4

5               Q.      Is there --                                         07:56:13

6               A.      Let -- let me back up.     I want to make

7       sure the record is clear on this.

8                       There are -- today, if an entry is

9                                                      , it will be

10                         but there are                                    07:56:27

11                      which were

12      was --                  , and in those cases, those

13

14              Q.      When was this              created?

15              A.      I don't -- I'm not sure on the precise              07:56:48

16      date.        This is a question about Facebook's general

17      data infrastructure, but my understanding is it's

18      worked this way or a variant of this way during

19      my -- my entire tenure at Facebook.

20              Q.      And are you familiar with what the                  07:57:06

21      structure of an API ID was before the time period

22      when the --

23                      This is a super simple question.           Let me

24      restate this.

25                      Do you know what they looked like before?           07:57:26

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1            A.   My understanding is that                      and all     07:57:27

2                            --                                      have

3       always been

4            Q.   They just have a different -- was it a

5                                                                           07:57:40

6            A.                                               has -- has

7       increased over time, and earlier on it was a

8                                        , and now it's more.

9            Q.   Do any of the

10      indicate anything about the app?             For instance, do       07:57:59

11      certain -- are certain types of                     reflective

12      of the fact that they are

13           A.           The -- the format of a

14                     determine whether or not

15                                   .     However, you could               07:58:22

16                                                                     is

17                    based on the

18      for example.

19           Q.   Does Facebook maintain an index of

                                                                            07:58:44

21           A.   Yes.                     in




23      with it, including the                   .

24           Q.   Does it also have the app developer

25      associated with it?                                                 07:59:06

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1              A.     Can you help me understand what -- what               07:59:11

2       you mean by "the app developer."

3              Q.     Sure.

4                     If --                 is associated with an

5                                          is that correct?                 07:59:17

6              A.     An              uniquely refers

7                          , yes.

8              Q.     What other information is associated with

9       that               in -- in

10             A.     So the                               that would       07:59:38

11      typically be associated with an                     would

12      include the                    of the people who have a role

13      on the                                              such as when

14      the                               information about the

                                                               and then a   08:00:05

16                                                    I could -- I

17      could go on for more, but there's a number of

18      things that would be associated with -- with an




20             Q.     Would it also identify whether an

                           on the platform?

22             A.     The answer to that question depends on

23      the definition of --                                 I -- can

24      you help me understand what you mean by

                    and then maybe I'll be able to give you a               08:00:38

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1       more accurate answer.                                         08:00:41

2            Q.      Would the information associated with an

3                                                     indicate when

4       an

5            A.      So, again, the answer to that question           08:00:57

6       somewhat depends on what you mean by




8                    Again, I'm trying -- in terms of being

9       helpful, try and give you my understanding of that.

10                   One of the properties of an                its   08:01:11

11      mode, which at times are called

                                                    And one of the

13      things that is associated with an                is which

14      mode it is in.     If an

15      then only people -- users who have been given a               08:01:32

16                                            can




18                   So one way of determining

                                               is whether or not

20                                  .   There's other ways,           08:01:48

21      too, but hopefully that provides some general

22      information.

23           Q.      Is there information associated with an

24                that indicates whether an app has been

25                                                                    08:02:02

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1                                                           or --          08:02:12

2       actually, let me back up.

3                     Can you help me understand what you mean

4       by "

5               Q.    Sure.   I mean it colloquially, but you              08:02:21

6       can -- is there information associated with an




                     or whether an                                has to

9       do --                                 before it can be out

10                                                                         08:02:34

11

12                    MR. SCHWING:    Object to form.

13                    THE DEPONENT:    My understanding is that

14      there will be some information about whether or not

15                                                                         08:02:53

16      Exactly which systems that -- that information is

17      stored in depends on the --

18      and when it was applied.

19              Q.    (By Mr. Melamed)    I guess I'm asking

20      whether there's a single table that exists -- like                 08:03:10

21      what is the general information in the single

22      table, if there is one, that is associated with an

23

24                    And I think you started to list some of

25      those types of information.        I'm just trying to              08:03:23

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1       understand if there are additional types of                        08:03:24

2       information.

3               A.   Yes.     There is a --

4                        and the -- that contains information

5       about                        That table has -- I want to           08:03:36

6       say it has quite a few columns.

7                    I can continue to try to give you some of

8       the -- the information I think is the more -- the

9       more I understand -- that I understand to be in

10      that table.      Those would                                  of   08:03:53

11                          as opposed to a                 , along

12                                     , which would be contained

13      in other tables.

14              Q.   Would -- how do you refer to the -- I

15      just want to use the right nomenclature.                           08:04:18

16                   How do you refer to this primary table of

17      apps that are associated with a particular -- the

18                       that we're talking about?        Is there a

19      name for that table?

20              A.   So the table I'm -- I'm referring to I                08:04:33

21      know as

22              Q.   "

23              A.

24              Q.   That is a Hive table, correct?

25              A.                                                         08:04:53

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1            Q.   Does -- and do -- when you call it --            08:04:59

2       when you talk about this table -- well, do you ever

3       talk about this table in emails or in conversations

4       with colleagues?

5            A.   It -- it's possible that people have             08:05:14

6       referred to this table in -- in emails, but...

7            Q.   I don't mean -- I'm -- I'm not asking for

8       a question where asking for memory.        I'm just

9       asking if there's a -- just as the -- we talked

10      about something called the                   , which is    08:05:28

11      actually a slighter longer name, is there a way

12      that you or your colleagues refer to the

13                            that is not that full name?

14           A.   Not that I can think of now.        Not that I

15      think of now.   When you're referring to a specific        08:05:48

16      table, typically you use the name of the table.

17           Q.   Does the                          identify the

18                         who have -- Facebook users that

19                             ?

20           A.   There are -- there are tables that I'm           08:06:08

21      aware of or that I recall exist that include

22      information about the

                              So those -- those tables exist.

24                I -- I can't be 100 percent confident

25      whether or not that information is in the -- the           08:06:30

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1                                                                    08:06:33

2               Q.   Are you confident that it is in another

3       table?

4               A.   I'm confident that there are tables that

5                                                               in   08:06:45

6       various ways over time.

7               Q.   Do you know -- are any of those not in

8       the                      ?

9               A.                              in my

10      understanding, refers to a specific table with a             08:07:09

11      specific set of fields, and I -- I don't recall

12      today precisely the full set of fields that that --

13      that table contains.     So -- but I am aware of other

14      tables existing which include

                                                                     08:07:32

16              Q.   And do you recall the names of any of

17      those other tables that contain information about

18

19              A.   I don't recall the name of those -- those

20      tables precisely, no, but -- but there are -- I              08:07:43

21      recall having interacted with such tables in the

22      past.

23              Q.   Do you know if there exists something

24      like a pivot table that collects information

25      associated with a single app from different Hive             08:08:07

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1       tables?                                                            08:08:10

2                    MR. SCHWING:      Object to form.

3                    THE DEPONENT:      So Facebook's Hive

4       infrastructure, data infrastructure,

                                         which

                    and -- and                               , either on

7       an

                                   .

9            Q.      (By Mr. Melamed)         Do you know whether

10      data scientists have you ever queried Hive tables                  08:08:45

11      so that the information about apps inclusive of

12                                                  are in the

13                               are combined with information

14      about the                         ?

15                   MR. SCHWING:      Object to form.                     08:09:09

16                   THE DEPONENT:      Yes, I'm aware of tables

17      that exist that                               from

18




20           Q.      (By Mr. Melamed)         And what tables are you      08:09:27

21      aware of that combine that information?

22           A.      Again, I -- Facebook's




                  I -- I don't recall the specific names of

25      those tables here and now.            So, you know, I'm            08:09:47

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1       afraid -- I'm aware of those tables existing and             08:09:53

2       have -- and having had existed in the past, but

3       I -- I can't recall the specific names of those

4       tables as we sit here today.

5            Q.   If we were to ask you to go back and               08:10:10

6       identify those tables, would you be able to do so?

7            A.   I'm -- I'm not a data scientist, and I'm

8       today not working on the platform team directly.         I

9       likely wouldn't have access to -- to the Facebook

10      Hive tables themselves.   I would speak to a data            08:10:29

11      scientist on the platform team to understand what

12      was -- what was available.

13           Q.   Which data scientist would you speak to?

14           A.   I would start with Mark Molaro.

15           Q.   How many apps are on Facebook's platform           08:10:57

16      currently, about?

17           A.   Can you -- I mean, I -- the answer to

18      that question depends on a number of factors as to

19      what it means to be an app on -- on Facebook's

20      platform and whether or not it's active.       Today I       08:11:19

21      don't have the precise number of apps that are

22      available on Facebook's platform.

23           Q.   Is one of the pieces of information that

24      is associated with an app in any Hive table whether

25      the app is a first-party Facebook app or not?                08:11:39

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1                  MR. SCHWING:      Object to form.                        08:11:50

2                  THE DEPONENT:      My understanding is that

3

                                                                  .     I

5       assume that information is stored somewhere in                      08:12:05

6       Hive, but I couldn't be sure.

7             Q.   (By Mr. Melamed)      Do you know the time

8       period for which the method -- the information in

9       the                 is available?

10            A.   The                  goes back to 2012, in my            08:12:28

11      understanding.

12            Q.   Going back to Exhibit 426, which is the

13      excerpted ten rows.       I'm sorry; it's only nine rows

14      of the                .

15                 Column C is the                                          08:12:44

16                 Do you see that?

17            A.   I do see that.

18            Q.   And that, as you described it before, is

19      the atomic element of the piece of code that is

20      used to                                                  ; is       08:12:54

21      that right?

22            A.   A method refers to a -- a

23      in                                that's used to create




25            Q.   Okay.   So I asked you before whether                    08:13:10

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1       there was a mapping of API requests to a -- method                     08:13:13

2       calls.    Am I using the lingo correctly?             I don't

3       mean to be confusing.

4                    MR. SCHWING:        Object to form.

5                    THE DEPONENT:        So going back to what I --           08:13:27

6       I think I referred to earlier is when an API call

7       is made, there is a system

                                                                to

9       create the                   .     So that's -- that's

10      how -- that's how the system works.                                    08:13:48

11           Q.      (By Mr. Melamed)        Is that system

12      something that could be produced in this case?                    Is

13      that a -- is it a tool that Facebook maintains, or

14      is it a list, a table?

15                   MR. SCHWING:        Outside the scope of the              08:14:00

16      deposition.     Object to form.

17                   THE DEPONENT:        So the way in which an API

18      request is

19      and it's my understanding                                    to

20      determine                                    in response to an         08:14:21

21

22           Q.      (By Mr. Melamed)        So there's no public

23      way to identify the API requests that are

24      associated with the methods that are in rows 2

25      through 10 in column C of Exhibit 426; is that                         08:14:40

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1       accurate?                                                    08:14:44

2                    MR. SCHWING:    Object to form.

3                    THE DEPONENT:    There is -- you can read

4       some of these entries here and -- and understand

5                               would have been in order to --       08:14:55

6       to -- to

7            Q.      (By Mr. Melamed)    Okay.     That's helpful,

8       but it's not an answer to my question, which is --

9       if -- if plaintiffs in this case wanted an index

10      that provided API requests and cross-referenced              08:15:16

11      those API requests to the method so that we could

12      make use of the                     is that something

13      that is -- that could -- is that even within the

14      realm of possibility as something that could be

15      produced?                                                    08:15:35

16                   MR. SCHWING:    It's outside the scope of

17      the deposition.     Object to form.

18                   THE DEPONENT:    I -- I'm not sure I'm an

19      expert in what -- what can be produced or in what

20      form that would be appropriate.          If it would help    08:15:50

21      if, we could go through these and I could talk

22      through my understanding of how they

23                 and if that would be useful, then that

24      might be help you interpret this information.

25           Q.      (By Mr. Melamed)    Thank you for the           08:16:07

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1       offer.     Unfortunately, these are nine rows out of            08:16:07

2       many, many, many millions and were not selected as

3       the rows that were the methods -- based on the

4       methods.     They were just a selection of the first

5       nine rows of a particular document.                             08:16:21

6                    So we'll have to -- that's something I

7       think we will have to discuss with counsel.

8                    Row -- I'm sorry.     Column D has the

9       header "

10                   Can you tell me what "           stands for?       08:16:39

11           A.

12           Q.      And what does "           mean in this

13      context?

14           A.              in this context means the

15                                                         to that      08:16:54

16                                                          time

17      window described by the                  .

18           Q.      So to take row 2 as an example, the first

19      four columns indicate that on -- in the

                                                     an app -- an       08:17:18

21      application with the                                 would --

22      made API requests corresponding to the

23                                                      ; is that

24      accurate?

25           A.      A caveat here is that my understanding of          08:17:46

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1       the                   is that this what's known in                   08:17:47

2

                     and so it's -- it's a

4                                                                   but --

5       but may not be                               .   But it can be       08:18:06

6       assumed to be as                             .

7               Q.     Assumed to be                            by whom?

8               A.     In general, when -- my understanding is

9       it's -- it's accurate to

10                       at least, if not more.                              08:18:27

11              Q.     Do you know -- do you know what -- the

12      reason that it is not                                         of

13      the value?

14              A.     My understanding that that's due to

15                                        The                                08:18:50

16      in --                                                 is --

17      produces a result with -- that's

18      with                                              .

19              Q.     And then column                    Do you know

20      what the information reflected in that column                        08:19:13

21      means?

22              A.     My understanding is this refers to the

23

                           that were used to make the

                                                                             08:19:32

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1            Q.      So for row 2, those 12 requests had a           08:19:33

2                                       by that one app for the

3       particular

              were made by a single -- on behalf of a

5       single user; is that accurate?                               08:19:51

6            A.      That's my understanding of what -- what

7       column B means, yes.

8            Q.      Okay.    If you look at Column E, row 9.

9       There are other rows that have this information,

10      too, but just for -- for purposes of this                    08:20:05

11      discussion, row 9 has                         And that app

12      in row 9 during the 24 hour time period on

13

                                             but did so on behalf

15      of                                                           08:20:35

16                   Do you see that?

17           A.      I do see that.

18           Q.      Do you know how that -- how it was

19                how that many --

20                   Let me rephrase the question.                   08:20:42

21                   Do you know how an API request could be

22      made, let alone made                  without the user

23      having requested it?

24           A.      There are --

25                   Sorry.    Say that again, Austin.               08:21:05

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1                 MR. SCHWING:    Object to form.                 08:21:07

2                 You can go ahead and answer, Mr. Cross.

3                 THE DEPONENT:    Apps have what's called an

4                             which does not refer to a

5                                                   , and my      08:21:16

6       understanding is that it's likely that those calls

7       were made with an

                         I can't 100 percent of that, because

9       I'd need to fully understand the lineage of the

10      data systems, but that's -- that's my understanding       08:21:36

11      of -- of how you would have API requests in here

12      without them being ascribed to a number of users.

13           Q.   (By Mr. Melamed)    And then column F --

14      and we can refer to return to row 2 for this -- is

15      the -- the header of column F is                          08:21:56

16                Do you know what that stands for?

17           A.   That -- that refers to

18           Q.   And what does                        mean in

19      this context?

20           A.   My understanding is that refers to              08:22:12

21      whether or not

                                                   by the

23

24           Q.   What makes a

25                Let me rephrase that.                           08:22:27

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1                       What does it mean in context of this        08:22:32

2       spreadsheet to call a

3               A.      My understanding is it means that the app

4

                                                             a      08:22:49

6

7               Q.      Is it possible to return a response that

8       does not provide information in response to a

9       request?

10                      Actually, let me -- do you understand       08:23:03

11      what I'm asking with that question?            I'm sorry.

12      This is --

13                      MR. SCHWING:   The question is vague.

14                      MR. MELAMED:   Yeah.   So --

15                      MR. SCHWING:   If you do know what he       08:23:13

16      means, go ahead.        But I don't -- it seems to me

17      there was uncertainty.

18                      MR. MELAMED:   I know what I intend to

19      mean.        I'm not sure I communicated it to you,

20      Simon -- or Mr. Cross.         I'm sorry.                   08:23:22

21              Q.      (By Mr. Melamed)   So if you're able to

22      answer, just state what you think -- the question

23      you think you're answering and I'll help to

24      clarify.

25                      If you're not able to answer, I'm happy     08:23:31

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1       to clarify.                                                  08:23:33

2                      MR. SCHWING:    Yeah, I'm going to restate

3       the objection that it's vague.

4                      THE DEPONENT:    What I think you mean is

5       is it possible for the API to -- to return                   08:23:52

6       successful -- to -- for the API request to be

7       considered successful but return no information?

8       Is that -- is what you're asking?            If so --

9               Q.     (By Mr. Melamed)    Yes.     Let's -- let's

10      say -- let's put a different example on here.                08:24:07

11                     Let's say there was an API call made for

12      your friend's religious and political preferences,

13      and that API call was well formed, and so it

14      reflects in this method table in the counts and the

15      users.       And would that -- but you had not provided      08:24:27

16      access to that information to the app.

17                     Would that return has -- be indicated in

18      the CNT successful as a successful query for that

19      information?

20                     MR. SCHWING:    Vague.     Incomplete         08:24:46

21      hypothetical.

22                     THE DEPONENT:    Yeah, again, the -- a full

23      answer here like -- might require some -- some --

24      some digging in exactly how these data pipelines

25      work.                                                        08:25:07

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1                     So -- but -- but my understanding is that         08:25:07

2                                                             even if

3       there was                                   based on the

4                                                      .   As far as

5       the API concerned, it was a                           and it    08:25:28

6       was                                   , but that response

7       being




9       even in -- in the case of

10              Q.    (By Mr. Melamed)     Thank you.      That's       08:25:48

11      helpful.

12                    Is there any other information other than

13      these columns reflected in the

14              A.    My understanding is -- is this is

15      representative of what is stored in -- in the                   08:26:03

16

17                    MR. SCHWING:    We've been going about an

18      hour.

19                    MR. MELAMED:    We can go off the record

20      and take a break.                                               08:26:17

21                    THE VIDEOGRAPHER:     Okay.     We're off the

22      record.      It's 8:26 p.m.

23                    (Recess taken.)

24                    THE VIDEOGRAPHER:     We're back on the

25      record.      It's 8:50 p.m.                                     08:50:30

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1               Q.   (By Mr. Melamed)   Mr. Cross, are you        08:50:32

2       familiar with the capabilities tool?

3               A.   I am familiar with the capabilities tool.

4               Q.   What is the capabilities tool?

5               A.   The capabilities tool is an internal tool    08:50:44

6       available to Facebook employees which is used to

7       manage capabilities and which apps have access to

8       them.

9               Q.   What does it mean to have access to a

10      capability?                                               08:51:05

11              A.   Excuse me.   It means that when an

12      a specific -- which represents a

                       has been granted a capability, then

14      that

                     which depends on the capability that's       08:51:29

16      being granted.

17              Q.   Is it accurate to say that the capability

18      is something that is not generally available to all

19      platform apps?

20              A.   Typically capabilities refer to behavior     08:51:46

21      which would not                                -- to a

22      Facebook application.

23              Q.   Now, are there circumstances where -- let

24      me withdraw and try of think of another way of

25      saying it.                                                08:52:10

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1                 And are you familiar with the                   08:52:16

2       capabilities tool as it used at Facebook?

3            A.   I am familiar with the capabilities tool

4       and how it's used at Facebook.

5            Q.   When was the capabilities tool instituted       08:52:28

6       as -- as such?

7                 Sorry for the poorly phrased question.

8       Let me restate that.

9                 When did Facebook start using the

10      capabilities tool?                                        08:52:41

11           A.   My understanding is the capabilities tool

12

13      or certainly

14           Q.   Did Facebook have any way of tracking

15      capabilities prior to the time period when the            08:52:57

16      capability tool was used?

17           A.   Before the capability tool existed, there

18      was another tool which managed some API whitelists,

19      and that was used to

                                                                  08:53:30

21           Q.   And what the name of that tool?

22           A.   My understanding is that tool was called

23      Pearly Gates.

24           Q.   P-E-A-R-L-Y Gates?

25           A.   P-E-A-R-L-Y, Gates, G-A-T-E-S.                  08:53:46

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1               Q.     Do you know if Facebook still has the       08:53:51

2       records that were reflected in Pearly Gates or has

3       the tool?

4               A.     My understanding is that that tool was

5       replaced by the capability tool.          I'm -- I'm not   08:54:04

6       aware as -- whether or not Facebook retains records

7       from -- from that previous tool.

8                      (Exhibit 427 was marked for

9       identification by the court reporter and is

10      attached hereto.)                                          08:54:14

11                     MR. MELAMED:   So I've marked what's

12      been -- or I've introduced what's been marked as

13      Exhibit 427.       You're going to see that the

14      Exhibit Share is unable to preview the file, and

15      I'm happy to share my screen to show it.                   08:54:30

16              Q.     (By Mr. Melamed)   It is Facebook -- I'm

17      sorry.       The Bates number is FB-CA-MDL-02936298.tsv.

18      I'll note that the version you're looking at on my

19      screen says "(2)" because I had downloaded it

20      earlier, and I'll state for the record that I              08:55:00

21      haven't made any changes to this other than to wrap

22      text and expand the columns so that we can see

23      them.

24                     I'll also state for the record that this,

25      like the                  spreadsheet we were looking at   08:55:17

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1       before, is an excerpt of a much larger document, so             08:55:19

2       this is only ten rows, so the column header and

3       then nine entries.     And I just want to do something

4       similar to what we just did with the

5                    MR. SCHWING:     And, Matt, just so I'm            08:55:33

6       clear -- I appreciate that description.            So this

7       is -- there was a larger spreadsheet, and this is

8       just the first ten rows of that spreadsheet?              You

9       didn't change the ordering?

10                   THE DEPONENT:     Correct.    I -- that is my      08:55:46

11      understanding.     I'm sorry if we did, but I did not

12      intend to change any ordering.         It's intended to

13      just reflect --

14                   MR. SCHWING:     Okay.

15                   MR. MELAMED:     -- these -- the column            08:55:57

16      header and then nine -- I think the first nine

17      rows.

18              Q.   (By Mr. Melamed)     Mr. Cross, have you

19      seen -- are you familiar with the content reflected

20      in this excerpt?                                                08:56:09

21              A.   I -- it looks similar to something I've

22      reviewed previously.        I'm familiar -- I'm familiar

23      with -- with the content, I think, yes.

24              Q.   So counsel has previously identified this

25      to us as the log table from the capabilities tool.              08:56:40

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1       Does -- have you heard the phrase "log table" as --                08:56:44

2       in this context, in the context of the capabilities

3       tool?

4               A.   Yes, I've heard the phrase "log table" in

5       the context of the capabilities tool.                              08:56:52

6               Q.   And what is the log table?

7               A.   My understanding is that the log table

8                                                                 to the

9       capability tool or to the information within the

10      capabilities tool over time.                                       08:57:13

11              Q.   Are those                     capabilities

12      themselves?

13              A.   So it would -- depends on what you mean

14      by "to the capabilities."          Can you be more

15      specific?                                                          08:57:33

16              Q.   Let me rephrase the question.

17                   What are                  that are reflected

18      in this tool?

19              A.   So my understanding is there's a --

20      there's a                          that are reflected in           08:57:48

21      this table, including

                                      whether or not that

23      capability -- a given capability is

                                whether or not an app

                                   , and                                   08:58:14

                                                                           Page 947

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1       about capabilities as stored in the capability                   08:58:19

2       tool.

3               Q.    If you look at column A, you see it is --

4       has the header "

5               A.    Yeah.                                              08:58:31

6               Q.    Do you know what that                  pertains

7       to?     What is it identifying?

8               A.    My understanding is that -- sorry.           My

9       understanding is that refers to the

                     the capability log table.                           08:58:45

11              Q.    And what -- do you know what that             is

12      associated with?

13              A.    My understanding --

14              Q.    It -- go ahead.     I'm sorry.

15              A.    My understanding is it's just the

                              Every time a

17      added, a

18              Q.    And when you say "a                     ," are

19      you referring to a log entry in this table?

20                    MR. MELAMED:    Mr. Garrie, your audio is          08:59:21

21      on.

22                    If that happens again, we can go off the

23      record really quickly.

24              Q.    (By Mr. Melamed)       Is the     something

25      that is ascribed to -- is there a                     ascribed   08:59:45

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1       to each                             ?                               08:59:49

2               A.     My understanding is every entry added to

3       the log is given to a                       that uniquely

4       represents that change event.

5               Q.     And the         -- your understanding is the         09:00:05

6             is not                                          is that

7       correct?

8               A.     That's correct.          My understanding is

9       refers to a -- to an                              .

10              Q.     So just to make sure I understand, if we             09:00:21

11      had the entirety of the log here and it was however

12      many rows, there should be that many                            ,

13      i.e., one for each row?

14              A.     That's my understanding of -- of what

15      mean in this context, yes.                                          09:00:38

16              Q.     Okay.       And what does app -- if you look

17      at column B, it says

18                     Do you know what that means in the

19      context?

20              A.     My understanding is that that means where            09:00:50

21      the                                 is -- is specific

               in some way, then the                  will be reflected

23      in that column.

24              Q.     And what do you mean by "

                               ?                                            09:01:02

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1              A.       So, for example, there are entries in           09:01:02

2       here which relate to a

                    .    That would be a row representing the

4                                                    That would not

5       be a                                                            09:01:22

6       therefore, the                             would not be

7       provided.

8                       An alternative example is when a

9       capability is                                      from an

10      app.    That would be a                    , as I understand    09:01:42

11      it, that would be                                  and

12      therefore the              would be in that column for

13      that entry.

14             Q.       So if the capability was

                                    it should be reflected in           09:01:55

16      column B; is that accurate?

17             A.       That -- that -- the -- it's hard to

18      answer that question specifically.           There were ways

19      that, in the past,

                               , which would contain a number of        09:02:26

21      applications, and in those cases it's likely that

22      what would be logged is the fact that the

23                                                                and

24      not necessarily to --

                                                                        09:02:45

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1               Q.   Would -- do you know if              would ever         09:02:49

2       be indicated as applying to more than

3       For instance, could there be an entry in the

4       column had            in it if a log change affected

5       those                                                                09:03:05

6               A.   My understanding is that the log would

7       only -- that column would only ever include




9               Q.   Column C says

10                   Do you see that?                                        09:03:22

11              A.   I do see that.

12              Q.   Do you know what those

13              A.   Those

14      depending on the action that the row represents.

15      So the -- the notes are                                         --   09:03:37

16                                    of -- of                   that

17      was

18              Q.   And who, as a general matter, by the

19      group of people, not the individuals, but who was

20      responsible for                                                      09:04:02

21              A.   My understanding is that the

22                                                    when a

23                   Therefore, the

24                     for the capability tool are responsible

25                                                                           09:04:21

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1             Q.    The                              is                       09:04:25

2

                                   my understanding.      The -- the

4                                                     based on the

5       information and                                     to the            09:04:40

6       capability tool at the time.

7             Q.    And column D says

8                   Do you know what that is?

9             A.                refers to the n

                                                                              09:04:57

11            Q.    And column E is

12                  Do you know what the                         means?

13            A.    Yes.     The capability tool at one time had

14      the                                                              to

15      be stored, so this would allow a                                      09:05:28

16                                          -- a set -- sorry --

17      a                                          to a

18                        via the group.

19            Q.    You said, "at one time."       Are

                                    no longer -- let me                       09:05:54

21      rephrase.

22                  Does Facebook continue to

23                        together like this?

24            A.    My understanding is that the tool has

25      moved to                                                    to        09:06:08

                                                                              Page 952

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1                                                      to                09:06:12

2       capability.

3            Q.     Do you know when that change was made?

4            A.     I don't know specifically when that

5       change was made.     It's likely that that was a -- a            09:06:26

6       changeover period of time as the migration took

7       place.    I think it was in the last like two or

8       three years or so.

9            Q.     So I'm sorry.     Just to be clear, that

10                                                    or from where      09:06:47

11                                  were possible to an

12                                                               to a

13                    happened over the last few years; is

14      that right?

15           A.     I'm not sure how long it took to                     09:07:07

16      transition from having                                     via

17                                       .   I'm not sure how

18      long the transition period took.         My understanding

19      is that that transition took place sometime in the

20      last two or three years.                                         09:07:22

21           Q.     So do you know the reason that Facebook

22      initiated that transition?

23           A.     My understanding is it was much simpler

24      to                                         to which

25                                                                       09:07:41

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1               Q.   So it was more difficult to understand                   09:07:50

2       which                        to                               when

3                                                          ; is that

4       correct?

5               A.   The --                                                   09:08:03

6                    MR. MELAMED:         Sorry.

7                    MR. SCHWING:         Object to form.

8                    But go ahead, if you can answer.

9                    THE DEPONENT:         My understanding is that

10      by                                           , additional             09:08:14

11      processing is required to -- t

                                                     at a given time.

13              Q.   (By Mr. Melamed)         When

                                                      was it possible to

15                            that had access to each                         09:08:34

16                               ?

17              A.   Yes, at -- at -- exactly how that's

18      represented in the logs, yes.              In order for

19      capabilities to function, it was possible for --

20                                                                      had   09:09:00

21      access to a                           .

22              Q.   Was it possible for employees at Facebook

23      to                                had access to which

24                                   during the time when

25                                                                            09:09:19

                                                                              Page 954

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1               A.   Yes.   The capability tool would have                  09:09:25

2       allowed employees to                                      an app

3       had and                                                        or

4                             .

5               Q.   And that is not -- that information is                 09:09:37

6       not reflected in this table; is that correct?

7                    MR. SCHWING:     Object to form.

8                    THE DEPONENT:     This table represents

9                                    to the capability tool at --

10      at a given time.      And so it would indicate when                 09:09:54

11      changes were made to

                                                        .

13              Q.   (By Mr. Melamed)     If you wanted to

14      understand which capabilities an app had access to

15      during the -- for the whole duration of time that                   09:10:26

16      the capabilities tool was in use, would you use

17      this spreadsheet?

18              A.   My understanding is that

                                                            had

20                                         at any -- at any given           09:10:48

21      time.

22              Q.   And column F has the header

23

24                   Mr. Cross, do you see that column F has

25      the header                                                          09:11:14

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1            A.    Yes, I do.                                              09:11:17

2            Q.    And then there are what looks like

3       numeric entries in the cells under column F,

4       correct?

5            A.    That's correct.                                         09:11:30

6            Q.    What do those numbers represents?

7            A.    My understanding is that those refer to

8                                             who initiated the

9       change in the log.

10           Q.    Does Facebook maintain a separate table                 09:11:53

11      that identifies the                     associated with

12      the employee name?

13           A.    Facebook would have a way of knowing for

14      a given                  who that referred to.

15           Q.    Do you see column G is                        ?   I'm   09:12:25

16      going to scroll over just a few so you can see the

17      remainder for context.

18                 Do you see column G has                       -- as

19      having

20           A.    I do see that.                                          09:12:35

21           Q.    What is the information reflected in

22      column G in the

23           A.    My understanding is that this refers to

24                        , so                   that the action

25      reflected in the log took place.                                   09:12:55

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1            Q.     Do you see anything in this log -- and              09:13:02

2       I'm happy to scroll back; just ask me to do so --

3       that reflects the date on which any of these

4       actions took place?

5            A.                                                     .   09:13:13

6            Q.     Okay.       Can you explain how -- let's look

7       at row 2.    I just don't understand.

8                   What




10           A.     So that's -- my understanding is that's             09:13:32

11      an Excel date and time for my team bug.              If you

12      look at the raw value of the cell, further up,

13      you'll see the "un-Excelified" version.

14           Q.     You're looking in the -- where I've just

15      highlighted in the -- in the field next to the                  09:13:50

16      function?

17           A.     That's correct.

18           Q.     So the

                            .    That's -- all I've done is

20      highlighted this cell.                                          09:14:13

21           A.     Sorry.       Yes.   My understanding is that

22      that refers to




24           Q.     Column H has the header "

25                  Do you see that?                                    09:14:33

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1              A.    I do.                                                09:14:34

2              Q.    What does                 reflect?

3              A.    My understanding is that there's a

                                 each of which is identified by

5       an                        , and that refers to the                09:14:50

6                                                                   at

7       this time.

8              Q.    Do you know how many                         there

9       are?

10             A.    I think there's                  .   In other        09:15:11

11      words -- I assume there was                         I don't

12      know the full -- the full number, I'm afraid, of

13      exactly of -- exactly which action types consist.

14             Q.    Do you know if the numbering of

                is sequential?                                            09:15:32

16             A.    My understanding of it that it is

17      enumerated, but there may be missing -- missing

18                      where the engineer created one but

19      didn't go on to subsequently use it, for example.

20                   MR. MELAMED:    I'll state for the record            09:16:03

21      that counsel has given us at least a partial list

22      of                   so I'll just -- we'll go back if

23      we need to.

24             Q.    (By Mr. Melamed)     Column I -- I'm

25      sorry -- is the task ID.                                          09:16:16

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1                   Can you tell me what "task_ID" stands                   09:16:22

2       for?

3              A.   "            refers to the                    for a

4                                                            t system.

5              Q.   If you wanted to look up a               based on       09:16:39

6       a                                           , could you do

7       so?

8              A.   I could attempt to do so, but whether or

9       not I would be able to see the contents of the

10      would depend on internal privacy and accessible                     09:16:53

11      rules.

12             Q.   Are all of the

13      system retained?

14             A.   I don't know for certain whether or not

15      they are retained forever, no.                                      09:17:10

16             Q.   Do you know whether all of the                   that

17      are reflected in this worksheet, which is the log

18      table and the capabilities tool, have been

19      retained?

20             A.   Again, I'm not aware of the specific data               09:17:33

21      retention mechanisms for                      -- a




23             Q.   Are you familiar with how to search in

24      the             I'm sorry --

25             A.   I am familiar of how to look up                         09:17:53

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1                                                                            09:17:57

2               Q.      Can you look up more than                        a

3       time?        For instance, can you enter a

4             and query to see whether each of those exist at

5       the same time?                                                       09:18:11

6                       MR. SCHWING:    Object to form.

7                       THE DEPONENT:    The                 has a -- has

8       a way of searching by several dimensions.                I think

9       it's possible to search for                                 at

10      the same time, but the -- the precise number of                      09:18:28

11      task IDs that that search system would accept is --

12      is not something I'm aware of.

13              Q.      (By Mr. Melamed)       Column J is the

14

15                      Can you tell me what that header                     09:18:51

16      references?

17              A.      So today Facebook has a process called

18                       which exists to

19      and                                     and who --

20                                                                           09:19:15

21                      My understanding is that that column

22      reaches an

23              Q.      What information is reflect in the

                                  that is not reflected in the

25      capabilities tool, if anything?                                      09:19:41

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1            A.     So the capabilities tool exists today to          09:19:46

2

3                       The                            to govern

4       the process by which capabilities are

                       , and the tool would therefore reflect         09:20:07

6       the -- the information as to

                                                  to a specific

8       application.

9            Q.     What form does the                    exist in?

10           A.     My understanding is that the                      09:20:34

11                uses an internal tool called

12      Launch Manager.

13           Q.     Do you know when Launch Manager first

14      started being used?

15           A.     Sorry.    Launch Manager started being used       09:21:01

16      in -- in which context?

17           Q.     Let -- let me back up and ask a predicate

18      question.

19                  Is Launch -- is Launch Manager used for

20      anything other than the process by which                      09:21:17

21      capabilities are granted to application and

22      information as to why a capability existed or was

23      granted for a particular application?

24           A.     The Launch Manager tool is used

25      internally at Facebook to operationalize the                  09:21:40

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1       companywide                                                    09:21:42

2            Q.      The Launch Manager tool is used for more

3       than -- is the -- is reflected in this log; is that

4       right?

5            A.      The Launch Manager tool is -- is used in          09:22:05

6       internally to manage Facebook's -- the companywide

7                              and then it's also used to

8       manage the

9            Q.      In what form does that tool exist?        Is it

10      a database that is accessed by internal employees              09:22:27

11      or spreadsheets?     Something else?

12           A.      It's -- it's a website that's available

13      to Facebook employees.

14           Q.      And is it backed up by a database?        Is it

15      a website interface to a database?                             09:22:43

16           A.      I'm not an expert in how the -- the tool

17      is structured, but from -- from my experience in

18      these matters, the -- yes, the -- the -- the

19      website would be a front-end onto some form of

20      database.                                                      09:23:02

21           Q.      Do you know whether reports can be

22      generated from the website?

23           A.      I don't know exactly what is -- what is

24      possible to be generated by the -- the

25      Launch Manager tool.     It's likely the view that I           09:23:24

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1       have as -- as a product manager differs from the          09:23:27

2       views that other employees have.

3            Q.   How long has the Launch Manager been used

4       at Facebook?

5            A.   I'm not -- the Launch Manager tool is --        09:23:47

6       is something that's existed for several years.      I'm

7       not confident in the -- in the -- in the date from

8       which it first started being used internally, but

9       it's been a tool that's been in use for several

10      years.                                                    09:24:03

11           Q.   Is it a tool that is still in use?

12           A.   Yes, the Launch Manager tool is -- is

13      still in use.

14           Q.   You see column K identifies the

15                                                                09:24:25

16           A.   I see that.

17           Q.   Do you know what information was

18      reflected when that column was filled in?

19           A.   I'm not actually sure what that column

20      exists to -- to track, I'm afraid.                        09:24:44

21           Q.   The -- so the information counsel

22      provided to us, that field is described as saying

23




                                                                  09:25:08

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1                   Do you have any reason to doubt that           09:25:09

2       description of what's contained in this -- of what

3       would be contained in this column if it were

4       recorded?

5            A.     I have no reason to doubt to -- to doubt       09:25:19

6       that description.

7            Q.     The description says it's

                                                    And I'm

9       excerpting there.

10                  But do you know what is meant by               09:25:34

11                                     that context?

12           A.     I'm not entirely sure exactly what --

13      what it means by                               in this

14      context.

15                  (Exhibit 428 was marked for                    09:25:48

16      identification by the court reporter and is

17      attached hereto.)

18                  MR. MELAMED:   I have introduced what's

19      been marked as Exhibit 428.       This one you should be

20      able to open in your Exhibit Share, but I will             09:26:45

21      share my screen in a second.

22                  While you're pulling it up, Exhibit 428

23      is, again, an excerpt of this spreadsheet provided

24      by Facebook at FB-CA-MDL-02936296.

25           Q.     (By Mr. Melamed)     And we went through the   09:27:17

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1       same process here.     It's not a -- you know, it's a             09:27:18

2       fairly random selection of the first several rows

3       just so we can discuss the information that's

4       provided on this spreadsheet.

5                    And for ease of legibility, I'm going to             09:27:29

6       stretch the columns out a little bit and share my

7       screen.

8                    While I'm doing this, have -- are you

9       familiar with this document, Mr. Cross?

10           A.      I am familiar with this document.                    09:27:47

11           Q.      And you reviewed this in preparation for

12      testifying today?

13           A.      I did.

14           Q.      What does this document reflect?           What is

15      your understanding of the information that this                   09:27:59

16      document reflects?

17           A.      My understanding is that this document

18      reflects when -- an                      and the

19      capability and when the

20                to that capability and when the app                     09:28:21

21                   that capability.

22           Q.      And do you know if this is a historical

23      record?

24                   MR. SCHWING:   Object to form.

25           Q.      (By Mr. Melamed)   I can clarify if you              09:28:44

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1       need me to.                                                      09:28:45

2                    What I'm asking is do you know if this

3       reflect the -- the -- when apps were

4                       and when they                           from

5       the onset of the time the capabilities tool was                  09:29:00

6       used?

7               A.   Sorry.   Excuse me.

8                    My -- my understanding is that this

9       reflects when an app

10                        the capabilities tool and when the             09:29:23

11                                                              by the

12      capability tool.

13              Q.   And it's your understanding that it

14      includes that information from -- for the entirety

15      of the time the capabilities tool was in use?                    09:29:39

16              A.   This -- this excerpt I'm seeing doesn't,

17      but the -- the original document -- I don't want

18      to -- determine what it was -- exactly how it was

19      produced and what the limits of that -- of that --

20      of that file are.      That would depend on when it was          09:30:08

21      produced, you see, and what data was available at

22      the time it was produced.

23              Q.   I can tell you I understand why you're

24      saying that.     I don't mean to be tricking you here.

25                   I can tell you it was produced several              09:30:26

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1       months ago.        I can't -- I'm not sure of the exact      09:30:30

2       date, but I believe it was in April of this year,

3       and that the -- the term -- that the file itself

4       was voluminous, so large that it made it either

5       impossible or wholly impracticable to open on                09:30:44

6       the -- on an individual's computer.

7                       I don't know if that helps clarify your

8       answer, but I -- I -- if it does, please let me

9       know.        If not, you know, I'm happy to ask that

10      question after you had to time to review the                 09:31:01

11      document as it was produced.

12              A.      My assumption is if it's a large document

13      that it -- that it would be -- it would go back

14      in -- in time a long way, but exactly whether or

15      not that captures the -- the -- the full extent of           09:31:25

16      the capability tool being in use, it likely depends

17      on when the -- the logging for the capability tool

18      was -- was added.

19              Q.      So let's go through the same exercise

20      with this spreadsheet.                                       09:31:45

21                      There are -- it looks like columns A

22      through K in this spreadsheet.         And, again, this is

23      an excerpt of the column header and the first nine

24      rows below that column header.

25                      Column A is tabled "                         09:32:01

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1                    Do you know what "ID" means in this             09:32:03

2       context?

3            A.      My understanding is that that refers to

4       a -- an

5            Q.      And the next -- each of these -- I'm            09:32:27

6       sorry.     For instance, row 2, 145330, would reflect

7       an                                                 I could

8       go to that                                         and --

9       and be taken to a row; is that correct?

10           A.      That's -- that's my understanding.              09:32:48

11           Q.      Before we go on, is this the way that --

12      is this the -- what Facebook employees see when

13      they use the capability -- capabilities tool

14      internally?

15           A.      No.   When Facebook employees use the           09:33:09

16      capability tool, they're using a website

17      internally, which displays information.

18           Q.      So they're not seeing -- seeing Excel

19      spreadsheets of the information; is that -- they

20      see something different?                                     09:33:29

21           A.      When employees are using the capability

22      tool, they're -- they're -- they're generally using

23      a website which includes a bunch of information,

24      sometimes in tabular form, sometimes in other form.

25      Typically the employees would -- wouldn't use an             09:33:47

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1       Excel spreadsheet.                                          09:33:50

2              Q.    For column B, it's             and then it's

3       a

4                    Do you know what that

5       reflects?                                                   09:34:08

6              A.    That                 refers to an




8              Q.    What does the

9                   refer to -- what kind of information is

10      that                                                        09:34:30

11             A.    I don't have access to -- to -- to

12      exactly what that information is due to Facebook's

13      internal privacy rules.

14             Q.    Do you know the type of information it

15      would be identifying?                                       09:34:43

16             A.    I'm not sure of the type of information

17      that's been identified.      Potentially maybe an

18      explanation of that has already been provided as --

19      as part of the Facebook's responses.

20             Q.    Column has                                     09:35:15

21                   Do you know what the information is in

22

23             A.    Yes.   That refers to the           or

24                                                       We

25      previously talked about this earlier in the                 09:35:33

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1       deposition.                                                     09:35:35

2            Q.     And column D reflects

3                   Do you know what that information is?

4            A.     That refers to an        which represents a

5                                within the capability tool.            09:35:52

6            Q.     And column E is                              It's

7       a

8                   Do you know what the                          is?

9            A.     That will be the

                        as referenced in Facebook's Graph               09:36:16

11      database.

12                  I'm sorry.     Let -- let me clarify that.

13      I'll use different terms.

14                  "         is -- we talked about this earlier

15      in terms of                                                     09:36:33

16                  When you see "           that refers to an




18           Q.     Is there any relationship between the

19      information in the capability_ID and the

20      capability_FBID?                                                09:36:54

21           A.     My understanding is that one is the

22      of -- of the                                       and the

23      other is the                             as stored in the

24      capability tool.       For a given capability, those two

25      values should be the same.                                      09:37:13

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1                    Sorry.     Not the same value.     For a given      09:37:16

2       capability, they will always have the same

3                           and always have the same




5            Q.      There should be a one-to-one correlation            09:37:29

6       where each                     has

7       and each is associated only with that other

8       specific corollary; is that correct?

9            A.      That's my understanding of how those two

10      fields work, yes.                                                09:37:45

11           Q.      Column F is                            and then

12      it's a

13                   Do you know what                              is?

14           A.      My understanding is that that refers to

15      an ID in the capability tool log.          That -- that          09:38:04

16      refers to when the capability was granted to the

17      application.

18           Q.      That                                  It is

19      associated with an                               that

20                                                                       09:38:33

21           A.      That number, as I understand it,

22      indicates a -- a                           , and that row

23      may contain

24           Q.      I'm just trying to understand your

25      testimony about what this column -- the information              09:38:54

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1       in this column.                                                  09:38:57

2                     You said it refers to when the capability

3                                               and -- and by

4                   do you mean the --                           the

5                                         the application?               09:39:10

6              A.     Sorry.   Let me -- let me reframe.

7                     My understanding is that               refers to

8       a                        in the

                           that -- that will contain

10      information about the -- that will refer to a

                                                the capability was

12

13             Q.     It's a cross-reference to another source

14      that

                                                                         09:39:55

16             A.     That's my understanding.      It's a

17

18             Q.     Column G is                   and it appears

19      to include a

20                    Do you know what

                                     reflect?

22             A.     My understanding is that it means the

23                                                                to

24      the application.

25             Q.     Is that information any different than             09:40:26

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1       the information that is cross-referenced by the               09:40:29

2       number in column F?

3            A.   I can't say for certain without knowing

4       the query which produced this table.       My

5       understanding, though, is that that represents the            09:40:46

6

7       to the application.

8            Q.   You referenced the query that created

9       this table.   Do you know if this table was created

10      for purposes of production in this case?                      09:40:59

11           A.   I'm not -- I don't know how this table

12      was -- was created and under what -- what

13      circumstances.

14           Q.   And I know you don't have the full table

15      in front of you, but is it your understanding that            09:41:28

16      the full -- so file at 02936296 contains all of the

17      information that is in the capabilities grants

18      table?

19                MR. SCHWING:    Object to form.

20                THE DEPONENT:    Sorry.    What do you mean         09:41:56

21      by "the

22           Q.   (By Mr. Melamed)    Thank you.        That's a --

23      that's a good clarifying question.

24                Counsel has reflected in communications

25      to plaintiffs that this file is the                           09:42:07

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1                      .                                                     09:42:09

2                    Is that -- do you understand this to

3       reflect a different -- to reflect a different type

4       of information?

5                    MR. SCHWING:    Object to form.                         09:42:25

6                    THE DEPONENT:       So my understanding is

7       that this -- this table reflects the

                                                      -- to

9                                    .

10              Q.   (By Mr. Melamed)       Is it your                       09:42:49

11      understanding that -- or let me withdraw that.

12                   Do you have any understanding whether the

13      full Excel spreadsheet that was produced to

14      plaintiffs reflects all                                      and

15                                                                           09:43:04

16      that exist within the capabilities tool?

17              A.   My understanding is that -- is that that

18      table contains the -- the full list of -- of

19                              as stored in the capabilities

20      tool.                                                                09:43:26

21              Q.   Heading to columns -- columns H is N --

22      the header on the column is                                 and it

23      has a

24                   Do you know what that

25      reflects?                                                            09:43:47

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1             A.    My understanding is it's similar to the              09:43:52

2                            and it refers to a

                                is indicative of the

4                                     from the application.

5             Q.    And column I is                   and the            09:44:13

6       entries appear to be a --

7                   Do you understand what that

8       reflects?

9             A.    I understand that that

10      reflects the -- the -- the                        as when        09:44:29

11      the                             from the given

12      application.

13            Q.    And so if there is                           and

14                          such as in row 4, does that

15      indicate that the capability is                                  09:44:52

16      that application?

17            A.    My understanding is that that means that

18      there is                        as to that app

                                       -- sorry -- that there is

20                           as to if the capability

                                                  and therefore

22                                                                  to

23      the capability at the time the data was pulled.

24            Q.    Column J has the header

25      and -- well, where there is an entry, it reflects                09:45:37

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1       what appears to be a                                         09:45:44

2                    Do you know what                     means in

3       this context, what information is reflected in the

4                          in the column?

5            A.      My understanding is that today when             09:46:00

6                                   to applications, they by

7       default

                   and this would indicate

                                            from the application

10      unless some action is taken.                                 09:46:25

11           Q.      If there is a blank entry -- so, for

12      instance, in row 4 -- does that indicate that there

13      is                                   for that




15           A.      I can't be 100 percent certain as -- as         09:46:47

16      to exactly what the

17      means.     It's possible, for example, that the tool

18      will -- will

19      sometime                            even if there was no

20      information in the                                           09:47:07

21           Q.      Do you know that the tool

                                                  if there is no

23      entry in the

24           A.      I'm -- I'm not aware of the specific and

25      complete behavior of how that works.        My               09:47:32

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1       understanding is that today if an application is                   09:47:36

2                                   , that will -- the capability

3                                                                 unless

4       someone at Facebook takes an

5               Q.      You said "today," the circumstances that           09:47:57

6       exists today is that if an application is




9                       Was there was a time in the past when a

10

                      in this context to an app?

12              A.      Earlier in the history of the capability

13      tool,

                                   to an application, that

15                                           to the application            09:48:33

16      unless someone

17              Q.      When did Facebook start -- start the

18      process whereby if a capability --

                                     to an application, it

20                                     for that

                     for that application?

22              A.      That process started happening sometime

23      in 2018, 2019.

24              Q.      Do you know why Facebook started that

25      process in 2018 or 2019?                                           09:49:17

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1             A.      My understanding is as part of the API      09:49:30

2       XFN process and redesigning how apps got access to

3       capabilities, that -- that was one of the features

4       added to                                 the set of

5       capabilities that apps have access to.                    09:49:52

6             Q.      Do you know why Facebook redesigned the

7       way that apps have access to capabilities around

8       that time?

9             A.      It was part of a -- a -- a set of

10      measures introduced in 2018 and 2019 to -- to             09:50:12

11      improve their methods by which APIs were developed

12      inside Facebook.

13            Q.      Do you know why those measures were

14      initiated in 2018 or 2019 to improve the methods by

15      which APIs were developed inside Facebook?                09:50:35

16            A.      My understanding is that these processes

17      were developed in response to concerns raised as

18      part of the Cambridge Analytica situation and --

19      and

20            Q.      Do you know which                           09:51:01

21      you're referencing?

22                    Or let me withdraw that.

23                    Do you know the date of the

24                 you're referencing?

25            A.      I don't, I'm afraid.                        09:51:13

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1            Q.      Do you know who would know?                   09:51:17

2            A.      I -- I -- I don't know specifically

3       who -- who was involved in the starting of the API

4       or the designing of the API XFN process, but...

5                    Yeah.   So I don't know the name of -- of     09:51:39

6       the person or people that were specifically

7       responsible for designing these two processes.

8            Q.      Turning to the spreadsheet in Exhibit

9       428, in column K, the header is

10                   Do you know what                              09:52:00

11      indicates?

12           A.      My understanding that refers to a setting

13      that determines whether or not a capability should

14      be                                          if -- if the

15                                                                 09:52:20

16           Q.      But do you know what values could be

17      entered in the field in column K?

18           A.      My understanding is that would be a

19

20           Q.      Can you explain what a              is and    09:52:49

21      then explain what a              is.

22           A.      So                               and

23      means that that field may also be

24           Q.      And what would a one indicate in "

25                                                                 09:53:07

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1               A.      My understanding is that a                        09:53:09

2       would mean that the system which

                                   from apps

4                                                         from an app

5                                                                         09:53:24

6               Q.      And do you know what a            would mean?

7               A.      I don't know what a            would -- would

8       mean.        My understanding is that it's equivalent to

9

10              Q.      And what would a          mean?                   09:53:40

11              A.      It would mean that the system which

12                                 from apps if they're not

13                                within a time period should

14

15              Q.      And by            you mean a                 in   09:54:01

16      the field?

17              A.      That's correct.

18              Q.      So each of the nine rows here that I've

19      just highlighted are                is that correct?

20              A.      That's my understanding, yes.                     09:54:18

21                      MR. MELAMED:    Let's go off the record.

22                      THE VIDEOGRAPHER:     Okay.     We're off the

23      record.        It's 9:54 p.m.

24                      (TIME NOTED:    9:54 p.m.)

25                                ---o0o---

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1             I, Rebecca L. Romano, a Registered
2       Professional Reporter, Certified Shorthand
3       Reporter, Certified Court Reporter, do hereby
4       certify:
5             That the foregoing proceedings were taken
6       before me remotely at the time and place herein set
7       forth; that any deponents in the foregoing
8       proceedings, prior to testifying, were administered
9       an oath; that a record of the proceedings was made
10      by me using machine shorthand which was thereafter
11      transcribed under my direction; that the foregoing
12      transcript is true record of the testimony given.
13            Further, that if the foregoing pertains to the
14      original transcript of a deposition in a Federal
15      Case, before completion of the proceedings, review
16      of the transcript [X] was [ ] was not requested.
17            I further certify I am neither financially
18      interested in the action nor a relative or employee
19      of any attorney or any party to this action.
20            IN WITNESS WHEREOF, I have this date
21      subscribed my name this 23rd day June, 2022.
22
23
              <%7321,Signature%>
24            Rebecca L. Romano, RPR, CCR
25            CSR No. 12546

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1       SIMON CROSS

2                                                            June 23, 2022

3       RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION

4       JUNE 20, 2022, SIMON CROSS, JOB NO. 5281223

5

6       The above-referenced transcript has been

7       completed by Veritext Legal Solutions and

8       review of the transcript is being handled as follows:

9       __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10         to schedule a time to review the original transcript at

11         a Veritext office.

12      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13         Transcript - The witness should review the transcript and

14         make any necessary corrections on the errata pages included

15         below, notating the page and line number of the corrections.

16         The witness should then sign and date the errata and penalty

17         of perjury pages and return the completed pages to all

18         appearing counsel within the period of time determined at

19         the deposition or provided by the Code of Civil Procedure.

20      __ Waiving the CA Code of Civil Procedure per Stipulation of

21         Counsel - Original transcript to be released for signature

22         as determined at the deposition.

23      __ Signature Waived – Reading & Signature was waived at the

24         time of the deposition.

25

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1       xx Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2          Transcript - You should review the transcript and

3          make any necessary corrections on the errata pages included

4          below, notating the page and line number of the corrections.

5          You should then sign and date the errata and penalty

6          of perjury pages and return the completed pages to all

7          appearing counsel within the period of time determined at

8          the deposition or provided by the Federal Rules.

9       __ Federal R&S Not Requested - Reading & Signature was not

10         requested before the completion of the deposition.

11

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1             I, SIMON CROSS, do hereby declare under
2       penalty of perjury that I have read the foregoing
3       transcript; that I have made any corrections as
4       appear notes; that my testimony as contained
5       herein, as corrected, is true and correct.
6             Executed this ____ day of ___________________,
7       2022, at     __________________,_____________________.
8
9
10
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12                    _______________________
13                            SIMON CROSS
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1       RE: FACEBOOK, INC., CONSUMER USER PROFILE LITIGATION
2       SIMON CROSS (JOB NO. 5281223)
3                             E R R A T A          S H E E T
4       PAGE_____ LINE_____ CHANGE________________________
5       __________________________________________________
6       REASON____________________________________________
7       PAGE_____ LINE_____ CHANGE________________________
8       __________________________________________________
9       REASON____________________________________________
10      PAGE_____ LINE_____ CHANGE________________________
11      __________________________________________________
12      REASON____________________________________________
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14      __________________________________________________
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16      PAGE_____ LINE_____ CHANGE________________________
17      __________________________________________________
18      REASON____________________________________________
19      PAGE_____ LINE_____ CHANGE________________________
20      __________________________________________________
21      REASON____________________________________________
22
23      ________________________________                    _______________
24      SIMON CROSS                                         Date
25

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                   Federal Rules of Civil Procedure

                                   Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




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      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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1                       UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
        IN RE:     FACEBOOK, INC.,                MDL No. 2843
4       CONSUMER USER PROFILE                     Case No.
        LITIGATION                                18-md-02843-VC-JSC
5       ___________________________
6       This document relates to:
7       ALL ACTIONS
8
        ____________________________
9
10
11                        **HIGHLY CONFIDENTIAL**
12               ZOOM DEPOSITION OF FACEBOOK's 30(b)(6)
13               CORPORATE REPRESENTATIVE - SIMON CROSS
14      (Reported Remotely via Video & Web Videoconference)
15                London, England (Deponent's location)
16                          Tuesday, June 21, 2022
17                                    Volume 5
18
19
20
        STENOGRAPHICALLY REPORTED BY:
21      REBECCA L. ROMANO, RPR, CSR, CCR
        California CSR No. 12546
22      Nevada CCR No. 827
        Oregon CSR No. 20-0466
23      Washington CCR No. 3491
24      JOB NO. 5291734
25      PAGES 986 - 1222

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1                       UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3
        IN RE:    FACEBOOK, INC.,                 MDL No. 2843
4       CONSUMER USER PROFILE                     Case No.
        LITIGATION                                18-md-02843-VC-JSC
5       ___________________________
6       This document relates to:
7       ALL ACTIONS
8
        ____________________________
9
10
11
12
13
14
15                   DEPOSITION OF SIMON CROSS, taken on
16      behalf of the Plaintiffs, with the deponent located
17      in London, England, commencing at
18      1:37 p.m., Tuesday, June 21, 2022, remotely
19      reported via Video & Web videoconference before
20      REBECCA L. ROMANO, a Certified Shorthand Reporter,
21      Certified Court Reporter, Registered Professional
22      Reporter.
23
24
25

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17      Meta Platforms
18              John Macdonell, Videographer
19
20
21
22
23
24
25      /////

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1                                   I N D E X
2       DEPONENT                                             EXAMINATION
3       SIMON CROSS                                                   PAGE
        VOLUME 5
4
5                                 BY MR. MELAMED                        998
6                                 BY MR. LOESER                       1139
7                                 BY MR. SCHWING                      1206
8                                 BY MR. LOESER                       1207
9
10
11                              E X H I B I T S
12      NUMBER                                                        PAGE
13                                DESCRIPTION
14      Exhibit 429      Native Excel Spreadsheet                     1007
15                       C2_019_FB-CA-MDL-02936297;
16
17      Exhibit 430      Message Summary,                             1101
18                       FB-CA-MDL-02898663 -
19                       FB-CA-MDL002898668;
20
21      Exhibit 431      Native Excel Spreadsheet,                    1107
22                       C2_113a_FB-CA-MDL-02898670;
23
24      Exhibit 432      Native Excel Spreadsheet,                    1111
25                       FB-CA-MDL-02674226;

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1                         E X H I B I T S(cont'd)
2       NUMBER                                                        PAGE
3                                 DESCRIPTION
4       Exhibit 433      Email String Subject:              V1        1116
5                        extensions,
6                        FB-CA-MDL-01952426 -
7                        FB-CA-MDL-01952427;
8
9
10                       PREVIOUSLY MARKED EXHIBITS
11      NUMBER                                                       PAGE
12      Exhibit 339                                                   1171
13
14
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1             London, England; Tuesday, June 21, 2022                  09:04:04

2                               1:37 p.m.

3                               ---o0o---

4

5                    THE VIDEOGRAPHER:   Okay.    We're on the         01:36:58

6       record.     It's 1:37 p.m. on June 21st, 2022.          This

7       is Volume 5 in Simon Cross's deposition.          We're

8       here in the matter of Facebook Consumer Privacy

9       User Profile Litigation.

10                   I'm John Macdonell, the videographer with         01:37:15

11      Veritext.

12                   Mr. Cross has previously been sworn, but

13      would counsel please identify themselves for the

14      record.

15                   MR. MELAMED:   Good morning.     This is          01:37:26

16      Matt Melamed from Bleichmar Fonti & Auld on behalf

17      of plaintiffs.     With me presently is Adele Daniel

18      from Keller Rohrback, also on behalf of plaintiffs.

19      And -- I'm sorry -- also Anne Davis from

20      Bleichmar Fonti & Auld on behalf of plaintiffs.                01:37:43

21                   MR. SCHWING:   Good morning.     This is

22      Austin Schwing of Gibson, Dunn & Crutcher on behalf

23      of Meta Platforms Inc.      I'm joined by Ian Chen,

24      Hannah Regan-Smith, and also Phuntso Wangdra and

25      Matt Buongiorno.                                               01:38:00

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1                 SPECIAL MASTER GARRIE:     This is              01:38:07

2       Special Master Garrie here on behalf of the Court.

3                 MR. MELAMED:   Good morning.     Before we

4       start today's testimony, I just want to identify a

5       few documents or sources of information that              01:38:29

6       Mr. Cross discussed yesterday that we want to

7       follow up with Facebook regarding their production.

8                 One is the Can tables, which Mr. Cross, I

9       believe, identified yesterday, as tables initiated

10      in or around 2019 operational, in or around 2020,         01:38:53

11      that identified the calls that -- certain calls

12      that apps could make on either data.

13                Another is the Did tables, which were

14      initiated around the same time.     And those indicate

15      the calls -- the calls that return user                   01:39:21

16      information, where the information was returned, so

17      those two seem to work in parallel.      I apologize if

18      I'm misstating.   I don't intend to.     What those

19      tables were, I think Mr. Cross's testimony on those

20      was clear yesterday.                                      01:39:37

21                The third is Pearly Gates.      Which

22      Mr. Cross identified as a precursor or the

23      precursor to the capabilities tool.

24                And the fourth is the Launch Manager,

25      which was identified as a tool to track privacy --        01:39:49

                                                                  Page 996

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1       a number of privacy decisions that were made                 01:39:55

2       internally at Facebook.     Same thing with those two.

3       I don't mean to misstate what Mr. Cross testified

4       about those.   His testimony is what it was.           I'm

5       just identifying them for the record.                        01:40:09

6                 Three of those four, the Can tables, the

7       Did tables and Pearly Gates, I do not believe have

8       been identified previously.       The plaintiffs in the

9       litigation, the fourth Launch Manager has been

10      identified previously, and plaintiffs have                   01:40:23

11      requested that previously.

12                And would -- are going to request it

13      again.

14                But I just wanted to put that on the

15      record that we will follow up as well.                       01:40:34

16                MR. SCHWING:    Okay.     Well, I appreciate

17      you raising the issues that you're concerned about,

18      Matt -- Mr. Melamed, you and I are friendly, so I

19      apologize for the "Matt."

20                But I know Mr. Cross has previously                01:40:53

21      identified Pearly Gates in a previous deposition

22      session, and the same is true of the Did table.

23      And you already knew about the Launch Manager.

24      Happy -- happy to talk to you, you know, about

25      document discovery issues.     I don't think this is         01:41:12

                                                                     Page 997

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1       the right time.     But, you know, we can certainly       01:41:16

2       discuss that.

3                 And I also wanted to -- to note, as I did

4       before we got on the record, that Mr. Cross had a

5       few things that he wanted to clarify, some                01:41:26

6       additional information related to some of the

7       questioning yesterday.

8                 So at a convenient point in the

9       deposition, whenever you think it's appropriate, he

10      would like to share that.                                 01:41:38

11                MR. MELAMED:     Thank you.

12

13                             SIMON CROSS,

14      having been previously administered an oath, was

15      examined and testified as follows:                        01:41:41

16                        EXAMINATION (resumed)

17      BY MR. MELAMED:

18           Q.   So, Mr. Cross, you understand you're

19      still under oath, correct?

20           A.   I do.                                           01:41:45

21           Q.   What --

22                SPECIAL MASTER GARRIE:        Are we on the

23      record?

24                MR. MELAMED:     Mr. --

25      Special Master Garrie, sorry.                             01:41:49

                                                                  Page 998

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1                    SPECIAL MASTER GARRIE:     Yeah, I am sorry   01:41:51

2       for interrupting.     I was going to say, in the

3       interest of efficiency, it would be most helpful if

4       the parties could meet and confirm on the issues

5       decided and discussed, and add the issue to                01:41:59

6       mediation tracker so that way we have a record of

7       these ongoing issues.

8                    If there are downstream issues about each

9       of these different things, I just wanted to notate

10      that now because I have other issues that I've             01:42:13

11      written down that haven't been raised on the

12      mediation tracker, and I'm just assuming they're

13      being resolved.

14                   So if the parties have a process that's

15      great.    I just encourage them to document it so we       01:42:24

16      don't have any downstream surprises with additional

17      folks coming -- being required in the interest of

18      completeness.     And if you could just document that

19      from the plaintiff's side, that would very helpful.

20                   MR. MELAMED:   Will do.    Thank you.         01:42:41

21           Q.      (By Mr. Melamed)   So, Mr. Cross, your --

22      Mr. Schwing indicated that you have some additional

23      testimony or clar- -- testimony or clarifying

24      testimony regarding some things you talked about

25      yesterday.                                                 01:42:55

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1                   So now would be a great time to provide          01:42:55

2       that clarification.

3            A.     Sure.   Yeah.    Yesterday we were talking

4       about some of the tables in the capability tool.

5       Regarding the capability tool, one of those tables           01:43:07

6       was the -- the Grant table, and I think I mentioned

7       that the

8       might refer to

9                   My understanding is actually they --

10      they're not                                   they're just   01:43:28

11                               to this table.

12                  So, yes, that's one thing I wanted to --

13      to clarify.

14           Q.     Do those        cross-reference any other

15      tables?    Are they identified in any other tables           01:43:41

16      relevant to the capabilities tool?

17           A.     My understanding is they -- they're not

18      cross-referenced in another table.

19           Q.     Thank you.

20                  Do you have anything else you'd like to          01:43:54

21      clarify from yesterday's testimony?

22           A.     Yesterday you asked me some questions

23      about -- the rest API and FQL.        I can say that

24      the -- they were deprecated or the deprecation was

25      announced in 2014, I believe in August.           In API     01:44:11

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1       Version 2.1.                                              01:44:17

2                    They remained available to developers for

3       the duration of the API existed, which was until

4       October of 2016.      After that point, they would only

5       have been available to -- to apps via a whitelist.        01:44:31

6                    And my understanding is that the last

7       third-party apps were removed from the rest API

8       whitelist

9                    And -- and also my understanding is

10      the -- the last third-party app was removed from          01:44:51

11      the -- so the first one I mentioned was the FQL --

12      sorry -- FQL,

13                   And then my understanding is that the

14      last third-party app was removed from the whitelist

15      that gave access to the rest API in around                01:45:08

16

17              Q.   Thank you.

18                   Is there a list somewhere of the apps

19      that were permitted to access the rest API after

20      2016?                                                     01:45:30

21              A.   That information is -- is -- as I

22      understand, it would be available in the -- in the

23      Grant table, which you have access to.

24              Q.   Okay.   And is the -- and you're talking

25      about the capabilities grant -- tool Grant table,         01:45:44

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1       correct?                                                    01:45:47

2            A.      That's correct.     My understanding is that

3       access to those two legacy APIs was gated by the

4       capability tool and, therefore, the apps that would

5       have had access to query those APIs, would have             01:45:57

6       been listed in the capability tool.

7            Q.      And is the answer the same for FQL, that

8       the list of apps that were permitted to access user

9       information by FQL queries is after 20 --

10      October 2016 is indicated in the capabilities tool          01:46:17

11      parens table?

12           A.      That's my understanding too, yes.

13           Q.      Do you have any other clarifications or

14      follow up you want to offer regarding yesterday's

15      testimony?                                                  01:46:36

16           A.      You asked me when Facebook

17      capabilities from apps

18      those apps.     My understanding is that that process

19      began in October 2018.

20           Q.      So prior to -- is it correct, then, to         01:47:03

21      say, that prior to October 2018, Facebook was not

22                                             where those apps

23

24                   MR. SCHWING:    Object to form.

25                   THE DEPONENT:     There was no                 01:47:24

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1                  in place until October 2018 from

                                     that

3                 There would have been

                                    in place.     But that was the

5       moment, as I understand it, that                                 01:47:43

6       was introduced.

7            Q.      (By Mr. Melamed)        And I apologize if this

8       is asking you to testify about something you

9       already talked about.

10                   What was the                            that        01:47:55

11      commenced in October 2018 regarding the

                        from apps that were




14           A.      My understanding is -- a

15                                                          that check   01:48:18

16      a given capability, and if there was no indication

17

                      within a time period, then the system

19                                          from the app.

20           Q.      What was the time period that -- that               01:48:43

21      triggered the                            you're talking

22      about?

23           A.      My understanding is that the time period

24      is

25           Q.      Was there any ability to override that              01:48:57

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1                                 of a capability that

                by an app in the past                after

3       October 2018?

4               A.      My understanding is that where there is

5       a -- I think the field name is                                    01:49:13

6       I'm -- I'm -- I can't remember the exact field name

7       here.        We -- we looked at it yesterday.        But I

8       think it's auto -- you have -- you have the thing

9       in front of you -- I don't -- I'm not allowed -- I

10      don't have notes in front of me on this.                          01:49:33

11                      So maybe you could refresh my memory of

12      the column we're discussing here.

13              Q.      Yeah.    I'm -- I'm -- do you recall which

14      table it's in?          I'm happy to pull that exhibit up.

15              A.      The Grant table.                                  01:49:47

16              Q.      Okay.    Thank you.

17                      Okay.    Can you see my screen?

18              A.      Yes.

19              Q.      So this is -- and I'll zoom in a little

20      bit.     This is Exhibit 428, which is the                        01:50:13

21      capabilities tool Grant table.           I can resize these

22      columns quickly.

23                      Do you see -- as I'm doing this --

24      actually let me stop so you can see them.              Before I

25      resize them, do you see the column that indicates                 01:50:28

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1       the

                   of a capability -- let me rephrase that.

3                    The                         of a capability

4                                      by an app in the past

5                                                                          01:50:43

6             A.     That's column J.

7             Q.     Column J.    Is

8             A.     My understanding is the -- if an app

9       has -- if there was an                            listed for

10      an app, then the capability                                 from   01:50:57

11      the app                                     even if

                      by the app.

13            Q.     So for instance, in row 5 column J, where

14      the                      for this

                                                                           01:51:16

16                   That indicates that the

                   of that capability from that app is

18                                          at which time the

19                                         from the app?

20            A.     That's my understanding, yes.                         01:51:40

21            Q.     And, again, we talked about this

22      yesterday.     But do you -- and so I apologize if

23      I'm -- I don't mean to make miss- -- restate what

24      you've already testified about.            I'm just trying to

25      understand these columns and context of one another                01:51:55

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1       in light of the additional testimony you're                   01:51:57

2       offering.

3                    Is there any relationship between

4       column K and the                                  of the

5       capability from an app that started in                        01:52:10

6       October 2018?

7               A.   My understanding that that column

8       would -- if -- if that column contained a

9                                 would -- would mean that --

10      that also the                                          from   01:52:28

11      the app,                               in a

12      period.

13              Q.   And in that instance, if there was the

14           indicated in this column, would that mean there

15      is -- unlike column J where the exception provides            01:52:47

16      an                                       if there is a

17                   in column K it would not provide a

18                          , but would the capability app

19      pairing would                          until that was

20      changed; is that accurate?                                    01:53:08

21              A.   That's my understanding of the system.

22              Q.   Do you have any other testimony you'd

23      like to clarify from yesterday?

24              A.   Nope, that covers the -- the things I'd

25      like to catch up on.                                          01:53:21

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1            Q.   So yesterday we talked about two of three       01:53:32

2       spreadsheets that were produced by Facebook that

3       reflect the capabilities tool, and I wanted to jump

4       into the third today.

5                 (Exhibit 429 was marked for                     01:53:47

6       identification by the court reporter and is

7       attached hereto.)

8                 MR. MELAMED:   So I've marked what -- I

9       have introduced what's been marked as Exhibit 429.

10      Exhibit 429 is Bates number FB-CA-MDL-0236297.            01:53:54

11                It has been identified to us as the

12      "Capability table."

13                I'll share my screen.     I've adjusted --

14      I've only adjusted the columns.     And, again, as

15      with the other spreadsheets we looked at yesterday,       01:54:26

16      this is merely an excerpt of the Capability table.

17                Are you -- is this something you have

18      reviewed before today?

19                MR. SCHWING:   Mr. Melamed, it's not

20      showing up in the Exhibit Share.     I'm not sure if      01:54:43

21      that -- we need to do something to get into the

22      Exhibit Share.

23                MR. MELAMED:   I think there is a new day

24      of -- of -- for the Exhibit Share, and I think that

25      it says day 5.                                            01:54:57

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1                   MR. SCHWING:   Okay.    I will figure that        01:55:03

2       out.

3                   MR. MELAMED:   Okay.

4                   MR. SCHWING:   Thank you.

5              Q.   (By Mr. Melamed)   Mr. Cross, are you able        01:55:05

6       to see it or at least able to see it on my screen

7       well enough to be able to testify about it?

8              A.   I can see it yeah, and I -- I also have

9       it in Exhibit Share.

10             Q.   Okay.                                             01:55:15

11             A.   By the new date.

12                  MR. MELAMED:   Mr. Schwing, would you like

13      me to wait until you're able to pull it up.

14                  MR. SCHWING:   I was able to figure it

15      out.    Thank you.                                            01:55:24

16                  MR. MELAMED:   Okay.

17             Q.   (By Mr. Melamed)   So I'd like to do the

18      same thing we've done with other -- the other

19      tables that comprise the capabilities tool and talk

20      through what each of these columns indicates.          And,   01:55:35

21      again, I'm not interested specific -- in the

22      specific row other than it is indicative of the

23      values and the type of values that can be entered

24      and reflected in the table.

25                  So column A is titled            And so if we     01:55:49

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1       look at row 2 here, the ID is                               01:55:55

2                    Do you know what that

3       references?

4            A.      My understanding, that        references

5       the -- the                                   as stored in   01:56:06

6       the capability tool.

7            Q.      And is there a               associated with

8       each individual capability?

9            A.      My understanding is that the

10      for each capability.                                        01:56:26

11           Q.      So capability, to look at row 353 and

12      skip ahead, do you see that column C is labeled

13

14           A.      I do see that.

15           Q.      And the name reflected in column C is          01:56:43

16

17           A.      I see that.

18           Q.      So first, what is

19                                          And I -- to clarify,

20      I don't mean what specific access does that                 01:57:01

21      provide.

22                   But what type of information is that?

23           A.      That would allow an apps -- an app to

24      access the videos posted by a user's friends.

25           Q.      Okay.   And the information in the             01:57:17

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1                        column is                                     01:57:19

2                                                is that right?

3             A.   That's correct.     That is the              that

4       the

5             Q.   And is it universal that Facebook's                 01:57:39

6                                     have underscores where

7       two words are connected?

8             A.   Capabilities typically use underscores

9       instead of spaces.   But there may be some

10      capabilities where you will use a space in English             01:58:03

11      that the person that created the capability chose

12      not to do so.

13            Q.   So going back to the information in

14      column A, these are -- in connection with the

15      information in column C, am I -- do I understand               01:58:25

16      this correctly to say that the capability with

17

18            A.   That's my understanding, yes.

19            Q.   Going back to column B.       It says

20      And it is a                             in row 2.              01:58:47

21                 What -- do you understand what the

22      information reflected in column B is?

23            A.   My understanding is that that refers to

24      an                                           in Facebook's

25                                                                     01:59:14

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1              Q.   Do you understand the reason why there is         01:59:15

2       a                as reflected in column A and

3       Facebook --           as reflected in column B?

4              A.   The capabilities tool uses a

5

                          as it's relatively common at

7       Facebook that -- would be able to have a way of

8                         for -- for something from one

9       database to another.

10             Q.   What database does the capabilities tool          01:59:57

11      use?

12             A.   My understanding is that the capability

13      tool uses the database, a "                        .

14             Q.   Is the         that is reflected in column B

15      uniquely and permanently associated with a single             02:00:22

16      capability.    In other words, let me -- let me

17      rephrase that.       That was poor phrasing.

18                  Is the entry in row 2 column B associated

19      with the -- with                             and capability

20      name                                                          02:00:45

21             A.   My understanding is that            would

22      uniquely represent that capability in Facebook's

23

24             Q.   And every time that                    is used

25      in the                              , it is referencing       02:01:08

                                                                      Page 1011

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1       that specific capability; is that correct?                   02:01:12

2              A.   That's my understanding of what the

3       represents in this context.

4              Q.   Going onto column D, which is, header is

5                                                                    02:01:27

6                   Do you know the -- what type of

7       information is reflected in column D?

8                   MR. SCHWING:     Object to form.

9                   THE DEPONENT:     The information in

10      column D would represent             that represents a       02:01:49

11

12             Q.   (By Mr. Melamed)     "       mean -- meaning

13

14             A.   My understanding is          in this context

15      is a                                                         02:02:14

16             Q.   What type of information would be in

17                                                   that pertains

18      to a capability as reflected in a row in this

19      table?

20             A.   My understanding is that for some                02:02:38

21      capabilities there is a need to have

22                          which is

23                     And if that is the case, then that

24      description would be stored in the             system and

25      the                         containing that description      02:03:02

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1       would be referenced here.                                      02:03:07

2            Q.    If there is an entry in column D for a

3       particular capability that references Facebook's

4                                     -- and -- I'm sorry -- an

5       entry in                                                 is    02:03:24

6       it accurate that -- let me withdraw that and

7       restate it.

8                  Where there is a page within Facebook's

9                                     associated with a

10      capability, as reflected in this table, does that              02:03:45

11      mean necessarily that the page -- within Facebook's

12                                    was communicated to a

13      third party?

14                 MR. SCHWING:     Object to form.

15                 THE DEPONENT:     I -- I don't think it --          02:04:02

16      that's necessarily the case, no.

17           Q.    (By Mr. Melamed)     So you -- your

18      testimony is that sometimes that was the purpose of

19      a page within the                associated with the

20      capability; is that right?                                     02:04:17

21                 MR. SCHWING:     Object to form.

22                 THE DEPONENT:     My understanding is that

23      for some capabilities there may be a

                       , and that                  may contain

25                                             .     I can't say for   02:04:33

                                                                       Page 1013

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1       certain whether or not that means the

                                                                 .

3             Q.     (By Mr. Melamed)    Can you think of other

4       purposes that Facebook would have a

                      associated with an individual                  02:04:50

6       capability?

7             A.     I'd be speculating as to -- as to why

8       Facebook might have a

9       I wasn't personally closely involved in the

10      addition of this information.                                02:05:11

11            Q.     If there was a              identified or

12      reflected in column D, would Facebook have the

13      ability to




15            A.     I can't confirm whether or not that would       02:05:39

16      be possible or not, and for -- for a number of

17      reasons, technical reasons as to how systems work.

18      I -- I wouldn't want to confirm that.

19            Q.     Do you use Facebook's content management

20      system?                                                      02:05:59

21            A.     I don't on a daily basis use Facebook's

22      content management system.

23            Q.     So if plaintiffs were to identify entries

24      in column D to Facebook and want to know whether

25      the                                               could be   02:06:20

                                                                     Page 1014

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1       produced, who would you ask at Facebook to                   02:06:29

2       determine whether they could be?

3               A.   Who would I ask?     I'd -- I would ask our

4       legal team first of all, if it -- if it's relying

5       on -- if you're asking questions about whether or            02:06:49

6       not something can be produced.         I assume they would

7       be able to speak to the -- the engineers or data

8       scientists who would be able to advise on that

9       matter.

10              Q.   If you were using a capabilities tool           02:07:09

11      internally and wanted to review the

12      reflected in column D, how would you go about

13      reviewing that                  What steps would you

14      take?

15                   MR. SCHWING:    Object to form.                 02:07:25

16                   THE DEPONENT:    If the           was visible

17      in the capability tool, my first attempt would be

18      to access the        and attempt to s




20              Q.   (By Mr. Melamed)     We've gone back and        02:08:01

21      forth about this tool for a long time, and

22      sometimes I think both of us have referred to it in

23      the plural and sometimes in the singular, the

24      capabilities tool and the capability tool.

25                   Is one of those correct?                        02:08:12

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1               A.     My understanding is those terms are --       02:08:21

2       are used interchangeably.

3               Q.     Moving onto column E the header is

4

5                      What does that mean?                         02:08:35

6               A.     So inside Facebook code is generally

7

8       called                 And so              represents a

                           and my understanding is that this

10      would be the                                                02:09:02

11                       for this capability.

12              Q.     Do you know approximately how many

                                      that could be --

                                                           in the

15      capability used tool?                                       02:09:28

16                     MR. SCHWING:     Object to form.

17                     THE DEPONENT:     There's




                     at -- at Facebook.     I -- I don't know how

20      many of them are represented in the capability              02:09:43

21      tool.

22              Q.     (By Mr. Melamed)     So this cell that I

23      currently highlighted, which is row 2 column E, and

24      it's a                             that identifies an

25                                                                  02:10:01

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1               A.     My understanding is that identifies an                02:10:05

2                                         .

3               Q.     What is an                                       "?

4               A.     An                                    represents

5       a                                                    for that        02:10:25

6                     And -- and one of them would be                 at

7       any given time.

8               Q.     So that number represents a

                     one of whom is always available to -- to do

10      what?                                                                02:10:49

11              A.

12      perform a number of activities and you said that

13      someone is always available.            I -- I can't confirm

14      whether or not for every                  there is

                                                                             02:11:15

16              Q.     It's similar to an                      that

17      there's somebody available from this team to

18                                              with this capability?

19                     MR. SCHWING:    Object to form.

20                     THE DEPONENT:    My understanding of the              02:11:34

21      purpose of this is that this identifies a -- a

22                              who would be the

                in understanding the --

24      with the capability and how to resolve it.

25              Q.     (By Mr. Melamed)       Column F has the header        02:11:56

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1                           and in row 2 it's a




3                      Do you know what the

4       indicates in the Capability table?

5              A.      My understanding is that this represents          02:12:20

6       a --                                            and what it is

7                            and in some cases

8

9              Q.      Do you know who is responsible for

10      entering the                     for a particular                02:12:38

11      capability?

12             A.      Typically the engineer who creates the

13      capability is first responsible for

14                       for the capability.

15             Q.      Do you know if the identity of the                02:13:00

16      engineer who creates each capability in the

17      Capability table is reflected in the Capability

18      table?

19             A.      My understanding is that the

20                  represents the -- the --                        of   02:13:17

21      the

22             Q.      All right.

23                     So skipping ahead here, a few columns

24      that the                         is column J, correct?

25             A.      That's correct.                                   02:13:33

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1               Q.   So the person                        capability      02:13:33

2       in row 2 is the person who -- with the Facebook

3                               is that right?

4               A.   That's my understanding.         And that

5       references the                                           the      02:13:50

6       capability in the tool.       It's possible that the

7                                                                 may

8       be a different person.

9               Q.   And is it your understanding, that the

10                                               into the tool is         02:14:06

11      the                                               in

12      column F?

13              A.   It's likely that the person that

                          in the tool

                                        .   But the                       02:14:24

16      likely changed over time as                              in the

17      tool.

18              Q.   Are those -- are the identity -- let me

19      withdraw that.

20                   Is the identity of any individual who                02:14:40

21                                   captured in the tool?

22              A.   My understanding is that

                       is one of the entries captured in the

24      Log table.

25              Q.   So to determine whether the                          02:15:01

                                                                          Page 1019

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1                               when you would cross reference       02:15:04

2       the information in Exhibit 429 with the Log table,

3       which is one of the exhibits we looked at

4       yesterday; is that right?

5            A.    My understanding is that the Log table            02:15:19

6       would indicate when a

                                         for a specific

8       capability.

9            Q.    Column G the header is

10                                                                   02:15:33

11                 What information is reflected in that

12      column?   What does             -- let me withdraw that

13      and state it again.

14                 What does

15           A.    At a high level, an                is             02:15:49

16

17      And by                 I understand that to mean that

18      the -- the capability




20           Q.    And if you look at row 2 in column G              02:16:14

21      under "

22                 Do you know why -- what it means if an

23                      in row G -- I'm sorry, column G?

24           A.    Could mean a number of things.          I'm not

25      entirely sure how that column is -- is populated             02:16:41

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1       and how it would be filled.                               02:16:45

2             Q.    Who would you ask if you wanted to know

3       more about how column G                            is

4

5             A.    I would speak to Mr. Molaro in the first      02:17:08

6       instance.

7             Q.    Column H has a header

8

9                   Do you know what that means?

10            A.    My understanding is that that refers to       02:17:26

11      what would be a                              of the

12                                              to be --

                                  to it.    Although my

14      understanding is that information is not

15      universally captured in this tool.                        02:17:47

16            Q.    When that information is captured in this

17      tool, do you know who is responsible for entering

18      it?

19            A.    I'm not sure who's responsible for -- for

20      entering it.                                              02:18:05

21            Q.    Do you know why this

22      information is not always entered in the Capability

23      table?

24            A.    Sorry, can you ask the question again.

25            Q.    Sure.                                         02:18:30

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1                   So you said -- my understanding is you                02:18:32

2       said that information about the

3       is not always reflected in the capability tool; is

4       that right?

5              A.   The fact that this entry is             suggests      02:18:43

6       that                      for this capability is -- is

7       not captured here.

8              Q.   Do you know why                              is not

9       always captured in the capability tool?

10             A.   I don't know why the                                  02:19:00

11      is -- is always not -- is not always captured in

12      this tool, there's -- there's likely a bunch of

13      reasons why.

14             Q.   Column I is

15                  What does that mean?                                  02:19:21

16             A.   My understanding is that that refers to

17      an assessment of whether or not the capability

18                        as

19      as                                that's my

20      understanding.                                                    02:19:45

21             Q.   Do you know which                 you're --

22      you're referencing?

23             A.   I don't know which                 that refers

24      to.

25             Q.   Do you know who makes the determination               02:19:56

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1       whether or not the




3            A.      My understanding is that's done by a

4       group of people that's part of the

5            Q.      Do you know when the                            02:20:18

6       started?

7            A.      My understanding is the

8       began in February 2019.

9            Q.      Do you know the members of -- let me

10      withdraw that and restate.                                   02:20:37

11                   Do you know who is part of the

                   at Facebook?

13           A.      I don't know the names of the people

14      directly involved in the

15           Q.      Do you know the names of any of the             02:20:48

16      people involved in the

17           A.      As I sit here today I'm -- I'm not sure

18      of the names of the people involved in the




20           Q.      And I don't mean to keep making you go          02:21:01

21      back over the same question.         I'm just going to ask

22      it slightly -- slightly differently.

23                   Do you know anyone who has ever been

24      involved in the                       ?

25           A.      I know that the                        -- no,   02:21:21

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1       I'm -- I'm not aware as I sit here today of -- of              02:21:24

2       specific names of people who I can confirm were

3       involved in the                      .   It's likely that

4       people were involved in different ways.           But I -- I

5       wouldn't want to give information I'm not confident            02:21:35

6       about.

7              Q.    Do you know if there's a particular team

8       within the                      who is responsible for

9       determining whether the capability

10      as that term is used in column I?                              02:21:51

11             A.    My understanding is that the, there --

12      there is a process as part of the                 , that

13      determines whether or not a capability

14

15             Q.    Do you know anything about that process?          02:22:07

16                   MR. SCHWING:    Object to form.

17                   THE DEPONENT:    My understanding is that

18      that                                                that

19      would be                            of this capability

20      being applied and -- and assess whether or not that            02:22:29

21

22

23             Q.    (By Mr. Melamed)    Do you know if there's

24      any documentation of -- of the process evolves when

25      the                 determines whether a given                 02:22:47

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1       capability                                                      02:22:57

2               A.   I imagine that some documentation exists

3       about the                                , but I do

4       not -- would not know the specifics, I'm afraid.

5               Q.   If you wanted to know more about the               02:23:19

6                          as it pertains to column I in the

7       capability tool, who would you ask?

8               A.   I would ask Mr. Molaro in the first

9       instance.

10              Q.   Column J has the header                   " and    02:23:37

11      we talked about that.     That is the person who

12                                 into the capability tool,

13      correct?

14              A.   No, not necessarily.   My understanding is

15      the                                                       the   02:23:55

16      capability in the capability tool.

17              Q.   Thanks for clarification.

18                   Can you just describe what you mean by

19                                 the capability in the

20      capability tool"?                                               02:24:14

21              A.   My understanding is that there's a way

22      for a Facebook employee to go to the capability

23      tool and -- and                 capability in the

24      tool.

25              Q.   And when a Facebook employee goes to the           02:24:32

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1       capability tool and                                          tool   02:24:34

2       that                                 is recorded in column J

3       for -- for the capability that that person

                          about?

5               A.      My understanding is that column J                   02:24:47

6       represents the --

                                              in the capabilities

8       tool.

9               Q.      Okay.   And column K is -- has the header

10                                                                          02:25:01

11                      Can you explain what that means?

12              A.      My understanding is that

13      refers to whether or not the capability

                           If the capability

15      then it's

                                         in any way.

17              Q.      Just a couple follow-up questions on

18      that.        First, what -- if you look at row 2,

19      column K, the entry is                   in the

                          column.                                           02:25:51

21                      Do you know what            " means in this

22      context?

23              A.                 would mean that the capability

24                                       in the capability tool.

25              Q.      What does it mean for a capability                  02:26:05

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1                     in the capability tool?                            02:26:09

2               A.   My understanding is that if a capability

3                        in the capability tool, then no

4       checks -- that that capability

                              on Facebook developer platform.            02:26:29

6               Q.   Is the use of the term -- let me withdraw

7       that.

8                    Does it mean something different here in

9       column K to note that a capability

10      than it does, for instance, when Facebook                        02:26:49

11




13                   MR. SCHWING:    Object to form.

14                   THE DEPONENT:    This field refers

15      specifically to the -- the behavior of the                       02:27:13

16      capability in the capability tool and how that

17      capability is applied to apps.

18              Q.   (By Mr. Melamed)    Let me try and restate

19      my question.     I'm not trying to ask something

20      tricky.                                                          02:27:30

21                   In other contexts, I think we've

22      discussed Facebook has

                that apps are immediate -- that




25                   Do you understand what I'm saying?          And I   02:27:55

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1       don't know that I'm making -- I'm stating this very          02:27:57

2       clearly.    But do you have a general

3       understanding -- an understanding of what I'm

4       getting at?

5                   MR. SCHWING:    Object to form.                  02:28:05

6                   THE DEPONENT:    In this context and in

7       this tool                      refers to whether or not

8       any app, that this capability




                                                                     02:28:28

11                  So "                  in this context means

12      something very specific and concrete.

13           Q.     (By Mr. Melamed)     And is the meaning of

14                         in this tool different than the

15




17                  MR. SCHWING:    Object to form.

18                  THE DEPONENT:    First,                is used

19      in -- in a number of different ways in a number of

20      different contexts.     In this context it -- it means       02:29:01

21      something very specific.       Which means that if a

22      capability is marked as                  in the

23      capability tool then this capability




25           Q.     (By Mr. Melamed)     In -- and just to be        02:29:15

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1       more concrete.                                               02:29:17

2                    Are you aware that in 2014 Facebook

3       announced it would deprecate friends permissions

4       APIs?

5               A.   I'm aware that Facebook said it was going       02:29:33

6       to make friend permissions unavailable to most of

7       third-party developers.

8               Q.   Okay.   Did you hear the word -- did you

9       understand that Facebook used the term

10      "deprecation" when it -- or deprecate when it made           02:29:48

11      that announcement?

12                   MR. SCHWING:    Object to form.

13                   THE DEPONENT:    I'm aware of the term

14      "deprecated" being used in -- in that context.

15              Q.   (By Mr. Melamed)    Okay.    And that the       02:29:59

16      announcement was that friends permissions would be

17      deprecated for apps then using Graph 1.0 by

18      April 30th, 2015.

19                   Do you understand that?

20                   MR. SCHWING:    Object to form.                 02:30:22

21                   THE DEPONENT:    There's a number of

22      different ways that the changes that were announced

23      were -- were explained to developers.          And, again,

24      deprecated -- the word "deprecated" can be used

25      in -- can mean different things in different                 02:30:36

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1       contexts.     Again, in this context it means                     02:30:39

2       something very specific.

3               Q.   (By Mr. Melamed)   So in the context of

4       this tool, if                     -- let me withdraw

5       that and ask a different question.                                02:30:51

6                    Row 2 says -- it indicates             for




8                    Do you know what would be entered if any

9       capability had, in fact, been                   in this

10      tool?                                                             02:31:05

11              A.   My understanding is that if the

12      capability is considered                  in the

13      capability tool, then the "                        column

14

15              Q.   If the "                 column indicated            02:31:18

16               is it accurate to say that that capability

17

18              A.   Yes, that's -- that's my understanding.

19      And as I -- I think I represented earlier, my

20      understanding is that in this context the                         02:31:40

21      capability tool if -- a capability is marked as

22                    in the capability tool, then the

23      capability

24              Q.   Do you know whether there are any entries

25      that are possible for column K other than                   and   02:31:56

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1                                                                   02:32:00

2            A.      My understanding is that that column is

3       a -- is a

4            Q.      A

                                                                    02:32:11

6            A.      My understanding is that

7                 It's -- it's possible that there were

                                 But my understanding is it's

9       probably

10           Q.      You do not know as you sit here today          02:32:26

11      whether there are any            values for column K in

12      the capability tool; is that right?

13           A.      I didn't -- in preparation for today's

14      testimony, I didn't review every row of that -- of

15      that table of that column.        And my understanding is   02:32:40

16      that it -- it would most -- most likely be

17                 But I can't confirm that there were

18                  it's possible.

19           Q.      Can you think of a scenario -- let me

20      withdraw that.                                              02:33:03

21                   Can you think of a reason there may be a

22                       in this column, or is this just

23      something where you're trying to create the

24      possibility of -- just explain the possibility that

25      you don't know everything about this tool?                  02:33:14

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1                    MR. SCHWING:     Object to form.                     02:33:17

2                    THE DEPONENT:        I -- I -- I reviewed as

3       much as I can in preparation for this, and my

4       understanding is that -- is deprecated is a Boolean

5       value.     As I say most rows would have a

                   Just -- referring to the fact that -- that

7       I haven't reviewed every single row and therefore,

8       again, it's possible.        My -- my understanding is

9       it's -- it's likely that that column is a true or a

10      false.                                                            02:33:51

11           Q.      (By Mr. Melamed)        Thanks for the

12      clarification.

13                   I'm going to scroll over a few columns so

14      we can see more of the context.             So column L is

15                                                                        02:34:03

16                   What does that mean?

17           A.                     refers to a -- a

                                                           that had the

19                                                                   it

20      was granted to.                                                   02:34:31

21           Q.      So --

22           A.      I'm sorry.     Go.

23           Q.      No.     Please, please, I didn't mean to cut

24      you off.

25           A.      Well, that's what                      means.        02:34:49

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1               Q.      So column L indicates

                                                                    in

3       that row?

4               A.      So it's a little bit complicated here.

5       The -- my understanding is the                         refers    02:35:19

6       to an                   in the capabilities tool.         But

7       with the advent of the                          , my

8       understanding is the                              have to be

9       approved by the                         .   And if this is

10      valid, a tool it's only relevant to first-party                  02:35:43

11      apps.        And, you know, one of the things we're going

12      to get to as we work through this table is that,

13      these columns -- some of these columns refer to how

14      the capability tool operated in -- in the past.

15                      Which is different to how it operates            02:36:03

16      today after the advent of the

17              Q.      Is the information in column L -- let me

18      withdraw that.

19                      If there is an entry in column L, does it

20      pertain only to first-party apps?                                02:36:16

21              A.      My understanding is today the

22      functionality only applies to first-party apps.

23              Q.      Was there a time in the past when the

24                        functionality applied beyond

25      first-party apps?                                                02:36:40

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1               A.    My understanding is that in the -- in the   02:36:47

2       past, sometime before the advent of the

3                    that the -- the                  was --

4       represented

                                                                  02:37:03

6               Q.    Do you know when -- what -- let me

7       withdraw that.

8                     At what point in time could the

                 entries pertain to apps beyond first-party

10      apps?                                                     02:37:37

11              A.    I know that -- that was the case in --

12      from the gestation of the capabilities tool, but

13      I -- I don't know when the approval system changed.

14              Q.    Do you know if the Capability table that

15      we're looking at presently indicates when a               02:38:06

16      capability first became available?

17              A.    Can you help me understand what you mean

18      by "first became available."

19              Q.    Yes.

20                    When -- do you know whether the             02:38:21

21      Capability table indicates for each capa- -- for

22      each row, when that capability could first be used

23      by an app?

24              A.                                 information

25      is -- is contained in this -- in this table for           02:38:37

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1       capability to be first used by an app.

                            , which I understand is captured

3       by this table, but there would be other things that

4       would determine whether or not an app could use the

5       capability, for example, whether or not the code            02:39:00

6       gating that capability was on the production

7       servers.

8            Q.     Do you know whether that information is

9       captured in the capabilities tool, if not in this

10      table somewhere else in the capabilities tool?              02:39:17

11           A.     My understanding is that --




                   in the -- in the capability tool.

14           Q.     Do you know if that level of detail is

15      captured elsewhere at Facebook?                             02:39:31

16           A.     I'm -- I'm not an expert in Facebook's

17      engineering -- engineering systems.         And so I'm --

18      I'm not able to give an -- an answer as to exactly

19      how that would be achieved.

20           Q.     If you wanted to find that level of             02:39:51

21      detail out, who would you ask?

22                  MR. SCHWING:    Object to form.

23                  THE DEPONENT:    I would speak to an

24      engineer on the -- on the platform team.

25           Q.     (By Mr. Melamed)    Is there anybody you        02:40:06

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1       would presently go to who is an engineer on the              02:40:09

2       platform team if you wanted to find that

3       information out?

4              A.    I would go to Mr. -- Mr. Elia in the

5       first instance.                                              02:40:23

6              Q.    Column M has the header

7

8                    What does that mean?

9              A.    My understanding is that -- that means

10      whether or not somebody, either one of the people            02:40:40

11      in the                                          is

12      required before the capability

13      application.

14             Q.    And what does the entry "          as

15      reflected in row 2 column M indicate?                        02:41:04

16             A.    My understanding is that that would mean

17      that                                                    to

18      an app, it




20             Q.    And what other values -- are you aware of       02:41:26

21      the other values that could be entered in column M?

22             A.    My understanding is that that's either a

23

24             Q.    And so if              entered, it would

25      mean that that capability                                    02:41:43

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1                                             before the                    02:41:48

2       capability                      to an application; is

3       that right?

4              A.    I'm not entirely sure of the specific

5       behavior that the tool would have exhibited in the                  02:42:08

6       case that that field is

7              Q.    So let me ask that a slightly different

8       way.

9                    If        is indicated in column M, do you

10      know what that means?                                               02:42:25

11             A.    I'm not entirely confident in -- in

12      exactly what would remain if there was a                  in

13      column M.

14             Q.    Do you have any understanding of what it

15      would mean if there was a              in column M?                 02:42:37

16             A.    Not -- not beyond interpretation and

17      speculation.      I -- yeah, I'm not entirely sure of

18      the precise behavior of the tool and -- and the

19      systems in the case that that is

20             Q.    Column N, notes                                        02:42:56

21

22                   And what does that mean?

23             A.    My understanding is that that refers to

24      whether or not first-party apps                                to

25      be                                                                  02:43:14

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1            Q.   The column N contains                            02:43:18

2

3            A.   My understanding is that that refers to

4       apps which are                                    as per

5       Facebook's definition.                                     02:43:36

6            Q.   What is Facebook's definition of a

7

8            A.   At a high level




10      That's my high-level understanding.        It's -- it's    02:43:51

11      likely that there is a more precise definition, but

12      I -- I can't relay that detail to you today.

13                At a high level

                                      , is my understanding.

15           Q.   Column O has the header                          02:44:14

16

17                What does that mean?

18           A.   My understanding is that this refers to

19      whether or not a capability is

                                                                   02:44:34

21           Q.   And "      in row 2 indicates that the

22      capability in row 2 is

                          is that correct?

24           A.   My understanding is that's -- that's what

25      this -- this column means.     Although, it's possible     02:44:57

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1       that this -- that the way APIs are managed --                 02:45:03

2       capabilities are managed today, means that the

3       decisions about which apps the API can -- the

4       capability can be

5                                                                     02:45:20

6            Q.     And if they are handled by                does

7       that mean information may not be entered in

8       column O?

9            A.     I'm not entirely sure, I'm afraid,

10      whether or not what -- what that means.        I -- I         02:45:39

11      can't be confident in -- what's in column O.

12           Q.     Column P is

13                  Do you know what that means?

14           A.     My understanding is that -- this refers

15      to                                                      And   02:46:04

16            would mean that this capability is

17

18           Q.     What would         indicate?

19           A.     My understanding is that would mean the

20      capability is responsible to




22           Q.     And what are

23           A.                        are apps which -- or

24      well, I'm not entirely sure of their precise

25      definitions.    I wouldn't want to -- wouldn't want           02:46:46

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1       to speculate.                                                  02:46:48

2             Q.   What's your understanding of what

3                           means?

4                  MR. SCHWING:      Object to form.

5                  THE DEPONENT:      Again, like I'm -- I'm           02:47:02

6       not -- not confident in this understanding that

7       that's important.    But my high-level understanding

8       is it refers to

9       apps, and are not

                                                                       02:47:20

11            Q.   (By Mr. Melamed)      Can you give an example

12      of an app that is                                        nor

13

14            A.   Again, as I want to caveat my -- my

15      testimony here, one example I think of as a                    02:47:37

16      second -- is

17            Q.   Why is it that you understand




19            A.   I -- I don't understand the details of

20      how                                          and what goes     02:48:02

21      into that determination, so I don't think it would

22      be appropriate for me to speculate beyond whatever

23      we said.

24            Q.   Look in -- let me withdraw that and

25      restate it.                                                    02:48:18

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1                   Who should we ask to determine whether --         02:48:21

2       what is meant by

3                   MR. SCHWING:     Object to form.

4            Q.     (By Mr. Melamed)     Let me restate that.

5                   Who would you ask if you wanted a                 02:48:34

6       definition of what constitutes a

7            A.     The -- I would speak to Mr. Molaro in the

8       first instance.

9            Q.     And your understanding of column P is

10      that there are three possible entries; is that                02:49:00

11      accurate?

12           A.     My understanding is that there were

13      three -- three possible entries.         It's -- so it's

14      my previous testimony it's possible that there are

15      null values here as a -- as a fourth type, but                02:49:17

16      broadly,                                is -- is my

17      understanding of what this means.

18           Q.     You -- you talked about

19      already.    For        is it your understanding that

20      that would mean that

                                                       could access

22      this capability?

23           A.     My understanding is that if this column

24      contained value            then the capability could

25      theoretically be granted --                                   02:49:47

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1                                                                  02:49:51

2                 It's important to know that this tool is

3       not just used to managing                              .

4       A lot of Facebook's internal apps and apps that

5       Facebook builds and makes available are also               02:50:06

6       managed by this tool.

7            Q.   Are all apps on Facebook either




9            A.   My understanding is that the -- the

10      definition of -- of                                        02:50:37

11      would allow any app to be categorized as first,




13           Q.   For example, there is no fourth -- no

14      such thing as a fourth-party app on Facebook.

15           A.   I'm not aware of -- of the concept of a          02:50:51

16      fourth-party app.

17           Q.   Column Q, it says "a

18                What does that mean?

19           A.   My understanding that -- is that that

20      means whether or not the -- the capability has been        02:51:10

21                                              Although, it's

22      also my understanding that a            value there

23      doesn't mean it hasn't

24

25           Q.   What is your understanding of what a             02:51:30

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1               value in column Q indicates?                      02:51:34

2              A.   I'm not sure precisely what -- what

3       means in this context.

4              Q.   What other values could be entered in --

5       in column Q?                                              02:51:48

6              A.   So my understanding it's -- it's a

7

8              Q.   And       would mean that it had been

9

10             A.   My understanding is that this                 02:52:06

11      capability -- that would mean that the capability

12

13             Q.   And when you said that your

14      "understanding of         means that the capability

15                                    does that mean that         02:52:23

16                              the capability?

17             A.   My understanding is that that means that

18                                     the capability in some

19      way.

20             Q.   If                         a capability and   02:52:50

21      determined that it should not be used, would

22      appear in column Q?

23             A.   I'm not sure exactly how

24                                                  in this

25      specific table.                                           02:53:17

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1               Q.   Are the decisions that                makes          02:53:27

2       pertaining to capabilities logged elsewhere at

3       Facebook?

4                    MR. SCHWING:     Object to form.      Outside

5       the scope.                                                        02:53:43

6                    THE DEPONENT:     My understanding is that

7       the                                                          to

8       track                          .

9               Q.   (By Mr. Melamed)      Have you ever heard of

10      the Launch Manager tool referred to as the lama                   02:54:03

11      (phonetic)?

12              A.   My understanding is that tickets within

13      the cap- -- the Launch Manager tool are often

14      referred to as "lamas."

15              Q.   What do you mean by "tickets within the              02:54:29

16      Launch Manager tool"?

17              A.   So the Launch Manager tool manages

18                                                       , and is

19      also used by           .     And a lama represents a

20                                                          by those      02:54:58

21      processes.

22              Q.   Column R it has the header

23      and what does that mean?

24              A.   My understanding is that that's the --

25      the                                                in the         02:55:24

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1       capability tool.                                          02:55:28

2            Q.      So for the capability in row 2, it was

3                  in the capability tool on

4       at                                  is that right?

5            A.      That's my understanding of what the -- of    02:55:44

6       what that column means.

7            Q.      Column S is -- has the header

8

9                    What does that mean?

10           A.      This refers to a                             02:56:01

11      that existed before                              , and

12      this will refer to some kind of state within that

13      process.

14           Q.      Do you know what is meant by the

15      in row 2 for                                              02:56:35

16           A.      I do not know what's meant by -- by the

17

18           Q.      Do you know what other types of entries

19      are reflected in column S for capabilities that

20      were created in the capability tool before                02:56:55

21           A.      I'm not aware of the

22                       that -- that existed.

23           Q.      Do you know who was involved in the

24      review noted in -- in column S before

25           A.      I do not know who was involved in the        02:57:32

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1                                  that existed prior to -- to    02:57:36

2

3            Q.    Who would you ask to determine who was

4       involved in that process prior to                ?

5            A.    I would attempt to contact someone called      02:57:53

6       Shirine, if she is indeed still at the company.

7            Q.    Is Shirine's last name Sajjadi?

8            A.    Yes, I'm referring to Shirine Sajjadi.

9                  THE DEPONENT:     Mr. Melamed, would now be

10      a good time to take a break?       We've been going for   02:58:21

11      an hour and a half.     I could -- I could do with a

12      break, a quick break.

13                 MR. MELAMED:     Let's go off the record.

14                 THE VIDEOGRAPHER:     Okay.    We're off the

15      record.   It's 2:58 p.m.                                  02:58:30

16                 (Recess taken.)

17                 THE VIDEOGRAPHER:     We're back on the

18      record.   It's 3:33 p.m.

19           Q.    (By Mr. Melamed)     When we took a -- right

20      before we took a break we were talking about              03:33:22

21      column S in Exhibit 429, the

22      column, correct?

23           A.    I think that's what we were talking --

24      talking to before the break, yes.

25           Q.    And just to confirm, do you have any           03:33:36

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1       understanding of any of the values that could be                 03:33:38

2       entered in column S?

3            A.      I know that the -- the entries are

4                        , and -- yeah, I know these are

5                        , but I'm not confident in precisely            03:33:59

6       what they -- what they mean.

7            Q.      Do you have any understanding of what the

8                         mean?

9            A.      I understand that there are -- they refer

10      to some                                             that         03:34:16

11      existed prior to           .

12           Q.      Do you have any understanding --

13      understanding beyond that of what the

                  in column S indicate?

15           A.      That's my -- my understanding of what               03:34:34

16      they -- what they refer to.

17           Q.      Do you know how many                          are

18      available in the                              , column?

19           A.      Not off the top of my head, I'm afraid.

20      I can access that with a full document, but not off              03:34:49

21      the top of my head.

22           Q.      Just to be clear, do you have any meaning

23      of what the numeric               indicates in row 2,

24      column S?

25           A.      I can't be sure what -- what a value of             03:35:13

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1       in column S indicates.                                          03:35:15

2             Q.   And just to be clear, I'm not asking for

3       sure; I'm just asking do you have any understanding

4       of what    indicates in that -- in that field?

5             A.   No, I'm not confident in what            indicates   03:35:27

6       in that field.

7             Q.   Go to column T.       And the header in

8       column T is

9                  What does that mean?

10            A.   My understanding is that refers to the               03:35:48

11

12      this capability as part of a

13      that existed prior to

14            Q.   And so the                      in column T is

15      the              of that individual who




17            A.   That's my understanding, yes.

18            Q.   Column U has the header

19                               "

20                 What does that mean?                                 03:36:27

21            A.   My understanding is that refers to the --

22      to the UNIX time when the outcome of the prior to

23                                   process was conducted.

24            Q.   Did you say "UNIX time," U-N-I-X?

25            A.   Correct.     UNIX time.                              03:36:48

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1            Q.   Can you describe what UNIX time is?             03:36:51

2            A.   UNIX time is the number of seconds since

3       the UNIX Epoch, which is considered to be the first

4       of January 1970.

5            Q.   So the value in row 2, column U reflects        03:37:07

6       the number of seconds since January -- indicates

7       the -- let me try and do this right.

8                 The value entered in the cell in row 2,

9       column U is the number of seconds that had elapsed

10      since January 1, 1970.     And that -- so that -- and     03:37:33

11      that is the time at which the

12                 is that right?

13           A.   That's my understanding, yes.         It's a

14      date time in what's commonly known as -- as UNIX

15      time format.                                              03:37:56

16           Q.   Column V header is

17

18                What does that mean?

19           A.   My understanding is that -- again, this

20      is a UNIX time.     UNIX time stamp, and refers to        03:38:16

21      when this capability was

                          that existed prior to

23           Q.   And so the -- the temporal flow of those

24      two columns is the first, the capability would be

25                                 as reflected in column V,      03:38:42

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1       and then the                                   as reflected      03:38:46

2       in column U; is that correct?

3            A.      That's my understanding of how the

4       process works at a high level.

5            Q.      Column W has "                              ."      03:39:03

6                    Do you understand what that means?

7            A.      My understanding is, at a high level,

8       that refers to the -- the                    this

9       capability

10           Q.      Do you know who was responsible for                 03:39:34

11      entering the content in column W for a given

12      capability?

13           A.      There were likely a number of people

14      involved in -- in this                                    that

15      existed prior to -- to                the information            03:39:56

16      could have been entered by a number of people.

17           Q.      Do you know any of the people who could

18      have entered this in -- or who are within those --

19      that set of people you identified as could -- could

20      have possibly have been involved?                                03:40:11

21           A.      So this -- this is a -- my understanding

22      is that this refers to a

23      that existed prior to             .   I'm not -- you

24      know, I'm not confident in the names of the people

25      who would have been involved back in -- when this                03:40:43

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1       process was operating in 2017, '18.                            03:40:47

2            Q.   Do you see the value entered in column W,

3       the privacy review reason for row 2 is an

4            A.   I see it's on the screen.

5            Q.   Do you know what that means?                         03:41:09

6            A.   An           could have a number of

7       meanings in different context.

8            Q.   In this context do you know what it

9       means?

10           A.   Yeah, I can't be confident exactly what's            03:41:34

11      meant by an           in this -- in this context.          I

12      think it only exists in a small number of rows.

13           Q.   Do you know what other values could

14      possibly be under

15           A.   My understanding this is -- this is some             03:42:01

16      kind of the            .

17           Q.   So it's a

18           A.   I wouldn't say it's

19      but my understanding is that this -- this

                                                                       03:42:15

21           Q.   Column X says

22                What does that mean?

23           A.   My understanding is that that refers to a

24                                                  as to

25      whether or not                                        to       03:42:42

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1       this capability

                                in order to be

3               Q.   And what does "             as indicated in

4       row 2, under                             indicate?

5               A.   My understanding is that that means that                03:43:12

6       either the                                           -- it

7       means that the                                            that

8       it

9               Q.   And what would -- let me withdraw that.

10                   Would "         mean that the                     had   03:43:27

11                                   to the capability did

12

13              A.   My understanding that            in that column

14      represents that the                                       at

15      the point that this data was pulled that the                         03:43:47

16                             -- that for an app to have

17                                  , that the developer had to

18                                                     .

19              Q.   Did Facebook -- well, let me withdraw

20      that.                                                                03:44:12

21                   Did Facebook track which developers had

22      entered contracts for which capabilities?

23                   MR. SCHWING:     Object to form.

24                   THE DEPONENT:     Can you help me understand

25      what -- what time period you're referring to here?                   03:44:44

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1            Q.      (By Mr. Melamed)    Sure.                             03:44:48

2                    From 2007 through present, did Facebook

3       track which developers entered contracts for access

4       to capabilities?

5                    MR. SCHWING:    Object to form.                       03:45:13

6                    THE DEPONENT:    So Facebook




8       whether or not a developer has

                                                                      .

10      I'm not sure it's a precise legal term.           Required         03:45:37

11      for them to                  to a given capability

12      today.

13           Q.      (By Mr. Melamed)    So Facebook

                                                          in the

15      document we're looking at, correct, Exhibit 429,                   03:45:53

16      which is the Capability table?

17           A.      This -- the Capability table today

18      includes a




                    to have -- an                                to have   03:46:12

21                to it.   That's                           today.

22           Q.      Was it tracked somewhere else before

23      it -- let me withdraw that.

24                   When you say "the capability table tracks

25                                                                         03:46:35

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1       the developer to                                     in order    03:46:38

2       to                          ," are all instances where

3                                                                  in

4       this table for each capability in this table?

5                    MR. SCHWING:     Object to form.                    03:47:01

6                    THE DEPONENT:     My understanding is that

7       this -- this table represents Facebook's

8

                              , and a process has been

10                                                         for the       03:47:22

11                                         and the developers

12      that

13              Q.   (By Mr. Melamed)     Prior to -- withdraw

14      that.

15                   Was there a period of time for which the            03:47:48

16      Capability table did not                                  to a

17      capability by an app




19                   MR. SCHWING:     Object to form.

20                   THE DEPONENT:     The capability tool has --        03:48:10

21      has changed and improved over time, and the data

22      fields it -- it captures today were not there --

23      were not all there when the tool was first

24      developed in -- in around 2013.

25              Q.   (By Mr. Melamed)     When was this field            03:48:32

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1       added to the capabilities tool?                            03:48:33

2            A.   This field was likely added -- I -- I

3       can't be sure of the precise date on which the

4       capability tool was added.     I'm sorry, this field

5       was added to the capability tool.       Yeah, I can't be   03:48:53

6       sure of the exact date when this field was added.

7       There was -- as I -- as I say, the tool has evolved

8       over time, and different fields have been added at

9       different times.

10           Q.   When this field was added, was                   03:49:08

11      information about whether capabilities that were

12      already in the tool before it was added, updated

13      for this field?     Let me restate this.

14                So we're talking -- we've been using

15      row 2 as an example.     And we saw earlier, I think       03:49:33

16      the capability in row 2 was created in this tool in

17      August of 2013.

18                Does that sound correct?

19           A.   Sorry, say that again.       The --

20           Q.   In row 2 --                                      03:49:48

21           A.   Uh-huh.

22           Q.   -- of Exhibit 429, the capability -- it

23      indicated the capability was added in 2013; is that

24      your recollection?

25           A.   Can we look at that data.                        03:50:12

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1            Q.    We'll go back.     There we go.     So it was   03:50:13

2

3       correct?

4            A.    That's my understanding, yes.

5            Q.    Okay.   And do you know if that's before        03:50:28

6       column X was added to the capability tool?

7            A.    My understanding is that the -- that

8       column X was added or the data -- the column -- the

9       field represented by column X was added after 2013.

10           Q.    So in order to generate an entry, for           03:50:51

11      column X for the capability in row 2 -- let me --

12      let me withdraw that.

13                 You see that column X has an entry for

14      the capability in row 2, correct?

15           A.    I see column X in row 2 has -- has an           03:51:15

16      entry.

17           Q.    Do you know whether -- for each

18      capability that existed in the capability tool

19      before column X was added, there is an entry in the

20      field for column X?                                        03:51:33

21                 MR. SCHWING:     The document speaks for

22      itself.

23                 THE DEPONENT:     Sorry, I'm not sure -- I'm

24      not sure I fully understand the question.          Can

25      you -- can you ask it again?                               03:51:52

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1             Q.    (By Mr. Melamed)    I'm just trying to            03:51:55

2       understand, and I'll state this more plainly.

3       The -- is information on cap- -- capabilities as

4       reflected in the Capability table concerning

5                                                               for   03:52:11

6       each capability, reflected in the Capabilities

7       table?

8             A.    My understanding is that column X

9       reflects Facebook's

10      the                                      to be

                        at the time that -- that the table

12      you're looking at here was -- was generated.

13            Q.    So column X is a snapshot in time of

14      when -- reflecting the information as of the date

15      and time that this table was pulled from the                  03:52:54

16      capabilities tool?

17            A.    Yes, this -- it's in Excel spreadsheet,

18      so it's a static representation of the -- of the

19      data and the tool at the time it was generated.

20            Q.    Did Facebook track whether capabilities           03:53:14

21                            in any other internal tool?

22                  MR. SCHWING:    Object to form.

23                  THE DEPONENT:    Again, in what time

24      period?    Like before this field was added?

25      Afterwards?                                                   03:53:43

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1            Q.     (By Mr. Melamed)     Let's start with before    03:53:45

2       this field was added.

3            A.     I'm not aware of -- of a -- of a Boolean

                                    -- in another tool relating

5       to whether or not a specific capability required            03:54:03

6       the contract.

7            Q.     Are you aware of any other field being

8       tracked in another tool regarding -- let me

9       withdraw that.

10                  Are you aware of any information                03:54:17

11      regarding                                          for an

12      app to                            that existed before

13      this field was added to the capabilities tool?

14                  MR. SCHWING:     Object to form.

15                  THE DEPONENT:     My recollection is that on    03:54:41

16      some occasions the description of the capability

17      would identify




19           Q.     (By Mr. Melamed)     The description of the

20      capability in what -- in -- let me restate that.            03:54:54

21                  The description of the capability where?

22           A.     The description of the -- in my answer

23      there, I'm referring to the description of the

24      capability in the capability tool.

25           Q.     Is it your understanding that the               03:55:17

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1       description of the capability in the capability                 03:55:18

2       tool, always indicated

                                                  prior to the

4       addition of column X in the capabilities tool?

5                   MR. SCHWING:    Object to form.                     03:55:34

6                   THE DEPONENT:    I can't say for certain

7       that if the capability                             before

8       that column was added that that would always be

9       captured in the description of the capability in

10      the capability tool.                                            03:55:52

11           Q.     (By Mr. Melamed)    Did Facebook track all

12      of the capabilities that an

                                        by app?

14                  MR. SCHWING:    Object to form.

15                  THE DEPONENT:




18           Q.     (By Mr. Melamed)    Was there a tool to

19      track the capabilities of each third-party

20      developer                                                   ?   03:56:39

21           A.     I don't recall or know of a specific tool

22      that was used to track




24           Q.     So for instance, if I wanted to determine

25      what con- -- what capabilities Netflix had entered              03:57:12

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1                                .                                         03:57:19

2                    Was there an internal tool available at

3       Facebook that would allow me to look up Netflix and

4       that would identify each of the capabilities

5       Netflix




7               A.   A tool that performs that function --

8                    MR. SCHWING:    Simon?

9                    THE DEPONENT:     Sorry.

10                   MR. SCHWING:    Just -- sorry, let me state           03:57:46

11      my objection.

12                   Object to form.

13                   Go ahead.

14                   THE DEPONENT:     My understanding is that a

15      tool that would perform that function exists today.                03:57:52

16              Q.   (By Mr. Melamed)     And what is that tool?

17              A.   My understanding is that tool is known as

18

19              Q.   When was that tool created at Facebook?

20      Let me restate that.                                               03:58:12

21                   When did Facebook first start using that

22      tool?

23                   MR. SCHWING:    Outside the scope.           Object

24      to form.

25                   THE DEPONENT:     My understanding is a               03:58:25

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1                          a -- a standard tool used by                  03:58:26

2       many -- there are several --                                at

3       Facebook to

4

5             Q.   (By Mr. Melamed)     And when did Facebook            03:58:44

6       start using that tool to track the capabilities

7       that a -- a third-party developer had

8

9             A.   My understanding is that the

10            was integrated with the                           at I     03:59:04

11      think in around 2019.

12            Q.   Before the                    was integrated

13      with the                   , was there a tool used

14      internally at Facebook to track whether apps had

15                                                              ?        03:59:43

16                 MR. SCHWING:    Object to form.

17                 THE DEPONENT:    My understanding is that

18      the

19      that had been

                                   which governed their --               04:00:02

21      their use of the platform.

22            Q.   (By Mr. Melamed)     Did they use a tool

23      that enabled them to look up which capabilities the

24      individual developer had                               in

25                                                                       04:00:22

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1                   MR. SCHWING:     Object to form.                      04:00:28

2                   THE DEPONENT:     Again, the tools that a

3                              would have -- would have

4       evolved significantly over time.         Certainly my

5       understanding in -- in around 2013 and '14, was                   04:00:42

6       that the

                                            , that -- that

8       Facebook had

                                    relating to their use of the

10      platform.                                                         04:01:06

11           Q.     (By Mr. Melamed)     And did the

                        that would enable them to look up by

13      developer which capabilities that developer

                                                                 prior

15      to the implementation of the                                      04:01:27

16                  MR. SCHWING:     Object to form.

17                  THE DEPONENT:     My understanding is that

18                   would have had access to the -- to the

19                                                                   to

20      see, for a given set of

                                   to those applications.

22           Q.     (By Mr. Melamed)     Where in the

23      capabilities tool does it indicate whether a

24

25           A.     Today in the capability tool on the page              04:02:27

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1       that represents a capability, that field is                       04:02:31

2       displayed.

3             Q.                          in column X; is that

4       correct?

5             A.     My understanding is the -- what's been               04:02:44

6       exported here in this table represents the same

7       information that would be shown in the capability

8       tool today.

9             Q.     And you testified earlier that column X

10      did                     was added to the capabilities             04:02:58

11      tool in or around 2019, right?

12            A.     That's broadly my understanding, although

13      I can't be sure of the precise date on which

14      that -- when that field was added.

15            Q.     Before that field was added, where in the            04:03:16

16      capabilities tool did it indicate whether a

17                                                                ?

18                   MR. SCHWING:    Asked and answered.         Object

19      to form.

20                   THE DEPONENT:    Before that field was               04:03:35

21      added, there was no specific field in the

22      capability tool that indicated whether or not a

23                              .    As I mentioned earlier, my

24      recollection is that some capabilities, that

25      information was captured at a previous time in the                04:03:55

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1       description field for the given capability.                     04:04:01

2             Q.   (By Mr. Melamed)     Going back to the

3                           which you testified was used

4       starting in or around 2019.      Well, let me start

5       there.                                                          04:04:15

6                  That's -- am I correctly stating that you

7       testified that the                      started to be

8       used in or around 2019?      That's my recollection of

9       when the                    was integrated into the

10                      .     Do you know whether -- when the           04:04:33

11                      was integrated into the

                                                    ; i.e.,

13                                                                  ,

14      were entered into that tool?

15            A.   My understanding is that part of the                 04:05:13

16                                , as that was implemented

17      there was a review of prior capability grants, and

18      an attempt to determine whether or not an

19                                                              .

20            Q.   So am I right to understand that though              04:06:12

21      the                   was implemented -- I'm sorry --

22      was integrated in or around 2019 with the -- with

23      the                    , the information in the

24                      predates the integration?

25                 MR. SCHWING:     Object to form.                     04:06:45

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1            Q.    (By Mr. Melamed)    Let me restate that.              04:06:47

2       That was a poorly phrased question.

3                  Am I right to understand that when the

4                      was integrated with the

                  there was an attempt made to bring                     04:06:57

6       historical information regarding

                                      into that tool?

8                  MR. SCHWING:    Object to form.

9                  THE DEPONENT:    My understanding is that

10      there was an -- an effort undertaken to identify                 04:07:17

11                                                             and the

12      grants of capabilities or the access to

13      capabilities that it was then

14

15                 And then to remove those capabilities or              04:07:41

16      ensure

17      Although precisely which tool were used to -- to --

18      to execute that process, the                           was

19      likely involved in some way.

20                 MR. MELAMED:    I'll note for the record              04:08:10

21      that we're going to follow up with Facebook

22      regarding production of the                       or

23      relevant information from the

24           Q.    (By Mr. Melamed)    Column Y has a header

25                                                                       04:08:28

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1                   What does that mean?                              04:08:37

2            A.     My understanding is first of all that

3       this column doesn't contain any data.         And also my

4       understanding is that this refers to a

5                   by which the                          to the      04:08:56

6                           for this -- for this specific

7       capability would have been stored, or could have

8       been stored.

9            Q.     Was there a point in time at which there

10      were values entered into the                                  04:09:19

11      field?

12           A.     It's possible that there were values

13      there.    It's also possible that this was a field

14      added by a developer or by an engineer in -- in

15      anticipation of a process which ended up being                04:09:42

16      operationalized a different way.

17           Q.     Okay.    I'm going to scroll over a few.

18                  Just so we get contact.      Sorry, I didn't

19      mean to do that.

20                  Okay.    So my screen just collapsed the          04:10:15

21      columns where I had to stretch them out, but we're

22      on column Z, which is

23                  What is meant by

24           A.     My understanding is that

25      refers to a                                        that was   04:10:38

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1       performed in around 2018 or so.                                  04:10:47

2            Q.      So prior to that cate- --

                           that was performed in around 2018

4       or so, is it accurate that                    was not

5       reflected in the Capability table?                               04:11:10

6            A.                 here refers to the -- the

7                                        around this -- when

8       this -- when this effort was conducted in around

9       2018, so the -- the concept of                     did

10      not -- as it -- as it's represented here did not                 04:11:38

11      exist before then, as I understand it.

12           Q.      How were the                                in or

13      around 2018?

14                   MR. SCHWING:    Object to form.      Outside

15      the scope.                                                       04:11:51

16                   THE DEPONENT:    My understanding, a

                                        came up with a

                                                 against that

19

20           Q.      (By Mr. Melamed)    What is indicated by            04:12:11

21      the values in column Z?

22                   MR. SCHWING:    Object to form.

23                   MR. MELAMED:    Let me -- let me restate

24      that, or ask a different question.

25           Q.      (By Mr. Melamed)    In row 2, column Z, the         04:12:25

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1                                                                        04:12:28

2                    Do you see that?

3            A.      I see "      in the column, yeah.

4            Q.      What does        mean in this context?

5            A.      My understanding is, that in this                   04:12:42

6       context,        means a

7            Q.      So the numerical entry in the field

8       reflects a                  along -- is a

                     is that correct?

10           A.      My understanding is that there are --               04:13:04

11      there are                             for -- for

                   Although I can't be confident whether

13      they're necessarily sequential.

14           Q.      I'm sorry.

15                   So your testimony is that there are

                                  is that true?

17           A.      My understanding is that there were --

18      this column relates to a -- a




20           Q.      And were those               designated by the      04:13:43

21

22           A.      My understanding is that the                 here

23      would refer to one of the

24           Q.      Right.

25                   And do you know the other numbers that              04:13:58

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1       would reflect                      that could be entered in      04:14:03

2       this field?

3             A.   I can remember that 1 was low, and I can

4       remember that                                    but I -- I

5       don't recall hearing the precise names of the other              04:14:24

6                     .

7             Q.   What is a "             in this context?

8             A.

9             Q.   And what does that mean in the context of

10                                 ?                                     04:14:42

11                 MR. SCHWING:          Object to form.

12                 THE DEPONENT:          My understanding is that

13      that would refer to a                       -- a specific

14             having been created in Facebook's

15                                                                       04:15:05

16            Q.   (By Mr. Melamed)          What did it mean to

17      create a                       What -- did -- let me

18      withdraw that.

19                 When a                    was created in

20                                            you said one reflected     04:15:19

21      the               -- the                          in column Z,

22      correct?

23            A.   No, I said that                             , not

24                             .

25            Q.   Did       represent a                                 04:15:44

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1                    MR. SCHWING:    Object to form.                 04:15:55

2                    THE DEPONENT:    As I said, I -- my

3       understanding is that                          , if my

4       recollection serves correctly.        But I don't know if

5       that's necessarily                                       .   04:16:07

6            Q.      (By Mr. Melamed)    Who would you ask if

7       you wanted to understand what the numbers meant in

8       column Z in terms of the

9       indicated?

10                   MR. SCHWING:    Object to form.                 04:16:34

11                   THE DEPONENT:    Do I understand the -- the

12      details of the data represented in this column I

13      would speak to Mr. Molaro in the first instance.

14           Q.      (By Mr. Melamed)    Just to be clear, I'm

15      not asking about the details of what made this               04:16:52

16      particular capability a 1.       I'm just trying to

17      understand what the values that could be entered in

18      this column meant.

19                   And my understanding your testimony,

20      please correct me if I'm wrong, is that there were           04:17:06

21      6 potential values that could be entered here.

22      reflected a

23      But other than -- is that correct so far?

24           A.      That's correct so far as per my -- my

25      recollection.     I -- I've reviewed many documents          04:17:28

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1       and many things in preparation for today's                   04:17:30

2       testimony, and -- and remembering every -- every

3       reflection of everything that a -- would have been

4       represented -- would have meant by the numbers in

5       this table is -- I just don't have it in my head             04:17:49

6       right now.

7            Q.      Fair enough.

8                    I'm not here to argue about whether you

9       should have done more or less, but I am just asking

10      for your testimony about this.                               04:17:57

11           A.      That's my understanding of what those --

12      what those fields mean.        I -- I recall there being

13                 , and I -- I recall

              Those are the details behind that.

15           Q.      And do you recall whether the remaining         04:18:13

16                were indicated by the




18           A.      My understanding is that risk level is --

19      is a 1,                     field.

20                   But, again, I -- I -- I'm not sure it's         04:18:31

21      necessarily entirely linear in terms of

22      My understanding is that different

23      refer to different                         not necessarily

24

25           Q.      That's very helpful.      Thank you.            04:18:54

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1                       Do you know what types of

                             to?

3                       MR. SCHWING:    Object to form.

4                       THE DEPONENT:    The two that I can

5       remember is                                I don't recall    04:19:08

6       what -- what the others -- what the other

                     referred to.

8               Q.      (By Mr. Melamed)    Is there a document

9       somewhere within Facebook that reflects what the

10                        in column Z of Exhibit 429 Capability      04:19:22

11      table mean?

12                      MR. SCHWING:    Object to form.

13                      THE DEPONENT:    My understanding is -- my

14      understanding is that more detail on that may have

15      already been provided -- as -- as part of the                04:19:44

16      metadata for these tables, when they were produced

17      in this case.

18              Q.      (By Mr. Melamed)    Just to be clear, your

19      understanding is that the indication of what is

20      meant by each                    in column Z is reflected    04:20:03

21      in the metadata of the Full table of which

22      Exhibit 429 is an excerpt?

23                      MR. SCHWING:    Object to form.

24                      THE DEPONENT:    Let me -- let me restate

25      that.        My understanding is -- is that -- these         04:20:24

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1       tables being produced to you, there was also                04:20:27

2       information describing the fields that were

3       produced to you.     And I think it's possible, though

4       I, again, can't say for certain that more

5       information about these                  may well be        04:20:43

6       contained in these documents.

7            Q.      (By Mr. Melamed)   I think I located what

8       you were talking about.     And this is a description

9       from counsel of what the                     were in this

10      column.     And I'd like to go through these with you       04:21:32

11      and see if this is an accurate reflection of what

12      these meant.

13                                , correct?

14           A.                                  represented

15               But, again, I'm going off memory here.             04:21:49

16           Q.                                         that

17      right?

18           A.      As I mentioned previously, I -- I don't

19      recall the -- the various other                   .    If

20      you have the document, maybe it would useful to put         04:22:05

21      it on the screen.

22           Q.      It's not a document that's been produced

23      in this case.     It's an attachment to the email

24      provided by counsel.     So it's not -- it hasn't been

25      produced by Facebook.     So that's why I'm asking you      04:22:16

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1       these questions.                                               04:22:19

2                    It indicated the -- the attachment to the

3       email provided by Facebook indicates that

                       .

5                    Do you have any reason to -- to doubt             04:22:32

6       that that is an accurate recollection of what

7       indicated?

8                    MR. SCHWING:     Object to form.

9                    THE DEPONENT:     As I sit here today, I

10      have -- I have no reason to doubt it.                          04:22:46

11           Q.      (By Mr. Melamed)     And just to be clear,

12      it's "                      I don't know if that changes

13      your answer in that regard.

14           A.      Again, I -- I don't recall the specifics

15      of the -- of the                  here.                        04:23:00

16           Q.      Do you know what                    " means in

17      this context?

18           A.                      in general would refer to --

19      typically refer to

                                                                       04:23:18

21           Q.      Okay.           according to the

22      communication we received from counsel, is

23

24                   MR. SCHWING:     Object to form.      I'll just

25      object once to this line of questioning asking                 04:23:33

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1       about a document that isn't placed before the                04:23:36

2       witness.

3                   MR. MELAMED:    Sure.

4            Q.     (By Mr. Melamed)    Just to repeat,         is

5                                                                    04:23:44

6                   Do you know what

7       means?

8            A.     Typically that would refer to

9

10           Q.     What is the difference between                   04:24:06

11

12           A.     I can't be sure of the difference between

13      those two determinations, I'm afraid.

14           Q.     Who would you ask to determine the

15      difference between those two descriptions?                   04:24:27

16           A.     I would speak to Mr. Molaro in the first

17      instance.

18           Q.

19                  Does that sound correct to you?

20                  MR. SCHWING:    Object to form.                  04:24:43

21                  THE DEPONENT:    Again, I -- I don't recall

22      these -- these -- this level of detail

23      specifically.

24           Q.     (By Mr. Melamed)    Do you understand --

25           A.     I have no reason to doubt it.                    04:24:55

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1              Q.    I apologize for cutting you off.                  04:24:56

2                    Do you understand what                 means in

3       this context?

4                    MR. SCHWING:     Object to form.

5                    THE DEPONENT:     I -- I don't have a             04:25:09

6       canonical definition of this in a personal

7       capacity.     I -- to me that would make sense, this

8                                                 , but I can't be

9       sure what -- what's meant by                in this

10      context.                                                       04:25:25

11             Q.    (By Mr. Melamed)     The communication

12      indicates that




14                   Do you understand what is meant by "

15      in the context of                  in Exhibit 429?             04:25:40

16                   MR. SCHWING:     Object to form.

17                   THE DEPONENT:     Again, this is referring

18      to a -- some form of a                        that was

19      created in around 2018.        That's my understanding of

20      what         refers to.     And, also my understanding is      04:26:00

21      that this

22      at the company.

23             Q.    (By Mr. Melamed)     Who created the

                    in 2018?

25             A.    My understanding is -- there was a                04:26:18

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1                                        to -- a                        04:26:18

2                                        to --

                      s, and that my understanding is that

4       it's likely that group came up with the -- the

5                                                                       04:26:28

6             Q.     Who is in that

7                    MR. SCHWING:     Object to form.      Outside

8       the scope.

9                    THE DEPONENT:     Yeah, I'm not sure of the

10      specific names of the people that were involved in              04:26:44

11                       four years ago.

12                   So, yeah, I wouldn't want to give --

13      speculate as to the names of people that were

14      involved.

15            Q.     (By Mr. Melamed)     As you sit here today,        04:26:53

16      you don't know the -- do you know the names of any

17      individuals who were involved in that




19            A.     I couldn't 100 percent confirm whether or

20      not a particular individual was involved in -- in               04:27:08

21      the                  that met to come up with this

22      classification.

23            Q.     Who would you ask if you wanted to find

24      out who was involved in                             that come

25      up with this                                                    04:27:24

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1                  MR. SCHWING:    Object to form.                        04:27:29

2                  THE DEPONENT:       Yeah, I would speak to

3       Mr. Molaro in the first instance.

4            Q.    (By Mr. Melamed)       Back to Exhibit 429,

5       column AA, has the header                                         04:27:45

6

7                  What does that mean?

8            A.    My understanding is that -- some of the

9       capabilities there would be information entered

10      into the tool                                             -- or   04:28:11

11                                                      to be

                                   capability.

13           Q.    Were the values in this field free-form

14      entries?

15           A.    My understanding, having reviewed this                 04:28:42

16      document in -- in preparation, is that -- this was

17                                 .

18           Q.    Do you know who entered the

19      information -- let me preface this by saying I'm

20      not looking for any specific person who entered                   04:28:59

21      specific information as to a specific capability.

22                 So with that preface, do you know who

23      would have been responsible for entering

24      information in column AA regarding

25                                         for capabilities as            04:29:16

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1       reflected in the field?                                           04:29:21

2                      MR. SCHWING:     Object to form.

3                      THE DEPONENT:     My understanding is that

4                                       are the determinants of --

5       of which

                                                     to be

                                      a given capability.

8               Q.     (By Mr. Melamed)     Am I right to

9       understand that the -- the entries in the

                               when those entries exist, were             04:29:51

11      entered by

12              A.     My understanding is                          are

13      the -- are the people responsible for determining

14                                                    .   It doesn't

15      necessarily mean that an individual on the

                                                the tool.

17              Q.     They may have provided it to somebody

18      else who entered into it the tool.

19              A.     They may have provided it to somebody

20      else who entered it into the tool.                                04:30:24

21              Q.     Did this column,

                     exist at the inception of the capabilities

23      tool?

24              A.     This field did not exist in 2013, which

25      is when I understand that the -- the capabilities                 04:30:49

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1       tool is today was -- was built.                           04:30:53

2             Q.   When was this field added to the

3       capabilities tool?

4             A.   I think -- I think this is one of the

5       fields added in -- in around 2018 or later when the       04:31:06

6       capability tool was -- was improved at the time.

7             Q.   When this field was added to the

8       capabilities tool, were entries regarding

9                         for capabilities that preexisted

10      the                        added into the                 04:31:32

11      capabilities tool?

12            A.   Sorry, can you ask that again.

13            Q.   When this field was created as part of

14      the capabilities tool, their exists -- their

15      existed a series of capabilities that had already         04:32:01

16      been entered into the tool by that date, correct?

17            A.   My understanding is that when this field

18      was -- this field was added later, then the

19      capability tool being created and being in use and

20      so yes, my understanding is that when this field          04:32:22

21      was added there were a number of capabilities

22      already in the tool.

23            Q.   Did any of those capabilities that were

24      already in the tool

25            A.   There -- there -- there would have been        04:32:50

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1       capabilities in the tool that, then,                         04:32:52

2                 who was expected that

                     would need to

                     in order to access.

5            Q.     So when this field was created, when the         04:33:05

6       details about the

                                                          in order

8       to access the capability entered into this field?

9            A.     My understanding from -- from reading

10      this document, is there are not that many entries            04:33:28

11                                                        details

12      field.    So my understanding is that the data entry

13      would not have necessarily been comprehensive.

14           Q.     Did the data regarding the

                                              access capabilities    04:33:51

16      evolved in any other document at Facebook?

17                  MR. SCHWING:     Object to form.

18                  THE DEPONENT:     As I mentioned previously,

19      my recollection is that on some occasions the

20      description fields of the capability and the tool            04:34:17

21      may have included information about the

                                                  that -- that may




24           Q.     (By Mr. Melamed)     Was that information

25      included anywhere else in Facebook, other than in            04:34:29

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1       the contract itself?                                          04:34:33

2                 MR. SCHWING:    Object to form.

3                 THE DEPONENT:    I can't say for -- for

4       certain if it was stored at any time in -- in -- in

5       anywhere else.    I don't -- I'm not aware of a tool          04:34:51

6       that's structured this information in that way.

7            Q.   (By Mr. Melamed)    Column AB has the

8       header

9                 What does that mean?

10           A.   My understanding is that this is another            04:35:19

11                        which for some capabilities tends

12      to                                         for which

13      this capability

14           Q.   In circumstances where there's an entry

15      in the                         field, who is                  04:35:38

16      responsible for                                as

17      reflected in the tool?

18                MR. SCHWING:    Object to form.

19                THE DEPONENT:    My understanding is

20      that -- is that a                                        --   04:35:56

21      well, today,           is responsible for -- my

22      understanding is that today, and since the process

23      was introduced in 2019 the                          is

24      responsible for

                                                                      04:36:20

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1               Q.   (By Mr. Melamed)     Prior to 2019 was the    04:36:21

2                                 column part the capabilities

3       tool?

4               A.   My understanding is that the

                     column or field was added again sometime      04:36:37

6       in -- in 2018 or so.

7               Q.   The header of column AC is

8

9                    What does that mean?

10              A.   My understanding of this column -- is --      04:37:10

11      is similar to the previous one, which is the -- the

12      sum capabilities.     This is a

13                   where it would

                 this capability to an app.

15              Q.   Was this field also introduced in 2019?       04:37:33

16              A.   My understanding this is -- again, as

17      I've mentioned previously I -- I can't be accurate

18      on the specific dates of when these fields were

19      producing, but my understanding is that this is one

20      of the fields, additional fields that was                  04:37:52

21      introduced in around 2018.

22              Q.   And is the                      responsible

23      for entries in this field where the entries exist?

24              A.   Today my understanding is that the

25                         is responsible for articulating at      04:38:13

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1                                                 -- sorry --            04:38:16

2

                                                                 But

4       I can't be, you know -- that doesn't necessarily

5       mean that's what -- what's reflected in this tool                04:38:30

6       is -- is -- an articulation that that group

7       created.

8             Q.     Is the intent that what is reflected in

9       fields "                             and "

                       eflect the articulations that

               s has engaged in regarding each capability?

12                   MR. SCHWING:    Object to form.      Outside

13      the scope.

14                   THE DEPONENT:    Again, my understanding is

15      the -- that these fields attempt -- are supposed to              04:39:16

16      represent the




19            Q.     (By Mr. Melamed)    And during the history

20      of these -- these fields                                         04:39:35

21      use in the capabilities tool, who was -- who or

22      what groups had been responsible for define --

23      defining the                                 ?

24            A.     My understanding is that prior to              --

25      the                   , it would have been a                     04:40:02

                                                                         Page 1084

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1       combination of                            and then the    04:40:05

2                                that would have come up with

3                                   the capability --




                                                                  04:40:27

6            Q.     Were the           that were -- that you

7       just referred to reflected in the capabilities tool

8       at any point in time?    And by the -- by the ones

9       you just referred to, I mean the




12           A.     This table contains -- these columns

13      contain information.    It's not, you know, plausible

14      for me to determine from this when that information

15      was added to the tool or -- and, therefore, you           04:41:13

16      know, which group or entity would have been

17      responsible for creating it.     It's -- it's hard for

18      me to give that level of detail from this

19      information.

20           Q.     Am I right to understand your testimony       04:41:24

21      that this column, the

22      column was added in or around 2019?

23           A.     I can't be sure exactly when it was

24      added.    My understanding is it's one of the columns

25      that was added in -- in around 2018.       But, again,    04:41:45

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1       I -- I'm not confident in exactly when this column         04:41:50

2       was added to the table -- sorry, to the tool.

3             Q.   Column AD has the header

4

5                  What does that mean?                            04:42:07

6             A.   My understanding is that that refers to

7       the

8             Q.   What is the                       within the

9                          ?

10                 MR. SCHWING:    Object to form.                 04:42:36

11                 THE DEPONENT:    Yeah.   Sorry, Austin.

12                 So the -- the best place to go to get

13      that definition would -- would be the -- the

                       .   I can give my -- my understanding

15      of it, which is that it defines --                         04:42:51

16                 MR. SCHWING:    I'm sorry, Mr. Cross, just

17      don't reveal anything that you've learned from

18      attorneys with respect to the                          .

19      If you have independent factual knowledge with

20      respect to it, you may provide that.                       04:43:09

21                 THE DEPONENT:    Thank you, Austin.

22                 My understanding is that it -- it defines

23

                               , and then there is a

25      determination made as to whether or not an                 04:43:27

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1                                                  of that                    04:43:36

2       definition.     And my understanding is that this

3       column reflects

                                                                          .

5       Yeah, I'm -- I'm not like -- there's likely a                         04:43:56

6       better definition than the one I was able to give

7       you there, that's -- that's -- that's the best

8       understanding I have of what it means.

9              Q.    (By Mr. Melamed)   Do you know if             is a

10      reference to a                                                    ?   04:44:09

11             A.    My understanding is the term comes from

12      within the                                 but I couldn't

13      confirm if it was a -- a                               .    But

14      my understanding is that that refers to some

15




17             Q.    And so if you look at row 2, the value

18      for in scope for

19                   What does that mean?

20             A.    My understanding is that that means that                 04:44:46

21      this

22             Q.    And if the capability -- a different

23      capability in the Capability table was in scope for

24

25             A.    My understanding is that if that column                  04:45:10

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1       contains a "         that means the capability has          04:45:12

2       been

3              Q.    Do you know who conducted the assessments

4       to determine whether a capability

                                                                    04:45:22

6              A.    My understanding is that that would have

7       been an




9              Q.    Do you know if there exists a -- a

10      separate log of capabilities that indicated whether         04:45:42

11      the group of capabilities goes

12                   MR. SCHWING:    Object to form.

13                   THE DEPONENT:    I'm sorry.     I'm not sure

14      I -- I understand the question.          Can you help me

15      with what you mean by "group of capabilities."              04:46:18

16             Q.    (By Mr. Melamed)    Sure.

17                   Do you know if there exists a list

18      separate from the Capability table of the

19      capabilities that were determined to be

                                                                    04:46:30

21                   MR. SCHWING:    Object to form.      Outside

22      the scope.

23                   THE DEPONENT:    My understanding is

24      that -- the capabilities tool -- the -- the

25      information contained in this table represents              04:46:45

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1       Facebook's determination as to whether or not a              04:46:49

2

3             Q.     (By Mr. Melamed)       Column AE has the

4       header

5                    What does that mean?                            04:47:08

6             A.     My understanding is that that refers to

7       similar to the column we reviewed earlier about the

8                  which would refer to the

                                                            .

10            Q.     So the number reflected in the cell row 2       04:47:37

11      in column AE identifies the

                                                            .

13            A.     I think it refers to either an

14

                        .    It may refer to a

                      I'm not entirely sure.

17                   But my understanding is that it refers to

18      the                    in some way which would refer to

19      either an

                                        .                            04:48:24

21            Q.     Okay.

22                   MR. MELAMED:    So that completes -- I just

23      have a few more questions about the capabilities

24      tool, generally.       That completes the specific

25      column by column review of these.          Are you okay to   04:48:32

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1       go a few more minutes while I ask these questions         04:48:37

2       and then we can take a break?

3                   THE DEPONENT:    Yes, happy to proceed.

4                   MR. MELAMED:    Okay.   Thanks.

5              Q.   (By Mr. Melamed)     So using -- we've        04:48:49

6       identified -- or we've discussed -- I'm sorry --

7       three documents comprising the capabilities tool,

8       two yesterday and one today.

9                   Is that your recollection as well?

10             A.   We reviewed three sets of tabular data,       04:48:59

11      yes.

12             Q.   Okay.   And I -- I recognized that those

13      are excerpts, so I'm not asking you to do the

14      exercise or imagine right now using those excerpts.

15      I'm asking you to describe how you would go about         04:49:12

16      doing that -- this exercise.

17                  If you wanted to identify all

18      capabilities that Tinder, the app "Tinder," could

19      access, how would you do so?

20                  MR. SCHWING:    Object to form.               04:49:29

21                  THE DEPONENT:    I would attempt to

22                                     and then I would go to

23      the capability tool and

                                       And then the tool would

25      view for me the                                           04:49:55

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1                                                                       04:49:59

2               Q.      (By Mr. Melamed)     So the            is not

3       one of the fields in Exhibit 429, the Capability

4       table; is that right?

5               A.      This table represents the list of               04:50:14

6       capabilities that exist in the capability tool at

7       the time that this table was generated.

8               Q.      Okay.     So let's walk through -- through

9       the tool that you would use.

10                      So I put up on the screen Exhibit 428,          04:50:55

11      which we marked yesterday.

12                      Which is the capability Grants table.

13                      And the           is listed in column C

14      here.        So is -- is this -- once you had determined

15      the                           , is this where you would         04:51:13

16      start in -- in -- started your process of

17      determining all the capabilities for which Tinder

18      had been granted access?

19              A.      I'm sorry, as a Facebook employee, and I

20      may have access to the capability tool, and so the              04:51:31

21      process I would use as a Facebook employee would be

22      to use the capability tool.

23              Q.      So as a non-Facebook employee, plaintiffs

24      don't have access to the capability tool.

25                      So how would you use the documents that         04:51:48

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1       have been produced here, that we discussed to                04:51:49

2       identify the full set of capabilities that Tinder

3       had been granted access to?

4                    MR. SCHWING:    Object to form.

5                    THE DEPONENT:    If I had the three             04:52:09

6       documents that we've walked through at my disposal,

7                                                       and then I

8       would

9                    And then my understanding, is that that

10      would indicate the                                           04:52:25

11                              for which this table contains

12      data.

13                   I would then use the

14      and cross-reference that against the table that

15      we've just spent an hour and a half going through.           04:52:52

16              Q.   (By Mr. Melamed)    Okay.    So just -- I

17      want to restate this just to make sure I'm clear.

18      I think I understand, and please correct me if I'm

19      wrong.

20                   So you would start in Exhibit 428 -- once       04:52:59

21      you had determined                         you would start

22      in Exhibit 428 with the full, not yet so the full

23      document, you would

24      would -- that would identify -- and that's in

25      column C.     Once you had done that, column D would         04:53:18

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1                                                              at      04:53:23

2       one time --                , as reflected by the

3       capabilities tool, and then you would take those

4                                                              which

5       is Exhibit 429 that we were looking at this                    04:53:40

6       morning, and                                          up in

7                                                              ; is

8       that right?

9            A.   That's a high-level description of the

10      process I would follow, yes.                                   04:53:55

11           Q.   Am I missing anything?

12           A.   I don't think so.

13           Q.   Now what if you wanted to understand all

14      apps that had access to a specific individual

15      capability, for example, friends_religion_politics.            04:54:12

16                Using the documents we looked at

17      yesterday and today, how would you go about

18      determining the list of apps and the time period

19      during which those apps had access to

20      friends_religion_politics?                                     04:54:32

21                MR. SCHWING:    Object to form.

22                THE DEPONENT:    So before I answer the --

23      the question, I think it's important to note that

24      just because an app had access to a capability, it

25      doesn't necessarily mean that it was using the                 04:54:47

                                                                       Page 1093

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1       capability or accessing the data that the                 04:54:51

2       capability involved.     That -- that's just what --

3       was making sure that's -- that's clear and on the

4       record.

5                 My process would be to start with the           04:55:07

6       prior table we reviewed today, which is the list of

7       capabilities.

8       that I was interested in, and then I would




10           Q.   (By Mr. Melamed)     Just to be clear, the      04:55:28

11      prior table you were referencing that we looked at

12      this morning was Exhibit 429.      And then when you're

13      saying "this table," is this the table presently on

14      my screen which is Exhibit 428, right?

15           A.   That's correct.                                 04:55:45

16           Q.   Okay.     So just to talk that through

17      again, to make sure I understand it.

18                You would go to the full document that

19      Exhibit 429 reflects an excerpt of, search for

20      "friends_religion_politics,"




                        And then go to Exhibit 428,

                                  in column D, and that would

24                                    -- in column C

                                    , correct?                    04:56:26

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1                   MR. SCHWING:     Object --                          04:56:32

2                   THE DEPONENT:     Had access to that --

3                   Sorry, Austin.

4                   MR. SCHWING:     Object to form.

5                   Go ahead, please.                                   04:56:36

6                   THE DEPONENT:     My understanding of this

7       table is that that would indicate the                    that

8       had                                 at some point in time

9       for which data is available in this -- in this

10      document.                                                       04:56:56

11            Q.    (By Mr. Melamed)      Okay.   And columns in

12      Exhibit 428, columns F, G, H and I, would indicate

13                        that you listed apps had

                           is that right?

15            A.    Columns G and I would indicate the                  04:57:18

16                                    .   Again, and this -- my

17      understanding is that that would reflect the -- the

18                    when the app                 to the

19      capability.

20                  But as I said previously, it's important            04:57:37

21      to note the -- that doesn't mean the app was in any

22      way necessarily using the capability, or indeed

23      that the capability returned the information that

24      you might think it would.

25            Q.    The document -- go ahead.        Sorry.             04:57:56

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1            A.      Like, it's very -- I just want to make                   04:57:59

2       this super clear.

3            Q.      Okay.

4            A.      This -- this reflects the -- the grant

5       state of a particular capability to an app.               There       04:58:08

6       are other factors which influence the actual

7       behavior that the app would have experienced as a

8       result.     So it's just important to note.

9            Q.      I'm sorry.     I interrupted you twice

10      there.     I apologize for that.                                      04:58:28

11                   What document would reflect whether an

12      app was using the capability; i.e., sending the API

13      call to Facebook for that capability?

14           A.      Well, that's all -- with -- with

15      correcting there that -- the -- the way the system                    04:58:50

16      works is that -- the                                              .

17      It makes an API call, and in evaluation of that API

18      call, Facebook's

19      or not a                                             -- and

20      if -- and then

                              and then the

                        occurs.

23           Q.      So I want to split that inquiry, then,

24      into two questions.

25                   Is the                  the source to                    04:59:25

                                                                              Page 1096

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1       determine whether an app made the API call for                       04:59:28

2       which it was granted access by the Capabilities

3       table?

4                    MR. SCHWING:     Object to form.

5                    THE DEPONENT:     The                                   04:59:48

6       identifies API calls made by a specific app.              By

7       "method," some of those

                       but other -- other methods the -- the

9

                       for example.                                          05:00:12

11                   So it's not -- it's not a reliable way to

12      determine whether or not an app was accessing data

13      that was modified by a capability.

14              Q.   (By Mr. Melamed)        I understand that.        I'm

15      trying to just understand the request from an app.                   05:00:33

16                   Where would I go to determine whether,

17      and if so, how many times an app requested -- I'm

18      sorry -- an app made an API call that -- for which

19      it was granted the capability of a capabilities

20      tool?                                                                05:01:02

21                   MR. SCHWING:     Object to form.

22                   THE DEPONENT:     My understanding is in the

23      past,

24      whether or not a

25                   , by which I mean,                                      05:01:31

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1                                                              .   05:01:39

2                 That information, I recall being

3       displayed in the -- in the capability tool at

4       one -- at one time in the past.       Although precisely

5       where that data was stored today, again the tool           05:01:57

6       has evolved over time.

7                 But I recall that information being

8       logged at one point in the past.

9            Q.   (By Mr. Melamed)     Do you know when that

10      information was logged in the capability tool -- or        05:02:09

11      let me rephrase that.

12                Do you know when the capabilities tool

13      stopped logging that information?

14           A.   So it's important to say here that the

15      capability tool doesn't necessarily log that               05:02:31

16      information.    That information is

                                 I recall that that

18      information was displayed in the capability tool

19      starting in -- in -- in 2014 or so.

20                I -- I don't -- I -- I don't know if that        05:02:54

21      information is still displayed in the capability

22      tool, and I would imagine that it is still being

23      logged however.

24           Q.   Do you know where the information is

25      being logged?                                              05:03:09

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1            A.     It's likely that that information is                05:03:14

2       being stored in --

3       Again, my understanding is that that -- that is the

4       kind of information that is used to determine

5




7            Q.     And by data warehouse, do you mean

8       "Hive," or something different?

9            A.     I'm referring to

                                                                        05:03:40

11           Q.     Do you know what                           stores

12      that tracking information?

13           A.     Do I know which -- which table -- sorry,

14      no, I don't have the specific name of the table

15      that may or may not contain that information.                   05:04:06

16           Q.     I'm sorry -- if you wanted to know

17      whether such a                             and, if so

18                           , who would you ask?

19           A.     I would ask Mr. Molaro in the first

20      instance.                                                       05:04:23

21           Q.     And you said that though the capabilities

22      tool did not log that information, it reflected

23      that information starting in 2014; is that right?

24           A.     I recall the capabilities tool reflecting

25      some reflection of                                     in       05:04:49

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1       around 2014.                                                   05:04:55

2            Q.      Do you recall the point at which the

3       capabilities tool no

                                          ?   I'm sorry,

                                                                       05:05:14

6            A.      So my personal involvement with the

7       capability tool ended in around 2015.        And so

8       that's -- the period from 2013 or late 20- -- 2014

9       to '15 is -- is what I'm relying on here for my

10      testimony, so I'm using the phrase "my                         05:05:36

11      recollection."

12                   As I -- my understanding is that -- it's

13                                                             -- is

14                              But I -- I can't confirm which

15      table, or whether or not or how that information is            05:05:59

16      represented in the capability tool today.

17           Q.      When you left -- when you stopped using

18      the capabilities tool in your personal capacity as

19      a Facebook employee, was the information regarding

20      whether an                                                     05:06:21

21                still reflected in the capabilities tool?

22           A.      My -- my recollection is that that

23      information was --                           in the

24      capabilities tool.     And I'm just being accurate on

25      the word here.     My understanding is that it was             05:06:39

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1                                                                  05:06:41

2            Q.    What does it mean to -- to say a

3       "

4            A.    My understanding of -- of how capability

5       is implemented in the code base is that there is           05:06:56

6       a -- what's called a                        , which is

7       a -- a                                      and a

8       capability as to whether or not the app

                            , and that's called a

                                                                   05:07:18

11                 MR. MELAMED:    We can go off the record.

12                 THE VIDEOGRAPHER:     Okay.     We're off the

13      record it's 5:07 p.m.

14                 (Recess taken.)

15                 THE VIDEOGRAPHER:     We are back on the        05:07:56

16      record.   It's 5:21 p.m.

17                 (Exhibit 430 was marked for

18      identification by the court reporter and is

19      attached hereto.)

20           Q.    (By Mr. Melamed)     Mr. Cross, I've just       05:21:18

21      marked Exhibit 430.     It is a message discussion

22      between Steven Elia, Scott Mellon, Eddie O'Neil,

23      Drew Lackman, Cathy Huang, Tatyana --

24                 SPECIAL MASTER GARRIE:        Guys, I'm ready

25      to roll whenever you guys are.                             05:21:34

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1                     MR. SCHWING:    We're -- we're underway,          05:21:37

2       Special Master Garrie.        I don't know if you can

3       hear us.      Yeah, we've started.

4                     SPECIAL MASTER GARRIE:       Counsel Melamed.

5                     MR. MELAMED:    Yup, we're going.       Can you   05:21:49

6       hear?

7                     SPECIAL MASTER GARRIE:       Am I talking to

8       myself.

9                     THE COURT REPORTER:      Should we go off the

10      record?                                                         05:22:01

11                    MR. MELAMED:    Yeah, let's go off the

12      record.

13                    THE VIDEOGRAPHER:     We're off the record.

14                    (Recess taken.)

15                    THE VIDEOGRAPHER:     We're back on the           05:22:16

16      record.      It's 5:22 p.m.

17                    MR. MELAMED:    So I've just marked

18      Exhibit 430.      It's a message summary.        The date on

19      the document is June 14th, 2018.           It includes

20      Cathy Huang, Steve Elia, Scott Mellon,                          05:22:39

21      Eddie O'Neil, Drew Lackman, Cathy Huang -- sorry,

22      if I mentioned her twice.         Tatyana Poturnak and

23      Konstantinos Papamiltiadis.         And it runs from

24      Bates number FB-CA-MDL-02898663 through -8668.

25              Q.    (By Mr. Melamed)     This message summary         05:23:10

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1       runs chronologically, so from top to bottom.                 05:23:12

2                    Have you had a chance to look at this

3       document, Mr. Cross?

4               A.   I saw this document in preparation for

5       today, but I would appreciate a few minutes just             05:23:31

6       to -- to refamiliarize myself with it, if that's

7       okay.

8               Q.   Okay.   That's no problem.       I'm going to

9       direct you to a very specific part of it.

10                   MR. SCHWING:    You want to tell him, Matt,     05:23:49

11      in advance so as he's reading he can kind of focus

12      on that.     It's up to you.

13                   MR. MELAMED:    Thank you, Austin.

14              Q.   (By Mr. Melamed)     I am going to direct

15      your attention to the very bottom of the page                05:23:57

16      ending -8667, to the second to last page.

17              A.   Okay.   Cool.   I appreciate it, Counsel.

18      Thank you.

19              Q.   Thank you.

20                   So it seems that in this message                05:24:55

21      Mr. Papamiltiadis is trying to pull together some

22      information, correct?

23              A.   Yeah, I think KP is working with his team

24      to pull some information, yes.

25              Q.   Okay.   And do you know what information        05:25:07

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1       he's trying to pull together?                             05:25:08

2            A.   I think we understand by -- by reading

3       the -- reading the thread to -- to be able to

4       answer that question.

5                 It doesn't -- it doesn't say here               05:25:58

6       precisely what information they're -- they're --

7       they're actually -- or what -- what -- what

8       question they're attempting to answer.        That's --

9       that's not in this document, I don't think.

10           Q.   Can you look at the attachments line on         05:26:09

11      the very first page.     You'll see that there's an

12      attachment here titled "All apps with access to

13      friends_*data 06.14.2018 v2."

14                Does that inform the information -- does

15      that inform you about the information that                05:26:30

16      Mr. Papamiltiadis and his team were attempting to

17      pull together.

18                MR. SCHWING:     Object to form.

19                THE DEPONENT:     It suggests that -- sorry,

20      Austin.                                                   05:26:41

21                MR. SCHWING:     Object to form.

22                Go ahead and answer, if you can.

23                THE DEPONENT:     It suggests they may be

24      trying to identify apps with -- with access to

25      friend -- friend data as -- but that -- that could        05:26:49

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1       be just part of what they're -- they're looking                   05:26:54

2       for, for example.        But that -- that -- that's

3       indicative of maybe what they were looking for.

4            Q.      (By Mr. Melamed)     All right.     If you go

5       down to the bottom of the document -8667.            I'm          05:27:07

6       sorry, the bottom of the page -8667.

7            A.      Uh-huh.

8            Q.      And you see Mr. Papamiltiadis has a link

9       to a Quip?

10           A.      I see it.                                            05:27:25

11           Q.      And in that, he appears to describe the

12      Quip, correct?       He says three tabs.      "1. device and

13      3p apps with access to friends data.           2. first

14      party apps and apps with no admins or info.               3. 3p

15      apps with short terms extensions."                                05:27:43

16           A.      I see that in the document.

17           Q.      Okay.     Do you understand him to be

18      referencing that Quip that those -- the description

19      of the three tabs.        I'm sorry.   Make it clearer.

20                   Do you understand Mr. Papamiltiadis'                 05:27:56

21      description of the three tabs generally referring

22      it to the document "fb.quip url" above that?

23                   MR. SCHWING:     Object to form.

24                   THE DEPONENT:     It's likely he was

25      referring to that, but I can't be 100 percent.                    05:28:14

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1            Q.     (By Mr. Melamed)     In re- -- prep- -- in     05:28:16

2       preparing for today's testimony, did you review the

3       document at this Quip?

4            A.     Yes, I had a -- I think I attempted to

5       access that document, yes.                                 05:28:38

6            Q.     Okay.     Were you able to access that

7       document?

8            A.     Yeah, I think I was able to access that

9       document.

10           Q.     And what was that document?        What        05:28:47

11      information is contained in that document?

12                  MR. SCHWING:     Object to form.

13                  THE DEPONENT:     My recollection is that

14      that's a -- a list of -- of -- of apps and -- and

15      some information about them.                               05:29:04

16           Q.     (By Mr. Melamed)     What information about

17      them is reflected in that document?

18                  MR. SCHWING:     Object to form.

19                  THE DEPONENT:     I don't -- I don't recall

20      specifically.       But there's different information on   05:29:18

21      the different tabs.       Sorry, I don't recall

22      precisely the information in that document.

23           Q.     (By Mr. Melamed)     Did the information in

24      that document reflect Mr. Papamiltiadis'

25      description of the three tabs?                             05:29:34

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1                   MR. SCHWING:    Object to form.                     05:29:40

2                   THE DEPONENT:    I -- I think I recall

3       seeing three tabs in -- in that document.          But,

4       again, I can't be completely sure.

5            Q.     (By Mr. Melamed)     Do you know -- sorry.          05:29:58

6                   You said you pulled -- you went to

7       that -- to access that document via Quip; is that

8       right?

9            A.     Yes.   I -- I -- I accessed that document

10      via Quip.                                                       05:30:18

11                  (Exhibit 431 was marked for

12      identification by the court reporter and is

13      attached hereto.)

14                  MR. MELAMED:    I just introduced what's

15      been marked as Exhibit 3 -- I'm sorry, 431.                     05:31:00

16      Exhibit 431 is a -- is a spreadsheet FB-CA-MDL --

17                  SPECIAL MASTER GARRIE:      Where do I

18      find -- where -- I can't find Exhibit 431.              I see

19      Exhibit 428.

20                  MR. MELAMED:    I think you're in a                 05:31:22

21      different exhibit folder.       There is deposition of

22      Simon Cross 30(b)(6).

23                  SPECIAL MASTER GARRIE:      I found it.        I

24      found it.    I found it.    I was looking at it and I

25      clicked a different one.       There's six folder forms.        05:31:31

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1       My apologies for interrupting.                                   05:31:33

2                    MR. MELAMED:   So Exhibit 431 is a

3       document with the Bates FB-CA-MDL-02898670.             And it

4       was attached to the Exhibit 430.

5               Q.   (By Mr. Melamed)   Do you know if this is           05:31:56

6       the document you referred -- you reviewed at the

7       Quip URL that is identified in Exhibit 430 at the

8       bottom of page -8667?

9               A.   No, my understanding is that this is a --

10      a different document.                                            05:32:18

11              Q.   So this was a -- a document attached to

12      his message string, but is not the document being

13      referred to in that string -- or I'm sorry, in that

14      Quip URL; is that right?

15              A.   My recollection is the document in the              05:32:32

16      Quip is -- is different to this.

17              Q.   For instance, this Excel spreadsheet does

18      not have three tabs, right?

19              A.   This Excel spreadsheet just has one tab.

20              Q.   Did the document you reviewed have three            05:32:47

21      tabs?

22              A.   Again, I think my recollection is that it

23      had three tabs.

24                   MR. MELAMED:   So Counsel, I'm going to

25      ask that you produce the document at the Quip that               05:33:03

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1       Mr. Cross accessed -- I don't -- or identify it, if         05:33:06

2       it has been produced.       I'll state that I don't

3       think that it has been.       It's possible I'm

4       incorrect but we -- we did search.

5                   MR. SCHWING:     Okay.   I mean, I -- I         05:33:15

6       don't -- this is the first time this has been

7       raised, Mr. Melamed.       You identified these

8       documents, you know, a while ago.          We're happy to

9       communicate with you about that.          I mean, I would

10      have hoped that we could have done this before the          05:33:28

11      deposition, actually.       But happy to communicate

12      with you about that.

13                  MR. MELAMED:     All right.     Thank you for

14      that offer.     There are thousands, and probably tens

15      of thousands of documents that have been produced           05:33:40

16      by Facebook with Quips or --

17                  SPECIAL MASTER GARRIE:        All right.

18      Timeout.

19                  MR. MELAMED:     -- and have not been

20      produced.     And we've addressed that before.              05:33:49

21                  SPECIAL MASTER GARRIE:        We're going to

22      take a timeout here.       And we're going to answer my

23      question instead, which is, are there anymore

24      documents with attachments or exhibits that you're

25      not sure you have from Facebook that are Quip like          05:34:03

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1       this?                                                      05:34:08

2                   MR. SCHWING:   For today's deposition you

3       mean?

4                   SPECIAL MASTER GARRIE:      For today's

5       deposition.                                                05:34:12

6                   MR. MELAMED:   I -- that's a good

7       question.     I don't think so.

8                   SPECIAL MASTER GARRIE:      Okay.   I just

9       want to make sure we get today's deposition done.

10      So in the interest of time, I was going to suggest         05:34:20

11      we take a five-minute break if there were and talk

12      with Counsel Schwing and see if we can quickly

13      rectify that.

14                  MR. MELAMED:   If Facebook can produce

15      that document in the next little bit, that would be        05:34:32

16      great.   We can try and ask the questions that I had

17      hoped to ask about.

18                  SPECIAL MASTER GARRIE:      Well, when we

19      take our next break and Counsel Loeser goes, maybe

20      if there's time at the end we give them a couple           05:34:44

21      hours, they can find it, great.       If not, I'll leave

22      it to the parties to sort out.

23                  Back to you Counsel Melamed.

24                  MR. MELAMED:   Thank you.

25                                                                 05:34:52

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1       /////                                                     05:34:52

2                    (Exhibit 432 was marked for

3       identification by the court reporter and is

4       attached hereto.)

5                    MR. MELAMED:   I just introduced what's      05:35:14

6       been marked as Exhibit 432.      Exhibit 432 is an

7       Excel spreadsheet.      FB-CA-MDL-02674226.

8                    The metadata associated with the document

9       indicates that it was created on August 15th, 2018.

10      And the name of it is "20180815_nana" N-A-N-A             05:35:42

11      "ad hoc request_friends permission metadata.xlxs."

12              Q.   (By Mr. Melamed)   While you're reviewing

13      that, I'm downloading it so I can share my screen

14      and we can look at it more effectively.

15                   Can you see my screen, Mr. Cross?            05:36:25

16              A.   I can see your screen.

17              Q.   Okay.   Did you review this document in

18      preparation for today's testimony?

19              A.   I have not seen this document before.

20              Q.   Do you know -- let's -- let's go through     05:36:41

21      column by column and see if you can identify the

22      information being reflected in this document.

23                   Column A is titled "App ID" and it has a

24      number.

25                   Do you understand what's in the              05:36:58

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1       information in column A?                                       05:37:00

2            A.    My understanding is that would refer to

3       the Facebook app ID of the given application.

4            Q.    Okay.   And column B is the "App Name"

5       that is associated with that App ID; is that right?            05:37:13

6            A.    That's right.

7            Q.    Column C indicates "Number of Friends

8       Permissions."

9                  Do you know what that means?

10           A.    No, I don't know what that means.           It --   05:37:27

11      it -- that could mean a number of different things.

12      So no, given I haven't reviewed this document or --

13      or how it was -- how it was created.        I -- I can't

14      for certain explain what column C represents.

15           Q.    In column D has the indicator "less than            05:37:57

16      100." [as read]

17                 Do you know what that means?

18           A.    Again, without -- there's no additional

19      context here, and I haven't seen this document

20      before.   So it's hard for me to explain what I                05:38:12

21      think that -- that column means.

22           Q.    Is the same true for columns E through H?

23           A.    That would be correct.

24                 MR. SCHWING:    Mr. Melamed, I don't see

25      this on the list of exhibits that you -- you                   05:38:25

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1       identified for us in advance of the deposition with            05:38:28

2       respect to topics 2 and 8.

3                    MR. MELAMED:   I'm happy to look at that

4       at a break.     I believe it was identified, but we

5       can -- we can check that.                                      05:38:42

6                    MR. SCHWING:   Yeah.   Okay.    I mean, look

7       you -- you can go ahead and ask the questions.           I

8       just wanted to state for the record I'm looking at

9       a June 3rd email, I don't -- don't see that on here

10      in terms of the documents you indicated the witness            05:38:52

11      should take a look at for today's deposition.           But

12      happy to discuss that with you.

13           Q.      (By Mr. Melamed)   Does the title of the

14      document which I -- the metadata states is

15      friend -- is again, "20180815_nonadhoc                         05:39:10

16      request_friends permission metadata.xls -- xlsx,"

17      indicate anything to you about what this document

18      is about?

19           A.      Could you read that more slowly for me,

20      please.     It's a long -- it's a long string.                 05:39:29

21           Q.      Of course.

22                   So the first part of it is 20180815.        And

23      I will tell you that that appears to reflect the

24      date created metadata which is August 15th, 2018.

25      And there's an underscore that's Nana, N-A-N-A,                05:39:47

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1       ad hoc request_friends permission metadata.               05:39:53

2                   Does that help you understand the

3       information that's being reflected in this

4       document?

5            A.     So thank you for reading it more slowly.      05:40:14

6       I mean, it -- it suggests something to do with

7       friend permissions and I -- I see the column here,

8       the column C "Number of Friend Permissions," but it

9       doesn't have much more context than that.

10           Q.     Are you familiar with the app "This is        05:40:36

11      Your Digital Life"?

12           A.     I have heard of the -- of the app -- This

13      is Your Digital Life.

14           Q.     And what is your understanding -- in what

15      context have you heard of the app, This is Your           05:40:49

16      Digital Life?

17           A.     I've heard of that in the context of

18      Cambridge Analytica.

19           Q.     If you go to line 28,122 in this

20      document, do you see that column B "App Name"             05:41:08

21      reflects "thisisyourdigitallife"?

22           A.     I see that on the screen.

23           Q.     And do you see that the "Number of

24      Friends Permissions" in this document associated

25      with This is Your Digital Life is five?                   05:41:25

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1               A.   Again, I see that in the -- in the                   05:41:31

2       document.

3               Q.   Do you know how many times Facebook users

4       downloaded This is Your Digital Life?          Let me

5       restate that.                                                     05:41:44

6                    Do you know how many Facebook users

7       signed in to This is Your Digital Life?

8                    MR. SCHWING:    Object to scope.      Object to

9       the form of the question.

10                   And, again, I think this was not an                  05:41:54

11      exhibit that was identified in June 3rd, email.

12                   THE DEPONENT:    I'm not aware of the

13      number of people that have -- what was your phrase,

14      sorry.

15              Q.   (By Mr. Melamed)    Number of Facebook               05:42:13

16      users who logged in to This is Your Digital Life?

17              A.   I'm -- I'm not aware of the number of

18      Facebook users who logged in to This is Your

19      Digital Life.

20              Q.   I'll -- I'll represent to you that                   05:42:23

21      Facebook publicly reported approximately 270,000

22      Facebook users logged in to This is Your Digital

23      Life.

24                   Does that sound accurate to you?            Do you

25      have any reason to doubt that?                                    05:42:39

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1                 MR. SCHWING:     Object to the form.         It's     05:42:40

2       outside the scope of the deposition.

3                 THE DEPONENT:     I have no reason to doubt

4       what you're saying.     But, again, I -- I don't

5       recall those numbers.                                           05:42:53

6            Q.   (By Mr. Melamed)     Okay.    I'm just trying

7       to establish background that would help you

8       potentially testify regarding the tracking

9       information in this.     So if that's not helpful,

10      that's okay.   And we can move on.                              05:43:14

11                (Exhibit 433 was marked for

12      identification by the court reporter and is

13      attached hereto.)

14                MR. MELAMED:     I just identified what's

15      been marked as Exhibit 433.     It is an email string           05:44:43

16      that's Bates No. FB-CA-MDL-01952426 to -52427.            The

17      last in time is from Dan Rose to Ime Archibong and

18      Francisco Varela dated June 22nd, 2018.         The

19      subject "Re: V1 extensions."

20           Q.   (By Mr. Melamed)     Did you review this              05:45:26

21      email string in preparation for today's testimony?

22           A.   Yes, I looked at this document in

23      preparation for today.

24                (Discussion off the stenographic record.)

25           Q.   (By Mr. Melamed)     Okay.    Is this -- I'm          05:46:21

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1       sharing my screen now, and I'm on the page ending            05:46:25

2       -427.        The first in time email is from Dan Rose to

3       Ime Archibong and Francisco Varela saying -- and

4       the subject is "V1 extensions" saying




7                       And Mr. Varela responds

                                            for 'source of truth'

9       on what apps had                                      with

10                                                    after          05:47:00

11      May 2015."

12                      What does "source of truth" mean in this

13      context.

14                      MR. SCHWING:    Object to form.

15                      THE DEPONENT:    Sorry, this is a document   05:47:19

16      written by Mr. Varela several years ago and source

17      of truth, might mean different things in different

18      context.        So I can't give a canonical definition of

19      that.        We would have to ask Mr. Varela.

20                      My understanding is that this is a group     05:47:39

21      of people pulling together to try and get a

22      complete understanding of which apps had access to

23      API.

24              Q.      (By Mr. Melamed)    Right.

25                      So your testimony today in part concerns     05:48:02

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1       tracking information that Facebook provided to            05:48:08

2       third parties, right, or you understand that to be

3       part of the testimony you're offering, correct?

4            A.    If I remember the -- the topics

5       correctly, then yes, I think that's fine.                 05:48:28

6            Q.    So I'm looking at this document and

7       asking questions about it to try and determine how

8       Facebook tracked at this -- the point in time when

9       this document was created

                       with                                       05:48:46

11           after 2015.

12                 So Mr. Varela -- and how do you pronounce

13      his last name so I get it correct.

14           A.    I think it's "Varela."

15           Q.    Thank you.                                     05:49:10

16                 Mr. Varela indicates that Eddie O'Neil

17      pulled data the week before this email is written

18      to try to pull together a source of truth on what

19      apps had                              with

                                       after May 2015.            05:49:29

21                 Do you see that?

22                 MR. SCHWING:    Object to form.

23                 THE DEPONENT:    I see that.

24           Q.    (By Mr. Melamed)    What tools on or around

25      June 2018 did Facebook use to track which apps had        05:49:55

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1                                           after May 2015?       05:50:00

2            A.      So -- so my understanding is that there

3       were -- in terms of

4       to what we've talked about the --

5                 and so on, and then my understanding in         05:50:36

6       order to pull this together one of the sources

7       would have been the capability tool.

8                    Another source would have been the

9       gatekeeper tool.     And my understanding is that's --

10      those are two of the tools.                               05:50:55

11                   I think the third one would have been

12      potentially included is a tool called site bar.

13           Q.      What is the gatekeeper tool?

14           A.      The gatekeeper tool is a tool inside

15      Facebook which is used to                                 05:51:20

16

17           Q.      How does the gatekeeper tool differ from

18      the capabilities tool?

19           A.      Gatekeeper and capabilities are different

20      tools.                                                    05:51:40

21           Q.      So what is -- what does -- can you

22      explain the differences between them, please.

23                   MR. SCHWING:    Object to form.

24                   THE DEPONENT:    The capability tool is --

25      is                                                        05:51:54

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1                                                                 05:52:01

2                 The capability tool is used -- sorry, the

3       gatekeeper tool is used at Meta to gain




                                                                  05:52:18

6            Q.   (By Mr. Melamed)   Does the gatekeeper

7       tool include information about apps access to APIs?

8            A.   To -- does it today, the capability -- my

9       understanding is the gatekeeper tool

                                                                  05:52:55

11

12           Q.   Did the gatekeeper tool have information

13      regarding apps access to APIs as of June 2018?

14           A.   My understanding is that there

                                                                  05:53:21

16                        gatekeeper tool in 2018.

17           Q.   Did those features include access to

18      Graph version 1.0 API?

19           A.   Exactly what was gated by which tool

20      has -- has -- has changed over time.     And so I         05:53:49

21      can't be exactly certain of exactly what was being

22      gated by that -- by the gatekeeper tool in -- in,

23      at the time you're referencing.

24                So hard for -- hard for me to give a

25      precise answer on the fly.                                05:54:07

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1            Q.      So the context of what I'm asking is, I'm       05:54:09

2       trying to determine -- you had mentioned that

3       Mr. O'Neil had likely used the capabilities tool

4       and gatekeeper tool and something else we haven't

5       yet discussed called site bar, to identify the apps          05:54:19

6       as of June 2018 that had

                     with

8       after May 2015.

9                    Did I understand -- am I correctly

10      summarizing what you said?                                   05:54:45

11           A.      My understanding is that those were the

12      tools that this team likely were -- were looking

13      into, yes.

14           Q.      All right.     Does Facebook still have the

15      information that was in the gatekeeper tool as of            05:55:06

16      June 2018?

17                   MR. SCHWING:     Object to form.      Outside

18      the scope.

19                   THE DEPONENT:     My understanding is that

20      there -- there was an effort undertaken to --                05:55:20

21      sorry.    I -- I'm not familiar with the -- the --

22      the details of the -- the logging which is kept

23      about the gatekeeper tool and exactly what is --

24      what is still stored today.

25           Q.      (By Mr. Melamed)     Does the gatekeeper        05:55:42

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1       tool still exist today at Facebook?                       05:55:43

2            A.     The gatekeepers tool still exists at

3       Facebook.

4            Q.     And it contains information about apps

5       that are on Facebook's platform?                          05:55:55

6            A.     My understanding is that the capabilities

7       tool is -- is the source of truth

                                     and the apps




10           Q.     What is the difference between a private      05:56:23

11      API and a capability?

12           A.     A capability refers to a -- a specific

13      mechanism of -- of gating behavior or change --

14      sorry.    Let me start again.

15                  A capability refers to a specific             05:56:40

16      mechanism for modifying platform API behavior for

17      specific apps.

18                  The private app, as a general term would

19      refer to a -- a mechanism of accessing information

20      which is not available, not generally available.          05:57:00

21           Q.     Are all capabilities subsumed within the

22      definition of private APIs?

23                  MR. SCHWING:    Object to form.

24                  THE DEPONENT:    Sorry, help -- help me

25      understand.    Let me get this the right way around       05:57:18

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1       that's -- yes, can you -- can you clarify your                  05:57:21

2       question.

3               Q.      (By Mr. Melamed)    I'm just trying to

4       understand what clearly the -- the extent to which

5       something that is a capability is also a private                05:57:30

6       API and when they are not.          And I thought I

7       understood you to say that the capabilities are a

8       more specific type of dating mechanism than private

9       APIs, but I may have misunderstood what you said.

10                      So I'm just trying to understand where --       05:57:51

11      if they are the same, if -- or if some capabilities

12      are also private APIs and where they are different,

13      what is the basis for the difference?

14              A.      So the capabilities are a way of

15      modifying API behavior in some way for specific                 05:58:07

16      apps.        The precise behaviors which a capability

17      modifies are quite wide ranging.            Sorry -- quite --

18      quite wide ranging.        It's -- it -- it would be

19      reasonable to frame that if a private API exists or

20      -- or then it would be gated by a capability today.             05:58:39

21              Q.      All private APIs presently are

22      capabilities.

23                      Is that an accurate statement?

24              A.      No, that's not --

25                      MR. SCHWING:   Objection.                       05:58:56

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1                    THE DEPONENT:    Sorry, Austin.               05:58:57

2                    MR. SCHWING:    Object to form.

3                    Go ahead and answer, if you can,

4       Mr. Cross.

5            Q.      (By Mr. Melamed)     Yeah, I thought that's   05:59:01

6       what you just testified.        I'm really not trying to

7       trick you.     I'm just trying to get an understanding

8       of the relationship between these two -- between

9       private APIs and capability?

10           A.      So a capability modifies the API behavior     05:59:14

11      in some way.     One of the things that a capability

12      could do is -- is grant an app access to additional

13      information, but it could also do many other

14      things.

15                   So there's -- there's not a direct            05:59:38

16      relationship between capabilities which is a

17      specific mechanism of -- of controlling access or

18      controlling API behavior changes and -- and the --

19      the phrase private API which -- which indeed might

20      mean different things in different context.                05:59:54

21           Q.      Am I right to recall that -- that your

22      testimony the gatekeeper tool




24           A.      I'm not sure that's -- I'm not sure

25      that's completely accurate, no.         The gatekeeper     06:00:21

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1       tool is a -- a                                            06:00:25

2                              In that sense it's similar to

3       the capability tool.

4                   My understanding is that -- there were

5       some gatekeepers, as they're called, which -- the         06:00:43

6       way they worked




8            Q.     What type of additional information are

9       you talking about?

10           A.     It depends on the specific gatekeeper and     06:01:07

11      the exact functionality that that gatekeeper was

12      designed to modify.

13           Q.     Would gatekeepers have ever been designed

14      to modify access to user information?

15           A.     Sorry, that's -- that's a very broad          06:01:30

16      question, as in gatekeeper is widely used at

17      Facebook for a number of preferences.

18                  Can you be more specific in the context

19      you mean?

20           Q.     I'm just trying to understand what            06:01:40

21      information is reflected in the gatekeeper tool.

22           A.     So the information reflected in the -- in

23      the gatekeeper tool would be a gatekeeper which is

24      a -- a specific -- which is a specific thing.

25      And -- and then the gatekeeper tool                       06:02:08

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1       which entities that                                        .    06:02:17

2            Q.      Did gatekeeper ever identify entities

3       that passed or failed -- let me withdraw and

4       restate it.     I'm trying to use your language.          I'm

5       not quite sure I understand it.                                 06:02:53

6                    Did the gatekeeper tool ever identify

7       apps that

                                                          ?

9                    MR. SCHWING:    Object to form.

10                   THE DEPONENT:    So my understanding is            06:03:33

11      that there were at times or was at -- at one time a

12      gatekeeper

                          And -- and that was a -- one of the

14      things in -- in gatekeeper.

15           Q.      (By Mr. Melamed)    Is the information             06:04:00

16      about which apps were

                               --

18      still present in the gatekeeper tool?

19           A.      My understanding is -- the effort was

20      undertaken to migrate that information from the                 06:04:22

21      gatekeeper tool into the capability tool.             And so

22      my understanding is the capability tool is -- is

23      reflective of that information.

24           Q.      Is -- when was the gatekeeper tool last

25      used to reflect information about which apps were               06:04:39

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1                                                                 06:04:46

2

3                   MR. SCHWING:    Object to form.

4                   THE DEPONENT:    And so the -- the

5       migrate -- a range of migrations happened from --         06:05:03

6       the gatekeeping tool into the -- into the

7       capability tool.    That -- that happened over a

8       period of time.    I think there were some migrations

9       that took place in 2014.       And some more migrations

10      that took place in 2018 and 2019.                         06:05:25

11           Q.     (By Mr. Melamed)     Is it your

12      understanding that the capabilities tool has

13      entries reflecting the apps that




15           A.     My understanding is that the capability       06:05:54

16      tool is reflective of Facebook's best understanding

17      of -- of API gating mechanisms.

18           Q.     When we discussed the capability tool, it

19      was on an individual API basis and not a, for

20      instance, Graph API basis, do you -- is that              06:06:16

21      accurate?

22                  MR. SCHWING:    Object to form.

23                  THE DEPONENT:    No, that's -- that's not

24      accurate.    What we discussed was capabilities in

25      the capability tool.                                      06:06:29

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1            Q.    (By Mr. Melamed)    Is there a capability           06:06:35

2       in the capability tool reflective of an apps

3                                                     ?

4                  MR. SCHWING:    Object to form.

5                  THE DEPONENT:    My understanding is that           06:06:54

6       there are capabilities

                                                               .

8            Q.    (By Mr. Melamed)    Right.

9                  So let's -- let's use an example.           There

10      were a series of APIs deprecated from Graph 1.0,               06:07:14

11      when Graph version 2.0 was introduced, right?

12           A.    There are a number of changes between API

13      version 1 and API version 2.

14           Q.    And some of those changes involved

15      deprecations of certain APIs, right, such as                   06:07:37

16      friends permissions and read stream?

17           A.    Let's -- let's be clear the friends

18      permissions are not APIs.     They're -- they're

19      permissions.   And so these -- these -- these

20      details are -- I think are important in the                    06:07:54

21      context.

22           Q.    So the deprecations can return the

23      friends_*APIs, correct?

24           A.    No, the -- the friends_* refers to -- to

25      a set of permissions not -- not APIs.                          06:08:13

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1            Q.    Can you identify one API associated with       06:08:17

2       the friends_*permission?

3            A.    So an API to get the users likes, for

4       example, is -- is an API and what's returned by the

5       API is -- is controlled by permissions.                   06:08:42

6            Q.    Is the read stream an API?

7            A.    Do you mean -- no.     Read_stream is what

8       you're referring to is read_stream that -- that --

9       in that form it refers to specifically a

10      permission, I understand.                                 06:09:06

11           Q.    When Facebook deprecated Graph 1.0 API,

12      that deprecation included a series of APIs within

13      that, right?   So Graph 1.0 was kind of the big

14      picture and it involved a collection of APIs, some

15      of which were deprecated when it deprecated the 1.0       06:09:41

16      and went to 2.0; is that correct?

17                 MR. SCHWING:    Object to the form.

18                 THE DEPONENT:    There are a large number

19      of changes between, you know, several changes

20      between version 1 and version 2.        There were some   06:10:00

21      permissions which were no longer available in

22      version 1 -- sorry in version 2.        There were some

23      changes to the underlying API methods as well, if I

24      recall.   I don't remember the detail.

25           Q.    (By Mr. Melamed)     Okay.    So let's talk    06:10:20

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1       about the read stream permission.                            06:10:22

2                  Do you recall that the read stream

3       permission was deprecated when Graph version 2.0

4       was introduced?

5            A.    The read stream permission was a -- I             06:10:34

6       think included in API version 2.            So it -- it

7       wasn't deprecated in API version 2.0 as I said.

8            Q.    What about "friends_religion_politics,"

9       is that something you recall being deprecated in

10      version 2.0?                                                 06:10:55

11           A.    My understanding is that the -- the

12      version 2.0 behavior for standard apps did not

13      include different permissions, which that one was.

14           Q.    Okay.    And so the capabilities role

15      breaks out by                                        which   06:11:18

16                                         --

17      on those                          is that right?

18                 MR. SCHWING:    Object to form.

19                 THE DEPONENT:    I don't recall the

20      capabilities tool                                            06:11:39

21                                                     that apps

22      would necessarily                       .

23           Q.    (By Mr. Melamed)    We -- we talked about a

24      hypothetical where I asked what we would do using

25      the documents Facebook had produced reflecting the           06:12:01

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1       capability tool to identify which apps have a --           06:12:02

2       were granted capabilities with respect to

3       friends_religion_politics.

4                    Do you remember that?

5            A.      I don't think we were talking about           06:12:18

6       the -- friends_religion_politics in relation to the

7       -- the Capability tables earlier.

8            Q.      Does the capability tool reflect whether

9

                                                          ?        06:12:42

11                   MR. SCHWING:    Object to form.

12                   THE DEPONENT:    In determining whether or

13      not an -- an app had -- first of all, there's a

14      number of features in API version 1.          In these

15      versions -- these APIs are not distinct things.            06:13:12

16      They're the same Graph API with behaviors applied.

17                   My understanding is that there is a

18      capability

                  and precise behavior of that capability

20      changed over time.                                         06:13:48

21           Q.      (By Mr. Melamed)    Is your understanding

22      of "that capability" that it

                                              Do you remember --

24      was -- provided -- provided by capability?

25           A.      Which APIs or which API versions, my          06:14:12

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1       understanding is                                            06:14:16

2       to via that capability depended on a number of

3       factors, including the -- the time in which that

4       was the case.

5             Q.   I don't think I'm -- my question is clear        06:14:38

6       or I'm asking it correctly.

7                  Is -- does the capability tool -- putting

8       aside the reason that an app would have been

9       prevented --

                                                                    06:14:58

11                 Where did Facebook identify the

12      developers that could continue to access Graph 1.0

13      API after it was deprecated?

14                 MR. SCHWING:    Object to form.

15                 THE DEPONENT:    So the                     as   06:15:27

16      I understand it, is -- is -- contains one way of

17      identifying that.

18                 And the                     at the time, was

19      another mechanism in which some apps were included.

20                 And so my understanding is -- is now that        06:15:47

21      all of the information is contained in the -- in

22      the

23            Q.   (By Mr. Melamed)    Is it your

24      understanding that all of the historical

25      information from the gatekeeper tool is now in the          06:15:58

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1       capabilities tool?                                        06:16:01

2            A.     My understanding is that informa- --

3       sorry, Austin.

4                   MR. SCHWING:    Object -- object to form.

5                   Go ahead.                                     06:16:09

6                   THE DEPONENT:    My understanding is that

7       the information in the capability tool has been

8       backfilled to the best of Facebook's ability.

9            Q.     (By Mr. Melamed)    Does -- what do you

10      mean "the best of Facebook's ability"?                    06:16:28

11           A.     My understanding is the -- when the

12                                          that involved

13                                               , that

14      information about those

15      the capability tool.                                      06:16:53

16           Q.     Does the gatekeeper tool still exist at

17      Facebook?

18           A.     Yes, the gatekeeper tool still exists at

19      Facebook.

20           Q.     What is it presently used for?                06:17:12

21                  MR. SCHWING:    Object to form.

22                  THE DEPONENT:    The gatekeeper tool is a

23      common way that teams at Facebook




25                                                                06:17:35

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1               Q.   (By Mr. Melamed)    Do you know how far        06:17:35

2       back the information in the gatekeeper tool goes?

3                    MR. SCHWING:    Outside the scope.

4                    Go ahead.

5                    THE DEPONENT:    Yeah, I'm -- I'm not an       06:17:55

6       expert in the -- the data retention policies of

7       the -- of the gatekeeper tools, so I'm afraid I

8       don't have an answer for that question.

9               Q.   (By Mr. Melamed)    Okay.    I'm not --

10      I'm -- I understand you're not an expert on that.           06:18:07

11      And I'm just trying to determine if this is

12      something that we are going to want to ask for that

13      has not been produced in the case.         I'm trying to

14      understand the type of information it contains.

15      How that type -- how that information differs, if           06:18:17

16      at all, from the capabilities tool, and whether it

17      still exists in the gatekeeper tool.

18                   Do you have any idea how far back the

19      data in gatekeeper tool goes?        And not as an -- not

20      as an expert -- not as the witness for Facebook.            06:18:34

21                   You individually as you sit here, do you

22      have any rough idea how far back the information

23      goes?

24              A.   I'm not aware of the data retention

25      policies in the gatekeeper tool or what -- what is          06:18:49

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1       stored.                                                           06:18:52

2               Q.   Is there an individual -- I'm sorry?            I

3       didn't mean to cut you off.

4               A.   Sorry, I was -- just going to say, no,

5       I'm not aware of the -- the data retention policies               06:19:04

6       of the -- of the information in the gatekeeper

7       tool.

8               Q.   If you were to want to understand more

9       about the specific type of information in the

10      gatekeeper tool as it presently exists, who would                 06:19:20

11      you ask at Facebook?

12                   MR. SCHWING:    Object to form.

13                   THE DEPONENT:    I would speak to

14      Mr. Molaro in the first instance.

15                   SPECIAL MASTER GARRIE:       Counsel Melamed,        06:19:35

16      I'm going to encourage you to go to the next topic

17      since it's -- he's not an expert on it and has no

18      personal knowledge of it.       And so on and so forth.

19                   MR. MELAMED:    Okay.   Understood.         I -- I

20      was trying to understand the way in which Facebook                06:19:49

21      tracks data.

22                   SPECIAL MASTER GARRIE:       Counsel Schwing.

23                   MR. MELAMED:    I'm sorry.

24                   SPECIAL MASTER GARRIE:       Counsel Schwing,

25      can you identify for plaintiff somebody who is the                06:19:59

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1       system or project or product manager of gatekeeper          06:20:01

2       internal to Facebook, and have that dialogue

3       offline, please, with Counsel Melamed; and

4       determine if it A, is reasonable; B, is responsive

5       and C, is appropriate.                                      06:20:13

6                  But, at a minimum, provide further

7       context so we can keep today as going forward.        If

8       appropriate.    If you disagree so be it but...

9                  MR. SCHWING:   Yeah, I -- I -- I believe

10      Mr. Cross has testified that the capabilities tool          06:20:28

11      that the gatekeeper information in the capabilities

12      tool has been migrated -- I'm sorry, in the

13      gatekeeper tools are migrated in the capabilities

14      tool.   But I'm happy to discuss that offline, and I

15      agree with moving -- moving along in the                    06:20:42

16      deposition.

17                 SPECIAL MASTER GARRIE:      Okay.   Thank you.

18                 MR. MELAMED:   Thank you.     And can I just

19      extend that that request to include the site bar

20      tool as well.                                               06:20:50

21                 MR. SCHWING:   We're happy to meet and

22      confer with you, Matt.

23                 MR. MELAMED:   Okay.   Just -- just for the

24      record noted that Mr. Cross identified the site bar

25      tool as another source of information in June 2018          06:21:04

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1       to pull together                                               06:21:10

2                                                              with

3                                               after 2015.

4       That's the purpose I'm asking for it.        And I

5       understand -- I'm happy to talk to you about that              06:21:23

6       offline.

7                  SPECIAL MASTER GARRIE:      Just because --

8       just let me weigh in here, so we heard that.             I

9       just want to set -- level set here.        If the

10      information exists in one source, and it is                    06:21:32

11      accessible and provided it's not necessary that all

12      sources need to be searched.

13                 So I just want to keep that in mind,

14      Counsel Schwing.     So before you go down the rabbit

15      hole, maybe first find out how the systems work                06:21:45

16      together and what data is in which, so that way we

17      don't have a lot of conversation about something

18      that may be encapsulated in something you've

19      already engaged with.     So just meet and confer.

20      And work that out.                                             06:21:58

21                 But more importantly, let's keep on point

22      with Mr. Cross, Mr. Melamed -- or Counsel Melamed

23      and Counsel Schwing, and move to next topic.             And

24      this is noted on the record and we'll keep it

25      going.                                                         06:22:09

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1                  MR. SCHWING:    Thank you.                           06:22:10

2                  MR. MELAMED:    Thank you.

3                  Why don't we take a five-minute break.

4                  MR. SCHWING:    Okay.

5                  THE VIDEOGRAPHER:       Okay.   We're off the        06:22:17

6       record.   It's 6:22 p.m.

7                  (Recess taken.)

8                  THE VIDEOGRAPHER:       We're back on the

9       record.   It's 6:38 p.m.

10                 MR. MELAMED:    So thank you for your                06:38:16

11      testimony, Mr. Cross, on topics 2 -- on behalf of

12      plaintiffs, we think we're going to need additional

13      testimony from a Facebook designee about some

14      questions you were unable to provide answers to.

15      But we'll deal with that off the record.          I just        06:38:32

16      want to establish that on the record.

17                 Otherwise thank you for your time.           And I

18      understand that Mr. Loeser is going to return for

19      some follow-up questioning regarding topics 6 and

20      7 after a short break, or after a break.                        06:38:48

21                 MR. SCHWING:    I -- I -- this is not the

22      time or place to argue.      So we can talk about that

23      off -- offline.   Matt, we had four days of -- of,

24      you know, five days almost now testimony and we

25      will meet and confer with you about that, and,                  06:39:08

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1       you know, and try to work through the issues.              And   06:39:11

2       as necessary and appropriate work with the

3       Special Master, and I'm happy to talk to you about

4       that.

5                     MR. MELAMED:    Thank you.                         06:39:21

6                     We can go off the record.

7                     (Discussion off the stenographic record.)

8                     THE VIDEOGRAPHER:     We're off the record.

9       It's 6:40 p.m.

10                    (Recess taken.)                                    06:40:21

11                    THE VIDEOGRAPHER:     We're back on the

12      record.      It's 7:29 p.m.

13                               EXAMINATION

14      BY MR. LOESER:

15              Q.    It is still good morning for me,                   07:37:08

16      Mr. Cross, but it's good evening for you.

17                    And I have some questions.        Hopefully it

18      won't take too long so we'll jump in and get

19      started.

20                    Are you able to continue testifying now?           07:37:26

21              A.    Yeah, let's keep going.

22              Q.    Okay.   Mr. Cross, in 2018 after --

23                    MR. SCHWING:    I'm sorry to interrupt you,

24      Mr. Loeser, it's just before we -- we can either do

25      this now or later.       Before the -- the testimony             07:37:41

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1       started back up, I indicated that Mr. Cross wanted                    07:37:44

2       to clarify something in his testimony.          I'll leave

3       it to you as to whether or not you want to do that

4       now or in a little bit.

5                   MR. LOESER:     If it's okay with you, I'm                07:37:55

6       fine if you want to just ask him for his

7       clarification on -- on a redirect type basis.                  That

8       I think probably works best for the record.               If

9       that works for you.

10                  MR. SCHWING:     Sure.   That's fine.         Thank       07:38:08

11      you.

12             Q.   (By Mr. Loeser)     Mr. Cross, in 2018 after

13      the Cambridge Analytica scandal broke, Facebook

14      received negative press about its data sharing

15      practices with apps and partners, correct?                            07:38:20

16                  MR. SCHWING:     Outside the scope.          Object

17      to form.

18                  THE DEPONENT:     I recall a number of

19      articles about Cambridge Analytica.

20             Q.   (By Mr. Loeser)     And were any of those                 07:38:36

21      articles -- would you consider any of those

22      articles as having been negative press about

23      Facebook's data sharing practices?

24                  MR. SCHWING:     Same objections.

25                  THE DEPONENT:     I recall concerns being                 07:38:52

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1       raised in -- in the media regarding -- regarding          07:38:54

2       the Cambridge Analytica situation, yes.

3            Q.   (By Mr. Loeser)     And Mr. Cross, after the

4       Cambridge Analytica scandal broke, Facebook sought

5       to sort out and identify which apps and partners          07:39:07

6       continued to have access to friends data through

7       whitelist; is that correct?

8                 MR. SCHWING:    Object to form.

9                 THE DEPONENT:     After Cambridge Analytica

10      the company -- the company undertook a number of          07:39:24

11      efforts to -- to understand and identify

12      applications that had access to information.

13           Q.   (By Mr. Loeser)     And sir, that

14      investigation looked specifically into applications

15      that had access to information through whitelists,        07:39:43

16      right?

17                MR. SCHWING:    Outside the scope.

18                THE DEPONENT:     My understanding is that

19      the -- the work that was done included looking at

20      the whitelists.   But it also included other              07:40:01

21      areas -- areas of inquiry too.

22           Q.   (By Mr. Loeser)     And, Mr. Cross, isn't it

23      the case that Facebook struggled to identify all of

24      the apps and partners that had access to friends

25      data through whitelist?                                   07:40:17

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1                    MR. SCHWING:    Vague.                              07:40:20

2                    THE DEPONENT:     The team working on

3       this -- this work faced -- faced a number of

4       challenges in pulling together a complete

5       understanding.     And they -- they worked hard to do            07:40:37

6       so.

7             Q.     (By Mr. Loeser)     And Mr. Cross, what were

8       the challenges that the team investigating

9       whitelists and specifically whitelists that

10      provided access to friends database?                             07:40:51

11                   MR. SCHWING:    Object to form.       Outside

12      the scope.

13                   THE DEPONENT:     So I wasn't -- I wasn't

14      there at the time, I'm afraid.         But -- sorry.      It's

15      hard to comment precisely on all of the challenges               07:41:10

16      that -- that were faced at the time.

17            Q.     (By Mr. Loeser)     Mr. Cross, can you

18      testify as to any of the challenges that were faced

19      at the time?

20            A.     So there were a number of different                 07:41:30

21      whitelists in place, and different mechanisms for

22      API access.     And the team had to pull together

23      to -- and did, in order to like fully understand

24      API access at the time.

25            Q.     And, Mr. Cross, was one of the challenges           07:41:58

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1       faced by the team trying to identify all of the            07:42:03

2       apps and parties that were whitelisted, the result

3       of how records were kept at Facebook of

4       whitelisting?

5                   MR. SCHWING:    Object to form.                07:42:17

6                   THE DEPONENT:     I can't say whether or not

7       that's the -- the challenges that the -- that the

8       team involved were -- were working through.

9            Q.     (By Mr. Loeser)     Was there one place

10      or -- or one source of information that the team           07:42:37

11      could look for to identify all of the whitelists

12      that provided access to friend data?

13           A.     My understanding is the team had to look

14      at -- at a few sources of information, and they did

15      so in order to pull together some understanding.           07:42:59

16           Q.     Was there more than one group or team

17      that could make the decision to whitelist apps and

18      partners?

19                  MR. SCHWING:    Object to form.

20                  THE DEPONENT:     Can you help me              07:43:19

21      understand, what do you understand by whitelist and

22      partners in what context?

23           Q.     (By Mr. Loeser)     In the context of the

24      discussion we're having now about providing access

25      to friend data.                                            07:43:30

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1                    MR. SCHWING:    Object to form.                 07:43:35

2                    THE DEPONENT:     So there were different

3       teams involved in managing access, the -- the

4       migration of the APIs in 2014 and 2015.            And so

5       it's possible the number of people involved.                 07:43:58

6            Q.      (By Mr. Loeser)     What -- what were the

7       different teams?

8                    MR. SCHWING:    Object to form.       Outside

9       the scope.

10                   THE DEPONENT:     My understanding is there     07:44:13

11      were several teams involved, the platform

12      partnerships team, for example, and we have all

13      partnerships teams, so those were two examples of

14      teams that would have been involved.

15           Q.      (By Mr. Loeser)     And are those teams that    07:44:32

16      had the authority to whitelist an app or a partner

17      to have continued access to friend data?

18                   MR. SCHWING:    Object to form.

19                   THE DEPONENT:     Can you be specific about

20      the -- the time period you're talking about.                 07:44:47

21           Q.      (By Mr. Loeser)     The period after 2014

22      when Graph API -- AP [sic] version 2 was uploaded?

23           A.      I'm sorry, what was the original question

24      again?

25           Q.      Did each of the teams you just mentioned        07:45:09

                                                                     Page 1144

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1       have authority to whitelist apps or partners to              07:45:11

2       have continued access to APIs that emit friend

3       data?

4                    MR. SCHWING:     Object to form.

5                    THE DEPONENT:     The decision to whitelist     07:45:22

6       apps for continued access to friend permissions,

7       for example, was taken on a -- on a case-by-case

8       basis among mul- -- multiple teams to come to a

9       recommendation decision.

10              Q.   (By Mr. Loeser)     Okay.    List for me all    07:45:41

11      of the teams that had the ability to do that?

12                   MR. SCHWING:     Object to form.

13                   THE DEPONENT:     I wouldn't be able to,

14      you know, a list of every single team that may have

15      been involved.     Over time I can talk to some of the       07:45:58

16      ones I've already identified.         There's the platform

17      product team, the platform partnerships teams and

18      they're the folks that would have worked together

19      to -- to come to a recommendation.

20                   MR. LOESER:     I'm going to introduce an       07:46:22

21      exhibit which is tab 34, which you should see

22      momentarily.     And this is Exhibit 434.

23              Q.   (By Mr. Loeser)     And while this is coming

24      up, I'll tell you this is an email from Dan Rose to

25      Ime Archibong dated 6/22/2018 subject "Re:                   07:46:59

                                                                     Page 1145

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1       V1 extensions."                                            07:47:03

2                  Do you see that, Mr. Cross?

3            A.    I do see that.

4            Q.    Why don't you take a minute to -- to look

5       through the email string.        And I have a few          07:47:13

6       questions for you about the string.

7            A.    Sure.    Thank you.

8                  MR. SCHWING:     Mr. Loeser, I think for the

9       record this was previously marked not too long ago

10      as 433, Exhibit 433.                                       07:47:45

11                 MR. LOESER:     Thank you for that

12      clarification.     We'll correct that.

13                 MR. SCHWING:     So you've -- you've now --

14      well, you can do what you want.        If you want to

15      have it as an exhibit twice I just want to make            07:48:02

16      sure there's no confusion.

17                 MR. LOESER:     Why don't we go off the

18      record real quickly.

19                 THE VIDEOGRAPHER:       Going off the record.

20      It's 7:48 p.m.                                             07:48:17

21                 (Recess taken.)

22                 THE VIDEOGRAPHER:       We're back on the

23      record.   It's 7:50 p.m.

24                 MR. LOESER:     So for the record, we just

25      marked an exhibit and didn't realize it had just           07:50:58

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1       been marked previously today, in fact.          So we will     07:51:01

2       pull down the second version of the same exhibit

3       and just refer to the originally marked version,

4       which is Exhibit 433.

5            Q.     (By Mr. Loeser)     And I have a couple more       07:51:16

6       questions about this exhibit.

7                   Mr. Melamed asked you a few questions

8       already.    So obviously I won't reask those.            But

9       fair to say -- have you had a chance to take a look

10      at this or do you recall from your earlier review              07:51:31

11      of it today what it's about?

12           A.     I have had a chance to review this just

13      now, thank you.

14           Q.     Okay.   So fair to say this email string

15      discusses the challenges Facebook faced in 2018                07:51:45

16      when trying to identify all the apps and partners

17      with continued access to friend data after 2014?

18                  MR. SCHWING:    Object to the form.

19                  THE DEPONENT:     This is conversation

20      between three people, and in the partnerships                  07:52:00

21      organization they're -- they're discussing an

22      ongoing process to -- to determine a list of apps

23      that had access to additional permissions after

24      May 2015.

25           Q.     (By Mr. Loeser)     Let's look at the -- if        07:52:25

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1       you go to the second page of the string, the                 07:52:26

2       message from Francisco Varela to Ime Archibong and

3       Dan Rose dated June 22nd, 2018.

4                  And at the top of the page you're looking

5       at, and I'll read the paragraph and then I have              07:52:42

6       some questions for you about it.

7                  Mr. Varela writes "Thanks, Ime.

8       been a linchpin in this process thanks to his

9       institutional knowledge and lack of documentation

10      on our end."                                                 07:52:55

11                 Mr. Cross, was there a lack of

12      documentation at Facebook about which partners and

13      apps were whitelisted?

14                 MR. SCHWING:    Outside of the scope of

15      topics 6 and 7.                                              07:53:10

16                 THE DEPONENT:     So that's -- that's the

17      phrase I -- I see in the email here.         There were --

18      there was documentation in various forms in various

19      places.   I think that's some of what's being

20      reflected here.   Exactly what these folks are --            07:53:38

21      are talking about is -- is the opinion that's being

22      presented by -- by them in this email.

23           Q.    (By Mr. Loeser)     And later in the same

24      paragraph Mr. Varela writes "For clarify, I think

25      we're in a good spot on the device partners, but             07:53:56

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1       getting surprised now on more traditional platform        07:53:59

2       developers and the Atlas integration." [as read]

3                 Can you tell me at Facebook what is the

4       difference between device partners and traditional

5       platform developers?                                      07:54:10

6            A.   So traditional platform developers would

7       refer to apps and integrations that users would log

8       in with Facebook with and so on to get a social

9       experience.

10                Device partners refers to examples where        07:54:38

11      Facebook partnered with device manufacturers in

12      order to build Facebook experience in -- Facebook

13      experiences into those devices.

14           Q.   And what are "Atlas integrations"?

15           A.   I'm not sure what Atlas integrations            07:55:06

16      means in -- in this context.

17           Q.   Do you know what it means in any context?

18           A.   I know that Atlas is a company that

19      Facebook acquired in the past.    But precisely what

20      was meant by an "Atlas integration" is -- is              07:55:24

21      nothing I know.

22           Q.   And why would it be surprising that

23      traditional platform developers were whitelisted

24      for access to friend data?

25                MR. SCHWING:   Outside the scope of the         07:55:45

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1       deposition.     Object to form.                            07:55:46

2                   THE DEPONENT:     So I think what you see in

3       this email is not necessarily surprised that they

4       were whitelisted more that the team is attempting

5       to pull together a full story.                             07:56:10

6            Q.     (By Mr. Loeser)     And is it your

7       understanding that KP is -- was the most

8       knowledgeable person at Facebook regarding app and

9       partner whitelist?

10                  MR. SCHWING:    Outside the scope of the       07:56:38

11      deposition.

12                  THE DEPONENT:     What you see here, and my

13      understanding is the -- the group of people working

14      together to -- to attempt to understand the full

15      picture and KP was a -- a key person in that               07:56:53

16      process.    You see him referred to here as a

17      linchpin.     And my experience working with him is he

18      was certainly very knowledgeable about how these

19      processes worked.

20           Q.     (By Mr. Loeser)     Mr. Cross, to prepare      07:57:11

21      for your testimony today, did you reach out to KP

22      and ask him any questions about the whitelisting

23      process or results?

24           A.     I did not speak to KP as part of my

25      preparations for today.                                    07:57:28

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1               Q.   Mr. Cross, can Facebook identify all apps       07:57:31

2       that had access to APIs that emit friend data post

3       2014?

4                    MR. SCHWING:    Object to form.

5                    THE DEPONENT:     Again, I think it's           07:57:49

6       important to -- I'm unclear on what you mean by

7       "friend data" in this -- in this context.

8               Q.   (By Mr. Loeser)     Okay.    How -- how does

9       Facebook use the term "friend data"?

10              A.   The -- Facebook has used that term in a         07:58:10

11      number of different ways.        Primarily, it refers to

12      content and information posted by a user that would

13      be made available via platform.

14              Q.   So using that definition, can Facebook

15      identify all apps that had access to APIs that emit          07:58:36

16      friend data after 2014?

17              A.   So my understanding is Facebook has

18      altogether an understanding of the apps which had

19      access to -- to friend data after 2014.

20              Q.   Can Facebook identify all Facebook users        07:59:02

21      who installed apps with access to APIs that emit

22      friend data after 2014?

23                   MR. SCHWING:    Object to form.       Outside

24      the scope.

25                   THE DEPONENT:     I'm not entirely confident    07:59:22

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1       that exactly what -- what Facebook can do in              07:59:24

2       that -- in that respect.      Yeah, so -- so sorry.

3       I'm not sure I know what Facebook is able to do.

4            Q.    (By Mr. Loeser)     Does Facebook keep track

5       of all apps that users install?                           07:59:43

6            A.    Yes, my understanding is that Facebook

7       understands which apps have -- or which users have

8       authorized which applications.

9            Q.    And Facebook also keeps track of all APIs

10      that apps have access to, right?                          08:00:08

11           A.    I don't think it's as simple as APIs that

12      an app has access to.      Facebook tracks a




15           Q.    Does Facebook track all of the different       08:00:30

16      ways that an app can acquire Facebook user

17      information from the Facebook platform?

18                 MR. SCHWING:     Object to form.

19                 THE DEPONENT:                     , for

20      example,                                                  08:00:48

21

22           Q.    (By Mr. Loeser)     So is there ever a

23      situation in -- in which Facebook would not know

24      that an app had access to Facebook user

25      information?                                              08:01:04

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1                   MR. SCHWING:    Object to form.                   08:01:08

2            Q.     (By Mr. Loeser)     On the Facebook

3       platform?

4                   MR. SCHWING:    Object to form.

5                   THE DEPONENT:     I'm sorry.     I'm not sure I   08:01:18

6       fully understand the question.

7                   Can you ask it again, please.

8            Q.     (By Mr. Loeser)     Sure.

9                   I'm just trying to make sure that the

10      record is clear on what Facebook knows about apps             08:01:27

11      that have access to friend data and users whose

12      information was made accessible to those apps.

13                  So you could describe -- describe it in

14      any way that makes sense to you, but answer that

15      question.                                                     08:01:41

16                  MR. SCHWING:    Compound.      Vague.

17                  THE DEPONENT:     Facebook knows




                                                                 to

20      those applications.    And together, those things             08:02:10

21      would help Facebook understand what




23           Q.     (By Mr. Loeser)     And that would include

24      what -- which users friend data was accessible to

25      those apps, right?    Let me ask that a different             08:02:29

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1       way.                                                              08:02:36

2                       Again, I'm trying to figure out --

3       Facebook knows who all of its users are, right?

4               A.      Facebook understands -- has -- Facebook

5       knows who its users are, yes.                                     08:02:50

6               Q.      And Facebook knows which apps those users

7       install, right?

8               A.      Facebook knows which apps users are --

9       have authorized.

10              Q.      And Facebook -- and Facebook knows which          08:03:05

11      APIs -- apps that use the Facebook platform have

12      access to?

13                      MR. SCHWING:    Vague.

14                      THE DEPONENT:     Facebook

15                                                                   --   08:03:23

16      the Facebook developer platform.

17              Q.      (By Mr. Loeser)     And Facebook knows which

18      of those APIs emit friend data, right?

19                      MR. SCHWING:    Object to form.

20                      THE DEPONENT:     I mean, Facebook                08:03:39

21      understands which of those AP- -- APIs emit user

22      data.        But whether or not that data




25              Q.      (By Mr. Loeser)     Whether the information       08:04:12

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1       was accessible was logged however, right?                   08:04:13

2                    MR. SCHWING:    Vague.

3                    THE DEPONENT:     Again, in what time period

4       are you referring to here.

5               Q.   (By Mr. Loeser)     After 2014.                08:04:30

6               A.   So again, like -- can you ask the

7       question again.     I want to make sure I'm fully

8       understanding it.

9               Q.   Yes.

10                   Again, I'm just trying to make sure the        08:04:54

11      record is clear on what information Facebook tracks

12      and has available to it.

13                   And we've gone down the list of

14      questions, and now we're at the question of whether

15      Facebook knows which apps had access to friend              08:05:06

16      data.

17                   After 2014?

18              A.   So -- my understanding is Facebook has an

19

                                               after 2015.          08:05:36

21              Q.   Mr. Cross, did Aleksander Kogan's sale of

22      Facebook data he obtained from the friends of users

23      who installed the, This Is Your Digital Life app,

24      exceed the use case for the app?

25                   MR. SCHWING:    Outside the scope of the       08:06:10

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1       deposition and object to form.                                08:06:12

2                    THE DEPONENT:    That seems to be a

3       question about platform policy as -- as written,

4       which is not something I'm -- I'm particularly well

5       qualified to -- to provide an opinion on.           I think   08:06:30

6       the best person to ask that question to would be

7       Ally Hendrix.

8                    SPECIAL MASTER GARRIE:      Mr. Cross, while

9       I appreciate you telling who's the -- are you

10      saying in your 30(b)(6) capacity that's who you               08:07:01

11      believe is the best person.       You're not -- you're

12      not able to answer that question today as you sit

13      here, is that -- I was just reading the transcript.

14      So I'm a second behind, but I want to make sure I

15      understood your answer.                                       08:07:18

16                   Can you answer that question or not, as

17      the 30(b)(6) capacity, right, let's be clear.

18                   MR. SCHWING:    Yeah, and -- and we've got

19      a scope objection there.

20                   SPECIAL MASTER GARRIE:      Yeah, with the       08:07:37

21      scope objections noted on the record.          I just --

22      Mr. Cross?

23                   THE DEPONENT:    Yeah, that -- that --

24                   SPECIAL MASTER GARRIE:      If you're not

25      prepared -- like let me be clear.         There's three       08:07:49

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1       possible answers.    I'm not prepared to answer the           08:07:52

2       question.    I am prepared to question [sic].            I

3       don't understand the question.

4                   THE DEPONENT:     Yeah, I'm not prepared to

5       answer the question.       I think that's a question          08:07:59

6       about platform policy and it's determination of the

7       platform policy, which is not something that I'm

8       prepared to testify on.

9                   SPECIAL MASTER GARRIE:       And that's what I

10      thought I understood your answer as.          I just wanted   08:08:09

11      to clarify it for the record.        Thank you.

12                  Back to you, Counsel Loeser.

13           Q.     (By Mr. Loeser)     And regardless of

14      whether you -- you believe you're prepared as a

15      30(b)(6) witness to testify to that or not which is           08:08:18

16      a question I suppose for another day, can you

17      answer the question?

18           A.     You're asking me in a personal capacity

19      to answer the question?

20           Q.     I'm just asking you to answer the                 08:08:35

21      question.    In what capacity you answer it I suppose

22      is something that can be determined.          But I would

23      like for you to answer the question.

24                  MR. SCHWING:     Outside of the scope.

25      Object to form.                                               08:08:48

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1                 THE DEPONENT:     Yeah, I can try answering     08:08:51

2       the question again.     We've had a number of things

3       go by, and if I'm going to try to answer it, I

4       should hear it again.

5            Q.   (By Mr. Loeser)     Did Aleksander Kogan's      08:08:57

6       sale of Facebook data he obtained from the friends

7       of users who installed the, This Is Your Digital

8       Life app, exceed the use case for the app?

9                 MR. SCHWING:     Same objections.

10                THE DEPONENT:     Again, I don't feel I can     08:09:14

11      provide a Facebook answer in -- a company answer in

12      response to that question.     I don't feel I'm the

13      most qualified person to do so.       My understanding

14      is that developers shouldn't be sharing information

15      they received from the Facebook with a -- with an         08:09:29

16      unrelated other party.

17           Q.   (By Mr. Loeser)     And would that be

18      considered a use-case violation?

19                MR. SCHWING:     It's outside of the scope

20      of the deposition.    Object to form.                     08:09:43

21                THE DEPONENT:     Again, that's -- that's a

22      question about platform policy, which I don't --

23      which I don't feel well prepared to answer on, I'm

24      afraid.

25           Q.   (By Mr. Loeser)     Okay.    Can you answer     08:09:58

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1       the question?                                               08:09:59

2            A.      Again, I don't feel like I can answer the

3       question.     As -- it would require me to have,

4       you know -- interpret policy which is not something

5       that I'm -- I'm an expert in being able to do.              08:10:10

6            Q.      So you're not able to answer that

7       question.

8                    MR. SCHWING:    Same objections.

9                    THE DEPONENT:    Yeah, I don't -- I don't

10      feel -- I don't feel comfortable giving an answer           08:10:25

11      to that question given -- I'm just not that well

12      versed in Facebook's platform policy.          And I want

13      to make sure that you get the right answers to your

14      questions.

15                   MR. SCHWING:    Special Master Garrie, may     08:10:42

16      I make a Rule 30 motion without Mr. Cross present.

17                   SPECIAL MASTER GARRIE:      Yeah, Mr. Cross

18      you can -- can you go to the break out room.

19                   THE DEPONENT:    Sure.

20                   MR. SCHWING:    Special Master Garrie,         08:11:03

21      Mr. Loeser is supposed to be asking questions about

22      topics 6 and 7.     Mr. Cross is not designated to

23      discuss the use-case issues that are being asked

24      about.    He's made that clear, but Mr. Loeser

25      continues to ask the questions.                             08:11:18

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1                   Mr. Cross is going to be providing                08:11:20

2       another deposition later in his personally

3       capacity.    We've been going for now, you know, near

4       five days and we need to try to finish.          So I would

5       request some relief here that we try to speed this            08:11:32

6       along on the topics he's actually designated for.

7                   MR. LOESER:    May I be heard,

8       Special Master Garrie.

9                   SPECIAL MASTER GARRIE:      Yeah.

10                  MR. LOESER:    So I'm asking questions that       08:11:43

11      are specifically and directly about friend sharing

12      and whitelisting.    And friend sharing is what

13      Cambridge Analytica is all about.        The notice, in

14      fact, refers to use cases with regard to

15      whitelisting which is what I'm about to ask further           08:11:56

16      questions on.    I don't have more questions about

17      Cambridge Analytica.      So we can move on from that.

18                  But it is simply not true that questions

19      about Cambridge Analytica which is friend sharing,

20      the whole scandal friend sharing, does not relate             08:12:08

21      to the topic of friend sharing identified in the

22      notice.

23                  So I don't think we need to have a long

24      fight about it because I don't have further

25      questions about the use-case issue regarding friend           08:12:16

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1       sharing, but I do have some additional questions             08:12:21

2       about use case relating to whitelisting because

3       it's specifically identified in --

4                   SPECIAL MASTER GARRIE:      It does state it

5       in the notice.                                               08:12:27

6                   Counsel Schwing, any comment?

7                   MR. SCHWING:    So topic 6 is related to

8       the development of friend sharing, that's the

9       topic, the development of friend sharing.          So this

10      is, you know, what we ought to be focused on.           I    08:12:45

11      don't see -- so where -- where is this bit about --

12      the use case that you're talking about.

13                  MR. MELAMED:    7A says and whether the

14      access granted exceeded the use case.

15                  MR. SCHWING:    Okay.    And 7 is, the topic     08:13:03

16      is the decision to whitelist particular apps or

17      partners.

18                  MR. LOESER:    That's what I'm about to

19      talk about --

20                  MR. SCHWING:    Sorry.    Please let me          08:13:14

21      finish, Mr. Loeser.

22                  MR. LOESER:    Sorry.

23                  MR. SCHWING:    The decision to whitelist

24      particular apps or partners and how Facebook

25      determined which entities to whitelist.                      08:13:18

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1                  So the topic is not sort of anything and            08:13:20

2       everything ever to do with, you know, about

3       whitelisting.     It's a specific narrow topic.           It

4       sounds like Mr. Loeser is moving -- moving along

5       and I -- I think we all share a mutual interest                08:13:32

6       in -- in finishing.      I just want to make sure that

7       we're not --

8                  SPECIAL MASTER GARRIE:       I agree.        I am

9       ready to rule.

10                 So Mr. Loeser, your questions he's                  08:13:40

11      answered them.     They are gracefully in a gray zone

12      that will bear into an area where it will prove

13      more problematic for you.      So if you're moving to

14      the next set of questions as 7A dictates you're

15      more than welcome to cover that topic as indicated             08:13:58

16      and as defined.     I don't have any problems with

17      that.   And I think that is appropriate.

18                 So I will move -- we will move forward

19      with the questions.      But friend sharing does relate

20      to a use case under 7A, under whitelisting                     08:14:15

21      defend- -- depending -- the definition of

22      whitelisting is defined as what Mr. Loeser --

23      Counsel Loeser?

24                 MR. LOESER:     Whitelisting is providing --

25      Mr. Cross has defined it as providing access to                08:14:33

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1       nonpublic APIs and private APIs, so...                           08:14:35

2                  I mean, I -- that's what I'm asking

3       about.   And --

4                  SPECIAL MASTER GARRIE:      I get it.        I

5       agree.   So that's fine.    We'll move along.          I think   08:14:45

6       that makes sense.

7                  Counsel Schwing, we'll move it along.            I

8       agree.   But I do think that there is a pretty wide

9       birth under 7A for as long as it stays focused on

10      the whitelisting topic.     And I think it's within              08:15:01

11      the scope of, while narrow is very specific in --

12      in its application.

13                 Any last comments, Counsel Schwing or...

14                 MR. SCHWING:    Yeah, I mean, I think all

15      of 7 kind of ties back to the beginning of it which              08:15:24

16      is the decision to whitelist particular apps or

17      partners and how Facebook determined which entities

18      to whitelist.     You know, the issues about exceeding

19      the use case.     I mean, there's a whole -- there was

20      a whole separate deposition about that.                          08:15:41

21                 SPECIAL MASTER GARRIE:      Yeah.

22                 MR. SCHWING:    And so look, I think we can

23      move along.     I just -- to the extent that they're

24      repeated questions about, you know, that he's --

25                 SPECIAL MASTER GARRIE:      Let me put it to          08:15:51

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1       you differently.     I agree with Counsel Schwing in         08:15:52

2       the fact that when you ask a question

3       Counsel Loeser, and he says "I'm not here to

4       testify about it."     And then he says it again "I'm

5       not here to testify about it."                               08:16:00

6                   That should be sufficient for you to move

7       onto another question and keep it moving forward,

8       generally speaking.       Or you can make a motion or

9       Rule 30 motion and we go and excuse the witness and

10      discuss it future.     But I don't think asking the          08:16:15

11      witness the same thing will prove to be effective.

12                  MR. LOESER:     Yeah, that -- that's fine.

13      I mean, you know, typically a scope objection is

14      made, 30(b)(6) witnesses testify all the time.

15      There's always a fight about whether it's in scope           08:16:29

16      or out of scope and if they provide what becomes

17      personal testimony there's nothing.          That's just

18      how it -- how it works.

19                  I'd also just note just so it's clear, I

20      think Mr. Schwing and I have a slightly different            08:16:39

21      understanding of how a notice operates under

22      30(b)(6).    The law is quite clear that it sets the

23      minimum not the maximum of what you can ask about.

24                  SPECIAL MASTER GARRIE:       I'm -- I'm not --

25      I'm not talking about scope.        I'm talking about        08:16:49

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1       form.                                                        08:16:51

2                    What I'm saying is, if you want to ask in

3       your personal capacity or in your non30(b)(6)

4       capacity to get -- he said, "I'm not here to

5       testify in my" -- as -- "as a representative of              08:17:00

6       Facebook to answer this question."

7                    You said, "Will you answer this

8       question."

9                    And then he said, "Do you mean in my

10      personal capacity?"                                          08:17:09

11                   And your response was "Just answer the

12      question."

13                   So if you want him to answer the question

14      in his personal capacity, he will.        But he will not

15      answer -- and that resulted in a circular set of             08:17:19

16      questions where you asked him again the exact same

17      question and ended up at the exact same point.

18                   So you would need to offer that

19      clarification because he has answered the question

20      as he understood it, which was you are asking him            08:17:30

21      in his professional 30(b)(6) capacity.         Which is

22      why he answered it accordingly.        Whether you agree

23      or not, that was the answer provided.         We went in a

24      circle and got back to the same point.

25                   MR. LOESER:   Yeah, well, fortunately I         08:17:44

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1       don't have any more questions on that.          And I do   08:17:44

2       have questions on whitelisting and use cases --

3                 SPECIAL MASTER GARRIE:        That's fine.

4       Let's get it on the road.     Show on the road.

5                 MR. LOESER:     I think Austin and I have a      08:17:53

6       common and -- and clear desire to make this

7       deposition over with.     So --

8                 MR. SCHWING:     This is --

9                 SPECIAL MASTER GARRIE:        Let's be clear

10      I -- I'm not opining with the minimum or maximum.          08:18:01

11      I am opining, though, with the format -- the form

12      of how it goes.     So we'll get the witness back.

13      But just keep that in the back of your mind,

14      Counsel Loeser --

15                MR. LOESER:     Sure.                            08:18:13

16                SPECIAL MASTER GARRIE:        -- that if it

17      happens again I'll cut it off, and I'll just tell

18      you to ask the next question.      Or you can tell him

19      in your personally capacity.      Because you have to

20      explain to the witness the question you're asking          08:18:20

21      so he can then answer the question.        He couldn't

22      answer the question because he didn't understand

23      how you were asking him.

24                MR. LOESER:     Understood.

25                SPECIAL MASTER GARRIE:        Okay.              08:18:30

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1                  MR. SCHWING:    I'll go get Mr. Cross here         08:18:31

2       and we'll get back.     Yeah.    I mean, look, I want to

3       get done too.   This is, you know, nobody wants to

4       prolong this.   So okay.     Let me -- I need to go

5       tell my housekeeper to stop vacuuming, and then I             08:18:40

6       will be right back.

7                  SPECIAL MASTER GARRIE:         Okay.

8                  THE VIDEOGRAPHER:      Go off the record?

9                  SPECIAL MASTER GARRIE:         Go off the record

10      for two minutes I guess.                                      08:18:53

11                 THE VIDEOGRAPHER:      Okay.     We're off the

12      record.   It's 8:18 p.m.

13                 (Recess taken.)

14                 THE VIDEOGRAPHER:      We're back on the

15      record.   It's 8:23 p.m.                                      08:23:24

16           Q.    (By Mr. Loeser)      Mr. Cross, what

17      examination has Facebook done to determine whether

18      apps whitelisted for access to APIs that emit

19      friend data exceeded the use case for the apps

20      after 2014?                                                   08:23:38

21                 MR. SCHWING:    Object to form.

22                 THE DEPONENT:     My understanding is that

23      the partnerships team

24      and -- and either

25                      or determined that the -- the                 08:24:06

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1       application                                                  08:24:10

2            Q.   (By Mr. Loeser)     And when did that occur?

3            A.   It was a process in 2018 and early 2019

4       to             that had been

                                 and -- and                          08:24:36

6

7            Q.   And did that same investigation also

8       examine whether partners with private APIs that had

9       access to friend data that exceeded the -- the

10      permissions for that data?                                   08:24:54

11           A.   Sorry.

12           Q.   Let me ask that again.

13                You asked the question with regard to

14      apps with access to APIs emit friend data.             And

15      does the same investigation you describe did that            08:25:07

16      also investigate private APIs access to friend data

17      for specific partners?

18                MR. SCHWING:     Object to form.

19                THE DEPONENT:     My understanding is that

20      an exercise in 2018 looked                                   08:25:30

21                                                 -- to

22




24           Q.   (By Mr. Loeser)     Has Facebook undertaken

25      any backward looking assessment of how third                 08:25:43

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1       parties with access to friend data after 2014 used         08:25:47

2       that data?

3            A.      Friend data after 2014?       Sorry, do you

4       mean after -- like the deprecation of API -- public

5       deprecation of API version 1 or what --                    08:26:11

6            Q.      Yeah.

7            A.      -- in 2014.

8            Q.      Yes, that transmission is the new

9       platform and you -- I'm wondering if Facebook has

10      looked at -- well, let me give you an example.             08:26:19

11                   Has Facebook evaluated whether Apple

12      shared friend data it received after 2015 with

13      additional third parties?

14                   MR. SCHWING:    Object to form.

15                   THE DEPONENT:     I -- I don't know whether   08:26:40

16      or not Facebook has investigated one particular --

17      that particular application that you're -- or that

18      particular partner that you're referencing there.

19           Q.      (By Mr. Loeser)     Mr. Cross, topic --

20      topic 7B asks for "the most efficient way to               08:27:17

21      establish payments, revenues, exchanged value

22      actual or promised, that Facebook received for" --

23      "for permitting whitelisting capabilities."

24                   And in your preparations for your

25      testimony for this -- on this topic, did you               08:27:54

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1       investigate that question?                                08:27:59

2            A.      I spoke to a number of people involved in

3       the API changes and in around 2014 and '15 to

4       understand their understanding of how decisions

5       were made.                                                08:28:26

6            Q.      And specifically with regard to payments,

7       revenues, exchanged value actual or promised, who

8       did you talk to to drill down on whether any such

9       payments, revenues, exchanged value actual or

10      promised were provided to Facebook for permitting         08:28:44

11      whitelisting?

12           A.      I spoke to Ime Archibong.     I spoke to

13      Francisco Varela, and those are the two names off

14      the top of my head.     I spoke to a number of people

15      involved in this -- in preparation for today.             08:29:08

16           Q.      Did you speak to anyone who worked on

17      the -- in an advertising department at Facebook?

18           A.      Did I speak to anyone in advertising

19      department.

20           Q.      Or more broadly, anyone that -- that was     08:29:30

21      involved in the business of advertising on the

22      Facebook platform?

23           A.      I spoke with Vatsal Mehta.     Who's

24      involved in -- in that side of the company as I

25      understand it.                                            08:29:49

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1            Q.   Okay.   And what -- what did -- is that          08:29:49

2       a -- what was that person's name, I'm sorry?

3            A.   Vatsal Mehta.

4            Q.   Could you spell the first name.

5            A.   V-A-T-S-A-L.     The surname is Mehta.           08:30:07

6       M-H-E-T-A [sic] I think.

7            Q.   And what did you learn from Mr. Mehta?

8            A.   He was not able to identify for me

9       examples of how Facebook received payments for

10      whitelisting.                                              08:30:34

11           Q.   Now, the next paragraph clause in the

12      notice says "and the revenues and net profits

13      Facebook recognized related to whitelisting through

14      the class period."

15                Did you investigate anything of value            08:30:54

16      received by Facebook that related to whitelisting?

17                MR. SCHWING:     Outside the topic.

18                THE DEPONENT:     Again, I spoke to a number

19      of people who were involved in whitelisting and

20      partnerships to understand if they had any                 08:31:19

21      understanding of value received or payments made.

22                MR. LOESER:     All right.    If we can put up

23      Exhibit 339.

24           Q.   (By Mr. Loeser)     Mr. Cross, I'm showing

25      you what was previously marked as Exhibit 339.             08:32:03

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1       Which was the PowerPoint prepared by Monica Mosseri           08:32:04

2       that goes through "Criteria for granting Exemptions

3       and Extensions."

4                  Do you recall this exhibit?

5            A.    Yes, I recall this -- us reviewing this            08:32:16

6       before.

7            Q.    And do you recall that the PowerPoint

8       goes through what Facebook had to lose in the

9       transition to the new platform from the partners?

10                 MR. SCHWING:    Object to form.                    08:32:40

11                 THE DEPONENT:     Before I answer can I take

12      a moment to -- to look through and refamiliarize

13      myself with the -- with the document.

14           Q.    (By Mr. Loeser)     You can, but I don't

15      have substantive questions about the document.          I'm   08:32:49

16      not going to go back over it.       I want to ask you

17      more what you have done to investigate the topics

18      identified in the document.

19                 But please if you want, take your time.

20           A.    Okay.   I've had a quick -- quick slice            08:33:18

21      through.   Thank you.

22           Q.    So you recall in this PowerPoint there

23      was an evaluation of what Facebook had to lose if

24      partners stopped using the Facebook platform

25      because of the deprecation of permissions.                    08:33:30

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1                 MR. SCHWING:     Object to form.                     08:33:33

2                 THE DEPONENT:     Sorry, another reminder

3       this is a -- my understanding is that this is a

4       draft deck.   It says that on the first page.          It --

5       it's worth noting.                                             08:33:47

6                 So what was the question you have,

7       Mr. Loeser.

8            Q.   (By Mr. Loeser)     I was just asking you if

9       you recalled what the subject matter is of the

10      PowerPoint was, having reviewed it yet?                        08:33:58

11           A.   My understanding is that this is a -- a

12      draft deck by someone in the partnership --

13      partnerships team looking into potential ways to

14      think about whether or not certain apps should be

15      granted exemptions or extensions.                              08:34:22

16           Q.   And did you search for other versions of

17      this PowerPoint to prepare for your testimony

18      today?

19                MR. SCHWING:     Object to form.

20                THE DEPONENT:     I didn't search for other          08:34:37

21      versions of this -- of this PowerPoint, no.

22           Q.   (By Mr. Loeser)     Did you talk to -- try

23      and talk to Ms. Mosseri?

24           A.   I did not try and talk with Ms. Mosseri

25      because my understanding is she's no longer an                 08:35:02

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1       employee of Facebook.                                       08:35:06

2            Q.   And that's why you didn't talk to her?

3            A.   My understanding is that yes, because she

4       is not employed at Facebook and it's not

5       appropriate to reach out to her.                            08:35:20

6            Q.   Did you talk to or seek to find out if

7       anyone else received this PowerPoint who still

8       works at Facebook?

9            A.   I didn't, like, try and understand who

10      else might have received this PowerPoint.        However,   08:35:44

11      I have spoken to Mr. Archibong who likely may have

12      received this -- this PowerPoint at some time.

13           Q.   And did you talk to him about this

14      PowerPoint?

15           A.   I talked to him about the -- his                  08:36:04

16      understanding of how valuations were -- were made

17      about apps to whitelisting.

18           Q.   But did you talk to him specifically

19      about this PowerPoint?

20           A.   I don't recall showing this PowerPoint to         08:36:21

21      Mr. Archibong, but we talked in general about the

22      topics contained within.

23           Q.   Did you talk to him about what Facebook

24      had to lose if certain partners stopped using the

25      Facebook platform?                                          08:36:36

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1                    MR. SCHWING:     Object to form.                     08:36:40

2                    THE DEPONENT:     We discussed whether or

3       not, what the potential implications of the changes

4       might be and how Facebook -- how he and his

5       partnerships team thought about those potential                   08:36:56

6       changes.

7              Q.    (By Mr. Loeser)     That's not quite what I

8       asked you.     So I will -- if you can answer the

9       question I had asked I would appreciate it.               Which

10      if I could get this computer to work I read back to               08:37:13

11      you.

12                   MR. SCHWING:     The court reporter could --

13                   MR. LOESER:     Yeah, I have it now.         I'm

14      sorry, Austin.     I didn't mean to interrupt you.

15                   MR. SCHWING:     Yeah, if -- if you could            08:37:25

16      read it again that would be wonderful, thank you.

17             Q.    (By Mr. Loeser)     Did you talk to

18      Mr. Archibong about what Facebook had to lose if

19      certain partners stopped using the Facebook

20      platform?                                                         08:37:38

21                   MR. SCHWING:     Object to form.

22                   THE DEPONENT:     We talked about -- me and

23      Mr. Archibong talked about the potential

24      implications for the developing ecosystem from

25      these changes that were proposed at the time.                     08:37:54

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1            Q.   (By Mr. Loeser)     And Mr. Cross, did that     08:37:57

2       include what Facebook had to lose if certain

3       partners stopped using the platform?

4                 MR. SCHWING:    Object to form.

5                 THE DEPONENT:     We talked about the           08:38:11

6       potential impact to developers and -- and the

7       developer ecosystem which would be an impact on --

8       on Facebook.

9            Q.   (By Mr. Loeser)     Mr. Cross, I'm just

10      trying to get a straightforward yes-or-no answer to       08:38:26

11      a straightforward question.

12                So I'll ask again.      And if you could just

13      answer, we can move on to the next question.

14                Do you need me to read back the question

15      again?                                                    08:38:41

16           A.   So we talked about the -- you're using a

17      phrase that -- "what do we have to lose."         Do I

18      recall using that specific phrase with

19      Mr. Archibong, I don't recall using that specific

20      phrase in that conversation with him.                     08:38:53

21                But I do recall we talked about his

22      understanding of the discussions at the time as to

23      the impact on Facebook and third-party developers

24      of the changes, which would encompass things that

25      the company might have to deal with and the value         08:39:16

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1       that the company might lose.                                 08:39:22

2            Q.      And, again, so the record is clear, you

3       did not talk to him specifically about this

4       PowerPoint, correct?

5            A.      I did not talk to Mr. Archibong                 08:39:30

6       specifically about this PowerPoint.           But we -- we

7       talked about the general topics contained within

8       which was important for me to help prepare myself

9       for -- for today's testimony.

10           Q.      Now for a PowerPoint -- for a PowerPoint        08:39:43

11      like this, would that have been a formal task or

12      Quip generated in connection with the project?

13                   MR. SCHWING:    Object to form.       Outside

14      the scope.

15                   THE DEPONENT:     Yeah, I can't say exactly     08:39:58

16      what the -- the partnerships team would have

17      operated at this time and whether or not they'd

18      have other documentation.        Typically somebody

19      would -- would be asked to work on something and

20      work on it.     I'm not able to say whether or not in        08:40:18

21      this case there were other tasks and documents.

22           Q.      (By Mr. Loeser)     Did you search for a

23      formal task generated in connection with this

24      project?

25           A.      I did not search for a task in                  08:40:39

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1       relationship to this specific deck.                       08:40:41

2            Q.   How about a Quip?

3            A.   I did not search for a Quip relating to

4       this specific deck either.

5            Q.   And were you able to determine what, if         08:40:57

6       anything, was done with this evaluation that's

7       contained in this PowerPoint by Facebook?

8                 MR. SCHWING:    Object to form.

9                 THE DEPONENT:     In talking to the -- to

10      the people involved, my understanding is that             08:41:16

11      this -- this PowerPoint does not -- was -- did not

12      go on to be used to determine which apps should or

13      should not be whitelisted.

14           Q.   (By Mr. Loeser)     And yet you didn't talk

15      about the PowerPoint specifically with anyone that        08:41:33

16      you talked to to prepare for your testimony, right?

17                MR. SCHWING:    Object to form.

18                THE DEPONENT:     I spoke to Mr. Archibong

19      about his recollection around the time and how

20      decisions were made, and he does not recall a             08:41:52

21      formal framework being used ultimately to make --

22      make decisions.

23           Q.   (By Mr. Loeser)     You didn't say

24      Mr. Archibong, have you seen this PowerPoint

25      before, right?                                            08:42:08

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1                   MR. SCHWING:    Asked and answered.             08:42:15

2                   THE DEPONENT:     As I said, I did not show

3       this PowerPoint to -- to Mr. Archibong.

4            Q.     (By Mr. Loeser)     You didn't say

5       Mr. Archibong, what do you think about the analysis         08:42:22

6       that's contained in the PowerPoint, right?

7            A.     Me and Mr. Archibong talked about how,

8       his recollection of how decisions were made and

9       ultimately what considers -- and what factors and

10      considerations were -- were included.          I -- I did   08:42:45

11      not specifically show him this PowerPoint.

12           Q.     Mr. Cross, isn't it a fact that Facebook

13      treated certain developers specially based on their

14      value to Facebook and ad spend?

15                  MR. SCHWING:    Object to form.                 08:43:07

16                  THE DEPONENT:     It's true that Facebook

17      whitelisted certain apps for having access to

18      additional information.       But I'm -- I'm not aware

19      of -- in terms of the friends' information whether

20      or not that was in any way related to -- to                 08:43:34

21      ad spend.

22           Q.     (By Mr. Loeser)     And so you don't know

23      one way or the other?

24                  MR. SCHWING:    Object to form.

25                  THE DEPONENT:     Sorry, I'm not sure I         08:43:46

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1       understand.                                                 08:43:48

2               Q.   (By Mr. Loeser)     So you don't know if, in

3       fact, certain developers were treated specially

4       based on their value to Facebook and ad spend,

5       right?                                                      08:43:59

6                    MR. SCHWING:    Object to form.

7                    THE DEPONENT:     Are you talking to the

8       people involved in terms of apps that were

9       whitelisted for extensions or exemptions to API

10      version 1, there was -- from the people I've spoken         08:44:15

11      to, there is nothing about their impact on ad spend

12      that was involved in the decision to whitelist

13      them.

14              Q.   (By Mr. Loeser)     And is that a question

15      that you asked?                                             08:44:34

16              A.   Yes, I asked people whether or not they

17      recall revenue being involved in the ultimate

18      decision to whitelist apps for access to friend

19      data, and I was not able -- everybody suggested to

20      me that -- that I spoke to that that was not the            08:44:56

21      case.

22              Q.   And the people that you spoke to are

23      Ime Archibong and who else?

24              A.   I spoke to Ime Archibong.        I spoke to

25      Francisco Varela, and a number of other people              08:45:20

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1       whose -- whose names in relation to this, I can't         08:45:26

2       recall right now.

3            Q.   And did you ask them if ad spend was

4       taken into the account in the decision to whitelist

5       any partners?                                             08:45:35

6            A.   Yes, my understanding is that from --

7       from the people I spoke to, ad spend was -- was not

8       taken into account in a decision to whitelist

9       anyone for an extension to -- or exemption from

10      the -- the changes in API version 1 to 2 with             08:45:56

11      respect to friends data.

12           Q.   And who specifically told you ad spend

13      wasn't taken into account?

14           A.   Mr. Archibong talked to me about ad spend

15      not being a deciding factor.      I'm sorry, he was one   08:46:17

16      of people who said that.

17           Q.   And you said "deciding factor."

18                Does that mean the same thing to you as

19      taken into account?

20           A.   Yes, that would mean the same thing to me       08:46:34

21      as taken into account in terms of the ultimate

22      decision to grant access.

23           Q.   And have you examined the number of

24      whitelisting partners that had significant ad spend

25      on the Facebook platform?                                 08:46:52

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1                     MR. SCHWING:    Object to form.                  08:46:55

2                     THE DEPONENT:     I'm not sure what you mean

3       by partners who have significant ad spend on the

4       Facebook platform.

5              Q.     (By Mr. Loeser)     Okay.    How would you       08:47:08

6       describe partners paying money to Facebook for

7       advertising on the platform?

8                     MR. SCHWING:    Object to form.

9                     THE DEPONENT:     So companies often buy ads

10      with Facebook, and that's handled by the -- the                08:47:28

11      advertising arm of the business.           So I think that's

12      what we mean...

13             Q.     (By Mr. Loeser)     Okay.    And has Facebook

14      examined the number of whitelisted partners that

15      paid money to Facebook for advertising on the                  08:47:45

16      Facebook platform?

17                    MR. SCHWING:    Object to form.

18                    THE DEPONENT:     I mean, many organizations

19      spend -- spend money with Facebook on -- in some

20      way.     So I'm kind of -- I'm not entirely sure how           08:48:04

21      to answer the question.

22             Q.     (By Mr. Loeser)     Well, let me ask it

23      again.      And I -- it's -- I'm trying to ask you a

24      very straightforward simple question, which is just

25      if Facebook has examined the number of whitelisted             08:48:13

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1       partners that paid money to Facebook to advertise                08:48:20

2       on the Facebook platform, is that an examination

3       that Facebook has conducted?

4                       MR. SCHWING:    Vague.

5                       THE DEPONENT:     I'm not aware of -- of a       08:48:35

6       specific evaluation that was done with respect to

7       whitelisting parties and ad spend.

8               Q.      (By Mr. Loeser)     Is that an evaluation

9       that Facebook is capability of doing?

10                      MR. SCHWING:    Object to form.       Outside    08:48:56

11      the scope.

12                      THE DEPONENT:     I don't know exactly how

13      our -- our advertising systems work.              I -- I'm not

14      sure -- I wouldn't be able to confirm if that's

15      something Facebook would be able to do.                          08:49:10

16              Q.      (By Mr. Loeser)     Who would you ask to

17      find out if that's an analysis that Facebook was

18      capable of doing?

19              A.      Again, I'm not entirely clear on the --

20      the analysis that -- that was suggesting could be                08:49:36

21      done.        So it's hard for me to suggest what I would

22      do next.        This is relatively vague in terms of,

23      like, the time and objectives that we were

24      suggesting.

25              Q.      Does Facebook keep track of the amount of        08:50:03

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1       money that its partners pay to Facebook?                     08:50:05

2                    MR. SCHWING:    Outside of the scope.

3                    THE DEPONENT:     Can you help me understand

4       by what you mean by "partners and pay," in what

5       context?                                                     08:50:23

6               Q.   (By Mr. Loeser)     In the context of the

7       conversation we're having about whitelisted

8       partners.     And, again, I'm just trying to sort out

9       what Facebook is capable of identifying.

10                   So tell me if I'm wrong.       Facebook keeps   08:50:34

11      track of money received from any partners,

12      including its whitelisted partners, right?

13              A.   Again, Facebook keeps -- Facebook will

14      track revenue spent on ads by -- by corporations

15      and companies and -- and entities.          So that's part   08:50:57

16      of the standards -- Facebook's standards --

17      standard business practices for running an ad

18      system.

19                   By "partners," I assume you mean entities

20      that Facebook worked with as part of the Facebook            08:51:14

21      developer platform.     And so if -- if that's what

22      you mean -- well, first of all is that what you

23      mean?

24              Q.   Here's what I mean.      Facebook has

25      identified all of the apps and partners that it              08:51:30

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1       whitelisted for access to friend data, right.               We    08:51:34

2       went through that the other day.

3            A.     Yes, Facebook has -- has enacted an

4       exhaustive effort to identify apps and partners

5       that were whitelisted for access to friend data.                  08:51:47

6            Q.     So what would Facebook need to do to also

7       identify for those very same entities the revenue

8       spent on ads on the Facebook platform?

9                   MR. SCHWING:    Outside the scope.           Object

10      to form.                                                          08:52:04

11                  THE DEPONENT:     Again, in that context,

12      it's hard for me to know exactly what -- what

13      Facebook would do.    Apart from the -- but the

14      conversation with the -- between the -- the teams

15      that run the Facebook advertising business and the                08:52:25

16      teams that maintain the Facebook developer

17      platform.

18           Q.     (By Mr. Loeser)     Before 2018, did

19      Facebook have a comprehensive list of all app

20      capability pairs that it had granted?                             08:52:40

21           A.




24           Q.     And how was that maintained before 2018?

25           A.     That was maintained through the                       08:53:03

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1       capabilities tool.                                             08:53:05

2            Q.      And before 2018, did Facebook

3       systematically track which capabilities emitted

4       user data and which third parties had access to

5       that data?                                                     08:53:17

6                    MR. SCHWING:    Compound.

7                    THE DEPONENT:     The capabilities tool




10           Q.      (By Mr. Loeser)     And when you say "at          08:53:39

11      that time," what was the time -- you're saying

12      prior to 2018 the capability tool

                        is that right?

14                   MR. SCHWING:    Vague.

15                   THE DEPONENT:     I think -- sorry, Austin.       08:53:52

16                   MR. SCHWING:    I said objection.       Vague.

17                   Go ahead and answer, if you're able to.

18                   THE DEPONENT:     Prior to I think 2018 when

19      that specific field was introduced into the

20      capability tool,                                          to   08:54:10

21      identify which capabilities had




23           Q.      (By Mr. Loeser)     Before 2018 did Facebook

24      have a formalized process for requirements for

25      determining which third parties would receive                  08:54:29

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1       certain capabilities?                                         08:54:32

2            A.   There was a process by which a capability

3       would be granted to an application which was

4       standard at the time.

5            Q.   And what was that process?                          08:54:53

6            A.                                                that

7       the capability                           and then

8       another




10           Q.   And this was -- was this a written                  08:55:09

11      process, a formal process?

12           A.   That mechanism was -- was instituted by

13      the way the capability tool worked.        I wouldn't say

14      it was a written process.

15           Q.   And when you say




17                What

18      and wh

19                MR. SCHWING:    Object to form.

20                THE DEPONENT:     My understanding at the           08:55:45

21      time, is technically

                          d to an app.      And then a

                         had the ability to --




25           Q.   (By Mr. Loeser)     And who were the                08:56:01

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1                   who could                       ?                    08:56:02

2              A.      I'm not sure which people at which times

3       had -- had that -- had those -- had that power.

4              Q.      What were their positions?

5              A.      Again, the -- the positions of the people         08:56:25

6       in terms of their job titles would have varied

7       depending on which specific people had that -- had

8       that ability at the time.        So it's hard for me to

9       say.

10             Q.      And when a -- when a certain capability           08:56:42

11      was made available, was there a written report or

12      record of the reason why the capability was made

13      available?

14             A.      The capability tool includes a

15                           -- of most capabilities which               08:57:08

16

17             Q.      And when did it -- when did the tool

18      start including that

19             A.      The                     as I understand it

20                                                                       08:57:29

21      but not every capability would have -- would have

22      had a -- necessarily                                      for.

23             Q.      Previously you indicated you were not

24      prepared to testify on when, if ever, Facebook

25      deprecated all APIs that emit friend data.                       08:57:51

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1                 Do you remember that testimony?                  08:57:55

2                 MR. SCHWING:    Object to form.

3                 THE DEPONENT:     I don't recall

4       specifically saying that, I'm afraid.        But...

5            Q.   (By Mr. Loeser)     Can you testify as to        08:58:12

6       when, if ever, Facebook deprecated all APIs that

7       emit friend data?

8            A.   I can talk through the processes that

9       Facebook has gone through since 2018 to

10      dramatically limit the amount of information made          08:58:32

11      available to third-party apps.

12           Q.   And you've done that.       And my question is

13      a little different than that.

14                And, again, I -- I'm asking you again

15      because of some correspondence with your counsel           08:58:48

16      which seems to suggest that this is a question that

17      you can answer, or that it would be difficult to

18      answer, or that you might be able to answer, I just

19      want to drill down and figure out if you can -- if

20      you can answer it or not.                                  08:58:59

21                Can you identify when, if ever, Facebook

22      deprecated all APIs that emit friend data?

23                MR. SCHWING:    Object to form.

24                Go ahead, Mr. Cross.

25                THE DEPONENT:     Yes, I have -- speaking to     08:59:14

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1       people involved I've identified the -- the APIs           08:59:16

2       that emit friend data, and I understand when they

3       were deprecated and when third-party apps were

4       removed from the whitelists relating to those APIs.

5               Q.   (By Mr. Loeser)     Okay.    And has -- we   08:59:37

6       talked about a number of APIs that you had

7       previously indicated continue to emit friend data

8       after 2018.     And can you -- can you tell me as to

9       those APIs, has Facebook, in fact, deprecated them

10      at this point so that they no longer emit friend          08:59:52

11      data?

12              A.   Yes, I can.   So the -- the first master

13      in here is in               , when the friend

14      permissions were deprecated and removed, such that

15      they had no effect for any app regardless of any          09:00:12

16      whitelist they were on.        And so that happened the

17      last day that -- those permissions had any effect

18      was the -- was the

19              Q.   Okay.   And what about the other APIs that

20      we talked about that -- that also emit friend data.       09:00:34

21                   Do you remember what those were?

22              A.   I can give some examples of -- of APIs I

23      think are pertinent here.        So the two others that

24      we talked about previously were the invitable and

25      tagable friends APIs.      Those were changed on the --   09:00:51

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1       the                         at -- such that regardless        09:00:57

2       of -- of any whitelist as I understand it, those

3       APIs would return no information.

4                    MR. SCHWING:     Sorry, Mr. Loeser you're on

5       mute.                                                         09:01:32

6                    MR. LOESER:     Sorry.

7               Q.   (By Mr. Loeser)     You identified invitable

8       friends and tagable friends, and we -- we talked

9       about a number of other APIs that you also

10      testified emit friend data, including events and              09:01:39

11      groups and user posts, user photos and so on.

12                   As to all those other APIs that you

13      previously identified, has Facebook deprecated all

14      of them as well at this point?

15              A.   Yes, my understanding is that the -- the         09:01:59

16      ability for an app to read likes and comments by

17      friends on a users own photos is also no longer

18      available.

19              Q.   And when was that deprecated?

20              A.   At the -- the -- the deprecation took            09:02:25

21      place on the -- the                      as I understand it

22

23              Q.   Okay.   And the other APIs that you talked

24      about?

25              A.   So the groups API was updated in --              09:02:42

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1                    .   Particularly on the               , such that        09:02:47

2       a new permission was required for apps to access

3       the profile information of somebody who had posted

4       in a group and, that change rolled out soon after

5       that.                                                                 09:03:13

6               Q.       And when you say the "                     of what

7       year?

8               A.       Oh, sorry, my understanding is that

9       permission was announced and those changes made on

10      the                                                                   09:03:23

11              Q.       And how about private API capabilities

12      that emit friend data, have those all now been

13      deprecated?

14              A.       So the first thing to say is the -- the

15      change to the friend permissions on the                               09:03:44

16                        would have effected all apps regardless

17      of white- -- whitelisting specifically with regard

18      to the friend permissions.          So the friend

19      permissions private or public had no effect for any

20      app after the                             .                           09:04:05

21              Q.       Okay.   And is there any other way other

22      than friend permissions that private API

23      capabilities would emit friend data?

24              A.       So one other way is access to the

25      newsfeed API, which we talked about previously,                       09:04:23

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1       read stream.     My understanding is that the -- the      09:04:26

2       final app was removed, the final third-party app

3       was removed from that whitelist in

4            Q.     And when you say "the final app in

5                         what was the final app, do you know?    09:04:50

6            A.     My understanding is the last app to be

7       removed was Tobii, T-O-B-I-I, which was an

8       accessibility app for people with ALS.

9            Q.     And how about between March of 2018 and

10                     , how many apps or partners continued      09:05:06

11      to have access to those capabilities during that

12      timeframe, do you know that?

13           A.     The process to wind down partner

14      integrations began in April 2018 and continued over

15      2018 and early 2019.     Exactly I can't remember the     09:05:29

16      exact numbers of -- of which apps were -- were

17      included.    But my understanding is that that

18      program or the whitelisting program was wound down

19      probably by the               .

20           Q.     And, Mr. Cross, are there any other ways      09:05:53

21      that friend data is emitted by Facebook other than

22      those that you've described that are ongoing?

23           A.     The answer to that question is -- is a

24      little complicated depending on the precise --

25      precise definition of -- of friend data.                  09:06:14

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1                 And so -- so that makes it hard to answer       09:06:17

2       your question in -- in the affirmative.

3            Q.   Okay.   Well, what are the ways in which

4       friend data is still emitted?     And if to answer

5       that question you have to explain what friend data        09:06:38

6       means in that context, please do so.

7            A.   So using the definition of -- of friend

8       data which is information -- somebody else's

9       information which a user emits or could emit to a

10      third-party application by nature of them being a         09:07:01

11      friend, my understanding is that Facebook has

12      removed all the ways in which a users friends data

13      would be emitted to a third-party app to the nature

14      of them being a friend.

15           Q.   Okay.   And you said that your answer           09:07:25

16      "depended on how you define friend data."

17                So is there another definition of friend

18      data that you have in mind which if applied would

19      lead you to testify that friend data continues to

20      be emitted now?                                           09:07:40

21           A.   Again, it's -- it depends what you mean

22      by what's meant by friend data.     What I'm referring

23      to here is information that's posted or entered by

24      a users friend, which would be emitted by the

25      nature of them being a friend to a third party.           09:08:08

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1            Q.     And, again, I'm just trying to understand     09:08:20

2       your earlier testimony.

3                   So is there some other type of friend

4       data that continues to be emitted today?

5            A.     For example, if I managed a page and I        09:08:37

6       had an app managing my page, and one of my friends

7       posted publicly on that page, it's possible that an

8       app would have access to that public content.

9                   So that's the example of -- of

10      information that's about a friend which might be          09:09:03

11      emitted.

12           Q.     Can you think of any other examples?

13           A.     That's really the -- the example I can

14      think of.

15           Q.     Mr. Cross, I asked you previously about       09:09:22

16      the factors that led Facebook to deprecate APIs

17      that emit friend data after the Cambridge Analytica

18      scandal, and you were not prepared at the time to

19      testify; however, I understand that you are now

20      able to testify to that.     If I -- if I understand      09:09:36

21      that correctly, could answer that question?

22                  MR. SCHWING:   Object to the form of the

23      question.

24                  Derek, I hesitate here, but let me just

25      try to be helpful.    And in the interest -- I            09:09:58

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1       just -- if -- if you can just ask him the question                09:10:02

2       as opposed to --

3                    MR. LOESER:    Sure.    Sure.

4                    MR. SCHWING:    -- having representations

5       of counsel that's my problem with it, okay.                       09:10:05

6                    MR. LOESER:    Yeah, and I appreciate that.

7       And I'm not trying to pick a fight with you.              I was

8       just trying to make sure that --

9                    MR. SCHWING:    Yeah.    No, I --

10                   MR. LOESER:    I'm not trying to ask him             09:10:14

11      questions that he's not able to answer.            I'm trying

12      to --

13                   MR. SCHWING:    Yeah.

14                   MR. LOESER:    -- ask questions now which

15      he is able to answer based on our communications.                 09:10:17

16              Q.   (By Mr. Loeser)     So let me just ask

17      again.

18                   Mr. Cross, what are the factors that led

19      Facebook to deprecate APIs that emit friend data

20      after the Cambridge Analytica scandal?                            09:10:28

21              A.   In 2018 following the situation around

22      Cambridge Analytica, the company




24                   A number of the reasons why some of those

25      partnerships had built -- had been built, for                     09:10:55

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1       example, the device integrations.       They were built        09:10:57

2       in a -- in a world where there were many more

3       mobile operating systems out there.          By 2018 most

4       people were using iOS and Android.

5                 And there were concerns raised around the            09:11:20

6       Cambridge Analytica situation that indicated that

7       there were concerns with how information was shared

8       with third parties.   And Facebook under --

9                                                              as to

10      whether or not                           .                     09:11:45

11           Q.   Mr. Cross, was it wrong for Facebook to

12      publicly state it was getting rid of apps ability

13      to get Facebook user data from users friends when,

14      in fact, it continued to allow a number of apps to

15      do just that?                                                  09:12:05

16                MR. SCHWING:    Lacks foundation.        Vague.

17      Outside of the scope of the deposition.

18                THE DEPONENT:     I'm not aware of

19      statements that were made -- statements that

20      Facebook has made to -- to that effect.                        09:12:22

21           Q.   (By Mr. Loeser)     Respectfully, Mr. Cross,

22      that's not the question I asked you.

23                So I'll ask the question again, and if

24      you can answer the question, I would appreciate it.

25                Was it wrong for Facebook to publicly                09:12:37

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1       state it was getting rid of apps ability to get                09:12:39

2       Facebook user data from users friends when, in

3       fact, Facebook continued to allow a number of apps

4       to do just that?

5                       MR. SCHWING:    Outside of the topics of 6     09:12:53

6       and 7.

7                       THE DEPONENT:     Again, I'm not aware of --

8       of a statement that -- that Facebook's made to --

9       that would indicate Facebook believes that that's

10      the case.                                                      09:13:07

11              Q.      (By Mr. Loeser)     Mr. Cross, I'm not

12      asking you if you're aware of the statement

13      Facebook has made.        I'm asking you as Facebook's

14      corporate designee, whether it was wrong for

15      Facebook to publicly state it was getting rid of               09:13:17

16      apps ability to get Facebook user data from the

17      users friends when, in fact, Facebook continued to

18      allow a number of apps to do just that?

19                      MR. SCHWING:    Vague.    Lacks foundation.

20      Outside the scope of the definition.                           09:13:32

21                      THE DEPONENT:     I -- I -- I'm afraid, I

22      don't work in -- in corporate communications, and

23      so I'm not an expert in what statements Facebook

24      made or should have made around -- around this

25      time.        As I said, I'm not aware of statements that       09:13:52

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1       Facebook has made to indicate that.                          09:14:00

2            Q.      (By Mr. Loeser)     And, Mr. Cross, are you

3       unable to testify as Facebook's corporate designee

4       as to whether it was wrong for Facebook to state it

5       was getting rid of apps ability to get Facebook              09:14:11

6       user data from a users friends when, in fact,

7       Facebook continued to allow a number of apps to do

8       just that?

9                    MR. SCHWING:    Outside of the scope of

10      topics 6 and 7.     And lacks foundation.                    09:14:24

11                   THE DEPONENT:     As I said like -- I'm

12      not -- I don't feel comfortable giving an answer on

13      behalf of the company there.         I've given -- I'm not

14      an expert in, or I'm not really working in

15      corporate communications or -- really have the               09:14:46

16      expertise required to -- to answer that question

17      like that, I'm afraid.

18           Q.      (By Mr. Loeser)     Mr. Cross, you testified

19      that one reason Facebook gave third parties access

20      to friend information after 2014 was to avoid                09:15:07

21      breaking the user experience, right?

22                   MR. SCHWING:    Object to form.

23                   THE DEPONENT:     I recall we -- we were

24      discussing the -- the reasons for giving some apps

25      additional time to migrate between API version 1             09:15:28

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1       and version 2.                                                09:15:33

2               Q.     (By Mr. Loeser)     So that the user

3       experience will not be broken?

4                      MR. SCHWING:    Object to form.

5                      THE DEPONENT:     My understanding is --       09:15:39

6       sorry.       My understand is that's one of the reasons

7       why Facebook allowed apps extra time to transition

8       from version 1 to version 2.

9               Q.     (By Mr. Loeser)     So for third parties who

10      received friend information after 2014, their user            09:15:56

11      experience was not broken, right?

12                     MR. SCHWING:    Object to form.

13                     THE DEPONENT:     So I'm not -- I'm not sure

14      I understand the question since -- can you -- I'm

15      not sure I understand the question.                           09:16:13

16              Q.     (By Mr. Loeser)     You understand what it

17      means to break the user experience, right?

18              A.     Different applications behave in

19      different ways when the API is -- is changed for

20      them.                                                         09:16:28

21              Q.     And APIs that -- that apps that depend on

22      friend information if the friend information no

23      longer is available that breaks the user

24      experience, right?

25              A.     It could break the user experience.            09:16:41

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1       Again, the precise way in which the application was       09:16:43

2       effected would be different from application to

3       application.

4            Q.   Okay.     But for an app that depends upon

5       friend data, if that app was continued to                 09:16:53

6       allowed -- continued to have access to friend data,

7       than the user experience would not be broken,

8       right?

9                 MR. SCHWING:     Object to form.

10                THE DEPONENT:     Typically where an app is     09:17:08

11      built to work with a particular version of an -- or

12      a particular way an API works and then that API

13      doesn't change, then the behavior of the app also

14      would not change.

15           Q.   (By Mr. Loeser)     Okay.    And there were     09:17:23

16      many third-party applications who before 2015

17      relied on nonapp friend information for their user

18      experience, right?

19           A.   There were applications built prior --

20      prior to 2014 which reviewed friends information in       09:17:41

21      various ways.

22           Q.   And not just various ways but for the

23      user experience, right?

24           A.   Some apps would have used that

25      information very much in the user experience.             09:18:01

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1            Q.   Mr. Cross, not all those third parties          09:18:04

2       received an extension or access to a private API,

3       right?

4            A.   Facebook gave developers a year to

5       transition from API version 1 to version 2.               09:18:20

6            Q.   Okay.   And not all apps received

7       extensions beyond that time period, right?

8            A.   Not all apps were -- were given

9       additional time to migrate.

10           Q.   And so for those apps that relied on            09:18:36

11      friend information for the user experience that did

12      not receive an extension beyond a year, the -- the

13      user experience was broken for those apps, right?

14                MR. SCHWING:    Object to form.

15                THE DEPONENT:     I don't think that's an       09:18:59

16      appropriate characterization to make.        Many

17      developers updated their application, such that it

18      continued to -- to operate.

19           Q.   (By Mr. Loeser)     But for those that

20      depended on the same nonapp friend information that       09:19:15

21      they got before the transition to the new platform,

22      the user experience was broken for those apps,

23      right?

24                MR. SCHWING:    Object to form.

25                THE DEPONENT:     No, I don't think that's      09:19:31

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1       an appropriate characterization to make.          Apps --   09:19:33

2       developers were in many cases up -- able to update

3       their application such that it did not rely on

4       access to that information.

5            Q.    (By Mr. Loeser)     So there were no apps        09:19:49

6       for which the user experience was broken as a

7       result of not providing the app with private API

8       for that information?

9                  MR. SCHWING:     Object to form.

10                 THE DEPONENT:     That's also not quite what     09:20:04

11      I said.   I said that many -- many developers were

12      able to update their application.        Others choose

13      to -- chose to stop offering their application.

14      And there would have been some developers who did

15      none of those things.      And their application would      09:20:19

16      behave in different ways depending on exactly how

17      their application was built.

18           Q.    (By Mr. Loeser)     So how did Facebook

19      decide which user experiences to break and which

20      user experiences not to break when it came to               09:20:31

21      providing friend sharing extensions?

22                 MR. SCHWING:     Object to form.

23                 THE DEPONENT:     Facebook evaluated -- the

24      partnerships team at Facebook along with the -- the

25      work team, evaluated whether or not it was                  09:20:51

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1       appropriate to grant an extension typically based         09:20:59

2       on whether or not the developer had the -- the

3       ability -- had been able to update their

4       integration in time, and whether or not more time

5       would prevent a broken user experience.                   09:21:17

6            Q.    (By Mr. Loeser)     Mr. Cross, have you been

7       able to figure out what a "T0" partner is?

8            A.    My understanding is that T0 represents a

9       categorization by the partnerships team of certain

10      partners of app developers.                               09:22:02

11           Q.    And, Mr. Cross, how many T0 partners were

12      whitelisted for friend data access after 2014?

13           A.    I don't know exactly which apps were

14      categorized as T0 partners or -- or which of them

15      continued to have the access for -- for some period       09:22:23

16      of time.

17           Q.    That's information that Facebook

18      possesses, right?

19                 MR. SCHWING:    Object to form.

20                 THE DEPONENT:     I don't know whether or      09:22:34

21      not apps categorized this -- this -- well,

22      developers categorized this -- this T0 as -- as

23      something that Facebook still has access to.

24           Q.    (By Mr. Loeser)     Any reason for you to

25      believe that Facebook cannot identify all of its T0       09:22:54

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1       partners from 2007 to present?                                 09:22:57

2                  MR. SCHWING:    Object to form.

3                  THE DEPONENT:     I'm just not sure what

4       the -- how -- how lists of what would be considered

5       T0 partners were -- were kept at various times, in             09:23:11

6       the concept of T0 is not something that's existed

7       from 2007 onwards.

8                  Sorry, consistently existed from 2007

9       onwards.

10           Q.    (By Mr. Loeser)     Mr. Cross, does                 09:23:30

11      Jackie Chang still work for Facebook?

12           A.    I'm -- I think she may still work for

13      Facebook but is on maternity leave.

14           Q.    And to prepare for your testimony

15      regarding friend sharing and whitelisting, did you             09:23:46

16      speak with Jackie Chang?

17           A.    I did not speak with Jackie Chang.           As I

18      understand she's -- she's currently on leave.

19           Q.    Is that the reason why you didn't try to

20      speak with her?                                                09:24:02

21           A.    Typically if someone is on leave, I would

22      generally like to leave them on leave.

23           Q.    And do you know when she returns from

24      leave?

25           A.    I -- I'm not sure when she returns from             09:24:19

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1       leave, I'm afraid.                                            09:24:22

2                  MR. LOESER:     Why don't we go off the

3       record.

4                  THE VIDEOGRAPHER:     Okay.    We're off the

5       record.   It's 9:24 p.m.                                      09:24:38

6                  (Recess taken.)

7                  THE VIDEOGRAPHER:     We're back on the

8       record.   It's 9:34 p.m.

9                              EXAMINATION

10      BY MR. SCHWING:                                               09:34:07

11           Q.    Mr. Cross, I just have a couple of

12      follow-up questions.     Earlier you gave some

13      testimony regarding site bar in the gatekeeper

14      tool, and you indicated that there was some

15      migration information into the capabilities tool.             09:34:19

16                 Do you remember that testimony?

17           A.    Yes, I recall being asked.

18           Q.    Can you explain further the migration

19      that took place then?

20           A.    So my understanding is that -- between             09:34:37

21      2018 and '19 an effort was undertook to migrate any

22      site bars or gatekeepers which refied to the API

23      behavior for a                 , or                     was

24      migrated into the capability tool and all relevant

25      information was -- was -- was also migrated.                  09:35:06

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1                  Such that today, my understanding is the       09:35:09

2       capability tool is a complete picture of ways in

3       which apps access to information by the API has

4       not -- has been managed.

5            Q.    Were third parties whitelisted for friend      09:35:43

6       information because of the revenue that they

7       deliver to Facebook?

8            A.    No.

9            Q.    Are third parties whitelisted for friend

10      information because of their advertising spend?           09:35:58

11           A.    No.

12                 MR. SCHWING:    I don't have anything

13      further.

14                 MR. LOESER:    Brief follow up.

15                       FURTHER EXAMINATION                      09:36:10

16      BY MR. LOESER:

17           Q.    You referred to an effort to migrate, was

18      it site bar -- what was migrated from what to what?

19           A.    So the gatekeeper tool contained a number

20      of gatekeepers, which we used to                          09:36:32

21                                                    and --

22      where Facebook uncovered or identified -- sorry,

23      where Facebook identified gatekeepers that were

24      based on an         then that gatekeeper was

25      migrated to be a capability.                              09:36:58

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1            Q.     And what prompted that migration?             09:37:00

2            A.     A desire to have a single tool to manage

3       all of the ways in which the API behavior could be

4       modified.

5            Q.     Now, Mr. Cross, in response to                09:37:37

6       Mr. Schwing's question about revenue, you've

7       testified that partners were not whitelisted for

8       friend data because the revenue they deliver to

9       Facebook.

10                  Is that your testimony as Facebook's          09:37:56

11      corporate designee?

12           A.     My understanding from reviewing documents

13      and speaking to people, is the revenue or ad spend

14      was not a determining factor as to whether or not

15      an app was granted access to friends data.                09:38:15

16           Q.     And the basis of your knowledge there,

17      that's not based on your personal knowledge is it?

18           A.     I certainly have no personal knowledge

19      of -- sorry.    Let me put that another way.

20                  In my experiences, I'm -- I was not aware     09:38:36

21      of anytime revenue was used to make a whitelisting

22      decision with regards to friends data, and the

23      people I spoke to in -- in preparation for this

24      testimony also concurred with that view.

25           Q.     And those people you spoke to are two         09:39:04

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1       individuals that you identified before Mr. Mehta          09:39:06

2       and Mr. Archibong; is that right?

3                    MR. SCHWING:    Misstates testimony.

4                    THE DEPONENT:     Those are two of the

5       people that I spoke to in preparation for today.          09:39:17

6             Q.     (By Mr. Loeser)     And is there anybody

7       else that told you that ad spend and revenue was

8       not taken into account by Facebook when deciding

9       which partners to whitelist?

10            A.     I can't recall the names of all the other    09:39:35

11      people I spoke to in -- in preparation for this,

12      but all the people I spoke to, and of all the

13      documents I reviewed, concurs with the -- the

14      understanding that revenue was not taken into

15      account with regards to whitelisting apps to friend       09:39:58

16      information.

17            Q.     Now, Mr. Cross, we went through many,

18      many documents that suggest to the contrary, didn't

19      we?

20                   MR. SCHWING:    Argumentative.      Lacks    09:40:11

21      foundation.

22            Q.     (By Mr. Loeser)     Isn't that true,

23      Mr. Cross?

24            A.     We've been through documents which --

25      looked to assess the potential impact of the              09:40:25

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1       changes.   And -- and some of those documents             09:40:27

2       mentioned revenue as -- as part of the early

3       assessments.

4                  But when speaking to the people that were

5       involved in native whitelisting, the revenue from         09:40:44

6       these device integration partners were, or other

7       platform partners, was not considered as part of

8       the decision to -- to grant them access.

9            Q.    And so you're saying that because these

10      two individuals you talked to told you that?              09:41:07

11                 MR. SCHWING:    Object --

12           Q.    (By Mr. Loeser)     The documents certainly

13      don't tell you that, do they?

14                 MR. SCHWING:    Argumentative.      Lacks

15      foundation.                                               09:41:17

16                 THE DEPONENT:     Speaking to people who

17      were involved in -- in the decisions as to why apps

18      ultimately were granted extensions or exemptions

19      they -- the impact on -- on revenue from not doing

20      so, was not an impact.     Was not a factor in the        09:41:40

21      decision-making.

22           Q.    (By Mr. Loeser)     Well, did you -- did you

23      identify any internal documents at Facebook that

24      said what you just said?

25                 MR. SCHWING:    Object to form.                09:41:56

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1            Q.      (By Mr. Loeser)     Any?    Did you identify a    09:42:01

2       single document that confirms what you just said?

3                    MR. SCHWING:     Same objection.

4                    THE DEPONENT:     I reviewed a number of

5       documents.     I -- I don't recall a document that --          09:42:15

6       that says exactly what I just said.           Again,

7       speaking to the -- the people involved and from my

8       own experiences, involved in -- in this time in

9       terms of giving apps -- giving partners continued

10      access to -- to friend data for a period of time as            09:42:41

11      an extension or exemption, the revenue from those

12      partners was -- was not a factor in the

13      decision-making as to whether or not to grant them

14      full access.

15           Q.      (By Mr. Loeser)     Mr. Cross, can you            09:42:55

16      identify even one document generated internally at

17      Facebook that says that ad revenue, ad spend and

18      revenue was not taken into account when deciding

19      which partners to whitelist?

20                   MR. SCHWING:     Object to form.      Asked and   09:43:15

21      answered.

22                   THE DEPONENT:     I can't identify as I sit

23      here a -- a document that --

24                   SPECIAL MASTER GARRIE:       Answer the

25      question.     Yes or no.     It is a simple question,          09:43:26

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1       answer it accordingly.                                    09:43:33

2                 THE DEPONENT:     As I sit here today, I

3       can't identify a document that -- that says that

4       specifically.

5            Q.   (By Mr. Loeser)     Now, Mr. Cross, you say     09:43:46

6       you talked to two individuals who told you that

7       revenue and ad spend was not taken into account in

8       whitelisting decisions.

9                 Has it occurred to you that perhaps

10      they're not telling you the truth?                        09:43:56

11                MR. SCHWING:    Object to form.

12                THE DEPONENT:     I suppose -- the people I

13      spoke in preparation for this deposition are people

14      that were involved over -- over a long period of

15      time in how Facebook manages its developer platform       09:44:21

16      and platform partnerships.

17                These people are knowledgeable about

18      their -- about their space and they were effusive

19      in helping me understand their view on how

20      whitelisting decisions were made.                         09:44:43

21                And revenue was not considered in the

22      ultimate decision to whitelist.       The documents

23      you're, I think referring to, for example,

24      Ms. Mosseri is -- is a draft document.        It was

25      prepared when the company was attempting to               09:45:07

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1       understand the potential impact.          And, you know, my   09:45:13

2       understanding is that as a result, of my

3       conversations, revenue was not a factor in deciding

4       whether or not to grant apps continued access to

5       friend data.                                                  09:45:35

6            Q.      (By Mr. Loeser)     Mr. Cross, I asked you a

7       very simple and straightforward question.            Would

8       you like me to read it back to you so that you can

9       answer it?     I'll ask it again.

10                   Mr. Cross, you say, you talked to two            09:45:47

11      individuals who told you that revenue and ad spend

12      was not taken into account in whitelisting

13      decisions.

14                   Has it occurred to you that perhaps they

15      are not telling you the truth?                                09:45:58

16                   MR. SCHWING:    The question is

17      argumentative.

18                   THE DEPONENT:     I have no reason --

19                   SPECIAL MASTER GARRIE:       Answer the

20      question.                                                     09:46:09

21                   THE DEPONENT:     I have no reason to doubt

22      they were telling me the truth.

23           Q.      (By Mr. Loeser)     And, Mr. Cross, when you

24      spoke to those two individuals, did you bring to

25      their attention the series of documents that we               09:46:19

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1       sent over to you before your deposition that talked          09:46:22

2       about the identification of strategic partners and

3       the revenue received from them in whitelisting

4       decisions?

5            A.      And so I think the last of what you said        09:46:40

6       there is -- is not -- I'm not sure I fully

7       understand.     We -- the -- I'm sorry.      I -- that was

8       about three things in that -- in that question

9       which -- which I would like to unpick.

10                   Can you ask me the question again,              09:46:58

11      please.

12           Q.      Mr. Cross, were you provided with any

13      contemporaneous -- contemporaneous written record

14      from the people you spoke to about the basis for

15      whitelisting decisions that indicated that revenue           09:47:26

16      and ad spend was not taken into account in making

17      those decisions?

18           A.      Was I provided with any

19      contemporaneous -- like -- sorry.        I'm -- I'm

20      really -- I'm really just not sure I'm                       09:47:45

21      understanding that question.

22           Q.      Okay.   By "contemporaneous," I mean at

23      the time the whitelisting decisions were made, were

24      you provided with any written record from the time

25      at which whitelisting decisions were made that               09:47:59

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1       indicated that ad revenue -- that ad spend and             09:48:01

2       revenue was not taken into account in the

3       whitelisting decisions?

4                   MR. SCHWING:    Object to form.

5                   THE DEPONENT:     I was not provided with --   09:48:16

6       with -- with documents that -- that state that

7       ad revenue was not included in the decision-making.

8                   Although my -- again, my conversations

9       and the documents I've reviewed talk about what

10      factors were included, it would not necessarily be         09:48:37

11      normal for them to be explicit, that was not

12      included.

13           Q.     (By Mr. Loeser)     And, Mr. Cross, when

14      conducting your own investigation to determine if

15      you had been told the truth, did you go find out           09:48:53

16      how much money the whitelisted partners had paid to

17      Facebook after 2014?

18                  MR. SCHWING:    Object to form.

19                  THE DEPONENT:     I, in preparation for this

20      case, did not attempt to find out how much revenue         09:49:17

21      these partners -- certain partners had paid

22      Facebook over time.    And because from my own

23      observations in speaking to the people involved,

24      the decisions to whitelist were based on the desire

25      to keep valuable integrations running and to               09:49:42

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1       minimize broken experiences for widely used apps,          09:49:51

2       and to give developers, some developers additional

3       time to migrate.

4                 In -- in none of that -- none of those in

5       the documents that I reviewed about the time in            09:50:08

6       terms of whitelisting decisions, was -- was revenue

7       mentioned in relation to friend data.

8            Q.   (By Mr. Loeser)     Mr. Cross, I'm going to

9       ask you one more time.     And I would like a

10      yes-or-no answer to a yes-or-no question.                  09:50:24

11                And then we can be finished for the

12      night.

13                In conducting your own investigation to

14      determine if you had been told the truth, did you

15      go find out how much money the whitelisted partners        09:50:34

16      had paid to Facebook after 2014, yes or no?

17                MR. SCHWING:     Argumentative.

18                THE DEPONENT:     No, I did not conduct an

19      investigation into how much money those partners

20      had spent on ad revenue.                                   09:51:00

21                MR. LOESER:     Thank you.    Those are the

22      questions I have.

23                Just noting for the record, Mr. Schwing,

24      we do have concerns about the ability of the

25      witness to testify as to certain topics.         I won't   09:51:14

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1       take anymore of his time right now on the record.             09:51:17

2       We can talk about that later, but obviously reserve

3       the right based on our ongoing conversations to --

4       to have more questions of perhaps another witness.

5                    But I appreciate Mr. Cross's time.           I   09:51:29

6       know this has been a -- a long deposition, and

7       thank you very much for your willingness to

8       participate.     And that's all I have for the night.

9                    MR. SCHWING:   And, Derek, obviously we --

10      we reserve all rights and with respect to the issue           09:51:44

11      you raised and we're happy to discuss that with you

12      off the record at a later time.

13                   One housekeeping item is, I would suggest

14      that the witness be given 45 days to review his

15      testimony.     I think that's what we've been doing           09:52:00

16      for the most part in the case --

17                   SPECIAL MASTER GARRIE:     30 days.

18                   MR. SCHWING:   -- provide any corrections.

19                   SPECIAL MASTER GARRIE:     I think Gibson

20      requested 30 days.                                            09:52:11

21                   MR. SCHWING:   Well, Special Master

22      Garrie, I think we actually were using 45.              The

23      last time I got on with Mr. Cross I said 30 days

24      because I was the new guy, and didn't realize what

25      we had been doing.                                            09:52:21

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1                    SPECIAL MASTER GARRIE:           Is that in the    09:52:22

2       protocol?     There was an explicit request in the

3       protocol.     I can't remember what it is.

4                    MR. SCHWING:     Yeah.

5                    SPECIAL MASTER GARRIE:           But I know you    09:52:28

6       added specific language for that request, so

7       whatever it is -- it is.

8                    MR. LOESER:     We can go off the record and

9       we can --

10                   MR. SCHWING:     Yeah, and the other --            09:52:36

11      well, before we go off the record -- we're still on

12      the record, right?

13                   SPECIAL MASTER GARRIE:           Still on the

14      record.

15                   MR. SCHWING:     The testimony and documents       09:52:46

16      should -- the testimony should be treated as

17      "Highly Confidential" and we'll be obviously

18      reviewing the testimony and making appropriate

19      designations.

20                   MR. LOESER:     Understood.                        09:52:58

21                   Okay.   Let's go off the record.

22                   THE VIDEOGRAPHER:        Okay.     We're off the

23      record.     It's 9:53 p.m.

24                   (TIME NOTED:     9:53 p.m.)

25                                 ---o0o---                            09:53:06

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1             I, SIMON CROSS, do hereby declare under
2       penalty of perjury that I have read the foregoing
3       transcript; that I have made any corrections as
4       appear notes; that my testimony as contained
5       herein, as corrected, is true and correct.
6             Executed this ____ day of ___________________,
7       2022, at     __________________,_____________________.
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9
10
11                                _______________________
12                                       SIMON CROSS
13                                       Volume 5
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1             I, Rebecca L. Romano, a Registered
2       Professional Reporter, Certified Shorthand
3       Reporter, Certified Court Reporter, do hereby
4       certify:
5             That the foregoing proceedings were taken
6       before me remotely at the time and place herein set
7       forth; that any deponents in the foregoing
8       proceedings, prior to testifying, were administered
9       an oath; that a record of the proceedings was made
10      by me using machine shorthand which was thereafter
11      transcribed under my direction; that the foregoing
12      transcript is true record of the testimony given.
13            Further, that if the foregoing pertains to the
14      original transcript of a deposition in a Federal
15      Case, before completion of the proceedings, review
16      of the transcript [X] was [ ] was not requested.
17            I further certify I am neither financially
18      interested in the action nor a relative or employee
19      of any attorney or any party to this action.
20            IN WITNESS WHEREOF, I have this date
21      subscribed my name.
22
23      Dated:     June 24, 2022
24                                    <%7321,Signature%>
                                  Rebecca L. Romano, RPR, CCR
25                                CSR. No 12546

                                                               Page 1220

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     Case 3:18-md-02843-VC Document 1074-8 Filed 11/04/22 Page 1423 of 1480
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1       SIMON CROSS

2       si@fb.com

3                                                           June 24, 2022

4       RE: In Re: Facebook, Inc. Consumer Privacy User Profile

            Litigation

5       June 21, 2022-SIMON CROSS 30(B)(6)-Volume 5-5291734

6       The above-referenced transcript has been

7       completed by Veritext Legal Solutions and

8       review of the transcript is being handled as follows:

9       __ Per CA State Code (CCP 2025.520 (a)-(e)) – Contact Veritext

10         to schedule a time to review the original transcript at

11         a Veritext office.

12      __ Per CA State Code (CCP 2025.520 (a)-(e)) – Locked .PDF

13         Transcript - The witness should review the transcript and

14         make any necessary corrections on the errata pages included

15         below, notating the page and line number of the corrections.

16         The witness should then sign and date the errata and penalty

17         of perjury pages and return the completed pages to all

18         appearing counsel within the period of time determined at

19         the deposition or provided by the Code of Civil Procedure.

20      __ Waiving the CA Code of Civil Procedure per Stipulation of

21         Counsel - Original transcript to be released for signature

22         as determined at the deposition.

23      __ Signature Waived – Reading & Signature was waived at the

24         time of the deposition.

25

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1       _X_ Federal R&S Requested (FRCP 30(e)(1)(B)) – Locked .PDF

2          Transcript - The witness should review the transcript and

3          make any necessary corrections on the errata pages included

4          below, notating the page and line number of the corrections.

5          The witness should then sign and date the errata and penalty

6          of perjury pages and return the completed pages to all

7          appearing counsel within the period of time determined at

8          the deposition or provided by the Federal Rules.

9       __ Federal R&S Not Requested - Reading & Signature was not

10         requested before the completion of the deposition.

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1       In Re: Facebook, Inc. Consumer Privacy User Profile
        Litigation
2       SIMON CROSS 30(B)(6)-Volume 5-5291734
3                             E R R A T A          S H E E T
4       PAGE_____ LINE_____ CHANGE________________________
5       __________________________________________________
6       REASON____________________________________________
7       PAGE_____ LINE_____ CHANGE________________________
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21      REASON____________________________________________
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23      ________________________________                    _______________
24      WITNESS                                             Date
25

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                   Federal Rules of Civil Procedure

                                   Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




      DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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 as submitted by the court reporter. Veritext Legal
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